                        Case 18-10085-CSS   Doc 3   Filed 01/12/18   Page 1 of 134




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                         )      Chapter 7
                                               )
Parker School Uniforms, LLC                    )      Case No. 18-_____ (___)
                                               )
                        Debtor.                )
                                               )

          GLOBAL NOTES REGARDING DEBTOR’S SCHEDULES OF ASSETS AND
               LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and, collectively with the Schedules, the “Schedules and Statements”) filed
herewith by the above captioned-debtor (the “Debtor”) in the above-captioned case were
prepared pursuant to section 521 of title 11 of the United States Code (as amended, the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”) by management of the Debtor and have not been subject to audit, review or
any similar financial analysis. While the Debtor’s management has made every reasonable effort
to ensure that the Schedules and Statements are accurate and complete based upon information
that was available to them at the time of preparation, there can be no assurance as to their
accuracy and completeness, and the subsequent receipt of information may result in material
changes to the financial data and other information contained therein. The Debtor has used its
best efforts to present the information set forth in the Schedules and Statements from its books
and records maintained in the ordinary course of business. The Debtor reserves the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate.
These Global Notes Regarding Debtor’s Schedules of Assets and Liabilities and Statement of
Financial Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral
part of, the Schedules and Statements, and should be referred to and reviewed in connection with
any review of the Schedules and Statements.

        1.      Description of the Cases and “as of” Information Date. Unless otherwise
indicated in the Schedules or Statements or herein, the asset and liability information provided is
as of the date upon which the Debtor filed a voluntary petition under chapter 7 of the Bankruptcy
Code (the “Petition Date”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”).

        2.      Basis of Presentation. Although, as noted above, the Debtor has used its best
efforts to present accurate information, the amount of the Debtor’s actual assets and liabilities
could differ from the amounts set forth in the Schedules and Statements. In addition, some of the
Debtor’s scheduled assets and liabilities are unknown and/or unliquidated at this time. In such
cases, the amounts may be listed as “Unknown” or “Undetermined,” or, with respect to certain
assets, may be listed at book value. Given the differences between the information requested in



24252489.1 01/12/2018
                        Case 18-10085-CSS     Doc 3     Filed 01/12/18     Page 2 of 134




the Schedules and Statements and the presentation of the financial information under generally
accepted accounting principles in the United States (“GAAP”), the aggregate asset values and
claim amounts set forth in the Schedules and Statements do not necessarily reflect the amounts
that would be set forth in a balance sheet prepared in accordance with GAAP.

       3.     Summary of Significant Reporting Policies. The following conventions were
adopted by the Debtor in the preparation of the Schedules and Statements:

                    (a)     Accounts Receivable. Accounts Receivable generally are presented on a
             gross basis and, notwithstanding anything set forth in the Schedules and Statements to the
             contrary, are not net of any allowance for doubtful accounts, which are unknown.

                    (b)     Causes of Action. Although the Debtor has attempted to list on Questions
             74 and 75 of Schedule A/B, all claims of the Debtor, if any, certain claims may have been
             inadvertently omitted. The Debtor reserves all rights with respect to any such claims or
             causes of action it may have and neither these Global Notes nor the Schedules and
             Statements shall be deemed a waiver of any such causes of action.

                     (c)     Executory Contracts. The Debtor has not listed executory contracts as
             assets in its Schedules and Statements; rather, the Debtor’s executory contracts have been
             set forth in Schedule G. See Global Note 3(h), below, for additional notes regarding the
             Debtor’s executory contracts.

                     (d)    Schedule D - Secured Claims. The Debtor has not included on Schedule
             D claims that may be secured through setoff rights, deposits posted by or on behalf of the
             Debtor, or inchoate statutory lien rights. Such counterparties, if any, have been listed on
             Schedule F. The Debtor reserves the right to dispute or challenge the extent, validity,
             perfection or immunity from avoidance of any lien purported to be granted or perfected in
             any specific asset to a secured creditor listed on Schedule D. Secured claim amounts
             have been listed on Schedule D without regard to the value of assets securing such
             claims. No attempt was made by the Debtor to estimate the fair market value as of the
             Petition Date of assets pledged pursuant to a secured obligation. No claim set forth on
             Schedule D of any Debtor is intended to acknowledge claims of creditors that are
             otherwise satisfied or discharged by other entities. The descriptions provided in Schedule
             D are intended only to be a summary. Reference to the applicable loan agreements and
             related documents is necessary for a complete description of the collateral and the nature,
             extent and priority of any liens. Nothing in the Global Notes or the Schedules and
             Statements shall be deemed a modification or interpretation of the terms of such
             agreements.

                     (e)     Schedule E/F – Priority and Unsecured Claims. Although the Debtor may
             have scheduled claims of various creditors as priority claims, the Debtor reserves all
             rights to dispute or challenge the priority treatment of any such creditor’s claim (or
             portion thereof) or the characterization of the structure of any such transaction or any
             document or instrument related to such creditor’s claim. The claims of individual
             creditors for, among other things, goods, services, or taxes are listed at the amounts listed
                                                       2


24252489.1 01/12/2018
                        Case 18-10085-CSS    Doc 3     Filed 01/12/18    Page 3 of 134




             on the Debtor’s books and records and may not reflect credits or allowances due from
             such creditor, or any additional amounts that might be owed to such creditor as a result of
             either unbilled or unprocessed invoices. The dollar amounts listed may also be exclusive
             of contingent and unliquidated amounts. The Debtor expressly incorporates by reference
             into Schedule E/F all parties to pending and potential pending litigation with the Debtor,
             as listed in the Debtor’s Statements, as contingent, unliquidated, and disputed claims to
             the extent not already listed in the schedule.

                     (f)    Schedule E/F – Customer Orders. The Debtor included on its Schedule F
             all customers for which the Debtor’s records indicate goods were ordered from the
             Debtor which were not delivered. The Debtor did not reconcile which such customers
             pre-paid for such orders.

                     (g)      Schedule G - Executory Contracts/Unexpired Leases. While every
             reasonable effort has been made to ensure the accuracy of Schedule G regarding
             executory contracts and unexpired leases, inadvertent errors or omissions may have
             occurred. Without limitation of the foregoing, the contracts, agreements, and leases listed
             on Schedule G may have expired or may have been modified, amended, supplemented or
             terminated from time to time by various amendments, restatements, waivers, estoppel
             certificates, letters, and other documents, instruments, and agreements which may not be
             listed therein. Certain of the leases and contracts listed on Schedule G may contain
             certain renewal options, guarantees of payment, options to purchase, rights of first
             refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations are
             not set forth on Schedule G. Certain of the Debtor’s executory agreements may not have
             been memorialized in writing and could be subject to dispute. The presence of a contract
             or agreement on Schedule G does not constitute an admission that such contract or
             agreement is an executory contract or unexpired lease. Similarly, the absence of a
             contract or agreement on Schedule G does not constitute an admission that any other
             contract or agreement to which the Debtor is a party is not executory. Parties to
             executory contracts and unexpired leases were not listed on Schedule E/F, except where
             past due amounts were recorded in the Debtor’s accounts payable. The Debtor has not
             listed on Schedule E/F landlords and executory contract counterparties which may have
             claims related to contract/lease rejection or other damages.

        4.      Exculpation. The Debtor and its agents, attorneys and advisors do not guarantee
or warrant the accuracy, completeness, or currentness of the data that is provided herein and shall
not be liable for any loss or injury arising out of or caused in whole or in part by the acts, errors,
or omissions, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained herein. While every
reasonable effort has been made to provide accurate and complete information herein,
inadvertent errors or omissions may exist. The Debtor and its agents, attorneys and advisors
expressly do not undertake any obligation to update, modify, revise, or re-categorize the
information provided herein, or to notify any third party should the information be updated,
modified, revised or re-categorized. In no event shall the Debtor or its agents, attorneys and
advisors be liable to any third party for any direct, indirect, incidental, consequential or special

                                                      3


24252489.1 01/12/2018
                        Case 18-10085-CSS   Doc 3   Filed 01/12/18   Page 4 of 134




damages (including, but not limited to, damages arising from the disallowance of a potential
claim against the Debtor or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtor or its agents, attorneys and
advisors are advised of the possibility of such damages.

        5.     Global Notes Control. In the event that the Schedules and Statements differ from
the foregoing Global Notes, the Global Notes shall control.




                                                    4


24252489.1 01/12/2018
                                          Case 18-10085-CSS                                     Doc 3              Filed 01/12/18                         Page 5 of 134

 Fill in this information to identify the case:

 Debtor name            Parker School Uniforms, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       21,734,817.65

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       21,734,817.65


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       13,026,828.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           446,299.95

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       18,086,314.25


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         31,559,442.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                   Case 18-10085-CSS                     Doc 3     Filed 01/12/18        Page 6 of 134

 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Wells Fargo Bank, N.A.                                   Checking                     5347                                    $12,451.47




           3.2.    Bank of America, N.A.                                    Checking                     0585                                    $49,556.23




           3.3.    Trustmark National Bank                                  Checking                     7720                                     $2,611.08




           3.4.    Fifth Third Bank                                         Checking                     1989                                     $2,962.56



                   First Tennessee Bank National
           3.5.    Association                                              Checking                     8985                                     $3,078.43




           3.6.    Frost Bank                                               Checking                     5118                                             $0.00




           3.7.    Frost Bank                                               Checking                     5229                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                   Case 18-10085-CSS                     Doc 3     Filed 01/12/18           Page 7 of 134

 Debtor           Parker School Uniforms, LLC                                                Case number (If known)
                  Name




           3.8.     Frost Bank                                              Checking                        5126                        $0.00




           3.9.     Frost Bank                                              Checking                        5210                        $0.00



           3.10
           .    Frost Bank                                                  Checking                        0201                $49,030.11



           3.11
           .    Frost Bank                                                  Checking                        5202                        $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                 $119,689.88
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Utilities deposits (as of 9/30/2017)                                                                            $440.00




           7.2.     Landlord Security Deposits (as of 9/30/2017)                                                              $221,928.43



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid Insurance (as of 8/31/2017)                                                                         $91,411.78




           8.2.     Prepaid licensing/maintenance (as of 9/30/2017)                                                           $397,660.85




           8.3.     Prepaid (other) (as of 9/30/2017)                                                                         $288,199.68




 9.        Total of Part 2.                                                                                                 $999,640.74
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
                                   Case 18-10085-CSS                         Doc 3        Filed 01/12/18            Page 8 of 134

 Debtor         Parker School Uniforms, LLC                                                           Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 84,524.25   -                                   0.00 = ....                 $84,524.25
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                               234,899.19       -                                  0.00 =....                  $234,899.19
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                 $319,423.44
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used   Current value of
                                                      physical inventory             debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 19.       Raw materials
           Raw Materials - fabric
           inventories attached                       November 2017                         $359,192.00        net book value                   $359,192.00



 20.       Work in progress
           Work in Progress                           n/a                                   $307,858.00        net book value                   $307,858.00



 21.       Finished goods, including goods held for resale
           Finished Goods                             November 2017                      $18,456,760.00        net book value               $18,456,760.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                              $19,123,810.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
 In re Parker SchoolCase
                     Uniforms,  LLC
                          18-10085-CSS        Doc 3   Filed 01/12/18   Page 9 of 134
 Schedule A/B, #19 - Fabric Inventory (domestic)


UPC Code                       Name                     Bin Number     On Hand
F1200      F1200/Sand Khaki Cottonpoly-Po               FA-2C               112
F1200      F1200/Sand Khaki Cottonpoly-Po               FA-2D               477
F1200      F1200/Sand Khaki Cottonpoly-Po               FA-8A                28
F1200      F1200/Sand Khaki Cottonpoly-Po               T-1B                130
F1201      F1201/Navy Cotton Spandex                    T-2B                 60
           F1243                                        T-1B                 15
F1244      F1244/Black Cotton Spandex                   FA-1A             1,192
F1244      F1244/Black Cotton Spandex                   FA-1B               106
F1244      F1244/Black Cotton Spandex                   FA-2A               130
F1244      F1244/Black Cotton Spandex                   T-1B                 15
           F1245/KHAKI COTTON SPANDEX                   FA-1A               431
           F1245/KHAKI COTTON SPANDEX                   FA-2A               402
           F1245/KHAKI COTTON SPANDEX                   T-1B                 60
           F1300                                        FA-1E                50
           F1300                                        FA-8C               178
           F1301                                        FA-2C               170
           F1301                                        T-1B                 63
           F1303                                        FA-8C                86
F1509      F1509/Navy Polycotton                        FA-1E               184
F1509      F1509/Navy Polycotton                        FA-5A               202
F1509      F1509/Navy Polycotton                        T-2A                  7
F1511      F1511/Khaki Polycotton                       FA-6A               100
F1511      F1511/Khaki Polycotton                       FA-7C             1,612
F1511      F1511/Khaki Polycotton                       FA-8C               512
F1511      F1511/Khaki Polycotton                       T-2A                 30
F1512      F1512/Lt.Blue                                FA-1F               129
F1512      F1512/Lt.Blue                                T-1A                 50
F1516      F1516/Royal Blue                             FA-8A                59
           F1521                                        FA-8C                84
F1741      F1741/Navy Poplin                            FA-5B               239
F1741      F1741/Navy Poplin                            T-1B                 80
           F1742                                        FA-7C               249
           F1742                                        T-1B                 50
F1743      F1743/Khaki Poplin                           FA-8A               120
F1755      F1755/Blue Pinfeather                        FA-7C               234
F1755      F1755/Blue Pinfeather                        T-2B                 30
F1760      F1760/DARK GREEN PINFEATHER                  FA-1B               660
F1760      F1760/DARK GREEN PINFEATHER                  FA-1E               134
F1760      F1760/DARK GREEN PINFEATHER                  FA-5E               904
F1760      F1760/DARK GREEN PINFEATHER                  T-2B                 50
F1766      F1766/Yellow Pinfeather                      FA-4A               492
F1766      F1766/Yellow Pinfeather                      FA-8C               133
F1766      F1766/Yellow Pinfeather                      T-2B                 30
F1775      F1775/Pink Pinfeather                        FA-1B               618
F1775      F1775/Pink Pinfeather                        T-2B                 50
F1784      F1784/Spring Green Pinfeather                FA-4A               477
 In re Parker School Uniforms,
                  Case          LLC
                        18-10085-CSS        Doc 3   Filed 01/12/18   Page 10 of 134
 Schedule A/B, #19 - Fabric Inventory (domestic)

UPC Code                       Name                    Bin Number    On Hand
F1784      F1784/Spring Green Pinfeather               T-2B                50
F1801      F1801/Navy Windsor                          FA-5B              225
F1801      F1801/Navy Windsor                          FA-7B              152
F1801      F1801/Navy Windsor                          T-2A                11
           F1802                                       FA-5A              526
F1803      F1803/Royal Blue Windsor                    FA-4A               70
F1803      F1803/Royal Blue Windsor                    FA-8B               80
F1803      F1803/Royal Blue Windsor                    FA-8C              358
F1803      F1803/Royal Blue Windsor                    T-2B                50
F1805      F1805/Black Windsor                         FA-2C              626
F1805      F1805/Black Windsor                         FA-8B              163
F1806      F1806/Grey Windsor                          FA-6B              526
F1806      F1806/Grey Windsor                          T-2B                25
F1808      F1808/Sand Khaki Polyrayon                  FA-5F              113
F1808      F1808/Sand Khaki Polyrayon                  FA-6F              447
F1808      F1808/Sand Khaki Polyrayon                  FA-7A              166
F1808      F1808/Sand Khaki Polyrayon                  FA-8C              211
F1808      F1808/Sand Khaki Polyrayon                  FA-8E              701
F1808      F1808/Sand Khaki Polyrayon                  FA-8F               68
F1808      F1808/Sand Khaki Polyrayon                  T-1B                30
F1812      F1812 Cardinal                              T-2B                40
F1901      F1901/Blue/Black/White Plaid                FA-5C              177
F1901      F1901/Blue/Black/White Plaid                T-1B                49
F1902      F1902/Royal Blue/Putty Plaid                FA-5A              684
F1902      F1902/Royal Blue/Putty Plaid                FA-6D              378
F1902      F1902/Royal Blue/Putty Plaid                T-2B                96
F1903      F1903/Blue/Black/Grey Plaid                 FA-2A              501
F1903      F1903/Blue/Black/Grey Plaid                 FA-6D              138
F1903      F1903/Blue/Black/Grey Plaid                 T-2A                15
           F1904                                       FA-4A            1,133
F1905      F1905/Green/Navy Plaid                      FA-2A            1,229
F1905      F1905/Green/Navy Plaid                      T-1A                31
F1906      F1906/Navy/White Glen Plaid                 FA-8A               80
F1906      F1906/Navy/White Glen Plaid                 FA-8D              500
F1906      F1906/Navy/White Glen Plaid                 T-1A                30
F1907      F1907/White/Red/Green Plaid                 FA-3A              607
F1907      F1907/White/Red/Green Plaid                 T-1B                30
F1908      F1908/Green/Red/Navy Plaid                  FA-4C              369
F1908      F1908/Green/Red/Navy Plaid                  T-1B                40
F1909      F1909/Black/Red/Green Plaid                 FA-1D               90
F1909      F1909/Black/Red/Green Plaid                 FA-1E              133
F1909      F1909/Black/Red/Green Plaid                 FA-4C              190
F1909      F1909/Black/Red/Green Plaid                 FA-4D              139
F1909      F1909/Black/Red/Green Plaid                 T-1B                25
F1910      F1910/Black/Red/Green Bm Plaid              FA-3C              530
F1910      F1910/Black/Red/Green Bm Plaid              T-1A                29
   In re Parker School
                  CaseUniforms,   LLC
                        18-10085-CSS        Doc 3    Filed 01/12/18   Page 11 of 134
   Schedule A/B, #19 - Fabric Inventory (domestic)

UPC Code                       Name                     Bin Number    On Hand
F1911      F1911/Black/Gold Plaid                       FA-4A              358
F1911      F1911/Black/Gold Plaid                       T-1A                28
F1912      F1912/White/Green Plaid                      FA-4E               87
F1912      F1912/White/Green Plaid                      FA-6A              639
F1912      F1912/White/Green Plaid                      T-1A                26
F1913      F1913/Blue/Grey/Red Plaid                    FA-6C              109
F1913      F1913/Blue/Grey/Red Plaid                    T-1B                65
F1914      F1914/Yellow/Grey/Red Plaid                  FA-3D            1,123
F1914      F1914/Yellow/Grey/Red Plaid                  T-1B                27
F1915      F1915/Maroon/Grey Plaid                      FA-8B              419
F1915      F1915/Maroon/Grey Plaid                      T-1A                26
F1916      F1916/Green/Navy/Black Plaid                 FA-2B              375
F1916      F1916/Green/Navy/Black Plaid                 T-1B                84
F1917      F1917/Green/Grey/Yellow Plaid                FA-4A               72
F1917      F1917/Green/Grey/Yellow Plaid                FA-7C               80
F1917      F1917/Green/Grey/Yellow Plaid                T-1A                28
F1918      F1918/Green/Grey Plaid                       FA-5A              463
F1918      F1918/Green/Grey Plaid                       T-1A                25
F1919      F1919/Navy/White Houndstooth                 FA-1B              351
F1919      F1919/Navy/White Houndstooth                 FA-7A              584
F1919      F1919/Navy/White Houndstooth                 FA-7B               57
F1920      F1920/Blue/White Plaid                       FA-5A              708
F1920      F1920/Blue/White Plaid                       T-1B                65
F1921      F1921/Navy/Green/Yellow Plaid                FA-4D            1,503
F1921      F1921/Navy/Green/Yellow Plaid                T-1A                21
F1922      F1922/Yellow/Red/Blue Plaid                  FA-7A              225
F1922      F1922/Yellow/Red/Blue Plaid                  T-1A                56
F1923      F1923/Navy/Red/White Plaid                   FA-3A              454
F1923      F1923/Navy/Red/White Plaid                   T-1A               120
F1924      F1924/Navy/White/Yellow Plaid                FA-6A              292
F1924      F1924/Navy/White/Yellow Plaid                T-1A               100
F1925      F1925/Navy/Grey Plaid                        FA-2F              305
F1925      F1925/Navy/Grey Plaid                        FA-5A              465
F1925      F1925/Navy/Grey Plaid                        T-2A                15
F1926      F1926/Black/White Glen Plaid                 FA-1B               65
F1926      F1926/Black/White Glen Plaid                 FA-1F              160
F1926      F1926/Black/White Glen Plaid                 T-2A                16
F1927      F1927/Wine/Grey Plaid                        FA-2B              500
F1927      F1927/Wine/Grey Plaid                        FA-4C               70
F1927      F1927/Wine/Grey Plaid                        T-1A                53
F1928      F1928/Black/White W/Red Glen Plaid           FA-6A              658
F1928      F1928/Black/White W/Red Glen Plaid           T-1A                85
F1929      F1929/Green/Red/White Plaid                  FA-3C              143
F1929      F1929/Green/Red/White Plaid                  FA-6A               52
F1929      F1929/Green/Red/White Plaid                  T-1A                28
F1931      F1931/Red/White/Grey Plaid                   FA-3A              673
   In re Parker School
                  CaseUniforms,   LLC
                        18-10085-CSS        Doc 3    Filed 01/12/18   Page 12 of 134
   Schedule A/B, #19 - Fabric Inventory (domestic)

UPC Code                    Name                        Bin Number    On Hand
F1932    F1932/White/Green/Yellow Plaid                 FA-7A              681
F1932    F1932/White/Green/Yellow Plaid                 T-1A                45
         F1933                                          FA-7A               55
         F1933                                          T-1A                20
F1934    F1934/Black/White/Blue Plaid                   FA-6A              374
F1934    F1934/Black/White/Blue Plaid                   T-1A                89
F1935    F1935/Royal Blue/Grey Plaid                    FA-1C              231
F1935    F1935/Royal Blue/Grey Plaid                    T-2A                 8
F1937    F1937/Navy/Red Plaid                           FA-3F              279
F1937    F1937/Navy/Red Plaid                           FA-5C              612
F1937    F1937/Navy/Red Plaid                           T-2A                93
F1939    F1939/Navy/Khaki/Red Plaid                     FA-8A              579
F1939    F1939/Navy/Khaki/Red Plaid                     T-1A                90
F1941    F1941/Navy/Red/Khaki Plaid                     FA-3B              214
F1941    F1941/Navy/Red/Khaki Plaid                     FA-8A              213
F1941    F1941/Navy/Red/Khaki Plaid                     T-1B                76
F1942    F1942/Black/White/Orange Plaid                 FA-3A              530
F1942    F1942/Black/White/Orange Plaid                 T-1A                10
F1943    F1943/Red/Black/White Plaid                    FA-8A              502
F1943    F1943/Red/Black/White Plaid                    FA-8B              113
F1943    F1943/Red/Black/White Plaid                    T-2A                13
F1944    F1944/Black/White W/Card Glen Plaid            FA-1B              745
F1944    F1944/Black/White W/Card Glen Plaid            T-1A                19
F1946    F1946/Black/White/Purple Plaid                 FA-5C              311
F1947    F1947/Black/White W/Gold Glen Plaid            FA-8A              438
F1947    F1947/Black/White W/Gold Glen Plaid            T-1A                59
F1948    F1948/Khaki/Navy/White Plaid                   FA-5C              353
F1948    F1948/Khaki/Navy/White Plaid                   T-1B                42
F1950    F1950/Green/Navy/Yellow Plaid                  FA-4A              503
F1950    F1950/Green/Navy/Yellow Plaid                  T-1B               110
F1952    F1952/Black/White W/Orange Glen Plaid          FA-1C              320
F1952    F1952/Black/White W/Orange Glen Plaid          FA-6C              239
F1952    F1952/Black/White W/Orange Glen Plaid          T-1A                76
F1957    F1957/Green/Yellow Plaid                       FA-3A              473
F1957    F1957/Green/Yellow Plaid                       T-1A               138
F1961    F1961/Black/White W/Yellow Glen Plaid          FA-2F              294
F1961    F1961/Black/White W/Yellow Glen Plaid          FA-8A              200
F1961    F1961/Black/White W/Yellow Glen Plaid          T-2A                 7
F1965    F1965/Green/Navy/White Plaid                   FA-3E              631
F1965    F1965/Green/Navy/White Plaid                   FA-6E              546
F1965    F1965/Green/Navy/White Plaid                   T-1B                18
F1977    F1977/Blue/Red/Green Plaid                     FA-1F              261
F1977    F1977/Blue/Red/Green Plaid                     T-1B                50
F1981    F1981/Blue/White/Black Plaid                   FA-2C              411
F1981    F1981/Blue/White/Black Plaid                   FA-3E              116
F1981    F1981/Blue/White/Black Plaid                   FA-3F               76
 In re Parker School Uniforms,
                  Case          LLC
                        18-10085-CSS        Doc 3   Filed 01/12/18   Page 13 of 134
 Schedule A/B, #19 - Fabric Inventory (domestic)

UPC Code                   Name                        Bin Number    On Hand
F1981   F1981/Blue/White/Black Plaid                   T-1B                70
F1982   F1982/Brown/White/Gold Plaid                   FA-2A               76
F1984   F1984/Khaki/Navy/Black Plaid                   FA-1E              229
F1984   F1984/Khaki/Navy/Black Plaid                   FA-1F               67
F1984   F1984/Khaki/Navy/Black Plaid                   FA-3F              220
F1984   F1984/Khaki/Navy/Black Plaid                   T-1B                60
F1990   F1990/Green/Red Plaid                          FA-2C              509
F1990   F1990/Green/Red Plaid                          FA-2F              108
F1990   F1990/Green/Red Plaid                          T-1B                40
F1995   F1995/Red/Navy/White Plaid                     FA-1C              421
F1995   F1995/Red/Navy/White Plaid                     T-1B                15
F1999   F1999/Black/White/Orange Plaid-Russell(Old)    FA-5A              514
F1999   F1999/Black/White/Orange Plaid-Russell(Old)    T-1A                55
F2001   F2001/Blue/Green/Red Plaid                     FA-4C              583
F2001   F2001/Blue/Green/Red Plaid                     T-2B                68
F2003   F2003/Red/White/Black Plaid                    FA-8B              700
F2003   F2003/Red/White/Black Plaid                    T-2B                28
F2004   F2004/Blue/Yellow/Red Plaid                    FA-2B              492
F2004   F2004/Blue/Yellow/Red Plaid                    FA-5B              429
F2004   F2004/Blue/Yellow/Red Plaid                    T-2B                19
F2005   F2005/Red/Navy/White Pc Plaid                  FA-6B              546
F2005   F2005/Red/Navy/White Pc Plaid                  T-2B                40
F2006   F2006/Green/Black/White Plaid                  FA-8C              246
F2006   F2006/Green/Black/White Plaid                  T-2B                44
F2007   F2007/White/Red/Green Pc Plaid                 FA-4B              360
F2007   F2007/White/Red/Green Pc Plaid                 T-2B               110
F2008   F2008/White/Green/Navy Plaid                   FA-3B              523
F2008   F2008/White/Green/Navy Plaid                   T-2B                40
F2009   F2009/Red/Green/Navy Plaid                     FA-6B              363
F2010   F2010/Navy/Blue/White Plaid                    FA-3B              427
        F2011                                          FA-4B            2,149
F2012   F2012/White/Green Pc Plaid                     FA-8B              650
F2013   F2013/Blue/Grey/Red Pc Plaid                   FA-3C              652
F2013   F2013/Blue/Grey/Red Pc Plaid                   T-2B                18
F2014WN F2014/Navy/Beige/Red W/ NAVY                   FA-2B            1,381
F2014WN F2014/Navy/Beige/Red W/ NAVY                   T-2B                50
F2015   F2015/Green/Navy/White Pc Plaid                FA-7B              404
F2015   F2015/Green/Navy/White Pc Plaid                T-2B                31
        F2016                                          FA-5D            1,003
F2017   F2017/Grey/Maroon/White Plaid                  FA-7A              935
F2017   F2017/Grey/Maroon/White Plaid                  T-2A                13
F2018   F2018/Khaki/Navy/Red Plaid                     FA-2B              735
F2018   F2018/Khaki/Navy/Red Plaid                     T-2B               100
F2019   F2019/Navy/White Pc Houndstooth                FA-3C              211
F2019   F2019/Navy/White Pc Houndstooth                T-2B                74
F2020   F2020/Maroon/Yellow/Grey Plaid                 FA-4B              142
 In re Parker School Uniforms,
                  Case          LLC
                        18-10085-CSS        Doc 3   Filed 01/12/18   Page 14 of 134
 Schedule A/B, #19 - Fabric Inventory (domestic)


UPC Code                       Name                    Bin Number    On Hand
F2020      F2020/Maroon/Yellow/Grey Plaid              T-2A                24
F2021      F2021/Wine/Yellow Plaid                     FA-1D              597
F2021      F2021/Wine/Yellow Plaid                     FA-1E              100
F2021      F2021/Wine/Yellow Plaid                     T-2B               113
F2022      F2022/Yellow/Red/Blue Pc Plaid-Po           FA-1E              221
F2023      F2023/Navy/Red/White Pc Plaid               FA-4A              451
F2023      F2023/Navy/Red/White Pc Plaid               T-2B                24
F2024      F2024/Navy/Olive Plaid                      FA-5D            1,213
F2024      F2024/Navy/Olive Plaid                      T-2B                 30
F2025      F2025/Yellow/Red/Blue Pc Plaid              FA-1E               83
F2025      F2025/Yellow/Red/Blue Pc Plaid              FA-4B              281
F2025      F2025/Yellow/Red/Blue Pc Plaid              T-2A                18
F2026      F2026/Blue/Orange/White Plaid               FA-7B              629
F2026      F2026/Blue/Orange/White Plaid               T-2B                30
           F2027                                       FA-4A              300
F2028      F2028/White/Black/Cardinal Plaid            FA-5B              935
F2028      F2028/White/Black/Cardinal Plaid            T-2A                37
F2031      F2031/Navy/White/Red Plaid                  FA-6B              204
F2031      F2031/Navy/White/Red Plaid                  T-2B                 48
F2034      F2034/Navy/Black/Yellow Plaid               FA-5B              730
F2034      F2034/Navy/Black/Yellow Plaid               T-2B                 57
F2035      F2035/Royal Blue/Grey Pc Plaid              FA-1B              327
F2035      F2035/Royal Blue/Grey Pc Plaid              T-2B                 45
F2036      F2036/Brown/Black/White Plaid               FA-8B              432
F2036      F2036/Brown/Black/White Plaid               T-2B                29
F2037      F2037/Navy/Black/White Plaid                FA-5B              165
F2037      F2037/Navy/Black/White Plaid                T-2B                 44
F2039      F2039/Navy/Green/Black Plaid                FA-7C              297
F2039      F2039/Navy/Green/Black Plaid                FA-8B              300
F2039      F2039/Navy/Green/Black Plaid                T-2B                 50
F2040      F2040/Green/White/Red Plaid                 FA-6B              181
           F2042                                       FA-6B              153
F2043      F2043-Blue/White/Yellow Plaid               FA-6C              970
F2045      F2045/Red/Navy/Green Plaid                  FA-6B              486
F2045      F2045/Red/Navy/Green Plaid                  T-2A                 12
F2050      F2050/Green/Blue/Navy Plaid                 FA-6E              104
F2050      F2050/Green/Blue/Navy Plaid                 FA-7B              615
F2050      F2050/Green/Blue/Navy Plaid                 T-2A                  8
F2060      F2060/Green/Navy/Yellow Pc Plaid            FA-3B            1,180
F2060      F2060/Green/Navy/Yellow Pc Plaid            T-2B                29
F2062      F2062/Red/Navy Pc Plaid                     FA-5B              130
F2062      F2062/Red/Navy Pc Plaid                     T-2A                 12
F2065      F2065/Blue/Grey/Black Plaid                 FA-3C              700
F2065      F2065/Blue/Grey/Black Plaid                 T-2B               -
F2077      F2077/Black/White W/Purple Glen Plaid       FA-5B              296
F2077      F2077/Black/White W/Purple Glen Plaid       T-2B               114
 In re Parker School Uniforms,
                  Case          LLC
                        18-10085-CSS        Doc 3   Filed 01/12/18   Page 15 of 134
 Schedule A/B, #19 - Fabric Inventory (domestic)


UPC Code                       Name                    Bin Number    On Hand
F2085      F2085/Red/Blue Plaid                        FA-1E              125
F2085      F2085/Red/Blue Plaid                        T-2B               100
F2099      F2099/Green/Navy/Red Plaid                  FA-6C              910
F2099      F2099/Green/Navy/Red Plaid                  T-2B                35
           F2104                                       FA-7E              375
           F2104                                       T-1A                 8
           F2105                                       FA-7F            2,042
           F2107                                       T-2B                28
F2411      F2411/Hunter Green Polyrayon Solid          FA-5F              870
F2412      F2412/Dk.Heather Triblend                   FA-8D              121
F2412      F2412/Dk.Heather Triblend                   T-2B                 6
           F26                                         FA-5A              602
           F26                                         T-2B               115
           F905                                        FA-1D              746
           F942/Grey/Red Polyrayon Plaid               FA-1C              920
           F942/Grey/Red Polyrayon Plaid               T-2B                97
F943       F943/Grey/Gold/Purple Polyrayon Plaid       FA-7A              160
F943       F943/Grey/Gold/Purple Polyrayon Plaid       T-1B                59
F970       F970/Red/White/Navy Plaid                   FA-1A              261
F970       F970/Red/White/Navy Plaid                   T-1A                18
                                                                       82,552
                      Case 18-10085-CSS                Doc 3    Filed 01/12/18   Page 16 of 134
     In re Parker School Uniforms, LLC
     Schedule A/B, #19 - Fabric Inventory (overseas)




Supplier Name:    Dequan International (Cambodia) CO., LTD. (TC Factory)
Supplier Address: Building 18, Canadian Industry Park, Street Veng Sreng,
                  Sangkat Chom Chao, Khan Dangkor, Phnom Penh, Cambodia
Contact Person:   Channy Preap / Lisa Cai
Phone Number:     (+855) 93555 068 / 78 585 882
Inventory Taken: 7/24/2017

    Parker                                    Fabric Details                                  Physical Inventory
 Fabric Number     Color Description                   Fabric Content                         Rolls      Yards
            943    GREY/GOLD/PURPLE POLYRAYON PLAID 65/35 POLYRAYON SOLID                            7       560
            970    RED/WHITE/NAVY PLAID                100% POLYESTER PLAID                         20     1,254
           1201    NAVY COTTON SPANDEX                 94%COTTON 6%SPANDEX                          42     3,250
           1243    HEATHER COTTON SPANDEX              94%COTTON 6%SPANDEX                           3       257
           1244    BLACK COTTON SPANDEX                94%COTTON 6%SPANDEX                           2       134
           1245    KHAKI COTTON SPANDEX                94%COTTON 6%SPANDEX                          11     1,087
           1509    NAVY POLYCOTTON                     65/35 POLYCOTTON TWILL                       47     3,781
           1511    KHAKI POLYCOTTON                    65/35 POLYCOTTON TWILL                       67    12,432
           1512    LT.BLUE                             65/35 POLYCOTTON POPLIN                      21     2,446
           1755    BLUE PINFEATHER                     65/35 POLYCOTTON POPLIN                      19     1,490
           1756    WHITE PINFEATHER                    75/25 POLYCOTTON PINFEATHER                   1         97
           1766    YELLOW PINFEATHER                   75/25 POLYCOTTON PINFEATHER                   2       196
           1775    PINK PINFEATHER                     75/25 POLYCOTTON PINFEATHER                   1         11
           1784    SPRING GREEN PINFEATHER             75/25 POLYCOTTON PINFEATHER                  19     1,259
           1801    NAVY WINDSOR                        65/35 POLYRAYON SOLID                        28     3,370
           1802    GREEN WINDSOR                       65/35 POLYRAYON SOLID                         8       826
           1803    ROYAL BLUE WINDSOR                  65/35 POLYRAYON SOLID                        13     1,313
           1805    BLACK WINDSOR                       65/35 POLYRAYON SOLID                        19     4,785
           1806    GREY WINDSOR                        65/35 POLYRAYON SOLID                        13     1,060
           1808    SAND KHAKI POLYRAYON                65/35 POLYRAYON SOLID                        42    13,110
           1812    CANDINAL                            63/33/4 POLYRAYONSPENDEX SOLID             -          -
           1901    BLUE/BLACK/WHITE PLAID              100% POLYESTER PLAID                         24     1,028
           1902    ROYAL BLUE/PUTTY PLAID              100% POLYESTER PLAID                         21     1,577
           1903    BLUE/BLACK/GREY PLAID               100% POLYESTER PLAID                         32     2,136
           1905    GREEN/NAVY PLAID                    100% POLYESTER PLAID                         21     1,663
           1906    NAVY/WHITE GLEN PLAID               100% POLYESTER PLAID                         15     1,219
           1907    WHITE/RED/GREEN PLAID               100% POLYESTER PLAID                          9       894
           1908    GREEN/RED/NAVY PLAID                100% POLYESTER PLAID                         32     1,700
           1909    BLACK/RED/GREEN PLAID               100% POLYESTER PLAID                         31     2,180
           1912    WHITE/GREEN PLAID                   100% POLYESTER PLAID                         13       975
           1913    BLUE/GREY/RED PLAID                 100% POLYESTER PLAID                         21     3,266
           1915    MAROON/GREY PLAID                   100% POLYESTER PLAID                          8       688
           1916    GREEN/NAVY/BLACK PLAID              100% POLYESTER PLAID                         15     1,073
           1918    GREEN/GREY PLAID                    100% POLYESTER PLAID                         12       927
           1919    NAVY/WHITE HOUNDSTOOTH              100% POLYESTER PLAID                         18     1,260
           1920    BLUE/WHITE PLAID                    100% POLYESTER PLAID                         44     3,400
           1921    NAVY/GREEN/YELLOW PLAID             100% POLYESTER PLAID                       -           17
           1923    NAVY/RED/WHITE PLAID                100% POLYESTER PLAID                         38     2,017
           1924    NAVY/WHITE/YELLOW PLAID             100% POLYESTER PLAID                         19     1,300
           1925    NAVY/GREY PLAID                     100% POLYESTER PLAID                         25     1,875
           1926    BLACK/WHITE GLEN PLAID              100% POLYESTER PLAID                         12     1,102
           1927    WINE/GREY PLAID                     100% POLYESTER PLAID                         18     1,471
           1928    BLACK/WHITE W/RED GLEN PLAID        100% POLYESTER PLAID                         24     1,826
           1929    GREEN/RED/WHITE PLAID               100% POLYESTER PLAID                          6       397
           1931    RED/WHITE/GREY PLAID                100% POLYESTER PLAID                         11       942
           1932    WHITE/GREEN/YELLOW PLAID            100% POLYESTER PLAID                         30     2,162


                                                           Page 1 of 2
 In re Parker School Case
                     Uniforms, LLC
                             18-10085-CSS          Doc 3    Filed 01/12/18   Page 17 of 134
 Schedule A/B, #19 - Fabric Inventory (overseas)


   Parker                                   Fabric Details                                  Physical Inventory
Fabric Number    Color Description                   Fabric Content                         Rolls       Yards
          1934   BLACK/WHITE/BLUE PLAID              100% POLYESTER PLAID                       26        1,822
          1935   ROYAL BLUE/GREY PLAID               100% POLYESTER PLAID                       33        2,333
          1937   NAVY/RED PLAID                      100% POLYESTER PLAID                       12          725
          1939   NAVY/KHAKI/RED PLAID                100% POLYESTER PLAID                       19        1,808
          1941   NAVY/RED/KHAKI PLAID                100% POLYESTER PLAID                       11        1,240
          1942   BLACK/WHITE/ORANGE PLAID            100% POLYESTER PLAID                       20        1,914
          1943   RED/BLACK/WHITE PLAID               100% POLYESTER PLAID                         7         438
          1944   BLACK/WHITE W/CARD GLEN PLAID       100% POLYESTER PLAID                       30        2,212
          1946   BLACK/WHITE/PURPLE PLAID            100% POLYESTER PLAID                       40        2,956
          1947   BLACK/WHITE W/GOLD GLEN PLAID       100% POLYESTER PLAID                       35        2,821
          1950   GREEN/NAVY/YELLOW PLAID             100% POLYESTER PLAID                       27        2,368
          1952   BLACK/WHITE W/ORANGE GLEN PLAID 100% POLYESTER PLAID                           34        2,837
          1957   GREEN/YELLOW PLAID                  100% POLYESTER PLAID                       16          396
          1961   BLACK/WHITE W/YELLOW GLEN PLAID 100% POLYESTER PLAID                           39        2,736
          1965   GREEN/NAVY/WHITE PLAID              100% POLYESTER PLAID                       36        2,454
          1990   GREEN/RED PLAID                     100% POLYESTER PLAID                       19        1,378
          2001   BLUE/GREEN/RED PLAID                65/35 POLYCOTTON PLAID                     61        2,172
          2003   RED/WHITE/BLACK PLAID               65/35 POLYCOTTON PLAID                     29        2,020
          2004   BLUE/YELLOW/RED PLAID               65/35 POLYCOTTON PLAID                     17        1,497
          2005   RED/NAVY/WHITE PLAID                65/35 POLYCOTTON PLAID                     15        1,141
          2006   GREEN/BLACK/WHITE PLAID             65/35 POLYCOTTON PLAID                     37        3,954
          2007   WHITE/RED/GREEN PC PLAID            65/35 POLYCOTTON PLAID                       6         730
          2008   WHITE/GREEN/NAVY PLAID              65/35 POLYCOTTON PLAID                     28        1,823
          2009   RED/GREEN/NAVY PLAID                65/35 POLYCOTTON PLAID                     11          863
          2010   NAVY/BLUE/WHITE PLAID               65/35 POLYCOTTON PLAID                       8         939
          2012   WHITE/GREEN PC PLAID                65/35 POLYCOTTON PLAID                     40        2,046
          2013   BLUE/GREY/RED PC PLAID              65/35 POLYCOTTON PLAID                     19        1,885
          2015   GREEN/NAVY/WHITE PC PLAID           65/35 POLYCOTTON PLAID                     29        1,862
          2016   GREEN/WHITE/GREEN PLAID             65/35 POLYCOTTON PLAID                     31        3,534
          2017   GREY/MAROON/WHITE PLAID             65/35 POLYCOTTON PLAID                     10          737
          2018   KHAKI/NAVY/RED PLAID                65/35 POLYCOTTON PLAID                     13        1,444
          2019   NAVY/WHITE PC HOUNDSTOOTH           65/35 POLYCOTTON PLAID                     29        3,166
          2020   MAROON/YELLOW/GREY PLAID            65/35 POLYCOTTON PLAID                     25        2,420
          2021   WINE/YELLOW PLAID                   65/35 POLYCOTTON PLAID                     18        2,084
          2022   YELLOW/RED/BLUE PC PLAID            65/35 POLYCOTTON PLAID                       9       1,503
          2023   NAVY/RED/WHITE PC PLAID             65/35 POLYCOTTON PLAID                     13        1,240
          2024   NAVY/OLIVE PLAID                    65/35 POLYCOTTON PLAID                     14        1,370
          2025   YELLOW/RED/BLUE PC PLAID            65/35 POLYCOTTON PLAID                     10        1,048
          2028   WHITE/GREEN/NAVY PLAID              65/35 POLYCOTTON TWILL                     22        2,233
          2034   BLACK/WHITE/BLUE PLAID              65/35 POLYCOTTON PLAID                     19        1,479
          2035   ROYAL BLUE/GREY PC PLAID            65/35 POLYCOTTON PLAID                                 -
          2037   NAVY/BLACK/WHITE PLAID              65/35 POLYCOTTON PLAID                        33     2,484
          2039   NAVY/GREEN/BLACK PLAID              65/35 POLYCOTTON PLAID                    -              10
          2045   RED/NAVY/GREEN PLAID                65/35 POLYCOTTON PLAID                        21     1,014
          2050   GREEN/BLUE/NAVY PLAID               65/35 POLYCOTTON PLAID                        56     4,882
          2060   GREEN/NAVY/YELLOW PC PLAID          65/35 POLYCOTTON PLAID                         4     1,018
          2062   RED/NAVY PLAID                      65/35 POLYCOTTON PLAID                        45     3,148
          2065   BLUE/GREY/BLACK PLAID               65/35 POLYCOTTON PLAID                        17     1,966
          2077   BLACK/WHITE W/PURPLE GLEN PLAID     65/35 POLYCOTTON POPLIN                        9     1,075
          2085   RED/BLUE PLAID                      65/35 POLYCOTTON PLAID                        21     1,772
          2099   GREEN/NAVY/RED PLAID                65/35 POLYCOTTON PLAID                    -            -
          2200   WHITE BROADCLOTH                    65/35 POLYCOTTON BROADCLOTH                   15     1,047


                                                                              Grand Total   2,022       181,858




                                                       Page 2 of 2
                                  Case 18-10085-CSS                        Doc 3        Filed 01/12/18     Page 18 of 134

 Debtor         Parker School Uniforms, LLC                                                      Case number (If known)
                Name


               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures
           Office Fixtures                                                                $128,511.75   net book value                   $128,511.75



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment - schedule attached                                           $817,059.71   net book value                   $817,059.71



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $945,571.46
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
In re Parker School Uniforms,
                      CaseLLC 18-10085-CSS             Doc 3             Filed 01/12/18       Page 19 of 134
Schedule A/B, #41 - Office Equipment




                        Name                                       Description                                Type   Purchase
Credit card terminal           CAPITAL ONE MERCHANT SVC. (1- TP7 PLUS CREDIT CARD TERMINAL)     Computer Hardware          7/31/2010
E3000 Check Scanner            EQUIPMENT LOCATER SERVICES (AMEX) E3000 CHECK SCANNER            Computer Hardware           8/2/2010
E3000 Check Scanner            EQUIPMENT LOCATER SERVICES (AMEX) E3000 CHECK SCANNER            Computer Hardware          8/11/2010
Cyma server                    HARD DRIVES- CYMA SERVER                                         Computer Hardware           9/8/2010
Gateway drivers                GATEWAY DRIVES                                                   Computer Hardware          9/20/2010
Laser Printer                  LASER PRINTER                                                    Computer Hardware          9/20/2010
CE Cards                       CE CARDS                                                         Computer Hardware          9/21/2010
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware           2/2/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware           2/2/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware           2/2/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 1 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 1 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          2/11/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
UPS backup battery             UPS COMPUTERS                                                    Computer Hardware          2/14/2011
Poweredge File Server          1 DELL POWEREDGE T410 FILE SERVER                                Computer Hardware           4/7/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Hardware Firewall              SOEKRIS ENGINEERING, INC - 1 HARDWARE FIREWALL                   Computer Hardware          5/31/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 1 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 1 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC - 2 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Receipt Printers               CDW DIRECT, LLC -12 CITIZEN CT-S601 RECEIPT PRINTERS             Computer Hardware           6/7/2011
Scanners                       CDW DIRECT, LLC - 2 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 4 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 2 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 1 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 3 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 1 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 2 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 3 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 2 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 1 SCANNERS                                     Computer Hardware          6/24/2011
Scanners                       CDW DIRECT, LLC - 4 SCANNERS                                     Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 2 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 2 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 2 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 2 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 1 CABLE                                        Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 1 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 1 CABLES                                       Computer Hardware          6/24/2011
Scanner cables                 CDW DIRECT, LLC - 2 CABLES                                       Computer Hardware          6/24/2011
      In re Parker School Uniforms, LLC
                                       Case 18-10085-CSS                Doc 3             Filed 01/12/18                    Page 20 of 134
      Schedule A/B, #41 - Office Equipment




                                Name                                                Description                                                Type   Purchase
Scanner cables                                  CDW DIRECT, LLC - 1 CABLES                                                       Computer Hardware          6/24/2011
Scanner cables                                  CDW DIRECT, LLC - 1 CABLES                                                       Computer Hardware          6/24/2011
Credit Card Terminal                            CAPITAL ONE MERCHANT SVCS - TP7 PLUS CREDIT CARD TERMINAL                        Computer Hardware          6/30/2011
Credit Card Terminal                            CAPITAL ONE MERCHANT SVCS - TP7 PLUS CREDIT CARD TERMINAL                        Computer Hardware          6/30/2011
Check reader                                    CAPITAL ONE NA - EQUIPMENT LOCATOR - 2 INGENICO IV3000 CHECK READER              Computer Hardware           7/1/2011
Check reader                                    CAPITAL ONE NA - EQUIPMENT LOCATOR - 1 INGENICO IV3000 CHECK READER              Computer Hardware           7/1/2011
Firewall                                        2 HARDWARE FIREWALL                                                              Computer Hardware           7/1/2011
Firewall                                        2 HARDWARE FIREWALL                                                              Computer Hardware          7/11/2011
Monitor                                         DIRECTRON.COM - 1- BLACK ACER 23" MONITOR SERIAL #ETLFA0W0411120A73343231        Computer Hardware          7/12/2011
Monitor                                         DIRECTRON.COM - 1- BLACK ACER 23" MONITOR SERIAL #ETLFA0W0411120A7EA4323         Computer Hardware          7/12/2011
IT workstation computer                         DIRECTRON.COM - 1- IT WORKSTATION COMPUTER                                       Computer Hardware          7/12/2011
UPS backup battery                              DIRECTRON.COM - 4- UPS BATTERY BACKUP                                            Computer Hardware          7/12/2011
Laser Printer                                   MIKE MURPHY - LASER PRINTER                                                      Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN# 2UB522062W                      Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB44507M3                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB522070D                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB4440GXY                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB4460D7W                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB52206ZS                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB522070X                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB5260DVG                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB5220712                       Computer Hardware          7/27/2011
Compaq computer                                 RPC GLOBAL, INC -1 HP COMAQ DC 7100 COMPUTER SN#2UB5220717                       Computer Hardware          7/27/2011
Switch                                          DIRECTRON.COM -TRENDNET 52-PORT GIGABIT WEB BASED SMART SWITCH                   Computer Hardware          7/27/2011

Monitor                                         DIRECTRON.COM - USED A OPEN 17"LCD SQUARE MONITOR WITH BEIGE SPEAKERS F2717-8S Computer Hardware            7/27/2011

Monitor                                         DIRECTRON.COM - USED A OPEN 17"LCD SQUARE MONITOR WITH BEIGE SPEAKERS F2717-8S   Computer Hardware          7/27/2011
Cool Master Computer                            1 SPARE UPS COMPUTERS - COOL MASTER COMPUTER                                     Computer Hardware          7/27/2011
Cool Master Computer                            1 SPARE UPS COMPUTERS - COOL MASTER COMPUTER                                     Computer Hardware          7/27/2011
MacBook Pro                                     MAC SHUFORD- MACBOOK PRO- LAP TOP COMPUTER SN C02G2CZGDF8V                       Computer Hardware           9/6/2011
Lenovo Server                                   LENOVO SERVER 4GB UPGRADE KIT & 2 2TB EXTERNAL USB DRIVES                        Computer Hardware          10/3/2011
Lenovo desktop computer                         CDW DIRECT- DESK TOP COMPUTER LVO SERIAL NUMBER 1S3134A8UMJDEPMZ                 Computer Hardware          10/3/2011
Lenovo desktop computer                         CDW DIRECT- DESK TOP COMPUTER LVO SERIAL NUMBER 1S3134A8UMJDEPNV                 Computer Hardware          10/3/2011
WiFi Extender                                   CDW DIRECT- D-LINK WIRELESS N RANGE EXTENDER SERIAL NUMBER BAP1360ANAB1          Computer Hardware         11/14/2011
Brother Printer                                 CDW DIRECT- BROTHER HL-2270DW 27PPM PRINTER SERIAL NUMBER U62674M0J423506        Computer Hardware         11/14/2011
Lenovo desktop computer                         CDW DIRECT- DESK TOP COMPUTER LVO SERIAL NUMBER 1S3134A8UMJDHNCB                 Computer Hardware         11/22/2011
Lenovo desktop computer                         CDW DIRECT- DESK TOP COMPUTER LVO SERIAL NUMBER 1S3134A8UMJDHNDF                 Computer Hardware         11/22/2011
                                                LENOVO. COM - LENOVO LAP TOP SERIAL NUMBER #R-M42KG 12/02, TYPE 1141-CTO,
Lenovo Laptop                                   PRODUCT ID 1141CTO                                                               Computer Hardware          2/13/2012

Lenovo Laptop                                   CDW DIRECT, LLC- LVO DESKTOP COMPUTER - SERIAL NUMBER #1S1578L7UPBPAC82 SPARE    Computer Hardware           4/4/2012

Lenovo Laptop                                   CDW DIRECT, LLC- LVO DESKTOP COMPUTER - SERIAL NUMBER #1S1578L7UPBPAD06 SPARE    Computer Hardware           4/4/2012
Lenovo desktop computer                         CDW DIRECT, LLC- LVO DESK TOP COMPUTER-SERIAL NUMBER #1S1577M7UPBYWT27           Computer Hardware          5/17/2012
Computer desktop                                SOEKRIS ENGINEERING INC, THREE DESK TOP COMPUTER WITH NO SERIAL NUMBERS          Computer Hardware          5/31/2012
ThinkPad laptop computer                        COMPUCYCLE INC - LAP TOP COMPUTERS 'THINK PAD' SERIAL NUMBER #L3-MDFO0           Computer Hardware          5/31/2012
ThinkPad laptop computer                        COMPUCYCLE INC - LAP TOP COMPUTERS 'THINK PAD' SERIAL NUMBER #L3-AB6UT           Computer Hardware          5/31/2012
ThinkPad laptop computer                        COMPUCYCLE INC - LAP TOP COMPUTERS 'THINK PAD' SERIAL NUMBER #L3-MGRZ0           Computer Hardware          5/31/2012
Dell Latitude laptop computer                   COMPUCYCLE INC - LAP TOP COMPUTERS 'DELL LATITUDE' SERIAL NUMBER #CGTNK61        Computer Hardware          5/31/2012
Dell Latitude laptop computer                   COMPUCYCLE INC - LAP TOP COMPUTERS 'DELL LATITUDE' SERIAL NUMBER #4HH5481        Computer Hardware          5/31/2012
USB Scanner                                     CDW DIRECT,- (2) USB SCANNER KITS                                                Computer Hardware           6/1/2012
USB Scanner                                     CDW DIRECT,- (10) USB SCANNER KITS                                               Computer Hardware           6/5/2012

Lenovo desktop computer                         CDW DIRECT, LLC- LVO DESKTOP COMPUTER - SERIAL NUMBER #1S1577M7UPBHTML5 SPARE Computer Hardware             6/19/2012
MacBook Pro                                     APPLE STORE- LAP TOP COMUTER 'MACBOOK PRO' SERIAL NUMBER C0ZHV06YDV30         Computer Hardware             6/30/2012

Lenovo ThinkPad laptop                          DIRECTRON.COM -LAP TOP COMPUTERS 'LENOVO THINK PAD SERIAL NUMBER LR7CDZK         Computer Hardware          7/24/2012
Check reader                                    CAPITAL ONE NA - EQUIPMENT LOCATOR - 2 INGENICO IV3000 CHECK READER              Computer Hardware          7/31/2012
Laser Printer                                   MIKE MURPHY - LASER PRINTER                                                      Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 1 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Firewall                                        SOEKRIS ENGINEERING, INC - 2 HARDWARE FIREWALL                                   Computer Hardware          7/31/2012
Computer                                        COMPUTER- TROY PIKE                                                              Computer Hardware          7/31/2012
Laptop computer                                 LAPTOP COMPUTER                                                                  Computer Hardware          7/31/2012
Photoshop equipment                             PHOTOSHOP EQUIPMENT                                                              Computer Hardware          7/31/2012
Laptop computer                                 LAPTOP COMPUTER                                                                  Computer Hardware          7/31/2012
Laptop computer                                 LAPTOP COMPUTER                                                                  Computer Hardware          7/31/2012
Laptop computer                                 LAPTOP COMPUTER                                                                  Computer Hardware          7/31/2012
                                                CDW DIRECT, LLC- LENOVO EDGE LAPTOP COMPUTER - SERIAL NUMBER
Lenovo Edge laptop                              #1S03193SULR7RVBV - MANDY ARRIAGA (PLANT)                                        Computer Hardware           8/8/2012

Laser Printer                                   MICRO CENTER- PAVILION DESK TOP SERIAL NUMBER SMX3213909WW LESTER ARCHIBALD      Computer Hardware          8/29/2012

Lenovo Edge laptop                              CDW DIRECT, LLC- LENOVO EDGE LAPTOP COMPUTER - SERIAL NUMBER # GINGER TRACY      Computer Hardware           9/6/2012
MacBook Pro                                     APPLE STORE- LAP TOP COMUTER 'MACBOOK 'AIR' SERIAL NUMBER# MIKE PORTER           Computer Hardware          9/30/2012
Dell Desktop computer                           DELL DESK TOP COMPUTER XPS 8500 - MONOGRAM DEPT                                  Computer Hardware          9/30/2012
                                                CDW DIRECT, LLC- LENOVO EDGE DESKTOP COMPUTER - SERIAL NUMBER
Lenovo Edge Desktop                             #1S3133A8UMJRBGBT - SPARE UPS FOR OUTLET                                         Computer Hardware          10/1/2012
                                                CDW DIRECT, LLC- LENOVO EDGE LAPTOP COMPUTER - SERIAL NUMBER
Lenovo Edge laptop                              #1S325978UMP101WF - PAMELA JILES                                                 Computer Hardware          10/1/2012
Dell Optiplex desktop                           DELL - OPLIPLEX 390 DESKTOP COMPUTER -SERIAL NUMBER (JESSICA REIS)               Computer Hardware          10/8/2012
                                                CDW DIRECT, LLC- LENOVO EDGE DESKTOP COMPUTER - SERIAL NUMBER
Lenovo Edge desktop                             #1S3493BPUPBHABRA -RAY MOECKEL                                                   Computer Hardware         10/29/2012
iPad                                            APPLE STORE - IPAD FOR TROY PIKE                                                 Computer Hardware          11/5/2012
USB Scanner                                     CDW DIRECT,- (2) USB SCANNER KITS                                                Computer Hardware         11/30/2012
Laptop computer                                 COMPUTER FOR LUPE DOUGHERTY S# 1S33662WUMP1WFEC                                  Computer Hardware         12/11/2012
                                                CDW DIRECT INV W000921 SERIAL NO. 1S0958A4UMJVAARN (LVO TC M72E 13-3220 500GB
Lenovo Laptop                                   4GB)                                                                             Computer Hardware           1/4/2013
                                                CDW DIRECT INV W000921 SERIAL NO. 1S0958A4UMJVAARP (LVO TC M72E 13-3220 500GB
Lenovo Laptop                                   4GB)                                                                             Computer Hardware           1/4/2013
                                                CDW DIRECT INV W000921 SERIAL NO. 1S0958A4UMJVAAVX (LVO TC M72E 13-3220 500GB
Lenovo Laptop                                   4GB)                                                                             Computer Hardware           1/4/2013
Apple Time Capsule storeage drive               APPLE TIME CAPSULE -3TB (MD033LL/A)                                              Computer Hardware          1/31/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530 -                                                     Computer Hardware          2/18/2013
Dell Optiplex desktop                           OPTIPLEX 7010 DESKTOP W/STANDARD POWER SUPPY                                     Computer Hardware          2/14/2013
Dell Optiplex desktop                           OPTIPLEX 7010 DESKTOP W/STANDARD POWER SUPPY-                                    Computer Hardware          2/14/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530                                                       Computer Hardware          3/15/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530 -                                                     Computer Hardware           2/1/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530                                                       Computer Hardware          3/31/2013
      In re Parker School Uniforms, LLC
                                       Case 18-10085-CSS               Doc 3            Filed 01/12/18     Page 21 of 134
      Schedule A/B, #41 - Office Equipment



                                Name                                              Description                              Type   Purchase
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530                                   Computer Hardware           2/1/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530                                   Computer Hardware          3/31/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E5530                                   Computer Hardware          3/31/2013
Cash drawer                                     CASH DRAWER EQUIPMENT                                        Computer Hardware          4/30/2013
MacBook Pro                                     MacBook Pro, 13-inch                                         Computer Hardware           5/3/2013
Dell register serve                             DELL REGISTER SERVER                                         Computer Hardware          5/15/2013
Dell Desktop computer                           DELL DESK TOP COMPUTER                                       Computer Hardware           5/2/2013
Cash drawer                                     CASH DRAWER EQUIPMENT                                        Computer Hardware           5/2/2013
UPS backup battery                              UPS COMPUTER FOR STORE                                       Computer Hardware           6/6/2013
UPS backup battery                              UPS COMPUTER FOR STORE                                       Computer Hardware           6/6/2013
Cash drawer                                     CASH DRAWER EQUIPMENT                                        Computer Hardware           6/6/2013
Cash drawer                                     CASH DRAWER EQUIPMENT                                        Computer Hardware           6/6/2013
Net board                                       Net 4801-48 Board & Case                                     Computer Hardware          6/30/2013
Ultegra Scale                                   Ultegra II Flat top 14" x 14" Scale                          Computer Hardware          6/30/2013
Ultegra Scale                                   Ultegra II Flat top 14" x 14" Scale                          Computer Hardware          6/30/2013
Dell Optiplex desktop                           2 FAST DELL OPTIPLEX Tower Computer                          Computer Hardware          7/31/2013
Computer                                        Computers & Equipment                                        Computer Hardware          8/31/2013
Computer                                        Computers & Equipment                                        Computer Hardware          8/31/2013
Computer                                        Computers & Equipment                                        Computer Hardware          8/31/2013
Apple MBP                                       Apple MBP 13.3in 256GB                                       Computer Hardware          9/30/2013
HP Laptop                                       HP 15634 LAPTOP 4GB MEMORY                                   Computer Hardware         10/31/2013
Toshiba Satellite                               TOSHIBA SATELLITE 8 GB                                       Computer Hardware         10/31/2013
HP Laptop                                       HP - 15.6" LAPTOP 4GB                                        Computer Hardware         11/30/2013
WiFi install                                    WAREHOUSE WIFI INSTALLATION                                  Computer Hardware         12/31/2013
Laptop computer                                 CONFERENCE ROOM LAPTOP                                       Computer Hardware         12/31/2013
HP Laptop                                       HP ENVY 15634 LAPTOP                                         Computer Hardware         12/31/2013
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E6540                                   Computer Hardware          2/27/2014
Dell Latitude laptop computer                   DELL LAPTOP LATITUDE E6540                                   Computer Hardware          2/27/2014
Dell Latitude laptop computer                   DELL LATITUDE E6540                                          Computer Hardware          3/31/2014
Printer                                         PRINTER AND SOFTWARE FOR WAREHOUSE                           Computer Hardware          3/31/2014
Apple DDR                                       APPLE 1600MHZ DDR3L SDRAM                                    Computer Hardware          4/30/2014
COLMAN AND COMPANY                              USB LINKER FOR TAJIMA MACHINE                                Computer Hardware          4/30/2014
COLMAN AND COMPANY                              USB LINKER FOR TAJIMA MACHINE                                Computer Hardware          4/30/2014
COLMAN AND COMPANY                              E-USB LINKER FOR SWF COMPACT MACHINE                         Computer Hardware          4/30/2014
Diskless workstation                            10 DISKLESS WORKSTATION                                      Computer Hardware          6/30/2014
Laptop computer                                 4 LAPTOPS FOR #87                                            Computer Hardware          6/30/2014
Dell Desktop computer                           DELL DESKTOP COMPUTER                                        Computer Hardware          6/30/2014
Dell Desktop computer                           DELL DESKTOP COMPUTER                                        Computer Hardware          6/30/2014
Monitor                                         MONITOR FOR CUSTOMER QUEUE SYSTEM                            Computer Hardware          6/30/2014
monitor                                         MONITOR FOR CUSTOMER QUEUE SYSTEM                            Computer Hardware          6/30/2014
Dell Computer                                   DELL COMPUTER FOR CUSTOMER QUEUE SYSTEM                      Computer Hardware          6/30/2014
Dell Computer                                   DELL COMPUTER FOR CUSTOMER QUEUE SYSTEM                      Computer Hardware          6/30/2014
Dell Computer                                   DELL COMPUTER FOR CUSTOMER QUEUE SYSTEM                      Computer Hardware          6/30/2014
Monitor                                         MONITOR/WALL MOUNT FOR CUSTOMER QUEUE SYSTEM                 Computer Hardware          6/30/2014
Monitor                                         MONITOR/WALL MOUNT FOR CUSTOMER QUEUE SYSTEM                 Computer Hardware          6/30/2014
Monitor                                         MONITOR/WALL MOUNT FOR CUSTOMER QUEUE SYSTEM                 Computer Hardware          6/30/2014
Diskless workstation                            DISKLESS WORKSTATION                                         Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Diskless workstation                            2 DISKLESS WORKSTATION                                       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY       Computer Hardware          6/30/2014
Board & Slot case                               6 BOARD & SLOT STANDARD CASE WITH 4GB FLASH/POWER SUPPLY     Computer Hardware          6/30/2014
Server                                          SERVER FOR TG STORES                                         Computer Hardware          7/31/2014
Computer                                        COMPUTER FOR STORE 16                                        Computer Hardware          7/31/2014
Laptop computer                                 LAPTOP FOR QUE SYSTEM #6                                     Computer Hardware          7/31/2014
Laptop computer                                 LAPTOP FOR QUE SYSTEM #7                                     Computer Hardware          7/31/2014
Laptop computer                                 LAPTOP FOR QUE SYSTEM #8                                     Computer Hardware          7/31/2014
Laptop computer                                 LAPTOP FOR QUE SYSTEM #20                                    Computer Hardware          7/31/2014
Computer                                        COMPUTER EQUIPMENT FOR CORPORATE                             Computer Hardware          7/31/2014
Server                                          SERVER FOR TG STORES                                         Computer Hardware          7/31/2014
Dell laptop                                     DELL LAPTOP                                                  Computer Hardware          8/31/2014
Dell laptop                                     DELL LAPTOP                                                  Computer Hardware          8/31/2014
Computer                                        COMPUTER EQUIPMENT FOR SANDY SPRINGS                         Computer Hardware          8/31/2014
Processor                                       PROCESSOR FOR CORP                                           Computer Hardware          8/31/2014
Computer                                        REPLACEMENT COMPUTER                                         Computer Hardware          9/30/2014
Laptop computer                                 LAPTOP FOR BRENDA MARDIS                                     Computer Hardware         11/30/2014
Printer                                         2 PRINTERS FOR STORE 64                                      Computer Hardware          2/28/2015
Dell laptop                                     DELL LAPTOP & MEMORY MODULE                                  Computer Hardware          3/31/2015
Server                                          SERVER FOR CORP                                              Computer Hardware          3/31/2015
Microsoft server                                MICROSOFT WINDOWS SERVER CORP                                Computer Hardware          3/31/2015
Printer                                         4 RECEIPT PRINTERS FOR #41                                   Computer Hardware          4/30/2015
Soerkris Net                                    SOERKRIS NET 5501-60                                         Computer Hardware          4/30/2015
Netgear                                         5 - NET GEAR DESKTOP                                         Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 24                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 19                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 30                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 16                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 10                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 6                                         Computer Hardware          4/30/2015
Computer                                        3 COMPUTERS FOR CORP                                         Computer Hardware          4/30/2015
Computer                                        4 COMPUTERS FOR CORP                                         Computer Hardware          4/30/2015
Scanner                                         6 BARCODE SCANNERS FOR STORE 64                              Computer Hardware          4/30/2015
Scanner                                         4 BARCODE SCANNERS FOR STORE 63                              Computer Hardware          4/30/2015
Scanner                                         4 BARCODE SCANNERS FOR STORE 62                              Computer Hardware          4/30/2015
Scanner                                         8 BARCODE SCANNERS FOR STORE 61                              Computer Hardware          4/30/2015
Scanner                                         4 BARCODE SCANNERS FOR STORE 66                              Computer Hardware          4/30/2015
Computer                                        4 COMPUTERS FOR CORP                                         Computer Hardware          4/30/2015
Scanner                                         4 BARCODE SCANNERS FOR STORE 65                              Computer Hardware          4/30/2015
Dell laptop                                     DELL COMPUTER - LAPTOP                                       Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 66                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 65                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 64                                        Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 62                                        Computer Hardware          4/30/2015
Computer                                        4 COMPUTERS FOR STORE 24                                     Computer Hardware          4/30/2015
Computer                                        DELL COMPUTER FOR AP                                         Computer Hardware          4/30/2015
Computer                                        COMPUTER FOR STORE 63                                        Computer Hardware          4/30/2015
Computer                                        6 DELL COMPUTERS FOR TRUE GRITS                              Computer Hardware          4/30/2015
Printer                                         RECEIPT PRINTERS FOR NEW STORES                              Computer Hardware          4/30/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 6                               Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 66                              Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 64                              Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 63                              Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 62                              Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 5                               Computer Hardware          5/31/2015
Printer                                         2 RECEIPT PRINTERS FOR STORE 65                              Computer Hardware          5/31/2015
Printer                                         RECEIPT PRINTER NEW STORES                                   Computer Hardware          5/31/2015
                                 Case 18-10085-CSS               Doc 3            Filed 01/12/18   Page 22 of 134
      In re Parker School Uniforms, LLC
      Schedule A/B, #41 - Office Equipment



                          Name                                              Description                            Type   Purchase
Printer                                   RECEIPT PRINTER FOR STORE 46                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 61                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 62                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 63                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 64                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 66                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 41                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 41                               Computer Hardware          5/31/2015
Printer                                   3 RECEIPT PRINTERS FOR NEW STORES                          Computer Hardware          5/31/2015
Printer                                   2 RECEIPT PRINTERS FOR STORE 6                             Computer Hardware          5/31/2015
Printer                                   2 RECEIPT PRINTERS FOR STORE 5                             Computer Hardware          5/31/2015
Printer                                   4 RECEIPT PRINTERS FOR STORE 41                            Computer Hardware          5/31/2015
Printer                                   2 RECEIPT PRINTERS FOR STORE 42                            Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 43                               Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTER FOR STORE 45                               Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Credit card terminal                      CREDIT CARD TERMINAL                                       Computer Hardware          5/31/2015
Printer                                   RECEIPT PRINTERS FOR STORE 46                              Computer Hardware          6/30/2015
Display adapters                          22 CABLES TO GO DISPLAY ADAPTER                            Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
Dell Optiplex desktop                     COMPUTER - OPTIPLEX 3020 MINITOWER                         Computer Hardware          6/30/2015
Dell Optiplex desktop                     COMPUTER - OPTIPLEX 3020 MINITOWER                         Computer Hardware          6/30/2015
Printer                                   RETURN-3 RECEIPT PRINTERS CORP                             Computer Hardware          6/30/2015
Computer                                  COMPUTER FOR STORE #72                                     Computer Hardware          6/30/2015
Computer                                  COMPUTER FOR STORE #65                                     Computer Hardware          6/30/2015
Brother printer                           BROTHER MULTIFUNTION COPIER                                Computer Hardware          6/30/2015
Printer                                   RETURN-2 RECEIPT PRINTERS #64                              Computer Hardware          6/30/2015
Printer                                   RETURN-1 RECEIPT PRINTERS #65                              Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER #64                                        Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER #65                                        Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER #66                                        Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER #63                                        Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER #61                                        Computer Hardware          6/30/2015
Printer                                   RETURN - 2 RECEIPT PRINTER #66                             Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTERS & ADAPTERS               Computer Hardware          6/30/2015
Brother printer                           BROTHER HL MULTIFUNCTION PRINTER                           Computer Hardware          6/30/2015
PC Mover                                  PC MOVER                                                   Computer Hardware          6/30/2015
USB Flash drives                          3 USB FLASH DRIVES                                         Computer Hardware          6/30/2015
Router                                    BROADBAND ROUTER                                           Computer Hardware          6/30/2015
Netgear                                   NETGEAR PROSAFE                                            Computer Hardware          6/30/2015
CAT5 Cables                               8 15FT CABLES                                              Computer Hardware          6/30/2015
CAT5 Cables                               1 7FT CABLE                                                Computer Hardware          6/30/2015
Printer                                   RECEIPT PRINTER                                            Computer Hardware          7/31/2015
Printer                                   RECEIPT PRINTER                                            Computer Hardware          7/31/2015
Label printer                             ZEBRA G SERIES LABEL PRINTER                               Computer Hardware          7/31/2015
Network booting                           10 PXE NETWORK BOOTING                                     Computer Hardware          7/31/2015
Dell Optiplex desktop                     OPTIPLEX 3020 MINITOWER BTX BASE                           Computer Hardware          7/31/2015
VGA Adapter                               10 ADDON VGA ADAPTER - DVI-I(M) - HD-15(F) WHITE           Computer Hardware          7/31/2015
Laptop computer                           LAPTOP FOR STORE #6                                        Computer Hardware          7/31/2015
Laptop computer                           LAPTOP FOR STORE #51                                       Computer Hardware          7/31/2015
Computer                                  COMPUTER FOR STORE #70                                     Computer Hardware          7/31/2015
UPS backup battery                        APC SMART-UPS 1500VA                                       Computer Hardware          7/31/2015
Tablets                                   21 TABLETS FOR STORE CHECK OUT PROCESS                     Computer Hardware          7/31/2015
Nexus cas                                 22 NEXUS 9 CASE                                            Computer Hardware          7/31/2015
Brother printer                           BROTHER HL L2380DW DW MULTIFUNCTION                        Computer Hardware          7/31/2015
Data flash drive                          A DATA CLASSIC SERIES C008USB FLASH DRIVE                  Computer Hardware          7/31/2015
Printer                                   CITIZEN CT-S651 RECEIPT PRINTER                            Computer Hardware          7/31/2015
Brother printer                           BROTHER HL-L2360DW LASER PRINTER                           Computer Hardware          7/31/2015
Brother printer                           BROTHER - MLTFUNC LASERPR 35PPM COPIER DUPLX WLS           Computer Hardware          7/31/2015
Keyboard,mouse, printer                   8 C2GKEYBOARD/MOUSE ADPTER/PRINTER                         Computer Hardware          7/31/2015
Computer                                  COMPUTER FOR STORE 70 ( 2 MONITORS, & NETGEAR PROSAFE      Computer Hardware          7/31/2015
LTSP TERM 1620                            LTSP TERM 1620                                             Computer Hardware          7/31/2015
LTSP TERM 1620                            LTSP TERM 1620                                             Computer Hardware          7/31/2015
UPS backup battery                        SCHNEIDER ELECTRIC - BACK UPS ES 350VA 120V5-15P           Computer Hardware          7/31/2015
Dell Optiplex desktop                     OPTIPLEX 3020 MINITOWER BTX BASE                           Computer Hardware          7/31/2015
Toshiba memory                            TOSHIBA MEMORY TERA BITE                                   Computer Hardware          7/31/2015
Laptop computer                           LAPTOP FOR CINDY JORGENSEN                                 Computer Hardware          7/31/2015
Laptop computer                           10 LAPTOPS TRUE GRITS                                      Computer Hardware          7/31/2015
Power supply                              NET 5501-60 POWER SUPPLY                                   Computer Hardware          7/31/2015
Brother printer                           BROTHER HL-L2360DW LASER PRINTER                           Computer Hardware          7/31/2015
Monitor                                   PLANAR PLL2210WLED MONITOR                                 Computer Hardware          7/31/2015
Brother printer                           BROTHER HL-L2360DW LASER PRINTER                           Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Cablepatch cable                          2 CABLEPATCH CABLE - RJ-45                                 Computer Hardware          7/31/2015
Solid state drive                         TRANSCEND SSD370SOLID STATE DRIVE                          Computer Hardware          7/31/2015
Printer                                   2 CITIZEN CT-S601 RECEIPT PRINTER                          Computer Hardware          7/31/2015
Printer                                   2 CITIZEN CT-S601 RECEIPT PRINTER                          Computer Hardware          7/31/2015
Printer                                   CITIZEN CT -S651 RECEIPT PRINTER                           Computer Hardware          7/31/2015
Keyboard and Mouse                        LOGITECH WIRELESS DESKTOP KEYBOARD AND MOUSE               Computer Hardware          8/31/2015
Scanner                                   ZEBRA SCANNER LI2208                                       Computer Hardware          8/31/2015
Monitor                                   PLANAR PLL2210WLED MONITOR                                 Computer Hardware          8/31/2015
Scanner                                   ZEBRA SCANNER LI2208                                       Computer Hardware          8/31/2015
Monitor                                   3 PLANAR 22" MONITORS                                      Computer Hardware          8/31/2015
Keyboard and Mouse                        KEYBOARD & MOUSE FOR CORP                                  Computer Hardware          8/31/2015
Keyboard and Mouse                        KEYBOARD & MOUSE FOR CORP                                  Computer Hardware          8/31/2015
Monitor                                   22" MONITOR FOR STORE 8                                    Computer Hardware          8/31/2015
Monitor                                   22" MONITOR FOR STORE 20                                   Computer Hardware          8/31/2015
Brother printer                           BROTHER LASER PRINTER & COPIER                             Computer Hardware          8/31/2015
Network booting                           10 PXE NETWORK BOOTING                                     Computer Hardware          8/31/2015
Brother printer                           BROTHER - MLTFUNC LASERPR 35PPM COPIER DUPLX WLS           Computer Hardware          8/31/2015
Monitor                                   MONITOR, CABLE AND TV MOUNT FOR QUE SYSTEM                 Computer Hardware          8/31/2015
Cables                                    CABLES FOR QUE SYSTEM FOR STORE 87                         Computer Hardware          8/31/2015
Adapter                                   ANGLE ADAPTER FOR QUE SYTEM STORE 87                       Computer Hardware          8/31/2015
Keyboard and Mouse                        10 8 GB USB, MOUSE KEYBOARD & CABLE ADAPTERS               Computer Hardware          8/31/2015
Credit card terminal                      NEW CREDIT CARD TERMINALS FOR TABLE PROJECT                Computer Hardware          8/31/2015
Brother printer                           REVISION FOR BROTHER HL-L2360DW LASER PRINTER              Computer Hardware          8/31/2015
Brother printer                           REVISION FOR BROTHER HL-L2360DW LASER PRINTER              Computer Hardware          8/31/2015
Copier                                    COPIER FOR STORE #16                                       Computer Hardware          9/30/2015
Tech support                              TECHNICAL SUPPORT RENEWAL CORP                             Computer Hardware          9/30/2015
Printer                                   1 RECEIPT PRINTER FOR STORE 65                             Computer Hardware          9/30/2015
BARCODE PRINTER                           BARCODE PRINTER                                            Computer Hardware         10/31/2015
                                         Case 18-10085-CSS                Doc 3             Filed 01/12/18          Page 23 of 134
       In re Parker School Uniforms, LLC
       Schedule A/B, #41 - Office Equipment



                                  Name                                                Description                                   Type   Purchase
BARCODE PRINTER                                   BARCODE PRINTER                                                     Computer Hardware         10/31/2015
BARCODE PRINTER                                   BARCODE PRINTER                                                     Computer Hardware         10/31/2015
BARCODE PRINTER                                   BARCODE PRINTER                                                     Computer Hardware         10/31/2015
BARCODE PRINTER                                   BARCODE PRINTER                                                     Computer Hardware         10/31/2015
BARCODE PRINTER                                   BARCODE PRINTER                                                     Computer Hardware         10/31/2015
Dell Optiplex desktop                             OPTIPLEX 9020 MINI TOWER                                            Computer Hardware         10/31/2015
Adapter                                           NETWORK ADAPTER                                                     Computer Hardware         10/31/2015
Brother printer                                   CREDIT BROTHER HL-L2360DW LASER PRINTER                             Computer Hardware         12/31/2015
UPS backup battery                                UPS BACKUP FOR SERVER                                               Computer Hardware          1/31/2016
Printer                                           RECEIPT PRINTER STORE #64                                           Computer Hardware          2/28/2016
Printer                                           PRINTER STORE #64                                                   Computer Hardware          2/28/2016
Printer                                           ZEBRA LP 2824 PLUSLABEL PRINTER STORE #61                           Computer Hardware          2/28/2016
Dell Optiplex desktop                             OPTIPLEX 3020 MINITOWER BTX BASE                                    Computer Hardware          2/28/2016
Dell Optiplex desktop                             OPTIPLEX 3020 MINITOWER BTX BASE STORE #74                          Computer Hardware          2/28/2016
Dell Optiplex desktop                             OPTIPLEX 3020 MINITOWER BTX BASE STORE #17                          Computer Hardware          2/28/2016
Dell Optiplex desktop                             OPTIPLEX 3020 MINITOWER BTX BASE STORE #38                          Computer Hardware          2/28/2016
Laptop computer                                   LAPTOP FOR ERIC TOUREILLES                                          Computer Hardware          3/31/2016
Laptop computer                                   LAPTOP FOR AARON KEYES                                              Computer Hardware          3/31/2016
Laptop computer                                   LAPTOP FOR AARON KEYES                                              Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Printer                                           ZEBRA LP 2824 PLUS LABEL DESKTOP PRINTER                            Computer Hardware          3/31/2016
Diskless workstation                              5 DISKLESS WORKSTATIONS                                             Computer Hardware          4/30/2016
Computer                                          COMPUTER FOR TERESA CARTER #6                                       Computer Hardware          4/30/2016
Computer                                          COMPUTER FOR NILO PUCKETT #1                                        Computer Hardware          4/30/2016
Computer                                          COMPUTER FOR ROB SHALLAR #39                                        Computer Hardware          4/30/2016
Computer                                          COMPUTER FOR LEE ANNE ALDRED #26                                    Computer Hardware          4/30/2016
Computer                                          COMPUTER FOR LUPE DOUGHERTY #63                                     Computer Hardware          4/30/2016
Credit card terminal                              TWO CREDIT CARD TERMINALS FOR STORE #1                              Computer Hardware          4/30/2016
Dell Optiplex desktop                             OPTIPLEX MINITOWER BTX BASE                                         Computer Hardware          4/30/2016
Dell Optiplex desktop                             OPTIPLEX MINITOWER BTX BASE                                         Computer Hardware          4/30/2016
Dell Optiplex desktop                             OPTIPLEX MINITOWER BTX BASE                                         Computer Hardware          4/30/2016
Dell Optiplex desktop                             OPTIPLEX MINITOWER BTX BASE                                         Computer Hardware          4/30/2016
Dell Optiplex desktop                             OPTIPLEX MINITOWER BTX BASE                                         Computer Hardware          4/30/2016
Computer                                          COMPUTER/PRINTER/MONITOR FOR                                        Computer Hardware          5/31/2016
Verizon Mobile Hotspot                            VERIZON MOBILE HOTSPOTS FOR EPOS VAN SALES                          Computer Hardware          5/31/2016
Credit card terminal                              CREDIT CARD TERMINALS                                               Computer Hardware          5/31/2016
Computer                                          DELL COMPUTER FOR STORE #2                                          Computer Hardware          5/31/2016
Credit card terminal                              7 CREDIT CARD TERMINAL/ 8 PORT GIGABIT DESKTOP SWITCH               Computer Hardware          5/31/2016
Credit card terminal                              STORE CREDIT CARD TERMINALS                                         Computer Hardware          5/31/2016
Epos equipment                                    EQUIPMENT FOR EPOS                                                  Computer Hardware          5/31/2016
Tablets                                           TABLET FOR STORE QLESS SYSTEM                                       Computer Hardware          5/31/2016
Adapter                                           WIRELESS ADAPTORS FOR STORES                                        Computer Hardware          5/31/2016
Adapter                                           3 ASUS WIRELESS ADAPTORS                                            Computer Hardware          5/31/2016
Credit card terminal                              15 CREDIT CARD TERMINAL                                             Computer Hardware          5/31/2016
Software update                                   UPDATE SOFTWARE FOR CORPORATE 9 TO 11                               Computer Hardware          5/31/2016
Computer                                          COMPUTER (TOWER)/ MOUSE/KEYBOARD                                    Computer Hardware           6/8/2016
Computer                                          COMPUTER (TOWER)/ MOUSE/KEYBOARD                                    Computer Hardware           6/8/2016
Printer                                           PRINTER                                                             Computer Hardware           6/8/2016
Credit card terminal                              CREDIT CARD TERMINALS                                               Computer Hardware          6/30/2016
Lenovo tablets                                    3 LENOVO TABLETS FOR QLESS SYSTEM                                   Computer Hardware          6/30/2016
Lenovo tablets                                    5 LENOVO TABLETS FOR QLESS SYSTEM                                   Computer Hardware          6/30/2016
Credit card terminal                              EQUIPMENT CREDIT CARD PROJECT                                       Computer Hardware          6/30/2016
Credit card terminal                              EQUIPMENT CREDIT CARD PROJECT                                       Computer Hardware          6/30/2016
Epos equipment                                    EQUIPMENT FOR EPOS PROJECT                                          Computer Hardware          6/30/2016
Adapter                                           WIRELESS PPROJECT - ADAPTORS FOR STORES                             Computer Hardware          6/30/2016
Credit card terminal                              PAYMENT SYSTEM EQUIPMENT                                            Computer Hardware          7/31/2016
Printer                                           WIRELESS PROJECT LASER PRINTER FOR STORE 81                         Computer Hardware          7/31/2016
Printer                                           WIRELESS PROJECT LASER PRINTER FOR STORE 2                          Computer Hardware          7/31/2016
Printer                                           WIRELESS PROJECT LASER PRINTER FOR STORE 65                         Computer Hardware          7/31/2016
Adapter                                           CREDIT FOR 3 ASUS WIRELESS ADAPTORS Asset #2083                     Computer Hardware          7/31/2016
Dell Computer                                     DELL COMPUTER FOR STORE #26                                         Computer Hardware          7/31/2016
Brother printer                                   BROTHER PRINTER FOR STORE 26                                        Computer Hardware          7/31/2016
Brother printer                                   BROTHER PRINTER FOR STORE 66                                        Computer Hardware          7/31/2016
Monitor                                           MONITOR FOR STORE 66                                                Computer Hardware          7/31/2016
Flash upgrate kit                                 FLASH UPGRADE KIT FOR SHELLY SORENSEN                               Computer Hardware          7/31/2016
Lenovo tablets                                    LENOVO IDEA PADS FOR WIRELESS PROJECT FOR TRUE GRITS STORES         Computer Hardware          7/31/2016
Epos equipment                                    EQUIPMENT FOR EPOS                                                  Computer Hardware          7/31/2016
Tablets                                           TABLETS FOR STORE QLESS SYSTEM                                      Computer Hardware          7/31/2016
Epos equipment                                    EPOS PROJECT - PADS & MISC SUPPLIES                                 Computer Hardware          8/31/2016
Heartland credit card equipment                   HEARTLAND PAYMENT SYSTEM EQUIPMENT                                  Computer Hardware          8/31/2016
Dell Optiplex desktop                             DELL OPTIPLEX COMPUTER                                              Computer Hardware          8/31/2016
Laptop computer                                   LAPTOP FOR JIM MULLADY - CORP                                       Computer Hardware          9/30/2016
Monitor                                           MONITOR FOR CINDY JORGENSEN - CORP                                  Computer Hardware          9/30/2016
Security gateway                                  SECURITY GATEWAY FOR STORE 61                                       Computer Hardware          9/30/2016
Security gateway                                  SECURITY GATEWAY FOR STORE 62                                       Computer Hardware          9/30/2016
Security gateway                                  SECURITY GATEWAY FOR STORE 63                                       Computer Hardware          9/30/2016
Access points                                     6 ACCESS POINTS FOR THE DC                                          Computer Hardware          9/30/2016
Computer                                          CUSTOMER SERVICE COMPUTER                                           Computer Hardware          9/30/2016
Computer                                          COMPUTER FOR AMY ROSS                                               Computer Hardware          9/30/2016
Laptop computer                                   LAPTOP FOR ANGELA DINA - SALES                                      Computer Hardware          9/30/2016
Computer                                          COMPUTERS TO REPLACE WINDOWS XP & WINDOWS 98 PCS                    Computer Hardware          9/30/2016
Scanning                                          SCANNING EQUIPMENT FOR INVENTORY                                    Computer Hardware          9/30/2016
Laptop computer                                   LAPTOP FOR MIKE MURPHY                                              Computer Hardware          9/30/2016
Credit card terminal                              PAYMENT SYSTEM EQUIPMENT                                            Computer Hardware          9/30/2016
Laptop computer                                   LAPTOP FOR CASON REYNOLDS                                           Computer Hardware         10/31/2016
Security gateway                                  SECURITY GATEWAY                                                    Computer Hardware         10/31/2016
Laptop computer                                   LAPTOP FOR BRITTANY HATCHER                                         Computer Hardware         10/31/2016
Inventory supplies                                INVENTORY SUPPLIES                                                  Computer Hardware         10/31/2016
Scanners                                          YEARLY INVENTORY SCANNERS                                           Computer Hardware         11/30/2016
Laptop computer                                   LAPTOPS FOR JAYME CORIATY(LAPTOP & DOCK)/ROBERT FROGGE              Computer Hardware         11/30/2016
Laptop computer                                   LAPTOP FOR AARON KEYES                                              Computer Hardware         12/31/2016
Computer                                          COMPUTERS AND DOCKS FOR PLANNING/SUSEN SARPA/NEW HIRE               Computer Hardware         12/31/2016
Computer                                          COMPUTER FOR STORE 45                                               Computer Hardware          1/31/2017
Computer                                          COMPUTER FOR STORE 20                                               Computer Hardware          1/31/2017
Computer                                          COMPUTER FOR STORE 41                                               Computer Hardware          1/31/2017
Ubiquiti Unifi                                    12 UBIQUITI UNIFI SECUTIRY APPLIANCE FOR STORES                     Computer Hardware          1/31/2017
Laptop computer                                   LAPTOP FOR ANGELA WOODRUFF - SALES                                  Computer Hardware          1/31/2017
Laptop computer                                   LAPTOP FOR ROB SHOLLAR - STORE 39                                   Computer Hardware          1/31/2017
Ubiquiti Unifi                                    9 UBIQUITI UNIFI SECURITY APPLAINCE W/KEYBOARD, MOUSE FO STORES     Computer Hardware          1/31/2017
Computer                                          COMPUTER FOR TROY PIKE                                              Computer Hardware          2/28/2017
Computer                                          COMPUTER FOR BARBARA                                                Computer Hardware          2/28/2017
Computer                                          COMPUTER FOR BARBARA COHEN                                          Computer Hardware          2/28/2017
Computer                                          COMPUTER FOR CINDY JORGENSEN                                        Computer Hardware          2/28/2017
Monitor                                           RETURNED MONITORS                                                   Computer Hardware          2/28/2017
Best Buy                                          Best Buy - Capitalize Laptops for NPOS                              Computer Hardware           6/1/2017
Best Buy                                          Best Buy - Capitalize Laptops for NPOS                              Computer Hardware           6/1/2017
Best Buy                                          Best Buy - Capitalize Laptops for NPOS                              Computer Hardware           6/1/2017
Best Buy                                          Best Buy - Capitalize Laptops for NPOS                              Computer Hardware           6/1/2017
                                 Case 18-10085-CSS                   Doc 3             Filed 01/12/18                    Page 24 of 134
      In re Parker School Uniforms, LLC
      Schedule A/B, #41 - Office Equipment



                         Name                                                    Description                                                   Type   Purchase

Laptop computer                               DON VAN DER WIEL : BEST BUY 5/28/2017 -MISCELLANEOUS LAPTOPS FOR NPOS ROLLOUT   Computer Hardware             5/31/2017
                                              VAN DER WIEL DONEXPENSE REPORT 5/28/17 :LAPTOPS FOR NPOS ROLLOUT
Laptop computer                               MISCELLANEOUS                                                                   Computer Hardware             6/30/2017
BARCODE SCANNER-DC WH                         BARCODE SCANNER-DC WH                                                           Computer Hardware             2/29/2012
Tablets                                       21 TABLETS FOR STORE CHECK OUT PROCESS                                          Computer Hardware             8/31/2015
TEL TECH PHONE MODEM                          TEL TECH PHONE/MODEM                                                            Computer Hardware             2/29/2012
TEL TECH PLUS 8 PORT VM                       TEL TECH PLUS 8 PORT VM                                                         Computer Hardware             2/29/2012
SIGNAGE                                       SIGNAGE                                                                         Furniture & Fixtures           5/4/1999
SIGNAGE                                       SIGNAGE                                                                         Furniture & Fixtures          5/21/1999
SIGNAGE                                       SIGNAGE                                                                         Furniture & Fixtures          4/12/2000
SIGNS                                         SIGNS                                                                           Furniture & Fixtures          2/21/2001
SIGNS                                         SIGNS                                                                           Furniture & Fixtures          3/21/2001
JOSLIN SINGS                                  JOSLIN SINGS                                                                    Furniture & Fixtures          7/17/2003
JIM HARPER SIGNS                              JIM HARPER SIGNS                                                                Furniture & Fixtures          6/10/2003
J.C.SIGNS                                     J.C.SIGNS                                                                       Furniture & Fixtures           6/6/2005
J.C.SIGNS                                     J.C.SIGNS                                                                       Furniture & Fixtures           7/5/2005
APACHE SIGN CO.                               APACHE SIGN CO.                                                                 Furniture & Fixtures          6/30/2006
APACHE SIGN CO.                               APACHE SIGN CO.                                                                 Furniture & Fixtures          7/24/2006
R&R SIGN CO.                                  R&R SIGN CO.                                                                    Furniture & Fixtures           5/5/2006
R&R SIGN CO.                                  R&R SIGN CO.                                                                    Furniture & Fixtures          6/12/2006
JOSLIN SIGNS                                  JOSLIN SIGNS                                                                    Furniture & Fixtures         10/16/2007
JOSLIN SIGNS                                  JOSLIN SIGNS                                                                    Furniture & Fixtures         10/31/2007
RAINBOW SIGNS & SERVICES                      RAINBOW SIGNS & SERVICES                                                        Furniture & Fixtures           7/2/2008
CITY SIGN CONTRACTORS                         CITY SIGN CONTRACTORS                                                           Furniture & Fixtures           7/2/2008
RAINBOW SIGNS & SERVICES                      RAINBOW SIGNS & SERVICES                                                        Furniture & Fixtures          9/28/2008
Postage machine                               PITNEY BOWES LLC-BUYOUT-MAILING SYSTEM                                          Furniture & Fixtures          8/12/2010
WALMART - MIRRORS (AMEX)                      WALMART - MIRRORS (AMEX)                                                        Furniture & Fixtures         10/18/2010
SIGN MONTGOMERY                               SIGN MONTGOMERY                                                                 Furniture & Fixtures          1/14/2011
SIGNS MACON                                   SIGNS MACON                                                                     Furniture & Fixtures          1/14/2011
SIGNATURE SIGNS LAWRNCVLL                     SIGNATURE SIGNS LAWRNCVLL                                                       Furniture & Fixtures          1/14/2011
SIGNS                                         SIGNS                                                                           Furniture & Fixtures          1/14/2011
SIGNS                                         SIGNS                                                                           Furniture & Fixtures          1/14/2011
Shelves                                       SAVE ON FREIGHT, LLC SHELVES-CORP-WAREHOUSE                                     Furniture & Fixtures          2/15/2011
Shelving units                                1-800-BUY-RACK - ADDITIONAL SHELVING UNITS                                      Furniture & Fixtures           5/1/2011
Shelving                                      TITO VARGAS-PLATFORMS FOR SHELVES                                               Furniture & Fixtures           7/6/2011
Shelving                                      1-800-BUY-RACK - SHELVING UNITS                                                 Furniture & Fixtures           8/1/2011
AUSTIN SIGN COMPANY - NEW SIGN                AUSTIN SIGN COMPANY - NEW SIGN                                                  Furniture & Fixtures          1/17/2012
Shelving                                      AUSTIN MATERIAL HANDLING COMPANY- SHELVING                                      Furniture & Fixtures          2/10/2012

Custom Cabinets                               ELITE CUSTOMS CABINETS- MOVE COUNTERS FROM OLD LOCATION TO NEW LOCATION         Furniture & Fixtures          2/17/2012
Newood Fixtures                               NEWOOD FIXTURES- FIXTURES (Mastercard)                                          Furniture & Fixtures          4/15/2012
Shelving                                      AUSTIN MATERIAL HANDLING COMPANY- SHELVING                                      Furniture & Fixtures          4/18/2012
Ladder                                        1-800-BUY-RACK- (MASTERCHARGE) LADDER                                           Furniture & Fixtures          4/30/2012
Shelving                                      1-800-BUY-RACK- (MASTERCHARGE) SHELVING                                         Furniture & Fixtures          4/30/2012
CUSTOM SIGN CREATIONS- PERMANENT STORE SIGN   CUSTOM SIGN CREATIONS- PERMANENT STORE SIGN                                     Furniture & Fixtures           5/1/2012
40" TV                                        BEST BUY 40" TV FOR STORE #20 -KDL408X450                                       Furniture & Fixtures          6/11/2012
CUSTOM SIGN CREATIONS- PERMANENT STORE SIGN   CUSTOM SIGN CREATIONS- PERMANENT STORE SIGN                                     Furniture & Fixtures          6/19/2012
Shelving                                      SHELVING FROM 1-800-BUYRACK                                                     Furniture & Fixtures          7/31/2012
Shelving                                      SHELVING FROM 1-800-BUYRACK                                                     Furniture & Fixtures          7/31/2012
Shelving                                      1-800 BUYRACK - SHELVING                                                        Furniture & Fixtures          7/31/2012
Shelving                                      1-800-BUY-RACK - ADDITIONAL SHELVING UNITS                                      Furniture & Fixtures          7/31/2012
Shelving                                      1-800-BUY-RACK - SHELVING UNITS                                                 Furniture & Fixtures          7/31/2012
Store signage                                 AUSTIN SIGN CO. NEW STORE FRONT/STREET SIGN                                     Furniture & Fixtures          7/31/2012
Cabinets                                      ELITE CUSTOM CABINETS-INSTALL CABINETS                                          Furniture & Fixtures          7/31/2012
Counter                                       MORNING STAR CONSTRUCTION - COUNTER SPACE                                       Furniture & Fixtures          7/31/2012
Postage machine                               PITNEY BOWES LLC-BUYOUT-MAILING SYSTEM                                          Furniture & Fixtures          7/31/2012
Shoe floor display                            STORE FIXTURES EXPERTS - SHOE FLOOR DISPLAYS (AMEX)                             Furniture & Fixtures          7/31/2012
Shoe floor display                            STORE FIXTURES EXPERTS - SHOE FLOOR DISPLAYS (AMEX)                             Furniture & Fixtures          7/31/2012
Shoe floor display                            STORE FIXTURES EXPERTS - SHOE FLOOR DISPLAYS (AMEX)                             Furniture & Fixtures          7/31/2012
Shoe floor display                            TWIN DISCOVERY SYSTEMS INC.- SHOE DISPLAY                                       Furniture & Fixtures          7/31/2012
Shoe floor display                            STORE FIXTURES EXPERTS - SHOE FLOOR DISPLAYS (AMEX)                             Furniture & Fixtures          7/31/2012
Shelving                                      96X18X84" WIDE SPAN STORAGE RACK W/ ADDL SHELF                                  Furniture & Fixtures          2/14/2013
Black leather furniture                       CONTEMPORORARY BLACK LEATHER FURNITURE                                          Furniture & Fixtures          3/12/2013
Blinds                                        1" BALI CUSTOMISER 8 GUAGE MINI BLINKDS                                         Furniture & Fixtures          3/31/2013
Barcode Scanner                               ZT230 4" THERMAL TRANSFER BARCODE SCANNER                                       Furniture & Fixtures          4/24/2013
Picnic Tables                                 2 COMMERCIAL GRADE PICNIC TABLES                                                Furniture & Fixtures           4/1/2013
Safety Rail                                   MFG CRASH GUARD SAFETY RAIL                                                     Furniture & Fixtures           4/1/2013
Cubicles                                      CUBICLE WORK STATIONS 50% DOWN PYMT                                             Furniture & Fixtures           4/1/2013
6 Tier locker                                 6 TIER/3 WIDE LOCKER 36X12X72                                                   Furniture & Fixtures          4/30/2013
50" Smart TV                                  50" Smart TV - Vizo                                                             Furniture & Fixtures          4/30/2013
Shelving                                      SHELVING FOR STORE 7                                                            Furniture & Fixtures          5/14/2013
Sales counters                                SALES COUNTERS STORE 80                                                         Furniture & Fixtures          5/13/2013
Shelving                                      SELVES AND COUNTERS                                                             Furniture & Fixtures           6/6/2013
Shelving                                      CUSTOM SELVES & COUNTERS                                                        Furniture & Fixtures          6/21/2013
Shelving                                      SHELVING AT STORE 14                                                            Furniture & Fixtures          6/30/2013
Accessory cart                                STORE ACCESSORY CARTS                                                           Furniture & Fixtures          6/30/2013
Shelving                                      RACKING AND SHELVING                                                            Furniture & Fixtures          6/30/2013
Shelving                                      OFFICE FIXTURES AND SHELVING                                                    Furniture & Fixtures          6/30/2013
Ladder                                        7 STEP ROLLING LADDER                                                           Furniture & Fixtures          6/30/2013
Ladder                                        7 STEP ROLLING LADDER                                                           Furniture & Fixtures          6/30/2013
Ladder                                        7 STEP ROLLING LADDER                                                           Furniture & Fixtures          6/30/2013
Racking                                       Store 82 Racks - 5 sets                                                         Furniture & Fixtures          6/30/2013
Shopping baskets                              Shopping baskets for New Store                                                  Furniture & Fixtures          6/30/2013
Shopping baskets                              Shopping baskets for New Store                                                  Furniture & Fixtures          6/30/2013
Desks                                         2 Office Desks                                                                  Furniture & Fixtures          6/30/2013
VITAL SIGNS                                   New Sign                                                                        Furniture & Fixtures          7/24/2013
EXECUTIVE SIGNS, LTD                          New Sign                                                                        Furniture & Fixtures           7/1/2013
Appliances                                    Household Appliance store                                                       Furniture & Fixtures          8/31/2013
Racking                                       3 CLOTHES RACKS FOR GALLERIA OAKS STORE                                         Furniture & Fixtures         10/31/2013
HP desktops                                   10 HP 7900 DESKTOPS, KEYBOARDS, AND MOUSE                                       Furniture & Fixtures          1/31/2014
Shelving                                      SHELVES                                                                         Furniture & Fixtures          2/27/2014
Pallet Rack                                   2 UNITS OF LYON PALLET RACK 36X96X96                                            Furniture & Fixtures          5/31/2014
Counters                                      COUNTERS                                                                        Furniture & Fixtures          6/30/2014
Counters                                      COUNTERS                                                                        Furniture & Fixtures          6/30/2014
Taxes                                         TAXES FOR ASSETS NUMBER                                                         Furniture & Fixtures          8/31/2014
Scanner                                       4 BARDCODE SCANNERS FOR WAREHOUSE                                               Furniture & Fixtures          1/31/2015
PXE NETWORK BOOTING LTSP TERM 1620            PXE NETWORK BOOTING LTSP TERM 1620                                              Furniture & Fixtures          4/30/2015
PXE NETWORK BOOTING LTSP TERM 1620            PXE NETWORK BOOTING LTSP TERM 1620                                              Furniture & Fixtures          4/30/2015
PXE NETWORK BOOTING LTSP TERM 1620            PXE NETWORK BOOTING LTSP TERM 1620                                              Furniture & Fixtures          4/30/2015
PXE NETWORK BOOTING LTSP TERM 1620            PXE NETWORK BOOTING LTSP TERM 1620                                              Furniture & Fixtures          4/30/2015
Shelving                                      SHELVING FOR NEW STORE - CHANDLER                                               Furniture & Fixtures          4/30/2015
KASE SIGN CO.                                 SIGN FOR STORE 65                                                               Furniture & Fixtures          4/30/2015
Counters                                      FABRICATE & INSTALL SALES COUNTER                                               Furniture & Fixtures          5/31/2015
Shelving                                      STEEL SHELVING FOR BEAUMONT STORE                                               Furniture & Fixtures          5/31/2015
Racks                                         STOCKROOM RACKS FOR STORE 86                                                    Furniture & Fixtures          5/31/2015
THE SIGNERY, INC                              PANCHANNEL LETTER SIGN                                                          Furniture & Fixtures          5/31/2015
Chairs                                        18 OFFICE CHAIRS                                                                Furniture & Fixtures          6/30/2015
Shelving                                      SHELVING FOR STORE 87                                                           Furniture & Fixtures          6/30/2015
Shelving                                      SHELVING FOR #70                                                                Furniture & Fixtures          7/31/2015
Shelving                                      SHELVING FOR STORE #70                                                          Furniture & Fixtures          7/31/2015
Shelving                                      ADDITIONAL SHELVING FOR STORE #83                                               Furniture & Fixtures          7/31/2015
Shelving                                      SHELVING FOR STORE #82                                                          Furniture & Fixtures          7/31/2015
In re Parker SchoolCase
                    Uniforms, LLC
                         18-10085-CSS                    Doc 3             Filed 01/12/18                    Page 25 of 134
Schedule A/B - Fabric Inventory (domestic)


                          Name                                       Description                                                    Type   Purchase
Shelving                         SHELVING FOR STORE #82                                                            Furniture & Fixtures          7/31/2015
Shelving                         SHELVING FOR STORE 75                                                             Furniture & Fixtures          7/31/2015
Shelving                         SHELVING FOR #75                                                                  Furniture & Fixtures          7/31/2015
Shelving                         SHELVES FOR STORE 82                                                              Furniture & Fixtures          8/31/2015
Shelving                         RACKS FOR ARIZONA STORE                                                           Furniture & Fixtures          8/31/2015
Shelving                         SHELVING FOR STORE 82                                                             Furniture & Fixtures          8/31/2015
Cabinets                         CABINETS FOR STORE #87                                                            Furniture & Fixtures          9/30/2015
Credit for GHA Invoice           CREDIT FOR GHA INVOICE                                                            Furniture & Fixtures          9/30/2015
Shelving                         SHELVING FOR STORE #75                                                            Furniture & Fixtures         10/31/2015
Shelving                         SHELVING FOR STORE #75                                                            Furniture & Fixtures         10/31/2015
Shelving                         SHELVING FOR #86                                                                  Furniture & Fixtures         10/31/2015
Rolling Racks                    4 FOLDABLE ROLLING RACKS                                                          Furniture & Fixtures           6/8/2016
Round Racks                      11 36" ROUND RACKS                                                                Furniture & Fixtures           6/8/2016
Double bar racks                 21 DOUBLE BAR RACKS                                                               Furniture & Fixtures           6/8/2016
Hangrails                        12 60" ADD ON HANGRAILS                                                           Furniture & Fixtures           6/8/2016
Hangrails                        106 12" HANGRAIL BRACKETS                                                         Furniture & Fixtures           6/8/2016
Double bar racks                 22 23x52 DOUBLE BAR RACK TOPPER                                                   Furniture & Fixtures           6/8/2016
Round Racks                      12 30" ROUND GLASS TOPS                                                           Furniture & Fixtures           6/8/2016
Round Racks                      3 42" ROUND RACK                                                                  Furniture & Fixtures           6/8/2016
Round Racks                      4 48" ROUND TUBE                                                                  Furniture & Fixtures           6/8/2016
Round Racks                      4 96" ROUND TUBE                                                                  Furniture & Fixtures           6/8/2016
Towers                           19 TOWERS                                                                         Furniture & Fixtures           6/8/2016
Panels                           3 GRID PANELS (SOCKS)                                                             Furniture & Fixtures           6/8/2016
Triangle base                    TRIANGLE BASE                                                                     Furniture & Fixtures           6/8/2016
Spinner                          4-TIER SPINNER                                                                    Furniture & Fixtures           6/8/2016
Shelving                         80 12" BLACK SHELF BRACKETS                                                       Furniture & Fixtures           6/8/2016
Shelving                         35 12x48 BLACK MELAMINE SHELVING                                                  Furniture & Fixtures           6/8/2016
Shelving                         102 SHELF SUPPORT                                                                 Furniture & Fixtures           6/8/2016
Grid cube pen                    14 MINI GRID CUBE PEN                                                             Furniture & Fixtures           6/8/2016
Shelving                         2 3-SIDED UNITS 24x24x24                                                          Furniture & Fixtures           6/8/2016
Shelving                         6 SHELF W/ HANGER ON BACK                                                         Furniture & Fixtures           6/8/2016
cubes                            2 GLASS CUBES                                                                     Furniture & Fixtures           6/8/2016
Shelving                         2 SHELF W/12 POCKETS                                                              Furniture & Fixtures           6/8/2016
Shelving                         5 SHELF W/15 POCKETS                                                              Furniture & Fixtures           6/8/2016
Shelving                         SHELF W/21 POCKETS                                                                Furniture & Fixtures           6/8/2016
Shelving                         132 10" SHELF BRACKETS                                                            Furniture & Fixtures           6/8/2016
Shelving                         2 2X2X4' 3-TIER SHELF                                                             Furniture & Fixtures           6/8/2016
Slatwall display                 7 4-SIDED SLATWALL DISPLAY                                                        Furniture & Fixtures           6/8/2016
Foot platform                    1x3 FOOT PLATFORM                                                                 Furniture & Fixtures           6/8/2016
Ladder                           3 3 FOOT FOLDING STEP LADDER                                                      Furniture & Fixtures           6/8/2016
Ladder                           3 FOOT FOLDING STEP LADDER                                                        Furniture & Fixtures           6/8/2016
Ladder                           ROLLING LADDER WITH SHELVES                                                       Furniture & Fixtures           6/8/2016
Shelving                         33 8x12 WHITE WOODEN SHELF                                                        Furniture & Fixtures           6/8/2016
Shelving                         8 4x12 WHITE WOODEN SHELF                                                         Furniture & Fixtures           6/8/2016
cubbies                          3 WOODEN CUBBIES                                                                  Furniture & Fixtures           6/8/2016
cart                             2 FLATBED CART                                                                    Furniture & Fixtures           6/8/2016
Crowd Controls                   15 CROWD CONTROLS                                                                 Furniture & Fixtures           6/8/2016
Counter                          4 48x22x42 MAPLE COUNTER                                                          Furniture & Fixtures           6/8/2016
Counter                          4 24x18x38 MAPLE COUNTER                                                          Furniture & Fixtures           6/8/2016
Counter                          72x22x42 MAPLE COUNTER                                                            Furniture & Fixtures           6/8/2016
Bench                            12' WOODEN BENCH                                                                  Furniture & Fixtures           6/8/2016
Bucket                           T&M BUCKET                                                                        Furniture & Fixtures          7/31/2016
Wire bag hooks                   WIRE BAG HOOKS FOR ALL LOCATIONS TO SUPPORT EPOS BTS INITISTIVE                   Furniture & Fixtures          7/31/2016
Counter                          COUNTER FOR STORE 36/81                                                           Furniture & Fixtures          7/31/2016
Counter                          COUNTER FOR STORE #43                                                             Furniture & Fixtures          7/31/2016
Retail Fixtures                  FIXTURES FOR STORE #41                                                            Furniture & Fixtures          7/31/2016
Bucket                           T&M BUCKET #2                                                                     Furniture & Fixtures          7/31/2016
Shelving                         SHELVES FOR STORE #80                                                             Furniture & Fixtures          7/31/2016
Shelving                         SHELVES FOR STORE #66                                                             Furniture & Fixtures          7/31/2016
Shelving                         SHELVES FOR STORE #66                                                             Furniture & Fixtures          8/31/2016
Sign                             SIGN FOR STORE #43                                                                Furniture & Fixtures          8/31/2016
Shelving                         SHELVES FOR STORE #80                                                             Furniture & Fixtures          8/31/2016
Shelving                         SHELVES FOR STORE #80                                                             Furniture & Fixtures          8/31/2016
SIGNS MFG                        STORE 80 SIGN                                                                     Furniture & Fixtures          8/31/2016
QUALITY AWNINGS & SIGNS          AWNING FOR STORE #66                                                              Furniture & Fixtures          8/31/2016
SIGNS MFG                        REMOVE & RE-INSTALLATION OF SIGN                                                  Furniture & Fixtures          9/30/2016
SIGNAL SIGN                      SIGN FOR STORE #43 - 2ND HALF OF PAYMENT $4,877                                   Furniture & Fixtures          9/30/2016
Shelving                         SHELVES FOR STORE #80                                                             Furniture & Fixtures         10/31/2016
Vinyl Graphics                   VINYL GRAPHICS                                                                    Furniture & Fixtures         11/30/2016
Retail Fixtures                  STORE 66 FIXTURES                                                                 Furniture & Fixtures         11/30/2016
Sign                             SIGN FOR STORE #82                                                                Furniture & Fixtures          1/31/2017
Speakers                         CONFERENCE ROOM SPEAKERS AND INSTALLATION                                         Furniture & Fixtures          1/31/2017
Shelving                         SHELVING FOR STORE #39                                                            Furniture & Fixtures          3/31/2017
Pictures wall hangings           PICTURES FOR STORE 80 REMODELING                                                  Furniture & Fixtures          3/31/2017
Blinds                           BLINDS FOR STORE #80                                                              Furniture & Fixtures          3/31/2017
Shelving                         CHROME WIRE SHELVES                                                               Furniture & Fixtures          3/31/2017
Shelving                         SHELVING FOR STORE #7                                                             Furniture & Fixtures          3/31/2017
Brackets for shelving            40 BRACKETS FOR STORE REMODEL                                                     Furniture & Fixtures          3/31/2017
Bathroom fixtures                BATHROOM MIRRORS & LIGHT FIXTURES FOR STORE 80 REMODEL                            Furniture & Fixtures          3/31/2017
Retail floor seating             SEATING FOR SALES FLOOR STORE 80                                                  Furniture & Fixtures          3/31/2017
Signs                            HANGRAILS AND SLIDING SIGNS FOR STORE 80 REMODEL                                  Furniture & Fixtures          3/31/2017
Brackets for shelving            40 BRACKETS FOR STORE REMODEL                                                     Furniture & Fixtures          3/31/2017
Lighting fixtures                REPLACE AND ADD 30 NEW 40 BULB LAY-IN FIXTURES                                    Furniture & Fixtures          3/31/2017
RELIABLE SIGNS, LLC              PARKER SIGNS FOR BUCKHEAD STORES                                                  Furniture & Fixtures          3/31/2017
RELIABLE SIGNS, LLC              PARKER SIGNS FOR BUCKHEAD STORES                                                  Furniture & Fixtures          3/31/2017
RELIABLE SIGNS, LLC              PARKER SIGNS FOR BUCKHEAD STORES                                                  Furniture & Fixtures          3/31/2017
RELIABLE SIGNS, LLC              PARKER SIGNS FOR BUCKHEAD STORES                                                  Furniture & Fixtures          3/31/2017
RELIABLE SIGNS, LLC              PARKER SIGNS FOR BUCKHEAD STORES                                                  Furniture & Fixtures          3/31/2017
Retail Fixtures                  FIXTURES FOR STORE #51                                                            Furniture & Fixtures          4/30/2017
Vinyl Graphics                   Installation of Dark Navy vinyl logos for monument sign                           Furniture & Fixtures          5/31/2017
Signs                            Final payment for outdoor signs                                                   Furniture & Fixtures          5/31/2017
RELIABLE SIGNS, LLC              signs                                                                             Furniture & Fixtures          5/31/2017
ULINE                            WORKSTATIONS FOR MONOGRAMMING                                                     Furniture & Fixtures          6/30/2017
Signs                            2 Parker School Uniform Logo signs                                                Furniture & Fixtures          6/30/2017
Signs                            MANUFACTURED AND INSTALL TWO TENANT PANELS FOR SIGNS                              Furniture & Fixtures          6/30/2017
Signs                            Customer Clear Decals for Stores                                                  Furniture & Fixtures          6/20/2017
Conference Tables                2 Conference Tables/ 2 Circle Tables                                              Furniture & Fixtures          7/27/2017

Portable Dressing room           AMY ROSS May 2017 MC:5/3/2017 AMAZON MKTPLACE PMTS - Portable Dressing Rooms #5   Furniture & Fixtures          5/31/2017
Shelving                         AMY ROSS May 2017 MC:5/8/2017 IKEA HOME SHOPPING - #51 remodel 8 shelf units      Furniture & Fixtures          5/31/2017
                                 CONTRACTED AMOUNT DUE FOR PARKER SCHOOL UNIFORM SANDY SPRINGS SIGNAGE
Signs                            PROJECT                                                                           Furniture & Fixtures          6/19/2017
                                 CONTRACTED AMOUNT DUE FOR 42 PARKER SCHOOL UNIFORMS LAWRENCEVILLE SIGNAGE
Signs                            PROJECT                                                                           Furniture & Fixtures          6/20/2017
RVSD SIGNS                       RVSD SIGNS                                                                        Furniture & Fixtures          2/29/2012
Parker Sign                      50% DOWN PYMT PARKER SIGN                                                         Furniture & Fixtures          4/11/2013
Parker Sign                      50% FINAL PYMT PARKER SIGN                                                        Furniture & Fixtures          5/16/2013
EXECUTIVE SIGNS, LTD             NEW SIGN & INSTALLATION (BALANCE DUE)                                             Furniture & Fixtures          8/31/2013
MODULAR POP UP DISPLAY           MODULAR POP UP DISPLAY                                                            Furniture & Fixtures          2/29/2012
JERICO-NEW SWAMP COOLER          JERICO-NEW SWAMP COOLER                                                           Furniture & Fixtures          2/29/2012
FURNITURE SHOW BOOTH             FURNITURE SHOW BOOTH                                                              Furniture & Fixtures          2/29/2012
VARIOUS MACH & EQUIP             VARIOUS MACH & EQUIP                                                              Furniture & Fixtures          2/29/2012
                                 Case 18-10085-CSS                              Doc 3             Filed 01/12/18                    Page 26 of 134
     In re Parker School Uniforms, LLC
     Schedule A/B, #41 - Office Equipment



                          Name                                                              Description                                                Type    Purchase
CONTRACTED AMOUNT DUE FOR 47 PARKER SCHOOL              CONTRACTED AMOUNT DUE FOR 47 PARKER SCHOOL UNIFORMS CHAMBLEE SIGNAGE
UNIFORMS CHAMBLEE SIGNAGE PROJECT                       PROJECT                                                                       Furniture & Fixtures            9/1/2017
AMY ROSS Sep 2017 MC 7/24/2017 SEATING FOR #83          AMY ROSS Sep 2017 MC 7/24/2017 SEATING FOR #83                                Furniture & Fixtures           9/27/2017
AMY ROSS Sep 2017 MC 7/19/2017 SEATING CHAIRS FOR #75
RELOCATION                                              AMY ROSS Sep 2017 MC 7/19/2017 SEATING CHAIRS FOR #75 RELOCATION              Furniture & Fixtures           9/27/2017
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements         1/15/1999
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements          5/3/1999
IMPROVEMENTS                                            IMPROVEMENTS                                                                  Leasehold Improvements         5/18/1999
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements          3/1/1999
IMPROVEMENTS                                            IMPROVEMENTS                                                                  Leasehold Improvements         6/14/1999
IMPROVEMENTS                                            IMPROVEMENTS                                                                  Leasehold Improvements        10/20/1999
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements         2/10/1999
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         3/18/1999
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         5/24/1999
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements          8/3/1999
HEB                                                     HEB                                                                           Leasehold Improvements          8/3/1999
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements        10/22/1999
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         5/13/1999
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements         3/20/2000
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         5/25/2000
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         10/1/2000
HANGING RACKS                                           HANGING RACKS                                                                 Leasehold Improvements         1/14/2000
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements          3/1/2000
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         3/20/2000
CB RICHARD ELLIS                                        CB RICHARD ELLIS                                                              Leasehold Improvements         6/21/2000
ARCHITECTUAL WORK                                       ARCHITECTUAL WORK                                                             Leasehold Improvements         2/17/2000
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         2/16/2001
CARRIAGE PARK CTR.                                      CARRIAGE PARK CTR.                                                            Leasehold Improvements         2/26/2001
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements          3/5/2001
CONSTRUCTION COSTS                                      CONSTRUCTION COSTS                                                            Leasehold Improvements         4/18/2001
NICHOLAS ACOUSTICS                                      NICHOLAS ACOUSTICS                                                            Leasehold Improvements         7/23/2003
MARYLAND COMMONS                                        MARYLAND COMMONS                                                              Leasehold Improvements         7/16/2003
PRESTON PIERCE CONS                                     PRESTON PIERCE CONS                                                           Leasehold Improvements         8/18/2003
MIKE RICE CONSTR                                        MIKE RICE CONSTR                                                              Leasehold Improvements         5/28/2003
MARSON CONSTRUCTION                                     MARSON CONSTRUCTION                                                           Leasehold Improvements          7/7/2004
B&B SPECIALTY                                           B&B SPECIALTY                                                                 Leasehold Improvements         4/22/2005
B&B SPECIALTY                                           B&B SPECIALTY                                                                 Leasehold Improvements         5/23/2005
APPLY CENTER                                            APPLY CENTER                                                                  Leasehold Improvements         7/25/2005
HOLT LOWE                                               HOLT LOWE                                                                     Leasehold Improvements         4/27/2005
PRESTON PIERCE CONS                                     PRESTON PIERCE CONS                                                           Leasehold Improvements         7/18/2005
PTC DUNHILL HOLDING                                     PTC DUNHILL HOLDING                                                           Leasehold Improvements          9/9/2005
CRAWFORD/SMITH/SHARP                                    CRAWFORD/SMITH/SHARP                                                          Leasehold Improvements        10/18/2006
MASTER GENERAL CONT.                                    MASTER GENERAL CONT.                                                          Leasehold Improvements         4/19/2006
MASTER GENERAL CONT.                                    MASTER GENERAL CONT.                                                          Leasehold Improvements         6/29/2006
MASTER GENERAL CONT.                                    MASTER GENERAL CONT.                                                          Leasehold Improvements          8/4/2006
CA NEW PLAN                                             CA NEW PLAN                                                                   Leasehold Improvements         9/18/2006
J&P CONSTRUCTION                                        J&P CONSTRUCTION                                                              Leasehold Improvements         6/26/2006
J&P CONSTRUCTION                                        J&P CONSTRUCTION                                                              Leasehold Improvements         3/27/2007
J&P CONSTRUCTION                                        J&P CONSTRUCTION                                                              Leasehold Improvements         6/12/2007
J&P CONSTRUCTION                                        J&P CONSTRUCTION                                                              Leasehold Improvements         7/12/2007
CAP FIRST COLONY                                        CAP FIRST COLONY                                                              Leasehold Improvements         9/26/2007
TENANT BLDG GROUP                                       TENANT BLDG GROUP                                                             Leasehold Improvements         4/23/2007
TENANT BLDG GROUP                                       TENANT BLDG GROUP                                                             Leasehold Improvements          6/4/2007
TENANT BLDG GROUP                                       TENANT BLDG GROUP                                                             Leasehold Improvements         8/13/2007
FREEMAN WEBB CO                                         FREEMAN WEBB CO                                                               Leasehold Improvements         9/11/2007
CITY SIGN CONTRACTORS                                   CITY SIGN CONTRACTORS                                                         Leasehold Improvements          5/8/2008
YOUNG CONSTRUCTION, LLC                                 YOUNG CONSTRUCTION, LLC                                                       Leasehold Improvements         7/11/2008
HAYDN CUTLER COMPANY                                    HAYDN CUTLER COMPANY                                                          Leasehold Improvements         7/23/2008
MG CONSTRUCTION - CONSTRUCTION WORK                     MG CONSTRUCTION - CONSTRUCTION WORK                                           Leasehold Improvements         12/2/2008
ROHDE ARCHITECTS INC                                    ROHDE ARCHITECTS INC                                                          Leasehold Improvements          2/2/2010
ARS/RESCUE ROOTER- A/C REPLACEMENT                      ARS/RESCUE ROOTER- A/C REPLACEMENT                                            Leasehold Improvements          4/1/2010
PRESTON PIERCE CONSTRUCTION-REMODEL OUTLET #5           PRESTON PIERCE CONSTRUCTION-REMODEL OUTLET #5                                 Leasehold Improvements          8/9/2010
R & R ENVIRONMENTAL- A/C CONDENSER                      R & R ENVIRONMENTAL- A/C CONDENSER                                            Leasehold Improvements         10/1/2010
FARRELL CALHOUN PAINT (AMEX)                            FARRELL CALHOUN PAINT (AMEX)                                                  Leasehold Improvements        10/18/2010
LOWES OF BATESVILLE- CARPET (AMEX)                      LOWES OF BATESVILLE- CARPET (AMEX)                                            Leasehold Improvements        10/18/2010
BOBBY CROWE- PAINT INTERIOR & INSTALL BASEBOARDS        BOBBY CROWE- PAINT INTERIOR & INSTALL BASEBOARDS                              Leasehold Improvements        10/21/2010
WAYNE LESTER-CARPENTRY                                  WAYNE LESTER-CARPENTRY                                                        Leasehold Improvements         11/1/2010
PRESTON PIERCE CONSTRUCTION-REMODEL OUTLET              PRESTON PIERCE CONSTRUCTION-REMODEL OUTLET #5;PAYDOWN FROM BRADFORD MGT
#5;PAYDOWN FROM BRADFORD MGT CO AMF EL MONTE            CO AMF EL MONTE                                                               Leasehold Improvements         12/3/2010
STORE BUILD OUT S SPRINGS                               STORE BUILD OUT S SPRINGS                                                     Leasehold Improvements         1/14/2011
STORE BUILD OUT SPRINGS                                 STORE BUILD OUT SPRINGS                                                       Leasehold Improvements         1/14/2011
STORE BUILD OUT SPRINGS                                 STORE BUILD OUT SPRINGS                                                       Leasehold Improvements         1/14/2011
LHLD IMPRV ALPHARETTA                                   LHLD IMPRV ALPHARETTA                                                         Leasehold Improvements         1/14/2011
LHLD IMPR-TILES LVILLE                                  LHLD IMPR-TILES LVILLE                                                        Leasehold Improvements         1/14/2011
LHLD IMPR MACON                                         LHLD IMPR MACON                                                               Leasehold Improvements         1/14/2011
ALAMO HANDYMAN LLC-LIGHT/BALLAST REPLACEMENT            ALAMO HANDYMAN LLC-LIGHT/BALLAST REPLACEMENT                                  Leasehold Improvements         5/11/2011
CROSS BUILDING GROUP, LP- WAREHOUSE RENOVATIONS         CROSS BUILDING GROUP, LP- WAREHOUSE RENOVATIONS                               Leasehold Improvements         5/20/2011
CROSS BUILDING GROUP, LP- SALES FLOOR                   CROSS BUILDING GROUP, LP- SALES FLOOR                                         Leasehold Improvements         5/20/2011

CROSS BUILDING GROUP, LP- STORAGE RACKS RELOCATION      CROSS BUILDING GROUP, LP- STORAGE RACKS RELOCATION                            Leasehold Improvements         5/23/2011
AMRIT SSPH PRESTON TOWNE CROSSING- PAYDOWN              AMRIT SSPH PRESTON TOWNE CROSSING- PAYDOWN                                    Leasehold Improvements         5/28/2011
CROSS BUILDING GROUP, LP- ELECTRICAL RISER DIAGRAM &
PERMITS                                                 CROSS BUILDING GROUP, LP- ELECTRICAL RISER DIAGRAM & PERMITS                  Leasehold Improvements         7/18/2011
R & R ENVIRONMENTAL-NEW A/C UNIT                        R & R ENVIRONMENTAL-NEW A/C UNIT                                              Leasehold Improvements          8/1/2011
CROSS BUILDING GROUP, LP- ELECTRICAL SERVICE            CROSS BUILDING GROUP, LP- ELECTRICAL SERVICE                                  Leasehold Improvements         8/16/2011
CROSS BUILDING GROUP,LP- CAD DRAWINGS                   CROSS BUILDING GROUP,LP- CAD DRAWINGS                                         Leasehold Improvements         8/25/2011
CROSS BUILDING GROUP,LP - NEW BREAKERS                  CROSS BUILDING GROUP,LP - NEW BREAKERS                                        Leasehold Improvements         9/27/2011
FOX ELECTRIC LTD - ELECTRICIAL WORK U-SHAPE FIXTURES,
CAN FIXTURES                                            FOX ELECTRIC LTD - ELECTRICIAL WORK U-SHAPE FIXTURES, CAN FIXTURES            Leasehold Improvements        10/27/2011
LEE THOMPSON CO- REPLACE A/C COIL & DRIERS              LEE THOMPSON CO- REPLACE A/C COIL & DRIERS                                    Leasehold Improvements         12/1/2011
CROSS BUILDING GROUP,LP- 25% DOWNPAYMENT                CROSS BUILDING GROUP,LP- 25% DOWNPAYMENT                                      Leasehold Improvements          2/1/2012
LEE THOMPSON CO - REPLACE CONDENSER, CONTACTOR, ON
#1 UNIT, CONDENSER FAN MOTOR,BLADE,CAPACITOR ON UNIT    LEE THOMPSON CO - REPLACE CONDENSER, CONTACTOR, ON #1 UNIT, CONDENSER FAN
#2                                                      MOTOR,BLADE,CAPACITOR ON UNIT #2                                              Leasehold Improvements          2/1/2012

LEE THOMPSON CO - NEW CARRIER UNIT SERIAL #3811C58684   LEE THOMPSON CO - NEW CARRIER UNIT SERIAL #3811C58684                         Leasehold Improvements          2/2/2012
PARADISE CONSTRUCTION INC.- TENANT IMPROVEMENT,
SEPARATE SUITES, RE-FEED ELECTRICAL AT NEW OPENING,     PARADISE CONSTRUCTION INC.- TENANT IMPROVEMENT, SEPARATE SUITES, RE-FEED
DISASSEMBLES DRESSING ROOM AS NEED TOP CREATE           ELECTRICAL AT NEW OPENING, DISASSEMBLES DRESSING ROOM AS NEED TOP CREATE
OPENING                                                 OPENING                                                                       Leasehold Improvements          3/1/2012
Network cabling                                         STORE CABLING                                                                 Leasehold Improvements          3/1/2012
DIMENSIONS CONTRACTING-MESA WEST CENTER                 DIMENSIONS CONTRACTING-MESA WEST CENTER                                       Leasehold Improvements         3/16/2012
RREEF AMERICA REIT II - BUILD OUT                       RREEF AMERICA REIT II - BUILD OUT                                             Leasehold Improvements          4/1/2012
R & R ENVIRONMENTAL MECHANICAL-REPLACE CONDENSER
FAN MOTOR                                               R & R ENVIRONMENTAL MECHANICAL-REPLACE CONDENSER FAN MOTOR                    Leasehold Improvements         4/14/2012
MR. HANDYMAN OF SAN ANTONIO- ASSEMBLY OF SHELVES -
STOCKROOM                                               MR. HANDYMAN OF SAN ANTONIO- ASSEMBLY OF SHELVES -STOCKROOM                   Leasehold Improvements         4/21/2012
PAUL KRAUS - DISASSEMBLE AND REASSEMBLE DRESSING
ROOMS                                                   PAUL KRAUS - DISASSEMBLE AND REASSEMBLE DRESSING ROOMS                        Leasehold Improvements         5/10/2012
R & R ENVIRONMENTAL- A/C CONDENSER                      R & R ENVIRONMENTAL- A/C CONDENSER                                            Leasehold Improvements         7/15/2012
ROHDE ARCHITECTS INC                                    ROHDE ARCHITECTS INC                                                          Leasehold Improvements         7/15/2012
CROSS BUILDING GROUP, LP- SALES FLOOR                   CROSS BUILDING GROUP, LP- SALES FLOOR                                         Leasehold Improvements         7/28/2012
CROSS BUILDING GROUP, LP- WAREHOUSE RENOVATIONS         CROSS BUILDING GROUP, LP- WAREHOUSE RENOVATIONS                               Leasehold Improvements         7/28/2012
                                Case 18-10085-CSS                               Doc 3             Filed 01/12/18                     Page 27 of 134
     In re Parker School Uniforms, LLC
     Schedule A/B, #41 - Office Equipment



                         Name                                                               Description                                               Type      Purchase

CROSS BUILDING GROUP, LP- STORAGE RACKS RELOCATION      CROSS BUILDING GROUP, LP- STORAGE RACKS RELOCATION                             Leasehold Improvements         7/28/2012
CROSS BUILDING GROUP, LP- ELECTRICAL RISER DIAGRAM &
PERMITS                                                 CROSS BUILDING GROUP, LP- ELECTRICAL RISER DIAGRAM & PERMITS                   Leasehold Improvements         7/28/2012
CROSS BUILDING GROUP, LP- ELECTRICAL SERVICE            CROSS BUILDING GROUP, LP- ELECTRICAL SERVICE                                   Leasehold Improvements         7/28/2012
CROSS BUILDING GROUP,LP - NEW BREAKERS                  CROSS BUILDING GROUP,LP - NEW BREAKERS                                         Leasehold Improvements         7/28/2012
FOX ELECTRIC LTD - ELECTRICIAL WORK U-SHAPE FIXTURES,
CAN FIXTURES                                            FOX ELECTRIC LTD - ELECTRICIAL WORK U-SHAPE FIXTURES, CAN FIXTURES             Leasehold Improvements         7/28/2012
LEE THOMPSON CO - NEW UNIT CARRIER MODEL #50TC-
A06A2A5A0A0A0 S/N 261C74706                             LEE THOMPSON CO - NEW UNIT CARRIER MODEL #50TC-A06A2A5A0A0A0 S/N 261C74706     Leasehold Improvements          8/1/2012
R & R ENVIRONMENTAL MECHANICAL- INSTALL NEW RETURN
AIR DUCT RUNS                                           R & R ENVIRONMENTAL MECHANICAL- INSTALL NEW RETURN AIR DUCT RUNS               Leasehold Improvements         8/10/2012
INSIGNIA SGNS INC. DOWN PAYMENT                         INSIGNIA SGNS INC. DOWN PAYMENT                                                Leasehold Improvements         9/28/2012
LEE THOMPSON CO - 2ND STAGE CONDENSER COIL FOR UNIT
#1                                                      LEE THOMPSON CO - 2ND STAGE CONDENSER COIL FOR UNIT #1                         Leasehold Improvements         9/28/2012
BRADY'S PROPERTIES - REPLACE A/C UNIT                   BRADY'S PROPERTIES - REPLACE A/C UNIT                                          Leasehold Improvements         10/8/2012
INSIGNIA SGNS INC. FINAL PAYMENT                        INSIGNIA SGNS INC. FINAL PAYMENT                                               Leasehold Improvements         12/3/2012
CREATE & CONSTRUCT                                      Office Remodel - Chamblee                                                      Leasehold Improvements         5/31/2013
RECYCLED OFFICE SYSTEMS                                 CUBICLE WORK STATIONS 50% FINAL PYMT                                           Leasehold Improvements         5/31/2013
CATO INDUSTRIAL GROUP, LLC                              WIRE DECKS                                                                     Leasehold Improvements         5/31/2013
AC Compressor                                           NEW AC COMPRESSOR STORE 42                                                     Leasehold Improvements         6/30/2013
Slatwall                                                SLATWALL AND FIXTURES                                                          Leasehold Improvements         6/30/2013
CAT5 data cables                                        CAT 5E VOICE AND DATA CABLES                                                   Leasehold Improvements          6/8/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         6/30/2013
TELCOMTEC                                               NETWORK CABLING AND PHONE INSTALATION                                          Leasehold Improvements         6/30/2013
HOUSECALLS GENERAL CONTRACTING SETX                     STORE REMODELING                                                               Leasehold Improvements         6/30/2013
Store remodel                                           Store 14 Store Fixtures                                                        Leasehold Improvements         6/30/2013
Store remodel                                           Store 82 Store Fixtures                                                        Leasehold Improvements         6/30/2013
Store remodel                                           New Constrution Store 82                                                       Leasehold Improvements         6/30/2013
Wayne Swanson, AIA Architect                            Architectural Remodel Store 82                                                 Leasehold Improvements         6/30/2013
Store remodel                                           Store 47 Store Fixtures                                                        Leasehold Improvements         6/30/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         6/30/2013
Store remodel                                           Store Fixtures                                                                 Leasehold Improvements          7/1/2013
HOUSECALLS GENERAL CONTRACTING SETX                     Drop Phone Lines and Cables                                                    Leasehold Improvements          7/1/2013
JMS PAINTING PROFESSIONALS                              REMODEL STORE / New Carpet & Walls                                             Leasehold Improvements          7/1/2013
Seymour Doors                                           New Door and Installation                                                      Leasehold Improvements          7/5/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements          7/2/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         7/29/2013
CG GLAZING, INC                                         Remove & Relocate Store Door                                                   Leasehold Improvements          7/2/2013
TECH SAGE SOLUTIONS                                     Drop Phone Lines and Cables 50% PYMT                                           Leasehold Improvements         7/24/2013
ELITE CUSTOM CABINETS                                   New Store Cabinets                                                             Leasehold Improvements         7/26/2013
Aramendia Plumbing, Heat                                Aramendia Plumbing, Heat                                                       Leasehold Improvements         7/31/2013
STAMPS STORE FIXTURES                                   New Store Fixtures                                                             Leasehold Improvements         7/31/2013
Lee Thompson                                            Upgrade and repair AC unit                                                     Leasehold Improvements         7/31/2013
TECHNET SOLUTIONS LLC                                   DATA DROPS                                                                     Leasehold Improvements         8/31/2013
STAHL'S                                                 STORE FIXTURES                                                                 Leasehold Improvements         8/31/2013
STAMPS STORE FIXTURES                                   STORE FIXTURES                                                                 Leasehold Improvements         8/31/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         8/31/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         8/31/2013
STARTEX CONSTRUCTION                                    New Flooring Sales floor                                                       Leasehold Improvements          9/1/2013
GARRETT & REGA INCORPORATED                             3 PHASE 5 TON AC UNIT                                                          Leasehold Improvements          9/1/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         9/30/2013
TYCO INTEGRATED SECURITY LLC                            SECURITY SYSTEM-INSTALLATION                                                   Leasehold Improvements         9/30/2013
ADT                                                     INSTALLATION AND SERVICE CHARGES FOR ADT                                       Leasehold Improvements        10/31/2013
IMARK SOLUTIONS                                         PAINT OF LOBBY AREA AND TOUCH-UP OF OFFICE AREA                                Leasehold Improvements        11/30/2013
R&R ENVIRONMENTAL                                       AC REPAIR                                                                      Leasehold Improvements        11/30/2013
CATO INDUSTRIAL GROUP, LLC                              PALLET RACKS                                                                   Leasehold Improvements        12/31/2013
CATO INDUSTRIAL GROUP, LLC                              PALLET RACKS                                                                   Leasehold Improvements        12/31/2013
CATO INDUSTRIAL GROUP, LLC                              PALLET RACKS                                                                   Leasehold Improvements        12/31/2013
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         1/31/2014
CREATE & CONSTRUCT                                      REMODEL STORE                                                                  Leasehold Improvements         2/27/2014
BEE ELECTRICAL                                          ELECTRICAL PANEL REPAIR                                                        Leasehold Improvements         3/31/2014
AC Unit                                                 AC UNIT FOR STORE 2                                                            Leasehold Improvements         8/31/2014
GARRETT & REGA INCORPORATED                             REPLACEMENT OF BLOWER ASSEMBLY                                                 Leasehold Improvements         9/30/2014
R & R ENVIRONMENTAL MECHANICAL                          AC UNIT FOR STORE 39                                                           Leasehold Improvements        10/31/2014
R & R ENVIRONMENTAL MECHANICAL                          REPLACE MISSING COPPER FROM AC                                                 Leasehold Improvements        12/31/2014
GARRETT & REGA INCORPORATED                             REPLACE FAULTY CONDENSER FAN MOTOR, CAPACITOR, AND BLADE                       Leasehold Improvements        12/31/2014
Store remodel                                           FIXTURES FOR STORE 63                                                          Leasehold Improvements         4/30/2015
Store remodel                                           STORE 65 FIXTURES                                                              Leasehold Improvements         4/30/2015
Store remodel                                           STORE 62 FIXTURES                                                              Leasehold Improvements         4/30/2015
THE SIGNERY, INC                                        CHANDLER STORE SIGN - DOWNPAYMENT                                              Leasehold Improvements         4/30/2015
THE LEE THOMPSON COMPANY                                REPLACE CONDESAR FAN MOTOR UNIT 5 - TRAINING ROOM                              Leasehold Improvements         5/31/2015
G KIM & ASSOCIATES                                      PAINTING FOR NEW STORE 43                                                      Leasehold Improvements         5/31/2015
ACE AIR CONDITIONING & HEATING                          AC REPAIR FOR #16                                                              Leasehold Improvements         5/31/2015
THE LEE THOMPSON COMPANY                                AC REPAIR FOR UNIT 5 - TRAINING ROOM                                           Leasehold Improvements         5/31/2015
KLJ CONSULTING                                          INTERIOR RENOVATIONS FOR ARIZONA STORE                                         Leasehold Improvements         5/31/2015
THE LEE THOMPSON COMPANY                                NEW AC UNIT FOR CORP                                                           Leasehold Improvements         6/30/2015
Store remodel                                           STORE FIXTURES #75                                                             Leasehold Improvements         7/31/2015
CARSON WNW                                              FOR REPAIR AND REPLACEMENT IF UNIT                                             Leasehold Improvements         8/31/2015
R & R ENVIRONMENTAL MECHANICAL                          REPLACE CONDENSING FAN MOTOR                                                   Leasehold Improvements         9/30/2015
G KIM & ASSOCIATES                                      STORE 43 INTERIOR PAINTING                                                     Leasehold Improvements         9/30/2015
YOUR HANDY ERN MAN                                      REMOVE & REPLACE 9 BALLASTS                                                    Leasehold Improvements        10/31/2015
CRONOS CONTRACTORS                                      REPLACE DOOR AND DOOR FRAME. PATCH SHEETROCK AND PAINT IT                      Leasehold Improvements        11/30/2015
MCCOYS HEATING & AIR, INC                               AC REPAIR                                                                      Leasehold Improvements        12/31/2015
HAROLD FLOYD HEATING & AIR, INC.                        REPLACE 2 FURNACES STORE #19                                                   Leasehold Improvements         2/28/2016
AMMA ELECTRIC                                           INSTALL TWO EXIT SIGN WITH EMERGENCY BACK LIGHTING #65                         Leasehold Improvements         2/28/2016
AMMA ELECTRIC                                           REPLACE THREE LIGHT FIXTURES                                                   Leasehold Improvements         2/28/2016
MACIAS CONSTRUCTION, LLC                                DOWNPAYMENT ON STORE #87 REMODEL TO LOCK PROJECT                               Leasehold Improvements         4/30/2016
MACIAS CONSTRUCTION, LLC                                SECOND INSTALLMENT TOWARDS STORE REMODEL                                       Leasehold Improvements         4/30/2016
MACIAS CONSTRUCTION, LLC                                REMODEL OF STORE #87                                                           Leasehold Improvements         5/31/2016
THUNDER RIVER CONSTRUCTION                              REMODEL OF STORE #43                                                           Leasehold Improvements         5/31/2016
FIREFLY STORE SOLUTIONS                                 REMODEL OF STORE #43-SHELVES                                                   Leasehold Improvements         5/31/2016
Store remodel                                           REMODEL OF STORE #43 SHELVES                                                   Leasehold Improvements         6/30/2016
LABOR FINDERS                                           LABOR FOR STORE 43 REMODEL                                                     Leasehold Improvements         6/30/2016
THUNDER RIVER CONSTRUCTION                              REMODEL OF STORE #43                                                           Leasehold Improvements         6/30/2016
RED RHINO                                               CONTRETE FLOOR FOR STORE #66                                                   Leasehold Improvements         6/30/2016
THUNDER RIVER CONSTRUCTION                              REMODEL OF STORE #43                                                           Leasehold Improvements         6/30/2016
STAR ELECTRIC                                           INSTALL VOLT OUTLETS FOR #43                                                   Leasehold Improvements         7/31/2016
RED RHINO                                               CONCRETE FLOOR INSTALLATION FOR STORE #66                                      Leasehold Improvements         7/31/2016
MARIO ORDONEZ                                           ADDITION OF 10 RECEPTACLES AND REPAIR TWO ELECTRICAL BOXES                     Leasehold Improvements         7/31/2016
MARIO ORDONEZ                                           BALLASTS AND LAMPS FOR STORE 41                                                Leasehold Improvements         7/31/2016
MARIO ORDONEZ                                           REWIRE LIGHTS, CHANGE T8 LIGHTBULBS/EMERGENCY LIGHTS                           Leasehold Improvements         7/31/2016
THE LEE THOMPSON COMPANY                                REPLACED MOTOR,BLADE,CAPACITOR AND RAIN SHIELD IN COPR LUNCH ROOM              Leasehold Improvements         8/31/2016
KLEEN AIR SERVICES                                      AC REPAIR STORE #5                                                             Leasehold Improvements         8/31/2016
DUARTE BUILDING & CONSTRUCTION                          CONSTRUCTION FOR STORE #6                                                      Leasehold Improvements         8/31/2016
CAT6 cable install                                      7 DROPS CAT6 CABLE INSTALLATIONS                                               Leasehold Improvements         8/31/2016
THE LEE THOMPSON COMPANY                                REPLACED 2 MOTORS AND BLADE CORP                                               Leasehold Improvements         9/30/2016
R & R ENVIRONMENTAL MECHANICAL                          REMOVED AND REPLACED APACITOR                                                  Leasehold Improvements         9/30/2016
SEALY NW HOUSTON, LP                                    DUCTWORKFOR WAREHOUSE                                                          Leasehold Improvements         9/30/2016
CLIMATE MASTERS, INC.                                   REPLACE CONDENSER FAN MOTOR                                                    Leasehold Improvements         9/30/2016
MCCOYS HEATING & AIR                                    REPLACED BLOWER WHEEL                                                          Leasehold Improvements         9/30/2016
LONE STAR ELECTRIC                                      ELECTRIC SERVICES STORE 7                                                      Leasehold Improvements        10/31/2016
THE LEE THOMPSON COMPANY                                REPLACE BLOWER BELT AND REGLUED INSULATION                                     Leasehold Improvements        11/30/2016
                               Case 18-10085-CSS
    In re Parker School Uniforms, LLC
                                                                Doc 3            Filed 01/12/18                   Page 28 of 134
    Schedule A/B, #41 - Office Equipment




                        Name                                               Description                                             Type      Purchase
I-DEAL CONTRACING                        REPLACE CARPET IN CORPORATE CONFERENCE ROOM                                Leasehold Improvements        11/30/2016
CARSON WNW LLC                           REPLACEMENT OF TILE                                                        Leasehold Improvements        11/30/2016
DUARTE BUILDING & CONSTRUCTION           REMODELING STORE #66                                                       Leasehold Improvements        12/31/2016
DUARTE BUILDING & CONSTRUCTION           REMODELING STORE #66                                                       Leasehold Improvements         1/31/2017
FRANK GUTIERREZ-LEVEL 5 FINISHING        WALL REPAIR FOR BELLAIRE STORE                                             Leasehold Improvements         2/28/2017
CH SOLUTIONS - SYNERGY SOLUTIONS GROUP   WAREHOUSE REDESIGN                                                         Leasehold Improvements         2/28/2017
SYNERGY SOLUTIONS GROUP                  IMPLEMENTATION ASSITANCE PROJECT                                           Leasehold Improvements         3/31/2017
ATLANTA AIR EXPERTS                      INSTALL 5TON TRANE SINGLE STAGE AC                                         Leasehold Improvements         3/31/2017
D.C. LOWRY CONSTRUCTION                  REMODEL STORE 80                                                           Leasehold Improvements         3/31/2017
ATLANTA AIR EXPERTS                      AIR CONDITIONER FOR STORE #47                                              Leasehold Improvements         4/30/2017
Mynt Shades & Awnings                    Awning with graphics, Navy Blue                                            Leasehold Improvements         5/31/2017
D.C. Lowry Construction                  DUNCANVILLE STORE REMODEL                                                  Leasehold Improvements         5/31/2017
TintSmith, LLC                           Huper Optik Fusion 20 front door sign                                      Leasehold Improvements         5/31/2017
Husbands Remodeling                      FRAME UP 12FT WIDE BY 10 FT WALL                                           Leasehold Improvements         5/31/2017
C&K Contracting LLC                      Build Wall, Hang & Finish Drywall, Paint and Cover Base                    Leasehold Improvements         7/24/2017
LHI                                      LHI                                                                        Leasehold Improvements         2/29/2012
LHI                                      LHI                                                                        Leasehold Improvements         2/29/2012
REMODEL STORE                            REMODEL STORE                                                              Leasehold Improvements         2/29/2012
STORE REMODELING                         STORE REMODELING                                                           Leasehold Improvements         2/29/2012
STORE REMODELING                         STORE REMODELING                                                           Leasehold Improvements         2/29/2012
WALLACH VINYL FLOORING                   WALLACH VINYL FLOORING                                                     Leasehold Improvements         2/29/2012
FLOORINT 1ST FLOOR                       FLOORINT 1ST FLOOR                                                         Leasehold Improvements         2/29/2012
WAREHOUSE TI-971 BLDG                    WAREHOUSE TI-971 BLDG                                                      Leasehold Improvements         2/29/2012
new showroom floor install               new showroom floor install                                                 Leasehold Improvements         9/18/2017
Ice Maker                                ICE MAKER                                                                  Office Equipment               3/31/2013
Ice Maker                                ICE MAKER                                                                  Office Equipment               3/31/2013
Ice Machine                              ICE MACHINE                                                                Office Equipment               1/31/2017
Refrigerator                             Refrigerator                                                               Office Equipment               6/27/2017
MONOGRAM MACHINE                         MONOGRAM MACHINE                                                           Production Equipment           1/31/2003
LAUNDRY MACHINERY                        LAUNDRY MACHINERY                                                          Production Equipment           3/20/2003
FABRIC/MATERIAL SYS                      FABRIC/MATERIAL SYS                                                        Production Equipment            8/8/2006
SEWING MACHINE                           SEWING MACHINE                                                             Production Equipment           5/27/2008
HEAT SEAL MACHINES                       HEAT SEAL MACHINES                                                         Production Equipment           10/1/2008
ED FOWLER                                ED FOWLER- WASHER/DRYER & 5YR WARRANTY                                     Production Equipment            7/9/2010
HENDERSON SEWING MACHINE                 HENDERSON SEWING MACHINE -JUKI SEWING MACHINE                              Production Equipment           10/5/2010
                                         BARUDAN AMERICA INC - 6 HEAD MONOGRAM MACHINE MODEL BEXY-Z1506C SERIAL
BARUDAN AMERICA INC                      #3115478H11                                                                Production Equipment           1/20/2012
Heat press                               STAHLS-HOTRONIX AUTO CLAM HEAT PRESS-AUTO MAG DIGITAL                      Production Equipment           9/28/2012
Heat press                               STAHLS-HOTRONIX AUTO CLAM HEAT PRESS                                       Production Equipment           9/28/2012
Heat press                               SWEATER/HEAT PRESS                                                         Production Equipment            5/2/2013
Air compressor                           AIR COMPRESSOR                                                             Production Equipment            5/7/2013
Heat press                               HOTRONIX STX6 AUTO OPEN 6X6 DIGITAL HEAT PRESS                             Production Equipment           6/30/2013
Heat press                               HEAT PRESS                                                                 Production Equipment           6/30/2013
Heat press                               HEAT PRESS MACHINE                                                         Production Equipment           6/30/2013
Heat press                               3 New Heat Seals                                                           Production Equipment           7/31/2013
Heat press                               HEAT PRESS MACHINE                                                         Production Equipment           4/30/2014
Heat press                               LOGO MACHINE FOR #45 - HOTRONIX AUTO CLAM HEAT PRESS                       Production Equipment           7/31/2014
ORANGE COUNTY INDUSTRIAL                 SINGLE NEEDLE AUTOMATIC MACHINE COMPLETE ON STAND                          Production Equipment           1/31/2015
PENN EMBLEM                              MANUAL POP UP PRESS TOP & BOTTOM                                           Production Equipment           1/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        AUTO MAG DIGITAL                                                           Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        1 HEAT PRESS MACHINE & 3 AUTO MAG DIGITAL                                  Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
STAHLS' ID DIRECT                        HEAT PRESS MACHINE & AUTO MAG DIGITAL                                      Production Equipment           5/31/2015
PENN EMBLEM                              PENNSEAL COMPUTERS HM-32 MANUAL POP UP PRESS TOP & BOTTOM #45              Production Equipment           7/31/2015
PENN EMBLEM                              PENNSEAL COMPUTERS HM-32 MANUAL POP UP PRESS TOP & BOTTOM #46              Production Equipment           7/31/2015
DATACOLOR                                DATACOLOR SPECTROPHOTOMETER & WARRANTY FORP                                Production Equipment          10/31/2015
STAHLS                                   HEAT PRESS STORE #62                                                       Production Equipment           4/30/2016
Heat Press                               HEAT PRESS                                                                 Production Equipment            6/8/2016
Heat Press                               HEAT PRESS STAND                                                           Production Equipment            6/8/2016
AMAZON.COM                               HEAT PRESS FOR STORE 65                                                    Production Equipment           8/31/2016
STAHLS                                   HEAT PRESS MACHINE FOR STORE #4                                            Production Equipment           9/30/2016
Monogram Machine                         INSTALL MAIN SHAFT MOTOR & MAINTENANCE FOR MONOGRAM MACHINE STORE #61      Production Equipment           2/28/2017
Heat Press                               HEAT PRESS MACHINE STORE #45                                               Production Equipment           2/28/2017
Heat Press                               HOTRONIX STX6 AUTO OPEN 6X6 DIGITAL HEAT PRESS                             Production Equipment           3/31/2017
Heat Press                               HOTRONIX STX6 AUTO OPEN 6X6 DIGITAL HEAT PRESS                             Production Equipment           3/31/2017
Heat Press                               HOTRONIX STX6 AUTO OPEN 6X6 DIGITAL HEAT PRESS                             Production Equipment           3/31/2017
Heat Press                               HOTRONIX STX6 AUTO OPEN 6X6 DIGITAL HEAT PRESS                             Production Equipment           3/31/2017
Heat Press                               Hotronix Auto Clam Heat Press 16"x16" - 110V                               Production Equipment           5/31/2017
Heat Press                               Hotronix Auto Clam Heat Press 16"x20"                                      Production Equipment           6/30/2017
Heat Press                               Hotronix Auto Clam Heat Press 16"x20" - 110V                               Production Equipment           6/30/2017
HEAT PRESS                               HEAT PRESS                                                                 Production Equipment           2/29/2012
SEWING MACHINE                           SEWING MACHINE                                                             Production Equipment           2/29/2012
LORA'S SEWING MACHINE                    LORA'S SEWING MACHINE                                                      Production Equipment           2/29/2012
INSTA GRAPHICS                           INSTA GRAPHICS-HEAT PRESS                                                  Production Equipment           2/29/2012
Website development                      WEB DEVELOPMENT                                                            Software                        8/1/2010
Website design                           BISON DESIGN STUDIO-WEBSITE DESIGN                                         Software                       8/19/2010
SEO Research                             OPTIDGE INC. - PROJECT MGMT/SEO RESEARCH                                   Software                       8/31/2010
Website development                      WEB DEVELOPMENT                                                            Software                        9/1/2010
Website development                      JOHN WATTERS-WEB DEVELOPMENT                                               Software                       10/1/2010
Website development                      WEB DEVELOPMENT                                                            Software                       10/5/2010
Website development                      WEB DEVELOPMENT                                                            Software                       11/1/2010
MS Office Home                           CDW DIRECT-MS OFFICE HOME & BUSINESS SOFTWARE (9 UNITS)                    Software                       11/8/2010
Website development                      BISON DESIGN STUDIO-WEBSITE DESIGN                                         Software                      11/16/2010
MS Office Home                           CDW DIRECT-MS OFFICE HOME & BUSINESS SOFTWARE (2 UNITS)                    Software                      11/19/2010
SEO Research                             OPTIDGE INC. - PROJECT MGMT/SEO RESEARCH                                   Software                      11/22/2010
Website development                      WEB DEVELOPMENT                                                            Software                       12/3/2010
Website development                      WEB DEVELOPMENT                                                            Software                        1/1/2011
SEO Research                             OPTIDGE INC. - PROJECT MGMT/SEO RESEARCH                                   Software                        2/1/2011
Website development                      WEB DEVELOPMENT                                                            Software                        2/2/2011
Website development                      WEB DEVELOPMENT                                                            Software                        4/4/2011
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                       Software                        4/7/2011
SEO Research                             OPTIDGE INC. - PROJECT MGMT/SEO RESEARCH                                   Software                        5/1/2011
Awards Campaign                          OPTIDGE INC. - ADWORDS CAMPAIGN                                            Software                        5/1/2011
SEO Research                             OPTIDGE INC. - PROJECT MGMT                                                Software                        5/1/2011
Website development                      WEB DEVELOPMENT                                                            Software                        5/2/2011
Website development                      OPTIDGE INC. - PROJECT MGMT/WEB SERVICES                                   Software                       5/31/2011
Website development                      WEB DEVELOPMENT                                                            Software                        6/1/2011
SEO Research                             OPTIDGE INC. - CONSULTING SERVICE                                          Software                       6/30/2011
Website development                      WEB DEVELOPMENT                                                            Software                        7/1/2011
Website design                           BISON DESIGN STUDIO- WEBSITE DESIGN-CHARTER UNIFORMS                       Software                       7/25/2011
SEO Research                             OPTIDGE INC. - CONSULTING SERVICE                                          Software                       7/28/2011
Website development                      WEB DEVELOPMENT                                                            Software                        8/2/2011
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                       Software                       8/19/2011
Awards Campaign                          OPTIDGE INC. ADWARDS CAMPAIGN                                              Software                       8/31/2011
Website development                      WEB DEVELOPMENT                                                            Software                        9/1/2011
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                       Software                       9/21/2011
Website development                      WEB DEVELOPMENT                                                            Software                       10/3/2011
Website development                      WEB DEVELOPMENT                                                            Software                       11/1/2011
                                Case 18-10085-CSS               Doc 3             Filed 01/12/18                   Page 29 of 134
      In re Parker School Uniforms, LLC
      Schedule A/B, #41 - Office Equipment



                         Name                                               Description                                             Type   Purchase
Adobe Illustrator                        CDW DIRECT- ADOBE ILLUSTRATOR SOFTWARE                                          Software               11/23/2011
Website development                      WEB DEVELOPMENT                                                                 Software                12/1/2011
Website development                      WEB DEVELOPMENT                                                                 Software                12/5/2011
Website development                      BISON DESIGN STUDIO - WEB DEVELOPMENT                                           Software               12/14/2011
Website development                      WEB DEVELOPMENT                                                                 Software                 1/3/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 2/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 3/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 3/1/2012
Website development                      DATA VOX - SOFTWARE UPGRADE FOR PHONE SYSTEM                                    Software                 4/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 4/2/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 4/2/2012
                                         CDW DIRECT, LLC- ADOBE CREATIVE SUITE 5.0 SOFTWARE FOR LENOVO EDGE 71 DESKTOP
Adobe Creative Suite                     COMPUTER SERIAL #MIDHNDF                                                        Software                 4/5/2012
Website development                      WEB DEVELOPMENT                                                                 Software                4/30/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 6/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 7/2/2012
Website development                      BISON DESIGN STUDIO-WEBSITE DESIGN                                              Software                7/31/2012
Website development                      BISON DESIGN STUDIO-WEBSITE DESIGN                                              Software                7/31/2012
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                            Software                7/31/2012
Website development                      BISON DESIGN STUDIO- WEBSITE DESIGN-CHARTER UNIFORMS                            Software                7/31/2012
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                            Software                7/31/2012
Website development                      BISON DESIGN STUDIO - WEBSITE DESIGN                                            Software                7/31/2012
Website development                      BISON DESIGN STUDIO - WEB DEVELOPMENT                                           Software                7/31/2012
Website development                      JOHN WATTERS-WEB DEVELOPMENT                                                    Software                7/31/2012
Website development                      WEBSITE DESIGN                                                                  Software                7/31/2012
Website development                      WEBSITE DESIGN                                                                  Software                7/31/2012
Website development                      WEBSITE DESIGN                                                                  Software                7/31/2012
Website development                      WEB DEVELOPMENT                                                                 Software                 9/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                10/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software                11/1/2012
Zimbra Email System                      ZIMBRA PROFESSIONAL EDITION -EMAIL SYSTEM (VMWARE, INC)                         Software                12/1/2012
Zimbra Email System                      ZIMBRA PROFESSIONAL EDITION -EMAIL SYSTEM (VMWARE, INC)                         Software                12/1/2012
Website development                      WEB DEVELOPMENT                                                                 Software               12/31/2012
Website development                      WEB DEVELOPMENT                                                                 Software                1/31/2013
Website development                      WEB DEVELOPMENT                                                                 Software                2/28/2013
Website development                      WEB DEVELOPMENT                                                                 Software                3/31/2013
Digitizer                                DIGITIZER 90% DOWN PAYMENT                                                      Software                3/25/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/1/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
WMS Design                               DC WMS DESIGN                                                                   Software                 4/2/2013
Digitizer                                DIGITIZER FINAL PAYMENT                                                         Software                 4/1/2013
Website development                      WEB DEVELOPMENT                                                                 Software                4/30/2013
Cash receipts software                   CASH RECEIPTS JOURNAL SOFTWARE                                                  Software                 5/3/2013
WMS Design                               DC WMS DESIGN                                                                   Software                9/27/2013
WMS Design                               DC WMS DESIGN                                                                   Software                9/27/2013
AVL Software                             AVL SOFTWARE CS6 LIC                                                            Software                9/30/2013
WMS Design                               DC WMS DESIGN                                                                   Software               12/31/2013
WMS Design                               DC WMS DESIGN                                                                   Software               12/31/2013
WMS Design                               DC WMS DESIGN                                                                   Software               12/31/2013
WMS Design                               DC WMS DESIGN                                                                   Software               12/30/2013
WMS Design                               DC WMS DESIGN                                                                   Software                1/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                1/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                1/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                1/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                2/27/2014
WMS Design                               DC WMS DESIGN                                                                   Software                2/27/2014
WMS Design                               DC WMS DESIGN                                                                   Software                2/27/2014
WMS Design                               DC WMS DESIGN                                                                   Software                2/27/2014
WMS Design                               DC WMS DESIGN                                                                   Software                3/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                3/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                4/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                4/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                4/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                4/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                4/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                5/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                5/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                5/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                6/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                6/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                6/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                6/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                6/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                7/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                7/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                7/31/2014
Teamviewer                               TEAMVIEWER 9 CORPORATE                                                          Software                7/31/2014
Email Licenses                           E-MAIL LICENSES                                                                 Software                7/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                8/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                8/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                8/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software                9/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software                9/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               10/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software               10/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software               10/31/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               DC WMS DESIGN                                                                   Software               11/30/2014
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software               12/31/2014
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                1/31/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                2/28/2015
WMS Design                               DC WMS DESIGN                                                                   Software                3/31/2015
Mark development                         MARK DEVELOPMENT                                                                Software                3/31/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                4/30/2015
Cyma upgrade                             CYMA ACCOUNTING SOFTWARE UPGRADE                                                Software                4/30/2015
Cyma upgrade                             CYMA ACCOUNTING SOFTWARE UPGRADE                                                Software                4/30/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                5/31/2015
Mark development                         MARK DEVELOPMENT                                                                Software                5/31/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                5/31/2015
Mark development                         MARK DEVELOPMENT                                                                Software                6/30/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                6/30/2015
WMS Design                               WMS SOFTWARE PROBLEM TICKETS                                                    Software                7/31/2015
                                        Case 18-10085-CSS
         In re Parker School Uniforms, LLC
                                                                                   Doc 3                  Filed 01/12/18                          Page 30 of 134
         Schedule A/B, #41 - Office Equipment




                                Name                                                                Description                                                Type   Purchase
Mark development                                    MARK DEVELOPMENT                                                                                Software                7/31/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                7/31/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                8/31/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                9/30/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                9/30/2015
Mark development                                    MARK DEVELOPMENT                                                                                Software                9/30/2015
Mark development                                    MARK DEVELOPMENT                                                                                Software                9/30/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               10/31/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               10/31/2015
Mark development                                    MARK DEVELOPMENT                                                                                Software               11/30/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               11/30/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               12/31/2015
Mark development                                    MARK DEVELOPMENT                                                                                Software               12/31/2015
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                1/31/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software                2/28/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                2/28/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software                3/31/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                3/31/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                4/30/2016
Qless                                               QLESS ACCOUNT SETUP                                                                             Software                4/30/2016
WMS Design                                          SOFTWARE CONSULTATION FOR WMS RDT                                                               Software                5/31/2016
Ecommerce and database                              E-COMMERCE AND DATABASE SUPPORT                                                                 Software                5/31/2016
Website development                                 WEB DEVELOPMENT FOR MARCH 2016                                                                  Software                5/31/2016
WMS Design                                          SOFTWARE CONSULTATION FOR WMS RDT                                                               Software                6/30/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software                6/30/2016
Mark development                                    SOFTWAY MARK DEVELOPMENT                                                                        Software                6/30/2016
WMS Design                                          SOFTWARE CONSULTATION FOR WMS RDT                                                               Software                7/31/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software                7/31/2016
Netsuite                                            NETSUITE SOFTWARE                                                                               Software                7/31/2016
Netsuite                                            NETSUITE SOFTWARE                                                                               Software                7/31/2016
Netsuite                                            NETSUITE SOFTWARE                                                                               Software                7/31/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software                8/31/2016
WMS Design                                          SOFTWARE CONSULTATION FOR WMS RDT                                                               Software                8/31/2016
Website development                                 WEB DEVELOPMENT                                                                                 Software                8/31/2016
Epos equipment                                      EPOS DEVELOPMENT PROJECT                                                                        Software                8/31/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software                9/30/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               10/31/2016
Mark development                                    MARK DEVELOPMENT                                                                                Software               10/31/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               11/30/2016
Netsuite                                            NETSUITE PROJECT                                                                                Software               11/30/2016
Netsuite                                            NETSUITE PROJECT                                                                                Software               11/30/2016
Netsuite                                            NETSUITE PROJECT                                                                                Software               11/30/2016
WMS Design                                          WMS SOFTWARE PROBLEM TICKETS                                                                    Software               12/31/2016
Netsuite                                            NETSUITE PROJECT                                                                                Software               12/31/2016
Tax software                                        TAX SOFTWARE                                                                                    Software               12/31/2016
WMS Design                                          DC WMS DESIGN                                                                                   Software                1/31/2017
RF Smart Netsuite                                   RF SMART SUPPORT SUPPORT NETSUITE                                                               Software                1/31/2017
WMS Design                                          DC WMS DESIGN                                                                                   Software                2/28/2017
Netsuite                                            NETSUITE DEVELOPMENT PROJECT                                                                    Software                2/28/2017
WMS Design                                          DC WMS DESIGN                                                                                   Software                3/31/2017
Netsuite                                            NATHANIEL NORTON - NETSUITE DEVELOPMENT PROJECT                                                 Software                3/31/2017
WMS Design                                          DC WMS DESIGN                                                                                   Software                4/30/2017
Netsuite                                            NATHANIEL NORTON - NETSUITE DEVELOPMENT PROJECT                                                 Software                4/30/2017
RF Smart Netsuite                                   RFsmart Netsuite implementation                                                                 Software                5/31/2017
RF Smart Netsuite                                   RFsmart Netsuite implementation                                                                 Software                5/31/2017
Netsuite                                            This is a change order to an existing Implementation, Integration or Training Services item     Software                5/31/2017
Netsuite                                            Additional SuiteCommerce Advanced Brand/Domain/Country MM                                       Software                6/30/2017
Netsuite                                            Development of Netsuite platform                                                                Software                5/10/2017
Netsuite                                            NPOS and Mirco Sites DEVELOPMENT                                                                Software                 6/8/2017
Netsuite                                            NPOS and Micro Sites DEVELOPMENT                                                                Software                 6/8/2017
Netsuite                                            Netsuite consultant- Nathaniel Norton 12.50 hours                                               Software                6/21/2017
Netsuite                                            NetSuite Support                                                                                Software                 7/5/2017
Netsuite                                            Netsuite consultant- Nathaniel Norton 34.50 hours                                               Software                7/19/2017
Netsuite                                            Netsuite consultant- Scott Hinckley 6.25 hours                                                  Software                7/19/2017
Netsuite                                            Netsuite consultant- Nathaniel Norton 51.5 hours                                                Software                 8/2/2017
Netsuite                                            Netsuite consultant- Scott Hinckley 6 hours                                                     Software                 8/2/2017
Netsuite                                            Netsuite consultant- Nathaniel Norton 35.25 hours                                               Software                8/16/2017
Netsuite                                            Netsuite consultant- Scott Hinckley 1.5 hours                                                   Software                8/16/2017
Netsuite                                            NS Web Consultant                                                                               Software                8/30/2017
NS Web Consultant-Nathaniel Norton (21.25 hrs)      NS Web Consultant-Nathaniel Norton (21.25 hrs)                                                  Software                9/27/2017
NS Web Consultant-Natthaniel Norton (30.5 hrs)      NS Web Consultant-Natthaniel Norton (30.5 hrs)                                                  Software                9/27/2017
Netsuite consultant- Nathaniel Norton 33.75 hours   Netsuite consultant- Nathaniel Norton 33.75 hours                                               Software                9/13/2017
Netsuite consultant- Scott Hinckley .25 hours       Netsuite consultant- Scott Hinckley .25 hours                                                   Software                9/13/2017
Panasonic phone                                     CABLE-NET COMMUNICATIONS CORP- PANASONIC PHONE SYSTEM                                           Telecom                 7/29/2011
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 6/30/2013
TECHNET SOLUTIONS LLC                               DATA AND PHONE CHANGES                                                                          Telecom                 8/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                12/31/2013
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
Star2Star Phones                                    STAR2STAR PHONES AND SYSTEM                                                                     Telecom                 2/27/2014
                              Case 18-10085-CSS              Doc 3             Filed 01/12/18                  Page 31 of 134
    In re Parker School Uniforms, LLC
    Schedule A/B, #41 - Office Equipment



                       Name                                              Description                                           Type    Purchase
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     2/27/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     8/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                    10/31/2014
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     3/31/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     3/31/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     5/31/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     5/31/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     5/31/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     6/30/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     6/30/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     6/30/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     9/30/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM                                               Telecom                     9/30/2015
Star2Star Phones                       STAR2STAR PHONES AND SYSTEM INSTALL ADDITIONAL LINE STORE 66              Telecom                     7/31/2016
Star2Star Phones                       PHONE INSTALLATION FOR #82                                                Telecom                     1/31/2017
Warehouse Racking                      WAREHOUSE RACK- 24" EXPANDABLE NEST FLEX SKATEWHEEL CONVEYOR-USED         Warehouse Equipment         6/30/2011
Storage Shelving Racks                 CAPITAL ONE NA - WAREHOUSE RACK COM. - STORAGE SHELVING RACKS             Warehouse Equipment          7/1/2011
conveyor                               WAREHOUSE RACK.COM - SKATEWHEEL CONVERYOR 24"OAW X 10' OAL GALVANIZED     Warehouse Equipment          2/1/2012
Shelving                               SAVE ON FREIGHT, LLC SHELVES-CORP-WAREHOUSE                               Warehouse Equipment         7/31/2012
conveyor                               CONVEYOR SYSTEM-WAREHOUSE                                                 Warehouse Equipment          4/1/2013
Scanner                                BAR CODE SCANNER FOR HOUSTON WAREHOUSE                                    Warehouse Equipment          4/1/2013
Picker                                 ORDER PICKER 24V                                                          Warehouse Equipment         9/30/2013
Scanner                                2 SCANNERS FOR WAREHOUSE                                                  Warehouse Equipment         8/31/2014
Scanner                                2 SCANNERS FOR WAREHOUSE                                                  Warehouse Equipment         8/31/2014
Scanner                                5 BARCODE SCANNERS                                                        Warehouse Equipment         4/30/2015
Picker                                 ORDER PICKER FOR WAREHOUSE                                                Warehouse Equipment         6/30/2015
LEGACY PAPER & PACKAGING               AUTOMATIC STRAPPING MACHINE FOR SHIPPING                                  Warehouse Equipment         6/30/2016
Picker                                 REPAIR FOR WAREHOUSE ORDER PICKER                                         Warehouse Equipment         7/31/2016
Scales                                 SCALES FOR STORES AND CORP                                                Warehouse Equipment         8/31/2016
Pallet racks                           INSTALLATION OF PALLET RACKS                                              Warehouse Equipment         2/28/2017
Pallet racks                           INSTALLATION OF PALLET RACKS                                              Warehouse Equipment         2/28/2017
Picker                                 4 LITTLE GIANT #174 FORKLITABLE ORDER PICKING TRUCK                       Warehouse Equipment         4/30/2017
Uprights                               INSTALL 14 UPRIGHTS, 99 BEAMS AND 66 DECKS                                Warehouse Equipment         4/30/2017
UTILITY CART                           UTILITY CART                                                              Warehouse Equipment         2/29/2012
                                  Case 18-10085-CSS                     Doc 3      Filed 01/12/18         Page 32 of 134

 Debtor         Parker School Uniforms, LLC                                                   Case number (If known)
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            warehouse and production equipment                                       $137,820.13       net book value                    $137,820.13



 51.        Total of Part 8.                                                                                                         $137,820.13
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     See attached list of
                     leased real estate                   leases                       Unknown                                                     $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                           Case 18-10085-CSS                      Doc 3      Filed 01/12/18          Page 33 of 134
    In re Parker School Uniforms, LLC
    Schedule A/B, #55.1 - leased real estate



  Store Number/Name                      Address 1                       Address 2            City         State/Province        Zip      Country
00 - Distribution Center   6300 W By Northwest Blvd Ste 100                              Houston          TX                77040-4968   US
01 - Governors             2000 W Governors Cir Ste E                                    Houston          TX                77092-8731   US
02 - Alpha                 4887 Alpha Rd Ste 250                                         Dallas           TX                75244-8800   US
04 - Casa Linda            413 Casa Linda Plz                                            Dallas           TX                75218-3476   US
05 - Carrollton            1611 N I-35 East                       #318                   Carrollton       TX                75006        US
06 - Memphis               1658 Appling Rd Ste 105                                       Cordova          TN                38016-4924   US
07 - West University       3817 Bellaire Blvd                                            Houston          TX                77025-1208   US
08 - Castle Hills          2108 NW Military Hwy                                          San Antonio      TX                78213-1882   US
10 - Wichita               650 N Carriage Pkwy Ste 85                                    Wichita          KS                67208-4512   US
14 - Galleria Oaks         15909 San Pedro Ave                    Suite 110              San Antonio      TX                78232-3742   US
15 - Austin                7756 Northcross Dr Ste 111                                    Austin           TX                78757-1737   US
16 - Corpus Christi        4234 S Alameda St                                             Corpus Christi   TX                78412-2446   US
17 - Ridgeland             950 E County Line Rd Ste B                                    Ridgeland        MS                39157-1928   US
18 - Flowood               2001 Airport Rd N Ste 308                                     Flowood          MS                39232-8849   US
19 - Batesville            134 Hwy 6 West                                                Batesville       MS                38606        US
20 - Memorial              12524 Memorial Dr                                             Houston          TX                77024-6000   US
24 - Plano                 4909 W Park Blvd Ste 173                                      Plano            TX                75093-2311   US
26 - Nashville             204 Ward Cir                                                  Brentwood        TN                37027-7551   US
27 - Sugar Land            4630 Highway 6                                                Sugar Land       TX                77478-5214   US
29 - Spring                # 700                                  3425 FM 2920 Rd # F    Spring           TX                77388-4103   US
30 - Jackson Tn            1147 Rushmeade Rd                                             Jackson          TN                38305-2411   US
34 - League City           209 W Main St                                                 League City      TX                77573-3736   US
36 - Madison               2021 Gallatin Pike N Ste 232                                  Madison          TN                37115-2029   US
38 - Grapevine             Ste286                                 3001 State Highway 121 Euless           TX                76039-6053   US
39 - Fort Worth            1125 Oakland Blvd                                             Fort Worth       TX                76103-1123   US
41 - Sandy Springs         6311 Roswell Rd                                               Sandy Spgs       GA                30328-3209   US
42 - Lawrenceville         2100 Riverside Pkwy Ste 132                                   Lawrenceville    GA                30043-5938   US
43 - Montgomery            1717 Eastern Blvd                                             Montgomery       AL                36117-1609   US
45 - Macon                 2941 Mcmanus Rd                                               Macon            GA                31220-8321   US
46 - Alpharetta            319 Curie Dr                                                  Alpharetta       GA                30005-2264   US
47 - Chamblee              2080 Peachtree Industrial Ct Ste 110                          Chamblee         GA                30341-2246   US
51 - Beaumont              3863 Stagg Dr                                                 Beaumont         TX                77701-3717   US
61 - San Clemente          971 Calle Negocio                                             San Clemente     CA                92673-6285   US
62 - San Diego             7330 Opportunity Rd Ste F                                     San Diego        CA                92111-2224   US
63 - Riverside             11800 Sterling Ave Ste K                                      Riverside        CA                92503-4975   US
64 - Anaheim               1515 S Sunkist St Ste A                                       Anaheim          CA                92806-5808   US
65 - Sacramento            9912 Business Park Dr Ste 165                                 Sacramento       CA                95827-1724   US
66 - Montrose              2271 Honolulu Ave                                             Montrose         CA                91020-1635   US
68 - RED Label             971 Calle Negocio                                             San Clemente     CA                92673        US
70 - Louisville            291 N Hubbards Ln                                             Louisville       KY                40207-2295   US
71 - Senatobia             142 Norfleet                                                  Senatobia        MS                38668        US
72 - Oklahoma City         9606 N May Ave                                                Oklahoma City    OK                73120-2714   US
74 - Harlingen             614 N Ed Carey Dr                                             Harlingen        TX                78550-7912   US
75 - Lexington             356 Longview Plaza                     Suite 140              Lexington        KY                40503        US
80 - Duncanville           1126 S Cedar Ridge Dr Ste 102                                 Duncanville      TX                75137-3021   US
82 - Atlanta               1412 Moreland Ave SE                                          Atlanta          GA                30316-3207   US
83 - Memphis               4780 Summer Ave Ste 103                                       Memphis          TN                38122-4714   US
86 - Chandler              2988 N Alma School Rd                  Suite 4                Chandler         AZ                85224-6710   US
87 - Houston               10606 HEMPSTEAD RD                     STE 122                Houston          TX                77092-8401   US
Corporate                  6300 W By Northwest Blvd Ste 100                              Houston          TX                77040-4968   US
                                  Case 18-10085-CSS                     Doc 3      Filed 01/12/18         Page 34 of 134

 Debtor         Parker School Uniforms, LLC                                                   Case number (If known)
                Name



        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                               $8,211,574.00                                           Unknown



 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Sales Tax Abatement - Texas                                                           Tax year Aug. 2017                     $88,862.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                  Case 18-10085-CSS                     Doc 3      Filed 01/12/18       Page 35 of 134

 Debtor         Parker School Uniforms, LLC                                                  Case number (If known)
                Name

           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                             $88,862.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                                     Case 18-10085-CSS                             Doc 3             Filed 01/12/18                  Page 36 of 134

 Debtor          Parker School Uniforms, LLC                                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $119,689.88

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $999,640.74

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $319,423.44

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                         $19,123,810.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $945,571.46

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $137,820.13

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $88,862.00

 91. Total. Add lines 80 through 90 for each column                                                       $21,734,817.65             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $21,734,817.65




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                    Case 18-10085-CSS                       Doc 3          Filed 01/12/18           Page 37 of 134

 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   Frost Bank                                     Describe debtor's property that is subject to a lien              $13,026,828.00                   Unknown
       Creditor's Name                                accounts, chattel paper, documents,
                                                      instruments, deposit accounts, general
       1 Boulevard Place                              intangibles, inventory, equipment and
       Suite 120                                      fixtures
       Houston, TX 77056
       Creditor's mailing address                     Describe the lien
                                                      First Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/14/2011                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Raymond Leasing
 2.2                                                                                                                            Unknown                  Unknown
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                Stock Picker
       P.O. Box 301590
       Dallas, TX 75303-1590
       Creditor's mailing address                     Describe the lien
                                                      Capital Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                  Case 18-10085-CSS                     Doc 3      Filed 01/12/18                Page 38 of 134

 Debtor       Parker School Uniforms, LLC                                                        Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                         $13,026,828.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Linda S. LaRue
        Qulling Selander Lownds Winslett Moser                                                            Line   2.1
        2001 Bryan Street, Suite 1800
        Dallas, TX 75201

        Randy Pokorny
        5050 Cranswick Road                                                                               Line   2.2
        Houston, TX 77041




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                  Case 18-10085-CSS                            Doc 3           Filed 01/12/18                Page 39 of 134

 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           local taxing authorities                                  Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     employer portion of payroll taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $360,221.83           $360,221.83
           see attached                                              Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     gross payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   27157                                  Best Case Bankruptcy
    In re Parker School Uniforms, LLC
    Schedule E/F, #2.2 - gross payroll
                                                  Case 18-10085-CSS                    Doc 3   Filed 01/12/18          Page 40 of 134



First_Name                    Last_Name           Street                                  City                  State    Zipcode   Gross Payroll
ADRIAN                        GUILLEN             3711 ERBY                               HOUSTON                  TX      77023           $833.13
ALCIDES                       PADRON              8750 POINT PARK DRIVE APT# 202          HOUSTON                  TX      77095           $960.00
AMANDA                        HAWKINS             10851 W Montfair Blvd,5323              The Woodlands            TX 77382‐7738         $1,796.42
AMANDA                        LUNA                13513 LOUMONT ST                        WHITTIER                CA       90601         $1,141.60
ANA                           ARROYO              10563 KEENELAND LN                      HOUSTON                  TX      77038           $742.40
ANGELA                        BENAVIDES           7554 BUBBLING SPRING LN                 HOUSTON                  TX      77086           $862.47
ASHLEIGH                      BOWERS              14650 NACOGDOCHES RD APT 3002           SAN ANTONIO              TX      78247           $915.24
BETH                          ABELSEN             133 AVE BARCELONA                       SAN CLEMENTE            CA       92672         $1,329.60
BEVERLY                       BROOKS              3630 FLORINDA                           HOUSTON                  TX      77021         $1,178.10
BLANCA                        LOZANO              11729 ART ST                            HOUSTON                  TX      77076           $653.44
BRANDY                        FRAZIER             3606 HILLTOP LANE                       PLANO                    TX      75023         $1,399.94
BRENDA                        MCHENRY             110 FAWN COURT                          HENDERSONVILLE          TN 37075‐9766          $1,332.00
CALVIN                        WHALEY              2400 S LOOP W APT # 1724                HOUSTON                  TX      77054           $795.63
CAROLINA                      CRUZ                7818 BROOK TRAIL CIRCLE                 HOUSTON                  TX      77040           $289.28
CHAMPAGNE                     ELLIOTT             4149 RUE ANTOINETTE                     STONE MOUNTAIN          GA       30083         $1,833.50
CHRISTINA                     LOPEZ               1381 W CERRITOS AVE #77                 ANAHEIM                 CA       92802           $935.63
CHRISTY                       TAYLOR              1711 SERENITY DR                        PFLUGERVILLE             TX      78660         $1,831.40
DANIELLE                      PORTER              1009 IVYDALE CIRCLE                     LAWRENCEVILLE           GA       30045         $1,572.00
DEMETRIAS                     BLACK               7313 PARKER ROAD                        HOUSTON                  TX      77016           $910.00
DESTINIE                      NELSON              3131 SIMPSON STUART ROAD                DALLAS                   TX      75241           $956.78
DIANA                         MORENO              10563 KEENELAND LN                      HOUSTON                  TX      77038           $765.60
DORIS                         SANCHEZ             20903 GROVEDALE DR                      HOUSTON                  TX      77073           $980.16
ELOIDA                        BONILLA             15827 NATCHEZ BROOK LN                  HOUSTON                  TX      77073           $765.60
ELVIA                         CABALLERO           10000 KEMPWOOD DR #912                  HOUSTON                  TX      77080         $1,087.68
ENMI                          COLAJ               9401 WINDFERN ROAD APT 70               HOUSTON                  TX      77064           $812.00
ERIC                          BENNETT             2400 BRIARWEST BLVD #1901               HOUSTON                  TX      77077           $996.03
ERNESHIA                      KENNON              210 WELLS FARGO DT APT1412              HOUSTON                  TX      77090         $1,366.80
ESPERANZA                     OROZCO              510 HANDOVER DRIVE                      CORPUS CHRISTI           TX      78412         $1,440.00
FLORA                         NAVARRO             334 PLYMOUTH                            HOUSTON                  TX      77022           $940.68
GODOFREDA                     PEREZ               922 WAVERLY                             HOUSTON                  TX      77008         $1,002.72
IKESHIA                       LOCKETT             6924 STELLA LINK #2                     HOUSTON                  TX      77025         $1,452.53
JERIKA                        SNOW                1021 PECAN CROSSING DRIVE APT 4010      DESOTO                   TX      75115         $1,640.50
JOE                           LARA III            3016 JAMESTOWN DRIVE                    MESQUITE                 TX      75150         $1,524.00
JORDAN                        SHUMATE             1319 DEVENS DRIVE                       BRENTWOOD               TN       37027         $1,383.75
JORGE                         MARTINEZ            4302 OAK SHADOWS DRIVE                  HOUSTON                  TX      77091         $1,285.92
JOSE                          ALVAREZ             6403 DELMONTE APT #247                  HOUSTON                  TX      77057           $163.36
JOSE                          HIDALGO ECHEGOYEN   28244 CAMINO DEL RIO                    SAN JUAN CAPISTRANO     CA       92675         $1,135.64
JOSE                          MENDOZA             136 MEADOW LEA DR                       HOUSTON                  TX      77022         $1,580.16
JOSUE                         COLAJ DE LEON       9401 WINDFERN TRAIL APT 70              HOUSTON                  TX      77064           $776.48
JOYCE                         MUSARD‐ONDRLA       16035 SUNBEAM RIVER DRIVE               HOUSTON                  TX      77084           $775.50
JUANA                         CASTILLO            52 WELFORD STREET                       HOUSTON                  TX      77022           $977.60
KATRINA                       LOGAN               12333 NE 89TH STREET                    JONES                   OK       73049         $1,208.40
LAKEDRA                       HOWARD              9000 ALMEDA RD #4302                    HOUSTON                  TX      77054           $960.75
LAURA                         MCEVOY              8012 CLAREMONT                          DALLAS                   TX      75228         $2,075.00
LEONARDO                      SEDENO              3114 KNOLL ST                           HOUSTON                  TX      77080           $906.40
LESLIE                        PINEDA              2562 CLEARVIEW CIRCLE                   DALLAS                   TX      75233           $823.24
LEYANNA                       DIGHTON             15147 WOODRUFF PLACE APT #28            BELLFLOWER              CA       90706         $1,428.75
LIEN                          HUYNH               9115 WINKBOW                            HOUSTON                  TX      77040           $962.50
LIZBETH                       ARVIZO              3884 BOSTON AVENUE                      SAN DIEGO               CA       92113         $1,619.40
JACKSON                       LYNEA               8506 BLOSSOM BELL LN                    MISSOURI CITY            TX      77489           $181.50
MADALYN                       STEWART             5802 EVERHART RD. APT. 9L               CORPUS CHRISTI           TX      78413           $941.60
                                                   Case 18-10085-CSS                   Doc 3     Filed 01/12/18       Page 41 of 134
       In re Parker School Uniforms, LLC
       Schedule E/F, #2.2 - gross payroll


First_Name                     Last_Name           Street                                    City             State    Zipcode   Gross Payroll
MARIA                          GUEVARA             3114 KNOLL ST                             HOUSTON             TX      77080           $612.48
MARIA                          LOPEZ               113 BUSCH ST APT #5                       HOUSTON             TX      77060           $967.40
MARIA                          OLIVARES            139 RENNER                                SAN ANTONIO         TX      78201         $1,105.91
MARIA                          PUENTE              4302 OAK SHADOWS DR                       HOUSTON             TX      77091           $671.06
MARIA                          QUINTANA            6327 DEIRDRE ANNE                         HOUSTON             TX      77088           $999.89
MARIA                          RODRIGUEZ           273 HARKNESS                              HOUSTON             TX      77076           $408.40
MARIA                          ZACARIAS            2714 NW 30TH                              FT WORTH            TX      76106         $1,312.48
MARIE                          GUIVAS              600 E DENTON DRIVE, APT 5311              EULESS              TX      76039         $1,236.00
MARLENY                        GONZALEZ VILLALTA   6939 LEANDRA DR.                          HOUSTON             TX      77083           $842.16
MARTHA                         GIRALDO             DUNLEAF ARC WAY 3104                      NORCROSS           GA       30093         $1,181.62
MARY                           LEBLANC             4812 WAYNE                                HOUSTON             TX      77026           $926.64
MELISSA                        AZPEITIA            3515 W MUNGALL DR APT#1                   ANAHEIM            CA       92804           $928.00
MELISSA                        PHILLIPS            110 TEW STREET                            PRATTVILLE          AL      36066         $1,265.63
MIGDALIA                       SANTOS              15422 MENDOCINO DR                        HOUSTON             TX      77083         $1,040.00
MIRNA                          RODRIGUEZ           7506 SMILINGWOOD                          HOUSTON             TX      77086           $986.88
NANCY                          CLEVELAND           2512 CAPSTONE DRIVE                       MONTGOMERY          AL      36106         $1,830.57
NANCY                          MIRANDA             8791 HAMMERLY BLVD APT. 99                HOUSTON             TX      77080           $857.22
NIOBE                          REMEDIOS            3114 KNOLL ST                             HOUSTON             TX      77080           $765.60
OLIBIA                         SAUCEDA             6309 JIM ST                               HOUSTON             TX      77092           $735.12
PAULA                          GIL                 550 CORVETTE LN                           HOUSTON             TX      77060           $890.88
RHETT                          COOPER              23210 SUMMER PINE DRIVE                   SPRING              TX      77373         $1,249.50
RINA                           MEJIA               810 WESTFORD ST                           HOUSTON             TX      77022           $416.18
RODNEY                         KENNEDY             2008 CLUB OAK DR                          HEARTLAND           TX      75126         $1,348.00
ROSARIO                        REYES               550 CORVETTE LANE                         HOUSTON             TX      77060           $803.14
ROSEMARY                       NEELY               809 CURTIS DRIVE                          NASHVILLE          TN       37207           $865.44
SAUNDRA                        VALDEZ              2800 EAST LEAGUE CITY PARKWAY APT# 1014   LEAGUE CITY         TX      77573         $1,280.00
SCOTT                          GUGGENMOS           14365 CORNERSTONE VLG APT #901            HOUSTON             TX      77014         $1,289.28
SEVILLE                        ARRIAGA             23333 RIDGE ROUTE DR. # 130               LAKE FOREST        CA       92630         $1,260.00
STACEY                         EVANS               1467 GREEN BARK CIR.                      STONE MOUNTAIN     GA       30083         $1,128.63
TIFFANY                        CROSSLAND           5910 NW 42ND ST                           WARR ACRES         OK       73122           $947.90
TIFFANY                        MILLER              6706 BROCK MEADOW DRIVE                   SPRING              TX      77389         $1,634.40
TONI                           BRADLEY             7514 DOWNRIDGE DRIVE                      AUSTIN              TX      78731         $1,510.72
VYVYNE                         DALLAS              4655 DIANN DRIVE                          COLLEGE PARK       GA       30349         $1,239.64
YANITA                         SIMS                11318 LOVINGTON DRIVE                     HOUSTON             TX      77088           $865.57
YVONNE                         VELASQUEZ           323 RICE RD                               SAN ANTONIO         TX      78220         $1,228.50
ABIGAIL                        GARCIA              2233 BLANDIN                              FORT WORTH          TX      76111           $580.00
ALICIA                         JOHNSON             907 THRASHER WAY                          NASHVILLE          TN       37221            $98.81
ANDREA                         TURNER              1372 LONGACRE DR                          MACON              GA       31204            $56.00
BARBARA                        HOLLEY              156 TILE ROAD                             BATESVILLE         MS       38606           $677.50
BARBARA                        MORRIS              3306 FLAMINGO BASIN                       SAN ANTONIO         TX      78247           $722.38
BARRETT                        HUGHES JR.          6115 ABBOTTS BRIDGE RD APT 1409           JOHNS CREEK        GA       30097         $1,127.75
BELISA                         BAKER               249 CHLOE DIANNE DR                       LOGANVILLE         GA       30052           $206.13
BREANDRA                       FLAGG               1028 HAYWOOD ROAD                         MACON              GA       31211            $84.00
BRIANNA                        ROSE                112 LAUBER LANE                           DERBY               KS      67037            $32.24
BRITTANY                       DUREE               9017 1/2 N BARNES DRIVE                   JONES              OK       73049           $114.75
CAROLE                         PATTERSON           4528 WARES FERRY RD                       MONTGOMERY          AL      36109            $78.75
CAROLINA                       HERNANDEZ           2322 CLYMER STREET                        DALLAS              TX      75212           $544.17
CHARLES                        PENA                211 W. HART AVE.                          PASADENA            TX      77506           $567.00
CHASE                          STEPP               734 N. MCKINLEY AVE.                      CLARKSVILLE         IN      47129            $69.75
WHITE                          CHLOE               26 BARRETT PLACE                          JACKON             TN       38305           $126.00
CHRISTINE                      HANNAH              10374 HERONS RIDGE COVE                   LAKELAND           TN       38002           $159.90
DAIJAH                         LOPEZ               17 DAZZLING COURT                         DALLAS             GA       30132           $888.00
       In re Parker School Uniforms, LLC
                                               Case 18-10085-CSS            Doc 3   Filed 01/12/18    Page 42 of 134
       Schedule E/F, #2.2 - gross payroll


First_Name                    Last_Name        Street                          City             State   Zipcode   Gross Payroll
DAPHANEE                      WASHINGTON       2314 SHARON RD                  CANTON             MS      39046           $495.73
DENISE                        CATIGNANI        121 ROSE GARDEN LANE            GOODLETTSVILLE     TN      37072           $558.29
DESMOND                       BARNES           508 TREE LODGE PARKWAY          LITHIA SPRINGS     GA      30122           $962.00
DEVONE                        SLAPPY           1604 MORGANS LANDING DRIVE      ATLANTA            GA      30350           $997.50
DOROTHY                       ALDRED           5205 COCHRAN DRIVE              NASHVILLE          TN      37220           $430.77
ELIZABETH                     MASSIE           3533 CASTLEGATE WYND            LEXINGTON           KY     40502           $405.00
EMILEE                        SPENCE           2155 ROCKBRIDGE ROAD            STONE MOUNTAIN     GA      30087           $837.00
EMMANUEL                      RAMOS            4021 TEJAS TRAIL                FORT WORTH          TX     76135           $205.30
GREEN                         GARRETT          8125 WILLIAMS SCHOOL RD         NEEDVILLE           TX     77461           $126.00
HEATHER                       CRAMSIE          252 35TH AVENUE NORTH           NASHVILLE          TN      37209           $212.50
HENRIETTE                     SALAZAR          1806 E. JACKSON                 HARLINGEN           TX     78550           $519.85
HUEY                          KING             1245 19TH STREET                BEAUMONT            TX     77706           $185.00
JEYME                         CRUZ             2028 DALY STREET APT H          LOS ANGELES        CA      90031           $215.63
WOODS                         JOHNNIE          267 WESLEY RD.                  STANTON            TN      38069           $168.53
JOYCE                         ESPINOZA         910 E AUSTIN AVE                HARLINGEN           TX     78550           $510.75
JUSTIN                        VAUGHN           1655 CHESHIRE CT                LAWRENCEVILLE      GA      30043           $219.00
KATHERINE                     GOODWIN          105 EASTHAVEN CIRCLE            BRANDON            MS      39042           $316.00
KATIE                         BROWN            307 EASTRIDGE DRIVE             BRANDON            MS      39042           $412.70
KATRINA                       NILAND           3106 WILLOW TERRACE DR          KINGWOOD            TX     77345           $660.00
KAYLIEANN                     MCANUFF          889 STILL HILL LANE             LAWERENCEVILLE     GA      30045            $98.00
KELSEY                        BARDWELL         182 WEBB CIRCLE                 FLORENCE           MS      39073           $646.40
KIMBERLY                      WARD             837B FULMER RD                  COMO               MS      38619           $442.50
GILES                         LAINEY           10264 GOODING DR                DALLAS              TX     75229           $136.00
LARRY                         MCLAURIN         4496 PRISCILLA AVE              MEMPHIS            TN      38128           $422.00
LATASHA                       HALL             4279 AYERS RD                   MACON              GA      31210           $127.50
MELKE                         LESSAN           6416 MISSY DRIVE                DALLAS              TX     75252           $137.25
LETICIA                       MEDINA‐LEAL      111 MILFORD DRIVE               SAN ANTONIO         TX     78213           $648.00
LINDA                         MOORE            64 DRIFTWOOD DR                 JACKSON            TN      38305           $391.74
MARIA                         MELECIO          8618 GANDER BAYSHORE LANE       HOUSTON             TX     77040           $408.00
MARIA                         VARGAS MENDOZA   10106 PEACHFORD CIRCLE          DUNWOODY           GA      30338           $773.50
MARY                          LINNEBUR         13948 W. 39TH S.                WICHITA             KS     67227           $291.73
MARY                          ROESEL           7034 PINE VISTA LN              HOUSTON             TX     77092           $390.00
MCKENA                        MACE             505 E SCOTT ST                  CARNEGIE           OK      73015           $335.80
MIA                           NAVARRO          2045 ALCOVY TRAILS DR           DACULA             GA      30019            $78.00
MICKAYLA                      FOX              101 ALPINE WAY                  NICHOLASVILLE       KY     40356           $209.25
MOLLY                         HALE             95 DOGWOOD DRIVE                JACKSON            TN      38305            $48.00
SMITH                         NEIL             3202 MINERAL CREEK CT           LEAGUE CITY         TX     77573           $123.84
NGOZI                         ODUNZE           311 WHEELHOUSE CT               STAFFORD            TX     77477           $312.24
NICHOLAS                      MORRIS           8383 WHITESMILL COVE            CORDOVA            TN      38016           $165.75
OLIVIA                        LAND             3403 TIMBERVIEW RD              DALLAS              TX     75229            $42.00
PAIGE                         ESSARY           515 SHADY HOLLOW COVE           EADS               TN      38028           $290.10
PATRICIA                      JARVIS           6116 BLUE SPRINGS               BARTLETT           TN      38134           $243.20
POLO                          RODRIGUEZ        7050 WINTERBROOK CT #65         ATLANTA            GA      30360           $828.75
PRESLEY                       PALAZZO          11 GREENDALE DRIVE              JACKSON            TN      38305            $40.00
RAVON                         POOLE            2770 SCENIC TERRACE             EAST POINT         GA      30344           $558.25
REBECCA                       RODRIGUEZ        154 TRUDELL DRIVE               SAN ANTONIO         TX     78213           $524.25
RICHARD                       MORTON           2201 NW 122ND ST APT 1401       OKLAHOMA CITY      OK      73120           $661.50
ROBERT                        SANDERS III      5414 NIELAN STREET              HOUSTON             TX     77028         $1,456.87
ROBERT                        SUSTAK           745 HUNTING VIEW PT NW          SANDY SPRINGS      GA 30328‐2784           $130.11
SCHMIT                        ROSE             418 MESA CANYON                 SAN ANTONIO         TX     78258           $124.00
SALLY                         MCBRIDE          12219 BROOKMEADOW LN            DALLAS              TX     75218           $904.91
SEAN                          STEVENSON        2895 SAN JACINTO ST             BEAUMONT            TX     77701           $178.20
       In re Parker School Uniforms, LLC
                                              Case 18-10085-CSS                  Doc 3   Filed 01/12/18      Page 43 of 134
       Schedule E/F, #2.2 - gross payroll


First_Name                    Last_Name       Street                                City               State   Zipcode   Gross Payroll
SHARKARA                      ROBINSON        1137 BELAIR DR                        MACON                GA      31204            $64.00
SHAYNA                        HEIBEL          841 SALEM TRAIL                       LEWISVILLE            TX     75067           $154.72
SHIRLEY                       SHERRILL        379 SHERBURNE CV.                     CORDOVA              TN      38018            $80.25
SONJA                         STEPP           734 NORTH MCKINLEY AVENUE             CLARKSVILLE           IN     47129           $761.84
SOPHIA                        KALAMARIDES     1876 DAPPLEGREY LANE                  AUSTIN                TX     78727           $168.90
TDAESHYA                      WYNN            8501 OLD HICKORY TRAIL APT #5104      DALLAS                TX     75237           $369.42
TERESA                        LOPEZ           473 VINCENTS STREET                   CEDAR HILL            TX     75104           $437.58
VICTORIA                      GARMON          604 PLANTERS COURT                    MONTGOMERY            AL     36109           $539.13
WILLIAM                       AYALA           6638 SWIFT CREEK RD.                  LITHONIA             GA      30058           $749.97
YOLANDA                       DIAZ            8507 BURRELL DRIVE                    AUSTIN                TX     78757           $658.57
ZACHARY                       ADAMS           8808 RIVER RISE DRIVE                 CORDOVA              TN 38016‐3801            $22.00
ALYSSA                        GUERRERO        710 E SUNSHINE DR                     SAN ANTONIO           TX     78228           $294.00
ANGELA                        KERLS           1553 W SAM HOUSTON PKWY SOUTH         HOUSTON               TX     77042           $190.00
ANTHONY                       MCCOY           1119 CYPRESS DRIVE                    MACON                GA      31204            $58.00
ANTONIO                       JOHNSON         5880 W GULFBANK RD APT 2510           HOUSTON               TX     77088           $731.50
ARACELLI                      SANCHEZ         6321 WIGWAM DR                        SAN ANTONIO           TX     78238            $44.00
BRADY                         WILLIAMSON      11039 GALLERIA COVE                   AUSTIN                TX     78759           $282.50
BRAYLON                       JEFFERY         1021 PECAN CROSSING DR APT 3308       DESTO                 TX     75115           $344.48
BREYON                        JEFFERY         1021 PECAN CROSSING APT 3308          DESOTO                TX     75115           $202.72
BRIAN                         PENA            15334 LAKEWOOD BLVD APT 15            BELLFLOWER           CA      90706           $719.26
BRIDGET                       NEVAREZ         3240 KENNETH DRIVE                    LOS ANGELES          CA      90032            $78.75
CARINA                        AGUILAR         2821 GALVEZ AVE                       FORT WORTH            TX     76111           $610.00
CAROLINE                      MCDOUGAL        5165 REMINGTON DRIVE                  BRENTWOOD            TN      37027            $38.00
CASSANDRA                     AGUILAR         14414 BRYCE MEADOW LN                 HOUSTON               TX     77047           $532.00
CHANDA                        CLOWERS         6185 GREEN WING WAY                   MORROW               GA      30260           $225.00
CHRISTINA                     WEIS            15814 CAMP FIRE ROAD                  FRIENDSWOOD           TX     77546           $281.52
CHRISTOPHER                   VALLE           12223 HIGHLAND AVE 106‐441            RANCHO CUCAMONGA     CA      91739           $532.88
CLIFFORD                      ELLIS‐ EL       6103 WOLFBORO DR                      HOUSTON               TX     77041           $770.00
DANIEL                        KALLAHER        7075 SHOW BOAT LN                     CORDOVA              TN      38018           $174.00
DANIELLE                      SHAFF           598 WARD LANE                         HENDERSONVILLE       TN      37075           $293.25
DEMARQUIS                     BROWN           1335 HERRINGTON RD APT 3004           DULUTH               GA      30096           $504.00
DESTANI                       LOPEZ           5620 DENDY TRACE                      FAIRBURN             GA      30213           $721.88
DIANELYS                      ARA             8520 PITNER RD APT 105                HOUSTON               TX     77080           $722.25
DINA                          MELGAR          11500 GREEN PLAZA DR APT 302          HOUSTON               TX     77038           $389.25
DIVINE                        NEELY           1432 VERANDA CHASE DRIVE              LAWRENCEVILLE        GA      30044           $735.01
DUNEISIS                      BATISTA         6000 W SUNFOREST DR APT 1602          HOUSTON               TX     77092           $724.50
EMILE                         KIENLBAUCH      2936 BIRMINGHAM BRIAR DRIVE           CROWLEY               TX     76036           $128.56
EMILY                         BUTOS           10611 INWOOD DR                       HOUSTON               TX     77042            $20.00
GEOVANNY                      CHAVEZ          696 SIMON IVE DR                      LAWRENCEVILLE        GA      30045         $1,088.75
IGNACIO                       FLORES          1330 WINTERGREEN CT                   DESOTO                TX     75115           $227.38
JADA                          JONES           1591 GREAT SHOALS DRIVE               LAWRENCEVILLE        GA      30045           $134.00
JAMARYA                       ALFORD          5578 RIVERSIDE DRIVE APT 907          MACON                GA      31210            $82.00
JAVIER                        MERINO          3705 CAMPBELL RD APT 43               HOUSTON               TX     77080           $958.25
JAVON                         JOSEPH          425 RAYFORD RD APT 1415               SPRING                TX     77386           $635.00
JERNELL                       KRUTKI          1073 CHEROKEE HEIGHTS                 STONE MOUNTAIN       GA      30083           $709.50
JUANITA                       LOWRY‐BENNETT   4315 AZTEC DRIVE                      DALLAS                TX     75216           $434.52
KIERRE                        DAVIS           2414 S EIFFEL CT                      DECATUR              GA      30032           $202.50
LAURA                         BUSH            18911 CRESCENT FOUNTAIN RD            SPRING                TX     77388           $391.01
LAURA                         WINGO           335 STONECASTLE DR                    BRANDON              MS      39047           $246.00
LUIS                          HERNANDEZ       1144 MORELAND DR SE                   ATLANTA              GA      30315           $132.00
LUKE                          GARCIA          147 BRADFORD AVE                      SAN ANTONIO           TX     78228           $460.00
MADIANA                       GULLAGE         6418 OLD CHATHAM LN                   HOUSTON               TX     77035           $564.00
       In re Parker School Uniforms, LLC
                                                 Case 18-10085-CSS                   Doc 3   Filed 01/12/18     Page 44 of 134
       Schedule E/F, #2.2 - gross payroll


First_Name                    Last_Name          Street                                 City             State    Zipcode   Gross Payroll
MARIA                         CRUMP              1118 WILD PERSIMMON ST                 SAN ANTONIO         TX      78245           $270.00
MARK                          MAINEZ II          3234 MID HOLLOW DR.                    SAN ANTONIO         TX      78230           $414.56
MARQUALE                      BEASLEY            4679 WEAVER RD APT 30                  HOUSTON             TX      77016           $963.25
MAYA                          MINOR              9496 E VALLEY RANCH PKWY APT 1104      IRVING              TX      75063           $437.58
MICHAEL                       JONES              226 PECAN CREEK DR                     MADISON            MS       39110           $272.50
MICHAEL                       TOUREILLES         18302 WILSTONE DR                      HOUSTON             TX      77084           $144.00
MICHELLE                      ZISCHKE            1004 BELHAVEN ST APT 1                 JACKSON            MS       39202           $688.00
MONICA                        CONLEE             8542 TANBARK DR                        SAN ANTONIO         TX      78240           $258.00
NADIA                         HANNON             200 SHUMARD COURT                      IRVING              TX      75063            $45.94
NASTIA                        CARMENATES AYRA    16001 COTILLION DR APT. 1105           HOUSTON             TX      77060           $639.00
NATALIE                       KRUG               8202 E CHAMPIONS                       WICHITA             KS      67226            $76.00
ODONA                         PHILLIPS‐DIGHTON   15147 WOODRUFF PLACE APT #28           BELLFOWER          CA       90706           $840.00
RICHARD                       PENA               15334 LAKEWOOD BLVD APT 15             BELLFLOWER         CA       90706           $719.26
SCOTT                         PHILLIPS           110 TEW STREET                         PRATTVILLE          AL      36066           $113.31
SEBASTIEN                     JUAREZ             2401 BRATTON RIDGE                     AUSTIN              TX      78128            $71.36
STEPHANIE                     DE LOS SANTOS      1505 CHEROKEE RUN                      PFLUGERVILLE        TX      78660            $63.61
SYDNEY                        MCCLAIN            44 QUAIL LANE                          BRANDON            MS       39042           $231.00
TANGIE                        MCCOY              1119 CYPRESS DRIVE                     MACON              GA       31204            $94.00
TIFFANI                       ANDRADE            5924 STONEHAM ST                       HOUSTON             TX      77048           $298.00
TY‐YANNA                      CLOWERS            6185 GREEN WING WAY                    MORROW             GA       30260           $168.75
XIOMARA                       ALVARENGA          5449 TERRACE GARDEN WAY APT B          NORCROSS           GA       30071           $277.50
YANIRA                        MARTINEZ           905 BOLLING LN                         HOUSTON             TX      77076           $636.75
YONELKI                       OJEDA              8520 PITNER RD APT 804                 HOUSTON             TX      77080           $648.00
ADELE                         BROWN              10606 CLEARVIEW VILLA PLACE            HOUSTON             TX      77025         $2,584.62
AMBER                         SCHLAGETER         343 WILLOW GROVE DR                    SAN ANTONIO         TX      78245         $1,230.87
AMY                           MARDIS             410 MAPLE LANE                         MADISON            MS       39110         $2,137.29
AMY                           MURPHY             2403 BETSY ROSS DRIVE                  MT JULIET          TN       37122         $1,682.32
AMY                           ROSS               15481 QUEEN ELIZABETH COURT            MONTGOMERY          TX      77316         $4,092.32
ANGELA                        WOODRUFF           13810 TAYLORCREST                      HOUSTON             TX      77079         $2,786.12
BERNADETTE                    HUDSON             6 MORRO BAY DRIVE                      MANVEL              TX      77578         $2,215.39
BRENDA                        SOUZA              3523 B READING LN                      BAYVIEW             TX      77518         $1,199.01
BRENT                         COWLEY             2701 N MACARTHUR BLVD APT 710          LEWISVILLE          TX      75067         $2,907.70
BRITTNEY                      SIMMONS            720 PARSON DR                          BEAUMONT            TX      77706         $1,230.78
CATHY                         MASON              2506 MALLORCA CIRCLE                   HOUSTON             TX 77038‐3414         $2,078.34
CHRISTINA                     MARTINEZ           5772 GARDEN GROVE BLVD SPACE 545       WESTMINSTER        CA       92683         $2,257.64
DEBRA                         WILKERSON          614 BIG THICKET TR                     MESQUITE            TX      75149         $1,473.94
DERRELL                       CHRISTIAN          1127 MARTIN ROAD                       STONE MOUNTAIN     GA       30088         $2,584.62
ELISEO                        HERNANDEZ          4655 WILD INDIGO ST #170               HOUSTON             TX      77027         $2,586.92
EMILY                         BENNETT            13333 WEST ROAD APT 611                HOUSTON             TX      77041         $1,961.54
ERIC                          TOUREILLES         18302 WILSTONE DRIVE                   HOUSTON             TX      77084         $6,250.01
FELIX                         PICHARDO JR        12502 SEATTLE SLEW DRIVE 1022          HOUSTON             TX      77065         $4,145.01
GINA                          LLOYD              4000 DUNWOODY PARK, APT 3314           ATLANTA            GA       30338         $4,542.97
GLORIA                        HYMER              9915 SCENIC HILLS                      SAN ANTONIO         TX      78255         $1,946.33
GUADALUPE                     DOUGHERTY          28039 SCOTT RD SUITE D 430             MURRIETA           CA       92563         $2,995.27
HEATHER                       HUNTER             5634 WALNUT GROVE ROAD                 MEMPHIS            TN       38120         $1,615.39
HEATHER                       KENTTA             46025 W BELLE AVE                      MARICOPA            AZ      85139         $1,716.13
IRIS                          NAVARRO            410 N FOREST BLVD                      HOUSTON             TX      77090         $2,538.47
JANICE                        KOUBA              439 S DELLROSE                         WICHITA             KS      67218         $2,824.62
JAYME                         CORIATY            8302 TIMBERMOSS CT                     CYPRESS             TX      77433         $5,000.01
JENNIFER                      GILPIN             107 VENUS COURT                        BARDSTOWN           KY      40004         $1,927.83
JENY                          MASH               410 S FOUNTAIN                         WICHITA             KS      67218         $2,245.25
JOHN                          PORTER             27826 BURNETT HILLS LANE               FULSHEAR            TX 77441‐1449         $9,705.01
                                                  Case 18-10085-CSS                      Doc 3   Filed 01/12/18          Page 45 of 134
        In re Parker School Uniforms, LLC
        Schedule E/F, #2.2 - gross payroll

First_Name                     Last_Name          Street                                    City                  State    Zipcode   Gross Payroll
JULIE                          BARNTHOUSE         440 FOX BAY DR                            BRANDON                 MS       39047         $1,717.36
KALETTE                        MANNING‐HAYES      4305 PAXTON LANE APT #1210                LILBURN                 GA       30047         $1,576.93
KAMISHA                        WATSON             8006 STOWE SPRINGS LANE                   ARLINGTON                TX      76002         $2,538.47
KAREN                          OLSON              10642 RUTH ANN                            DALLAS                   TX      75228         $2,815.07
KATHLEEN                       LENTHART           2622 SHADOW BLUFF DRIVE                   MARIETTA                GA       30062         $1,980.77
KELLIE                         GREEN              8125 WILLIAMS SCHOOL ROAD                 NEEDVILLE                TX      77461         $1,377.69
KRISTA                         BROWN              129 FALLS CROSSING                        MADISON                 MS       39110         $1,846.16
KRISTEN                        RAMSEY             8218 GROVELAND HILLS DR                   CYPRESS                  TX      77433         $9,415.38
KRISTI                         KULL               14206 EVENTIDE DR.                        CYPRESS                  TX      77429         $2,076.92
KRISTINA                       YORK               5001 NEWHAVEN AVENUE                      MEMPHIS                 TN       38117         $2,307.70
LAUREN                         STONE‐KOP          5522 DRYAD DRIVE                          HOUSTON                  TX      77035         $2,192.32
LEE                            ALDRED             611 FARRELL PKWY                          NASHVILLE               TN       37220         $3,280.77
LETICIA                        VALLE              12223 HIGHLAND AVENUE, SUITE 106‐441      RANCHO CUCAMONGA        CA       91739         $2,123.09
LISA                           FARMER             948 BLAYLOCK CIRCLE                       IRVING                   TX 75061‐7506         $1,878.01
LISA                           PETTIT‐PAGAN       26297 VIA MADRIGAL                        SAN JUAN CAPISTRANO     CA       92675         $1,826.93
LONNIE                         BROWN              2015 LOUETTA OAK COURT                    SPRING                   TX      77388         $1,938.47
LORI                           SAGE               7277 CHARLOTTE PIKE UNIT 208              NASHVILLE               TN       37209         $1,753.85
LORRAINE                       SMITH              612 CEREZO DRIVE                          AUSTIN                   TX      78641         $2,861.54
LOUISE                         MCCONN             8830 ROOS RD                              HOUSTON                  TX      77036         $1,595.85
LYDIA                          CHAVIRA‐ RAMIREZ   313 DORCHESTER                            HOUSTON                  TX      77022         $2,215.39
MARCELA                        MEJIA              1709 FARLEY ST.                           HARLINGEN                TX      78550         $1,269.75
MARIA                          CORTEZ             1415 GRAYFORD CT                          HOUSTON                  TX      77073         $2,439.58
MATTHEW                        PACE               2002 TRAIL WATER CT                       KINGWOOD                 TX      77339         $4,250.01
MELINDA                        HALE               95 DOGWOOD DRIVE                          JACKSON                 TN       38305         $1,803.75
MICHAEL                        MURPHY             604 EAGLE TRAIL                           KELLER                   TX      76248         $5,118.62
MOLLY                          TAYLOR             9835 WILLOW CROSSING DRIVE                HOUSTON                  TX      77064         $1,923.08
MONICA                         SALDANA            469 S EVERGREEN AVENUE                    LOS ANGELES             CA       90033         $2,093.15
RACHEL                         CURRY              1132 HOLLY DRIVE                          CARROLLTON               TX      75010         $1,611.56
RANDALL                        LINKER             7151 BUCKNELL DRIVE                       DALLAS                   TX      75214         $1,543.85
ROBERT                         SHOLLAR            1120 HACKBERRY CT                         BURLESON                 TX      76028         $5,028.82
RODNEY                         VEACH              3704 BANYAN WOOD WAY                      PEARLAND                 TX      77584         $5,538.47
ROY                            GARCIA JR          1130 Broadway St., Apt. # 373             San Antonio              TX      78215         $2,238.47
SANDRA                         RIOJAS             1317 MT.VIEJA                             SAN ANTONIO              TX 78213‐1617         $2,357.70
SCOTT                          ANDERSON           8111 COUNTRY WIND COURT                   HOUSTON                  TX      77040         $4,250.01
SHARON                         SCHANDER           6016 CHOLLA DRIVE                         FORT WORTH               TX      76112         $2,277.71
SHEILA                         COTTEN             1338 MCALPINE AVE                         NASHVILLE               TN       37216         $1,769.24
SHERRI                         SHOEMAKE           PO BOX 1422                               SENATOBIA               MS       38668         $1,538.47
SHIELA                         CRITTENDEN         10 TECUMSEH DRIVE                         MONTGOMERY               AL      36117         $2,492.32
STEFANIE                       GARCIA             9007 LAVERNE CRESCENT                     HOUSTON                  TX      77080         $2,356.69
STEPHEN                        ORR                10621 QUAIL RUN ROAD                      MIDWEST CITY            OK       73130         $2,132.12
SUSEN                          SARPA              141 W. AVENIDA SAN ANTONIO                SAN CLEMENTE            CA       92672         $8,550.01
TAM                            MAI                12611 GINGER COVE LANE                    HOUSTON                  TX      77086         $2,192.32
TAMARA                         OTT‐SAAD           14519 CONCORD GROVE                       HOUSTON                  TX      77084         $3,230.77
TANYA                          MENDEZ             1201 ARBOR GATES DR                       ATLANTA                 GA       30324         $2,153.85
TERRI                          FRISK              105 LAKE POINT CT                         LEAGUE CITY              TX      77573         $1,853.02
TITO                           VARGAS             831 CARIO                                 CHANNELVIEW              TX      77530         $2,248.84
TOMEKA                         WARREN             8401 MEMORIAL LANE #7372                  PLANO                    TX      75024         $2,354.40
VANESSA                        ARAICO             228 S 37TH STREET                         SAN DIEGO               CA       92113         $1,968.30
MARCELA                        MEJIA              1709 FARLEY ST.                           HARLINGEN                TX      78550         $1,269.75

TOTAL                                                                                                                                   $360,221.83
                                  Case 18-10085-CSS                            Doc 3           Filed 01/12/18                Page 46 of 134

 Debtor       Parker School Uniforms, LLC                                                                     Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $86,078.12    Unknown
           see attached                                              Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     taxes - estimated
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Absolute Uniform Co., Inc.                                                  Contingent
           1126 Cedar Ridge
                                                                                       Unliquidated
           Suite 102
           Duncanville, TX 75137                                                       Disputed

           Date(s) debt was incurred 6/8/2016                                      Basis for the claim:     Asset Purchase Agreement - contingent
                                                                                   consideration
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $111,101.00
           Argosy Investment Partners Parallel V LP                                    Contingent
           950 West Valley Road                                                        Unliquidated
           #2900                                                                       Disputed
           Wayne, PA 19087
                                                                                   Basis for the claim:     subordinated note
           Date(s) debt was incurred 6/25/2015
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $39,535.00
           Argosy Investment Partners Parallel V LP                                    Contingent
           950 West Valley Road                                                        Unliquidated
           #2900                                                                       Disputed
           Wayne, PA 19087
                                                                                   Basis for the claim:     subordinated note
           Date(s) debt was incurred 6/16/2016
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $20,578.00
           Argosy Investment Partners Parallel V LP                                    Contingent
           950 West Valley Road                                                        Unliquidated
           #2900                                                                       Disputed
           Wayne, PA 19087
                                                                                   Basis for the claim:     subordinated note
           Date(s) debt was incurred 11/8/2017
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $1,388,900.00
           Argosy Investment Partners V, LP                                            Contingent
           950 West Valley Road                                                        Unliquidated
           #2900                                                                       Disputed
           Wayne, PA 19087
                                                                                   Basis for the claim:     subordinated note
           Date(s) debt was incurred 6/25/2015
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
    In re Parker School Uniforms, LLC
                                               Case 18-10085-CSS           Doc 3       Filed 01/12/18         Page 47 of 134
    Schedule E/F, #2.3, Taxing Authorities

Name                                                      Address 1                             Address 2 City             State   Zip Code   Balance as of 1/9/18
DAVID PIWONKA                                             10494 JONES RD. SUITE 106                       HOUSTON          TX      77065                  31,850.90
TENNESSEE DEPT. OF REVENUE                                225 MARTIN LUTHER KING, JR. DR                  JACKSON          MA      38301-6993               9,918.22
ALBERT URESTI, MPA                                        P.O. BOX 2903                                   SAN ANTONIO      TX      78299                    8,536.23
Carrollton-Farmers Branch ISD                             PO Box 110611                                   Carrollton       TX      75011-0611               5,656.85
FORSYTH COUNTY                                            1092 TRIBBLE GAP ROAD                           CUMMING          GA      30040                    5,549.15
BIBB COUNTY TAX COMMISSIONER                              PO BOX 4724                                     MACON            GA      31208-4724               5,123.70
Mississippi Dept of Revenue                               P. O. Box 960                                   Jackson          MS      39205-0960               3,518.03
Harlingen Tax Office                                      PO Box 2643                                     Harlingen        TX      78551-2643               3,304.32
JEFFERSON COUNTY SHERIFF'S OFC                            P.O. BOX 34570                                  LOUISVILLE       KY      40232-4570               2,781.16
L.B. Walker & Associates                                  13111 Northwest Fwy Ste 125                     Houston          TX      77040                    2,750.00
GALVESTON COUNTY TAX OFFICE                               722 MOODY (21ST STREET)                         GALVESTON        TX      77550                    2,049.19
OFFICE OF THE FAYETTE COUNTY                              P.O. BOX 34148                                  LEXINGTON        KY      40588                    1,792.13
GEORGIA DEPT OF REVENUE                                   1800 Century Blvd. NE                           ATLANTA          GA      30345                    1,573.92
Cameron County                                            PO Box 952                                      Brownsville      TX      78522-0952               1,020.68
Oklahoma Department of Revenue                            2300 N. LINCOLN BLVD., STE 101                  OKLAHOMA CITY    OK      73105                      366.26
SACRAMENTO COUNTY                                         P.O. BOX 508                                    SACRAMENTO       CA      95812                      103.35
City of Memphis                                           PO Box 185                                      Memphis          TN      38101-0185                  63.80
ALABAMA DEPT OF REVENUE                                   PO BOX 327320                                   MONTGOMERY       AL      36132-7320                  51.23
JOHN NEWMAN, TRUSTEE                                      100 E MAIN ST ROOM 107                          JACKSON          TN      38301-6239                  36.00
Williamson County                                         PO Box 1365                                     Franklin         TN      37065-1365                  19.00
City of Jackson                                           101 E Main St. #101                             Jackson          TN      38301                       14.00
Alabama Department of Revenue                             P.O. Box 327320                                 Montgomery       AL      36132                        0.00
Allison Nathan Getz: Tax Assessor: Collector              PO Box 2112                                     Beaumont         TX      77704                        0.00
Ann Harris Bennett: Tax Assessor- Collector               PO BOX 4622                                     Houston          TX      77210                        0.00
City of Flowood                                           P.O. Box 320069                                 Flowood          MS      39232                        0.00
City of Riverside (Tax)                                   P.O. BOX 12005                                  RIVERSIDE        CA      92502                        0.00
COUNTY OF ORANGE                                          P.O. BOX 4005                                   SANTA ANA        CA      92702-4005                   0.00
DEKALB COUNTY TAX COMMISSIONER                            P.O. BOX 100004                                 DECATUR          GA      30031                        0.00
Grapevine- Colleyville Area Tax Office                    P.O. Box 547                                    Grapevine        TX      76099                        0.00
Kansas Dept of Revenue                                    120 SE 10th Avenue                              Topeka           KS      66612                        0.00
Kevin Kieschnick: Nueces County Tax Assessor- Collector   P.O. Box 2810                                   Corpus Christi   TX      78403                        0.00
Mallory Station Storage                                   600 Church Street E.                            Brentwood        TN      37027                        0.00
Meadowhill Regional M.U.D                                 11111 Katy Freeway #725                         Houston          TX      77079                        0.00
METROPOLITAN TRUSTEE                                      P.O. BOX 196358                                 NASHVILLE        TN      37219-6358                   0.00
Tax Agency CA                                             P.O. Box 942840                                 SACRAMENTO       CA      94240-0040                   0.00
TEXAS COMPTROLLER OF PUBLIC ACCTS                         1919 NORTH LOOP WEST SUITE 311                  HOUSTON          TX      77008                        0.00
                                                          500 Deaderick Street, Andrew Jackon
TENNESSEE DEPT. OF REVENUE                                State Office Building                          NASHVILLE         TN      37242                    unknown
Arizona Department of Revenue                             P.O. Box 29010                                 Phoenix           AZ      85038-9010               unknown
Arizona Department of Revenue                             P.O. Box 52016                                 Phoenix           AZ      85072-2016               unknown
Franchise Tax Board                                       P.O. Box 942857                                SACRAMENTO        CA      94257-0531               unknown
                                               Case 18-10085-CSS              Doc 3    Filed 01/12/18    Page 48 of 134
   In re Parker School Uniforms, LLC
   Schedule E/F, #2.3, Taxing Authorities

Name                                                         Address 1                      Address 2 City            State   Zip Code   Balance as of 1/9/18
Indiana Department of Revenue                                1200 Madison Street                      Clarksville     IN      47129                   unknown
Kansas Income Tax                                            915 SW Harrison                          Topeka          KS      66612-1588              unknown
Kentucky Department of Revenue                               501 High Street                          Frankfort       KY      40601                   unknown
Louisville Non Resident, KY Local                            617 W. Jefferson Street                  LOUISVILLE      KY      40202                   unknown
St. Matthews City Hall                                       3940 Grandview Avenue                    LOUISVILLE      KY      40207                   unknown
Mississippi Dept of Revenue                                  P.O. Box 23192                           JACKSON         MS      39225-3192              unknown
Oklahoma Tax Commission                                      P.O. Box 26890                           OKLAHOMA CITY   OK      73126-0890              unknown
TEXAS COMPTROLLER OF PUBLIC ACCTS                            P.O. Box 149348                          Austin          TX      78714-9348              unknown
United States Treasury, Internal Revenue Service             P.O. Box 249                             Cincinnati      OH      45999-0039              unknown
Internal Revenue Service, Centralized Insolvency Operation   P.O. Box 7346                            Philadelphia    PA      19101-7346              unknown

TOTAL                                                                                                                                              86,078.12
                                  Case 18-10085-CSS                       Doc 3         Filed 01/12/18                 Page 49 of 134

 Debtor       Parker School Uniforms, LLC                                                             Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $494,482.00
          Argosy Investment Partners V, LP                                      Contingent
          950 West Valley Road                                                  Unliquidated
          #2900                                                                 Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 6/16/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $257,256.00
          Argosy Investment Partners V, LP                                      Contingent
          950 West Valley Road                                                  Unliquidated
          #2900                                                                 Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 11/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $128,506.76
          Capital One Bank, N.A.                                                Contingent
          Corporate Card                                                        Unliquidated
          P.O. Box 60024                                                        Disputed
          New Orleans, LA 70160-0024
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          customer back-orders - see attached                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,000,000.00
          Plexus Fund III, LP                                                   Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred      6/25/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,555.00
          Plexus Fund III, LP                                                   Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred      6/16/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,871.00
          Plexus Fund III, LP                                                   Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred      11/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 18-10085-CSS
   In re Parker School Uniforms, LLC                      Doc 3     Filed 01/12/18       Page 50 of 134
   Schedule E/F, #3.9 - customer back-orders


Name                         Address 1                              Address 2       City                     State   Zip Code
A Saras                      1810 Lake Whitney Ln                                   Allen                    TX      75002
Aarin Farrell                215 W Bandera                          Suite 114-404   Boerne                   TX      78006
Aaron Montanez               9604 White Spruce Dr                                   Lakeland                 TN      38002
Abbe Guerra                  343 Flores Oaks Drive                                  Floresville              TX      78114
Abbe Riebel                  147 Dodge Road                                         Boerne                   TX      78006
Abby Peacock                 650 Shoals View                                        Clarkesville             GA      30523
ABBYE HODGE                  218 SCARSDALE DR NORTH                                 HENDERSONVILLE           TN      37075
ABDALLALI BAHJI              910 COARSEY DR                                         NASHVILLE                TN      37217
Abel Flores                  2122 Sundrop Bay                                       San Antonio              TX      78224
Abel Gutierrez               3231 Balmoral Drive                                    Sacramento               CA      95821
abel nahera                  1253 sandore drive                                     Norcross                 GA      30093
Abhishek Tandon              7327 Ridgepoint Drive                                  Irving                   TX      75063
Abigail Meyerowitz           155 Trowbridge Rd                                      Atlanta                  GA      30350
Abigail Ono                  9298 Berrington Place                                  Montgomery               AL      36117
Abigail Sikes                5140 Boca Raton Dr                                     Dallas                   TX      75229
Abigail Sinwell              4231 FAIRFAX AVE                                       DALLAS                   TX      75205
Abigail Wells                1311 Swims Valley Drive                                Atlanta                  TX      77040
Ablah Tarver                 3618 YANKEE CT                                         MISSOURI CITY            TX      77459
Abrea Tillman                688 boyd st                                            Santa rosa               CA      95407
Abri Sterlacci               4845 gramercy oaks dr                  Apt 418         Dallas                   TX      75287
ada solis                    3149 BRENMARDA LANE                                    MEMPHIS                  TN      38116
Adam Kuzmiak                 3724 W Ashton Ct                                       Anthem                   AZ      85086
Adama Balde                  8297 Championship Dr #201                              Memphis                  TX      77040
adan hernandez               1839 basse rd                                          san antonio              TX      78213
Ade Akindele                 4903 Hidden Nest ct                                    Houston                  TX      77084
Adelaida Flores              18371 FM 971                           P.O. Box 624    Granger                  TX      76530
Adele Doiron                 9310 Sendera Dr                                        Magnolia                 TX      77354
Adele Lewis                  6108 JOCELYN HOLLOW RD                                 NASHVILLE                TN      37205
Aderopo Olowoboye            7443 PINEBERRY RD                                      DALLAS                   TX      75249
Adria Whellen                25230 AUBURN BEND DR                                   SPRING                   TX      77389
ADRIAN PENA                  8010 Vista Hill Ln                                     Dallas                   TX      75249-2032
Adriana Aleman               4623 WILLOW ST                                         BELLAIRE                 TX      77401
Adriana Avalos               3757 DAWSONIA ST                                       BONITA                   CA      91902
Adriana Espinoza             1645 Oak Grandparie                                    Grandparie               TX      75050
Adriana Felix                19602 Lusk Ave                                         Cerritos                 CA      90703
Adriana Greene               4623 Willow Street                                     Bellaire                 TX      77401
Adriana Hernandez            1914 Orange Blossom loop                               Laredo                   TX      78045
Adriana Karpati              127 Vermilion Ct.                                      Southlake                TX      76092
Adriana Olivares             PO Box 94102                                           Southlake                TX      76092
Adriann Cain                 78 Paseo del Sol                                       Rancho Santa Margarita   CA      92688
Adrianna Dawkins             1611 Lakeview Lane                                     ATLANTA                  GA      30339
Adrianna Gonzalez            2525 Jean St                                           Laredo                   LA      708046
Adrienne Cox                 104 BRAESWOOD LN                                       CIBOLO                   TX      78108
Adrienne Joseph              19323 Pine Bluff Drive                                 Tomball                  TX      77377
Adrienne Reid                12327 Rincon Drive                                     Houston                  TX      77077
AFTON MOONEY                 504 BAXTER LANE                                        NASHVILLE                TN      37220
AGATA CHANDRAN               204 BENTLY WAY                                         MADISON                  MS      39110
agata stypa                  5740 San Felipe                        apt 725         houston                  TX      77057
AGNES OBOH                   PO BOX 241                                             COPPELL                  TX      75019
AHMAD BLANTON                3122 CONFEDERATE SOUTH DRIVE                           MISSOURI CITY            TX      77459
Ai Di Yu                     9 CLEAR WATER                                          NEWPORT COAST            CA      92657
aida dilsisian               14375 cascade court                                    canyon country           CA      91387
Aida Garza                   22618 Two Lakes Dr                                     Tomball                  TX      77375
Aida Yarbou                  735 Rio Grande Dr                                      Alpharetta               TX      77040
Aidan Zhang                  1515 S. Sunkist St.                    suiteA          Anaheim                  CA      92806
Aigul Miksa                  2020 Eldridge Parkway, apartment 801   apt. 801        Houston                  TX      77077
Aime Leaverton               6330 Schiller                                          Houston                  TX      77055
Aimee Boluyt                 O-11365 8th Ave NW                                     Grand Rapids             MI      49534
AISHA NYANDORO               480 BELLCHASE PLACE                                    MADISON                  MS      39110
Aisha Saucier                6808 Winton Street                     Unit A          Houston                  TX      77021
Aixa Gutierrez               9706 FORTUNE RIDGE DR                                  CONVERSE                 TX      78109
Aja Gardner                  19936 S JETT RD                                        SAN ANTONIO              TX      78264
Ajay Kumar Anguluri          1216 HIDDEN RDG                        APT 2065        IRVING                   TX      75038
akee mosley                  1046 lance dale                                        duncanville              TX      75116
Al Chen                      3941 WHISTLE TRAIN RD                                  BREA                     CA      92823
al chien                     3941 whistle train road                                brea                     CA      92823
Alan Spade                   2201 Carabenir Way                                     Louisville               KY      40245
Alana Gary                   158 VININGS LAKE CT SW                                 MABLETON                 GA      30126
Alana Vernon                 223 Leaf Trail Court                                   Cordova                  TN      38018
ALBA IGLESIAS
Albert Chevez                12213 Cortona Place                                    Riverside                CA      92503
Alberta Bell                 2068 Rexford Road                                      Montgomery               AL      36116
Aldine Performing Arts       1865 ALDINE BENDER RD                                  HOUSTON                  TX      77032
Aleen Stevenson              1542 Pampas Drive                                      Montgomery               AL      36117
Alejander Balderas           330 Lillian Street                                     Dallas                   TX      75211
Alejandra Arellano           7245 HILLCROFT ST                                      HOUSTON                  TX      77081
Alejandra Blanco             4621 Carisbrooke Ln                                    Fairfax                  VA      22030
Alejandra Landis             8105 Purtzer Dr.                                       Laredo                   TX      78045
Alejandra Lorenzo            1608 wheeler st                                        Houston                  TX      77004
Alejandra Martinez           3311 McCallister ct                                    Laredo                   TX      78045
Alejandra Rodriguez          25 S. Tupolo                                           Brownsville              TX      77040
Alejandro Aucestovar         11801 E. Loop 1604 N.                  Apt 10208       Universal City           TX      78148
Alejandro Martinez           13622 Coleridge                                        San Antonio              TX      78217
Alejdro Reyes                4118 Wedgewood Street                                  Houston                  TX      77093
Alejhandro Domenguez         619 North Windmerry                                    Dallas                   TX      75028
Alena Delgado                1820 Eaton Avenue                                      Hemet                    CA      92545
Aleric Shepherd              1626 Monroe                            Apt 5           Memphis                  TN      38104
Alesia Stickler              4401 Grand Cir                                         Crestwood                KY      40014
Alethea Coronado             2819 Bronco Dr                                         Dallas                   TX      75237
Alethea Stiveson             1022 JASMINE CIR                                       EL DORADO HILLS          CA      95762
Alex Aguilar                 2006 S Palm Ct                                         Pasadena                 TX      77502
ALEX BLUMENCRANZ             6308 MT. VERNON OAKS DR. NE                            Sandy Springs            GA      30328
Alex Calvario                PO Box 22786                                           Sacramento               CA      95822
 In re Parker School Uniforms,
                       CaseLLC 18-10085-CSS             Doc 3   Filed 01/12/18   Page 51 of 134
 Schedule E/F, #3.9 - customer back-orders


Name                        Address 1                           Address 2    City              State   Zip Code
alex hale                   720 parkhurst dr                                 dallas            TX      75218
Alexa Wilson                5914 Vinland Shores Ct.                          Spring            TX      77379
Alexander Sanchez           3126 casino dr                      Day          DALLAS            TX      75224
alexandra baranger          14731 Kelleywood lane                            Houston           TX      77079
Alexandra Miller            11427 WHISPER DAWN ST                            SAN ANTONIO       TX      78230
Alexandra Palmer            8019 Midway Depot                                San Antonio       TX      78255
Alexandria Reed             4225 Oberlin                                     Houston           TX      77005
Alexis Magids               4043 Roaring Fork Lane                           Frisco            TX      75033
Alexis Rivera               510 Hawkcrest cir                                Sacramento        CA      95835
Alexis Thomas               4022 BLUE OAK PASS                               SAN ANTONIO       TX      78223-2375
Alfred Kitrell              2866 Livsaywoods                                 Tucker            GA      30084
Ali Weaver                  1400 New Hope Rd                                 Crossroads        TX      76227
Alia Shbeeb                 18240 Spyglass Hills                             Yorba Linda       CA      92886
alica lee                   4603 dellrose drive                              dunwoody          GA      30338
Alice George                1900 Queens Road                                 Albany            GA      31707
Alice Miller-Garrison       4560 Brick Church Pike                           Whites Creek      TN      37189
Alice Tellez                11061 PEPPERMILL LANE                            JACKSONVILLE      FL      32257
Alice Walker                1119 Pease St                                    Houston           TX      77002
Alice Yoo                   39679 Ashland Way                                Murrieta          CA      92562
ALICIA ARIAS                52 HONEY LOCUST                                  IRVINE            CA      92606
Alicia Chavez               7402 WELLS TRCE                                  MANOR             TX      78653
Alicia Dougherty            601 Rodriguez E St,                              Rio Grande        TX      78582
Alicia Fernandez            2020 S NORMA LN                                  ANAHEIM           CA      92802
Alicia Hatchett             1020 Windsong Trail                              Greenbier         TN      37073
Alicia Johnson              3373 Hidden Cove Cir                             Norcross          GA      30092
Alicia Leal                 10734 SAGEWIND DR.                               Houston           TX      77089
Alicia LoCicero             796 Stratford Court                              Atlants           GA      30350
Alicia Loera                4017 Eagle Pass                                  Laredo            TX      78041
Alicia Lott                 1725 N 77 Ranch Rd                               Wichita Falls     TX      76305
Alicia Tovar                530 E HART AVE                                   SAN ANTONIO       TX      78214
Alicia Westhoff             1305 Bitner Terrace                              Pittsburg         KS      66762
Aline Leite                 47701 Twin Pines Rd                              Banning           CA      92220
Alisa Kidd                  Po box 225                                       Bolton            MS      39041
ALISA MCKISSACK             1235 YOUNGS LANE                                 NASHVILLE         TN      37218
Alisa Sakowitz              PO Box 601254                                    Sacramento        CA      95860
Alisha Harrison             2502 Boulder Creek Ct.                           Pearland          TX      77584
Alison Carrasco             5906 Pearl Pass                                  San Antonio       TX      78222
Alison Cuillier             2309 Shady Cove Court                            Pearland          TX      77584
Alison Papuga               4695 Riversound Drive                            Snellville        GA      30039
Alison Schmitz              449 Pine Ridge Drive                             Madison           MS      39110
Alissa A. Rincon            1313 PINE ST                                     BAYTOWN           TX      77520
Aljohara Almodarra          1201 Spectrum                                    Irvine            CA      92618
Allen Snoddy                290 Blue Jay Rd                                  Dale              TX      78616
Allison Cardwell            1150 Norfolk Green Circle                        Chattanooga       TN      37421
Allison Finch               7512 Orrick                                      Austin            TX      78749
Allison Hanlon              1029 CHANCERY LN S                               NASHVILLE         TN      37215
Allison Millar              6040 Springcrest dr                              Georgetown        IN      47122
Allison Nieto               917 Queen Annes Rd.                              Houston           TX      77024
Allison Ott                 177 EASTSIDE DR                                  BRANDON           MS      39047
Allison Pettiet             13403 Wallenberg Lane                            Tomball           TX      77377
Allison Prince              5212 Silver Lake Dr.                             Plano             TX      75093
Allison Schaufle            4320 Lindawood Drive                             Nashville         TN      37215
Allison Shaw                1515 W.Clark Ave                                 Burbank           CA      91506
Allison Vaughn              2465 Kookaburra                                  New Braunfels     TX      78132
Allison Williams            3520 Taylor Lane                                 Milton            GA      30004
Allison Zuvela              24 Parnell ct                                    Sacramento        CA      95835
Allyson Eakes               163 N Berwick Ln                                 Franklin          TN      37069
Allyson Griffin             17108 Whitetail Run                              Austin            TX      78737
Allyson Wandtke             22 Chatham Rd                                    Atlanta           GA      30305
Alma Hopper                 3225 LONE STAR CV                                MEMPHIS           TN      38134
Alma Moreno                 10706 Gaylord                                    San Antonio       TX      78224
Alodia Abejuela             10202 MUSTANG RNCH                               SAN ANTONIO       TX      78254
Alora Vaughn                14415 Spring Mountain Dr                         Tomball           TX      77377
Alpa Brannam                14732 Irondale Drive                             Austin            TX      78717
Alssandra Gonzalez          214 Patton                                       San Antonio       TX      78207
Alynna Badinas              2910 Jones Mill Rd.                              Dunwoody          GA      30360
Alyson Durke                1128 Bluffhaven Way ne                           Atlanta           GA      30319
Alyssa Chillman             9485 Clublands Dr                                Johns Creek       GA      30022
Alyssa Fitz                 467 Maplewood Ln                                 San Antonio       TX      78216
Alyssa McDowell             334 TUMBLEWEED TRAIL                             WAXAHACHIE        TX      75165
Alyssa Mejia                2908 cercado                                     San Clemente      CA      92673
Alyssa Rieber               9614 MEADOWVALE DR                               HOUSTON           TX      77063
Alyssa Stewart              5579 Dolphin Drive                               Jackson           MS      39209
alysson barajas             4281 LITTLEFIELD ST                              SAN DIEGO         CA      92110
Amada Calvillo              17058 Carrotwood Drive                           Riverside         CA      92503
Amanda Adame                1507 TERRACE ST                                  ARLINGTON         TX      76012
Amanda Albright             5336A Old Brandon Rd                             Pearl             MS      39208
Amanda Arteaga              1200 greenbriar loop                             Round rock        TX      78664
Amanda Barbour              4429 WOODLARK DR                                 JACKSON           MS      39211
Amanda Baskin               802 Culbreath Rd                                 Covington         TN      38019
Amanda Beller               56 Flagstone Dr.                                 Jackson           TN      38305
Amanda berretta             1177 rennes ct                                   Brookhaven        GA      30319
Amanda Boyanton             154 River Bend Lane                              Florence          MS      39073
Amanda Brown                61 Oxford Drive                                  Atoka             TN      38004
Amanda Carrillo             1733 VERDI RD                                    PLEASANTON        TX      78064
Amanda Cockrell             4838 Limestone Well Dr.                          San               TX      77040
Amanda Coello               2525 Pinnacle Point Dr                           Grand Prairie     TX      75054
Amanda coppola              22602 allegro creek                              SAN ANTONIO       TX      78261
Amanda Cormier              515 N LAKE CT                                    LAKE CHARLES      LA      70605
Amanda Cox                  103 LANGFORD DR                                  BRANDON           MS      39047
Amanda Ducharme             607 Carol Drive                                  Pegram            TN      37143
Amanda Fly                  25525 LIMESTONE RDG                              SAN ANTONIO       TX      78255
Amanda Gandy                109 N BENNETT ST                                 CRYSTAL SPRINGS   MS      39059
                        Case 18-10085-CSS
   In re Parker School Uniforms, LLC                     Doc 3   Filed 01/12/18            Page 52 of 134
   Schedule E/F, #3.9 - customer back-orders


Name                         Address 1                           Address 2            City                  State   Zip Code
Amanda Grimsley              2520 Smouldering Wood Dr                                 Arlington             TX      76016
Amanda Haldeman              4338 DELMAR AVE                                          DALLAS                TX      75206
Amanda Hall                  1713 BELLEDEER DR W                                      CORDOVA               TN      38016
Amanda Horelica              6602 thrush drive                                        houston               TX      77087
Amanda Johnson               7515 Sheldon Road, Unit #18101                           Elk Grove             CA      95758
Amanda Knight                1395 Fiddler Ave                                         Merritt Island        FL      32952
Amanda Larkin                9501 Clovercroft Rd                                      Franklin              TN      37067
Amanda Lazo                  2324 e davis st                                          conroe                TX      77301
amanda lifrieri              4811 Big Falls Dr                                        Kingwood              TX      77345
Amanda Lorens                2663 Galisteo Street                                     CORONA                CA      92882
Amanda Lott                  498 Swan Ridge Cir E                                     Memphis               TN      38122
Amanda Madl                  416 Sagewood Court                                       Keller                TX      76248
Amanda Mcclure               62 SUGARBERRY CIR                                        HOUSTON               TX      77024
Amanda McFarland             6314 Mardale Dr                                          HOUSTON               TX      77016
Amanda Melvin                711 Kipling Street                                       Houston               TX      77006
Amanda O'krangley            22605 FOSSIL CV                                          SAN ANTONIO           TX      78261
Amanda OKrongley             22605 Fossil Cove                                        San Antonio           TX      78261
Amanda Pastusek              2413 Medford Ct E                                        Fort Worth            TX      76109
Amanda Perez-Rodriguez       188 SUMMERS LN                                           ALICE                 TX      78332
Amanda Rinks                 27 PEMBERTON CV                                          JACKSON               TN      38305
Amanda Sharp                 1310 BLUFF FRST                                          SAN ANTONIO           TX      78248
Amanda Stauffer              171 waterloo way                                         Branson               MO      65616
Amanda Stewart               8162 Miller Rd                                           Atoka                 TN      38004
Amanda Terry                 19216 REATA TRail                   na                   SAN ANTONIO           TX      78258
Amanda Trevino               12070 Kleinmeadow Dr.                                    Houston               TX      77066
Amanda Vail                  150 Park Creek Drive                                     Alpharetta            GA      30005
Amanda Vaughters             812 Amanda Cove                                          Hernando              MS      38632
Amanda Villarreal            1018 MOUNT RIGA                                          SAN ANTONIO           TX      78213
amanda yates                 4240 hwy 196                                             piperton              TN      38017
AMANI THUMMA                 1106 AZAELIA PARKWAY                                     mONTGOMERY            AL      36106
Amar Vance                   2629 Old Jonesboro Rd                                    Fairburn              GA      30213
Amber Culpepper              1719 Ironwood Ct                                         Murfreesboro          TN      37129
Amber Hamby                  7595 Brigham Drive                                       Atlanta               GA      30350
Amber Hamilton               2090 Pittman Rd                                          Somerville            TN      38068
Amber Haynes                 943 FM 473                                               Boerne                TX      78006
Amber Hoberg                 12602 EMMETT GRV                                         SAN ANTONIO           TX      78254
Amber Jennings               2713 Lamar Ave                                           Memphis               TN      38114
Amber King                   4010 Ridgecrest Trail                                    Carrollton            TX      75007
amber lee                    1324 williams ave                                        desoto                TX      75115
Amber Ozinga                 3480 w warner                                            Santa Ana             CA      92704
Amber Pursley                3014 TILDEN ST                                           HOUSTON               TX      77025
Amber Romero                 2240 NW 54th Street                                      Oklahoma City         OK      73112
Amber Schatz                 2 GEMSBUCK ISLE                                          SAN ANTONIO           TX      78258
Amber Williams               17311 Admiral Oak Ct                                     Humble                TX      77346
Amberly Buchanan             5208 Prince Charles Ct                                   Arlington             TX      76017
amd djdj                     1                                                        C                     TX      75038
Amelia Hebert                113 SPARROW WAY                                          BEAUMONT              TX      77707
Ami Hillenmeyer              169 Muir Lane                                            Georgetown            KY      40324
Amie Hess                    420 N Oak St                                             Muenster              TX      76252
AMINA BAHTTI                 2911 LAKE DRIVE                                          KATY                  TX      77494
Amy Allan                    1809 Graybar lane                                        Nashville             TN      37215
amy austin
AMY BARTON                   3042 BURNEY RD                                           CRYSTAL SPRINGS       MS      39059
AMY BEARDEN                  200 FOXWOOD COVE                                         MADISON               MS      39110
Amy Bierly                   44 Stone Park Trail                                      Pike Road             AL      36064
Amy Brown                    354 Pine Forest Rd.                                      Atlanta               GA      30342
AMY CULLEN                   103 Roleto Dr                                            San Antonio           TX      78210
Amy Drury                    11519 st germain way                                     houston               TX      77082
Amy Engallina                321 pike rd                                              San Antonio           TX      78209
Amy Esqueda                  4506 Lareina Drive                                       Austin                TX      78745
Amy Faverty                  191 IVY BROOK LN                                         COLLIERVILLE          TN      38017
Amy Fletcher                 240 Gladney Rd                                           Covington             TN      38019
Amy Garcia                   3404 Cordova Road                                        Seguin                TX      78155
Amy Grimes                   2148                                S Winding Creek Dr   Grapevine             TX      76051
Amy Guillermo                27282 Paseo Peregrino                                    San Juan Capistrano   CA      92675
Amy Haffner                  25875 Minkler Rd.                                        Cedro Woolley         WA      98284
Amy Hardin Shirkey           16006 Woodview Drive                                     Oxford                MS      38655
Amy Harkness                 5450 SCARLET FIELDS DR                                   ARLINGTON             TN      38002
Amy Hopper                   141 MATT CT                                              GALLATIN              TN      37066
Amy Hudson                   1431 Liza Jane Court                                     Murfreesboro          TN      37129
Amy Kelley                   21812 E YAUPON CIR                                       TOMBALL               TX      77377
Amy Kozelsky                 6654 NORTHAVEN RD                                        DALLAS                TX      75230
Amy Leslie                   111 Carapace Cove Pl                                     Montgomery            TX      77316
Amy Linan                    286 Dayridge Dr.                                         Dripping Springs      TX      78620
Amy Malish                   8418 big bend dr                                         sugar land            TX      77479
Amy Martin                   8522 Forest Hills Blvd                                   DALLAS                TX      75218
Amy Matocha                  1501 Concord Cir                                         College Station       TX      77845
Amy McCaskill                6097 Raintree Bend                                       Lithonia              GA      30058
Amy McIntire                 2817 NW 25th                                             Oklahoma City         OK      73107
Amy Mills                    11426 PERSIMMON GAP                                      SAN ANTONIO           TX      78245
Amy Moore                    721 E 7th St                                             Houston               TX      77007
amy morrissey                16225 CAPRI DR                                           HOUSTON               TX      77040
Amy Munoz                    7403 Red Osier Rd                                        Dallas                TX      75249
Amy Neel                     4266 Brussels drive                                      Jackson               MS      39211
Amy Payton                   11216 Felson St                                          Cerritos              CA      90703
Amy Presley                  7207 Fisher Rd                                           Dallas                TX      75214
amy purcell                  270 English Oaks Circle                                  Boerne                TX      78006
AMY REDUS                    3200 ALFORD RD                                           CRYSTAL SPRINGS       MS      39059
Amy Reyna                    330 north dr                                             San Antonio           TX      78201
Amy Richardson               1197 Faulkner Rd                                         Atoka                 TN      38004
Amy Schafer                  4344 LOMBARDIA WAY                                       EL DORADO HILLS       CA      95762
Amy Schkade                  6019 charrington                                         Spring                TX      77389
Amy Schulze                  2713 PAT LN                                              NEDERLAND             TX      77627
  In re Parker School Uniforms,
                       Case LLC 18-10085-CSS               Doc 3   Filed 01/12/18         Page 53 of 134
  Schedule E/F, #3.9 - customer back-orders


Name                         Address 1                             Address 2         City               State      Zip Code
Amy Self                     3214 Park Hill Rd                                       Murfreesboro       TN         37129
Amy Slayter                  PO BOX 113                                              Schertz            TX         78154
Amy Smith                    298 LAKE CASTLE RD                                      MADISON            MS         39110
Amy Sorney                   14608 Blue Sage Rd.                                     Adelanto           CA         92301
Amy Spardone                 1420 Hunters Ln                                         Nashville          TN         37207
Amy Stringfellow             10800 SHACKELFORD DR                                    AUSTIN             TX         78748
Amy Thieling                 205 Kirkwood Drive                                      Hattiesburg        MS         39402
Amy Villa                    3909 BRIDGEPORT DR                                      PLANO              TX         75093
Amy Weible                   2514 Canon Perdido                                      San Antonio        TX         78261
Amy Wells                    2293 FOREST GROVE CV                                    MEMPHIS            TN         38119
Amy Wilegus                  5674 SANTA FE DR E                                      OLIVE BRANCH       MS         38654
amy wilson                   5730 pickwick lane                                      beaumont           TX         77706
Amy Young                    11425 FOREST GLN                                        BEAUMONT           TX         77713
Ana Aboul-Enein              13606 Caney Springs Ln                                  Houston            TX         77044
Ana Balos                    3820 Morning Glory Lane                                 Yorba Linda        CA         92886
Ana Bellestri                9017 Crowley Way                                        Elk Grove          CA         95624
Ana Maldonado                5103 Southington ave                                    Memphis            TN         38118
Ana Moreno                   12219 STABLE RIDGE DR                                   SAN ANTONIO        TX         78249
Ana R. Hernandez             4450 Indian Trail Dr.                                   Memphis            TN         38141
Ana Sanchez
Ana Santiago                 3624 Seguin Dr                                          Dallas             TX         75220
Ana Slack                    7931 LONG ACRE ST                                       MONTGOMERY         AL         36116
Ana Trevino                  8501 navidad drive                                      Autin              TX         78735
Ana Villasenor               24527 Cliff Line                                        SAN ANTONIO        TX         78257
Ana Ward                     384 Treeline Park                                       SAN ANTONIO        TX         78209
Ana Yambrek                  3639 S GALLOWAY                                         MEMPHIS            TN         38111
Anabeyde Lopez               916 Hunters Creek Drive                                 Desoto             TX         75115
Anajaly Thakkar              2923 Drexler DR                                         Houston            TX         77027
Anastasia Nixon              Family Gateway                        711 S. St. Paul   Dallas             TX         75201
ANAVEL DELGADO               1101 SILVER SPRUCE DR                                   ARLINGTON          TX         76001
Andi Dunkerley               140 Kiveton Park Dr.                                    Roswell            GA         30075
Andre Wiradarma              23010 Prescott Falls                                    San Antonio        TX         78255
Andrea Andrade-ahumada       11235 whisper willow                                    San Antonio        TX         78230
Andrea Blaylock              799 VALLEYBROOK DR                                      MEMPHIS            TN         38120
Andrea Burns                 6345 SILVER STREAM LN                                   FRISCO             TX         75034
Andrea Coulon                1266 Peacock Hill Dr                                    Santa Ana          CA         92630
Andrea Del Bosque            22239 ANGOSTURA BLVD                                    SAN ANTONIO        TX         78261
Andrea Edwards               276 LAKE VILLAGE DR                                     MADISON            MS         39110
Andrea Falco                 7636 La Cosa Dr.                                        Dallas             TX         75248
Andrea Freeman               8317 Emerald Cir                                        NRH                TX         76180
Andrea Harris                2317 Van Cleave Drive                                   Dallas             TX         75216
andrea hart                  506 Davidson Rd.                                        nashville          TN         37205
Andrea Lipman                8400 Lazy Oaks Ct                                       Atlanta            GA         30350
andrea marty                 1240 stuart ridge                                       johns creek        GA         30022
Andrea Molina                4526 Via San Eduardo                                    dallas             TX         75211
Andrea Perryman              1230 CEDAR SPRINGS DR                                   PROSPER            TX         75078
Andrea Shrader               22221 FATHEREE DR                                       PORTER             TX         77365
ANDREA SPENCER               3571 Green Acres Ter                                    Dallas             TX         75234
Andrea Teste                 1019 Castlewood Dr                                      New Albany         IN         47150
Andrea Thomas                1015 Dillon Lane                                        Gallatin           TN         37066
Andreea Xavier               5927 Santa Fe Springs Drive                             Houston            TX         77041
andrelle bowdre              1744 danrich drive                                      decatur            GA         30032
andres lemez                 5206 slash pine drive                                   montgomery         AL         36117
Andrew Dotson                3947 Forest Pointe Way                                  Lakeland           TN         38002
Andrew Harrington            887 S. Lee Marie Circle                                 Anaheim            CA         92808
Andrew Mark Cohen            1808 Hackett Ave                                        Long beach         CA         90815
Andrew Vu                    2902 GOLIAD RD                        STE 122           SAN ANTONIO        TX         78223
andrew williams              4238 rich meadow dr                                     houston            TX         77048
Andria Lozano                317 MANOR RD                                            LAREDO             TX         78041
Aneesa Sharp                 9700 Spencer Rd                                         Spencer            Oklahoma   73084
Aneida Cantu-Ruiz            704 Elmwood                                             San Antonio        TX         78212
Anel Silva                   3414 Mont Blanc                                         San Antonio        TX         77040
Aneth Budiastuty             25340 PARK AVE                        APT 6             LOMA LINDA         CA         92354
Angel Butler                 4126 Gramercy street                                    Houston            TX         77025
Angel Lavender               3820 Mount Washington                                   Dallas             TX         75211
Angel Walker                 1000 PEVEY LN                                           CRYSTAL SPRINGS    MS         39059
Angela Alexander             641 Legends Crest Dr                                    Franklin           TN         37069
Angela Astorga               2509 W. Mark Lane                                       Phoenix            AZ         85085
Angela Baker                 12137 Shady Tree Ln                                     Arlington          TN         38002
ANGELA BRITT                 7118 Raymond rd                                         Hazlehurst         MS         39083
Angela Brown
Angela Coleman               133 WILD MDWS                                           HATTIESBURG        MS         39402
angela connor                1206 w 31st street                                      houston            TX         77018
Angela Cox                   4240 Lavaca Trail                                       Carrollton         TX         75010
Angela Curnutt               21503 NELLA CIR                                         HUMBLE             TX         77338
Angela Dameri                PO box 4317                                             El dorado hills    CA         95762
Angela Dyer                  3960 Hidden Oak Lane                                    Buford             GA         30519
Angela Eggleston             1840 Arlington St.                                      Houston            TX         77008
Angela Fiedler               3755 HIGHWAY 27                                         KERRVILLE          TX         78028
Angela Flowers               5109 Glen Cove                                          LaGrange           KY         40031
Angela Fox                   426 N Front, #202                                       Memphis            TN         38103
Angela Frazier               446 Naples Lane                                         Austin             TX         78738
Angela Garcia                8810 GARNETT AVE                                        SAN ANTONIO        TX         78221
Angela Geis                  602 N MAIN ST                                           MUENSTER           TX         76252
Angela Hackett               2713 WILLOW CREEK CT                                    BEDFORD            TX         76021
Angela Haire                 1610 Westminister Cove                                  Clarksdale         MS         38614
Angela Hansen                61 Aiken way                                            Sacramento         CA         95819
Angela Hopper                6576 Pidgeon hall                                       Mempis             TN         38119
Angela Horton                1228A Nicholson St                                      Houston            TX         77008
Angela Kilpatrick            80 Ashley Downs Court                                   Arlington          TN         38002
Angela Kozak                 2955 CENTRAL BLVD                                       BROWNSVILLE        TX         78520
Angela Laughter              15 KENSINGTON RD                                        Avondale Estates   GA         30002-1471
Angela Lloyd                 1602 McDuffie St                                        Houston            TX         77019
   In re Parker School Uniforms, LLC
                        Case 18-10085-CSS                   Doc 3           Filed 01/12/18   Page 54 of 134
   Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                                    Address 2    City              State   Zip Code
Angela Mitchell                1661 Belledeer Drive West                                 Cordova           TN      38016
angela parman                  2025 moser avenue                            151          dallas            TX      75206
Angela Peterson                6104 Winesap Rd                                           Montgomery        AL      36117
ANGELA REMLEY                  709 INHERITANCE PL                                        FLOWOOD           MS      39232
Angela Ruda                    7204 Chelsea                                              Wichita           KS      67206
angela snider                  1998 denmark jackson road                                 denmark           TN      38391
Angela Torres                  20103 Britannia dr                                        Katy              TX      77450
Angela Welch                   2719 West Doublegate Dr                                   Albany            GA      31721
Angela Williams                6805 Gammer Drive                                         Fort Worth        TX      76116
angeleigh haselwood            5409 NW 107TH ST                                          OKLAHOMA CITY     OK      73162
Angelette Darden               6412 Brentwood Dr                                         Fort Worth        AR      72112
Angelia Adger                  4950 Wadsworth Dr Apt #2101                               Dallas            TX      75216
Angelia Brown                  2 BERRYWOOD CIR                                           JACKSON           MS      39213
Angelia Reid                   1606 OAK KNOLL ST                                         DALLAS            TX      75208
ANGELIC CHAPMAN                5934 Harvest Hill                                         CORPUS CHRISTI    TX      78414
Angelica Carrillo              1124 BURNS AVE                                            DALLAS            TX      75211
ANGELINA PALAFOX               348 NEW CASTLE DRIVE                                      LAREDO            TX      78045
Angelique Hinesley             6931 Loheit Way                                           Sacramento        CA      95842
Angelo Arolfo                  PO BOX 37                                                 HUMBLE            TX      77347
Angie Contreras                2760 IVY SPRINGS CT                                       BUFORD            GA      30519
Angie Herrera                  4511 Harrisburg                                           SAN ANTONIO       TX      78223
Angie Ianyang                  8710 Vernon Dr.                                           Rowlette          TX      75088
Angie Janko                    5747 Whitehall Walk                                       Atlanta           GA      30338
Angie Johnson                  4011 Ingalls st                              Apt 11       San Diego         CA      92103
Angie Kogutt                   1432 FALLS RD                                             COPPELL           TX      75019
Angie Perez                    8511 OAK CROSS                                            SAN ANTONIO       TX      78251
Angie Rodriguez                12811 VIDORRA VISTA DR                                    SAN ANTONIO       TX      78216
Angie Scholtz                  1213 BLACKTHORN RD                                        LOUISVILLE        KY      40299
Angie Seedorf                  1726 Shufords Ct                                          Lewisville        TX      75067
ANGIE TEASLEY                  2140 HARMONY RD                                           CRYSTAL SPRINGS   MS      39059
Angie Trink                    2219 S Germantown Rd                                      Germantown        TN      38138
Anh Pham                       7114 Big Bear Lake Drive                                  Arlington         TX      76016
Anirudh Kanaparthi             2028 Lawndale dr                                          IRVING            TX      75063
Anita Alvarado                 22415 N Lake Village Dr.                                  Katy              TX      77450
Anita carver                   157 Plummer Circle                                        Jackson           MS      39212
Anita Ishaq                    7145 Reading Road                            Ste. 704     Rosenberg         TX      77471
Anjani Sudha Sattiraju         1000 highfiled trl                                        Irving            TX      75063
Ann Graham                     723 Hollow Trace Rd                                       Shelbyville       KY      40065
Ann Holman                     44 Ferri Drive                                            Cleveland         MS      38732
Ann Johnston                   7834 Holyoke Ct.                                          Cumming           GA      30040
Ann Lee                        10118 Candlewood                                          Houston           TX      77024
Ann Lesley                     8419 SANDY BERRY CV                                       GERMANTOWN        TN      38138
Ann Marie Tusing               1716 Warfield Dr                                          Nashville         TN      37215
Ann Ong                        1431 High Bluff Dr                                        Newport Beach     CA      92660
Ann Prince                     65 CHEROKEE DR                                            MEMPHIS           TN      38111
Ann Shaw                       1057 W. Magnolia                                          Fort Worth        TX      76104
ANN WEEMS                      2150 MEDINA HWY                                           KERRVILLE         TX      78028
Anna Baca                      Po box 25824                                              Anaheim           CA      92825
Anna Baldwin                   113 Saddle Creek Cove                                     Canton            MS      39046
Anna Castro                    5 Concourse Pkwy                             Suite 2225   Atlanta           GA      30328
ANNA CRUM                      5520 BRAZO CIRCLE                                         HARLINGEN         TX      78552
Anna Guerrero                  7022 brando dr                                            Corpus Christi    TX      78413
Anna Kim                       4980 Barranca Pkwy #190                                   Irvine            CA      92604
Anna Lilia Barron              614 Ed. Carey Drive                                       Harlingen         TX      78550
Anna Lim                       7600 Presidio                                             Eastvale          CA      92880
Anna Nave                      140 QUAIL RIDGE RD                                        ALEDO             TX      76008
Anna Panagopoulos              6308 juneau rd                                            Fort Worth        TX      76116
Anna Peacock                   4600 Inwood Road                                          Fort Worth        TX      76109
Anna Russell                   114 NW 6th Street STE 206                                 Oklahoma City     OK      73102
Anna Simon                     1601 Banks                                                Houston           TX      77006
Anna Weissman                  723 Peabody Avenue                                        SAN ANTONIO       TX      78211
Anna Williams                  125 S 10th St                                             Nashville         TN      37206
annabel lezcano                25757 Chula Vista St                                      Redlands          CA      92373
Annabelle Aguirre              1813 Cottonwood St.                                       Grand Prairie     TX      75050
Annabelle Pla                  114 Andirons                                              irvine            CA      92602
Anne Eisenhauer                525 Ebley Pl                                              Alpharetta        GA      30022
Anne Keeney                    6070 WOODWAY DR                                           Memphis           TN      38120
Anne Marie Curtis              5525 Wonder Dr                                            Fort Worth        TX      76133
Anne Marie Lopiccolo           17427 Borough Lane                                        Spring            TX      77379
Anne Marie Wyatt               6819 Tangleberry Ln                                       Memphis           TN      38119
Anne McCarroll                 8101 Dogwood Rd                                           Germantown        TN      38138
Anne Stewart                   4524 Oakdale St                                           Bellaire          TX      77401
Anne Williams                  305 Jamerson Farm Cove                                    Collierville      TN      38017
Anne Wilson                    1514 PARROT CT                                            DESOTO            TX      75115
Anne-Marie Huddleston          3726 Oxeyedaisy Street                                    San Antonio       TX      78261
Annette Crawford               81812 Crestfield Circle                                   LOUISVILLE        KY      40245
Annette Matteson               2724 Daniel Ave                                           Dallas            TX      75205
Annette Saldana                365 W Lutge Ave                                           Burbank           CA      91506
Annette Williams               2 Trophy Way                                              San Antonio       TX      78258
Anni Colaw                     11010 Jane Lee Dr                                         San Antonio       TX      77040
Annie Brown                    4219 LEIGHANN LANE DR                                     HOUSTON           TX      77047
Annie Kate Worley              3945 Grandview Avenue                                     Memphis           TN      38111
Annie Kearney                  7725 Windchime Way                                        Fair Oaks Ranch   TX      78015
Annie Trinh                    3517 security                                             Garland           TX      75042
Annie Vance                    239 W WILDWOOD                                            SAN ANTONIO       TX      78212
Annika Havela                  4901 Saratoga Blvd                           Apt 1211     Corpus Christi    TX      78413
annissia delley                213 Dancing Light Ln                                      Red Oak           TX      75154
ann-marie ekwue                apt 2125 millenium waterway 1 waterway ave                The Woodlands     TX      77380
Annunciation Orthodox School   3600 YOAKUM BLVD                                          HOUSTON           TX      77006
Ansari Faizal                  2921 AVICENNA CT                                          IRVING            TX      75062
Anselma Dela Crez              201 Grizzard Ave P21                                      Nashville         TN      37207
Anthony Brown                  2652 CUSTER DR                                            DALLAS            TX      75216
Anthony Morales                3535 Pinebrook drive                                      Dallas            TX      75241
                       Case LLC
  In re Parker School Uniforms, 18-10085-CSS                   Doc 3   Filed 01/12/18       Page 55 of 134
  Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                               Address 2       City              State   Zip Code
anthony parker                 660 yorktown street unit 2322                           dallas            TX      75208
Anthony Zuniga                 13021 Dessau RD                         LOT 625         AUSTIN            TX      78754
Antioch Fellowship Church      7550 S HAMPTON RD                                       DALLAS            TX      75232
Antoinette Pagiatis            6135 JASON ST                                           HOUSTON           TX      77074
antonia pacheco                5926 old forrest                                        douglaville       GA      30135
Antonia Tobar                  13549 MESA LN                                           HAMSHIRE          TX      77622
Antonio Figueroa               3596 Kendricks Road                                     Memphis           TN      38108
Antonio J Vargas Jr            PO Box 1632                                             Garden City       KS      67846
ANTONIO MALDONADO
Antoniya Jackson               4647 Croker Ridge Rd                                    HOUSTON           TX      77053
Antrayven Barnes               4468 Tarleton Drive                                     Memphis           TN      38128
antwan wilkerson               4711 jammes rd.                                         jacksonville      FL      32210
Anu Kumar                      16800 Shorerun Drive                                    Edmond            OK      73012
Anythony Griggs                1420 Wreen Street                                       Desoto            TX      75115
Aparna Mikkilineni             58 S Palmiera Circle                                    Spring            TX      77382
Apolonio Rico                  522 federal ter se                                      Atlanta           GA      30315
April Austin                   2352 Bernard Road NW                                    Atlanta           GA      30318
April Benavides                1816 DENMARK LN                                         LAREDO            TX      78045
April BIrd                     5013 Taylor Way                                         El Dorado Hills   CA      95762
April Cortinas                 4510 sheffield lane                                     Corpus Christi    TX      78411
April Hesseltine               2130 shoreline vista                                    Corpus Christi    TX      78418
April Jackson                  2526 Rolinda Dr                                         Dallas            TX      75211
April Morton                   3862 JASMINE BLVD                                       LAKE CHARLES      LA      70605
April Palafox                  2014 Suffolk Drive                                      Houston           TX      77027
April Rosie                    2027 Arroya Vista                                       San Antonio       TX      78213
April Ryan                     700 N WESTON LN                                         AUSTIN            TX      78733
April Sawey                    4304 Sparrow Ct.                                        Fort Worth        TX      76133
April Slovensky                6809 CASA LOMA AVE                                      DALLAS            TX      75214
April Taylor                   4639 Shaker Cove                                        Memphis           TN      38141
April Wise                     6553 HALCYON DR                                         MONTGOMERY        AL      36117
APRIL Woodman                  3138 Hull Ave                                           Memphis           TN      38112
Apryl Brock                    2131 Dawn Ct                                            Suwanee           GA      30024
AR CANALES                     13246 HUNTERS BREEZE                                    San Antonio       TX      78230
Araba Hafeez                   520 Allaire Circle                                      Sacramento        CA      95835
Araceli Cordova                2861 Riverfront drive                                   Snellville        GA      30039
Araceli De La Cruz             314 CREEKBEND DR                                        BROWNSVILLE       TX      78521
Araceli Sierra                 11518 WHISPER MOSS ST                                   SAN ANTONIO       TX      78230
Aracely Dominguez              9601 Sandy Lane                                         Manvel            TX      77578
Aracely Yanez                  1638 Western Park Drive                                 Dallas            TX      75211
ARAYNA IMRAN                   PO BOX 48426                                            ATLANTA           GA      30362
ariana franco                  1606 plumwood Dr                                        Houston           TX      77014
Ariana Rodriguez               13129 NW Military                       Apt 821         San Antonio       TX      78231
Ariane Seixas                  10235 Worthington Manor                                 Suwanee           GA      30024
Arianna Carruth                8000 Allielough Ct                                      Prospect          KY      40059
Arianna Grier                  1625 S. Beech                           Apartment 402   WICHITA           KS      67207
Ariel Ford                     905 Tuskegee Street                                     Grand Prairie     TX      75051
Arien Dill                     1302 N. Coach House                                     Wichita           KS      67235
Arlae Tzintzun                 3904 Hardy st                                           Houston           TX      77009
Arlene Dos Santos              24952 Court Street                                      Loma Linda        CA      92354
Arlene LawrenceGhosthunter34   22612 Rolling Brook Ln                                  Wildomar          CA      92595
Arlene Montiel                 4278 Broson St                                          San Bernardino    CA      92407
arlene Valdez                  5638 Trappers Chase                                     Brownsville       TX      78526
Armando Mozqueda               320 maple St                                            Madison           TN      37115
Arnold Gao                     672 s melrose st                                        anaheim           CA      92805
Art Serrano                    4037 Suwanee Trail Dr                                   SUGAR HILL        GA      30518
Artesia Girgis                 23 STEVE FUQUA PL                                       MISSOURI CITY     TX      77459
ARTHUR RAY                     6301 ORLEANS SQUARE                                     MONTGOMERY        AL      36117
Arunima Aikot                  23600 FM 1093 RD                        apt # 814       RICHMOND          TX      77406
Aryana Vasquez                 12105 State Highway 151                 Apt. 13307      San Antonio       TX      78251
Aryn Self                      10653 LE MANS DR                                        DALLAS            TX      75238
Asha Joseph                    108 Oglethorpe Ave                                      Gallatin          TN      37066
Ashanti Fajobi                 4374 Rainer Dr                                          College Park      TX      77040
ASHLEE CREED                   1231 W HIGHWAY 287                                      waxahachie        TX      75165
Ashlee Gregory                 408 Belvedere Drive                                     Pearl             MS      39208
Ashleigh Franco                27910 Fables Glen Lane                                  Katy              TX      77494
Ashley Bankett                 3202 Boynton Dr                                         Houston           TX      77045
Ashley Berzon                  19 Bounty Rd E                                          Benbrook          TX      76132
Ashley Buescher                9130 FOX RIDGE ROAD                                     Germantown        TN      38139
Ashley Campbell                616 NEW LONDON DR                                       LEAGUE CITY       TX      77573
Ashley Carter                  5735 Regina Lane                                        Beaumont          TX      77706
Ashley Childs                  614 westview Ave                                        Nashville         TN      37205
Ashley Clampitt                3600 CHRISTMASVILLE RD                                  MEDINA            TN      38355
Ashley Clunan                  1522 HOLLY HILL DR                                      GERMANTOWN        TN      38138
Ashley Falgoust                12208 willow brook                                      Pearland          TX      77584
Ashley Gallion                 1826 S HULL ST                                          MONTGOMERY        AL      36104
Ashley Guinn                   1013 ASHWOOD LN                                         OKLAHOMA CITY     OK      73160
Ashley Hemphill                15605 Via Sierra                                        Edmond            OK      73013
Ashley Herman                  1400 W. 45th St.                                        Hays              KS      67601
Ashley Hines                   2515 oakdale st                                         houston           TX      77004
Ashley Johnson                 1303 FILLMORE AVE                                       OXFORD            MS      38655
Ashley Jones                   111 amy court                                           New albany        IN      47150
Ashley Lamont                  7215 LAKEWOOD BLVD                                      DALLAS            TX      75214
Ashley Loeffler                6225 Del Monte                                          Houston           TX      77057
Ashley Papelbon                1200 tices lane suite 101                               East brunswick    NJ      08816
Ashley Pham                    3414 Poplar Ave                         Suite 5         Memphis           TN      38122
Ashley Preston
Ashley Ramirez                 13305 O'Rourke Dr.                                      Pflugerville      TX      78660
Ashley Shannon                 1800 Hwy 25                                             Gallatin          TN      37966
Ashley Simpson                 2327 Shakespeare                                        Houston           TX      77030
Ashley Thornton                4841 Noyes Street                                       San Diego         CA      92109
Ashley Trimble                 n/a                                                     n/a               TX      75137
Ashley West                    4418 NORMANDY AVE                                       MEMPHIS           TN      38117
Ashlie Furseth                 7100 N Country Club Drive                               Oklahoma City     OK      73116
                        Case 18-10085-CSS
   In re Parker School Uniforms, LLC                       Doc 3   Filed 01/12/18   Page 56 of 134
   Schedule E/F, #3.9 - customer back-orders


Name                         Address 1                             Address 2    City             State   Zip Code
Ashlie Patterson             13527 Missarah Lane                                Cypress          TX      77429
aspasia kyriakis             p.o. box 3508                                      calexico         CA      92232
Astha Khanna Sharma          1358 35th Street                                   Downers Grove    IL      60515
Atef Ghoulem                 1150 Elridge Parkway                  Room 521     Houston          TX      77077
Athena Zouboukos             18 Deerfield Dr.                                   Madison          MS      39110
Audrea Burns                 2439 Woodstream Blvd.                              Sugarland        TX      77479
Audrey Beltran               128 Rock Bluff                                     Kingsland        TX      78639
Audrey Bui                   3217 Redcliff Ln                                   Garland          TX      75043
Audrey Johnson               9271 CRIMNSON CT                                   DALLAS           TX      75217
Audrey Stevens               601 Wilhaggin Dr                                   Sacramento       CA      95864
Audri Smith                  9401 Rogers rd                                     Sacramento       CA      95829
Augusta Crowe                3858 Lagoon Way                                    Stone mountain   GA      30083
Auriol Moteng                5622 Evers Road                       Apt. 1505    San Antonio      TX      78238
Aurora Wold-Krogmann         519 Fowzer                                         Taylor           TX      76574
Austin Duffy                 2401 Salah Circle                                  Douglasville     GA      30135
Ava Pogue                    840 Grayson Lane                                   Jackson          TN      38305
Avery Sadler                 280 CAMERON RIDGE DR                               ATLANTA          GA      30328
Axel Pineda                  5701 Johnny Moris RD#114                           AUSTIN           TX      78724
AYDEN NIKNAFS                6 VIA GIADA                                        NEWPORT COAST    CA      92657
Aynur Salmanova              2682 Logan Wood DR                                 Herndon          VA      20171
Ayoung Chun                  3395 MICHELSON DR                     #3225        IRVINE           CA      92612
azra dervisevic              5382 rustic manor drive                            brownsville      TX      78526
Azucena Dominguez            24678 ALAMITOS DR                                  LOMA LINDA       CA      92354
Azucena Reyes                618 Crackle Grove Dr                               Laredo           TX      78045
Azzah Zaidi                  7941 Parkwood Blvd                                 Plano            TX      75024
Bahareh Hirbod               13205 Leighton Gardens Dr.                         HOUSTON          TX      77077
Banica Crockett              126 Blue Ridge Drive                               Hendersonville   TN      37075
Barbara Bean                 500 STAR BLVD                                      MADISON          TN      37115
Barbara Burton               332 C AVE                                          CORONADO         CA      92118
BARBARA CARLSON              3340 VALIANT DR                                    Dallas           TX      75229
Barbara Couington            103 IMPALA CIR                                     SAN ANTONIO      TX      78259
Barbara De Vries             123A BLASCHKE RD                                   COMFORT          TX      78013
Barbara Manning              1031 N PALM ST                                     LA HABRA         CA      90631
Barbara Reynolds             508 FAIRVIEW RD                                    MEMPHIS          IN      47143
Barbara Williford            249 woodlawn dr                                    marrietta        GA      30067
Barbara Zuniga               1320 Austin Highway #7207                          San Antonio      TX      78209
Barbi Kellum                 1462 South Main                                    Covington        TN      38019
Barbie Campbell              4842 LIMESTONE WELL DR                             SAN ANTONIO      TX      78247
BARBRA BEDWELL               505 BRIXHAM PARK DR                                FRANKLIN         TN      37069
Barkley Park Jr              4532 N. Quail Flight Cove                          Memphis          TN      38141
Barzan Sheko                 121 Hickory Trace Dr APT203                        Nashville        TN      37211
Bayron Gonzales              1601 Wren Hollow Cv                                Cordova          TX      77040
Bea Host                     6641 Briar Ridge Lane                              Plano            TX      75024
Beatiz Matenz                13031 NEWBROOK DR                                  HOUSTON          TX      77072
Beatrice Kasozi              3262 Briaioak Dr                                   Duluth           GA      30096
Beatrice Loui Yau            5633 Stockton Loop                                 Livermore        CA      94550
Beatrice Vela                980 Colony Trl                                     Brownsville      TX      78526-3866
Beatriz Gomez                307 SQUIRES ROW                                    SAN ANTONIO      TX      78213
Beatriz Guerrero             3940 ARTESIA AVE                                   FULLERTON        CA      92833
Beatriz Martinez             5108 Coos Bay                                      Laredo           TX      78041
BEATRIZ RINCON               5722 LA VISTA DR                                   DALLAS           TX      75206
Becky Froland                9899 BLAIR PL                                      GERMANTOWN       TN      38139
Becky Kenley                 331 Dogwood Valley Dr.                             Collierville     TN      38017
Becky Russell                2056 Russell Rd                                    Wesson           MS      39191
Bediako Goddy                1515 s sunkist st suite a                          anaheim          CA      92806
Beki Baker                   1216 Harding Pl                                    Nashville        TN      37215
Belinda barajos              330 Winthrop Dr                                    hemet            CA      92544
Belinda Field                9014 SAN LEANDRO DR                                DALLAS           TX      75218
Belinda Mcginty              12012 SRALLA RD                                    CROSBY           TX      77532
Belinda Tricinella           3301 Sawgrass Rd                                   Edmond           OK      73034
Ben Brauss                   P O Box 11836                                      JACKSON          TN      38308
Ben Brummett                 136 chantilly drive                                MADISON          MS      39110
Ben garrett                  171 Rockwell Rd.                                   jackson          TN      38305
BENITA HARRIS                6544 Terrace Dr                                    The Colony       TX      75056
Benjamin Cruz                705 ARCHER AVE                                     DALLAS           TX      75211
Bernadette Haggerty          6907 Augusta Pines Cove                            SPRING           TX      77389
Bernice Neal                 3875 Highway 193                                   Collierville     TN      38017
Bertha Franco Lopez          1627 VIA DEL MESONERO                              SAN YSIDRO       CA      92173
bertha ibarra                913 valley dr                                      houston          TX      77032
Beth Ami Young               10353 Plantation Elm Cove                          Collierville     TN      38017
Beth Barranco                9506 CRESCENT LODGE DR                             PIKE ROAD        AL      36064
Beth Berry                   2017 Red Fox Drive                                 Nolanville       TX      76559
Beth Bolt                    2351 N. Burning Tree                               Wichita          KS      67228
Beth Clanton                 12502 Elm Country Lane                             San Antonio      TX      78230
Beth Helfert                 7776 SENDERO ANGELICA                              SAN DIEGO        CA      92127
Beth James                   2011 CR 21                                         Oakland          MS      38948
Beth Lafferty                2460 Hwy 82S                                       Shelbyville      TN      37160
Beth Nelson                  792 Stratford Court                                Sandy Springs    GA      30350
BETH NIEDNAGEL               24 CALLE BOVEDA                                    SAN CLEMENTE     CA      92673
Beth Shirley                 1916 Walking drive                                 Murfreesboro     TN      37130
Beth Snider                  3617 E. Banbury Drive                              Lake Charles     LA      70605
Bethany Clarkson-morgan      10108 Erin Glen way                                Pearland         TX      77584
Bethany Lawrence             87 WHITE PLAINS DR                                 JACKSON          TN      38305
Betina Edwards               1517 HIGH POINTE CIR                               CEDAR HILL       TX      75104
Betsy Sabogal                6355 E University Blvd                             Dallas           TX      75214
Bettina LeBlanc              3314 Elmcrest Dr                                   Houston          TX      77088
Betty Hutagalung             22583 LARK ST                                      GRAND TERRACE    CA      92313
Betty Scott                  10010 Cullen Drive                                 Houston          TX      77051
Bettye Randall               1002 C and W Lane                                  Wesson           MS      39191
BETZABETH FERRER             8135 FLORENCE AVE                     STE 201      Downey           CA      90240
beverly hogarty              2795 Wentworth rd                                  Cameron park     CA      95682
bezawit berhe                3281 kitterty dr s                                 snelllville      GA      30039
bhaskar veerlapati           8241 Ranchview Dr                     Apr#2068     Irving           TX      75063
                       CaseLLC
 In re Parker School Uniforms, 18-10085-CSS              Doc 3   Filed 01/12/18          Page 57 of 134
 Schedule E/F, #3.9 - customer back-orders


Name                        Address 1                            Address 2          City              State   Zip Code
biak sung                   7060 Nueces Dr                                          IRVING            TX      75039
Bianca Corrao               7330 Opportunity Rd.                                    San Diego         CA      92111
bianca prieto               565 south mason rd                   ste 519            Houston           TX      77450
Bianca Sullivan             562 ABERNATHY RD                                        FLORA             MS      39071
Bianca Vimont               1301 s capital of tx hwy                                austin            TX      78746
Bianca Wachowitz            9185 BRENHAM CT                                         MONTGOMERY        AL      36117
Bienvenida Molina           13139 Regency Way                                       San Antonio       TX      78249-4818
Bill And Jennifer Adams     119 SANDSTONE                                           BRANDON           MS      39047
BILL GREER                  145 PINE HILL LANE                                      TERRY             MS      39170
BILL HINER                  3609 NW 66TH ST                                         OKLAHOMA CITY     OK      73116
Billi Wietelman             2676 Chase Addison Avenue                               Shawnee           OK      74804
Biplab Mukhergee            3110 Bruno Way                                          Pearland          TX      77584
Birgit Self                 1779 BLACKJACK RD E                                     PILOT POINT       TX      76258
BJ Homann                   7 Westelm Point                                         San Antonio       TX      78230
Blair Wittneben             6117 Morningside Ave                                    Dallas            TX      75214
Blake Kunetka               7803 OVERBROOK LN                                       HOUSTON           TX      77063
Blanca Arroyo
Blanca Guerra               5756 Mystic Bend                                        Brownsville       TX      78526
Blanca Mansur               4217 Colbath Rd                                         McAllen           TX      78503
Blanca Poll                 8111 COOPER ML                                          SAN ANTONIO       TX      78255
Blanca Rodriguez            501 N. Bridge st. Pmb #398                              Hidalgo           TX      78557
Blanca Vazquez              6200 N. 3rd Street                   Nerea Estates II   Mcallen           TX      78504
Bobbi Bell                  512 Natalie Drive                                       Goodlettsville    TN      37072
BOBBY AMOS                  NA                                                      NA                MS      39211
Bonnie Coltrane             227 West Sherrod Ave                                    Covington         TX      77040
Bonnie Hopkins              3822 CHERYL LYNNE LN                                    HOUSTON           TX      77045
Bonnie Patrick              9865 macon oak rd                                       Cordova           TN      38018
Bonnie Tran                 8860 Tiogawoods Drive                                   Sacramento        CA      95828
Bonnie Villarreal           3109 TREASURE HILLS BLVD                                HARLINGEN         TX      78550
Bonnie Wellburr             1746 Sante Fe Trail                  na                 San Antonio       TX      77040
Brad & Cheryl Hill          1055 HILL LN                                            CRYSTAL SPRINGS   MS      39059
Brande Holman               185 ASPEN LOOP                                          ALEDO             TX      76008
Brandi Carter               2364 Pagosa Sorings Dr                                  Aurora            IL      60503
Brandi Dausman              100 Woodmont hill                                       Ridgeland         MS      39157
Brandi Griffitts
Brandi Luttrell             10927 Whisper Ridge                                     San Antonio       TX      78230
Brandi Pearlman             2425 SCENIC CT                                          CEDAR HILL        TX      75104
Brandi Wilson               900 S College                                           Trenton           TN      38382
brandie Parhm               11611 Nelson St                                         Loma Linda        CA      92354
Brandon Bliss               PO Box 394                                              Point Lookout     MO      65726
brandon Lofton              217 indian trails                                       Wallisville       TX      77597
Brandon Martinez            422 Lake Dr                                             Hapeville         GA      30354
Brandon Oliver              16302 KENDONS WAY LN                                    CYPRESS           TX      77429
Brandy Aden                 3958 Wheelers Pl                                        Bartlett          TN      38135
Brandy cheatum              32519 green bend ct                                     Magnolia          TX      77354
Brandy Duncan               132 Formosa Dr                                          Brandon           MS      39047
brandy ferrara              8501 drop tine drive                                    fort worth        TX      76126
Brandy Gilbert              2374 falcon point dr                                    Frisco            TX      75033
Brandy King                 11035 WHISPER VALLEY ST                                 SAN ANTONIO       TX      78230
Brandy Little               1513 Hudnall Farm Rd                                    Keller            TX      76248
Brandy Mccune               6441 charity lane                                       Shingle springs   CA      95682
BRANDY ROBERTSON            106 GLENN STREET                                        CRYSTAL SPRINGS   MS      39059
Brandy Rowell               2616 Shiloh Rd.                                         Pelahatchie       MS      39145
Brandy White                3098 Terry Gatesville Rd                                Crystal Springs   MS      39059
Brayla Thomson              7005 1 2 CAMWAY ST                                      HOUSTON           TX      77028
Bree West                   4122 Herschel Avenue                                    Dallas            TX      75219
Brenda Alaniz               6118 Upwood                                             San Antonio       TX      78238
Brenda Aponte               2102 Omega Circle                                       Killeen           TX      76543
Brenda Cabazos              3611 Ponero roy Dr                                      Dallas            TX      75233
Brenda Ellis                1126 S Cedar Ridge                                      Duncanville       TX      75137
Brenda Estrada              9319 Exeter St Apt. A2                                  Houston           TX      77093
Brenda Gallardo             3042 ONEIDA DR                                          SAN ANTONIO       TX      78230
Brenda Hylkema              312 Copper Creek Dr                                     Jackson           TN      38305
Brenda Lynn Jaroszewski     5813 Kempson Drive                                      Austin            TX      78735
Brenda Marshall             916 Ellioh Dr                        9723023721         Cedar Hill        Texas   77040
Brenda Ridings              1460 Carriage Ln.                                       Keller            TX      76248
Brenda Skeete               2594 exses dr. sw                                       atlant            GA      30331
Brenda Trevino              804 S. Oklahoma Ave                                     Weslaco           TX      78596
Brett Thompson-May          266 Lighthouse Lane                                     Brandon           MS      39047
Brian Lawrenz               140 S Greer St                                          Memphis           TN      38111
brian livingston            211 harpole rd e                                        ARGYLE            TX      76226
Brian Lodge                 9017 BARKWOOD                                           UNIVERSAL CITY    TX      78148
Brian Nguyen                6809 Southhave Dr                                       Corpus Christi    TX      78412
Brian Varner                5161 Atlanta Hwy                                        Montgomery        AL      36109
brian west                  4340 corley st                                          beaumont          TX      77707
Brianna Hodge               2421 Etta May Ln                                        Leander           TX      78641
Brianna McKinley            2503 San Juan Dr.                                       Austin            TX      78733
Brianna Rodriguez           203 Las Palmas Dr                                       San Antonio       TX      78237
BRIANNA ROSE
Bridget Allen               1514 Torrence Drive                                     Byram             MS      39272
Bridget Diaz                4399 Jett Place Nw                                      Atlanta           GA      30327
Bridget Dominguez           3911 SKYRIDGE AVE                                       SAN ANTONIO       TX      78210
Bridget Robbins             4105 Tivoli Way                                         Alpharetta        GA      30004
Bridget Ronnie              10671 Champagne Road                                    Alta Loma         CA      91737
Bridgette Morrow            5736 Foxdale Road                                       Memphis           TN      38115
Bridgitte Gonzales          621 SE Second St                                        Grand Prairie     TX      75051
Brie Head
Briena Kieumen              4 Suncreek                                              Irvine            CA      92604
Brigitte Burke              3780 East Compton Road                                  Murfreesboro      TN      37130
Briona Mitchell             3106 Lantana Ln                                         Dallas            TX      75241
Brit Osgood-Treston         14186 Spruce Grove Court                                Corona            CA      92880
Britni Schmalz              1810 Du Barry Lane                                      Houston           TX      77018
Britt Marder                7725 Gateway                         Apt. 4230          Irvine            CA      92618
                        CaseLLC
 In re Parker School Uniforms,  18-10085-CSS                       Doc 3   Filed 01/12/18     Page 58 of 134
 Schedule E/F, #3.9 - customer back-orders


Name                                  Address 1                            Address 2     City              State   Zip Code
Brittani Hauser                       1301 W Lakeland Drive                              Austin            TX      78732
Brittany Black                        250 Treeline Pk                                    San Antonio       TX      78209
Brittany Franks                       4550 Fern Hl                                       San Antonio       TX      78259
Brittany Kennedy                      1506 TARGET DR                                     HOUSTON           TX      77043
Brittany Moczygemba                   13803 Wildstone Circle                             San Antonio       TX      78232
Brittany Perrin                       3800 GAILU DR                                      DRY BRANCH        GA      31020
Brittany Saviori                      1264 BROOKFIELD RD                                 MEMPHIS           TN      38119
Brittany Taylor                       2224 Higgins Lane                                  Murfreesboro      TN      37130
Brittany Williams                     497 catlett rd                                     Madison           MS      39110
Brittnee Greene                       1820 WHITNEY LN                                    MCKINNEY          TX      75070
Brittney De Los Santos                1418 Clementson Drive                              SAN ANTONIO       TX      78260
Brooke Pogue                          7001 hansel                          #2441         Plano             TX      75024
BROOKE RIVES                          4116 North Blvd Pk                                 HOUSTON           TX      77098
Brooke Semanchik                      1002 GRASSLAND LN                                  NASHVILLE         TN      37220
Brooke Shepherdson                    1821 Port Sheffield Place                          Newport Beach     CA      92660
Brooke Taylor                         202 E MANDALAY DR                                  SAN ANTONIO       TX      78212
Brooke West                           1652 Sunset Road                                   Brentwood         TN      37027
Brooke Williams                       12597 BONSAI BEND DR                               ARLINGTON         TN      38002
Bruce & Wendy Moss                    1172 DEAR RD                                       CRYSTAL SPRINGS   MS      39059
Bryan Barthel                         5294 Mertola Drive                                 El Dorado Hills   CA      95762
BUDENIA JORDAN                        4040 KINGS CIRCLE                                  nashville         TN      37218
Bueno Jaimes                          801 Panda Royle                                    Del Valle         TX      78617
Bukunmi Oyebola                       6255 Frisco Square Bvd Apt.1321                    Frisco            TX      75034
Burton Adventist Academy, Arlington   4611 KELLY ELLIOTT RD                              ARLINGTON         TX      76017
C Sprauve                             8245 Summerview Court                              Fort Worth        TX      76123
Cadence Porter                        208C Detering St                                   Houston           TX      77007
Caitlin Bond                          1750 York Ave                                      Memphis           TN      38104
Cali Schwarz                          1310 Glourie Dr                                    Houston           TX      77055
callie burns                          7052 coranado ave                                  dallas            TX      75214
Callie Smith                          5417 Carlson St.                                   Wichita Falls     TX      76302
Callop Hampton                        3433 EXCHANGE ST                                   JACKSON           MS      39212
Cameo Carter                          101 E. Redlands Blvd                 Suite 106     Redlands          CA      92373
Cameron Alkhazraji                    1220 W Wesley Rd NW                                Atlanta           GA      30327
Cameron Fuller                        5 NORTHUMBERLAND                                   NASHVILLE         TN      37215
Cameron Huff                          1416 ROBERT DR                                     JACKSON           MS      39211
Cameron Orourke                       1284 MANOR OAKS CT                                 ATLANTA           GA      30338
Cameron Smith                         4516 Edmondson Ave                                 Dallas            TX      75220
Camilah Shipp                         1506 Spender Drive                                 Norcross          GA      30093
Camille Cooper                        412 Woodlake Dr.                                   Allen             TX      75013
Camille Gamble                        212 N. McLean Blvd.                                Memphis           TN      38112
Camille Mikhail                       915 Oxford street                                  Houston           TX      77008
Cammy Griffith                        3521 CURBSTONE CV                                  MEMPHIS           TN      38135
Candace Davis                         38 Summer Grove Rd.                                Cordova           TN      38018
Candace Hughes                        196 John Micheal DR.                               Macon             GA      31211
Candi Mcdonnell                       3036 BURNEY RD                                     CRYSTAL SPRINGS   MS      39059
Candice Curiel                        18911 Windsor Wood                   na            San Antonio       TX      78258
Candice Davis                         2885 Springburn Way                                El Dorado Hills   CA      95762
Candice Fioranelli                    200 McCain Rd                                      Cleveland         MS      38732
Candice Maillard                      10320 Oso Ave                                      Chatsworth        CA      91304
Candice Mitchell                      3222 Shadow View Ln                                Missouri City     TX      77459
Candice Morvant                       250 West Lindsey Street B110                       Norman            OK      73072
candice sims                          6510 Steck Cv                                      Arlington         TN      38002
Candice Wright                        3174 SANDWICK RD                                   MEMPHIS           TN      38128
Candy Cardenas                        4697 BROOKMORE CT                                  RIVERSIDE         CA      92505
Candy Crespo
Cara Green                            5402 Poinciana Drive                               Houston           TX      77092
Cara Kliewer                          311 N. Rutland                                     Wichita           KS      67206
Carey White                           4548 Kings Park Road                               Memphis           TN      38117
Cari Abrams                           12301 LOCUST LN                                    LOUISVILLE        KY      40223
Cari Guidry                           1509 Hursh Ave                                     Wichita Falls     TX      76302
Cari Richardson                       27603 OAK BROOK WAY                                BOERNE            TX      78015
Carin Davidson                        4432 VERONE STREET                                 Bellaire          TX      77401
Carina Jolly                          2409 Belmont Blvd                                  Nashville         TN      37212
Carissa Martin                        4239 GRECO DR                                      SAN ANTONIO       TX      78222
Carla Crook                           4347 W Northwest Hwy                 Ste 130-139   Dallas            TX      75220
Carla Cuthbert-Brown                  1302 Riverview Circle                              Houston           TX      77077
Carla Dealejandro                     3900 Rusk St                         #B            Houston           TX      77023
Carla Forrest                         7136 Cinnamon Teal Way                             El Dorado Hills   CA      95762
CARLA LEON                            90 LAKESIDE AVE                                    REDLANDS          CA      92373
Carlina De cauzman                    1896 Pay stan ct                                   Vista             CA      92084
Carlo Giordano                        23 Garden Path Court                               Sacramento        CA      95826
Carlos Espetia                        10529 CHANNEL ISLAND DR                            AUSTIN            TX      78747
Carlos Gutierrez                      2030 Furlow Dr.                                    Redlands          CA      92374
Carlos Rentas                         431 S Highland Apt 316                             Memphis           TN      38111
CARLY Alderman                        435 Wiregrass Way                                  Albany            GA      31721
carly bhave                           6600 Rolling Fork Dr                               Nashville         TN      37205
Carly Cappe                           189 Sampson Drive                                  San Clemente      CA      92672
Carmeda Keen                          149 Wyndchase Drive                                Jackson           TN      38305
Carmel Cunningham                     117 Fitzgerald Street                              Franklin          TN      37064
carmella garcia                       p.o box 8977                                       rancho santa fe   CA      92067
Carmen Sepulveda                      1901 S San Marcos                    2105          San Antonio       TX      78207
carmen vargas                         9410 Bluegrass Dr.                                 Austin            TX      78759
Carmen Vasquez                        780 N 1st ave                        apt. d        upland            CA      91786
carol avens                           7687 BELGRAVE CV                                   GERMANTOWN        TN      38138-7002
Carol Catangay                        1641 IRWIN ST                                      CHULA VISTA       CA      91913
carol contestabile                    1812 crockett circle                               irving            TX      75038
Carol D'annunzio                      4308 Highmound Dr.                                 plano             TX      75093
Carol Dorman                          2124 Lakeway Terrace                               Flower Mound      TX      75028
Carol Gendell                         2745 Lenox Rd, #7                                  Atlanta           GA      30324
Carol Halbrook                        4840 ST SIMONS LN                                  CUMMING           GA      30040
Carol Lynch                           3549 Lost Creek Blvd                               Austin            TX      78735
carol nasuhoglu                       1909 w wall st                                     midland           TX      79701
Carol Perry                           7210 Lakewood Blvd.                                Dallas            TX      75214
  In re Parker School Uniforms, LLC
                        Case 18-10085-CSS
  Schedule E/F, #3.9 - customer back-orders
                                                        Doc 3   Filed 01/12/18            Page 59 of 134


Name                        Address 1                           Address 2            City                State   Zip Code
Carol Poole                 145 Summerwood Dr                                        Pearl               MS      39208
Carol Ratner                621 Windsor Pkwy. Ne                                     Atlanta             GA      30342
Carol Saenz                 1929 S Buckner Blvd                                      Dallas              TX      75217
Carol Smith                 4016 VERNON WAY                                          KELLER              TX      76244
carol Swiatek               214 NORWOOD CV                                           GEORGETOWN          TX      78628
Carole Fattal               5101 huckleberry circle                                  houston             TX      77056
carolina magana             2352 plymouth ln                                         norcross            GA      30071
Carolina Parga              4114 Muir Woods Dr                                       San Antonio         TX      78257
Carolina Schenone           8784 Three Chimneys Drive West                           Germantown          TN      38138
Caroline Brown              P.O. Box 2237                                            Midland             TX      79701
Caroline Dickson            4235 Bushton Ct                                          Clarkston           TX      77040
caroline Fedor              3942 Ashford Trail                                       Brookhaven          GA      30319
Caroline Garcia             19007 Buffalo River Way                                  Houston             TX      77084
Carolyn Betti               3742 Plumb                                               Houston             TX      77005
Carolyn Coleman             405 Old River Cove                                       Marion              AR      72364
Carolyn Honea               1031 Old Breckenridge Lane                               Montgomery          AL      36117
Carolyn Kornegay            824 NW 116th Terr                                        Oklahoma City       OK      73114
Carolyn Pastush             5940 Garber Drive NE                                     Atlanta             GA      30328
Carolyn Seward              1820 N Kaye Dr                                           Oklahoma City       OK      73141
Carolyn Waller              625 Jewel Dr SW                                          Atlanta             GA      30331
Carolyne Shih               160 N. Wynstone Dr.                                      Barrington          IL      60010
Carrie Balloue              105 via plumosa                                          San clemente        CA      92673
Carrie Barnhart             1127 OLD HIGHWAY 27 RD 1                                 CRYSTAL SPRINGS     MS      39059
Carrie Childers             2617 WINDEMERE DR                                        NASHVILLE           TN      37214
Carrie Dannaway             17725 CLIFFORD FARMS RD                                  EDMOND              OK      73012
Carrie Finnegan             1719 BEECHWOOD AVE                                       NASHVILLE           TN      37212
Carrie Gillette             549 S 3rd                                                Bellaire            TX      77401
Carrie Haden                6331 Mercedes Ave                                        Dallas              TX      75214
Carrie Iverson              14703 Bella terra way                                    Edmond              OK      73034
Carrie Mathiesen            8200 SAN BENITO WAY                                      DALLAS              TX      75218
Carrie Nichols              195 Montgomery Avenue                                    Alpharetta          GA      30004
Carrie Patrick              6435 Woodbrook LN                                        Houston             TX      77008
Carrie Patterson            4636 Woodlawn Gates Lane                                 Marietta            GA      30068
Carrie Vanhorn              3908 TAMARA CV                                           MEMPHIS             TN      38135
Carrie Vanwey               4212 RHODES AVE                                          MEMPHIS             TN      38111
Carrie Wilson               1041 Old Maypearl Rd                                     Waxahachie          TX      75167
Carrie wright               1723 Willowwood ave                                      Memphis             TN      38127
Carter Franklin             6806 PARK LN                                             DALLAS              TX      75225
CARY HURST                  5417 SWISS AVENUE                                        DALLAS              TX      75214
Case May                    1406 Micah Way                                           Keller              TX      76248
Casey Collins               1118 E Church St                                         Crystal Springs     MS      39059
Casey Dawson                2209 Firethorn Path                                      Spring Branch       TX      78070
Casey Drake                 5910 VELASCO AVE                                         DALLAS              TX      75206
Casie Delessio              17502 CURRY BRANCH RD                                    LOUISVILLE          KY      40245
Cassandra Cabrera           1260 Grand View Drive SE                                 Mableton            GA      30126
Cassandra Leonard           1003 HEMLOCK CV                                          FLOWOOD             MS      39232
Cassandra Peart             643 Robinson Ave SE                                      atlanta             GA      30312
Cassandra Scott             4344 w highland Dr                  Apt 23               Macon               GA      31210
Cassandra Smith             1506 Mcduffie St                                         Houston             TX      77019-5310
Cassie Campbell             225 LANDMARK RUN                                         CIBOLO              TX      78108
Cassondra White             12 Encinoso                                              San Antonio         TX      78261
Catalina Esquivel           5527 BURLESON OAKS DR                                    BURLESON            TX      76028
CATALINA FLORES
Catherine Arce              3210 LakeKnoll Dr                                        Fullerton           CA      92835
Catherine Binion            5405 Spalding Drive                                      Peachtree Corners   GA      30092
Catherine Daboub            7400 ROCKBERRY CV                                        AUSTIN              TX      78750
Catherine Hopkins           202 Gardenview Dr                                        San Antonio         TX      78213
Catherine Huston            460 COUNTY DOWNS CT                                      MONTGOMERY          AL      36109
Catherine McMayon           4325 Hummingbird St                                      Houston             TX      77035
Catherine Minchey           711 Summerly Drive                                       Nashville           TN      37209
Catherine Runner            739 Cortlandt St                                         Houston             TX      77007
Catherine Scott             P. O. Box 844                       1212 Oakwood Drive   Belzoni             MS      39038
Catherine Sloan             PO Box 466                                               Franklin            TN      37065
Catherine Spratte           2800 PELICAN AVE                                         MCALLEN             TX      78504
Catherine Vickerman         200 Hillwood Blvd                                        Nashville           TN      37205
CATHY Comeaux Wright        2122 TRINITY MANOR LN                                    RICHMOND            TX      77469
Cathy Gillespie
CaTonya Flowers             1105 Ranch Valley Drive                                  Desoto              TX      75115
Catrina White               1436 OAK LAKE CIR                                        COLLIERVILLE        TN      38017
Cecelia Riles               5000 Indiana Ave.                                        Vicksburg           MS      39180
Cecilia Cano                801 Harbor Dr.                                           Lewisville          TX      75057
Cecilia Garcia              2809 glover loop                                         Laredo              TX      78045
Cecilia Hernandez           4938 Callery Creek Dr.                                   Houston             TX      77053
cecilia luna                947 s. hilda st.                                         Anaheim             CA      92806
Cecilia Puga
Cecilia Seo                 30646 Mirasol Dr                                         Redlands            TX      77040
Celeste Perry               2114 Needly Bend                                         Madison             TN      37115
Celeste Poppenheimer        2343 MONT ALBAN CV                                       GERMANTOWN          TN      38139
Celeste Taldo               14221 E Grand Street                                     Wichita             KS      67230
Celia Rodriguez             3562 kings arms st                                       Memphis             TN      38115
Celina Amezuca              5210 AVENIDA DE LAS VISTAS                               SAN DIEGO           CA      92154
Celina Cerone               82 LAKE STERLING GATE DR                                 SPRING              TX      77379
Celina Garcia-Trevino       4313 KILLARMET DR                                        CORPUS CHRISTI      TX      78413
Celina Stabell              2198 Troon Road                                          Houston             TX      77019
Cellina Gantley             115 Stapleton Way                                        Georgetown          KY      40324
Cesar Hernandez             5807 Fort Stanwix                                        San Antonio         TX      78233
Chad Cliburn                101 WATERFALL CT                                         BOERNE              TX      78006
Chad Dunn                   6707 Apsley Creek Ln                                     Sugar Land          TX      77479
Chad Leboeuf                40507 SPRINGFIELD LN                                     MAGNOLIA            TX      77354
Chaithu Parupalli           1641 Sutton Meadow Lane                                  Cordova             TN      38016
Chakira Gavazzi             212 Glentower Drive                                      Castle Hills        TX      78213
Challatian Thomas           155 Mill                            Apt 102              Memphis             TN      38105
Chantay Walker Dillard      1013 Glessner Drive                                      Spring Hill         TN      37174
                         Case 18-10085-CSS
    In re Parker School Uniforms, LLC                     Doc 3   Filed 01/12/18    Page 60 of 134
    Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                           Address 2    City                  State   Zip Code
Charice Lofton                16722 BASIN OAK                                  SAN ANTONIO           TX      78247
Charisse Gooden               6976 Texel Cove                                  Memphis               TN      38133
Chariti Davis                 3335 Rosedale St                                 Houston               TX      77004
Charity Diaz                  6298 Lockhill Rd.                   #304         San Antonio           TX      78240
Charla Dean                   491 Barclay Ct                                   Stone mountain        GA      30083
Charlena Johnson              3360 Alice St                                    Houston               TX      77021
Charlene Baldwin              16700 Silver Star Court                          Riverside             CA      92506
CHARLENE CHARLES              15210 FALL HAVEN DR                              SAN ANTONIO           TX      78247
Charlene Jones                11839 Maywood St                                 Adelanto              CA      93201
Charlene Marcum               1719 38th Street                                 Sacramento            CA      95816
CHARLES BAKER                 127 UNIVERSITY CT                                NASHVILLE             TN      37208
Charles Felton II             4102 Juniper Lane                                Carrollton            TX      75010
charles harkness              1463 echota rd.                                  clarkesville          GA      30523
Charles Hebert                6401 Connell Farm Drive                          Plano                 TX      75024
charles key                   610 nena's trace sw                              Atlanta               GA      30331
Charles Lopez                 1518 Quamasia Avenue                             McAllen               TX      78504
Charli Carnes                 10714chimney Rock                                Houston               TX      77096
CHARLOTTE ARSTEAD             5009 CLUBVIEW DR                                 Dallas                TX      75232
Charlotte Boynton             1334 Dupont Park NW                              Atlanta               GA      30318
charlotte hervey              4839 bismark dr                                  dallas                TX      75216
Charlotte Houser              808 LAKE FOREST CT                               GRAPEVINE             TX      76051
Charlotte Hunter              102 Deer Walk                                    Marion                AR      72364
CHARLOTTE NICHOLSON           501 HICKORY WOODS WAY                            ANTIOCH               TN      37013
Charlotte Prewitt             784 Grant Drive                     `            Southaven             MS      38671
Charlotte Ralston             4413 Belmont Park Terrace                        Nashville             TN      37215
Charlotte West                151 Backbone Creek Lane                          Marble Falls          TX      78654
Charter School                10606 HEMPSTEAD RD                               HOUSTON               TX      77092
Charter U Misc, Duncanville   711 W WHEATLAND RD                               DUNCANVILLE           TX      75116
Chasity Boyd                  1028 Monarch Drive                               Lewisville            TX      75067
Chasity Ochoa                 4438 Buena Vista                                 San Antonio           TX      78237
Chau Hoang                    8471 Bazemore Rd.                                Cordova               TN      38018
chau shing lam                1515 s. sunkist st                               ANAHEIM               CA      92806
Chauncy Harris                8301 NW 141st Circle                             Oklahoma City         OK      73142
Chelsa Mackey                 5810 Limestone Ln                                Midlothian            TX      76065
Chelsea Bates                 8081 Royal Ridge Pkway              #200         Irving                TX      75063
chelsea delrosario            426 bearvalley pkwy                              Escondido             CA      92025
Chelsea Lacroix               10403 EICHE CIR                                  NEW BRAUNFELS         TX      78132
Chelsea Meyer                 120 MEDORA BRANCH DR                             FLORESVILLE           TX      78114
Chelsea Miller                1607 West Wilson Blvd                            Mount Juliet          TN      37122
chelsesa griffin              9502 timberleaf                                  dallas                TX      75243
CHENGXUAN ZHANG               55 TESORO                                        IRVINE                CA      92618
Cher Richardson               1013 Wynne wood dr                               Glenn heights         TX      75154
Cherie Lawhorn                2528 Black Bear Drive               NA           New Braunfels         TX      78132
Cherie Mays                   1427 Parkside Club Dr                            Lawrenceville         TX      77040
Cherise Clark                 5225 Longacre Ave                                Memphis               TN      38134
Cherise Stevenson             10155 North Hwy 77                               Lexington             TX      78947
CHERISH HEARN                 PO BOX 458                                       ROLLING FORK          MS      39159
Cheryl Brigham
Cheryl Dodson                 27157 STATE HIGHWAY 345                          SAN BENITO            TX      78586
Cheryl Doherty                10200 PRISM DR                                   AUSTIN                TX      78726
Cheryl Killion                1203 Indian Paint Trail                          Lewisville            TX      75067
Cheryl Kovacs                 228 Lighthouse Terrace                           Franklin              TN      37064
Cheryl Pinkney                312 N MACARTHUR CIR                              INDIANOLA             MS      38751
Cheryl Sala                   33126 Sea Bright Dr                              Dana Point            CA      92629
Cheryl Thomas                 2507 E. Jackson Ave.                             Orange                CA      92867
Cheryll Rosario               12501 Broadway Street               Apt 8105     Pearland              Texas   77040
Cheryse Phillips              3104 PORT ANNE WAY                               LEANDER               TX      78641
Chiamaka Aneji                7714 BAYOU GREEN LN                              SUGAR LAND            TX      77479
ChiChi Onyeabo                29210 Rock Daisy Court                           Katy                  TX      77494
chih-ho wang                  1515 s. sunkist st                               Anaheim               CA      92806
Chimere Mitchell              2916 Tanglewood Dr                               Lancaster             TX      75134
Chinh Nguyen                  9511 MOORCROFT CT                                SUGAR LAND            TX      77498
chioma chijuka                5610 winsome lane                                Houston               TX      77057
Chirag Katbamna               8825 E Fallsview Rd.                             Anaheim Hills         CA      92808
Chisa Echendu                 2285 Savannah Trace                              Beaumont              TX      77706
chonnie richey                2520 wales way.                                  lewisville            TX      75056
CHRIS AWAD                    5221 lakesprings dr                              Dunwoody              GA      30338
Chris Braun                   5954 Windy Cove                                  San Antonio           TX      78239
chris leighton                5733 Shady River Drive                           Houston               TX      77057
Chris Quinlan                 11035 Clevland Ave                               Riverside             CA      92503
Chris Rogers                  4260 POPLAR AVE                                  MEMPHIS               TN      38117
Chris Scheel                  2215 SHADY ROCK CIRcle              na           SAN ANTONIO           TX      78231
Chris Steele                  54 PLANTATION OAKS                               HUMBOLDT              TN      38343
Christa Arellano              5001 Ellison Court                               Keller                TX      76244
Christa Gillham               13802 Bluffrock                                  San Antonio           TX      78216
Christa Means                 2104 KIMBROUGH DR                                IRVING                TX      75038
Christa Mullaly               598 Forestdale Drive                             Collierville          TN      38017
christa welborn               3059 blacks bluff rd                             rome                  GA      30161
Christen Eiland               8630 poppy hills                                 Boerne                TX      78015
Christi Castle                PO Box 92489                                     Southlake             TX      76092
Christi Eagleson              31011 Via Cristal                                San Juan Capistrano   CA      92675
Christi Hay                   1304 Bentwood Road                               Austin                TX      78722
Christi Wilson                6524 Aden Lane                                   Austin                TX      78739
Christian Gutierrez           1914 LAZY LAKE DR                                HARLINGEN             TX      78550
Christianne Thomas            108 TRACE PARK CT                                Nashville             TN      37221
Christie Golla                190 Mystic Oak                                   New Braunfels         TX      78132
Christie Gottschalk           223 S Shefford Ct                                Wichita               KS      67209
Christie Hartman              849 S. Hillside Avenue                           Elmhurst              IL      60126
Christie Redrow               4668 Maverick Way                                Carrollton            TX      75010
Christie Robbins              2850 Horn Lake Road                              Hernando              MS      38632
Christie Zafar                6508 Sudbury Rd                                  Plano                 TX      75025
Christin Matthews             102 Laura Lake Circle                            Vicksburg             MS      39180
Christina Chancoco            2 STADIUM DR                        APT 1307     SUGAR LAND            TX      77498
                        Case 18-10085-CSS
    In re Parker School Uniforms, LLC                   Doc 3   Filed 01/12/18   Page 61 of 134
    Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                         Address 2    City              State   Zip Code
Christina Chiz                28 Bayou Cove Estates                          Merigold          MS      38759
Christina Flores              753 Sue Barnett                                Houston           TX      77018
Christina Hager               26430 Fox Hill Dr. S                           Stanwood          WA      98292
Christina Hammock             446 Menger Springs                             BOERNE            TX      78006
Christina Hawk                250 Mitchell St.                               Corpus Christi    TX      78411
Christina Heinroth            1005 S.Shepherd Dr. #611                       Houston           TX      77019
Christina Isbell              1113 Woodridge Place                           Mt. Juliet        TN      37122
Christina Joyce               7464 Ortega hills dr                           Jacksonville      FL      32244
Christina King                1038 Huey Dr                                   Corpus Christi    TX      78418
Christina Kontes              5611 Edita Ave                                 Westminster       CA      92683
Christina Krause              6355 Carnation Dr                              Beaumont          TX      77706
CHRISTINA KRUEGER             2942 FISHERS HILL LOOP                         LAREDO            TX      78045
Christina Lucio               6107 LAURAS FARM                               SAN ANTONIO       TX      78244
Christina Mondi               232 Lindbergh Drive                            Atlanta           GA      30305
Christina Morris              3791 S. Galloway                               Memphis           TN      38111
CHRISTINA MURGUIA             10243 LAKE SUMMIT DR                           moreno valley     CA      92557
Christina Peguero             811 Graceland Street                           Houston           TX      77009
Christina Peterson            2132 Pelican Landing Ct                        League City       TX      77573
Christina Rendon              6624 Sunderland Tr.                            Austin            TX      78747
CHRISTINA SCHANER             698 N HELENA ST                                ANAHEIM           CA      92805
Christina Schuler             7903 Liberty Island                            San Antonio       TX      78227
Christina Smith               19312 canyon dr                                Villa park        CA      92861
Christina Sustaeta            5901 MOUNTAIN VILLA DR                         AUSTIN            TX      78731
Christina Thomas              138 CEDAR WOODS CV                             MADISON           MS      39110
Christina Todd                260 Shadowview Drive                           Branson           MO      65616
Christina Trujillo            333 Regent                                     San Antonio       TX      78204
Christina Velasco             4507 Sabine                                    San Antonio       TX      78223
Christine Amisi               30 Woodmark Cv                                 Oakland           TN      38060
Christine Arebalo             9301 1/2 charlesworth rd                       Pico rivera       CA      90660
christine bryan               248 green valley loop                          cibolo            TX      78108
Christine Chaluparambil       9917 Neuens                                    HOuston           TX      77080
CHRISTINE CHONG               640 W LA PALMAS DR                             FULLERTON         CA      92835
Christine Clark               3721 Devon Circle                              El Dorado Hills   CA      95762
Christine Cotromanes          3252 Sanders Rd                   9F           Northbrook        IL      60062
Christine Dariotis            3770 Random Lane                               SACRAMENTO        CA      95864
Christine Decesari            14818 SUMMERBREEZE WAY                         SAN DIEGO         CA      92128
Christine Delao               305 La Paloma Ave                              Alhambra          CA      91801
Christine Dorgan              4258 Dartmouth Drive                           Yorba Linda       CA      92886
Christine Gilmour             5760 Powers Ferry Rd                           Atlanta           GA      30327
Christine Gruen               15608 Via Montecristo                          San Diego         CA      92127
Christine Lee                 9309 Hopeland Drive                            Austin            TX      78749
Christine Lipscomb            4520 Ridge Peak Dr.                            Schertz           TX      78154
Christine Maroney             721 HIGHWAY 468                                BRANDON           MS      39042
Christine Martinez            4032 Santa Barbara                             Dallas            TX      75214
Christine Montgomery          16 Catania                                     Newport Coast     CA      92657
Christine Reyna               4518 Mascota                                   San Antonio       TX      78237
Christine Stephens            177 RIVER LIGHTS LN                            MEMPHIS           TN      38103
Christine Taylor              4670 Chadwick Street                           Beaumont          TX      77706
Christine Tyler               5220 Willow St                                 Bellaire          TX      77401
Christine Voigt               1154 N. Edgefield                              Dallas            TX      75208
Christine Westerman           2001 CLEARFIELD CIR                            RICHARDSON        TX      75081
Christine Wright              13150 Queens Forrest Street                    San Antonio       TX      78230
Christopher Boone             3966 Obryant Cir SE                            Smyrna            GA      30082
christopher celis             841 compass way                                san diego         CA      92154
Christopher Davis             3702 LAUREL LEDGE LN                           AUSTIN            TX      78731
Christopher Fortune           1807 ROSEWOOD AVE                              NASHVILLE         TN      37212
Christopher Mann              5319 Bluebonnet Dr.                            Colleyville       TX      76034
Christy Benthem               6903 ASHMORE DR                                HOUSTON           TX      77069
Christy CaffeyEarle           2100 Pinnell Ct                                Corinth           TX      76210
Christy Chowbay               3080 Brookview Forest Drive                    Nashville         TN      37211
Christy Goodman               6549 Buttercup Drive                           Nashville         TN      37221
Christy Gusse                 PO box 6129                                    MORENO VALLEY     CA      92554
Christy Hales                 410 S. Jackson St                              Crystal Springs   MS      39059
Christy Martin                513 Culpepper Rd.                              Lexington         KY      40502
Christy Nelson                76 NORTHSHORE DR                               JACKSON           TN      38305
Christy Pheonix               1540 CHISHOLM TRL                              PROSPER           TX      75078
Christy Roden                 1200 Highway 6 West                            Batesville        MS      38606
Christy Sutton                100 Florence Rd ne                             Milledgeville     GA      31061
CHRISTY THOMPSON              1144 OLD HWY20 LOOP                            HAZLEHURST        MS      39083
Christy Zink                  18502 Eagle Ford                               SAN ANTONIO       TX      78258
Chuck Turner                  619 Anderson Lane                              Madsion           TN      37115
Cicely Allen                  5249 White Diamond Street                      Memphis           TN      38109
Cicely Drummer                5381 Emily Circle                              Ellenwood         GA      30294
cille heehs                   348 Central Cove                               Memphis           TN      38111
cindi Castro                  4802 Sandalwood Cir                            Baytown           TX      77521
Cindy Barnett                 9553 Chichi Lane                               Arlington         TN      38002
Cindy Callender               132 SPRINGTREE DR                              BRANDON           MS      39042
CINDY CHAFFIN                 3334 VESTRY AVE                                MURFREESBORO      TN      37129
CINDY CHUANG                  8440 E. Hillsdale Drive                        Orange            CA      92869
Cindy Clegg                   10905 Meeting St                               Prospect          KY      40059
Cindy Ettingoff               6380 Swan Nest Cv                              MEMPHIS           TN      38120
Cindy Evans                   1420 HALEY RD                                  TERRY             MS      39170
Cindy Forgey                  5114 chestnut st                               Bellaire          TX      77401
Cindy Havranek                31055 meadow creek trail                       Boerne            TX      78015
Cindy Jones                   221 Coachman’s Road                            Madison           MS      39110
Cindy Koesler                 296 CR 423                                     Muenster          TX      76252
cindy ledoux                  n/a                                            fort worth        TX      76109
Cindy McCook                  204 N. Clayton Rd.                             Edmond            OK      73034
Cindy McGehee                 1615 Thrush Court Circle                       San Antonio       TX      78248
Cindy McLaughlin              136 Dalraida Rd                                Montogmery        AL      36109
Cindy Nguyen                  3983 SARASOTA SPRINGS DR                       FORT WORTH        TX      76123
Cindy Quinto                  10255 Royal Ann Ave                            San Diego         CA      92126
Cindy Secret                  3012 Westminster Cir NW                        Atlanta           GA      30327
   In re Parker School Uniforms, LLC
                       Case 18-10085-CSS
   Schedule E/F, #3.9 - customer back-orders
                                                             Doc 3        Filed 01/12/18        Page 62 of 134


Name                         Address 1                                    Address 2        City               State        Zip Code
Cindy Thornton               1326 Autumn Moon                                              San Antonio        TX           78245
Cindy Torres                 1402 Ferris Ave                                               Waxahachie         TX           75165
Cindy Wilson                 20 Rainstar                                                   Irvine             CA           92614
Claire Daniel                14108 Turnberry Place                                         Lithonia           GA           30038
Claire Nelson                3814 Sun Valley Drive                                         Houston            TX           77025
Claire Tobin                 5535 MERCEDES AVE                                             DALLAS             TX           75206
Claire Tompkins
Clara Kim                    32401 Galatina St                                             Temecula           CA           92592
Clara Morales                319 Nassau                                                    San Antonio        TX           78213
Clare Baarlaer               14434 Twisted Oak Ln.                                         houston            TX           77079
Claressa Glaspie             3208 Westelle St                                              Memphis            TN           38128
Clarissa Enriquez            3302 Litchfield                                               San Antonio        TX           78230
Clarissa Turner              4557 Chickasaw Road                                           Memphis            TN           38117-1710
Clark Harwell                3514 Hampton Ave                                              Nashville          TN           37215
Claude White                 10415 RIver Road                                              College Staiton    TX           77845
Claudette Lloyd              5443 Valkeith Drive                                           Houston            TX           77096
Claudia Breedlove            1418 BELLA VISTA DR                                           DALLAS             TX           75218
Claudia Garcia               4097 LAKE VIEW DR                                             BROWNSVILLE        TX           78520
Claudia Gonzalez             14813 S POST OAK RD                                           HOUSTON            TX           77045
Claudia Lampkin              306 Gafield                                                   Corpus Christi     TX           78408
Claudia Makhoul              2811 ridge falls dr                                           Manvel             TX           77578
Claudia Martinez             Po Box 450583                                                 Laredo             TX           78045
Claudia Mireya Guido         235 W. orangewood ave.                       apt. 14-c        Anaheim            CA           92802
Claudia Moreno               2407 REYNOLDS ST                                              LAREDO             TX           78043
claudia salazar              2935 tudor lane                                               irving             TX           75060
Claudia Salinas              245 HIBISCUS CT                                               BROWNSVILLE        TX           78520
Claudia Taylor               1468 Cheyenne Rd                                              Lewisville         TX           75077
Clause Witz                  11015 Reyes Canyons                                           San Antonio        TX           78023
Clay Huntsman                380 Augusta Pines Rd                                          Collierville       TN           38017
Clay Vonhelf                 1087 BRADY LN                                                 CALIMESA           CA           92320
Cleigle B                    8305 Will Jordan Pkwy                                         Bellaire           TX           77040
Clement Nicome               6510 Shannonlore Dr.                                          College Park       GA           30349
Clint Sawyer                 5290 swallow dr                                               Beaumont           TX           77707
Coco Kleberg                 127 West Brandon                                              San Antonio        TX           78209
Colleen Gibson               2658 COVE CIR NE                                              ATLANTA            GA           30319
Colleen Hess                 2302 Cedar Elm Terrace                                        Westlake           TX           76262
Colleen Plummer              2221 Downing Ln                                               Leander            TX           78641
Colleen Rivas                13818 SHAVANO RDG                                             SAN ANTONIO        TX           78230
Colleen Timmons              5525 Preston Haven Dr                                         Dallas             TX           75230-2659
connie crocker               15 sutton place                                               jackson            TN           38305
Connie Hawn                  900 West Conway Drive NW                                      Atlanta            GA           30327
CONNIE PHELPS                7516 WOODSTREAM DR                                            NASHVILLE          TN           37221
CONNIE SKINNER               44097 HWY 28                                                  GEORGETOWN         MS           39078
Constance Jernigan           1014 E Woodin Blvd                                            Dallas             TX           75216
Consuelo Garner              10829 Quarry Oaks Trl.                                        Austin             TX           78717
CONTESSA BONNER              8410 South Westmoreland Road                 APT 2502         DALLAS             TX           75237
Contrina Jones               3245 Simpson Stuart Rd                       Apt. 903         Dallas             TX           75241
Cora Mayerich                7835 Oakington                                                Houston            TX           77071
Coral Nei                    2008 N 7th St.                                                Garden City        KS           67846
Corey Boney                  459 Huntington Drive                                          Byram              MS           39272
Corina Santillan             2811 NIXON RD                                                 SAN BENITO         TX           78586
Corinne Wymer                904 Hermitage Ridge                                           Hermitage          TN           37076
Corrie Kerlin                4416 Gloster Rd.                                              Dallas             TX           75220
COSSANDRA STEWART            9199 HWY 51                                                   Wesson             MS           39191
Courtney Devall              5813 E KayleighLn                                             Lake Charles       LA           70605
Courtney Esko                3735 N. Wilton Avenue                        3S               Chicago            IL           60613
Courtney Gonzales            100 CASCADE CT                                                RED OAK            TX           75154
Courtney Hamilton            1355 LAKE SHORE DR                                            BRANSON            MO           65616
COURTNEY HUTCHISON           14127 Silver Charm                                            SAN ANTONIO        TX           78248
Courtney Lawrence            4008 AFFIRMED DR                                              MOUNT JULIET       TN           37122
Courtney Pope                5214A OLD JACKSON RD                                          TERRY              MS           39170
Courtney Shepherd            321 SWEETBRIER RD                                             MEMPHIS            TN           38120
Courtney Smith               NA                                                            na                 TX           11111
Courtney Swearingen          6399 Egerton Circle                                           Memphis            TN           38119
Courtny Johnson              1734 REYNOLDS STREET                                          LANCASTER          TX           75134
crisoforo ortega             750 six flags rd Austell Ga, 30168 lot 515                    austell ga         GA           30168
Cristi Reiger                7000 N ROBINSON AVE                                           OKLAHOMA CITY      OK           73116
Cristian Romero              3114 little dr                                                LAKE CHARLES       LA           70605
Cristie Fellhoelter          3149 Palo Verde Blvd. North                                   Lake Havasu City   AZ           86404
Cristin Banderob             4147 COURTSHIRE DR                                            DALLAS             TX           75229
Cristina Blanton             5705 Barker Ridge Dr.                                         Austin             TX           78759
Cristina Magee               5231 KEATSWOOD CV                                             MEMPHIS            TN           38120
Cristina Martinez            0611 Tandem TRL                                               Dallas             TX           75217
Cristina Quiroz              7000 ANDALUCIA ST                                             KILLEEN            TX           76542
Cristina Rodriguez           801 Plymouth LN                                               Laredo             TX           78041
Cruz Arambula                8133 Tavenor                                                  Houston            TX           77075
Crystal Aimes                6505 Pineburr Ct                                              Orangevale         California   95662
crystal anderson             473 HAMILTON ST SE                                            ATLANTA            GA           30316
Crystal Androvett            8258 SAN BENITO WAY                                           DALLAS             TX           75218
CRYSTAL BANOS                1861 BELMONT AVE                                              FORT WORTH         TX           76164
Crystal Cress                123 WILSHIRE CIR                                              WAXAHACHIE         TX           75165
Crystal Del Valle            1235 Big Lk                                                   San Antonio        TX           78245
Crystal flowers              5500 SUTTLES DR SW                                            ATLANTA            GA           30331
Crystal Helcel               1650 Pebble Chase Dr                                          Katy               TX           77450
Crystal Kachmar              3412 Westwind Drive                                           Plano              TX           75093
Crystal Klar                 207 chestnut spring road                                      flora              MS           39071
Crystal Parker               2109 Oxford St.                                               Houston            TX           77008
Crystal Piorkowski           21918 Goldcrest Run                                           San Antonio        TX           78260
Crystal Rogers               807                                          Maltese Garden   San Antonio        TX           78260
Crystal Vazquez              740 N merrill ave                                             Duncanville        TX           75116
Crystal Wallace              1408 Fullerton Ave                                            McAllen            TX           78504
Crystal Williams             458 Cedarwood Drive                                           Jackson            MS           39212
Crystaly Yang                4096 Hideaway Drive                                           Tucker             GA           30084
   In re Parker School Uniforms, LLC
   Schedule E/F, #3.9 - Case
                        customer18-10085-CSS
                                  back-orders            Doc 3   Filed 01/12/18    Page 63 of 134


Name                         Address 1                           Address 2    City               State   Zip Code
Crystina Ericson             830 Arbor Pine                                   Tomball            TX      77375
Curtisha Grant               p o box 27132                                    arlington          TX      76013
Cybil Cardenas               7730 Paraiso Circle                              Boerne             TX      78015
Cydney Stevens               3809 CLOUDY RIDGE RD                             AUSTIN             TX      78734
Cyndi Obasi                  3026 prosperity                                  Dallas             TX      75216
Cynthia Andrews              1100 WHIPPOORWILL DR                             KINGSTON SPRINGS   TN      37082
Cynthia Blakeney             2456 S Pine Lea Drive                            Jackson            MS      39209
Cynthia Elliott              8538 SAN PEDRO PKWY                              DALLAS             TX      75218
Cynthia Hernandez            106 Heather Cove                                 Manor              TX      78634
Cynthia Labrador             10936 Westmore CT                                San Diego          CA      92126
Cynthia Lee                  14810 Canonero St                                San Antonio        TX      78248
Cynthia Mallard              7218 Boggess                                     Houston            TX      77016
Cynthia Martinez             208 Shaw St.                                     Taylor             TX      76574
Cynthia Mercer               13011 Northborough                  Apt 523      Houston            TX      77067
cynthia oliver               1560 highway 14 west                             prattville         AL      36067
Cynthia Ratliff              4316 phil Street                                 Bellaire           TX      77401
Cynthia Ray                  925 Sir Constantine Dr                           Lewisville         TX      75056
Cynthia Rodriguez            1820 S Meadow St                                 Laredo             TX      7846
Cynthia Soloranzo            4018 BLUE OAK PASS                               SAN ANTONIO        TX      78223
Cynthia Wilcox               6807 Redwood Terrace Lane                        Spring             TX      77389
Czarina Lopez                3901 E. Broadway                                 Tucson             AZ      85711
Dabbs Curley                 2040 PETIT BOIS ST S                             JACKSON            MS      39211
Dacia Cross                  8506 Fairway Trail Dr                            FAIR OAKS RANCH    TX      78015
Dafne Mercado                29080 Marcus Lane                                Highland           CA      92346
Daisy Ramirez                7549 E Twinleaf Trail                            Orange             CA      92869
Dale Butler                  802 Green Valley Ln                              HIghland Village   TX      75077
Dalia Hunt                   4455 Hermosa Way                                 San Diego          CA      92103
Dalice Estes                 8513 Oak Crossing                                Temple             TX      76502
Dallas Sorrell               428 Autumn Oak Dr.                               madison            MS      39110
Damon Johnson                1010 Privey Ln                                   Stone Mountain     GA      30083
Dan And Lynn Ware            1001 PEVEY LN                                    CRYSTAL SPRINGS    MS      39059
Dan Barrientos
DANA BAILEY                  1426 KIMBELL ROAD                                TERRY              MS      39170
Dana Daly                    347 N. Rose Rd.                                  Memphis            TN      38117
Dana Duncan                  14 The Fairway                                   Woodstock          GA      30188
Dana Gosford                 6529 Brandon Park Way                            Franklin           TN      37064
Dana Hummel                  1105 Cutters Cove Road                           Kingston Springs   TN      37082
Dana King                    3912 Linden Ave                                  Fort Worth         TX      76107
Dana Laramore                123 Seasame                                      SAN ANTONIO        TX      78249
Dana Marlin                  6397 TANZY RD                                    DALLAS             TX      75236
Dana Mitchell                11117 Little Spring Blvd.                        Louisville         KY      40291
Dana Morris                  21 NETHERWOOD DR                                 JACKSON            TN      38305
Dana Salinas                 1406 Garfield Ave.                               Los Angeles        CA      90022
Dana Telles                  2903 MEADOW LN                                   TAYLOR             TX      76574
Dana Turosik                 76 Twin Pond Pl                                  Tomball            TX      77375
Danah Frens                  5070 OAKMONT DR                                  BEAUMONT           TX      77706
Danette Batiste              21825 THIMBLEBERRY CT                            CORONA             CA      92883
Dania Sapien                 24624 Birdie Ridge                               SAN ANTONIO        TX      78260
Daniel Allen                 1301 W BIRCH AVE                                 ORANGE             CA      92868
Daniel Arwe                  5723 Sonoma Ridge                                Missouri City      TX      77459
Daniel Bonells               2585 Amberwood Dr                                Beaumont           TX      77713
DANIEL BROWN                 605 Urlacher Drive                               Murfreesboro       TN      37129
Daniel Castaneda
Daniel Da Yo Lee             1515 S. Sunkist St.                              Anaheim            CA      92806
Daniel Garcia                6127 Kingston Ranch                              San Antonio        TX      78249
Daniel Haile                 5853 LINCOLN MEADOWS CIR            APT 1103     FORT WORTH         TX      76112
Daniel Lerma                 223 S San Horacio                                San Antonio        TX      78237
Daniel Mathis                3500 Goliad Rd Lot 70                            San Antonio        TX      78223
Daniel Montoya               635 LOS LUNAS WAY                                SACRAMENTO         CA      95833
Daniel Pritchett             4838 Flamingo Rd.                                Memphis            TN      38117
Daniel Schempp               2801 Sepulveda Blvd                 110          Torrance           CA      90505
Daniel Shin                  4500 Samford Park Ave                            Sugar Hill         GA      30518
Daniela Kasting-Sykes        6605 Vougeot Dr                                  Austin             TX      78744
Danielle Fitte               15707 BOWSPRIT LN                                HOUSTON            TX      77062
Danielle Maddock             14826 Bluemist Pass                              San Antonio        TX      78247
Danielle Santowski           4803 Magnolia Bend Dr.                           Rosharon           TX      77583
Danielle Spencer             7635 WICKERSHAM PL                               BEAUMONT           TX      77706
DANIELLE warnock             214 MADISON RIDGE                                Vicksburg          MS      39180
Daniya Daniya                12450 Marshall Ave                  APT #260     Chino              CA      91710
Danny Roberts                3817 WINIFRED DR                                 FORT WORTH         TX      76133
Daphina Peoples              2816 Bridal Wreath Lane                          Dallas             TX      75233
Daphne Calderon              5701 Keli Ct.                                    Austin             TX      78735
Daphne Domingue              Po box 1765                                      Ingleside          TX      78362
Daphne Hood                  PO BOX 851055                                    MESQUITE           TX      75185
Daphne Kim                   3063 Tiffany Lane                                Colton             CA      92324
Daren Rudisaile              25842 sahatapa lane                              LOMA LINDA         CA      92354
Darla Price                  3119 Winberry Drive                              Franklin           TN      37064
Darla Roden                  704 NESBITT DR                                   DALLAS             TX      75214
DARLENE CHU                  3131 QUENBY AVE                                  HOUSTON            TX      77005
Darnessa Taylor              272 STORNAWAY DR                                 JACKSON            TN      38305
darnique shields             712 oneida ave                                   nashville          TN      37207
Darrell Pina                 18711 SURREYWOOD                                 SAN ANTONIO        TX      78258
Darren Lin                   1515 Sunkist Ave                                 Anaheim            CA      92806
Darrick Vanderford           55 COUNTY ROAD 401                               OXFORD             MS      38655
Dave Ray                     200 Alida                                        Clarksdale         MS      38614
Dave Winegar                 2437 Leonidas Dr                                 Montgomery         AL      36106
David Attwood                1225 Town Center, #909                           Pflugerville       TX      78660
David Burke                  245 Madison Ave                     Apt 601      Memphis            TN      38103
David Cardebas               423 Willena Drive                                Forest Park        TX      77040
DAVID COBASKO                958 LAMBOURNE PL                                 OAK PARK           CA      91377
david Flores                 404 S 4th St                                     Branson            MO      65616
David Jacks                  5221 Westhaven Dr                                Fort Worth         TX      76132
David Kramer                 6345 KLAMATH RD                                  FORT WORTH         TX      76116
     In re Parker School Uniforms, LLC
                        Case 18-10085-CSS
     Schedule E/F, #3.9 - customer back-orders
                                                                      Doc 3   Filed 01/12/18    Page 64 of 134


Name                                    Address 1                             Address 2    City                   State   Zip Code
David Lopez                             1139 Melborn                                       Dallas                 TX      75224
David Schmitt                           2040 Brooke Forest Ct                              Alpharetta             GA      30022
David Stribling                         4620 North Braeswood                  332          Houston                TX      77016
David Volk                              3003 NW Loop 410, Ste. 100                         San Antonio            TX      78230
David Yarbrough                         3828 rosedale                                      Memphis                TN      38111
Davida Mouton                           7718 Melanie Street                                Houston                TX      77016
Dawn Alghini                            424 Tupelo Ave                                     Naperville             IL      60540
Dawn Canada                             2705 NW 155TH ST                                   EDMOND                 OK      73013
Dawn Crain                              305 white columns court                            Milton                 GA      30004
DAWN DURHAM                             813 REGAL BLUFF                                    DESOTO                 TX      75115
dawn jiang                              13426 castlcombe dr                                houston                TX      77044
Dawn Painter                            1531 Waterford Ct                                  Marietta               GA      30068
Dawn Vaughn                             320 W Mariposa Drive                               Redlands               CA      92373
Dawn Williams                           1901 Grandview Dr. East                            Garden City            KS      67846
Dayana Flores                           14114 Beech Meadow Dr.                             Houston                TX      77083
Dayle Diffey                            65 Woodland Hills Drive                            Lexington              MS      39095
Dayna Walraven                          4007 Willowford Way                                Spring Hill            TN      37174
De Jenette Avila                        6563 Bougainville Road                             San Diego              CA      92139
Dea Canova                              275 Camden Road NE                                 Atlanta                GA      30309
DEAN STECKMAN                           1407 E HIGHLAND AVE                                REDLANDS               CA      92374
Deana Seymour                           326 Liberty Claybrook Road                         Beech Bluff            TN      38313
deandra allen                           105 stone park trail                               pike road              AL      36064
Deanna Murrell                          28494 Belleterre Ave                               Moreno Valley          CA      92555
DEANNA ORTAZ                            706 South rosemont                                 dallas                 TX      75208
Deanna Walker                           1950 W. Lullaby                                    Anaheim                CA      92804
Deanna Young                            11934 ROSEBRIER PARK LN                            HOUSTON                TX      77082
Deb Young                               7150 GREENBROOK LN                                 DALLAS                 TX      75214
DEBBIE Dismukes                         1429 Shannon Pl                                    Old Hickory            TN      37138
Debbie Forde                            3536 Whitney Lane                                  Carrollton             TX      75007
Debbie Hartsuff                         1937 Autumndale Cove                               Cordova                TN      38016
debbie ledoux                           2 Buckingham CT                                    San Antonio            TX      78257
Debbie Marshall                         1555 Lawton Trl                                    Germantown             TN      38138
Debbie Perrin                           24347 Claywood Drive                               Diamond Bar            CA      91765
Debbie Wallace                          4207 Pretoria Run                                  Murfreesboro           TN      37128
Debbie Young                            3814 TEESDALE CT                                   ATLANTA                GA      30350
Debi Breckner                           4226 Frontera Drive                                Davis                  CA      95618
Deborah Arnold                          340725                                             Ft. Sam Houston        TX      77040
Deborah Brigance                        1127 OAK RIVER RD                                  MEMPHIS                TN      38120
Deborah Canosa                          3466 Olive Street                                  Huntington Park        CA      90255
Deborah Crow                            4039 university blvd                               Houston                TX      77005
Deborah Hall                            5942 WIGTON DR                                     HOUSTON                TX      77096
Deborah Medina                          6334 North Walnut Ave.                             San Bernardino         TX      77040
Deborah Prihoda                         1805 Brazos                                        Rosenberg              TX      77471
Deborah Purnell                         314 OAKVILLE CIR                                   BRANDON                MS      39047
Deborah Rhoads                          4422 Silverthorn Dr.                               Mesquite               TX      75150
Deborah Roth                            7982 Wood Ct                                       Frisco                 TX      75034
Deborah Smith                           2611 leakey                                        San Antonio            TX      78251
Debra Bell                              3969 BARTON CREEK CIR                              CORONA                 CA      92883
Debra Benjamin                          3720 Walnut Grove Road                             Memphis                TN      38111
Debra Bickel                            859 Montezuma Dr.                                  Pacifica               CA      94044
debra carignan                          723 flower st                                      beaumont               CA      92223
Debra Cedillo                           315 PLEASANTON RD                                  SAN ANTONIO            TX      78214
Debra Delaine                           5001 Bouldercrest Road                             Ellenwood              GA      30294
Debra Karamitsos                        10622 Ivyridge Rd                                  Houston                TX      77043
Debra Montez                            7231 REPUBLIC PKWY                                 SAN ANTONIO            TX      78223
Debra Neil Blount                       1816 Gateway Drive                                 Loganville             GA      30052
Debra Velez                             3616 Glenhaven Drive                               Sachse                 TX      75048
DeDe Lovett                             183 Pine Lake Drive                                Sour Lake              TX      77659
DEEANN JEPPESEN                         2008 WOOD THRUSH COURT                             WESTLAKE               TX      76262
Deepa R                                 1262 hidden ridge                     Apt 1024     Irving                 TX      75038
Deirdre Carr                            4024 MILTON ST                                     HOUSTON                TX      77005
Deirdre Hatcher                         8 Applestone Drive                                 Jackson                TN      38305
Dekalb Academy (Date), Stone Mountain   1492 KELTON DR                                     STONE MOUNTAIN         GA      30083
Delaine Gray                            2325 Bentley Trail                                 Loganville             GA      30052
Delia Ashley                            110 EDGEWOOD DR                                    HAZLEHURST             MS      39083
Delia Balderas                          9510 Trumpet                                       Houston                TX      77078
Delia Poteete                           6524 Victoria Avenue                               North Richland Hills   TX      76180
Delia Vargas                            1604 W Gateway Heights Loop                        Sedro Woolley          WA      98284
DELLA CURTIS                            4114 CRAFTSMAN STREET                              JOHNSCREEK             GA      30097
Delores Hill                            9303 Shadow Point Circle                           Chattanooga            TN      37421
Delsa Esclamado                         4535 WEMBLY PL                                     CUMMING                GA      30041
Delvina Loya                            164 Perry St                                       Gallatin               TN      37066
Demetria Smith-Wilson                   4612 Cedar Keys Lane                               Stone Mountain         GA      30316-3207
Demetria Strong                         851 N Clay Brook                                   Memphis                TN      38107
Demetrice Moore
Demitri Morgan                          2909 Rising Crest Drive                            Lancaster              TX      75134
Demond Thomas                           6831 HIGHSPIRE DR                                  DALLAS                 TX      75217
Dena Stagner                            2019 STEBBINS DR                                   HOUSTON                TX      77043
Dene Lynn                               1443 Albans Ct                                     Lithonia               GA      30058
Deneen Schamer                          10808 Weymouth Ave                                 Powell                 OH      43065
Denielle Darling                        71 Timberline Dr                                   Nashville              TN      37221
Deniesha Wadley                         823 North Seventh                                  MEMPHIS                TN      38107
Denise Coyne                            233 Oakland Park Ave                               Columbus               OH      43214
Denise Guckert                          728 S. Erkel Ave                                   Seguin                 TX      78155
Denise Hunter                           55 Millport Drive                                  The Woodlands          TX      77382
Denise Kerlan                           1905 Hazelton drive                                Germantown             TN      38138
Denise Lacy                             4010 W RIO GRAND DR                                VALLEY CENTER          KS      67147
Denise Mccutcheon                       3387 WOLF SHADOW LN                                MEMPHIS                TN      38133
Denise Reyna                            1303 W. 3rd St                        Unit #17     Weslaco                TX      78596
Denise Sampayo                          3002 Hillcrest Cir                                 Laredo                 TX      78045
denise sanders                          14310 mill run                                     san antonio            TX      78231
Denise Stevens                          5610 WINDY RIDGE DR                                ATLANTA                GA      30342
Denise Ward                             4228 Hanover Place                                 Jackson                MS      39211
                        Case 18-10085-CSS
    In re Parker School Uniforms, LLC                   Doc 3   Filed 01/12/18    Page 65 of 134
    Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                         Address 2    City               State   Zip Code
Denise Webster                1515 S. Sunkist St.               Suite# A     Anaheim            CA      92806
Denise Wesley                 14210 CELLINI DR                               CYPRESS            TX      77429
Denise Winfrey                3365 Seaford Dr.                               Memphis            TN      38127
Denise Zaldivar               2115 CRESENT PALM LN                           HOUSTON            TX      77077
Denita Vanouter               13602 BROOKSONG CT                             LOUISVILLE         KY      40245
Dennis Mcpherson              241 Blair Drive                                Marion             AR      72364
Dennis Nail                   P.O. Box 1596                                  Reidsville         GA      30453
Dennis Sanders                4911 Elswood Mist                              San Antonio        TX      78251
Denton Marx                   1139 HIGHWAY 472                               HAZLEHURST         MS      39083
DEON SHELTON                  8932 BRISTOL PARK #206                         BARTLETT           TN      38133
Deri Santos                   5207 Valburn Circle                            Austin             TX      78731
Derichia Wells                9193 Wilderridge Lane                          Cordova            TN      38018
DESHENA NEWSON                5005 Mallard Point Cv                          Memphis            TN      38109
DESIRE MORROW                 3691 WORDSWORTH AVE                            MEMPHIS            TN      38128
Desiree Hitchcock             590 W. Central Ave                Ste N        Brea               CA      92821
Desiree Vogt                  2502 madison drive                             ATLANTA            GA      30346
Destiny Washington            3130 Garden Walk SW                            Atlanta            GA      30331
Devanee Chapman               102 Prairie Falcon                             Boerne             TX      78006
devin rochelle                3904 san gabriel ct                            san bernrdino      CA      92404
Devon Fitzdibbons             136 summerfield Drive                          Macon              GA      31210
Devorah Lovitch               1050 E. La Dera Dr.                            Long Beach         CA      90807
Diala Elqanni                 35 Lilac                                       Lake Forest        CA      92630
Diamond Love                  Po box 450803                                  Houston            TX      77245
Dian Gomez                    1704 YELLOW STONE ST                           EDINBURG           TX      78542
Diana Bastida                 1225 N EXPRESSWAY                 STE 1C       BROWNSVILLE        TX      78520
Diana Bocklage                3118 Soft Fern Court                           Kingwood           TX      77345
Diana Brady                   1345 W LAGUNA AZUL AVE                         MESA               AZ      85202
Diana Cadieux                 7811 PERCUSSION PL                             HOUSTON            TX      77040
Diana Carranza                9907 Silver Meadow Dr                          Dallas             TX      75217
diana carrillo                437 panchasarp dr                              CROWLEY            TX      76036
Diana Davila                  221 St Charles                                 Houston            TX      77003
Diana Gonzalez Hurtado        202 Granada Drive                              Laredo             TX      78041
Diana Greer                   1972 DARTFORD CV                               CORDOVA            TN      38016
Diana Huynh                   8611 Lariat Ave                                Garden Grove       CA      92844
Diana Kedora                  4221 Glacier Point Ct                          Prosper            TX      75078
Diana Kerrigan                4627 BELMONT PARK TER                          NASHVILLE          TN      37215
Diana Kline                   3721 SAM RAYBURN TRL                           DALLAS             TX      75287
Diana Ly                      6917 Celtic Court                              Austin             TX      78754
Diana Mills                   2082 WARD RD                                   SARDIS             MS      38666
DIANA RANGEL                  5490 CAMINO REAL                               RIVERSIDE          CA      92509
Diana Robles                  809 E Magnolia Ave                             LA FERIA           TX      78559
Diana Rubio                   9680 Mesa Dr                                   Houston            TX      77078
Diana Sanchez                 11506 Sayanora Court                           San Antonio        TX      78216
Diana Torteya                 495 STOVAL RD                                  BROWNSVILLE        TX      78520
DIANA VANBUREN                6748 S SIWELL RD                               BYRAM              MS      39272
Diana Zavala                  22921 Savi Ranch Pkwy                          Yorba Linda        CA      92887
Diane Ford                    6385 Deer Valley Ct                            rancho cucamonga   CA      91739
Diane Gerber                  604 Twilight Bay                               Mount Juliet       TN      37122
Diane Kowalski                40309 n la cantera ct                          anthem             AZ      85086
Diane Ludington               36464 Par Lane                                 Beaumont           CA      92223
Diane Pagano                  275 Cameron Ridge Dr                           Atlanta            GA      30328
DIANE THOMAS                  215 BEVERLY DR                                 MADISON            TN      37115
Dianna Ellis                  22007 Pine Log Rd                              Garfield           AR      72732
Diego Zuniga                  145 S STEWART AVE                              LANCASTER          TX      75146
Diep Truong                   3126 San Jacinto St.                           Dallas             TX      75204
dina CABRERA                  1950 COLORADO ST                               REDLANDS           CA      92374
dina delp                     8063 e. portico Terrace                        Orange             CA      92867
dina tuvv                     312 cane creek dr                              stockbridge        GA      30281
DINEQA COLEMAN                1390 FOREST AVE                                JACKSON            MS      39213
Dipa Patel                    116 BRUSH TRAIL LN                             CIBOLO             TX      78108
divina williams               3019 edith nankipoo rd                         ripley             TN      38063
DJ Hernandez                  3699 Clearbrooke Way                           Duluth             GA      30097
Djana Martin                  291 Tufts Court                                Fayettville        GA      30215
Do Que                        26020 BANCROFT ST                              LOMA LINDA         CA      92354
Doan Ngo                      2101 HAMPTON CT                                CARROLLTON         TX      75006
Doel Rodriguez                1631 Latexo Dr                                 Houston            TX      77018
Doina Ivan                    4029 Case Street                               Houston            TX      77005
Dolar Patolia                 3304 Sunset Blvd                               Houston            TX      77005
DOLLI THOMAS                  1772 YOUNG FARM ROAD                           MONTGOMERY         AL      36106
dollie sipert                 2771 willhert                                  dallas             TX      75216
Dolores Evangelista           1458 playground street                         los angeles        CA      90033
Dolores Garcia                4406 francis ave                               chino              CA      91710
Dolores Sommer                14518 Los Lunas Rd                             Helotes            TX      77040
Dominador Nicolas             920 S Cameron St.                              Colton             CA      92324
Dominguez Jaun                287 Cedar Ln #B                                Cedar Creek        TX      78612
Dominica Gibson               3082 Coombs Creek dr                           Dallas             TX      75233
dominique jones               4536 kenyon drive                              oklahoma city      OK      73127
Dominique Williams            5 Las Yvas                                     sacramento         CA      95833
Don Holmes                    PO Box 152                                     Shingle Springs    CA      95682
Don Withrow                   9749 DOVER HILL RD                             LA PORTE           TX      77571
Donald Butler                 1113 E BOWIE ST                                FORT WORTH         TX      76104
Donald Chung                  541 S. Kroeger St.                             Anaheim            CA      92805
donald hollis                 2 bodega bay                                   Irvine             CA      92602
Donald Wagner                 1219 Monte Vista Drive                         Redlands           CA      92373
Dongsun Kim                   3101 W ADAMS AVE                  APT 211      TEMPLE             TX      76504
Donielle Koontz               18 Gardenia St.                                Ladera Ranch       CA      92694
Donna Cleary                  1308 Camberley Ct                              Keller             TX      76248
Donna Fullington              1020 JACK JOHNSON RD                           TERRY              MS      39170
Donna Haffner                 18302 Stagecoach Trail                         Norman             OK      73072
Donna Hatchett                8420 N W 77th Street                           Oklahoma City      OK      73132
Donna Sitton                  12410 MULLER SKY CT                            TOMBALL            TX      77377
Donna Tur                     920 Greyfield Place                            Atlanta            GA      30328
Donna Vaught                  6122 PALO PINTO AVE                            DALLAS             TX      75214
   In re Parker School Uniforms, LLC
   Schedule E/F, #3.9 - customer  back-orders
                        Case 18-10085-CSS                              Doc 3   Filed 01/12/18    Page 66 of 134


Name                                        Address 1                          Address 2    City             State   Zip Code
Donna Weeks                                 409 ORCHID TRL                                  Franklin         TN      37064
Dora Stone                                  11730 Whisper Bow St                            San Antonio      TX      78230
Dora Turner                                 3309 Lelia St.                                  Houston          TX      77026
Doreen Ruiz                                 2254 S. Miramonte Place                         Ontario          CA      91761
Doreen Yeh                                  2966 Young                                      Tustin           CA      92782
Doris Hayes McArthur                        813 Calle Puente                                San Clemente     CA      92672
Dorothea Williams                           823 Cheatham Place                              Nashville        TN      37208
Dorothy Bidales                             304 GAINER DR                                   HUTTO            TX      78634
Dorothy Claiborne                           1246 Roan                                       Lancaster        TX      75134
Dorothy Martinez                            15415 BIRDSTONE LN                              SAN ANTONIO      TX      78245
Dorothy Winchester                          9467 RANCH PARK WAY                             ELK GROVE        CA      95624
Dorra Mahjoubi                              1835 Round Lake Dr                              Houston          TX      77077
Dottie Grubbs                               334 Whippoorwill Lane                           Ridgeland        MS      39157
Doug Gooding                                1537 Withmere Way                               Atlanta          GA      30338
Dougie Saletel                              12494 Magnolia Bend Dr.                         Arlington        TN      38002
drew west                                   50th longsford                                  San Antonio      TX      78209
Dsiray Cole                                 12400 SHADOW CREEK PKWY                         PEARLAND         TX      77584
Duane Braithwaite                           2029 Yucca Drive                                Decatur          GA      30032
DUC NGUYEN                                  5039 Golden Eagle Dr                            Grand Prairie    TX      75052
Duluth Adventist Christian School, Duluth   2959 DULUTH HIGHWAY 120                         DULUTH           GA      30096
Dusti Pesl                                  P.O. Box 750                                    Rockdale         TX      76567
Dustin Field                                1214 Pinot Noir                                 New Braunfels    TX      78132
Dusty Takle                                 4837 Old Zebulon Road                           Concord          GA      30206
Duy Duong                                   110 72 Palmwood Dr                              GARDEN GROVE     CA      92840
Dwayne Martin                               4308 REBECCA CT                                 GRAND PRAIRIE    TX      75052
Dwight Landen                               3017 Gull Lake                                  El Paso          TX      79936
DYLAN K. PATEL                              24315 anida de monica                           YORBA LINDA      CA      92887
Ebonee Wheeler                              951 Marisa Lane                                 DeSoto           TX      75115
Ebony Gooch                                 3527 Millard Road                               Memphis          TN      38109
EBONY JORDAN                                950 East County Line Road                       JACKSON          MS      39157
Ebony Marshall                              220 stoneport dr #11103                         Dallas           TX      75217
Edelmira Martinez                           1500 LARKWOOD DR                                AUSTIN           TX      78723
Edith De Leon                               2302 E Texas Ave                                Baytown          TX      77520
Edith Deleon                                2302 E TEXAS AVE                                BAYTOWN          TX      77520
Eduardo Sandoval                            1010 Donohue Ln.                                Mission          TX      78572
edward jones                                5150 n 3rd ave apt c4                           san bernardino   CA      92407
Egie Kwon                                   1702 Larkspur Dr.                               Placentia        CA      92870
Ehize Lee                                   5549 Big Boat Drive Sw                          Atlanta          GA      30331
Eileen Bartsch                              22410 Sawston Drive                             Tomball          TX      77375
Eileen Kiliddjian                           22 Lenox Hill dr                                The woodlands    TX      77382
Eileen Schuchart                            3230 Medaris Ln                                 San Antonio      TX      78258
Elaine Brown                                9554 MAJESTIC OAK CIR                           SAN ANTONIO      TX      78255
Elaine Culpepper                            3601 Cape York Trace                            Alpharetta       GA      30022
Elaine Dolt                                 7895 Landowne Drive                             Atlanta          GA      30350
Elaine Pitt                                 1331 WESTMINSTER WALK NW                        ATLANTA          GA      30327
ELAINE WILLIAMS                             1514 HOLVECK                                    CEDAR HILL       TX      75104
Elaine Young                                1028 Della Dr                                   Lexington        TX      77040
Electra Burford                             4616 Saint Laurent Court                        Ft. Worth        TX      76126
Elena Dominguez                             11526 Windtree                                  San Antonio      TX      77040
Elena Martinez                              722 S Forest Ln                                 Duncanville      TX      75116
Elena Noriega                               5110 VILLAGE ROW                                SAN ANTONIO      TX      78218
Elena Tomilina                              1950 Eldridge Pkwy.                Apt. 1304    Houston          TX      77077
Elenore Meagher                             15625 risley ave                                whitter          CA      90603
Eleonora Leibman                            4513 Valerie St                                 Bellaire         TX      77401
Elethia Wauchope                            6832 Deer Trail Lane                            Stonemountain    GA      30087
Elica Garcia                                1598 Sutter Street                              Dallas           TX      75216
Elisa Sparkman                              3611 GENEVA DR                                  MURFREESBORO     TN      37128
Elisabeth Napierkowski                      13506 Pepperbush Court                          Houston          TX      77070
Elise Ellis                                 1925 DARTMOOR CT                                FORT WORTH       TX      76110
Elise Trent                                 2432 Camino Corso Rio                           San Clemente     CA      92673
Elisha Raiteri                              4849 Maggie Oaks Cv                             Bartlett         TN      38135
Elisha Taylor                               3249 Hummingbird Dr                             Nashville        TN      37218
Elisha Zuniga                               1000 RANCHWAY DR                   APT 54       LAREDO           TX      78045
Elizabeth Adams                             11776 CREEK POINT DR                            FRISCO           TX      75035
Elizabeth Alniswan                          8373 Dexter Road                                Cordova          TN      38016
Elizabeth Amaya                             3519 OAK PRESERVE                               WESLACO          TX      78599
Elizabeth Beal                              2701 RACQUET CLUB DR                            MIDLAND          TX      79705
Elizabeth Brown                             5911 Aspen Garden                               San Antonio      TX      78238
elizabeth Buelow                            1122 Daria Dr                                   Houston          TX      77079
Elizabeth Butler
Elizabeth Cerda                             2710 S Cedar Hollow Dr.                         Pearland         TX      77584
Elizabeth Chatham                           400 TWICKENHAM PL                               FRANKLIN         TN      37069
Elizabeth Cox                               622 Castano Ave.                                SAN ANTONIO      TX      78209
Elizabeth De La Luz                         13201 JACOBSON RD                               MANOR            TX      78653
Elizabeth De La Vega                        223 Northfork                                   Branson          MO      65616
Elizabeth Evans                             4238 JACK ST                                    HOUSTON          TX      77006
Elizabeth Garcia                            7574 Dancy Rd                                   San diego        CA      92126
Elizabeth Garza                             1603 PALMWOOD TRAIL                             ARLINGTON        TX      76014
Elizabeth Gregg                             3403 Southaven Drive                            Hattiesburg      MS      39402
Elizabeth Hagood                            17109 Whitetail Run                             Austin           TX      78737
Elizabeth Hay                               202 Lake Walden Cove                            Montgomery       TX      77356
Elizabeth Humphreys                         124 Alton Rd                                    Nashville        TN      37205
elizabeth hunter                            484 livestock drive                             rockwall         TX      75032
Elizabeth James                             12314 Shady Downs Drive                         Houston          TX      77082
Elizabeth Lopez                             2223 SPRING LAKE PARK LN                        SPRING           TX      77386
Elizabeth Mccoin                            5724 Ellsworth Ave                              DALLAS           TX      75206
Elizabeth Mere                              710 W. Sale Rd.                                 Lake Charles     LA      70605
Elizabeth Morris                            1312 Swims Valley Dr                            Atlanta          GA      30327
Elizabeth Ortiz                             1107 Country Court                              San Antonio      TX      78216
Elizabeth Petty                             161 E Oakview Pl                                San Antonio      TX      78209
Elizabeth Plake                             25502 Brisk Spring Ct                           Spring           TX      77373
Elizabeth Redden
Elizabeth Rodriguez                         3381 Ridgecrest Dr                              Powder Springs   GA      30127
     In re Parker School Case
                         Uniforms,18-10085-CSS
                                   LLC                    Doc 3   Filed 01/12/18    Page 67 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                           Address 2    City              State       Zip Code
Elizabeth Rounds              11322 Goddard Court                              Dallas            TX          75218
Elizabeth Saldivar            13831 Little Leaf Dr.                            SAN ANTONIO       TX          78247
Elizabeth Santikos            5422 Dumfries Drive                              Houston           TX          77096
Elizabeth Scripps             po box 2014                                      fredericksburg    TX          78624
Elizabeth Thomas              2902 AUBURN PATH                                 SUGAR LAND        TX          77479
elizabeth toribio             11903 Painted Canyon Dr                          Tomball           TX          77377
elizabeth velaso              7695 frazer dr                                   riverside         CA          92509
Elizabeth Webb                1603 W Dengar                                    Midland           TX          79705
Elizabeth West                129 Palo Blanco                                  San Benito        TX          78586
Elizabeth Wiliams             971 Calico Garden                                San Antonio       TX          78260
Elizabeth Wood                12 FALLING OAKS TRL                              AUSTIN            TX          78738
Ella Remitar                  8113 E Old Mill Ct                               Wichita           KS          67226
Ellen Ervin                   8954 Brunswick Farms Drive                       Arlington         TN          38002
Ellen Kennedy                 703 Kirkland Dr                                  Lexington         KY          40502
Ellen Smith                   101 N Ridge Trl                                  Prosper           TX          75078
Eloise Novotny                6122 sugar hill                                  Houston           TX          77057
Elsa Filosa                   807 18TH AVE S                      APT 306      NASHVILLE         TN          37203
elsa gomez                    8226 border mist                                 San Antonio       TX          78240
Elsa Nieto                    3401 Ocee St Apartment # 1312                    Houston           TX          77063
Elva Rominger                 3418 Hunters Walk                                San Antonio       TX          78230
Elvira Caceres                4007 Samuel Way                                  El Dorado Hills   CA          95762
Eman Youhes                   8861 E. Garden View Dr.                          Anaheim Hills     CA          92808
Emerald Academy, Knoxville    220 Carrick St                                   Knoxville         Tennessee 37921
Emery Byrd                    1748 E 71st Place                   Apt #3       Chicago           IL          60649
Emilia Ramos                  25802 Mount Carillon                             San Antonio       TX          78260
Emilia Torres                 418 Bexar Dr.                                    San Antonio       TX          78228
Emilie Clyde                  163 Cromwell Dr                     B            San Antonio       TX          78228
Emily Berner                  544 Billies Way                                  Meansvile         GA          30256
Emily Blackwell               2924 Jarrard Street                              Houston           TX          77005
Emily Brooks                  8235 COLONIAL WOODS                              BOERNE            TX          78015
Emily Burton                  1821 E. Sunset Drive                             Yazoo City        MS          39194
Emily Bussey                  PO BOX 134                                       ROLLING FORK      MS          39159
Emily Cook                    815 Wilcox Ave.                                  Covington         TN          38019
Emily Deiss                   12413 Pratolina Drive                            Austin            TX          78739
Emily Dopp                    16839 SONOMA RDG                                 SAN ANTONIO       TX          78255
Emily Estill                  3125 Scottish Trce                               Lexington         KY          40509
Emily Fraiser                 12416 Brothers Ave                               Louisville        KY          40243
emily griffith                2012 shaw skene rd                               cleveland         MS          38732
Emily Heitzmann               512 Ellerslie Lane                               Madison           MS          39110
Emily Herrera                 310 MONTPELIER DR                                SAN ANTONIO       TX          78228
Emily Leija Quinones          9250 Highway 49 E                                Yazoo City        Mississippi 39194
EMILY LOMAS                   2707 glenfield                                   dallas            TX          75233
Emily Pogue                   4309 Glenshire court                             McKinney          TX          75070
emily schulz                  3120 Edgewater Dr                                austin            TX          78733
Emily Shelton                 4420 CEDAR ELM CIR                               RICHARDSON        TX          75082
Emily Siemers                 1100 Timberlake Circle                           Edmond            OK          73034
Emily Spalding                4111 LEVONSHIRE DR                               HOUSTON           TX          77025
Emma Mailman                  2621 Riverglenn Cir                              Dunwoody          GA          30338
Emma Pedrero                  237 Rockwood Ave                    PMB 343      Calexico          CA          92231
emma perez depetris           950 CARDOVA DR NE                                ATLANTA           GA          30324
Emma Segura                   10012 Channel Island Drive                       Austin            TX          78747
Emma Wilson                   1210 Wynfield Drive                              Deer Park         TX          77536
Emme Eaton                    301 Goss Dr                                      Vicksburg         MS          39183
Emmew Zhou                    482 s Alhambra ave                               Monterey Park     CA          91755
Energized For Excellence      6109 Bissonnett St                               Houston           TX          77081
Enesha Hill                   po box 1915                                      dacula            GA          30019
ENIDA ULLMANN                 6629 Briar Ridge Ln                              plano             TX          75024
Erayna Harrison               11208 N. BRAUER AVE                              OKLA. CITY        OK          73114
Eric Brantley                 2790 Oakleigh Lane                               Germantown        TN          38138
Eric Fleske                   P.O Box 722760                                   Norman            OK          73070
Eric Watts                    22811 holly creek trail                          Tomball           TX          77377
Erica Alvarenga               7330 Pine Bower Court.                           Humble            TX          77346
Erica Caldwell                4202 Hampton Manor Lane                          Memphis           TN          38028
Erica Chance                  12412 PAGE CREST LN                              PEARLAND          TX          77584
Erica Jackson                 5505 Fog Hollow Lane                Apt 201      MEmphis           TN          38125
Erica King                    3310 Ohara S Drive                               Macon             GA          31206
Erica Lindsey                 3062 Woodland Pine Dr                            Lakeland          TN          38002
Erica Miller                  200 Cayuga Road                                  Louisville        KY          40207
Erica Montevirgen             11450 BUCK CYN                                   SAN ANTONIO       TX          78252
ERICA OWENS                   2616 LILLY STREET                                JACKSON           MS          39213
Erica Rains                   833 bayou vista dr.                              Marion            AR          72364
Erica Rangel                  608 Grande Teton St                              Cedar Hill        TX          75104
Erica Rodriguez               17706 Parkvalle place                            Cerritos          CA          90703
ERICA RUST                    4300 LILLYWOOD RD                                NASHVILLE         TN          37205
erica smith
Ericka Munoz                  3454 BANNING ST                                  DALLAS            TX        75233
Erika Aldrete                 2709 Chapote Loop                                Eagle Pass        TX        78852
Erika Anguiano                2618 WILDWOOD DR                                 WESLACO           TX        78596
erika chavira                 818 s oak cliff bld                              dallas            TX        75208
Erika Coffey                  11120 ALHAMBRA DR                                AUSTIN            TX        78759
Erika Curry                   3634 dial drive                                  stone mountain    GA        30083
Erika Del Bosque              7330 opportunity rd                              San Diego         CA        92113
Erika Estrada                 1011 mayford st                                  Houston           TX        77076
Erika Holland
Erika McKay                   2111 Landscape Way                               Richmond          TX        77406
Erika Mendez                  1226 Claylan                                     Seagoville        TX        75159
erika raz                     3531 w martin                                    san antonio       TX        78207
Erika Salazar                 1402 KAMAR DR                                    AUSTIN            TX        78757
Erika Sandoval                14222 Stoneshire St                              Houston           TX        77060
ERIKA SARMIENTO               2410 S. HANDLEY ST                               WICHITA           KS        67217
Erika Vinett                  937 Neuhoff lane                                 Nashville         TN        37205
Erin Aldana                   1408 Elm Street                                  Andover           KS        67002
Erin Black                    32 Saddle Club Dr                                Midland           TX        79705
     In re Parker School Case
                         Uniforms,18-10085-CSS
                                   LLC                             Doc 3   Filed 01/12/18   Page 68 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                                        Address 1                      Address 2    City              State   Zip Code
Erin Cosma                                  25019 ALLISON CT                            SPRING            TX      77389
Erin Dilger                                 3601 Spurr Rd                               Lexington         KY      40511
Erin Doherty                                6020 Pirun Court                            Austin            TX      78735
Erin Duplechin                              504 Becky Lane                              Lake Charles      LA      70605
Erin Holloway                               1826 Andover Lane                           Corinth           TX      76210
Erin Hur                                    1021 mandarin pl.                           Fullerton         CA      92833
Erin Mermelstein                            1672 Broughton Court                        Dunwoody          GA      30338
Erin Molina                                 354 Moore Drive                             Cecil             AL      36013
Erin Nelsen                                 438 Malvern Ave                             Fullerton         CA      92832
erin novak                                  2651 wilderness way                         new braunfels     TX      78132
Erin O'Donnell                              45 Vía Alivio                               Rsm               CA      92688
Erin Palmer                                 2218 Tedder blvd                            Murfreesboro      TN      37129
Erin Robertson                              113 Berryfield Cove                         Collierville      TN      38017
Erin Sontag                                 706 Eisenhower Way                          Simi Valley       CA      93065
Erin Williams                               2026 blue ribbon downs                      Lebanon           TN      37087
Erin Zeringue                               4117 Beau Chene Dr.                         Lake Charles      LA      70605
erishe Anderson                             3602 Cloverdale Rd                          Montgomery        AL      36111
Ernest Okyere                               26230 REDLANDS BLVD #50                     REDLANDS          CA      92373
Ernesto Narvaiz                             127 Farrel Dr                               San Antonio       TX      78227
Ernesto Stantillana                         2912 S GEVERS ST                            SAN ANTONIO       TX      78210
Ernie Hernandez                             4214 WINTRESS DR                            CHINO             CA      91710
Erum Kahn                                   501 s Rosebud C                             Anahiem           CA      92808
Erum Sethi                                  20133 UMBRIA WAY                            YORBA LINDA       CA      92886
Ervanta Ellis                               1363 Ashville Drive                         Memphis           TN      38127
Eryn Ebaugh                                 3628 Bellefontain St.                       Houston           TX      77025
Esceyayo Andu                               5109 GLEN VISTA DR                          GARLAND           TX      75044
Escondido Adventist Academy, Escondido      1301 DEODAR RD                              ESCONDIDO         CA      92026
esmeralda bustillos                         6039 verde way                              dallas            TX      75211
Esmeralda Henry                             835 Cutting Horse Dr                        Mansfield         TX      76063
Esmeralda Vasquez                           3535 Falling Leaf Lane                      San Antonio       TX      78230
Esperanza Rendon                            102 Vaughan Pl                              San Antonio       TX      78201
Esteban Zurita                              110 Kansas                                  Laredo            TX      78041
Estela Romero                               8314 WILMERDEAN ST                          HOUSTON           TX      77061
Estella De Luna                             11950 AUTUMN VISTA ST                       SAN ANTONIO       TX      78249
EsterMaria Alvarez                          756 middlecovedr                            Plano             TX      75023
Esther Chai                                 964 W 25TH ST                               UPLAND            CA      91784
Esther Garcia                               5610 MERKENS DR                             SAN ANTONIO       TX      78240
Esther Stich                                8114 Pintado                                Fair Oaks Ranch   TX      78015
Esther Yeung Whamond                        894 Sunwind Way                             Sacramento        CA      95831
Ethan Stack                                 3276 OSBORNE RD NE                          ATLANTA           GA      30319
Ethel Barber                                1213 Turtlepoint Ct                         Desoto            TX      75115
Eulalia Jones                               6430 SUNRISE GLEN LN                        SPRING            TX      77379
Eunice Bautista                             7855 Cameron Way                            Riverside         CA      92509
Eva Angel                                   4806 OWENWOOD AVE                           DALLAS            TX      75223
Eva Carter                                  2840 Glasscock Road                         Lewisburg         TN      37091
Eva Dix                                     8312 Lavender St                            Houston           TX      77016
Eva Jenkins                                 5190 GOLDEN FOOTHILL PKWY                   EL DORADO HILLS   CA      95762
Eva Robles                                  1970 Countryside Drive                      Frisco            TX      75034
Eva Weatherly                               1750 9th ave#201                            PORT ARTHUR       TX      77642
Evamarie Ghiggeri                           4308 Marley Dr                              Sacramento        CA      95821
Evan Goldberg                               5312 Tufts Street                           Davis             CA      95618
Evelina Espinoza                            1047 Avant Ave                              San Antonio       TX      78210
Evelyn Avila                                203 Gray St                                 San Antonio       TX      78208
Evelyn Carlisle                             305 Midnight Drive                          SAN ANTONIO       TX      78250
Evelyn Hawley                               18162 stratford circle                      VILLA PARK        CA      92861
Evelyn Holland                              12618 HUNTERS CHASE ST                      SAN ANTONIO       TX      78230
Evelyn Richardson                           2540 KLEMM ST                               NEW BRAUNFELS     TX      78132
Evelyn Sanchez                              3030 MEADE AVE                              SAN DIEGO         CA      92116
Evon Creger                                 413 Five Oaks Blvd                          Lebanon           TN      37087
Eyvette Hetherington                        4110 Turnberry Circle                       Houston           TX      77025
Fabi Freitas                                4505,Sanderling st                          Cumming           GA      30041
Fabienne Lundi                              8132 Buttercup st                           Jacksonville      FL      32210
Fabiola Castorena                           4498 buford hwy lot 414                     norcross          GA      30071
Fae Morris                                  3735 ECTOR ST                               BEAUMONT          TX      77705
Fairlie/Stafford Barton                     1209 Paces Forest Dr                        Atlanta           GA      30327
Faith Mathewson                             PSC 480 Box 587                             FPO               AP      96370
faith Ngotho                                5652 hillcrest dr                           ACWORTH           GA      30102
Fallon Foy                                  12203 Santa Gertrudes Ave      #1           La Mirada         CA      90638
fang hao                                    1515 S SUNKIST STREET          Suite A      ANAHEIM           CA      92806
Fang-Ying Lin                               6211 Havendale Dr                           Houston           TX      77072
Farah Ghosheh                               28481 Silverton Drive                       Laguna Niguel     CA      92677
Farah Siddiqi                               24115 Lindley St                            Mission Viejo     CA      92691
fatima nash                                 6 North Fazio Way                           spring            TX      77389
Fatou Domiwl                                34 Asbury Povic Ct                          Sugarland         TX      77040
FAUSTO GARCIA                               2108 NW MILITARY HWY                        SAN ANTONIO       TX      78213
faye gillespie                              228 charles st                              desoto            TX      75115
Fe Skinner                                  18703 Big Cypress Dr.                       Spring            TX      77388-5161
Federico Cardenas                           4210 TOLUCA ST                              LAREDO            TX      78046
Fedra Arredondo                             2213 S 48TH ST                              MCALLEN           TX      78503
Felicia Gunter                              8762 Montavesta Dr                          Germantown        TN      38139
Felicia Smith                               11050 Latting Road                          Eads              TN      38028
Felicity Williams                           5315 Valerie                                Bellaire          TX      77401
Felisa McClure                              1832 Venetian Dr Sw                         Atlanta           GA      30311
Feng Xiao                                   1476 Boone Way                              Placentia         CA      92870
Ferzana Jessa                               25 Teak Bridge                              Irvine            CA      92620
Firdous Prasla                              7615 westmoreland drive                     Sugarland         TX      77479
First Baptist Christian Academy, Pasadena   7500 FAIRMONT PKWY                          PASADENA          TX      77505
Flor Olivares                               7315 Stonewall Hill                         San Antonio       TX      78256
Flora TaBoada                               4726 Belmont Ave                            Dallas            TX      75204
Flora Trevino                               10514 SANGERBROOK DR                        HOUSTON           TX      77038
Flordy Martinez Ledezma                     27226 Trinity Bend                          San Antonio       TX      78261
Florence Nault                              364 Precita Ave                             San Francisco     CA      94110
Floyd James                                 3817 BELLAIRE BLVD                          HOUSTON           TX      77025
        In re Parker School Uniforms, LLC
                         Case
        Schedule E/F, #3.9         18-10085-CSS
                            - customer back-orders                              Doc 3   Filed 01/12/18          Page 69 of 134


Name                                               Address 1                            Address 2        City              State   Zip Code
Fort Bend Isd Special Programs : Fort Bend ISD :
Fort Bend ISD                                      16431 Lexington Blvd                                  Sugar Land        TX      77479
Francesca Rattray                                  232 West Lullwood Ave.                                San Antonio       TX      78212
Francesca Tentori                                  388 HIGHWAY 259                                       PORTLAND          TN      37148
Francin E Morgan-Voyce                             1950 Cenacle Lane                                     Carmichael        TX      77040
Francis Gunter                                     1810 Camacho PO                      apt 55           Dallas            TX      75201
Francisca Muthukrishnan                            1515 Del Rancho Dr                                    Irving            TX      75061
Francisca Ramirez                                  5714 justin st                                        Houston           TX      77016
francisco casetta                                  3817 bellaire                                         Bellaire          TX      77401
Frank Duong                                        1162 CLIFTWOOD DR                                     RIVERDALE         GA      30296
Frank Lugo                                         2699 Bridle Ridge Way                                 Buford            GA      30519
Frank Zou                                          1214 Heavens Peak                                     San Antonio       TX      78258
Fred Wells                                         573 Lake Cameron Drive                                Pike Road         AL      36064
Frederick Moreno                                   9213 Hunter Chase dr                                  McKinney          TX      75070
Fredrick N Croft                                   C/O Pmb#854 6333 East Mockingbird    Lane Suite 147   Dallas            Texas   77040
Frenithia Lister                                   1994 Bent Creek Way D302                              Atlanta           GA      30311
gabriel acevedo                                    1615 W. Lullwood ave.                                 san antonio       TX      78201
gabriel aponte                                     1860 driftwood ct                                     perris            CA      92571
Gabriela Ballesteros                               604 Rio Grande Dr                                     Mission           TX      78572
Gabriela Farias                                    6 Montique Ct                                         San Antonio       TX      78257
Gabriela Flores                                    112 Woodlands Dr                                      La Vernia         TX      78121
Gabriela Moreno
Gabriela Rodriguez                                 35 FIRESIDE DR                                        BROWNSVILLE       TX      78521
gabriella guitierez                                913 trinity ave.                                      port arthur       TX      77642
Gabriella Hovav                                    5232 Bolsa Avenue                    Suite 9          Hunington Beach   CA      92649
Gabriella Rauschuber                               11039 Whisper Valley                                  San Antonio       TX      78230
Gaby Gonzalez                                      3206 ELYS PATH                                        SAN ANTONIO       TX      78230
Gaby Satarino                                      6532 BRIARHAVEN DR                                    DALLAS            TX      75240
Gail Smith                                         11930 W Jennie                                        Wichita           KS      67212
Galileo Garcia                                     2654 Camino Del Ninos                                 Corona            CA      92882
Galleria Oaks Miscellaneous Account, San
Antonio                                            15909 SAN PEDRO AVE                                   SAN ANTONIO       TX      78232
Ganesh Prabu                                       1114 Spinnaker Ct                                     Irving            TX      75063
Gardner Lake                                       98 S WASHINGTON ST                                    BELLS             TN      38006
Garland Hamilton                                   2800 South General Wainwright                         Lake Charles      LA      70615
Gary Howard                                        2859 Hinsley ct                                       Macon             GA      31217
Gaylan Wyley                                       1124 Miramar Avenue                                   Desoto            TX      75115
Gayle Delmonte                                     305 Brookhaven Avenue                Apt 433          Atlanta           GA      30319
gayle fleming                                      2302 dunstan                                          houston           TX      77005
Gaylene Galliford                                  941 W. Buffalo Ave.                                   Santa Ana         CA      92706
Geetha George                                      5301 W SPRING CREEK PKWY             APT 1016         PLANO             TX      75024
genanw telaye                                      4220 village square land                              stone mountain    GA      30083
genesis bucaheqla                                  118 faust st                                          san antonio       TX      78237
Genet Arbisie                                      5212 Sunsail Dr                                       Antioch           TN      37013
Genevieve Lawhorn                                  1705 riverwood dr.                                    nashville         TN      37216
Genevieve Stiefvater                               11605 CHARLESBASS CV                                  EADS              TN      38028
Geoffrey Brown                                     25396 E. 727 RD                                       Tahlequah         OK      74464
George Adkison                                     1310 Eagle Creek Drive                                Floresville       TX      78114
George Dombart                                     207 BUSHBUCK PATH                                     SAN ANTONIO       TX      78258
George Gurganus                                    1106 Hackberry Dr                                     Marble Falls      TX      78654
George Jones                                       7817 Sickle circle                                    Dallas            TX      75241
Georgina Buggs                                     2808 Gravenhurst Court                                Columbus          OH      43231
Georgina Flores                                    589 W Granada                                         Rialto            CA      92376
Georgio job                                        2711 Grants Lakes Blvd               # 142            Sugar Land        TX      77478
Geraldine Phouangsavanh                            4619 Trembling Forest Lane                            Houston           TX      77092
Geralie FERNANDEZ                                  2638 LAKEFOREST COURT                                 Dallas            TX      75214
Geran Mahler                                       17827 Burnt Leaf Ln                                   Spring            TX      77379
Gerard Lopez                                       5315 Sunbright Ct.                                    Houston           TX      77041
Gerard Mccall                                      1908 East Ridge Circle                                Madison           MS      39110
Geri CFuz                                          32241 Crown Valley Pkwy., Ste. 200                    Monarch Beach     CA      92629
Gessenia Chavaro                                   12712 PEARSALL RD                                     ATASCOSA          TX      78002
Gethrel Wright                                     4495 FORTUNE LN                                       BEAUMONT          TX      77705
Gia Berryman                                       2714 w prairie creek drive                            Richardson        TX      75080
Gigi Nabonne                                       1803 S Crest Dr                                       Carrollton        TX      75006
Gilbert Aguilar                                    15505 ESS RD                                          ATASCOSA          TX      78002
Gillian Dodd                                       50 VIA CARTAMA                                        SAN CLEMENTE      CA      92673
Gina Chang                                         8342 E Quiet Canyon Ct                                Anaheim Hills     CA      92808
Gina Mccrory
Gina Pfeffer                                       29734 WINDCHIME HL                                    BOERNE            TX      78015
Gina Ramirez                                       310 PLYMOUTH LN                                       LAREDO            TX      78041
Ginger NeSmith                                     331 Lundy Road                                        Sylvester         GA      31791
Ginger Ramage                                      2810 24th Ave                                         Sacramento        CA      95820
Ginnifer Gee                                       14111 Oakland Mills                                   San Antonio       TX      78231
GINNY JARATT                                       112 CARLTON PLACE DR                                  VICKSBURG         MS      39180
Girish Bawa                                        8176                                                  Buena Park        CA      90620
Gisely Santos                                      6965 RENO CIR                                         BEAUMONT          TX      77708
gita kapur                                         5520 Jonesboro Way                                    Buena Park        CA      90621
gitanjali thakur                                   9216 Dillon Trail                                     Irving            TX      75063
Giulia Luca                                        10503 Haddington Dr                                   Houston           TX      77043
GLADYS PRISCILA ANGEL                              24138 vecchio                                         SAN ANTONIO       TX      78260
Glen Marshall                                      9065 SYDNEY CT                       UNIT 11102       SAN DIEGO         CA      92122
Glenda Alford                                      927 Ryan circle                                       Dallas            TX      75224
Glenda Fuentes                                     1271 COSTA DEL SOL                                    BROWNSVILLE       TX      78520
Glenisha Lipscomb                                  922 sundown Ln                                        Desoto            TX      75115
Glenn Jones
Glenna Weir
Gloria Abele                                       3158 Northaven Rd                                     Dallas            TX      75229
Gloria Alvarez                                     11232 Berkley Sq.                                     San Antonio       TX      78249
Gloria Garcia                                      2202 keck                                             San antonio       TX      78207
GLORIA JACKSON                                     8137 CARTER HILL RD                                   HAZLEHURST        MS      39083
Gloria Jaramille                                   619 WOODLAWN AVE                                      DALLAS            TX      75208
GLORIA PENA                                        OCOTLAN 23                                            MATAMOROS TAMPS   TX      87390
Glynn Brewer                                       206 Kiefer Dr.                                        Montgomery        AL      36109
        In re Parker School Uniforms,
                         Case         LLC
                                  18-10085-CSS                     Doc 3   Filed 01/12/18            Page 70 of 134
        Schedule E/F, #3.9 - customer back-orders


Name                                Address 1                              Address 2           City              State   Zip Code
Gopi Thakker                        7411 Sugar Maple Dr.                                       Irving            TX      75063
Gordon Newell                       6417 Faircove Cir                                          Garland           TX      75043
Goretti Taghva                      1902 Mcclean Drive                                         North Tustin      CA      92705
Govardhan Mullangichenchu           2632 Hammock Lake Drive                                    Little ELM        TX      75068
Gowoon Hwang                        156 Speckled Alder                                         Irvine            TX      77040
Grace Albis                         25590 Prospect Ave                     #50B                loma linda        CA      92354
Grace Francisco-Bauzon              9052 Woodlawn Drive                                        san Diego         CA      92126
Grace Galler                        5080 Barry Rd                                              Memphis           TN      38117
Grace Martin                        35 Shoreline Drive                                         Dana Point        CA      92629
Grace Mccrossen                     23026 WHISPER CYN                                          SAN ANTONIO       TX      78258
Grace Mitchell                      2315 Mistletoe Boulevard                                   Fort Worth        TX      76110
Grace Moore                         104 Cottonwood Court                                       Madison           MS      39110
Grace Perkins                       63 Grandview Loop                                          Selmer            TN      38375
Grace Sickler                       3906 Amherst St                                            Houston           TX      77005
Gracie Yanez                        3008 BULL RUN                                              TAYLOR            TX      76574
Graciela Benavidez
Graciela Lazaro                     8907 Vamita Jo.                                             Manor            TX      78653
Graciela Leal                       1406 Texas Ave.                                             San Antonio      TX      78201
Graciela Reyes                      6702 Colony Park Cv                                         Austin           TX      78724
graciela uribe                      413 rood road suite 8 building C                            calexico         CA      92231
Gracious Chanda                     1652 Oakmont Dr                                             Upland           TX      77040
Graham Mooney                       4239 Olive Oak Court                                        HOUSTON          TX      77059
Graham Spicer                       4311 East Meadow Drive                                      Duluth           GA      30096
Gregg Wolgast                       2752 Beacon Hill Ct                                         Wichita          KS      67220
GREGORY WALCOTT                     128 SPIRIT DRIVE                                            TONEY            AL      35773
Gretchen Bryars                     98 deer run rd                                              Hattiesburg      MS      39402
Gretchen Wickes                     6512 HILLSWICK DR                                           PLANO            TX      75093
Griffin Diamantis                   3860 Vermont Rd                                             Atlanta          GA      30319
Grigoria Tsarouhas-Tsaltinopoulos   4701 Preston Park Blvd                 # 2124               Plano            TX      75093
GRISEL GARCIA                       7 NIKIA DR                                                  San Antonio      TX      78248
Grizelda Santillana                 5510 DARLING ST                                             HOUSTON          TX      77007
Guadalupe Aranguena                 7516 N 3Rd street                                           Mcallen          TX      78504
Guadalupe Burnal                    1700 Jackson Keller Rd. #4702                               San Antonio      TX      78213
Guadalupe Granello                  270 Creekwood Dr                                            Lancaster        TX      75146
Guadalupe P. Mendez                 11208 Harlyn Bay Rd                                         AUSTIN           TX      78754
GUANNAN SU                          4661 LUCIENT CIRCLE                                         PLANO            TX      75024
Gurpreet Phokla                     20 Rosenblum                                                Irvine           CA      92602
Guy Riojas                          135 COSGROVE ST                                             SAN ANTONIO      TX      78210
Gwen Sirmans                        21 Bridgeview Drive                                         Rome             GA      30161
Gwendolyn Johnson                   1408 Waterford Court                                        Desoto           TX      75115
Gwendolyn L Williams                6811 Kingsway Dr                                            Houston          TX      77087
Gwendolyn Stone                     3100 Walnut Grove Rd                   Suite 501            Memphis          TN      38111
Gwyne McIntyre                      4466 Dorff Drive                                            Memphis          TN      38116
Ha nguyen                           3477 Rose Arbor Ct                                          Atlanta          GA      30340
Hadia Talha                         5350 old dowlen rd Apt#1025                                 Beaumont         TX      77706
Haiyan Zhang                        520 Newport Center Dr Ste 1600                              Newport Beach    CA      92660
Haley Clark                         651 Quilty St                                               Lake Charles     LA      70605
HALIMA YUSUF                        416 NORTH 2ND ST                                            nASHVILLE        TN      37207
Hallie Edenfield                    1213 Mayes Road                                             Toccoa           GA      30577
Hanna Hernandez                     3941 Proctor Street                                         Port Arthur      TX      77642
Hannah Abney                        6651 LAKESHORE DR                                           DALLAS           TX      75214
HANNAH COPELAND                     310 S Lake Ave                         ATTN HANNAH COPELAND RIDELAND         MS      39157
Hannah Dreher                       227 Westwood Dr                                             Cleveland        MS      38732
Hannah Law                          2835 N Lakewood Ave                    Apt 4A               Chicago          IL      60657
Haoliang Wu                         4444 Westheimer Rd                     Apt 491A             Houston          TX      77027
haoyang peng                        1515 s. sunkist st                                          Anaheim          CA      92806
Haraka Smith                        8627 OLD OAK DR                                             IRVING           TX      75063
Harish Kethireddy                   2505 Bugatti way                                            Cumming          GA      30041
Harlan Lampkin                      4007 Elm Stream Court                                       Fresno           TX      77545
harold hunter                       6807 oakridge dr.                                           San Antonio      TX      78229
Haroon Ahmed                        5107 Crown Ridge Drive                                      Wichita Falls    TX      76310
harper morrow                       1103 River Glyn Drive                                       Houston          TX      77063
Harpreet Kaur Chawla                4490 Ohio st.                                               Yorba Linda      CA      92886
Harriet Buen                        896 Maikai St                                               Makawao          HI      96768
Harriett Rehman                     2314 Encino Mist                                            San Antonio      TX      78259
Harry Phillips                      2510 Sunset Pl                                              Nashville        TN      37212
Haydee Arteaga                      4716 East Wisconsin Rd Unit B                               Edinburg         TX      78542
Hayley Gardner                      1900 TALL CHIEF                                             LEANDER          TX      78641
Hayley Schwartz                     19502 Whittenburg                                           San Antonio      TX      78256
Heather Alpert                      353 Glen Arden PL NW                                        Atlanta          GA      30305
Heather Arambarri                   25192 Darlington                                            Mission Viejo    CA      92692
Heather Booher                      304 E First Ave                                             Franklin         KY      42134
Heather Bowman                      6415 WIMBLEDON VILLAS DR                                    SPRING           TX      77379
Heather Brunt                       414 Kearns Cr                                               Atoka            TN      38004
Heather Buen                        1016 Reed St                                                Hurst            TX      76053
Heather Burns                       6123 Hickorycrest Dr                                        Spring           TX      77389
Heather Cruz                        5425 Sunnybrook Dr                                          Louisville       KY      40214
Heather Esterson                    5395 Highpoint Manor                                        Atlanta          GA      30342
Heather Flores                      906 Estate Dr                                               Hutto            TX      78634
Heather Frost                       4040 Alderbrook Ln                                          Roanoke          TX      76262
Heather Ghiselin                    510 Walnut Bend Lane                                        Houston          TX      77042
Heather Guereca                     5804 VALERIE WAY                                            SAN BERNARDINO   CA      92407
Heather Hager                       8104 MIDWAY DEPOT                                           SAN ANTONIO      TX      78255
Heather Harrison                    2515 Ashton Village Drive                                   San Antonio      TX      78248
Heather Hart                        9474 HIGHLAND BEND CT                                       BRENTWOOD        TN      37027
Heather Holzapfel                   4105 WINTERBERRY RD                                         CUMMING          GA      30040
HEATHER HUDDLESTON                  17119 S IVY CIR                                             HOUSTON          TX      77084
Heather Johnson                     2190 St. Lawrence St.                                       Riverside        CA      92504
Heather Kopnicky
Heather Morris                      3007 Braintree Rd                                          Franklin          TN      37069
Heather Neumann                     759 North Mt Carmel Street                                 Wichita           KS      67203
Heather Pyle
Heather Rifkin                      725 Latour Drive                                           Atlanta           GA      30350
     In re Parker School Case
                         Uniforms, LLC
                                 18-10085-CSS                              Doc 3   Filed 01/12/18        Page 71 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                                          Address 1                            Address 2        City               State   Zip Code
Heather Sharpe                                2302 Ashford Dr                                       Albany             GA      31721
Heather Shelton                               4527 Hwy 18                                           Brandon            MS      39042
Heather Sisemore                              7828 Highway 100                                      Nashville          TN      37221
Heather Smith                                 1800 Western Justice                                  Leander            TX      78641
heather solaas                                1627 W Crestwood                                      MEMPHIS            TN      38119
Heather Steigerwald                           105 THICKET LN                                        HENDERSONVILLE     TN      37075
Heather Talbot                                6612 HOLLISTER ST                                     Montgomery         AL      36116
Heather Thompson                              6118 Fulton Meadows Lane                              Houston            TX      77092-7557
Heather Vancil                                6020 W PARKER RD                     STE 430          PLANO              TX      75093
Heather Vescovo                               2339 Hickory Forest Dr                                Memphis            TN      38119
Heather Wallace                               220 Calle Cortez                                      San Clemente       CA      92672
Heather Wildermuth                            51 augusta                                            coto de caza       CA      92679
Heatherdawn Wadleigh                          27592 Soncillo                                        Mission Viejo      CA      92691
Heavenlee Jacobs                              224 spring creek road                                 Oklahoma           OK      73117
Hector Herrera                                6630 Park Lane                                        Houston            TX      77023
Hector Rodriguez                              1026 Fulton Ave                                       San Antonio        TX      78201
Hee Jeong Kim                                 66 Clear Night                                        Irvine             CA      92602
Heidi Bell                                    3231 N Loop 1604 W                   #1312            San Antonio        TX      78257
Heidi Lamberg                                 109 Paradise Drive                                    Hendersonville     TN      37075
Heidi Lemarr                                  406 Hemlock Drive                                     Grand Prairie      TX      75052
Heidi Mitchell                                16007 HUEBNER CRST                                    SAN ANTONIO        TX      78248
Heidi Qoul                                    46 Bennington                                         Irvine             CA      92620
heidi tapia                                   406 n bewley st                                       SANTA ANA          CA      92703
Heidi Tran                                    3910 STONEY BROOK DR                                  HOUSTON            TX      77063
Heidi Wooderson                               10339 red iron creek                                  Converse           TX      78109
Helen Chen                                    76 Statuary                                           Irvine             CA      92620
Helen Farjad                                  5435 AVENIDA DEL TREN                                 YORBA LINDA        CA      92887
helen simotas
Helen Weekley                                 1911 W. 39th St.                                      Austin             TX      78731
Helen Witt                                    9723 Tralee                                           Dallas             TX      75218
Helena Liu                                    2082 Arnold Way                                       Fullerton          CA      92833
helise mack                                   6219 Pow Wow Dr.                                      San Antonio        TX      78238
hellen zhang                                  55 TESORO                                             IRVINE             CA      92618
Herbert Cruiz                                 308 Beckley Ave                                       Dallas             TX      75232
Herlinda Farias                               4691 Beaver Pond Dr                                   Brownsville        TX      78520
HERMAN GUO                                    5738 JASPER STREET RANCHO COCAMONGA                   LOS ANGELES        CA      91701
Herminia De leon                              7201 Hillcroft Dr                                     Austin             TX      78724
Hesham Hassan                                 408 w grove st                                        Pomona             CA      91767
Hilary Brawnen                                7734 GREAT PECAN LN                                   SUGAR LAND         TX      77479
hilary walbridge                              2542 N HIGH POINT CIR                                 WICHITA            KS      67205
Hilda Lopez                                   852 County Rd                      Cr 2744            Mico               TX      78056
Hillary Benton Gainous                        205 Cantrell Ave                                      Nashville          TN      37205
Hillary Degroote                              6703 Avalon                                           Dallas             TX      75214
Hillary Rothey                                5 Calle Boveda                                        San Clemente       CA      92673
Hiren Patel                                   680 Hawkcrest Circle                                  Sacramento         CA      95835
Hollie Sloss                                  3421 Fisherville Woods Ct.                            Fisherville        KY      40023
Hollis Langdoc                                6856 CHANTILLY LN                                     DALLAS             TX      75214
Holly Clay                                    3603 VALENCIA PEAK                                    SAN ANTONIO        TX      78261
Holly Craig                                   1696 Windsor Parkway Northeast                        Atlanta            GA      30319
holly delaune                                 73 breezeway                                          boerne             TX      78006
Holly Dinesh                                  2011 Rice Mill Dr.                                    Katy               TX      77493
holly hawkins                                 207 Richbriar Street                                  Memphis            TN      38120
Holly Lemons                                  6539 Ellsworth Avenue                                 Dallas             TX      75214
Holly Mcmillan                                5736 Mill Shire Lane                                  Dunwoody           GA      30338
Holly Murphy                                  11724 Lake Stone Drive                                Austin             TX      78738
Holly Peery                                   5301 Patrick Henry St                                 Bellaire           TX      77401
Holly Permeh                                  25791 Nellie Gail Rd.                                 Laguna Hills       CA      92653
Holly Splawn                                  2407 COUNTY ROAD 2585                                 ALVORD             TX      76225
hollye johnson                                6003 HANGING MOSS RD                                  JACKSON            MS      39206
Holy Innocents Episcopal School, Atlanta      805 MOUNT VERNON HWY                                  ATLANTA            GA      30327
Hong Albright                                 3475 Vinings North Trail SE,                          Smyrna             GA      30080
HONG YIN                                      10995 wurzbach rd #705                                SAN ANTONIO        TX      78230
Hong Zhang                                    2638 E Temblor Ranch Dr                               Brea               CA      92821
Hongning Wang                                 22302 Mesa Path                                       San Antonio        TX      78258
Hortencia Ramirez                             10708 Lanshire Dr.                 #B                 Austin             TX      78758
HOWARD HUANG                                  800 S YORBA LINDA ST                                  ORANGE             CA      92869
hubert Brown                                  PO Box 2237                                           Midland            TX      79702
Huong Cao                                     601 st. George                                        Richardson         TX      75081
Huy Hoang Nguyen                              28 Redberry                                           Irvine             CA      92618
Huy Tran                                      206 N Newhope St.                  Apt 206 B          Santa Ana          CA      92703
Huzefa Kachwala                               2617 W Royal Ln Apt 2305                              Irving             TX      75063
Hy Ly                                         1104 Catalpa Circle                                   Irving             TX      75063
Hyun Shvartsman
Hyunhee Yu                                    9413 Colleton Way                                     Montgomery         AL      36117
Iacopo Rossi                                  1143 Meadow Lake Dr                                   Houston            TX      77077
Ian Fatzinger                                 2026 Galbraith Dr                                     Nashville          TN      37215-3407
I'Ashea Myles- Dihigo                         3031 Weston Blvd.                                     Murfreesboro       TN      37128
Ida Joiner                                    2902 Franciscan Driv                 Apartment 1538   Arlington          TX      76015
Ida Ruiz                                      2003 BLACK BASS                                       SAN ANTONIO        TX      78224
Idali Tilley                                  15700 Sugar Loaf Drive                                Edmond             OK      73013
idalith santiago                              11041 CAMINITO ARCADA                                 SAN DIEGO          CA      92131
Idette Harrison                               7193 Grapetree Trail                                  Cordova            TN      38018
Ignacio Ybarra                                1702 Orchard Lane                                     Carrollton         TX      75007
Ihssan B faouri                               10971 Deer Canyon dr                                  Rancho Cucamonga   CA      91737
IJEOMA NNANNA                                 3627 THISTLE ST                                       HOUSTON            TX      77047
Iliana Saucedo                                19302 KRISTEN PINE DR                                 HUMBLE             TX      77346
Iliana Webber
Ilianna Solano                                5527 Darling Street Unit A                            Houston            TX      77007
Imari Wyatt                                   2514 Isabella St                                      Houston            TX      77004
Imran Alwageeh                                3284 Richland View Ln                                 Bartlett           TN      38133-1805
Ina Oddy                                      7172 Rhodes Lane                                      Lascasses          TN      37085
Incarnate Word Academy - Middle Lvl, Corpus
Christi                                       2917 AUSTIN ST                                        CORPUS CHRISTI     TX      78404
       In re Parker School Uniforms,
                        Case         LLC
                                 18-10085-CSS                 Doc 3   Filed 01/12/18    Page 72 of 134
       Schedule E/F, #3.9 - customer back-orders


Name                            Address 1                             Address 2    City                  State   Zip Code
Inda Lee                        229 Tulip Ln                                       Cedar Hill            TX      75104
India Blatt                     6377 Baird Lane                                    Bartlett              TN      38135
Ines Hermoso                    1810 Wood Ledge Place                              Dallas                TX      75208
Ingrid Cheskes                  5306 WOODWAY DR                                    HOUSTON               TX      77056
Ingrid Murrell                  3232 Beven Dr.                                     Escondido             CA      92027
Ingrid Sullivan                 500 Lorraine Dr                                    Southlake             TX      76092
Inshirah Jihad                  2621 Stardust trail                                Decatur               GA      30034
Irene Denault                   15835 E Sharon Ln                                  Wichita               KS      67230
irene rodriguez                 15 East 26th Street Apt 18C                        New York              NY      10010
Irene Terano                    1126 S Cedar Ridge                                 Duncanville           TX      75137
Irene Zakula                    8950 Rolling Acres Trail                           Boerne                TX      78015
Irene Zbierski                  24603 Stewart                                      Loma Linda            CA      92354
iris zhang                      5413 alder circle                                  Bellaire              TX      77401
Irma Moncayo                    15 Etude Ct                                        The Woodlands         TX      77382
IRMA VALADEZ                    18902 SALADO CYN                                   SAN ANTONIO           TX      78258
Isabel Aceves                   6709 Hollis Ave                                    Mesquite              TX      75227
Isabel Alvarez                  2537 FOOTHILL DR                                   VISTA                 CA      92084
Isabel Casillas                 2060 Hawkins way                                   Spring valley         CA      91977
Isabel Collier                  3336 Grass Creek Ct                                Antelope              CA      95843
Isabel Gonzalez                 8347 Deep Green Drive                              Dallas                TX      75249
Isabel Lara                     309 Glenarm                                        San Antonio           TX      78201
Isabell Stoltz                  226 Lakeridge Drive                                San Antonio           TX      78229
Isacc Moreno                    4168 DANIEL lane                                   Lancaster             TX      75134
Isangie Lajara                  909 Ember Ct                                       Stockbridge           GA      30281
Isela Raymond                   3917 Weeburn Drive                                 DALLAS                TX      75229
Isela Villareal                 8815 MISSION TOP                                   SAN ANTONIO           TX      78223
Iska Wire
iuliana ladewig                 13819 saddlers woods drive                         humble                TX      77346
Ivan Reek                       973 Driftwood Cricle                               Banning               CA      92220
Ivonne De La Garza              1304 Wagon Wheel Rd.                               Eagle Pass            TX      78852
IVONNE MEZA                     2862 FENWICK PLACE                                 RIVERSIDE             CA      92504
Ivy Lin                         2813 water course dr                               diamond bar           CA      91765
J Newton                        138 Timberline Dr                                  Franklin              TN      37069
J.I. Zambrano                   10050 Holly Chase Drive                            Houston               TX      77042
Jacinto Rodriguez               12801 Crestwind Drive                              Pearland              TX      77584
JACK BRIONES                    614 ROBINHOOD Pl                                   San Antonio           TX      78209
Jackie Ashman                   30451 VIA VENTANA                                  SAN JUAN CAPISTRANO   CA      92675
jackie bryant                   6308 wild grove dr                                 antioch               TN      37013
Jackie F. Parham                8125 Greyfield Dr                                  Montgomery            AL      36117
Jackie Foncerrada               1660 Briarwyck                                     Brownsville           TX      78520
Jackie Grimaud                  11185 Socorro Ct                                   San Diego             CA      92129
Jackie Pais                     83 WATERTREE DR                                    SPRING                TX      77380
Jackie Price                    24 Corte Vidriosa                                  San Clemente          CA      92673
Jackie Solano                   2144 Alder St                                      Leavenworth           KS      66048
Jackie Tardy                    146 Brighton Rd NE                                 Atlanta               GA      30309
jackie thompson                 3061 e athena ave                                  gilbert               AZ      85257
Jackie Tran                     6952 clipper Dr                                    Grand Prairie         TX      75054
Jackie Volentine                105 lakewood dr                                    Waxahachie            TX      75165
Jacky Jeoung                    3395 Lebon drive, #204                             San Diego             CA      92122
Jaclyn Snyder                   16 Fairview Lane                                   Aledo                 TX      76008
Jacob Valdez                    9103 SHADYSTONE DR                                 SAN ANTONIO           TX      78254
JACOBI CAMPBELL                 416 BELL RD                                        NASHVILLE             TN      37217
Jacque Ephraim-Jeffersob        6134 Veranda Way                                   Dallas                TX      75241
JACQUELINE ALEXANDER
Jacqueline Duffy                422 Penstemon Trail                                San Antonio           TX      78256
Jacqueline Ibarra               8116 5th St                                        Downey                CA      90241
Jacqueline Miller               105 TANA DR                                        FAYETTEVILLE          GA      30214
Jacqueline Skrivanek            926 River Terrace                                  New Braunfels         TX      78130
Jacqueline Thomas               3514 HOLMES ST                                     DALLAS                TX      75215
Jacqueline White                4321 hollow tree court.                            Yorba Linda           CA      92886
Jacquelyn Husers
Jacquelyn Martin                1555 N. Isadora Way                                Ontario               CA      91764
JACQUI MARKER                   23 BANCROFT PL                                     NASHVILLE             TN      37215
Jacqui Thompson                 1412 Metropolitan                                  Dallas                TX      75215
Jacquie Grindall                8515 Espanola Dr                                   Helotes               TX      78023
Jacquie Willson                 325 CORNERSTONE DR                                 BRANDON               MS      39042
Jaden Lee                       16216 Promontory PL.                               La Mirada             CA      90636
Jadie Martin                    810 Bartlett Road Apt # 9                          Memphis               TN      38122
JAIME CALOCA
JAIMELYNN SHAH                  795 S Edgeview Circle                              Anaheim               CA      92808
JAIMINI PATEL                   7208 FEIRWOODS PLACE                               MONTGOMERY            AL      36117
Jalen Hemphill                  604 Fort Worth Avenue                              Dallas                TX      75208
Jalissa Rodriguez               12660 Uhr Ln #107                                  San Antonio           TX      78217
Jama Killingsworth              109 Cornerstone Rd                                 HATTIESBURG           MS      39402
Jamaal Muhammad                 1318 Harvesthill Ln                                Lancaster             TX      75146
Jamal Obeid                     25325 GINGER RD                                    LAKE FOREST           CA      92630
Jamar Cottee                    7235 SIERRA WAY                                    DALLAS                TX      75241
Jameel Siddiqui                 270 Abington Dr                                    Sandy Springs         TX      77040
James Dalke                     3018 Glasgow Court                                 Arlington             TX      76015
James Fountain                  5595 Avie Lane                                     Beaumont              TX      77708
James Hanley                    4567 Lionshead Circle                              Lithonia              GA      30038
james Jack                      1821 maple glen rd                                 sacramento            CA      95864
James Lewis                     1230 Peachtree St.                    Suite 1075   Atlanta               GA      30309
james marks                     100 Oakmont Place                                  Lebanon               TN      37087
James Moore                     2021 Gallatin Pike North                           Madison               TN      37115
James Mullican                  9306 GRIST MILL CT                                 BRENTWOOD             TN      37027
James O'Byrne                   4124 Costero Risco                                 San Clemente          CA      92673
Jameshia Trenell                4585 Hudgins Road Apt. 1                           Memphis               TN      38116
Jami Granner                    1135 Mariemont Ave                                 Sacramento            CA      95864
Jamica Scheaffer                1188 Dustin Court                                  Stone Mountain        GA      30088
Jamie Branting                  10223 CANDLEWOOD DR                                HOUSTON               TX      77042
Jamie Christy                   1412 Market St.                                    Galveston             TX      77550
Jamie Daily                     15311 Antler Creek Dr                              San Antonio           TX      78248
          In re Parker School Uniforms, LLC
                          Case 18-10085-CSS
          Schedule E/F, #3.9 - customer back-orders
                                                               Doc 3   Filed 01/12/18              Page 73 of 134


Name                               Address 1                           Address 2              City               State   Zip Code
JAMIE DAVIS                        1610 OAK SHADOWS ST                                        BAYTOWN            TX      77520
Jamie Elliott                      3004 Southaven Drive                                       Hattiesburg        MS      39402
Jamie Gates                        390 Wildwood Drive                                         Cecil              AL      36013
Jamie Handler                      1856 Vinings Mill Walk                                     Smyrna             GA      30080
Jamie Koustas                      11257 Acama St.                                            Studio City        CA      91602
Jamie Lander                       1206 Chadwick Lane                                         Montgomery         AL      36117
Jamie McKee                        2212 Higgins Ln                                            Murfreesboro       TN      37130
Jamie Mergell                      4040 Willow Run                                            Flower Mound       TX      75028
Jamie Mitros                       3905 Wood lake dr                                          Plano              TX      75093
jamie pruett                       4419 SUMNER DR                                             HOUSTON            TX      77018
Jamie Reeves                       660 Harpeth Knoll Rd                                       Nashville          TN      37221
Jamie Rodriguez                    7330 opportunity rd st f                                   San Diego          CA      92113
Jamie Ross                         8235 habersham waters rd            Noctober Productions   Sandy Springs      GA      30350
Jamie Stallworth                   548 Callis Road                                            Lebanon            TN      37090
Jamie Stanley                      14410 Long Meadow Drive                                    Houston            TX      77047
Jamie Thompson                     4037 brandywine pt blvd                                    old hickory        TN      37138
Jamie Vallecorsa                   1544 BEDFORD CMN                                           FRANKLIN           TN      37064
Jamie Yamas                        21522 KENMARE DR                                           LAKE FOREST        CA      92630
JAMINE HAIETON                     3347 NEAL WAY                                              ELLENWOOD          GA      30294
Jan Fertitta                       7907 SKYLINE DR                                            HOUSTON            TX      77063
jan Hollis                         8101 N.W. 84 Street                                        Oklahoma City      OK      73132
Jan Reese                          16222 Perrin Circle                                        Riverside          CA      92503
Jan Schott                         1835 Cottage Landing Lane                                  Houston            TX      77077
Jana Gillis                        122 Susan Lane                                             Brandon            MS      39042
jana johnson                       524 silverstone drive                                      madison            MS      39110
Jana Kyle                          9501 Grovecrest Cove                                       Germantown         TN      38139
Jana Weathersby                    2620 Dibrell Trail Dr                                      Collierville       TN      38017
Jana Williams                      8885 Rankin branch                                         Millington         TN      38053
Janae Pullins                      706 Corinthian Olace                                       Duncanville        TX      75137
Jane Brill
Jane Dabney                        2311 Mid Lane Apt 502                                      Houston            TX      77027
Jane Johnson                       1065 Ridgecrest Drive                                      Kingston Springs   TN      37082
Jane Morgan                        5101 rising Oak Ct                                         Loisville          KY      40245
jane pancheri                      2038 Albans Rd                                             Houston            TX      77005
Jane Poquiz                        5401 Vicksburg Drive                                       Arlington          TX      76017
Janee Mejia                        914 WASHBURN DR                                            LEANDER            TX      78641
Janeece Moreland                   2696 TWELVE OAKS LN                                        PROSPER            TX      75078
Janell McGregor                    11639 Trailmont Dr                                         Houston            TX      77077
Janelle Barajas                    3504 Stevens Dr                                            Bryan              TX      77808
Janelle Moore                      362 Rexford Dr                                             San Antonio        TX      78216
Janelle Smith                      7708 Stone Arbor Lane                                      Pearland           TX      77581
Janet Elrod                        111 Pine Grove Rd                                          Mount Juliet       TN      37122
Janet Fischer                      32 Via Regalo                                              San Clemente       CA      92673
janet flood                        2317 elmen st                                              Houston            TX      77019
Janet Giordano                     10590 Bent Ridge Cove                                      Lakeland           TN      38002
Janet Harrison                     4415 Manitou Bay                                           San Antonio        TX      78259
Janet Iseman                       15200 W. Talopa Cir.                                       Goddard            KS      67052
Janet Jones                        3271 Spring Valley Cove                                    Memphis            TN      38128
Janet Leal                         155 Candlewick Ct.                                         Brownsville        TX      78521
Janet Luke
Janet Martinez                     12123 Harris Hawk                                          San Antonio        TX      78253
Janet McKnight                     12000 MLK BLVD.                                            Houston            TX      77048
Janet Meeks                        2123 Cactus Court                                          Keller             TX      76248
Janet Mefrige                      5014 SUMMIT PASS                    APT 3                  SAN ANTONIO        TX      78229
Janet Radford                      2502 EAGLERIDGE LN                                         CORDOVA            TN      38016
Janet Ramos                        551 E RIVERSIDE DR                  APT 132                ONTARIO            CA      91761
Janet Salazar                      3418 MOUNT WASHINGTON ST                                   DALLAS             TX      75211
Janet Sutton                       11802 SHOTGUN WAY                                          HELOTES            TX      78023
Janet Waites                       12815 Canyonwind Rd                                        Riverside          CA      92503
Janey Spellmann                    3400 COWDEN DR                                             AUSTIN             TX      78732
Jang Yoon Ji                       94 Birmingham                                              Irvine             CA      92620
Janice Contreras                   2506 Watts St                                              Houston            TX      77030
Janice Hornsby                     523 Hokesmith                                              Dls                TX      75226
Janice Moore                       3705 Wickersham Lane                                       Houston            TX      77027
Janice Vick                        5020 Cobblestone Creek Dr.                                 WHITES CREEK       TN      37189
Janice Wilkerson                   193 WOODLAKE Drive                                         Gallatin           TN      37066
Janie Ramirez                      1619 Parnell                                               San Antonio        TX      78224
Janine Guerrero                    22226 GOLDCREST RUN                                        SAN ANTONIO        TX      78260
Janine Reintjes                    2808 Hatley Dr.                                            Austin             TX      78746
Janine Rezabek                     920 Riverhaven Dr                                          Suwanee            GA      30024
Janna Branch                       24 Mill Creek Cove                                         Jackson            TN      38305
Janna Hamstra                      17123 Eagle Hollow Dr                                      San Antonio        TX      78248
Janna Morgan                       3300 Carmel St                                             Denton             TX      76205-8354
Janna Shuford                      6733 Joyce Way                                             Dallas             TX      75225
janneth Lozano                     25925 Barton Rd.                    Unit #1237             Loma Linda         CA      92354
JANOIS TILLMAN                     1950 BURNHAM AVE                                           MEMPHIS            TN      38127
Jaqueline Nguyen                   9977 Princeton St                                          Cypress            CA      90630
Jasmine Haggerty                   220 E. Overton Rd.                                         Dallas             TX      75216
jasmine peden                      23 brookhaven dr                                           atlanta            GA      30319
Jason Blount                       1889 Roble Drive                                           Atlanta            GA      30349
Jason Cantu                        5106 Staplehurst                                           San Antonio        TX      78228
Jason Caros                        1010 Bellaire Blvd                                         Lewisville         TX      75067
Jason Desilets                     1200 Envoy Circle                   Suite 1204             Louisville         KY      40299
Jason Faulkner                     113 w cedar dr                                             Granite Shoals     TX      78654
Jason Reimbold                     202 Burtonwood Cir                                         Ovilla             TX      75154
Jason Underwood                    3301 Trinty Rd.                                            Louisville         KY      40206
Jasper Classical Academy, Jasper   1501 S WHEELER ST                                          JASPER             TX      75951
JAUNKO THOMAS                      3195 LE BRON ROAD                                          MONTGOMERY         AL      36106
Javeria Ahmed                      3625 Cobb Road                                             Lakeland           TN      38002
Javier Martinez                    23902 Via Renata Drive                                     Richmond           TX      77406
Javier Tinajero                    1313 Limerick Dr                                           Fort Worth         TX      76134
Jay Swift                          335 Tigris Way                                             John's Creek       GA      30022
Jayline lewis                      920 Barbara Dr                                             Memphis            TN      38108
     In re Parker School Uniforms, LLC
                         Case 18-10085-CSS               Doc 3   Filed 01/12/18     Page 74 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                          Address 2    City              State   Zip Code
Jaymie Forrest                135 Dunwoody Creek Court                        Atlanta           GA      30350
Jayna Walterscheid            613 North Main Street                           Muenster          TX      76252
Jazzmine Martin               903 Hummingbird Dr.                             Desoto            TX      75115
Jean Hurst                    2105 Liberty Drive                              Woodland          CA      95776
JEAN KAHZZOUN                 12410 ALAMEDA TRACE CIR APT 2122                AUSTIN            TX      78727
Jean McMorran                 4321 COYLE ST                                   HOUSTON           TX      77023
Jean Simmons                  324 Starling Lane                               Franklin          TN      37064
Jean White                    551 MANNSDALE RD                                MADISON           MS      39110
Jeanette Brackett             1091 WINTERBROOK WAY                            AUSTELL           GA      30168
Jeanette Bunch                500 mountain view lane                          Pipe Creek        TX      78064
Jeanette Huizar               14811 POPLAR PASS                               SAN ANTONIO       TX      78254
Jeanette Schartner            12511 SKYLINE VIS                               SAN ANTONIO       TX      78253
Jeanna Commans                310 Rodarte Place                               Placentia         CA      92870
Jeanna Harris                 16110 Rill Ln                                   Houston           TX      77062
Jeanne Surdak                 567 Shadowbrook act.                            Redlands          CA      92374
Jeanne Whittaker              33772 Big Sur                                   Dana Point        CA      92629
Jeannette Cavazos             5531 Meadow Creek Ln                            Houston           TX      77017
Jeannette Zamora-Valdez       7606 PETERS STREET                              RIVERSIDE         CA      92504
Jeannie Morgan                115 Upper Balcones Rd                           Boerne            TX      78006
Jeannine Jefferson            4907 Marianne Ln                                Memphis           TN      38117
Jeannine Vincent              1820 MILFORD ST                                 HOUSTON           TX      77098
Jeff Blankenship              959 GRAYSON LN                                  JACKSON           TN      38305
Jeff Chenu                    7701 Garden Hwy                                 Sacramento        CA      95837
Jeff Dreher                   1153 Mcwimus Road                               Merigold          MS      38759
JEFF HILL                     1119 WHITETOWN LANE                             HAZELHURST        MS      39083
Jeff Ivy                      331 Wycliffe Dr                                 Houston           TX      77079
Jeff Nyberg                   10776 Reyes Canyons                             Helotes           TX      78023
Jeff Stora                    2 David Street                                  Ladera Ranch      CA      92694
Jeff Tomlinson                1321 Upland Dr #944                             Houston           TX      77043
Jeffery Polk                  2095 Chadwick Glen                 #3           Cordova           TN      38016
Jeffrey Burrier               113 Comal Run                                   Bulverde          TX      78163
Jeffrey Pampell               5618 BOUGH CT                                   HOUSTON           TX      77092
Jeffry Schneider              13413 GALLERIA CIR                 STE 150      AUSTIN            TX      78738
Jen Coughlan                  1830 BARNSTAPLE LN                              BRENTWOOD         TN      37027
Jen Inman                     2615 Edgewood lane                              Lake Charles      LA      70605
jen spoon                     7104 Yellowdog Rd                               Senatobia         MS      38668
Jena Mardell                  30209 Stterfeld Circle                          Fair Oaks Ranch   TX      78015
Jenifer Garcia                2047 W Natal Cir                                Mesa              AZ      85202
JENIN FERROND
Jenisha Byrd                  1424 Marline Place                              Desoto            TX      75115
Jenn Freeman                  3800 agape ln                                   austin            TX      78735
jenn spreen                   176 fieldwood                                   irvine            CA      92618
Jenna Masters                 19712 dunsmuir plaza                            yorba linda       CA      92886
Jenna Nguyen                  3815 Aspen Star Ct                              Houston           TX      77053
Jenna Silvers                 1432 San Saba Dr                                Dallas            TX      75218
jennafer marchant
Jenni Hargett                 1200 GRAND BLVD                                 GREENWOOD         MS      38930
Jenni Kunik                   40052 N Curie Ct                                Anthem            AZ      850869894301659
Jenni Tittle                  1455 waterside dr.                              DALLAS            TX      75218
jennice kim                   5330 falls way #a                               buena park        CA      90621
Jennie Vandevere              119 CARRIAGE LN                                 MADISON           MS      39110
Jennie Wolter                 PO Box 601063                                   Sacramento        CA      95860
Jennifer & David O'sullivan   5657 TRACESIDE DR                               NASHVILLE         TN      37221
Jennifer (Jiachen) Li         201 Campus Drive                                Tallulah Falls    GA      30573
Jennifer Amador               10 Golden Floral Ct                             The Woodlands     TX      77354
Jennifer Amori                34362 Sherwood dr.                              Yucaipa           CA      92399
Jennifer Armstrong            4325 Lealand Lane                               Nashville         TN      37204
Jennifer Balogh               2923 Meadow Glen Drive                          McKinney          TX      75070
jennifer barbaro              19016 stone oak pkwy #190                       san antonio       TX      78258
Jennifer Barto                12903 PINE MEADOWS ST                           TOMBALL           TX      77375
Jennifer Bauman               1423 Alexander St                               Houston           TX      77008-3847
Jennifer Becker               5755 Jeffries Ranch Road                        Oceanside         CA      92057
Jennifer Berlanga             7819 KINGSBURY WOOD                UNIT 4       SAN ANTONIO       TX      78240
Jennifer Berschauer           403 East Avenida Magdalena                      San Clemente      CA      92672
Jennifer Carey                2001 South 16th Avenue                          Ozark             MO      65714
Jennifer Castillo             16522 Fox Den                                   San Antonio       TX      78247
Jennifer Chandler             4705 Gwynne Road                                Memphis           TN      38117
Jennifer Childress            10815 Lewis Creek Circle                        Willis            TX      77318
Jennifer Comegna              107 GARDENGATE DR                               FRANKLIN          TN      37069
Jennifer Copeland             682 Bullock Farm Road                           Dallas            GA      30157
Jennifer Craig                53 Laurelwood Cove                              Jackson           TN      38305
Jennifer Cuellar              10601 Londonshire Ln.                           Austin            TX      78739
JENNIFER DAVIS                1080 PROVIDENCE RD                              YAZOO CITY        MS      39194
Jennifer de Castro            5365 Seaton Drive                               Dunwoody          GA      30338
Jennifer Dermont              10340 Shadowy Dusk                              Schertz           TX      78154
Jennifer Dorris               410 Mabry Place                                 Atlanta           GA      30319
Jennifer Farrell              16315 FALLKIRK DR                               DALLAS            TX      75248
Jennifer Felong               7806 Halsey Lane                                Baldwinsville     NY      13027
Jennifer Foland               28956 Erickson ct.                              Highland          CA      92346
Jennifer Frank                6223 RAINTREE CT                                DALLAS            TX      75254
jennifer frasier              po box 270561                                   houston           TX      77277
Jennifer Freeny               355 RANKIN RD                                   BRANDON           MS      39042
Jennifer Fussell              5418 Ranch Hill Dr                              Magnolia          TX      77354
Jennifer Godbold              111 Oak View Drive                              Terry             MS      39170
Jennifer Gomez                2103 Water Canyon Canyon Court                  Houston           TX      77077
Jennifer Gonzalez             2608 Ranch Court                                Cedar Hill        TX      75104
Jennifer Grantham             7304 LANCET LANE                                NICHOLS HILLS     OK      73120
jennifer haney                4045 fireoak dr                                 DEcatur           GA      30032
Jennifer Harrison             2 Via Ulmaria                                   RSM               CA      92688
Jennifer Jamison              3037 Vicwood Dr.                                Murfreesboro      TN      37128
Jennifer Joyner               9907 Sable Arrow                                San Antonio       TX      78251
Jennifer Kubik                8445 Indian Hills Drive                         Nashville         TN      37221
Jennifer Kuzma                5712 Simmons                                    Houston           TX      77005
     In re Parker SchoolCase    18-10085-CSS
                        Uniforms, LLC                      Doc 3   Filed 01/12/18    Page 75 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                            Address 2    City            State   Zip Code
Jennifer Lahad                2448 Brookmere Drive                              Houston         TX      77008
Jennifer Lampkin              4401 Firewheel dr                                 Garland         TX      75044
Jennifer Marinov              2425 Patriot Way                                  Corona          CA      92882
Jennifer Mary Spreen          176 Fieldwood                                     Irvine          CA      92618
Jennifer Maxwell              1614 BEAU RIVAGE                                  CONROE          TX      77304
jennifer mcclelland           1713 baxter springs dr                            justin          TX      76247
Jennifer Mcdaniel             7117 WABASH CIR                                   DALLAS          TX      75214
Jennifer Mckenzie             14 RAWLINGWOOD CV                                 JACKSON         TN      38305
Jennifer Medina               18959 Dallas Pkwy Apt 2514                        Dallas          TX      75287
Jennifer Monsibais            1526 s azalia ave                                 Ontario         CA      91762
Jennifer Moreland             1603 POST OAK RD                                  ELGIN           TX      78621
Jennifer Mueller              426 Hanover Lane                                  Irving          TX      75062
Jennifer Nelson               3917 SILKWOOD TRL                                 ARLINGTON       TX      76016
Jennifer Nichols              3620 Durwood dr                                   Beaumont        TX      77706
Jennifer Nieves               2783 Stearns Street                               Brea            CA      92821
Jennifer Noyola               20460 Campbellton Road                            San Antonio     TX      78264
Jennifer O'Bryan              42 East Parkway North                             Memphis         TN      38104
Jennifer Osborn               718 Tammy Drive                                   San Antonio     TX      78216
Jennifer Patterson            618 N WESTCHESTER DR                              ANDOVER         KS      67002
Jennifer Pauley               230 ASTON HALL DR                                 EADS            TN      38028
Jennifer Pender               6826 Island Circle                                Midland         TX      79707
Jennifer Quach-Cu             10138 Andy Reese Ct                               garden grove    CA      92843
Jennifer Queener              2304 BROOKSTONE CT                                MOUNT JULIET    TN      37122-3263
jennifer rice                 1210 andover bay                                  san antonio     TX      78258
Jennifer Rinehart             301 S. Westmoreland                               Waxahachie      TX      75167
JENNIFER Ritchie              866 HILLAND RD.                                   YAZOO           MS      39194
Jennifer Robinson             1618 Main Street                     5th Floor    Dallas          TX      75201
Jennifer Rogers               417 ALLENS TRL                                    MONTGOMERY      AL      36117
Jennifer Royall               3505 Lexington Ave                                Dallas          TX      75205
Jennifer Sadenwater           31411 HELEN LN                                    TOMBALL         TX      77375
JENNIFER SALAZAR              2021 GALLATIN PK NORTH                            MADISON         TN      37115
Jennifer Sampayo              P O BOX 1113                                      Olmito          TX      78575
JENNIFER SANDERS              5156 LILLY RD                                     HAZLEHURST      MS      39083
Jennifer Schobey              3281 McFarland Rd                                 Raymond         MS      39154
Jennifer Seals                280 FOREST LAKE DR                                HUMBOLDT        TN      38343
Jennifer Sochia               6602 Nonesuch Ct.                                 Dallas          TX      75214
Jennifer Styra                15554 Clover Rdg.                                 San Antonio     TX      78248
Jennifer Tate                 5832 Bedford Rd                                   Memphis         TN      38135
Jennifer Tennyson             1753 Hillmont Drive                               Nashvillle      TN      37215
Jennifer Thayer               943 Harpeth Trace Drive                           Nashville       TN      37221
Jennifer Thompson             605 Cowan Street                                  Nashville       TN      37207
Jennifer Tramontana           3406 Foothill Pkwy                                Austin          TX      78731
jennifer vienns               3902 flatwood dr                                  katy            TX      77449
Jennifer Wallace              52 Brookwood Court                                Grenada         MS      38901
Jennifer Webb                 206 Stewart Dr.                                   Atlanta         GA      30342
Jennifer Whipple              2107 Satinwood                                    Memphis         TN      38119
Jennifer Whitehead            2731 13th St                                      Port Neches     TX      77651
Jennifer Wilson               152 Tall Oaks Drive                               Alto            GA      30510
Jennifer Wright               2107 HERRING XING                                 Murfreesboro    TN      37130
Jennifer Yates                310 Hemlock Dr.                                   Flowood         MS      39232
Jenny Farnham                 5665 N Hillbrooke Trace                           Alpharetta      GA      30005
Jenny Fish                    23610 Fairway Canyon                              San Antonio     TX      78258
Jenny Gullette                16331 Silver Sky Lane                             Houston         TX      77095
Jenny Harrison                42 TIDWILLOW PL                                   TOMBALL         TX      77375
Jenny Lang
Jenny Lin                     868 S MAIN ST                        UNIT 1200    CLEVELAND       GA      30528
JENNY MORRIS                  909 GINGER CT                                     BRENTWOOD       TN      37027
Jenny Sneller                 7923 Vickridge Ln                                 Spring          TX      77379
jenny sun                     2 mansfield dr                                    Irvine          CA      92620
Jenny Tortorice               8250 Collier Road                                 Beaumont        TX      77706
jenny wang                    24272 breckenridge ct                             Diamond bar     CA      91765
Jenny Wong                    2118 Mason St                                     Houston         TX      77006
Jeremiah Quarles              1200 Cheyenne Dr                                  Desoto          TX      75115
Jeremy Stewart                6429 Richmond Ave                                 Dallas          TX      75214
Jerey Regalado                1151 Vermont                                      San Antonio     TX      78211
Jeri Walker                   8524 Mustang Drive                                Irving          TX      75063
Jerilyn Wright                737 NE 18th St                                    OKC             OK      73105
Jerrisha Michael              504 Tealridge Lane                                Desoto          TX      75115
Jerrod Montgomery             6359 Gotham ST. #20                               Bell Gardens    CA      90201
JERRY CASE                    1978 STUBBS ROAD                                  TERRY           MS      39170
Jerry Hamilton                717 Tortoise Ridge                                Brandon         MS      39047
Jerry Rodgers                 9 Via Adelia                                      San Clemente    CA      92672
Jerry Willhite                2646 S. Pattie Street                             Wichita         KS      67216
Jerrye Edwards                830 E. Beltline Rd                                Lancaster       TX      75145
Jervis Borrello               23207 SEBER LN                                    TOMBALL         TX      77375
JESICA CARINA MARTINEZ GIL    7601 DAFFAN LN # 191                              AUSTIN          TX      78724
Jesse Longoria                728 W 24th St                                     Houston         TX      77008
Jessi Box                     142 Hermine Blvd                                  San Antonio     TX      78212
Jessica Anderson              2210 Deer Valley Dr.                              Spring          TX      77373
Jessica Bartley               4612 Verone Street                                Bellaire        TX      77401
Jessica Blanco                204 Saint Charlotte Cove                          Madison         MS      39110
Jessica Boatman               5215 E Rolling Hills Dr                           Anaheim         CA      92807
jessica bordon                2026 cotton blvd                                  new braunfels   TX      78130
Jessica Briggs                9902 Melissa Dr                                   Louisville      KY      40223
JESSICA FELDKAMP              1501 CROWN ST                                     REDLANDS        CA      92373
Jessica Flores                PO Box 564                                        Helotes         TX      78023
Jessica Gavia                 2026 Oak Dew                                      San Antonio     TX      78232
Jessica Gillon                16348 Country Day Rd                              Poway           CA      92064
Jessica Gleason               2627 Orchid hill cove                             germantown      TN      38138
Jessica Gorman                738 San Gabriel Loop                              New Braunfels   TX      78132
Jessica Hammons               1555 SAN SABA DR                                  DALLAS          TX      75218
Jessica Henderson             5537 Attala Road 4137                             Sallis          MS      39160
JESSICA HENNING               2713 SE 95TH STREET                               MOORE           OK      73160
       In re Parker School Uniforms,
                        Case         LLC
                                 18-10085-CSS               Doc 3   Filed 01/12/18              Page 76 of 134
       Schedule E/F, #3.9 - customer back-orders


Name                            Address 1                           Address 2              City            State   Zip Code
jessica herrera                 5700 Cameron Rd.                    #244                   Austin          TX      78723
Jessica Herring                 7135 Oakridge Dr.                                          San Antonio     TX      78229
Jessica Inskeep                 1408 Stratfield Cir NE                                     Brookhaven      GA      30319-2523
Jessica Jemmison                PO Box 1007                                                Mount Vernon    NY      10551
Jessica Krauth                  4012 Primrose LN                                           Norcross        GA      30092
Jessica Lawson                  10710 HOLLY SPRINGS DR                                     HOUSTON         TX      77042
Jessica Lemann                  8818 TRAVIS HILLS DR                APT 922                AUSTIN          TX      78735
Jessica McCullars               913 Shauna Dr.                                             Nashville       TN      37214
Jessica McDonald                3708 Toler Rd                                              Rowlett         TX      75089
Jessica Mokry                   301 Alva St                                                THRALL          TX      76578
JESSICA MUNGUIA                 21730 OAKBRIDGE PARK LN                                    KATY            TX      77450
jessica munoz                   5048 Lake Vista Dr                                         The Colony      TX      75056
Jessica Raborn                  1711 Autumn Fire Dr                                        Cedar Park      TX      78613
Jessica Robertson               764 HIGHWAY 469 S                                          FLORENCE        MS      39073
Jessica Ruiz                    12902 Vista Haven                                          SAN ANTONIO     TX      78216
Jessica Sanchez                 8510 OPALWOOD CT                                           HUMBLE          TX      77338
Jessica Saner                   9909 Hefner Village Pl                                     Oklahoma City   TX      77040
Jessica Savage                  205 Brattlesboro Pl                                        Nashville       TN      37204
Jessica Scott                   1707 Cypress Drive                                         Irving          TX      75061
Jessica Skipper                 300 E JASPER ST                                            BRANDON         MS      39042
Jessica Smith                   10256 Red Bluff Lane                                       Fort Worth      TX      76177
Jessica Todd                    6721 Walebridge Lane                                       Austin          TX      78739
Jessica Urruty                  37603 Pinwood Court                                        Magnolia        TX      77354
Jessica Wattnem                 12067 GUERIN ST                     UNIT 304               STUDIO CITY     CA      91604
Jessica Wilkins                 869 W Page Ave                                             Gilbert         AZ      85233
Jessie Bundang                  579 kingswood st                                           San Diego       CA      92114
jessie wileman                  359 San Miguel Rd                   304                    Newport Beach   CA      92660
Jessietta Thomas                5516 Chardin Dr                                            Montgomery      AL      36116
Jesus Herrera
Jesus Jorge Flores              1119 Villas del Norte                                      Weslaco         TX      78596
Jesus Reyes                     127 San Lino                                               San Antonio     TX      78207
Jewel Role                      25841 Silva Ct                                             Loma Linda      CA      92354
Jhanikka Hayes                  3390 Brockcrest Cv                                         Memphis         TN      38128
Jihann Thoney                   8131 Cragen Ln                                             Anaheim         CA      92804
Jill Bromley                    24311 Majestic Crown Ct.                                   Katy            TX      77493
Jill Cuthbert                   5 Serena                                                   San Antonio     TX      78248
Jill Gilmore                    130 DEER RIDGE RD                                          BRANDON         MS      39042
Jill Hodges                     1720 Tamworth Court                                        Dunwoody        GA      30338
Jill Hudson                     6305 Aberdeen Dr                                           Atlanta         GA      30328
Jill Jackson                    3610 GLEN ARBOR DR                                         HOUSTON         TX      77025
Jill Krantz                     2583 Greyling Dr                                           San Diego       CA      92123
Jill Kyser                      113 Woodsong Way                                           Terry           MS      39170
Jill Lee                        28104 Copperleaf                                           Boerne          TX      78015
Jill Marshall                   122 Silverstone Dr                                         Georgetown      TX      78633
Jill Mcdonald                   5535 Verbena                                               San Antonio     TX      78240
Jill Pittman                    2817 Mckenzie Ln                                           Lancaster       TX      75134
Jill Rummells                   303 CORNERSTONE DR                                         BRANDON         MS      39042
Jill Simmons                    11 South Capitol Parkway                                   Montgomery      AL      36107
Jill SLATE                      204 Dunn St                                                Waxahachie      TX      75165
Jill Stamets                    1922 Wroxton Rd.                                           Houston         TX      77005
Jill Upchurch                   109 S Glen Pl                                              Madison         MS      39110
Jill Ziegler                    4053 Key Corner Road                                       Brownsville     TN      38012
jim doyle                       n/a                                                        n/a             TX      11111
Jim Guinn                       7007 Nueces Dr                                             Irving          TX      75039
Jim Tyson                       243 SEARCY TAYLOR RD                                       DENMARK         TN      38391
Jimmy Blankenship               127 Kingston Dr.                                           Georgetown      KY      40324
Jimmy Yarbrough                 28303 Ramos Dr                                             Spring          TX      77386
Jincy Smith                     7509 parker circle                                         Germantown      TN      38138
Jing Jing Fan                   1733 Wren Wood Lakes                                       Houston         TX      77043
Jing Pei                        5412 Davis Love Drive                                      CUMMING         GA      30041
Jo Anne Donovan                 10722 HOLLY SPRINGS DR                                     HOUSTON         TX      77042
Joan Ackerman                   14601 E SUNDANCE ST                                        WICHITA         KS      67230
JOAN CALDERON
Joan Dieal                      3122 ANN FIELD WAY                                         Franklin        TN      37064
Joan Sullivan                   423A W 24th St                                             Houston         TX      77008
Joana Qamirani                  520 Excalibur Ct.                                          Franklin        TN      37067
Joana Reyes                     22800 Wittier street                                       Colton          CA      92324
Joanna Guan                     1515 s sunkist st                   suite #a               anaheim         CA      92806
Joanna Meade                    6602 WINTER MOUNTAIN LN                                    SPRING          TX      77379
Joanna Ragon                    62 Sommersby Drive                                         Jackson         TN      38305
Joanne Black                    606 Old Cobblestone Drive                                  Atlanta         GA      30350
Joanne Blackerby                6200 Ledge Mountain Drive                                  AUSTIN          TX      78731
joanne breckon                  1222 Almond Grove Drive                                    Houston         TX      77077
Joanne Liu                      3403 S Main St.,#J                                         Santa Ana       CA      92707
Joanne Pratt                    1040 Oak View Drive                                        Oak Point       TX      75068
Joanne Wang                     19100 FALABELLA LN                                         YORBA LINDA     CA      92886
Joanne Yi                       90 Williamsburg lane                90 Williamsburg lane   Houston         TX      77024
Joaquin Reyes MD                3838 Sherman Drive, #203                                   Riverside       CA      92503
Jodi Trotter                    16621 Stonecrest Dr.                                       Conroe          TX      77302
jodi yocum                      1059 oak street SW                                         Atlanta         GA      30310
Jodie Mallard                   6824 Eastwood St                                           Houston         TX      77021
JODY BRUMFIELD                  1060 GREEN GABLE PL                                        TERRY           MS      39170
Jody Murphy                     104 Bancroft Ct                                            NASHVILLE       TN      37215
Jody Piccolo                    11908 Quassia Dr                                           Austin          TX      78739
Joe Domingeaux                  2016 Castleview Drive                                      Fort Worth      TX      76120
Joe Helton                      7525 Summer Meadows Dr                                     Fort Worth      TX      76123
JOE ZHOU                        1400 W. Orangethorpe ave.                                  Fullerton       CA      92833
Joel Gallegos                   10623 MANOR CRK                                            SAN ANTONIO     TX      78245
Joel Ocampo                     464 S fairview Street                                      Burbank         CA      91505
JOEY ARNOLD                     8530 BEARHAVEN LANE                                        MONTGOMERY      AL      36117
joey vaimaona                   10153 MOJESKA SUMMIT RD                                    CORONA          CA      92883
John Brown Jr.                  7352 Marani way                                            Sacramento      CA      95831
John Deru                       1513 Zora St                                               Houston         TX      77055
     In re Parker School Uniforms, LLC
     Schedule E/F, #3.9 -Case    18-10085-CSS
                          customer  back-orders                          Doc 3   Filed 01/12/18    Page 77 of 134


Name                                        Address 1                            Address 2    City                     State   Zip Code
John Forman                                 1244 HALEY RD                                     TERRY                    MS      39170
John Fugate                                 3514 JENSEN DR                                    HOUSTON                  TX      77026
John Kirkpatrick                            8757 BRUNSWICK FARMS DR                           ARLINGTON                TN      38002
John Lomoro                                 3540 Redmont Trace                                Edmond                   OK      73034
John Patterson                              11523 Paynes Gray                                 Helotes                  TX      78023
John Paul I I High School, Corpus Christi   3036 SARATOGA BLVD                                CORPUS CHRISTI           TX      78415
John Robinson                               1155 Harry Wurzbach rd                            San Antonio              TX      78209
John Roefs                                  301 Abbotsford Ln                                 Bakersfield              CA      93312
John Sauceda                                15846 TAMPKE PL                                   SAN ANTONIO              TX      78247
Johna Hemphill                              4831 Arvilla Lane                                 Houston                  TX      77021
Johnelyn Lloyd                              227 Bellamy Ct                                    Flowood                  MS      39232
Johnetta Jurden                             5254 Gault St                                     Jackson                  MS      39209
johnny estinvil                             5587 greatpine ln south                           jax                      FL      32244
Johnny Girault                              32175 HIGHWAY 28                                  HAZLEHURST               MS      39083
Johnny Jonkhout                             523 anchors flat                                  san antonio              TX      78245
Johnny Kunnath                              8817 NW 119th St.                                 Oklahoma City            OK      73162
johnny louis                                3862 old canton rd                                jackson                  MS      39216
Johnny Taylor                               332 FORT EDWARD DR                                ARLINGTON                TX      76002
johnola dione                               140 cainwood ct E                                 college park             GA      30349
Jolawn Victor                               1425 Balcones Dr                                  Plano                    TX      75093
Jolayne Roelofs                             9554 52nd Street SE                               Ada                      MI      49301
jolene casarez                              4939 fortuna                                      san antonio              TX      78237
Jon Incerpi                                 923 Daria Dr                                      HOUSTON                  TX      77079-5021
Jonathan Creamer                            1028 Matthews Ave.                                Nashville                TN      37216
Jonathan McDaniel                           1060 Beaver Creek Rd                              Brighton                 TN      38011
Jonathan Seastrunk                          11900 Yarmouth Ln                                 Fort Worth               TX      76108
Joni Eichenlaub                             6307 Quiet Pointe Dr                              Spring                   TX      77389
Jooyeon Kim                                 20734 Tuskin Oaks Dr                              Cypress                  TX      77433
Joquina Johns                               8700 Craig Dr                                     Dallas                   TX      75217
Jordan Fredrickson                          6303 Regency Crest                                San Antonio              TX      78249
Jordan Salazar                              228 SW 29th Street                                San Antonio              TX      78237
Jorge Garcia                                211 Lake Powell                                   LAREDO                   TX      78041
Jorge ojeda                                 po. box. 9372                                     Rancho Santa Fe          CA      92067
Jose Balderas                               308 E Reindeer Rd                                 Lancaster                TX      75146
Jose Hernandez                              1101 Huber St                                     Laredo                   TX      78045
Jose Lopez                                  1702 FUTURE DR                                    AUSTIN                   TX      78754
Jose Menchaca                               5635 Ivanhoe                                      San Antonio              TX      78228
Jose Ramirez                                6470 N Caleb Ln                                   San Bernadino            CA      92407
Jose Rodriguez                              11238 Jade Green                                  San Antonio              TX      78249
Jose Torres                                 725 Clemson Lane                                  Lawrenceville            TX      77040
Jose Varela                                 506 Wild Cherry Cove                              Memphis                  TN      38117
JOSEFINA VAZQUEZ
Joseph Biondi                               3410 Kingsway Ct                                  Kingwood                   TX    77339
Joseph Domingeaux                           2016 Castleview Drive                             Fort Worth                 TX    76120
Joseph Isaacs                               3049 Parkham Drive                                Roseville                  CA    95747
Joseph LaBrecque                            1170 east valley parkway 301988                   Escondido                  CA    92030
Joseph Leon Guerrero                        21427 Vineyard Haven Court                        Katy                       TX    77449
Joseph Mcghee                               1038 Byrnwyck Rd Ne                               Atlanta                    GA    30319
Joseph Sandoval                             1138 Spring Lake Dr                               Duncanville                TX    75137
JOsephine Ellis                             1805 River Run                                    Desoto                     TX    75115
Josephine Gonzalez                          9807 Spindrift Dr                                 Laredo                     TX    78045
Josephine Rodriguez                         PO Box 19681                                      San Juan                   PR    00910
Josey Sebastian                             5745 Aspen Dr                                     Cumming                    GA    30040
Josh McKinney                               370 Mann Road                                     Lebanon                    TN    37087
Joshua Collins                              6334 PERCY DR                                     NASHVILLE                  TN    37205
Joshua Martinez                             20511 Spur Branch LN                              Katy                       TX    77450
Joshua Sanchez                              203 Catherine                                     San Antonio                TX    78237
Joshua Vrooman                              9311 Collier Flts                                 Helotes                    TX    78023
Joshun Varuso                               2662 APACHE LN SW                                 LILBURN                    GA    30047
JOSIANE ROGERS                              418 LOTUS CT                                      REDLANDS                   CA    92373
Josie Alston                                132 KNIGHTSBRIDGE DR                              MADISON                    MS    39110
Josie Ghazee                                2328 Tocayo ave                      #70          San Diego                  CA    92154
Joslyn Springer                             212 PAXTON CV                                     MADISON                    MS    39110
Josseline Nava                              155 Florida Ave                                   Salina                     KS    67401
Jovan Sears                                 3701 Grapevine Mills Parkway         Apt. 111     Grapevine                  TX    76051
Joy Cox                                     4504 Millrace Lane                                Nashville                  TN    37205
Joy Davis                                   990 S. Woodland Glade Cove                        Cordova                    TN    38018
Joy Deaver                                  P.O. Box 420612                                   Houston                    TX    77242
Joy Hallock                                 1914 Woodland Park Ave                            Houston                    TX    77077
Joy Jackson                                 7501 Wachtel Way                                  Citrus Heights             CA    95610
Joy Miller                                  11300 RIDGE RD                                    LOUISVILLE                 KY    40223
Joy Smith                                   2005 Christine Lane                               Spring Hill                TN    37174
Joyce Beebe                                 4019 Swarthmore                                   Houston                    TX    77005
Joyce Clark                                 605 Ten Mile Dr                                   Desoto                     TX    75115
JOYCE CRUDUP                                4849 CHURCHILL DRIVE                              JACKSON                    MS    39206
Joyce Hernandez                             8615 Bascum Blvd                                  San Antonio                TX    78221
Joyce Many                                  1474 Meadowcreek Court                            Dunwoody                   GA    30338
Joyce Purvis                                23352 Saint Elena                                 Mission Viejo              CA    92691
JOYCE SHAN                                  4595 sandeiling street                            cumming                    GA    30041
joyce torrance                              708 admiralty way                                 fort worth, TX 76108 UnitedTX    76108
Joycelyn Murray                             3275 Forest Creek Dr                              Marietta                   GA    30064
Juan Cesar Martinez                         34209 Ebony Ln                                    San Benito                 TX    78586
Juan Escalera                               7316 Wooded Gap Dr                                Dallas                     TX    75249
Juan Gracia                                 5706 SARAGOSA DR                                  RICHMOND                   TX    77469
Juan Jimenez                                1742 Ridgedorf Dr.                                Dallas                     TX    75217
Juan Jose Garza                             3822 Winrock Dr                                   Laredo                     TX    78045
Juan Meraz                                  2631 W. Craig Pl                                  San Antonio                TX    78228
Juan Sanchez                                2218 ALONA ST                                     SANTA ANA                  CA    92706
Juan Valenzuela                             650 N Carriage Pkwy Ste 85                        Wichita                    KS    67208
Juana Orelas                                5302 Singleton                                    Dallas                     TX    75223
Juana Parada                                13107 PINE THICKET LN                             HOUSTON                    TX    77085
Juana Zavala                                8139 Conridge Drive                               Memphis                    TN    38125
JUANITA ALCARAZ                             2351 LONGHORN ST.                                 DALLAS                     TX    75228
     In re Parker School Case
                         Uniforms,18-10085-CSS
                                   LLC                 Doc 3   Filed 01/12/18   Page 78 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                        Address 2    City               State   Zip Code
Juanita Johnson               3983 Sayles and Dixon Rd                      Jackson            MS      39213
Judith Alfaro                 11110 Fonda St.                               Houston            TX      77035
Judith Barnett                525 Rolling Oak Drive                         Round Rock         TX      78664
Judith Flores                 301 W OCEAN BLVD UNIT 713                     LOS FRESNOS        TX      78566
Judith Gaona                  500 ARCHER                                    Dallas             TX      75211
Judith Lane                   3115 White Blossom Circle                     New Albany         IN      47150
Judy Hudson                   6513 Old Hwy 42                               Hattiesburg        MS      39402
Judy Miller                   177 Panacea Dr                                demorest           GA      30535
Judy Nelluvelil               5751 Kuldell Dr                               Houston            TX      77096
Juile Dickman                 75 SAVONA WALK                                LONG BEACH         CA      90803
Julia Arzola                  1835 Basse Rd.                                San Antonio        TX      78213
Julia Austin                  14831 Forward Pass                            San Antonio        TX      78248
Julia Duncan                  4300 CAVEAT CT                                FAIRBURN           GA      30213
julia flowers                 1403 hawthorn way                             westlake           TX      76262-9034
Julia Goings                  13134 WINDING CRK                             SAN ANTONIO        TX      78231
Julia Knight                  2045 River North Run                          Sandy Springs      GA      30328
Julia Manning                 25923 Eagle Pines Ln.                         Spring             TX      77389
Julia Muselier                10814 Piping Rock Ln                          Houston            TX      77042
Julia Russell                 8013 Saint Helena CT                          Sacramento         CA      95829
Julia Weller                  3363 SOUTHVIEW AVE                            MONTGOMERY         AL      36111
julia wulff                   1205 NE grand                                 LEES SUMMIT        MO      64086
Julian Kingston               50 Christopher st                             Ladera Ranch       CA      92694
Julianne Lange                1655 Lazy River Lane                          Atlanta            GA      30350
Julianne Marshall             315 Blue Hills Dr.                            Nashville          TN      37214
Julianne Martinez             5122 Durham Knoll Lane                        Spring             TX      77389
Julie Adams                   1502 Anatole Court                            Murfreesboro       TN      37130
julie alonso                  4220 mcneil rd                                CAMERON PARK       CA      92682
Julie Ayers                   7907 COLONIAL WOODS                           BOERNE             TX      78015
Julie Barry                   PO BOX 675458                                 Rancho Santa Fe    CA      92067
Julie Bergkamp                5105 Turtle Creek Court                       Fort Worth         TX      76116
Julie Boeding                 7420 E OAK TREE LN                            KECHI              KS      67067
Julie Brown                   2910 Carnaby Ln                               Garland            TX      75044
Julie Canuelle                2909 HEATHMOUNT DR                            CEDAR PARK         TX      78613
Julie Cardillo                3769 Skipping StoneTrace #109                 Memphis            TN      38125
Julie Castillo                1148 E COMMERCE ST                            SAN ANTONIO        TX      78205
Julie Claverie                6220 Robin Hill Road                          Nashville          TN      37205
Julie Coultress               8826 NAPA LNDG                                BOERNE             TX      78015
Julie Daino                   6783 Sunnyvale Drive                          Riverside          CA      92505
Julie Dallas                  8576 Sartori Drive                            Millington         TN      38053
Julie Fitzpatrick             2849 SHELBYVILLE RD                           SHELBYVILLE        KY      40065
Julie Frechette               1414 W Byron St 3e                            Chicago            IL      60613
Julie Garcia                  12527 DEEP SPRING LN                          HOUSTON            TX      77077
JULIE HAROUTUNIAN             4982 WOODLEY RIDGE DR                         RANCHO CUCAMONGA   CA      91739
Julie Hart                    12540 HIGH MEADOW DR                          DALLAS             TX      75244
Julie Herring                 7741 indian springs dr                        Nashville          TN      37221
Julie Hodgden                 3708 BUCKINGHAM DR                            NORMAN             OK      73072
Julie Hoffman                 911 S Riverside Drive                         Grapevine          TX      76051
Julie Jenkisn                 1434 S. Perry Street                          Montgomery         AL      36104
Julie Kim                     1678 Del Dayo Dr                              Carmichael         CA      95608
Julie Lerma                   4510 Leon                                     Corpus Christi     TX      78416
Julie Luna                    430 DRURY LN                                  SAN ANTONIO        TX      78221
Julie Maloney                 9457 Chenoweth Place                          Brentwood          TN      37027
Julie Martinez                5115 Bridgewater                              Arlington          TX      76017
Julie Mcgill                  137 Bolling Road, Ne                          Atlanta            GA      30305
Julie McPhail                 31 Scenic Bluffs Dr                           Boerne             TX      78006
Julie Miller                  118 MEDFORD PL                                FRANKLIN           TN      37064
Julie Oakley                  P.O. Box 121                                  Spicewood          TX      78669
Julie Ortego                  7741 GOSSETT RD                               LAKE CHARLES       LA      70605
Julie Salazar                 15415 LADY SHERY LN                           CYPRESS            TX      77429
Julie Slater                  9450 FOX HILL CIR S                           GERMANTOWN         TN      38139
Julie Smith                   3108 PINE HILL RD                             NORMAN             OK      73072
Julie Whitmarsh               5905 Quernus CV                               AUSTIN             TX      78735
Julie Williamson              8005 Cobblestone                              Austin             TX      78735
Julie Witherspoon             11918 WATERFORD ESTATES CT                    TOMBALL            TX      77377
Julie Worthington             2530 Amy Way                                  Riverside          CA      92506
Julie Wylie-Young             10403 Cromdale Manor Ct                       Spring             TX      77379
Julieta Dominguez-Jones       9456 Sea Cliff Way                            ELK GROVE          CA      95758
Julius A Bundang              579 Kingswood Street                          San Diegp          CA      92114
Junbee Rojas                  2403 Sunfire Lane                             Pearland           TX      77584
June Alcivar                  211 Briar Glen Drive                          League City        TX      77573
June Arthur                   5522 Woodway Drive                            Houston            TX      77056
June Daniel                   9113 Crescent Lodge Circle                    Pike Road          AL      36064
June Douget                   3207 Landfair st                              Lake Charles       LA      70601
Jung Chi                      8929 Enton Cv                                 Germantown         TN      38139
Jureda Ellsworth              266 Windover Grove Drive                      Memphis            TN      38111
Justin McNaughton             4811 Churchwood Drive                         Nashville          TN      37220
Justin Mulrain                1520 Lake Cove                                Dunwoody           GA      30338
Justin Reid                   4169 Kingship Drive                           Ellenwood          GA      30294
Justin Stanley                4039 CALLE DE COBRE                           SAN ANTONIO        TX      78257
Justin Stephens               8447 bitter root ct                           Antelope           CA      95843
Justin Yu                     201 Campus Dr                                 Tallulah Falls     GA      30573
Justina Dix                   275 South Ave.                                Atlanta            GA      30315
K Frigon                      406 Woodmont Hall Pl                          Nashville          TN      37205
Kaatje Pitzer                 101 Guill Road                                Mount Juliet       TN      37122
Kae Buller                    2837 NW 11 St                                 Oklahoma City      OK      73107
Kaily Accardi                 852 Gray Cloud Dr                             New Braunfels      TX      78130
KAITLYN KIM                   25262 ROCKRIDGE RD.                           LAGUNA HILLS       CA      92653
KAITLYNN LENDERMAN            431 Winding Creek Place                       MARIETTA           GA      30068
Kaiysha Fortson               3242 Fleetwood Dr.                            Jackson            MS      39212
Kalea Buzbee                  2622 SILVER SHADOW                            CONROE             TX      77304
Kaleb Jackson                 5744 Thomaston Rd. UNIT 6102     Apt 1404     Macon              GA      31220
Kali Kliethermes              6712 Branch Creek Drive                       Fort Worth         TX      76132
Kallie Myers                  7110 Casa Loma Ave.                           Dallas             TX      75214
       In re Parker School Uniforms,
                        Case         LLC
                                 18-10085-CSS            Doc 3   Filed 01/12/18    Page 79 of 134
       Schedule E/F, #3.9 - customer back-orders


Name                            Address 1                        Address 2    City              State   Zip Code
Kamesha Ellis                   3587 Drayton Manor Run                        Lawrenceville     GA      30046
Kami Smith                      20475 Hamilton Court                          Burlington        WA      98233
Kamren Villalobos
kamyla Trevino                  3205 Monarch St.                              Weslaco           TX      78599
Kandy Tobin                     3105 Broken Bow                               Denton            TX      76209
Kara Campbell                   420 Blake Rd                                  Alpharetta        GA      30022
Kara Wilson                     505 Wolfeboro Ln                              Nashville         TN      37221
Karan Lott                      605 Dunklin Avenue                            Greenwoood        MS      38930
Karen Broaddus                  103 Golden Bear Drive                         Austin            TX      78738
Karen Brookshier                8302 Thunder Ridge Way                        Missouri City     TX      77459
Karen Caesar                    8537 Spectrum Dr                              Mckinney          TX      75070
Karen Carpio                    2945 Shasta Way                               West Sacramento   CA      95691
Karen Comeaux                   5787 Elliott Road                             Lake Charles      LA      70605
Karen Decillo                   31335 Bearing Star Ln                         Tomball           TX      77375
KAREN FRANK                     PO BOX 1027                                   CLAYTON           GA      30525
karen guerra                    2848 idaho ave                                dallas            TX      75216
Karen Hardin                    7907 Sheery Lynn Court                        Louisville        TX      77040
Karen Harrell                   604 S. Dickel Street                          Anaheim           CA      92805
Karen Hellen                    10211 Silver Leaf Ln                          Tomball           TX      77375
Karen Hillman                   2114 MIDDLE TENNESSEE BLVD                    Murfreesboro      TN      37130
karen jargo                     8500 E Tipperary St                           Wichita           KS      67206
Karen Jordan                    3513 GRADY ST                                 FORT WORTH        TX      76119
Karen Pedregon                  1648 W. Persimmon St                          Rialto            CA      92377
Karen Pierce                    35718 Carter Street                           Yucaipa           CA      92399
Karen Robison                   2924 Calle Grande Vista                       San Clemente      CA      92672
KAREN SMITH                     5122 LILLY RD                                 HAZELHURST        MS      39083
Karen Taylor                    3416 OLD MEDINA RD                            OAKFIELD          TN      38362
Karen Terry                     PO Box 83                                     Omaha             AR      72662
Karen Trammell                  720 Princeton Hills Drive                     Brentwood         TN      37027
Karen Urbano                    15714 Granite Mountain Trail                  Houston           TX      77049
KAREN WARING                    3131 DRUMMOND ST.                             Vicksburg         MS      39180
Karen Wolf                      8879 Forest Glade Cove                        Germantown        TN      38139
Karey Harris                    1618 Woodrow Place                            Macon             GA      31204
Kari Buck                       5842 LAKEHAVEN WAY                            YORBA LINDA       CA      92886
Kari Greer                      52 E. Cowan Ter                               Brownsville       TX      77040
Kari Pfeifer                    3100 Brookhollow Court                        Prosper           TX      75078
Kari Shumann                    7591 E KERRVILLE ROSEMARK RD                  MILLINGTON        TN      38053
Kari Stewart                    308 Calledos                                  Marble Falls      TX      78654
Karie Russo                     3081 Strolling Hills Rd                       Cameron Park      CA      95682
Karien Goodwin                  1408 Waverly st                               Houston           TX      77008
Karina Henriquez                2901 fulton st                   516          Houston           TX      77009
Karina Rascon                   2604 Rollingwood Dr                           West Lake Hills   TX      78746
Karina Schwarz                  18866 STONE OAK PKWY                          SAN ANTONIO       TX      78258
Karla Anderson                  4134 Big Horn Bend                            San Antonio       TX      78253
Karla Cabrera                   1032 SOLEDAD AVE                              CALEXICO          CA      92231
Karla Cook                      301 Willow Creek Dr                           Vicksburg         MS      39183
Karla Gonzalez                  1743 VASSAR ST                   APT 4        HOUSTON           TX      77098
Karla J Rodriguez               11661 Dennis Rd                               Dallas            TX      75229
Karla Klingsoehr                1096 rhomboid st.                             Atlanta           GA      30318
karla mendez                    602 sandy port str                            houston           TX      77079
Karlee Keith                    408 Mavis Ct                                  Ridgecrest        CA      93555
Karli Wong                      11033 freer st                                Temple city       CA      91780
Karmen Kuznitz                  1091 Kernstown Cove                           Collierville      TN      38017
KARMIN KIRBIE                   2012 SEMINOLE TR                              MESQUITE          TX      75149
Karmon Caswell                  22071 Little Mountain Rd                      Mount Vernon      WA      98274
Karns You                       21123 BLOSSOM WAY                             DIAMOND BAR       CA      91765
Karrie Sanford                  5458 Rosehall Place                           Atlanta           GA      30349
karry shebetka                  209 West Gramercy                             San Antonio       TX      78212
Karyn Allen                     6435 Gillia Circle S                          Bartlett          TN      38135
Kasey Leitterman                14409 WILLOW GROVE CIR                        LOUISVILLE        KY      40245
Kasey Yancy                     180 W 49th St                                 San Bernardino    CA      92407
Kassi Beckwith                  357 TERRELL PARK DR                           BENTONIA          MS      39040
kate chambers                   519 pebble rd                                 Duncanville       TX      75116
Kate Chu                        12524 Memorial Dr.                            Houston           TX      77024
Kate Dahl                       732 Avalon Drive                              HEATH             TX      75032
Kate Enright                    137 Harbor Point Lane                         Memphis           TN      38103
Kate Tepedino                   1775 Sutter Street                            San Diego         CA      92103
Kate Turner                     5361 S. Angela                                Memphis           TN      38120
katharine estess                306 westside lane NW                          brookhaven        MS      39601
Katherine B Roland              3606 S Meade Pl NW                            Wilson            NC      27896
Katherine Dec                   1341 West Fullerton Ave          Unit 193     Chicago           IL      60614
Katherine Fisher                4407 MOUNTWOOD ST                             HOUSTON           TX      77018
Katherine Foley                 108 Sumac Drive                               Waxahachie        TX      75165
Katherine Johnson               8906 Loch Lomond Crt                          Houston           TX      77040
Katherine Scott                 6101 Kenneth Ave.                             Carmichael        TX      77040
Katherine Suarez-Villa          3202 LOBLOLLY PINES WAY                       HOUSTON           TX      77082
Katherine Turnley               1516 Niskey Lake Trail SW                     Atlanta           GA      30331
Katherine villarreal            2609 Jeff St                                  harlingen         TX      78550
Kathleen Bakey                  614 BRADSHAW DR                               CORPUS CHRISTI    TX      78412
Kathleen Breheny                1470 Wolf Pack Drive                          Collierville      TN      38017
Kathleen Burlingame             5048 8th Ave                                  Sacramento        CA      95820-1517
Kathleen Estrella               5488 N. Edgemont Drive                        San Bernardino    CA      92404
Kathleen Goree                  7311 oakbluff dr                              Dallas            TX      75254
Kathleen Hays                   841 Oxford St.                                Houston           TX      77007
Kathleen Lott                   1420 YALE STREET EXT                          CLEVELAND         MS      38732
Kathllin Santos                 5801 Wynstone Drive                           Edmond            OK      74034
Kathrin scott                   3390 Santa Rita Way                           Chandler          AZ      85286
Kathryn Claxton                 2203 Cowden Ave.                              Memphis           TN      38104
Kathryn Dimarco-Kovalik         2626 Pemberton Drive                          Houston           TX      77040
Kathryn Dormady                 7337 North State Hwy 16                       Poteet            TX      78065
Kathryn Francis                 6590 Turkey Hollow Trail                      Browns Valley     CA      95918
Kathryn Gaynor                  1364 wexford hills parkway                    smyrna            GA      30080
Kathryn Guy                     534 Gresham Rd                                Brookshire        TX      77423
       In re Parker School Uniforms, LLC
                        Case 18-10085-CSS
       Schedule E/F, #3.9 - customer back-orders
                                                         Doc 3      Filed 01/12/18   Page 80 of 134


Name                            Address 1                           Address 2    City              State   Zip Code
Kathryn Heermann                8355 BAKER LN                                    LOS FRESNOS       TX      78566
Kathryn Martinez                2701 Wallin Dr.                                  Irving            TX      75062
Kathryn Naifeh                  545 Lexington Circle                             Memphis           TN      38120
kathryn rinehart                2015 Alabama st.                                 Houston           TX      77004
Kathryn Sipe                    16215 Bulverde Point                             San Antonio       TX      78247
Kathryn Sneed                   173 Greenbriar Drive                             Memphis           TN      38117
Kathryn Stokes                  1420 SAN SABA DR                                 DALLAS            TX      75218
Kathryn Witt                    808 Legends Glen Ct                              Franklin          TN      37069
kathryn yung                    8 sky vista                                      irvine            CA      92602
Kathryne Lee                    528 Paul Jones Pass                              Austin, TX        TX      78748
Kathy Burkholder                30016 Cantor Circle                              Fair Oaks Ranch   TX      78015
Kathy Choi                      1884 Berkshire Dr                                Fullerton         CA      92833
Kathy Clark                     425 NORMAN CIR                                   CLEVELAND         MS      38732
Kathy Gonzalez                  1118 Marchesi                                    SAN ANTONIO       TX      78258
Kathy Hoffman                   2314 E Garfield Ave                              Orange            CA      92867
KATHY MAGEE                     243 SPRINGWOOD DR                                TERRY             MS      39170
Kathy Malish                    3803 BARRINGTON ST                  APT 17A      SAN ANTONIO       TX      78217
Kathy Mcdonnell                 114 GARDENGATE DR                                FRANKLIN          TN      37069
Kathy McGee                     611 Eastcastle Ct.                               Franklin          TN      37069
Kathy Miller                    40 Messina Way                                   Atlanta           GA      30328
Kathy Mosley                    2079 Wyeth Walk                                  Marietta          GA      30062
Kathy Oppenheimer               1135 OSPREY LN                                   NASHVILLE         TN      37221
Kathy Powell                    100 Creekwood Landing Drive #2107                Richwood          TX      77531
Kathy Prieto                    3880 Flowerland dr                               Atlanta           GA      30319
Kathy Ramsland                  6339 DESCO DR                                    DALLAS            TX      75225
KATHY ROBERTS                   664 TARA RD                                      BRANDON           MS      39042
Kathy Turner                    POB 8825                                         Horsehoe Bay      TX      78657
Kathy Williams                  4115 Shawnee ln ne                               Brookhaven        GA      30319
Katie Belenchia                 2340 elm street                                  Hernando          MS      38632
Katie Benjamin                  9884 Arctic Dr                                   Frisco            TX      75035
Katie Downs                     750 Concord Street                               Vidor             TX      77662
Katie Evans                     200 IRA AVE                                      SAN ANTONIO       TX      78209
KATIE FOGARTY                   1444 SADDLE CRST                                 MOUNT JULIET      TN      37122
Katie Gray                      450 N. Denny Rd.                                 Lebanon           TN      37087
Katie Hall                      5414 Brooke Farm Dr                              Dunwoody          GA      30338
Katie Harvey                    15041 Lake Mead                                  Robstown          TX      78380
Katie JONES                     3414 FOLSOM BLVD                                 SACRAMENTO        CA      95816
Katie Kelsey                    5804 SWISS AVE                                   DALLAS            TX      75214
Katie Krooss-Jones              19 highland meadows                              jackson           MS      39211
Katie Landers                   160 Brightstar Court                             Gallatin          TN      37066
katie mattison                  5828 N. Maize Rd.                                Maize             KS      67101
Katie Mercer                    4889 Marianne Lane                               Memphis           TN      38117
Katie Nolte                     24610 STOUGHTON CT                               KATY              TX      77494
Katie Roth                      35005 San Carlos St.                             Yucaipa           CA      92399
Katie Sanders                   937 Jadewood Dr                                  Dallas            TX      75232
Katie Tinsley                   340 Littleton Dr                                 Austin            TX      78737
Katie Zorich                    6202 LYNBROOK DR                                 HOUSTON           TX      77057
Katina Goudeau                  2005 Hollow Creek Dr.                            Dallas            TX      75253
Katina Potts                    2928 Cottage Ln                                  Lancaster         TX      75134
Katrin Hanley                   17941 Caballo Dr.                                Yorba Linda       CA      92886
KATRINA BRUNSON                 301 DAMPEER ST                                   CRYSTAL SPRINGS   MS      39059
Katrina Clemons                 100 E CENTRAL TEXAS EXPRESSWAY                   KILLEEN           TX      76541
Katrina Jones                   702 south camilla street                         Memphis           TN      38104
Katsey Johnson                  3400 Riverwalk Dr                                Norman            OK      73072
Kattie Carlisle                 293 CORNERSTONE DR                               BRANDON           MS      39042
Katy Breithaupt                 2124 Dothan Drive                                Murfreesboro      TN      37128
Katy Ellis                      19 GURLEY CREEK RD                               LEXINGTON         TN      38351
Katy Hollingsworth              2 REVIVAL ST                                     ROSWELL           GA      30075
Katy Keim                       6314 40th Avenue                                 sacramento        CA      95824
Katy Kiser                      2714 Wagon Wheel Dr.                             Carrollton        TX      75006
Katy Livingston                 5912 Marilyn Dr                                  Austin            TX      78757
katy luong                      361 greendale dr                                 la puente         CA      91746
KAvitha Tirunagari              9006 DILLON TRL                                  IRVING            TX      75063
Kay Forest                      523 ROLLINGWOOD DR                               JACKSON           MS      39211
Kay Grimes                      2209 White Oak Rd                                McKinney          TX      USA
kay hsiao                       223 s del giorgio rd                             anaheim hills     CA      92808
Kay Kimbrough                   1314 County Road 2011                            Walnut Springs    TX      76690
KAY MCDANIEL                    750-A HWY 61 NORTH                               Vicksburg         MS      39183
Kay Price                       5406 ROLLING WOOD DR                             SAN ANTONIO       TX      78228
Kay TIeman                      220 Wallington Way                               Lewisville        TX      75067
Kayla Chalmers                  3310 Lost Oasis Hollow                           Austin            TX      78739
Kayla Clark                     4100 Parklawn Ave #217                           Edina             MN      55435
Kayla Dockery                   4666 LORECE AVE                                  MEMPHIS           TN      38117
Kayla Pham                      4937 CLOISTER AVE                                MEMPHIS           TN      38118
Kayla Shea                      12321 Afton Place                                Arlington         TX      77040
Kayla Wiede                     894 Clear Water Drive                            Allen             TX      75013
Kaylee McLaughlin               649 Crest Dr                                     El Cajon          CA      92019
Kaylin Weber                    4120 Oberlin                                     Houston           Texas   77040
Kecia Rouse                     729 Miller Run                                   Atlanta           GA      30349
Keeley Childress                1481 Pine Shadows Dr                             Memphis           TN      38120
KEELY SANCHEZ                   7624 CHASM LAKE DR                               AUSTIN            TX      78724
Keisha Heath                    12803 West Ave                      Apt 4102     San Antonio       TX      78216
Keisha Pascall                  5654 Bear Meadow Ln                              Katy              TX      77449
Keisha Wright                   1125 SOUTHPOINTE DR                              DESOTO            TX      75115
Keith Cope                      461 Blair Road                                   Mount Airy        GA      30563
Keith Price                     6229 Malloch Drive                               Memphis           TN      38119
Keithanne Davis                 11608 Northview Dr                               Aledo             TX      76008
KELI ANDERSON                   269 WALDROP RD                                   FLORA             MS      39071
kelia norris                    1371 east raines rd                              memphis           TN      38116
Kelley Chaplin                  4048 Courtshire Dr                               Dallas            TX      75229
Kelley FitzGerald               19923 Terra Canyon                               San Antonio       TX      78255
Kelley Maltby                   287 River Birch Circle                           Wetumpka          AL      36093
Kelley Nolan                    601 Eagles Landing                               Oak Point         TX      75068
      In re Parker School Uniforms, LLC
      Schedule E/F, #3.9Case     18-10085-CSS
                          - customer back-orders          Doc 3   Filed 01/12/18             Page 81 of 134


Name                           Address 1                          Address 2             City              State   Zip Code
Kelli McQueen                  14 Cramer Dr                                             Lakeville         IN      46536
Kelli Miller                   504 high Hope rd                                         Sulphur           LA      70663
Kellie Boucher                 5551 SUNNYMEADE PL                                       PEGRAM            TN      37143
Kellie Maske                   2028 Allenby Road                                        Germantown        TN      38139
Kellie Wesemeyer               133 Highgrove Dr                                         Suwanee           GA      30024
Kelly Anstead                  4100 Clayton Rd W                                        Fort Worth        TX      76116
Kelly Bartholomew              6980 Sylvan Rd                                           Citrus Heights    CA      95610
Kelly Basel                    806 Willowsprings Blvd                                   Franklin          TN      37064
Kelly Becker                   2908 Calle Guadalajara                                   San Clemente      CA      92673
Kelly Brogden                  1911 Drake Dr                                            Richardson        TX      75081
Kelly Childress                25 MONTCLAIRE                                            HATTIESBURG       MS      39402
kelly clark                    5832 Alder St                                            lake charles      LA      70605
Kelly Connell                  PO BOX 1388                                              CLARKSDALE        MS      38614
Kelly Fairfield                148 CAMDEN XING                                          MADISON           MS      39110
Kelly Finley                   1319 Studer St                                           Houston           TX      77007
Kelly Flynn                    7659 BEAVER HEAD RD                                      FORT WORTH        TX      76137
Kelly Galambus                 1038 Highland Cove Place                                 Ridgeland         MS      39157
Kelly Haines                   890 Orchid Hill Ln                 (leave box at gate)   Argyle            TX      76226
KELLY Haithcock                6908 Reverchon Ct                                        Colleyville       TX      76034
Kelly Harrison                 142 Harbor Isle Circle N                                 Memphis           TN      38103
Kelly Hipp                     5509 SEVILLE LN                                          MONTGOMERY        AL      36116
kelly hutchison                17715 PLACID TRAILS DR                                   TOMBALL           TX      77377
Kelly Krantz                   112 Bonnabrook Drive                                     Hermitage         TN      37076
kelly lamberson                8646 Heatherly Cove                                      Germantown        TN      38138-7324
Kelly Larsen                   Box 354                                                  Point Lookout     TX      77040
Kelly Lebow                    884 Van Leer Dr                                          Nashville         TN      37220
Kelly Lewallen                 7701 Brookview Court                                     Irving            TX      75063
Kelly Martin
Kelly Mathews                  5638 Tremont St.                                         Dallas            TX      75214
Kelly Miller                   13519 Broadmeadow Lane                                   Houston           TX      77077
Kelly Morgan                   6163 Monticello                                          Dallas            TX      75214
Kelly Mungle                   1668 GOLDEN FIELDS DR                                    GERMANTOWN        TN      38138
Kelly Mungovan                 7 Woodridge Dr                                           Oak Brook         IL      60523
Kelly Percifield               3800 Arroyo Road                                         Fort Worth        TX      76109
kelly romine                   1715 Dover Street                                        Murfreesboro      TN      37130
KELLY SANDERS                  103 MANOR LN                                             WAXAHACHIE        TX      75165
Kelly Sheffield                36 Fields Chase                                          Jackson           TN      38305
Kelly Thigpen                  2010 El Camino Real 742                                  Santa Clara       CA      95050
Kelly Wood                     6209 Saddleback Dr.                                      Denton            TX      76210
Kelly Yartz                    1007 ABBY LN                                             Pittsburg         KS      66762
Kelsey Geeding                 421 Vista Noche Dr                                       Lewisville        TX      75067
Kelsey Mccord                  5531 Morningside Ave.                                    Dallas            TX      75206
Kelsey Poe                     1815 Rockridge Terrace                                   Fort Worth        TX      76110
Kelsha Bell
KEN BLAIR                      2018 KENSINGTON GREEN DR SE                              SMYRNA            GA      300806482
Ken Elliott                    12118 DIXFIELD DR                                        DALLAS            TX      75218
Ken Parker                     4614 Shetland Ln                                         Houston           TX      77027
Ken Thomas                     1713 White Falls Dr                                      Desoto            TX      75115
Kena Gottier                   200 Woodhill                                             Horseshoe Bay     TX      78657
Kendal Hagee                   1100 Ranger Creek                                        Boerne            TX      78006
Kendall Watson                 3043 Ellington Drive                                     Los Angeles       CA      90068
Kendra George                  1731 Lagneaux Rd Trlr 24                                 Lafayette         LA      70506
Kendra JACKSON                 903 S Adams Ave                                          Dallas            TX      75208
Kendra Schulte                 2217 VanBuren Ave NE                                     Piedmont          OK      73078
Kendra Tidwell                 6758 Abingdon Cv                                         Memphis           TX      77040
Kennedy Aganah                 600 Robert Circle                                        Tuskeegee         AL      36088
Kenneth Drake                  3422 Trio Lane                                           Sacramento        CA      95817
Kenneth Lynn Greer             6241 South Land Park Drive                               Sacramento        CA      95831
Kenneth Smith                  9603 Justice Ln                                          Converse          TX      78109
kenny Edwards                  5286 Algiers drive                                       memphis           TN      38116
Kenny Strong                   221 A First St                                           vicksburge        MS      39183
Kenwatta Mccastler             921 Westmoreland Circle Apt#3305                         Atlanta           GA      30318
Kenya Brent                    4039 Rocky Falls Rd                                      Hazlehurst        MS      39083
Kenya Wooden                   3561 GreenTree Farms Drive                               Decatur           GA      30034
Kerby Alexander                5135 WATKINS DR                                          JACKSON           MS      39206
Keri Pye                       20318 Cypresswood Chase                                  Spring            TX      77373
Keri Toll                      709 Columbia dr                                          Sacramento        CA      95864
Keri Wood                      1745 ALANA DR                                            TERRY             MS      39170
Kerri Bazen                    4080 Mohawk Ave.                                         Grandville        MI      49418
Kerry Collins                  33775 Violet Lantern                                     Dana Point        CA      92629
Kerry Moodie                   2345 Sage Road                     Apt 109               Houston           TX      77056
Kerry Taylor                   6245 Rio Bonito Dr                                       Carmichael        CA      95608
Kerry Yonushonis               2318 Grand Springs Dr                                    Katy              TX      77040
Keryl Yarbroush                7011 FALLING CHERRY PL                                   HOUSTON           TX      77049
Keshawna Turner                7901 LOWRANCE RD                                         MEMPHIS           TN      38125
Kevin Destin                   2205 Lakewind Drive                                      Houston           TX      77584
Kevin Larson
Kevin Levesque                 3401 Cliff Terris South                                  Birmingham        AL      35205
Kevin Lopez-Hernandez          4280 English Oak Drive             Apt K-3               Doraville         GA      30340
Kevin Madden                   1284 Anise Cv                                            Cordova           TN      38016
Kevin Martinez                 5701 JOHNNY MORRIS RD              TRLR 17               AUSTIN            TX      78724
Kevin Otsuji                   25731 Empresa                                            Mission Viejo     CA      92691
Kevin Trigg                    3135 Esplanade Cir. SW                                   Atlanta           GA      30311
Kfir Alfia                     8088 Park Lane                     Apt 1016              DALLAS            TX      75231
Khaled Hassan                  2141 N Harbor Blvd                                       Fullerton         CA      92835
Khang Tran                     8812 Calico Ave                                          Garden Grove      CA      92841
Khanh Cao Gia Nguyen           5580 vista cantora                                       Yorba Linda       CA      92882
khawar javaid                  2005 DESIRE AVE                                          ROWLAND HEIGHTS   CA      91748
Khlood Almasoud
Kian Aminian                   12288 Baja Panorama                                      Santa Ana         CA      92705
Kiara Faulkner                 1281 Brockett rd                   Apt 24-C              Clarkston         GA      30021
Kicha Irish                    24906 Crescent Trace                                     San Antonio       TX      78258
Kierra Abram                   11211 Lemond Dr                                          Houston           TX      77016
          In re Parker School Uniforms, LLC
                          Case
          Schedule E/F, #3.9        18-10085-CSS
                              - customer back-orders                             Doc 3   Filed 01/12/18    Page 82 of 134


Name                                               Address 1                             Address 2    City               State   Zip Code
Kiim Vanbeek                                       6070 Ramsdell Dr                                   Rockford           MI      49341
kiley phillips                                     916 Bradford Ave                                   Nashville          TN      37204
Kim Anaipakos                                      2330 Maroneal Street                               Houston            TX      77030
Kim Baena                                          9701 Avion Cove                                    Dripping Springs   TX      78620
Kim Barger                                         1408 BRIXEY CV                                     AUSTIN             TX      78754
Kim Bostian                                        20955 W TEJAS TRL                                  SAN ANTONIO        TX      78257
Kim Bridenbecker                                   2306 E VISTA CANYON RD                             ORANGE             CA      92867
Kim Burk                                           1057 Charles place                                 Munford            TN      38058
Kim Byas                                           PO Box 1480                                        Indianola          MS      38751
Kim Ceja                                           38 Foliate Way                                     Ladera Ranch       CA      92694
Kim Cochran                                        602 Edgewood Crossing Cv.                          Brandon            MS      39042
Kim Cunningham                                     952 Old Pinson Rd                                  Pinson             TN      38366
Kim Fertitta                                       1206 Montecito                                     Bulverde           TX      78163
Kim Frazier                                        615 Rosalia Street                                 Atlanta            GA      30312
Kim Hoggett                                        764 Garrison Drive                                 Nashville          TN      37207
Kim Holmes                                         2268 Waterford Rd.                                 Sacramento         CA      95815
Kim Jordan                                         60 Pebble Beach                                    Houston            TX      77064
Kim Landers                                        165 Beverly Rd NE                                  Atlanta            GA      30309
Kim Lanier                                         28735 Preakness Ln                                 Fair Oaks Ranch    TX      78015
Kim Lucas                                          5337 SUGAR HILL DR                                 HOUSTON            TX      77056
Kim Mcclain                                        8529 OLD HARDING LN                                NASHVILLE          TN      37221
Kim McDaniel                                       6538 Palace View Ln                                Memphis            TN      38134
Kim Miller Perry                                   236 Rustic Acres                                   Selma              TX      78154
Kim Nowland                                        2641 Foothill Dr                                   Carmichael         CA      95608
Kim Potter                                         120 Maddoxwood Drive                               Griffin            GA      30224
Kim Reed                                           7808 E 31ST Circle North                           WICHITA            KS      67226
Kim Rubinson                                       10402 Town and Country Way            Apt 501      HOUSTON            TX      77024
Kim Scroggs                                        1505 W Dumbarton Dr                                Lake Charles       LA      70605
kim shea                                           933 waverly street                                 houston            TX      77008
Kim Speairs                                        7054 SERRANO DR                                    FORT WORTH         TX      76126
Kim Stewart                                        1113 Travis Cir.                                   IRVING             TX      75038
Kim Studley                                        3002 Echo Hill Way                                 Orange             CA      92867
Kim Tyndall                                        531 DEFORREST ST                                   CORPUS CHRISTI     TX      78404
Kim Walker                                         219 Stornaway Drive                                Jackson            TN      38305
Kim Whestone                                       6501 Meadow Lark Dr.                               Montgomery         AL      36116
KIM WHITTINGTON                                    14147 MONTICELLO RD                                HAZLEHURST         MS      39083
Kimberlea Kelly                                    113 Delia Street                                   Crystal Springs    MS      39059
Kimberlee Nunn                                     4303 gwynne rd                                     Memphis            TN      38117
Kimberlee Vo                                       2430 N Parkdale St                                 Wichita            KS      67205
Kimberlee Walters                                  6501 Blanch Circle                                 Dallas             TX      75214
kimberleigh zolciak                                3140 MANOR BRIDGE DRIVE                            Alpharetta         GA      30004
kimberley ivory                                    5715 Jamerson Dr.                                  College Park       GA      30349
Kimberley Stepan                                   1803 Slumber Pass                                  San Antonio        TX      78260
Kimberley Taylor                                   4834 WICKVIEW LN                                   HOUSTON            TX      77053
Kimberley Tolias                                   2402 McClendon St                                  Houston            TX      77030
Kimberly Albright                                  2901 Albans Rd                                     Houston            TX      77005
Kimberly Belton                                    3405 Loganwood Dr                                  Dallas             TX      75227
Kimberly Bickham                                   11022 Seminole Springs Lane                        Houston            TX      77089
Kimberly Briggs                                    101 Calle Dos                                      Marble Falls       TX      78654
Kimberly Burke                                     8995 Ridgemont Dr                                  Atlanta            GA      30350
Kimberly Craig                                     4490 Brookhaven Court                              Cumming            GA      30040
Kimberly Fernandes                                 1435 Belvedere dr.                                 Beaumont           TX      77706
Kimberly Lucas                                     20219 CYPRESSWOOD GLN                              SPRING             TX      77373
Kimberly Luikart                                   6812 Rio Bravo Lane                                Austin             TX      78737
Kimberly Mansel                                    5450 LINDA LN                                      BRYAN              TX      77807
Kimberly Maroney                                   1702 SORENSON DR                                   ROCKPORT           TX      78382
Kimberly Metz                                      5413 Cochin Ave                                    Arcadia            CA      91006
Kimberly Nieves                                    100 Creekside                                      Irving             TX      75063
Kimberly Pino                                      17511 Woods Edge Drive                             Dallas             TX      75287
Kimberly Roberts                                   920 Hilton English rd                              Demorest           GA      30535
Kimberly Robertson                                 8643 FLOSSIE MAE STREET                            HOUSTON            TX      77029
Kimberly Sutton                                    4048 Ash Tree Street                               Snellville         GA      30039
Kimberly Taylor                                    4508 Claret Ct                                     argyle             TX      76226
Kimberly Travis                                    12227 Ghita Ln                                     Houston            TX      77044
Kimberly Turner                                    3050 Verde Vista Trl.                              Dallas             TX      75236
Kimberly Villarreal                                5640 Blueridge Drive                               Fort Worth         TX      76112
Kimberly Williams                                  6836 SPERRY ST                                     DALLAS             TX      75214
Kimbley Fulton-pryor                               2812west10thstreet                                 Jacksonville       FL      32254
Kimi Vesta                                         3020 Willow Brook Road                             Oklahoma City      OK      73120
Kina Kinght                                        5883 Friars Field Dr                               Arlington          TN      38002
Kings Ridge Christian School, Alpharetta           2765 BETHANY BND                                   ALPHARETTA         GA      30004
Kionna uzodinma                                    11315 Fondren Road # 1802                          Houston            TX      77035
KIPP Connect Elementary, Houston                   6700 BELLAIRE BLVD                                 HOUSTON            TX      77074
Kipp Houston High School, Houston                  10711 KIPP WAY DR                                  HOUSTON            TX      77099

KIPP Inc. : Kipp Nexus Middle School, Houston      4211 WATONGA BLVD                                  HOUSTON            TX      77092

KIPP Inc. : Kipp Nexus Primary School, Houston     4211 WATONGA BLVD                                  HOUSTON            TX      77092

KIPP Inc. : Kipp Northeast College Prep, Houston   9680 MESA DR                                       HOUSTON            TX      77078
Kipp Nashville Collegiate, Nashville               123 DOUGLAS AVE                                    NASHVILLE          TN      37207
Kipp Polaris Academy, Houston                      9636 MESA DR                                       HOUSTON            TX      77078
Kipp Sol Academy, Los Angeles                      4800 E CESAR E CHAVEZ AVE                          LOS ANGELES        CA      90022
Kipp Spirit, Houston                               11000 SCOTT ST                                     HOUSTON            TX      77047
Kipp Sunnyside High School, Houston                11000 SCOTT ST                                     HOUSTON            TX      77047
Kipp Unity Primary, Houston                        8500 HIGHWAY 6 S                                   HOUSTON            TX      77083
Kipp Vision Academy Middle, Atlanta                660 MCWILLIAMS RD SE                               ATLANTA            GA      30315
Kipp Voyage Academy, Houston                       9616 MESA DR                                       HOUSTON            TX      77078
Kipp Zenith Academy, Houston                       11000 SCOTT ST                                     HOUSTON            TX      77047
Kira Leavens                                       8361 Lebanon Road                                  Murfreesboro       TN      37129
Kiran Saridena                                     8123 pitkin road                                   Frisco             TX      7t034
Kirk Kuykendall                                    114 Matisse Dr.                                    Houston            TX      77079
Kirk Quigless                                      35 Kingsbury Place                                 Saint Louis        MO      63112
           In re Parker School
                         Case  Uniforms, LLC
                                  18-10085-CSS              Doc 3   Filed 01/12/18   Page 83 of 134
           Schedule E/F, #3.9 - customer back-orders


Name                               Address 1                        Address 2    City              State   Zip Code
KIRSTEN BAINES                     3411 Dalmatian Dr                             Houston           TX      77045
Kirsten Burroughs                  22813 Rainfern Dr                             Magnolia          TX      77355
Kirstin Marshall                   2330 Joel Wheaton Road                        Houston           TX      77077
Kiunda Edwards                     3834 Ginkgo LN                   apt 104      Memphis           TN      38125
Komlan Aboki                       4786 CEDAR PARK WAY                           STONE MOUNTAIN    GA      30083
kornisaus a matsey
Kris Schultz                      3720 Darcus st                                 Houston           TX      77005
KRISLINE SPIRIT                   2222 BUROAK RIDGE                              San Antonio       TX      78248
Krista Riche                      612 Salems Ct                                  Madison           MS      39110
Kristal Taber                     130 Paseo Encinal                              San Antonio       TX      78212
kristeen kal                      190 e big springs rd                           Riverside         CA      92507
Kristen Buck                      5206 Green Tree                                Houston           TX      77056
Kristen Cabrera                   3753 promontory pt                             Perris            CA      92570
Kristen Cannon                    190 Meadow Glen                                Somerville        TN      38068
Kristen Dalley                    501 Travis Ln                                  Prosper           TX      75078
Kristen Edwards                   565 Talmalge Hall Ct                           Conroe            TX      77302
Kristen Heidelberg                135 BENT OAKS DR                               JACKSON           TN      38305
KRISTEN HILL                      2383 OLD REX MORROW RD                         ELLENWOOD         GA      30294
Kristen Roberson                  66 Saddle Tree Drive                           Humboldt          TN      38343
Kristi Belt                       1623 Chippendale Rd.                           Houston           TX      77018
kristi dawn pruter                18041 debi ln                                  YORBA LINDA       CA      92886
KRISTI ELDRIDGE                   147 ANDERSON STATION ROAD                      FLORA             MS      39071
Kristi Elizondo                   1 DAVENPORT LN                                 SAN ANTONIO       TX      78257
Kristi Green                      2395 Bright Rd                                 Hernando          MS      38632
Kristi Hyzak                      12115 RHETT DR                                 HOUSTON           TX      77024
kristi jordan                     5951 CR 167                                    Itta Bena         MS      38941
Kristi Pesce                      7549 CRYSTAL LAKE DR                           CORDOVA           TN      38016
KRISTI THOMPSON                   1414 FAWNWOOD DR                               BRANDON           MS      39042
Kristi Vasher                     1113 ALICIA LN                                 LANCASTER         TX      75134
Kristia Holloway                  4780 Summer Ave                   suite 103    Memphis           TN      38122
Kristie Blum                      1874 Wyndale Ct                                Chamblee          GA      30341
Kristie Rozendaal                 37 Maynard Ave NW                              Grand Rapids      MI      49504
Kristin Alvey                     18 Green Coral Cove                            Jackson           TN      38305
Kristin Azevedo                   210 Joliet Ave                                 San Antonio       TX      78209
Kristin Beerman                   1417 ReDrr Wood                                Oak Point         Texas   76227
Kristin Brull                     6404 twin oaks drive                           plano             TX      75024
Kristin Delmastro                 2513 SW Winterview Ridge                       Lees Summit       MO      64081
Kristin Doherty                   211 OXFORD PL                                  RIDGELAND         MS      39157
Kristin Dunford                   3508 High Horse                                Leander           TX      78641
KRISTIN MAHER                     4307 EARLENE DRIVE                             NASHVILLE         TN      37216
Kristin Mlinar                    2 WEDGEWOOD BLVD                               CONROE            TX      77304
Kristin Morrow                    14979 FM 916                                   Maypearl          TX      76064
kristin ownby                     3318 Merrick st                                Houston           TX      77025
Kristin Ribic                     369 Pinecrest Rd Ne                            Atlanta           TX      77040
Kristin Valette                   1617 Vista Luna                                San Clemente      CA      92673
Kristin Vazquez                   198 Cottonwood Drive                           Franklin          TN      37069
Kristina Brock                    9700 BUSINESS PARK DR             STE 105      SACRAMENTO        CA      95827
Kristina Fluetsch                 115 W. Walnut St.                              Lodi              CA      95240
Kristina Franklin                 8410 S. Westmoreland Rd.          Apt #2605    Dallas            TX      75236
Kristina Norlander                7126 Tessa Lakes Ct                            Sugar Land        TX      77479
Kristina Piehl                    30510 Cedar Woods Street                       Fulshear          TX      77441
Kristine Hilliard                 2512 KAREN LANE                                LAKE CHARLES      LA      70605
Kristine Rhee                     4885 Biona Dr                                  San DIego         CA      92116
Kristine Wood                     2883 Malabar Pl                                Southaven         MS      38672
Kristle Channel                   4191 THOMAS RD                                 CRYSTAL SPRINGS   MS      39059
Kristy Billings                   23207 S Warmstone Way                          Katy              TX      77494
Kristy Blanco                     808 BERNARD WAY                                SAN BERNARDINO    CA      92404
Kristy Coviello                   327 Arcadia place                              teral hills       TX      78209
Kristy Demorest                   1143 SARDIS RD                                 HAZLEHURST        MS      39083
Kristy Dewinne                    14803 COUNT FLEET                              SAN ANTONIO       TX      78248
Kristy Raymond                    3326 Rock Creek Way                            Oklahoma City     OK      73120
Krystal Korn                      5814 CASTLE HUNT                               SAN ANTONIO       TX      78218
Krystel Bolle                     1900 W West Ave                                Fullerton         CA      92833-3252
Krystin Kim                       2641 E. Villa Vista Way                        Orange            CA      92867
Krystle Lamb                      17411 Nordway Drive                            Houston           TX      77084
Kuppusamy Vellamadam Palavesam    5325 N MacArthur Blvd             Apt 3082     Irving            TX      75038
Kyla Cox                          337 Eastwood Ave.                              Ft. Worth         TX      76107
Kyle And Sara Sweet               24 W PARK PL                                   OKLAHOMA CITY     OK      73103
Kyle Deutsch                      1370 Afton St#799                              Houston           TX      77055
Kyli Harmon                       914 wilson ranch pl                            Cedar park        TX      78613
Kym Gabel                         5410 Braeburn Drive                            Bellaire          TX      77401
Kym Ratcliffe                     1530 N ROCKY CREEK RD                          WICHITA           KS      67230
Kyra Burnett                      2116 Highlands Springs Place                   Louisville        KY      40245
La Sierra Academy                 4900 Golden Ave                                Riverside         CA      92505
La Sierra Academy, Riverside      4900 GOLDEN AVE                                RIVERSIDE         CA      92505
LaCara Black                      9725 Woodland Brook Ln                         Cordova           TN      38018
Lacey Chacon                      403 Norman Circle                              Cleveland         MS      38732
Lachandra White                   8631 VALLEY LEDGE DR                           HOUSTON           TX      77078
Lacie McAbee                      124 Tall Oaks Drive                            Senatobia         MS      38668
Ladonna Moore                     6435 Crestway Drive               #81          San Antonio       TX      78239
Lady Vilchez                      3741 Proctor Street                            Port Arthur       TX      77642
LaFonda buckhalter                6117 rock dove circle                          colleyville       TX      76034
LaFonda Somerville                135 Antler Trail                               Alpharetta        GA      30005
Lagayla Summers                   121 WINDSOR                                    FORNEY            TX      75126
Laila Bukai                       57 bluecoat                                    Irvine            CA      92620
Laila Duella                      26 CANOE                                       IRVINE            CA      92618
Lainey Miceli                     1989 Brisbane Drive                            Spring Hill       TN      37174
LaKeisha Fields                   841 Longmeadow Ct                              Desoto            TX      75115
Lakeisha Stewart                  6767 Bennington St apt 917                     Houston           TX      77028
Lakeitricia Washington            7575 CHAUCER PL                   APT 1113     DALLAS            TX      75237
Lakendra Berry                    1215 NEPTUNE RD                                DALLAS            TX      75216
Lakesha Farmen                    1252 Peabody Ave                               Memphis           TN      38104
Lakisha Hill                      227 prairie vista                              dallas            TX      75217
      In re Parker SchoolCase
                          Uniforms, LLC
                                 18-10085-CSS                  Doc 3   Filed 01/12/18    Page 84 of 134
      Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                               Address 2    City               State   Zip Code
Lalicia Johnson                201 S Joe Wilson Rd, Apt. 512                        Cedar Hill         TX      75104
Lamar Paredes                  2610 Lane St.                                        Laredo             TX      78043
Lan Liu                        5216 Shoal Haven Court                               Sugar Land         TX      77479
Lan Zhang                      22418 Tullis Ct                                      Katy               Texas   77494
Lana Gooch                     1341 LAKE RD                                         NOLENSVILLE        TN      37135
Landsey Cornelius              603 East Northfield Blvd                             Murfreesboro       TN      37130
Laney Carillo                  10831 RUE DES LAC                                    SAN ANTONIO        TX      78249
Lani Paxton                    2584 River Oak Drive                                 Decatur            GA      30033
Laquanna Huston                2776 leone dr south                                  Macon              GA      31206
LaQuette Harvest               8081 Marvin d love Fwy                  204          Dallas             TX      75237
Lara Derryberry                216 Deer Park Circle                                 Nashville          TN      37205
Lara Gerges                    43 CHAMPION TRL                                      SAN ANTONIO        TX      78258
Lara Merritt                   171 Twin Springs Rd N                                Kerrville          TX      78028
Lara Padgett                   811 Storey Ave                                       Midland            TX      79701
Lark C Pickell                 6747 ALEXANDER DR                                    DALLAS             TX      75214
Larry Hammond                  12706 Leader St                         Apt A        Houston            TX      77072
Larry Wallace                  2488 Springdale Rd                                   Atlanta            GA      30315
lashayn matthews               14230 brunswick point ln                             Pearland           TX      77047
LASHEA STUBBLEFIELD            3107 Borgata Way                                     El Dorado Hills    CA      95762
Lashonda Carpenter- Jones      3516 SILVERHILL DR                                   DALLAS             TX      75241
Lashonda Kille                 8531 Harbinger Ct                                    Montgomery         AL      36117
Lashonnda English              2314 North st augstian dr                            Dallas             TX      75227
Latanya Harrison               9001 CHATWOOD DR                                     HOUSTON            TX      77078
LATARA KIRBY                   3637 Haughton ln #1                                  memphis            TN      38128
Latesha Johnson                6704 Brown Mill Trail                                Lithonia           GA      30038
LaTonya Jiggetts               5865 Village Loop                                    Fairburn           GA      30213
Latonya Jones                  412 STONY CREEK DR                                   DESOTO             TX      75115
LaTonya Washington             17713 Kessler Dr                                     Pflugerville       TX      78660
LaToya Brown                   3634 Linecrest Trl                                   Ellenwood          GA      30294
Latoya Webb                    30 Winslow Cove                                      Jackson            TN      38305
Latoyia Broner                 6631 Copper Court                                    Douglasville       GA      30134
Latoyia Rhinehart              114 Woodin                                           Dallas             TX      75224
Laura Barnum                   313 Blaydes Drive                                    Atoka              TN      38004
Laura Braasch                  7003 LAKEWOOD BLVD                                   DALLAS             TX      75214
Laura Broussard                6910 Sandwedge Point Court                           Spring             Texas   77040
Laura Burak                    6119 Waller Lane                                     Colleyville        TX      76034
Laura Butler                   4626 Benton Smith Road                               NASHVILLE          TN      37215
Laura Chandler                 815 Oslo Road                                        Mt. Juliet         TN      37122
laura coggiola                 2701 s del norte                                     ontario            CA      91761
Laura Daily                    696 UNION WINE RD                                    NEW BRAUNFELS      TX      78130
Laura Edwards                  9218 DOVE MEADOW DR                                  DALLAS             TX      75243
Laura Ellman                   1400 Common                                          El Paso            TX      79936
Laura Esquivel                 225 N BLANCO ST                                      EAGLE PASS         TX      78852
laura falgout                  2303 terry ave.                                      melissa            TX      75454
Laura Galbreath                5730 VELASCO AVE                                     DALLAS             TX      75206
Laura Gallardo                 214 CHIPINQUE                                        SAN ANTONIO        TX      78237
Laura Garcia                   218 Sheffield                                        San Antonio        TX      78213
Laura Garza                    12702 Chateau Forest                                 San Antonio        TX      78230
Laura Geffert                  7679 CR 192                                          Anderson           TX      77830
Laura Gibson                   7045 South Hampton Blvd                              Antioch            TN      37013
Laura Grahmann                 617 Byrne Street                                     Houston            TX      77009
laura heathcott                6210 Dovecote Lane                                   Memphis            TN      38120
Laura Hendrick                 90 Cherencey Ct                                      Pike Road          AL      36064
Laura Hernandez                3328 CEDARPLAZA LN                      APT 131      DALLAS             TX      75235
laura hotze                    3603 murillo circle                                  austin             TX      78703
Laura Jarosemich               1046 Street Rd                                       Kingston Springs   TN      37082
Laura Johnson                  2002 WINFIELD RD                                     MIDLAND            TX      79705
Laura Jolly                    9780 Broken Bow Rd                                   Dallas             TX      75238
Laura Knight                   187 Washam Road                                      Mooresville        NC      28117
Laura Le                       7419 FONDREN RD                                      HOUSTON            TX      77074
Laura Liu                      226 W. Pebble Creek Ln                               Orange             CA      92865
Laura M Guerra                 121 E. Sunflower                                     McAllen            TX      78504
Laura Martin                   PO Box 536                                           Burnet             TX      78611
Laura Messina                  222 INSLEE AVE                                       SAN ANTONIO        TX      78209
LAURA MILLER                   2116 MARTINSVILLE RD                                 HAZLEHURST         MS      39083
Laura Mitchell                 3319 QUAKERTOWN DR                                   SAN ANTONIO        TX      78230
Laura Munoz                    3969 Admiral Dr                                      Atlanta            GA      30341
Laura Ochoa
Laura Ontiveros                1117 river rock dr                                   kennedale          TX      76060
Laura Patricia Gutierrez       7128 HEMLOCK ST                                      HOUSTON            TX      77087
Laura Pavelka                  1601 Byrn Dr.                                        Allen              TX      75013
Laura Rios                     11241 Hazelcrest Drive                               Dallas             TX      75253
Laura Rocha                    351 Vaquero Rd.                                      Rio Grande City    TX      78582
laura rochac                   1714 Twinbrook                                       houston            TX      77088
Laura Rooker                   795 E Powderhorn Rd                                  Atlanta            GA      30342
Laura Rossini                  19191 Valley Drive                                   Villa Park         CA      92861
Laura Salas                    10996 AVENIDA DEL GATO                               SAN DIEGO          CA      92126
Laura Sandoval                 1138 Spring Lake Dr                                  Duncanville        TX      75137
LAURA SAXON                    5830 ORAM ST APT 1                                   DALLAS             TX      75206
Laura Smith                    324 Red Oak Dr.                                      Jackson            MS      39212
Laura Stewart                  15 VIA SORIA                                         SAN CLEMENTE       CA      92673
Laura Valdez                   11315 WHISPER GLEN ST                                SAN ANTONIO        TX      78230
Laura Veneri                   1724 INVERNESS AVE NE                                ATLANTA            GA      30306
Laura Walker                   103 Windemere Circle                                 Jackson            TN      38305
Laura Whitfield                1013 Como Trace Dr                                   Senatobia          MS      38668
Laura Yakunovich               51 MEADOW BROOK PL                                   SPRING             TX      77382
Laura Zambrano                 4518 OTT CIR                                         DALLAS             TX      75211
Laurel Isaak                   433 Marys Creek Lane                                 Friendswood        TX      77546
Laurel Thompson                1314 Irving Ave                                      Glendale           CA      91201
Lauren Abel                    PO Box 924707                                        Houston            TX      77292
Lauren Bishop                  2111 Snowy Egret Dr                                  Katy               TX      77494
Lauren Bricks                  485 Riverhill Drive                                  Atlanta            GA      30328
Lauren Cost                    901 Albert Court                                     Nashville          TN      37204
     In re Parker School Uniforms, LLC
     Schedule E/F, #3.9 Case     18-10085-CSS
                         - customer back-orders            Doc 3   Filed 01/12/18   Page 85 of 134


Name                           Address 1                           Address 2    City               State   Zip Code
Lauren Gomes                   7525 Ball Mill Rd.                               Atlanta            GA      30350
Lauren Gremillion              15139 TERRA VERDE DR                             AUSTIN             TX      78717
Lauren Heidt                   7020 Hearst Dr                                   El Dorado Hills    CA      95762
Lauren Kerkhoff                4824 Village Creek Drive                         Dunwoody           GA      30338
Lauren Lopez                   122 HOLLYWOOD AVE                                DALLAS             TX      75208
Lauren Montoya                 3732 DRAKE ST                                    IRVING             TX      75062
Lauren Musselwhite             26 Woodbridge road                               Brandon            MS      39042
Lauren Randle                  400 Northpointe Pkwy                             Jackson            MS      39211
Lauren Tanner                  6524 STABLEFORD LN                               FRANKLIN           TN      37069
Lauren Taylor                  150 VALLEY CV                                    ATLANTA            GA      30350
Lauren Wilson                  9005 FRAZELL CV                                  ROUND ROCK         TX      78681
Lauren Woodard                 2503 Lazybrook Dr                                Houston            TX      77008
Lauren Zugaro                  3308 Beverly Drive                               Dallas             TX      75205
Laurette Veres                 PO Box 66702                                     Houston            TX      77266
Lauri Stoll                    3130 Quenby Ave                                  Houston            TX      77005
Laurie Clother                 1902 WOODCREST DR                                HOUSTON            TX      77018
Laurie Dunkin                  7594 BENEDICT DR                                 DALLAS             TX      75214
laurie howerton                1605 championship blvd                           franklin           TN      37064
Laurie Markwick                100 Pine Mist Circle                             Johns Creek        GA      30022
Laurie Mullis                  2602 Fontana Dr                                  Houston            TX      77043
Laurie Pennington              2820 Hunters Horn S                              Germantown         TN      38138
Laurie Richard                 26715 Camden Chase                               Boerne             TX      78015
Laurie Thornton                12164 Monticello rd                              Hazlehurst         MS      39083
Laurie Watson                  10213 VALLEY DR S                                WILLIS             TX      77318
Laurissa Damants               3685 Tutwiler Avenue                             Memphis            TN      38122
LAURREN POWELL                 5500 THALMAN DR                                  BRENTWOOD          TN      37027
Lavonna Tisdale                1323 CANDLELIGHT AVE                             DUNCANVILLE        TX      75137
Lavonne Bruckner               259 E PINEBROOK DR                               BRANDON            MS      39047
Lawrence Bailey                2723 S EWING AVE                                 DALLAS             TX      75216
Layla Velez                    419 Earl St.                                     San Antonio        TX      78212
Lea Hagemann                   5631 Bonham Path                                 San Antonio        TX      78253
Leah Blanks                    3901 Claiborne Circle                            Montgomery         AL      36116
Leah Harwell                   3822 Harding Place                               Nashville          TN      37215
Leah Hunter                    820 Wilderness Pass                              Cedar Hill         TX      75104
Leah Johnson                   4019 NORBOURNE BLVD                              LOUISVILLE         KY      40207
leah kelley                    412 county rd 2269                               Cleveland          TX      77327
Leah Ramirez                   7421 Roundhill Place                             Rancho Cucamonga   CA      91739
Leah Vargas                    13784 sunrise st                                 Fontana            CA      92336
Leah Zappia                    31185 Nice Ave.                                  MENTONE            CA      92359
Leamor Lopez                   9274 Bendrell Cove                               Cordova            TN      38016
Leann Henderson                305 PLEASANT LAKES CV                            TERRY              MS      39170
Leann Rishmawi                 104 Sagart Ln                                    Nicholasville      KY      40356
Leanne London                  8560 Park Ln Apt 3                               Dallas             TX      75231
Leanne Sullivan                286 W. Highland Ridge Ct.                        Belton             MO      64012
Leanne Tucker                  2208 High Falls Road                             Jackson            GA      30233
Lee Ann Haglin                 2901 marigold ln                                 Edmond             OK      73013
Lee Fitzgerald                 424 Maplelawn                                    Plano              TX      75075
Lee Herrera                    11410 ORE TERMINAL                               SAN ANTONIO        TX      78245
Lee Mckenna                    7 FLORENCE CT                                    SACRAMENTO         CA      95831
Lee Siegfried                  3782 MENDEL DR                                   MEMPHIS            TN      38135
LeeAnn Love                    149 Stoneledge                                   Fredericksburg     TX      78624
Lei Liu                        9841 Timbers Dr                                  CIncinnati         OH      45242
Leigh Bostwick                 411 Buckingham Pl                                Desoto             TX      75115
Leigh Jones                    1513 Candlelit Cove                              Mount Juliet       TN      37122
Leigh Kimball                  615 N 5th St                                     Beaumont           TX      77701
Leigh McMillan                 4303 Nevada avenue                               Nashville          TN      37209
Leigh Sansone                  2900 McKinnon                       #608         Dallas             TX      75201
Leigha Gillespie               100 Shasta Dr                                    Hickory Creek      TX      75065
Leilani Hernandez              2636 Bancroft Street                             San Diego          TX      77040
Leisel Lassiter                9805 VILLAGE BASIN                               SAN ANTONIO        TX      78250
Lejeanne Lemon                 967 Redbud Lane                                  ATLANTA            GA      30311
Lekeisha Henderson             2615 East ridge dr                               mesquite           TX      75150
Lekisha Adams
Lena Vrazel                    3292 David road                                  Atlanta            GA      30341
LENDA WATSON                   1067 WILDWOOD DRIVE                              CECIL              AL      36013
Lesley Buchanan                159 Larkwood Dr                                  Jackson            TN      38305
lesley ooley                   2820 McFarlin Blvd.                              Dallas             TX      75205
LESLIE BERCH                   14046 NEW ZION RD                                CRYSTAL SPRINGS    MS      39059
Leslie Boriack                 1314 Silent Hollow                               San Antonio        TX      78260
Leslie Ervin                   920 Timberlane Dr                                Vicksburg          MS      39180-7060
Leslie Giese                   111 Moss Dr                                      SAN ANTONIO        TX      78213
Leslie Hargus                  2516 Delaney Terrace                             Flower Mound       TX      75028
Leslie Hines                   545 Harwood Cv                                   Memphis            TN      38120
Leslie Holt                    105 Bluebell Way                                 Franklin           TN      37064
Leslie Jacques                 8217 Tuscany Manor                               Montgomery         AL      36117
Leslie Johnson                 2757 Redding Rd. NE                              Brookhaven         GA      30319
Leslie Kuhn                    17816 OXFORD MT                                  HELOTES            TX      78023
Leslie Mendez                  8700 Long Point Rd.                 204          HOUSTON            TX      77055
Leslie Moeller                 1006 Ben Hur Dr                                  HOuston            TX      77055
Leslie Ortiz                   11489 Laurel Ave                                 Loma Linda         CA      92354
Leslie Rowe                    Po Box 220                                       Marble Falls       Texas   78654
Leslie Taylor                  274 ENGLISH OAKS CIR                             BOERNE             TX      78006
Leslie Tristan                 815 Twinbrooke Dr.                               Houston            TX      77088
Leslie Zmugg                   129 Vossland Drive                               Nashville          TN      37205
Letia Cruson                   2709 Edgebrook Court                             Keller             TX      76248
Leticia Harding                845 Norwood Dr                                   Beaumont           TX      77706
Leticia Herrera                11918 CREEK PEAK                    NA           SAN ANTONIO        TX      78253
Leticia Vasquez                318 London Ln.                                   Duncanville        TX      75116
Lexie Lyons                    24902 Corbin Gate Dr                             Spring             TX      77389
Lexington Butt                 347 spanish moss drive                           coppell            TX      75019
Li Tan                         50 Acorn Glen                                    Irvine             CA      92620
Lia Assad                      po box 17711                                     denver             CO      80217
Lianna Lee                     221 RICHARDSON RD                                RIDGELAND          MS      39157
     In re Parker SchoolCase    18-10085-CSS
                        Uniforms, LLC                      Doc 3   Filed 01/12/18   Page 86 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                            Address 2    City                State   Zip Code
Lidia Boisson                 509 Raven Drive                                   Little Elm          TX      75068
Lidia Malaty                  3606 Lajitas                                      Leander             TX      78641
Lien Nguyen                   6 GARDEN LN                                       ARLINGTON           TX      76016
Lien Phung                    1349 Dunbarton R                                  Montgomery          AL      36117
Liesbeth Tieleman             1204 Bartlettstreet                               Houston             TX      77006
Lila Khan                     18705 Seabiscuit Run                              Yorba Linda         CA      92886
Lilia Deanda                  6040 Highland Ave                                 Yorba Linda         CA      92886
Lilia Espinoza                10116 CHIMAYO RD                                  LAREDO              TX      78045
lilia trinidad                3911 beech                                        San Antonio         TX      78237
Liliana Burnett               2812 McCulloch Circle                             Houston             TX      77056
LILIANA DEMARA                1956 meeks bay dr                                 Chula Vista         CA      91913
Liliana Gutierrez             10413 Blue Stem ct                                Fort Worth          TX      76108
Liliana Pappagallo            6830 ANTIQUE CEDAR LN                             SPRING              TX      77389
liliana vergara               5507 san clemente                                 midland             TX      79707
Lillie Dunn                   3915 SHADY HOLLOW LN                              DALLAS              TX      75233
Lillyana Aguilera             614 SW 34th St                                    San Antonio         TX      78237
Lily Roh                      19164 Chandon Lane                                Huntington Beach    CA      92648
Lina Abdel khaleq             9598 Heatherbrook pl                              Rancho cucamonga    CA      91730
Lina Amador                   640 E 10th 1/2 ST                                 Houston             TX      77008
Lina Cockrell                 3209 FAIRWAY DR                                   SHINGLE SPRINGS     CA      95682
Linda Anderson                4945 Natchez Trace court                          Peachtree Corners   GA      30096
Linda Benvenuti               5150 Fair Oaks Blvd                  #101-368     Carmichael          CA      95608
Linda Brown
Linda Kennedy                 8020 Geranium Ln                                  Fort Worth          TX      76123
Linda Mendez                  11464 Iris Ave                                    Loma Linda          CA      92354
LINDA MERCHANT                3002 JOHNSON RD                                   CRYSTAL SPRINGS     MS      39059
Linda Miller                  209 Swede Creek                                   Boerne              TX      78006
Linda Morrison                1250 Meadows Ave.                                 Lantana             TX      76226
Linda Murphy                  5116 Se 46th St                                   Oklahoma City       OK      73135
Linda Pena                    1995 Club Xing                                    New Braunfels       TX      78130
Linda Pettibone               5112 via marcos                                   Yorba linda         CA      92887-2530
Linda Recoder                 714 KATE SCHENCK AVE                              SAN ANTONIO         TX      78223
Linda Rice                    1321 Hwy 17                          PO BOX156    Sautee Nacoochee    GA      30571
Linda ridley                  1211 grant street                                 Atlanta             GA      30315
Linda Ritter                  11544 Milton Ridge Cv                             Arlington           TN      38002
Linda Sabeh                   2880 E Coalinga Dr                                Brea                CA      92821
Linda Scott                   430 W. 32nd Street                                Riviera Beach       FL      33404
LINDA SULLIVAN                114 MIDDLERIDGE DRIVE                             FLORENCE            MS      39073
Linda Williams                7513 AMBER DR                                     DALLAS              TX      75241
Lindsay Boatright             112 Everest dr                                    Thomaston           GA      30286
Lindsay Carter                5803 SLASHWOOD LN                                 SPRING              TX      77379
Lindsay Page                  21 Bellegrass Blvd                                Hattiesburg         MS      39402
Lindsay Rabicoff              17200 Chicago Ave                                 Yorba Linda         CA      92886
Lindsay Williams              1613 College St                                   Cleveland           MS      38732
Lindsay Wortham
Lindsey Bianco                1976 e Harrison st                                Gilbert             AZ      85295
Lindsey Creamer               1216 West Road                                    Waxahachie          TX      75165
lindsey cross                 7400 wynlakes blvd                                MONTGOMERY          AL      36117
Lindsey Frank                 3866 Pringle ST                                   San Diego           CA      92103
Lindsey Hill                  5481 Gwynne Road                                  Memphis             TN      38120
Lindsey Looke                 2601 Ella Lee Lane                                Houston             TX      77019
lindsey nichols               480 Brookfield Dr NE                              Atlanta             GA      30342
Lindsey Pruett                1100 Autumn Close                                 Milton              GA      30004
Lindsey Takle                 109 MADDOXWOODS DR                                GRIFFIN             GA      30224
LINDSEY WARD                  596 BOWDEN RD                                     HUNTSVILLE          TX      77340
Ling Chen                     4820 Frost Hollow Dr                              Plano               TX      75093
lipei sui                     66 pepperment                                     irvine              CA      92620
Liping Wan                    121 BRIDLE PATH                                   IRVINE              CA      92602
Lisa Bachim                   1804 Dakar Road East                              Fort Worth          TX      76116
LISA BAKER
Lisa Ballo                    6062 WOODWAY DR                                   MEMPHIS             TN      38120
lisa behrends                 10015 W May                                       Wichita             KS      67209
LISA BRATTIN                  4417 WATERBURY LN                                 MARIETTA            GA      30062
Lisa Calce                    5601 Preakness Lane                               Plano               TX      75093
Lisa Calvert                  1281 Jack Bennett Rd                              Brighton            TN      38011
Lisa Caprelli                 2801 Kelvin Ave #561                              Irvine              CA      92614
Lisa Cardoso                  1528 Maywood Ave                                  Dallas              TX      75216-5504
Lisa Coven                    17130 Van Buren Blvd                              Riverside           CA      92504
Lisa Dw Francis               1361 N CARDINGTON ST                              WICHITA             KS      67212
Lisa Garay                    313 MIDORI LN                                     CALIMESA            CA      92320-1615
lisa giardino                 9555 S. Spring Hollow Lane                        Germantown          TN      38139
Lisa Goodner                  1559 Sutter St                                    Dallas              TX      75216
Lisa Guerra                   509 BRIGGS ST                                     SAN ANTONIO         TX      78211
Lisa Harmon                   286 Fannin Landing Circle                         Brandon             MS      39047
Lisa Hartman                  1811 Morgan Farms Way                             Brentwood           TN      37027
Lisa Hoffpauir                40 E. Hunter Hill Loop                            Pike Rd             AL      36064
LISA JOCA                     18302 JOEL BRATTAIN DR                            YORBA LINDA         CA      92886
Lisa Jones                    12524 Memorial Dr.                                Houston             TX      77024
Lisa Kath                     1226 Carl Seyfert Mem Dr                          Brentwood           TN      37027
LISA KROKO                    434 CAMINO FLORA VIS                              SAN CLEMENTE        CA      92673
Lisa Ledezma                  1019 Lansdale Dr.                                 Duncanville         TX      75116
Lisa Lee-Miller               784 Santa Barbara St #5                           Pasadena            CA      91101
Lisa Lott                     216 LUNDBLADE LN                                  SAN ANTONIO         TX      78213
Lisa Louis                    3650 Underwood St.                                Houston             TX      77025
Lisa Mercado                  403 W. Cypress Street                             San Antonio         TX      78212
Lisa Morgan                   101 OXTON HILL LN                                 NASHVILLE           TN      37215
Lisa Peeler                   4775 Elmhurst Dr                                  Beaumont            TX      77706
Lisa Perez                    9507 creek cove                                   Helotes             TX      78023
Lisa Petrozzi                 10114 Briar Rose Dr                               Houston             TX      77042
Lisa Qsar                     4136 TEMHURST CT                                  YORBA LINDA         CA      92886
Lisa Quigle                   2782 Almaville Rd                                 Smyrna              TN      37167
Lisa Schumacher               9303 Broadhead Manor Court                        Spring              TX      77379
Lisa Skidmore                 8904 Doll Eyes St.                                Prospect            KY      40059
      In re Parker School Uniforms, LLC
      Schedule E/F, #3.9Case
                          - customer back-orders
                                 18-10085-CSS                  Doc 3   Filed 01/12/18   Page 87 of 134


Name                             Address 1                             Address 2    City               State   Zip Code
Lisa Springs                     10 Northwood Cove                                  Oakland            TN      38060
Lisa Stang                       3342 Spindletop Dr. NW                             Kennesaw           GA      30144
Lisa Steiner                     8927 Boxthorn Ct.                     Home         Wichita            KS      67226
Lisa Strong                      380 AVANT RD                                       CRENSHAW           MS      38621
Lisa Taylor                      23 INWOOD POINT DR                                 SAN ANTONIO        TX      78248
LISA THOMAS
Lisa Thompson                    8501 Navigation Dr                                 ROWLETT            TX      75088
Lisa White                       2523 N Banbury Circle                              Wichita            KS      67226
Lisbeth Retana                   42 Elm Branch Ct.                                  Spring             TX      77380
Lisha Stokes                     4105 Meadow Gate Drive                             Sandy Springs      GA      30350
Lissa Dewar                      7147 ALEXANDER DR                                  DALLAS             TX      75214
Lissa Lezama                     5035 HIDDEN MILL DR                                SPRING             TX      77389
Lisseth Orozco                   1215 N EARL CIR                                    ANAHEIM            CA      92806
Liting Fang                      820 w. las palmas dr.                              Fullerton          CA      92835
Liz Axelrod                      715 S Prospect Ave                                 Elmhurst           IL      60126
LIZ CARREON                      18780 MARYGOLD AVE                                 BLOOMINGTON        CA      92316
Liz Dopson                       248 Westchester Dr.                                Griffin            GA      30223
Liz Wooten                       4011 Kirkmeadow Ln.                                Dallas             TX      75287
Liza Milam                       6009 Robert E Lee Drive                            Nashville          TN      37215
Lizbeth Cruzado                  6130 Orchard Grove Wy                              Riverside          CA      92505
Lizette Colbert                  7006 FOREST GRV                                    SAN ANTONIO        TX      78240
Lizette Davis                    915 Mt. Kisco                                      San Antonio        TX      78213
Lizette Yanes                    752 MENEFEE BLVD                                   SAN ANTONIO        TX      78237
Lizmarie Pimentel                225 Julian Point                                   Cibolo             TX      77040
Llecenia Mondargon               1501 HANSBORO AVE                                  Dallas             TX      75224
Llewellyne Timple                29043 BROOKINGS LN                                 HIGHLAND           CA      92346
loan vu                          606 Redbud ln                                      Stockbridge        GA      30281
Lois Peters                      7503 STILWELL LN                                   SUGAR LAND         TX      77479
Lola Chambless                   3409 Hopkins St                                    Nashville          TN      37215
Loma Linda Academy, Loma Linda   10656 ANDERSON ST                                  LOMA LINDA         CA      92354
Londie Reynolds                  18415 Bull Pine Dr.                                Spring             TX      77379
Loni Irvine                      3116 Amber Waves Ln                                Lancaster          TX      75134
Lonna Davis                      541 Wendy Ln                                       Desoto             TX      75115
Lora Warrix                      4500 FRANKLIN PIKE                                 NASHVILLE          TN      37204
Lora Whitfield                   1834 Amber Court                                   Lithonia           GA      30058
Loraine Campbell                 1542 ALASKAN WOLF                                  SAN ANTONIO        TX      78245
Loree Vargas                     4910 Pennise                                       San Antonio        TX      78228
LOREN MATTHEWS                   185 ANSLEY WAY                                     ROSWELL            GA      30075
Lorena Aleman                    7015 Willowtex Dr.                                 Humble             TX      77396
Lorena Galvan                    11242 Hirsch Rd                                    Houston            TX      77016
Lorena Gonzalez                  1210 W Dwyer Dr                                    Anaheim            CA      92801
Lorena Nieves                    8645 PHLOX DR                                      BUENA PARK         CA      90620
lorena ruiz                      85216 cairo st.                                    coachella          CA      92236
Lorena Salcedo                   4238 TINY HUR DR                                   PASADENA           TX      77503
Lorenza Flores                   507 ARCHER AVE                                     DALLAS             TX      75211
Loretta King                     14503 Varrelman St                                 Austin             TX      78725
LORI ALLEN                       2101 LAKE BY DRIVE                                 IRVING             TX      75060
Lori Beck                        2200 GLENCO TER                                    FORT WORTH         TX      76110
Lori Brown
Lori Burke                       103 Annandale drive                                Vicksburg          MS      39183
lori caden                       13412 ventura blvd                                 sherman oaks       CA      91423
Lori Duplissey                   5357 Keith Rd                                      Lumberton          TX      77657
Lori Hanish                      909 pecan circle                                   Marble Falls       TX      78654
Lori Henderson                   230 Beaver Falls PL SW                             Atlanta            GA      30331
Lori Lopez                       2310 winning colors                                San Antonio        TX      78348
Lori Mazzurana                   3811 Green Trl S                                   Austin             TX      78731
Lori Perry                       4814 Kentwood Dr                                   MARIETTA           GA      30068
Lori Riggles                     5207 Smiley Ferry Rd                               Ramer              AL      36069
Lori Sims                        647 Alexander St                                   Grand Praire       TX      75051
Lori Sokoloff                    2649 Calkins Rd                                    Germantown         TN      38139
Lori Stone                       3000 MERLIN DR                                     THE COLONY         TX      75056
Lori Vanden Berg                 2237 MONT BLANC CIR                                Placentia          CA      92870
Lori Vines                       508 Grand Oaks Drive                               Brentwood          TN      37027
Lori Walker                      24 Dornach                                         Hattiesburg        MS      39401
Lorie Newman                     10920 Sea Hero Ln                                  Austin             TX      78748
Lorie Wolverton                  10178 RAYMOND RD                                   CRYSTAL SPRINGS    MS      39059
Loriece Walker                   4407 Kirk Manor Ct                                 Fresno             TX      77545
Lorin Middelthon                 4460 Jett Rd NW                                    Atlanta            GA      30327
Loris Davis                      424 Glenway Drive                                  Jackson            MS      39216
Lorraine Covey                   6135 RIVERVIEW WAY                                 HOUSTON            TX      77057
Lorye Glass                      3319 Tiger Cts.                                    Laredo             TX      78045
LOTTIE GRANDE                    2602 LONG POINTE                                   ROSWELL            GA      30076
Louis Kaplan                     1127 S Clifpark                                    Anaheim            CA      92805
Louisa Brinsmade                 1000 East 15th St.                                 Austin             TX      78702
Louisa Fikes                     P.O.Box 3527                                       Midland            TX      79702
LOUISE MCCONN                    1                                                  Houston            TX      77024
Lourdes Ramirez                  602 Marshalldell                                   dallas             TX      75211
Lovely Keith                     8022 Woodlyn Rd                                    Houston            TX      77028
Luba Markhel                     4300 bay area blvd #1334                           houston            TX      77058
Lubna Osman                      3390 heights ave.                                  beaumont           TX      77706
lucia guzman                     1769 ridge creek dr                                bonita             CA      91902
LUCIAN CULVER                    2206 STATFORD CIR                                  MORROW             GA      30260
Lucibeth Mayberry                231 Myles Manor Court                              Franklin           TN      37064
Lucila Rabadan                   727 Arpege Dr                                      Dallas             TX      75224
Lucimar Mesquita                 5318 MEADOW LAKE LN                                HOUSTON            TX      77056
Lucina Eddin                     P.O. Box 704                                       Petersburg         TX      79250
Lucinda Flores                   2303 TOWN GROVE DR                                 SAN ANTONIO        TX      78238
Lucinda Juarez                   9692 Old Corpus Christi Hwy                        San Antonio        TX      78223
Lucinda Weems                    1038 VALLEY VIEW RD SE                             Atlanta            GA      30315
Lucy Anderson                    311 ASBURY ST                                      HOUSTON            TX      77007
Lucy Blair                       105 Fairmont Place                                 Hattiesburg        MS      39402
Lucy Montemayor                  308 Regal                                          Laredo             TX      78041
Lucy Pang                        10415 Hillside Road                                Rancho Cucamonga   CA      91737
          In re Parker School Uniforms, LLC
                          Case 18-10085-CSS
          Schedule E/F, #3.9 - customer back-orders
                                                                                 Doc 3   Filed 01/12/18    Page 88 of 134


Name                                            Address 1                                Address 2    City               State   Zip Code
Lue Ann Jaggers                                 1321 N. Stiles                           Apt 2D       Oklahoma City      OK      73104
Luis Calo                                       8950 OAKWOOD PARK                                     SAN ANTONIO        TX      78254
Luis Garcia                                     1806 Hillcrest Blvd                                   Eagle Pass         TX      78852
Luis Moreno                                     6718 victoria st.                                     Houston            TX      77020
Luis Renderos                                   5233 Bellaire Blvd                       #435         Bellaire           TX      77401
luis Rivera                                     22915 fairfax village west dr.                        spring             TX      77373
Lula Swain                                      55 Lakeridge Court                                    Temple             GA      30179
luna tina                                       1820 vilbig                                           dallas             TX      75208
Lupita luna                                     9669 gold coast apt#38                   Apt.#38      San Diego          CA      92126
lupita melendrez                                7430 guthrie way                                      San Diego          CA      92114
lurdes galonsky                                 134 palo verde dr                                     brownsville        TX      78521
Lus Rivas                                       2462 Pomeroy ave                                      Los Angeles        CA      90033
Luz Flores                                      400 N. Citrus View Dr.                                Anaheim            CA      92807
Luz Lovins                                      423 Waxberry Trail                                    San Antonio        TX      78256
LUZ MORENO                                      3010 AVE J                                            Fort Worth         TX      76105
Luzmila Mcdevitt
Lydia Cosey                                     4144 Ravenwood Dr N                                   Horn Lake          MS      38637
Lydia Leos                                      8606 DUDLEY DR                                        SAN ANTONIO        TX      78230
Lydia O'Neal                                    1060 Lawton Ave SW                                    Atlanta            GA      30310
Lydia Takla                                     25 silverado                                          Irvine             CA      92618
Lydie Kaplan                                    2726 Highlands Drive                                  Trophy Club        TX      76262
Lyllyan Blare                                   621 Netherlands Drive                                 Hermitage          TN      37076
Lynda Pingel                                    3843 ECHO BROOK LN                                    DALLAS             TX      75229
Lynda Vine                                      720 20th st                                           Beaumont           TX      77706
Lynetta Jackson                                 1130 Brenford                                         Houston            TX      77047
Lynish Hall                                     3327 W MONTICELLO CIR                    APT 4        MEMPHIS            TN      38115
Lynithia Anthony                                10130 Deer Hollow Dr                                  Dallas             TX      75249
Lynn Chen                                       2324 Wild Forest Circle                               Lewisville         TX      75056
Lynn Golden                                     6717 KENWOOD AVE                                      DALLAS             TX      75214
Lynn Hoffler                                    12234 STABLE FORK DR                                  SAN ANTONIO        TX      78249
Lynn Juarez                                     13302 HUNTERS HOLLOW ST                               SAN ANTONIO        TX      78230
Lynn Lawyer                                     9302 Concord Road                                     Brentwood          TN      37027
Lynn Pablo                                      4807 lakefront terrace drive                          pearland           TX      77584
Lynn Raby                                       402 Grandview St                                      Memphis            TN      38111
Lynn Roppolo                                    10744 MORNING GLORY DR                                DALLAS             TX      75229
Lynn Smith                                      4850 NATOMAS BLVD #1418                               Sacramento         CA      95835
Lynna Werline                                   905 POLO CT                                           HASLET             TX      76052
Lynne Collier                                   8523 Forest Hills Blvd                                Dallas             TX      75218
Lynne Yulip-Lopez                               11186 Dewitt Drive                                    Loma Linda         CA      92354
LYTOYA JACKSON                                  4636 HARVEST WAY                                      MONTGOMERY         AL      36106
lyvia kaushal                                   4967 palomino place                                   rancho cucamonga   CA      91737
Macarena Cardenaz                               1052 Ardilla Pl                                       Chula Vista        CA      91910
Mackline Akunzire                               5730 Prestonview Blvd                    Apt 2035     Dallas             TX      75240
Maclovia Grageda                                2154 CASSIE AVE                                       MEMPHIS            TN      38127
Madhuri Vaseuvevan
Mae Morgan                                      1332 Oakcrest Drive SW                                Atlanta            GA      30311
Magali Eysseric                                 14315 CHARTLEY FALLS DR                               HOUSTON            TX      77044
Magan Sojourner                                 7124 BUSHY CREEK RD                                   CRYSTAL SPRINGS    MS      39059
Magdalena Lopez                                 2310 Hitching Post Blvd                               HARLINGEN          TX      78552
Maggie Murawski                                 3945 Stanley Rd                                       Cumming            GA      30041
Maggie Rapp Purvis                              2009 TrailEnd Dr                                      Goddard            KS      67052
Maggie Trejo-Mathys                             10422 Huebner Rd                                      San Antonio        TX      78240
maggie voorhies                                 454 twin pine ct.                                     Coppell            TX      75019
Maggie Zhang                                    15733 Sleepy Oak rd.                                  Chino Hills        CA      91709
mai ly hoang                                    3713 Cabeza de Vaca Circle                            irving             TX      75062
Maia Sauceda                                    2406 CLOYDE ST                                        CORPUS CHRISTI     TX      78404

Mainland Preparatory Classical Acad, Lamarque   319 NEWMAN RD                                         LA MARQUE          TX      77568
makayla marie garcia                            2534 delgado st                                       san antonio        TX      78228
Makyla Tipken                                   1120 S. Ellison                                       El Reno            OK      73036
Malachi Hawkins                                 1567 ENCHANTED FOREST DR                              CONLEY             GA      30288
Malea Moffitt                                   1521 FM 983                                           FERRIS             TX      75125
Maliaka Curd                                    1703 Brooksview LN                                    Balch springs      TX      75180
Mam Jobe                                        2800 CAMP CREEK PKWY                     Apt P2       ATLANTA            GA      30337
Mamavi djokoto                                  2397 bailey dr                                        norcross           GA      30071
Mandi Harrell                                   875 Jenkins Road                                      Forsyth            GA      31029
Mandi Hurtt                                     2603 Del Largo Way                                    Frisco             TX      75033
Mandi Smith                                     33232 Sea Knoll Drive                                 Dana Point         CA      92629
Mandy Clark                                     205 E Park Blvd                                       Villa Park         IL      60181
Mandy Lester                                    1716 Druid Ct                                         Fort Worth         TX      76112
Mandy Phan                                      15205 Columbus Square                                 Tustin             CA      92782
Mandy Reed                                      284 Elden Drive                                       Atlanta            GA      30342
Mandye Robinson                                 2601 BARTON CREEK BLVD                                THE COLONY         TX      75056
manmeet walia                                   17 Muo Brody ct                                       Sacramento         CA      95835
Manuel Baerga                                   3671 Ramsey Cir                                       Atlanta            GA      30331
Manuel DIaz                                     Gavino Barreda #41                                    Matamoros          TX      78550
Manuela Rodriguez                               6384 Limewood Avenue                                  Memphis            TN      38134
Manuella Tagne                                  4923 poincina                                         Houston            TX      77092
Marcel Middleton                                1145 Great Oaks Dr                                    Lawrenceville      GA      30045
Marcelle Crain                                  3415 Douglass Avenue                                  Memphis            TN      38111
Marci Holdren                                   520 N Hersey Ave.                                     Beloit             KS      67420
Marcia Parker                                   3243 Gatsby Lane                                      Montgomery         AL      36106
Marcia Yeik                                     21831 Eagle Lake Circle                               Lake Forest        CA      92630
Marcie Andrews                                  310 PRIVATE ROAD 4662                                 CASTROVILLE        TX      78009
Marcos Gomez                                    1050 Valley view Rd SE                                Atlanta            GA      30315
Marcos Gonzalez                                 603 McKinley Ave                                      San Antonio        TX      78210
Marcus Barrera                                  5514 everhart rd                                      Corpus Christi     TX      78411
Marcus Martin                                   8165 HUNTERS MEADOW LN                                ARLINGTON          TN      38002
Marcy Szura                                     2850 S.Saddlebrook Lane                               Katy               TX      77494
Margaret Ingalls                                3223 WELLINGTON RD                                    MONTGOMERY         AL      36106
Margaret Legault                                18743 Castellani                                      San Antonio        TX      78258
Margaret Sayers                                 2976 Sequoyah Dr. Nw                                  Atlanta            GA      30327
Margaret Sherman                                4756 Promontory Court                                 Dunwoody           GA      30338
       In re Parker School
                       CaseUniforms, LLC
                                 18-10085-CSS              Doc 3   Filed 01/12/18    Page 89 of 134
       Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                           Address 2    City              State   Zip Code
Margaret Stribling             14746 River Forest Dr                            Houston           TX      77079
Margaret Suever                6054 Watson Court                                New Market        MD      21774
Margaret Terrasson             1515 RUDEL DR                       APT 1113     TOMBALL           TX      77375
Margie berido                  4018 Congressional Dr                            Corpus Christi    TX      78413
Margie Lampe                   1103 WALKERS WAY                                 SAN ANTONIO       TX      78216
Margie Riddick                 104 Evening Star Circle                          Red Oak           TX      75154
Margrat Johnson                2200 N Classen Blvd                 Apt 902      Oklahoma City     OK      73106
Margret Mcredmond              6429 Curreywood Drive                            Nashville         TN      37205
Mari Perez                     7319 Carridge Bend                               San Antonio       TX      78249
Mari Perkins                   16202 Galloping Oak                              Selma             TX      78154
MARIA BADILLO                  1000 W ROCHELLE 133                              IRVING            TX      75062
Maria Barlow                   10 Birnam Wood                                   San Antonio       TX      78248
Maria Bennett                  PO Box 796426                                    Dallas            TX      75379
MARIA BERNAL                   6213 N45th St                                    McAllen           TX      78504
Maria Cerino                   1709 Sheridan Dr.                                Baytown           TX      77520
Maria Cortes                   3572 Emerald Street                              Memphis           TN      38115
Maria De Coss                  104 Plantation Dr.                               Rancho Viejo      TX      78575
Maria Diaz                     7500 Gilbert Rd                                  Manor             TX      78653
Maria Duncan                   3506 Randolph Court                              Old Hickory       TN      37138
Maria G Diaz                   1421 DEVIN DR                                    NEW BRAUNFELS     TX      78130
Maria Gallo                    4549 Via San Eduardo                             Dallas            TX      75211
Maria Gaona                    1835 Whitecliff Dr                               Dallas            TX      75137
MARIA garanzuay                8930 river trace                                 San Antonio       TX      78255
Maria Grever                   25439 Bunker Dr                                  San Antonio       TX      78260
Maria Guevara                  3823 CHRISTIE ST                                 HOUSTON           TX      77026
Maria Hobbs                    758 CAMALOT CT                                   ONTARIO           CA      91762
Maria Jaurez                   8934 SAN BONIFACIO                               HOUSTON           TX      77017
Maria Knox                     404 Borra Court                                  El Dorado Hills   CA      95762
Maria Lopez                    15503 FALLING LIMB CT                            HOUSTON           TX      77049
Maria Luisa Liendo             602 E. San Carlos                                Laredo            TX      78041
Maria Machado                  14 Marilyn circle                                sacramento        CA      95838
Maria Maglalang                6285 Claybourn Dr.                               Beaumont          TX      77706
Maria Maldonado                4233 Asbury Ave                                  Fort Worth        TX      76119
MARIA MARILLO                  500 CHEYENNE BLVD LOT 147                        MADISON           TN      37115
Maria Martinez                 1121 Escess Dr                                   CEDAR HILL        TX      75104
Maria Matthews                 207 ELKWOOD AVE                     UNIT 10      IMPERIAL BEACH    CA      91932
Maria Mucha                    1152 THORNWELL DR NE                             ATLANTA           GA      30319
MARIA OLVERA
Maria Rankin                   3414 RIVER NORTH DR                              SAN ANTONIO       TX      78230
Maria Rivera                   4030 s marsalis ave                              Dallas            TX      75216
maria rojas                    888 orchid way                                   san diego         CA      92154
Maria Roman                    5620 Collins Road #719                           Jacksonville      FL      32244
Maria Salazar                  3324 SEEVERS AVE                                 DALLAS            TX      75216
Maria Sanchez                  3522 Ingersoll Street                            Dallas            TX      75212
Maria Serio-Melvin             105 Westerly Place                               Cibolo            TX      78108
Maria Serje                    3203 N LOOP 1604 E                               SAN ANTONIO       TX      78247
Maria Smith                    726 RADIANCE DR                                  CORDOVA           TN      38018
Maria Streadbeck               312 E Chestnut Ave.                              Orange            CA      92867
Maria Torres                                                                                      Texas
Maria Tway                     1540 Bradbury Ln                                 Austin            TX      78753
Maria Wright                   3681 Willow Club Drive                           Loganville        GA      30052
Maria Youssef                  1111 glade crossing                              San Antonio       TX      78258
Maria Yunda                    3746 Summer Rose DR                              ATLANTA           GA      30341
Maria Zarzour                  814 N 3RD ST                                     BELLAIRE          TX      77401
Mariaisabel Wosk               6820 Ossabaw Ct.                                 Cypress           CA      90630
Marian Alli                    23610 Esperia St                                 Richmond          TX      77406
Marian Minton                  1128 St Andres Dr                                Macon             GA      31206
MARIANA CARRASCO               18200 BLANCO SPRINGS RD             APT 920      SAN ANTONIO       TX      78258
Mariana Martinez               4740 Jaime J. Zapata                             Brownsville       TX      77040
Mariana Polic                  4330 Avocado Grove Lane                          YORBA LINDA       CA      92886
Marianela Perez
Marianne Brumley               10106 BRIAR ROSE DR                              HOUSTON           TX      77042
Marianne Laine                 2991 MOORE RD                                    BEAUMONT          TX      77713
Marianne Lasseter              4613 S SIWELL RD                                 JACKSON           MS      39212
Maribel Dela Cruz              416 Redhead Ct                                   Roseville         CA      95747
Maribel Escamilla              710 E SUNSHINE DR                                SAN ANTONIO       TX      78228
Maribel Gomez                  2117 Terrace View Pl                             Escondido         CA      92026
Maribel Henry                  1213 Berthea Street                              Houston           TX      77006
Maribel Nesuda                 2429 Bowen Street                                Leander           TX      78641
Maribel Persons                1328 Arizona Mesa Cv                             Round Rock        TX      78664
Maribel Smith                  12305 ROLLING HILL DR                            AUSTIN            TX      78758
Maricela Luna                  123 North Gail Street                            Dallas            TX      75211
maricela mena                  11519 roandale dr                                houston           TX      77048
Marie F Smith                  6121 Bresslyn Rd.                                Nashville         TN      37205
Marie Leon                     2014 FRESNO                                      SAN ANTONIO       TX      78201
Marie Ross                     PO Box 5000 PMB 361                              Rancho Santa Fe   CA      92067
Marie Young                    7431 Brandamore CT                               Elk Grove         CA      95758
Mariela Campbell               22007 ORCHARD DALE DR                            SPRING            TX      77389
mariet fritsch                 5219 Woodhead street                             Houston           TX      77098
Marietta Klein                 200 Fremont Ct                                   Colleyville       TX      76034
MARIKA ABRAHAM                 4111 HEATHFORD LN                                HOUSTON           TX      77053
Mariko Wiley                   5561 FALLING BARK DR                             MEMPHIS           TN      38134
Marilo Meza                    1655 Old Alabama Rd                              Austell           GA      30168
MARILOU Baculo                 1874 TRISTE COURT                                RIVERSIDE         CA      92501
Marilu Mercado                 555 GETTYSBURG RD                                SAN ANTONIO       TX      78228
Marilyn Shannon                2085 GALLATIN RD                                 HAZLEHURST        MS      39083
Marilyn Weaver                 226 BIG HOLLOW LN                                HOUSTON           TX      77042
Marilyn Williams               2556 MATLAND DR                                  DALLAS            TX      75237
Marina Martinez                13854 CRESTED RISE                               SAN ANTONIO       TX      78217
Marina Nguyen                  3522 E. Balsam Dr.                               Chandler          AZ      85286
Mario Moran                    3211 W Division St                  #102         Arlington         TX      76012
Marion Reed                    1126 S Cedar Ridge Drive                         Dallas            OK      74126
marisa frank                   1931 north gramercy place                        los angeles       CA      90068
         In re Parker School
                         CaseUniforms, LLC
                                  18-10085-CSS                   Doc 3   Filed 01/12/18             Page 90 of 134
         Schedule E/F, #3.9 - customer back-orders


Name                             Address 1                               Address 2             City               State   Zip Code
Marisela Lopez Mercado           7509 HAZELTON WAY                                             SACRAMENTO         CA      95829
MARISOL GONZALEZ                 7107 LAKESHORE DR                                             DALLAS             TX      75214
Marisol Nguyen
Marisol Thapa                    1216 N 29TH ST                                                CORSICANA          TX      75110
Marissa Cardenas                 1035 SUNDANCE FT                                              SAN ANTONIO        TX      78245
Marissa Gelatka                  21631 Turtledove St                                           Trabuco Canyon     CA      92679
Marissa Rabe                     290 Hawkcrest Cir                                             Sacramento         CA      95835
Marivette Ott                    6517 Fannin Farm Way                                          Arlington          TX      76001
Marjorie Allinson                4307 PINE BLOSSOM TRL                                         HOUSTON            TX      77059
Marjorie Birkey                  1540 W BITTERS RD APT 1921                                    SAN ANTONIO        TX      78248
Marjorie Ochs                    1708 Sterling Trace Dr                                        Keller             TX      76248
Marjorie Sims                    1872 Young Rd                                                 Lithonia           GA      30058
MARK BYRNE                       4556 RACCOON TRAIL                                            HERMITAGE          TN      37076
Mark Collins                     5412 Brownstone Dr                                            Brentwood          TN      37027
Mark Graves                      4305 Camelot Dr                                               Vicksburg          MS      39180-0901
Mark Hopkins                     200 Oak St.                                                   Glenn Heights      TX      75154
Mark Pisahl                      PO box 321                                                    Marion             AR      72364
Mark Trivett                     174 Powers Drive                                              El Dorado Hills    CA      95762
Mark Zimmermann
Markis Rodgers                   2021 Gallatin Pike North                                      Madison            TN      37115
Markq Berry                      3908 Wanklyn court                                            Dallas             TX      75237
Marla Provo                      3820 GREENVIEW DR                                             EL DORADO HILLS    CA      95762
Marlo Cage                       3308 Home Point Dr                                            Houston            TX      77091
marlo davis davis                108 hillandale ct                                             lithonia           GA      30058
Marlo Mikle                      2944 Kirk Road NW                                             Monroe             GA      30656
Marlon Manley                    140 Willow Creek Drive                                        RIPLEY             TN      38063
Marquel Jordan                   5618 Olympia Dr                                               Houston            TX      77056
Marquise Frazier                 2347 COVE LAKE WAY                                            LITHONIA           GA      30058
Marrisa Parral                   449 Amires                                                    San Antonio        TX      78237
Marsha Guantello                 2807 Lombrano St                                              San Antonio        TX      78228
Marsha Wood                      8 Acornridge Cove                                             JACKSON            TN      38305
Marta Bermudez                   3811 HUNTERS GATE CT                                          SUGAR LAND         TX      77479
Marta Pacheco                    2314 33rd street                                              San Diego          CA      92104
Marta Szabo                      21338 Clara Pl                                                Sedro-Woolley      WA      98284
martha bautista                  7835 Morse Ave lot #15                                        Jacksonville       FL      32244
Martha Bowser                    2213 Piney Wood Dr                                            Deer Park          TX      77536
Martha David                     1431 Lachona Ct NE                                            Atlanta            GA      30329
martha echavarria                7870 via capri                                                la jolla           CA      92037
Martha Flores                    366 South Peralta Hills Drive                                 anaheim            CA      92807
Martha Guilbeau                  1807 HAVERHILL DR                                             HOUSTON            TX      77008
Martha Hernandez                 3704 Holland                                                  Fort Worth         TX      76180
Martha Hernden                   208 PRINZ DR                                                  SAN ANTONIO        TX      78213
Martha Lopez                     131 east kings highway                                        San Antonio        TX      78212
Martha Mosier                    10020 Hunters Run                                             College Station    TX      77845
Martha Perez                     5303 CEDAR TREE LN                                            DALLAS             TX      75236
martha rees
Martha Reyes                     2567 Hood Circle                                              Kennesaw           GA      30152
Martha Trevino                   3623 ALBERTA AVE                                              SACRAMENTO         CA      95821
Martin Phipps                    102 9th Street                                                San Antonio        TX      78215
Martin Rosas                     3520 Greenbrier Dr                                            Frisco             TX      75033
Martina Jauvegui                 2503 NAOMA ST                                                 DALLAS             TX      75241
Martina McLaughlin               9506 Merribrook Court                                         Prospect           KY      40059
Marveya Gooch                    2021 gallatin road                                            Madison            TN      37115
Mary Anderson                    604 Summerwood Ct.                                            Desoto             TX      75115
Mary Ann Berry                   4124 FOX HOLLOW CT                                            MIDLAND            TX      79707
Mary Ann Crabtree                527 Larkwood Drive                                            Montgomery         AL      36109
Mary Ann Culp                    13523 Mount Olympus                                           Universal City     TX      78148
Mary Ann Fennell                 4822 Ipswich Gln                                              Suwanee            GA      30024
Mary Ann Frausto                 1911 W MAGNOLIA AVE                                           SAN ANTONIO        TX      78201
mary ann garza
Mary Beale                       38 CHESHIRE BEND DR                                           SUGAR LAND         TX      77479
Mary Beth Glosson                100 Cliff Run                                                 Horseshoe Bay      TX      78657
Mary Beth Wood                   11610 Port Rd.                                                Frisco             TX      75035
Mary Bickers                     103 RUNNYMEDE RD                                              GRIFFIN            GA      30224
Mary Brugh Weber                 5057 Hill Place Dr                                            Nashville          TN      37205
Mary Catherine Lewis             2235 Sunset Blvd                                              Houston            TX      77005
Mary Clements                    1413 EASTWICK LN                                              PLANO              TX      75093
MARY DESILVA                     4508 PONDEROSA WAY                                            YORBA LINDA        CA      92886
Mary Eilert                      623 N Hersey Ave                                              Beloit             KS      67420
Mary Groves                      2490 LONG ST                                                  BEAUMONT           TX      77702
Mary Harrell                     1726 Oak Shade Dr                                             Sugar Land         TX      77479
mary hart                        2405 nw 43rd circle                                           Oklahoma City      OK      73112
Mary Hollis                      3116 Terry Gatesville Rd                                      Crystal Springs    MS      39059
mary jackson                     Christi Ranch Estates                   13117 Broadhurst Dr   Frisco             TX      75033
Mary Jane Peterson               2427 N. Northumberland Road                                   Orange             CA      92865
Mary Jeffreys                    111 North Leflore Ave                                         Cleveland          TX      77040
Mary Jo Gowan                    701 Sir Michael Drive                                         Montgomery         AL      36109
Mary Katherine Stewart           9190 Enclave Green Lane East                                  Germantown         TN      38139
Mary Kathryn Timoney             1089 VISTA Trail                                              Atlanta            GA      30324
Mary Kay Bowden                  5900 Deerwood Road                                            Houston            TX      77057
mary kolakowski                  75 TALL OAKS DR                                               JACKSON            TN      38305
Mary Kruger                      458 Riverforest Drive                                         New Braunfels      TX      78132
Mary Kurian                      1534 Moritz Dr                                                Houston            TX      77055
Mary Lewis                       2235 sunset blvd                                              Houston            TX      77005
Mary Lou Rosa                    13506 Winterhaven                                             Farmers Branch     TX      75234
Mary McElroy                     10 Lakeshore Drive                                            Avondale Estates   GA      30002
Mary Morgan                      977 stonewall rd                                              LEXINGTON          KY      40504
Mary Moussa                      9607 E. Oaks Lane                                             Irving             TX      75063
Mary Nguyen                      1217 St. Maria Ct.                                            Arlington          TX      76013
Mary O'Connor                    6477 Cottingham Pl                                            Memphis            TN      38120-3200
Mary Ovalle                      1805 LAKEVIEW DR                                              GRAND PRAIRIE      TX      75051
Mary Payne                       7424 Mason Dells Dr.                                          Dallas             TX      75230
Mary Phillips Neyman             1677 CEDAR TRAIL CV                                           HERNANDO           MS      38632
     In re Parker SchoolCase
                        Uniforms, LLC
                                18-10085-CSS                    Doc 3   Filed 01/12/18     Page 91 of 134
     Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                                Address 2     City                State   Zip Code
Mary Quezada                   13429 Shortleaf Drive                                  Dallas              TX      75253
Mary Schultz Haas              636 Dogwood Lane                                       Cottonwood Shores   TX      78657
Mary Scott                     1427 Nashua St                                         Houston             TX      77008
Mary Sheridan Page-Fatzinger   1813 Tyne Blvd.                                        Nashville           TN      37215
Mary Solomon                   2015 Highpointe Drive                                  Brandon             MS      39042
Mary Summers                   1570 PASADENA DR                                       AUSTIN              TX      78757
Mary Torres                    1526 W WILDWOOD DR                                     SAN ANTONIO         TX      78201
Mary Valdez                    11247 Jade Spring                                      San Antonio         TX      78249
Mary Valentino                 1801 Old Mill Road                                     Germantown          TN      38138
Mary Young                     4450 Bill Street                                       Marks               MS      38646
Maryam Shariff                 14114 RIVER FOREST DR                                  HOUSTON             TX      77079
Mary-Ann Bowen                 1053 Arbor Trace NE                                    Atlanta             GA      30319
Marycarmen Menchaca            223 Boardwalk                                          Stafford            TX      77477
Marycela Barron                133 Brenner                                            San Antonio         TX      78237
Mary-Evelyn Dalton             808 Quail Valley Drive                                 Brentwood           TN      37027
Mary-Katherine Smith           3376 Castlewood Blvd                                   Highland Village    TX      75077
masayo tsuto                   540 Sessingham Ct                                      alpharetta          GA      30005
Mashala Williams               5015 ALDINE BENDER RD                    APT 5102      HOUSTON             TX      77032
Mason Branam                   7166 Old Southwick Pl                                  Montgomery          AL      36117
Mat Albrecht                   1702 PINE VILLAGE DR                                   HOUSTON             TX      77080
Mathew Hogan                   2333 Apreeture Circle                                  San Diego           CA      92108
Mathew Martin                  7502 Sutter Home                                       San Antonio         TX      78253
Matilde Nunez                  8944 LAS CRUCES CIR                                    HOUSTON             TX      77078
Matt Archbold                  114 E Ave San Juan                                     San Clemente        CA      92672
Matthew Barlow                 1163 OLD HIGHWAY 20 LN                                 HAZLEHURST          MS      39083
Matthew Reilly                 3884 Exmoor Circle                                     Sacramento          CA      95864
mattie miller                  1311 porter rd.                                        nashville           TN      37206
Maura Morrison                 1238 KENDRICK RD NE                                    ATLANTA             GA      30319
Maureen Esposito               807 Reddoch St                                         Memphis             TN      38120
Maureen Hutton                 5391 SYCAMORE GROVE LN                                 MEMPHIS             TN      38120
Maxwell Nagy                   1023 Bonham Terr                                       Austin              TX      78704
May Lin                        17 Julian                                              Irvine              CA      92602
may shia                       183 rhapsody                                           irvine              CA      92620
Maya Russo                     1383 Cortez Ln                                         Atlanta             GA      30319
Mayme Bauer                    15984 ROSE CIR                                         HARLINGEN           TX      78552
Mayne Hawkes                   10807 Claywood drive                                   Austin              TX      78753
Mayra Garcia                   5120 DACY LN                                           BUDA                TX      78610
Mayra Lopez                    323 kinderwood trail                                   Montgomery          TX      77316
Mayra Mesa                     11220 Lorenzo Dr                                       Riverside           CA      92505
Mayra Palacios                 1406 Gillette Street                                   Dallas              TX      75217
Mayra Vazquez                  10019 Mesita                                           Dallas              TX      75217
Maysa Moghnie                  23 seedling                                            Irvine              CA      92618
McKinsey Jones                 707 Thornwood Dr                                       Shenandoah          TX      77381
Meagan Pantello                114 Faith Way                                          Brandon             MS      39047
mecca muhammad                 67 boulevard                                           Atlanta             GA      30312
Mechelle Lee                   14252 Clover Dr                          Suite #A831   Irvine              CA      92604
Meeta Gupta                    17710 Parkvalle Pl                                     Cerritos            CA      90703
Meg Berg                       6700 MEADOW LAKE AVE                                   DALLAS              TX      75214
Meg Duke                       340 Sherborne Place                                    Flowood             MS      39232
Megan Ardoin                   2703 Haverhill Drive                                   Houston             TX      77008
megan berg                     204 winburn lane                                       franklin            TN      46123
Megan DiTeresa                 2601 Armatrading Drive                                 Cedar Park          TX      78613
Megan Douglass                 1230 East Walnut St                      Apt 209       Seguin              TX      78155
Megan Duffy                    533 Beach 128th Street                                 Belle Harbor        NY      11694
Megan Fitzgerald               5459 Carew Street                                      Houston             TX      77096
Megan Jones                    132 Nottingham Dr.                                     Jackson             TN      38305
Megan Manley                   5415 Caladium Dr.                                      Dallas              TX      75229
Megan Mcconnell                250 QUAIL RIDGE RD                                     ALEDO               TX      76008
megan McGehee                  1881 Hawthorne Loop                                    Driftwood TX        TX      78619
Megan Meihaus                  10 Kendall Street                                      Laguna Niguel       CA      92677
Megan Merchants                6800 Windhaven Parkway                   #321          The colony          TX      75056
Megan Shore                    9364 SVL Box                                           Victorville         CA      92395
megan velazquez                42 RIDGE DR                                            New Braunfels       TX      78130
Meghan Greer                   6005 Highway 472                                       Hazlehurst          MS      39083
Meghan Mccracken               3111 RICE BLVD                                         HOUSTON             TX      77005
Meghann Melton                 502 W MONTGOMERY ST                                    WILLIS              TX      77378
MEHAME HADIA                   385 AMBERLEAF DR                                       VICKSBURG           MS      39180
mehvish shah                   220 newport center drive                               newport beach       CA      92660
Mehwish Baqai                  7 Woodspring Cv                                        Buena Park          CA      90621
Mei Sze/Mary Babb              1929 PINEHURST RD                                      SNELLVILLE          GA      30078
MeiMei Kim                     2612 enclave at shady acres ct                         Houston             TX      77008
Mel Travis                     7600 East Houston Road                   Apt. 4106     Houston             TX      77028
Melani Brooks                  1915 CHURCHILL DOWNS                                   LEBANON             TN      37087
Melani Espinoza                7415 Draco Leap                                        San Antonio         TX      78252
Melanie Beth Cawthon           9860 Bent Brook Dr                                     Montgomery          AL      36117
Melanie Chaisson               26110 W LOVEGRASS LN                                   SPRING              TX      77386
MELANIE CLARK                  18931 DE ENCLAVE                                       SAN ANTONIO         TX      78258
melanie cox                    3868 N Galloway                                        memphis             TN      38111
Melanie Granger                102 Susanne Circle                                     Crystal Springs     MS      39059
Melanie Greganti               5117 Will Fall Road                                    Bartlett            TN      38002
Melanie Hoffman                1316 Arnold Ave NE                                     Atlanta             GA      30324
Melanie Klingelberger          804 Kingston Lacy Blvd                                 Pflugerville        TX      78660
Melanie Landry                 3816 Shane Road                                        millington          TN      38053
Melanie Nesbitt                4363 shadow leaf cove south                            Memphis             TN      38128
Melanie O'Gwynn                209 Park Ridge Drive                                   Brandon             MS      39042
Melanie Porter                 7611 Burning Hills Drive                               HOUSTON             TX      77071
Melanie Robinson               2270 Glenbar Dr                                        Germantown          TN      38139
Melanie Rodriguez              7601 Daffan Ln                           Apt 369       Austin              TX      78724
Melanie Roman                  2257 Holly Grove drive                                 Memphis             TN      38119
MELANIE SOBCZAK                12685 I-55 SOUTH                                       TERRY               MS      39111
Melanie Terry                  6525 Jocelyn Hollow Rd                                 Nashville           TN      37205
melanie urdiales               8424 swiftwater                                        houston             TX      77075
MELANIE VELEZ                  170 BOWEN CIRCLE                                       ATLANTA             GA      30315
       In re Parker School Uniforms, LLC
                        Case 18-10085-CSS
       Schedule E/F, #3.9 - customer back-orders
                                                                 Doc 3   Filed 01/12/18    Page 92 of 134


Name                                Address 1                            Address 2    City              State   Zip Code
Melden Valdez                       8433 N 24th St.                                   McAllen           TX      78504
MELEAH DOLLAR                       1300 CAMERON CT                                   MONTGOMERY        AL      36117
Melinda Arredondo                   5615 Preserve Circle                              Alpharetta        GA      30005
Melinda Brown                       313 LAKE VALLEY DR                                FRANKLIN          TN      37069
Melinda Dyer                        3820 BRIDLE CREEK DR                              SUWANEE           GA      30024
Melinda Farmer                      1513 Park Ave                                     Byram             MS      39272
Melinda Feely                       8640 valderama drive                              Duluth            GA      30097
Melinda Gleason                     256 Sugarberry Cir                                HOUSTON           TX      77024
Melinda Goetting                    1256 S 180th St                                   Weir              KS      66781
Melinda Gonzalez                    4926 SENTRY WOODS LN                              PEARLAND          TX      77584
melinda knight                      1530 Evers Avenue                                 Westchester       IL      60154
Melis Akkan                         486 Timberlea Lake Dr                             Marietta          TX      77040
Melisa Ram                          120 Sage Canyon                                   Borne             TX      78006
Melissa Baines                      80 Walnut Creek Drive                             Jackson           TN      38305
Melissa Barron                      3065 Oakey Mountain Road                          Clarkesville      GA      30523
Melissa Capello                     9411 SANDSTONE ST                                 HOUSTON           TX      77036
Melissa Cason                       2716 Barton Creek Blvd               1821         Austin            TX      78735
melissa cassidy                     346 east main street                              Murfreesboro      TN      37130
MELISSA CASTILLO                    1601 MEADOW DR                                    WESLACO           TX      78599
Melissa chechourka                  3212 Lassik st                                    West Sacramento   CA      95691
Melissa Crea                        3340 Tumblewood Trail                             San Antonio       TX      78247
Melissa Dorman                      2407 Texland Circle                               Midland           TX      79705
Melissa Eakes                       5330 Merrimac                                     Dallas            TX      75206
Melissa Fadipe                      28207 Red Shady Oaks Drive                        Katy              TX      77494
Melissa Franz                       13770 Sweet ave                                   Riverside         CA      92503
Melissa Grimes                      17903 COUNTRY FLDS                                MAGNOLIA          TX      77355
Melissa Guzman                      1215 Hunters Plane                                San Antonio       TX      78245
Melissa Hackett                     174 Lebanon Highway                               Carthage          TN      37030
Melissa Harry                       7022 Flaxord Trail                                Arligton          TX      76001
Melissa Hartley                     764 Creekside bend                                Alpharetta        GA      30004
melissa hernandez                   3935 gayle ave                                    san antonio       TX      78223
melissa houston                     1353 lakeshore drive                              branson           MO      65616
Melissa Hutton                      3920 Davis Circle                                 Plano             TX      75023
Melissa Johnson                     4438 S Leoma Lane                                 Chandler          AZ      85249
Melissa King                        6336 Laguna Mirage Lane                           Elk Grove         CA      95758
Melissa Kirkland                    2936 NARA VISTA TRL                               FORT WORTH        TX      76119
Melissa Kramer                      4428 GOODFELLOW DR                                DALLAS            TX      75229
Melissa Kuwamurnt                   66 Sendero Verde                                  San Antonio       TX      78261
Melissa Laster                      29007 Carstens Ridge                              San Antonio       TX      78260
Melissa Luft                        3132 W Honor Ct                                   Anthem            AZ      85086
Melissa McGlawn                     P.O. Box 11                                       Swiftown          MS      38959
Melissa Mcneese                     4265 BRUSSELS DR                                  JACKSON           MS      39211
Melissa Montini                     2993 curd road                                    mount juliet      TN      37122
Melissa Morales                     13245 LAUREL MEADOW LN                            SAN ANTONIO       TX      78253
Melissa Navarrette
Melissa Nesheim                     121 Sea View Ln.                                  Corpus Christi    TX      78411
Melissa Olmos                       208 PARKVIEW CIR                                  HARLINGEN         TX      78550
Melissa Perez                       6703 Alleyton Dr.                                 Austin            TX      78725
Melissa Potter                      1508 Auburn Dr                                    Richardson        TX      75081
Melissa Roberson                    17018 TURIN RDG                                   SAN ANTONIO       TX      78255
Melissa Schepp                      2218 Humility Lane                                Atlanta           GA      30319
Melissa Schroeder                   4701 Belladonna Drive                             Fort Worth        TX      76129
Melissa Sill                        2303 N 227th St W                                 Andale            KS      67001-9528
Melissa SKAGGS                      162 Grove Lane South                              Hendersonville    TN      37075
Melissa Smith                       110 Pinewood Drive                                Hattiesburg       MS      39402
Melissa Strathman                   17310 DE CHIRICO CIR                              SPRING            TX      77379
Melissa Swan                        1819 HOLM OAK ST                                  ARLINGTON         TX      76012
Melissa Templeton                   16640 Devonshire St. #304                         Granada Hills     CA      91344
Melissa Van Rossum                  610 Regency Forest Ct                             Atlanta           GA      30324
Melissa Wolfdane                    1020 Jackson Keller                  106          San Antonio       TX      78213
Melissa Yoon                        14700 Marsh Ln                       Apt 924      Addison           TX      75001
Melissa Zager                       5915 Boulder Bluff Dr                             Cumming           GA      30040
meliza sia                          2971 Muttonbird Way                               Sacramento        CA      95834
Meljorie Castelo                    3047 Tiffany ln                                   Colton            CA      92324
mella thavornvach                   5948 Bellflower Blvd                              Lakewood          CA      90713
Mellonee Jarmon                     2704 ISABELLA ST                                  HOUSTON           TX      77004
Melody Navarrez                     1914 Saltillo                                     SAN ANTONIO       TX      78207
Melvin Lewis                        212 west wintergreen rd              APT 2021     Desoto            TX      75115
Melyssa Montgomery                  10603 Rabbit Oak Dr                               Houston           TX      77065
Meme Stenphns                       268 RIDGE HAVEN DR                                LEWISVILLE        TX      75067
Memphis Business Academy, Memphis   2450 FRAYSER BLVD                                 MEMPHIS           TN      38127
meoshia DAVIS                       2060 CAMELLIA LAN.                                JACKSON           MS      39204
Mercedes Anderson                   55 rexford                                        Irvine            CA      92620
MERCEDES Jones                      1519 MCARTHUR DR                                  Duncanville       TX      75137
Mercedes Tristan                    12003 RAVEN VIEW DR                               HOUSTON           TX      77067
Mercedes Villegas                   8318 Laurel Ridge Rd                              Riverside         CA      92508
Mercedita Liwanag                   3402 Capstone Lane                                Garland           TX      75043
Meredith Bibb                       8502 GRAPEVINE PASS                               SAN ANTONIO       TX      78255
Meredith Hake                       1113 Wood Creek Cir                               Flower Mound      TX      75028
Meredith Hendricks                  9021 E Boxthorn St                                Wichita           KS      67226
Meredith Houston                    6106 Meadow Road                                  Dallas            TX      75230
Meredith Rose                       528 N POST OAK LN                                 HOUSTON           TX      77024
Meredith Talley                     8162 Santa Clara Dr                               Dallas            TX      75218
Meredith Vincent                    1609 lady marian ln ne                            atlanta           GA      30309
Meri-Kathryn Bright                 3865 Friendship Rd                                Tallassee         AL      36064
Meris Courville                     4050 Ernest Street                                Lake Charles      LA      70605
Merkida Jones                       1793 Baldwin Ave                                  Memphis           TN      38127
Merrill Laguarta                    3003 Funston St                                   Austin            TX      78703
Merryhill School, Sacramento        2565 MILLCREEK DR                                 SACRAMENTO        CA      95833
Meryle Xue                          510 S. Anaheim st.                   Unit 9       Anaheim           CA      92805
Mesa Grande Academy                 975 Fremont St                                    Cali Mesa         TX      77040
Mesha Williams                      100 camellia lane                                 Lithonia          GA      30058
Mia Cloutier                        10 TAL CT                                         HOUSTON           TX      77055
        In re Parker School Uniforms,
                         Case         LLC
                                  18-10085-CSS              Doc 3   Filed 01/12/18    Page 93 of 134
        Schedule E/F, #3.9 - customer back-orders


Name                             Address 1                          Address 2    City             State   Zip Code
Mia Leoni                        10290 BUCKLAND BLUFF CV                         COLLIERVILLE     TN      38017
Mia Taraszki                     5008 Sugar Mill Rd                              DALLAS           TX      75244
Mia Turner                       4714 Purdue Ave                                 Dallas           TX      75209
Mialika Watkins                  318 NICOLET DR                                  MEMPHIS          TN      38109
Micaela Castro                   5719 Kiam St.                                   Houston          TX      77007
MICAH MACAWILI                   5612 Allendale Drive                            Riverside        CA      92507
MICCI WORSHAM                    1501 Deering st                                 cleveland        MS      38732
Micha Zammit                     15 Turtle Cove Court                            Humble           TX      77346
Michael Aceves                   4329 Milsop Dr                                  Carrollton       TX      75010
michael albrecht                 11843 elmscourt                                 san antonio      TX      78230
Michael Allsep                   901 Hillmont Court                              Nashville        TN      37221
Michael clarck                   918 edison                                      SAN ANTONIO      TX      78201
MICHAEL COX                      2521 GUILFORD RD                                Fort Worth       TX      76107
Michael Curl                     7423 Roseshire Lane                             Baytown          TX      77521
MICHAEL ELLIOT
Michael Goughnour                6830 Slash Pine Cove                            Memphis          TN      38119
Michael Kwenin                   126 Crestline Dr                   Apt 1401     Clarksdale       MS      38614
Michael Morales                  292 watchogue road                              staten island    NY      10314
Michael Murad                    6829 Waterlily Ct.                              Eastvale         CA      92880
MICHAEL TILLER                   1670 RAY ST                                     ATLANTA          GA      30318
Michael Vargas                   1593 Windsor St.                                San Bernardino   CA      92407
Michael Washington               3425 FM 2920 Sutie #700                         Spring           TX      77388
Michaela Silverberg              1112 Brookmeade Dr                              Nashville        TN      37204
Michaelanne Fritcher             215 PARK RDG                                    BOERNE           TX      78006
Michele Cardozo                  534 Sydenham Dr                                 Franklin         TN      37064
Michele Dial                     5237 Wyntercreek Way                            Dunwoody         GA      30338
Michele Estrada                  4011 ABERDEEN WAY                               HOUSTON          TX      77025
Michele Fischer                  317 Schweppe Street                             Boerne           TX      78006
Michele Friedman                 3323 Rice Blvd                                  Houston          TX      77005
Michele Guttery                  860 Buckhead Trce                               Atlanta          GA      30342
Michele Joyce                    405 Unity Drive                                 Leander          TX      78641
Michele Latham                   106 CREEKWOOD DR                                FLOWOOD          MS      39232
Michele Poleski                  11305 STARLIGHT BAY ST                          PEARLAND         TX      77584
michele salas                    15125 galena drive                              austin           TX      78717
Michele Sulis                    7339 Westwood Dr                                Riverside        CA      92504
Michell Caudill                  234 Ridgewater Way                              Mount Juliet     TN      37122
Michelle Anderson                1533 Robin Lane                                 Lancaster        TX      75134
Michelle Arnold                  26 WINDALE DR                                   JACKSON          TN      38305
Michelle Ayers                   105 SOMERFORD CT                                MADISON          MS      39110
MICHELLE BALLARD                 11210 Bentley Chase Dr                          Johns Creek      GA      30097
Michelle Barajaz                 89 Sistine                                      San Antonio      TX      78258
Michelle Blackburn               701 Harvey Dr.                                  Marshall         TX      75670
Michelle Bounds                  324 Gulde Road                                  Brandon          MS      39042
Michelle Bramlett                6 freds Place Lane                              Lakemont         GA      30552
Michelle Brown                   13914 MAJESTIC SPRING LN                        HUMBLE           TX      77396
Michelle Burks                   405 The Hermitage Dr.                           Alpharetta       GA      30004
Michelle Claassen                5717 ARCADY PL                                  PLANO            TX      75093
Michelle Cook                    2002 ALICE SPRINGS CT                           MOUNT JULIET     TN      37122
Michelle Cross                   1385 Agnes Place                                Memphis          TN      38104
Michelle De La Garza             5 WESTELM PT                                    SAN ANTONIO      TX      78230
Michelle deYbarrondo-Gall        9808 Royal New Kent Dr                          Austin           TX      78717
Michelle Dye                     1123 Lausanne Avenue                            Dallas           TX      75208
Michelle Esparza                 225 s. feldner rd                               orange           CA      92868
Michelle Fuqua
Michelle Gomez                   7131 WESTPORT WAY                               SAN ANTONIO      TX      78227
Michelle Gonzalez                3132 Whitehall Drive                            Dallas           TX      75229
Michelle Grensing                1016 Shoreham St                                Murfreesboro     TN      37130
Michelle Gunn                    594 Tanneyhill Trail                            Austell          GA      30168
Michelle Hariel                  104 Kennesaw Cv                                 Madison          MS      39110
Michelle Hayden                  2902 Foxcreek Dr                                Richardson       TX      75082
Michelle Head                    3775 Ranch Road 967                             Buda             TX      78610
Michelle Hylton                  1453 Blairwood Court                            Atlanta          GA      30331
Michelle Jernsletten             2542 PELICAN DR                                 SEABROOK         TX      77586
Michelle Johnner                 4433 Greenbrier Dr                              Dallas           TX      75225
MICHELLE JONES                   100 ROBERT CARTWRIGHT DR           APT 1706     GOODLETTSVILLE   TN      37072
Michelle Katz                    1901 Post Oak Blvd                 Apt 803      Houston          TX      77956
michelle kawas                   213 LAKE POWELL                                 LAREDO           TX      78041
Michelle Kern                    240 Seale Lane                                  Alpharetta       GA      30022
Michelle Lee                     7131 HUNTERS BRANCH CT                          ATLANTA          GA      30328
Michelle Lejeune                 2527 CENTERLINE RD                              CONROE           TX      77384
Michelle Macmillan               2408 CALLE AQUAMARINA                           SAN CLEMENTE     CA      92673
michelle Mallett                 2037 Nestlewood Drive                           Austin           TX      78754
Michelle Mcfarland               59 Oakhaven Drive                               Jackson          TN      38305
Michelle Newell                  8855 Morning Place                              Montgomery       AL      36117
Michelle Nguyen                  7803 sawmill trail                              Houston          TX      77040
Michelle Pacheco                 2703 Castanet                                   San Antonio      TX      78230
MICHELLE PADILLA                 8866 Hillery Drive                              San Diego        CA      92126
Michelle Pang                    3317 Muscatel Ave                               Rosemead         CA      91770
Michelle Poulose                 609 Collinscrest CT                             Nashville        TN      37221
Michelle Price                   8326 Wayside Creek                              San Antonio      TX      78255
Michelle Quesnel                 629 Stonebridge Lane                            Mt. Juleit       TN      37122
Michelle Reyes                   3838 Sherman Dr.                   Suite 203    Riverside        CA      92503
Michelle Ronsick                 8306 W. Candlewood Circle                       Wichita          KS      67205
Michelle Rullan                  21852 camargo                                   Mission Viejo    CA      92691
Michelle Sam                     12126 REDFERN DR                                HOUSTON          TX      77048
Michelle Sands                   4828 BRIARCLIFF AVE                             MEMPHIS          TN      38117
michelle Schilling               216 W 7TH ST                                    MUENSTER         TX      76252
michelle shaw                    4630 irish red court                            union city       GA      30291
Michelle Smith                   8615 Disa Alpine Way                            Elk Grove        CA      95624
Michelle Smith-Peters            1111 Kirnwood Drive                             Dallas           TX      75232
Michelle Sosa                    23416 Caminito Salado                           Laguna Hills     CA      92653
Michelle Stone                   21418 Penshore Place Lane                       Katy             TX      77450
Michelle Unger                   3206 Hillock Dr                                 Los Angeles      CA      90068
              In re Parker School
                           CaseUniforms,   LLC
                                   18-10085-CSS                   Doc 3   Filed 01/12/18      Page 94 of 134
              Schedule E/F, #3.9 - customer back-orders


Name                                 Address 1                            Address 2      City             State   Zip Code
michelle villanueva                  2901 shamrock ave                                   Brea             CA      92821
michelle whitney                     9270 sunbonnet dr                                   Pearland         TX      77584
Michelle Wilkinson                   2140 Buckhorn Lane                                  Rescue           CA      95672
Michelle Zilai                       10138 Stafford Hill Cove                            Katy             TX      77494
Mickey Rooney                        108 GLENWOOD DR                                     HOUSTON          TX      77007
Miesha Butler                        4011 W 129th St                                     Hawthorne        CA      90250
Mignon Hodges                        1400 ROBERT E LEE DR                                GREENWOOD        MS      38930
Miguel Carbajal                      6601 Starrest Ln                                    Austin           TX      78724
Miguel Contreras                     3664 Commerce Drive                  Suite B        Brownsville      TX      78521
MIGUEL MEDINA                        3009 S FIGUEROA ST                                  LOS ANGELES      CA      90007
Miguel Quintero                      22696 S. Canada Ct.                                 Lake Forest      CA      92630
Mikayla Ilorg                        262 Springwood Ln.                                  San Antonio      TX      78216
Mike Jirsa                           4250 Maryland St                                    San Diego        CA      92103
Mike Schwartje
mike stickland                       5433 longview street                                dallas           TX      75206
Mildred Fayne                        4012 oxbow dr                                       NASHVILLE        TN      37207
Mili Khatter                         3441 Bluewater Dr                                   Little Elm       TX      75068
Miller Cindy                         220 River Oaks Dr                                   Mason            TN      38049
Milli Jacks                          5221 WESTHAVEN DR                                   FORT WORTH       TX      76132
millicent marshall                   2021 gallatin pk n                                  madison          TN      37115
Milton Madison                       76 Cotton Terrace Dr                                Deatsville       AL      36022
Mimi Buenvenida                      3544 Graycliff Road                                 Snellville       GA      30039
Mina Chow                            19142 Aldora Dr                                     Roland Heights   CA      91748
mindi mccauley                       1513 acacia pkwy                                    spring branch    TX      78070
Mindi Parsons                        1622 55th Street                                    Sacramento       CA      95819
Mindi Selman                         106 Fairmont Place                                  Hattiesburg      MS      39402
Mindy Libbey                         3350 MAVIS DR                                       CORPUS CHRISTI   TX      78411
Mindy Margolis                       1262 Brickton Dr. NW                                Atlanta          GA      30318
Mindy Van Tassel                     144 Cross Timbers Dr                 A              Nashville        TN      37221
MINGYU HE                            1515 S SUNKIST ST                                   ANAHEIM          CA      92804
Minh Le                              1927 N HEISERMAN ST                                 WICHITA          KS      67203
Mira Liniado                         4930                                 Northway Dr.   Atlanta          GA      30342
Miranda Bayne                        1546 BEACONSHIRE RD                                 HOUSTON          TX      77077
Miranda Marshall                     1104 Augusta Bend Dr                                Hutto            TX      78634
Miranda Steffey                      31225 ULRICH RD                                     TOMBALL          TX      77375
Miriam Anilus                        1965 Colorado St                                    Redlands         CA      92374
Miriam Hashimoto                     4052 HOLLIS HILL DR                                 NASHVILLE        TN      37211
Miriam Haviv                         815 Spalding Heights Drive                          Atlanta          GA      30350
Miriam lara                          11416 lane st                                       Houston          TX      77029
Miriam marcus                        3251 RUTH ELAINE DR                                 LOS ALAMITOS     CA      90720-3036
Miriam Vergara                       2217 Hollister St #207                              Houston          TX      77080
Mirna Correa                         16023 Las Vecinas Dr                                La Puente        CA      91744
Mirrna Kirk                          119 E Crestline                                     San Antonio      TX      78201
Misbah sayeda                        111 fallkirk dr.                                    coppell          TX      75019
Miscellaneous Account, Alpharetta    319 CURIE DR                                        ALPHARETTA       GA      30005
Miscellaneous Account, Sacramento    9912 BUSINESS PARK DR                STE 165        SACRAMENTO       CA      95827
Mischca Scales                       7417 Turnbuoy Drive                                 Austin           TX      78730
Misti Nash                           48 Richland Cove                                    Jackson          TN      38305
Misti Schmutz                        4906 Dakota Ave                                     Nashville        TN      37209
MISTY CARSON                         3260 Dean Road                                      Nesbit           MS      38651
MISTY O'FIEL                         200 EARL GARRET                      ST 210         KERRVILE         TX      78028
Misty Roberts                        4741 W CHERYL DR                                    JACKSON          MS      39211
Misty Thompson                       14752 Oak Leaf Dr                                   Corona           CA      92880
Misty Thors                          15604 Windsor St                                    Overland Park    KS      66224
Mitchel Jeremiah                     1202 Polking                                        Mcdonough        GA      30252
Mitzi Thompson                       2300 Westwind Drive                                 Carrollton       TX      75006
Miwako Hirano                        972 PROSPECT AVE SE                                 ATLANTA          GA      30316
mOHAMMAD shaikh                      4207 Rainier St.                                    Irving           TX      75062
mohammed faqih                       1221 n stae college blvd                            anaheim          CA      92806
Mollie Firkins                       2827 Vinemont Drive                                 Murfreesboro     TN      37130
Molly Bennett                        1655 OXFORD CT                                      BEAUMONT         TX      77706
Molly Blon n                         6487 Burgoyne                                       Houston          TX      77057
Molly Glascock                       13404 James lane                                    Norwood          LA      70761
Molly Light                          8612 Markham Drive                                  Frisco           TX      75035
Molly Lowry                          4144 Oakridge Drive                                 JACKSON          MS      39216
Molly Matson                         575 s fern ave                                      elmhurst         IL      60126
Molly Moore                          PO Box 4905                                         Beaumont         TX      77704
Molly Petroni                        2 LYNNWOOD LN                                       NASHVILLE        TN      37205
Molly Roy                            20 Northwood Ave                                    Jackson          TN      38301
Molly Swartz                         238 Winonna Drive                                   Decatur          GA      30030
Molly Tannehill                      26931 Via Zaragosa                                  Mission Viejo    CA      92691
Mona Ali                             13191 Contessa                                      Tustin           CA      92782
mona gad                             3136 corte portofino                                newport beach    CA      92660
Mona Loordu                          16002 Ponderosa Pass                                SAN ANTONIO      TX      78023
MONA REDDY                           208 NESBIT PL                                       MADISON          MS      39110
MONA SABAOT                          440 BRIARWOOD RD                                    SAN DIEGO        CA      92114
MONICA ALEXANDER                     1127 AUTUMN MOON                                    SAN ANTONIO      TX      782245
Monica Blanco
monica casady                        11426 cat springs                                   boerne           TX      78006
Monica Chizek                        8425 Riverside Drive                                Powell           OH      43065
Monica Crimi                         47 GROVE PARK LOOP                                  WETUMPKA         AL      36093
Monica Euins-Anderson                10696 Pagewood Dr                                   Dallas           TX      75230
Monica Everman                       1317 MCCAULEY AVE                                   SAN ANTONIO      TX      78224
Monica Harrison                      8601 Mudville rd                                    Atoka            TN      38004
Monica Helton                        4338 Lascassas Pike                                 Murfreesboro     TN      37130
Monica Leyendecker                   4002 Cullaton Cir                                   Laredo           TX      78575
Monica Navarro                       410 North east 28th st                              Grand Prairie    TX      75050
Monica Roberts                       6845 Guinevere Street                               Corpus Christi   TX      78414
Monica ROWELL                        26 REDFERN TRL                                      PETAL            MS      39465
Monica Sainz                         9103 Bigby St                                       Downey           CA      90241
Monica Trujillo                      568 AMHERST WAY                                     SAN JACINTO      CA      92582
Monica Zins                          5970 Woodshire Drive                                Westerville      OH      43081
Monico Moreno                        1513 Long Shadow Ln                                 GEORGETOWN       TX      78628
               In re Parker School Uniforms, LLC
               Schedule E/F,  #3.9 - customer
                            Case              back-orders
                                     18-10085-CSS                   Doc 3   Filed 01/12/18    Page 95 of 134


Name                                   Address 1                            Address 2    City               State   Zip Code
Monika Bielinski                       7610 Lakecrest circle                             IRVING             TX      75063
Monika Smith                           1406 RICHELIEU LN                                 HOUSTON            TX      77018
Monique Taylor                         6740 CEDAR SHADOW DR                              DALLAS             TX      75236
Montgomery County DHR
Monty Steele                           4346 Sneed Road                                   Nashville          TN      37215
Morena Castellon                       3454 Cloverdale                                   Dallas             TX      75234
Morgan Burkett                         6522 Belmead Drive                                Dallas             TX      75230
Morgan Mead                            22911 Briarcroft                                  Lake Forest        CA      92630
MORGON DUKE                            2501 CARNATION AVE                                FORT WORTH         TX      76111
Moses Flores                           5970 Campus Park                                  San Antonio        TX      78242
Most Precious Blood, Corpus Christi    3502 SARATOGA BLVD                                CORPUS CHRISTI     TX      78415
Mounima Akula                          108 SAN BERNARD DR                                IRVING             TX      75039
Ms. Moore                              504 Scotts Creek Trl                              Hermitage          TN      37076
Muhammad Jamal                         8743 Green Heron Ln                               Cordova            TN      38018
Muna Aboabdo                           5401 Argosy AVe                                   Huntington Beach   CA      92649
Mustafa Ibrahim                        1000 Underhill Drive                              Placentia          CA      92870
Myha Nguyen                            624 Essex place                                   Euless             TX      76039
MyMy Ta                                2708 Harmon Dr                                    Grapevine          TX      76051
Myra Fuller                            14501 danes circle                                Hunnington Beach   CA      92647
MYRA ROSS                              NA                                                NA                 IN      47322
Myrcheryl Jackson                      1131 old Breckenridge lane                        Montgomery         AL      36117
Myriam Mendoza                         660 MAXEY RD                                      HOUSTON            TX      77013
myung lee                              7955 Turnberry Way                                Duluth             GA      30097
Naa Jones                              93 Coopers Glen Drive SW                          Mableton           GA      30126
Nadene Sullivan                        108 Seminole Cv                                   Terry              MS      39170
Nader Elarad                           4204 PAYTON                                       IRVINE             CA      92620
Nadia Budhani                          1014 plum dr                                      Irving             TX      75063
Nadia Khan                             1629 Hilton Head Lane                             Frisco             TX      75034
Nadia Rehman                           7630 Westmoreland Dr                              Sugar Land         TX      77459
Nadine Gamboa                          14218 Fox St                                      San Fernando       CA      91340
Nafise Tousi                           126 TOWNSEND MILL CT                              HOUSTON            TX      77094
Nagasubbareddy Gangireddy              6716 verde                           APT 225      Irving             TX      75039
Nagham Baioumy                         330 green trail cove                              Cordova            TN      38018
Nahal Mirkarimi                        3863 Clairemont Drive                             San Diego          CA      92117
Naikai Butler                          4557 North O'Connor Road             Unit 1285    Irving             TX      75062
Najla Mery                             211 WELLESLEY LNDG                                SAN ANTONIO        TX      78231
Nakeesha Hughes                        438 Bill Kennedy Way                              Atlanta            GA      30316
Nakeita Wilson                         1510 Blanco Rd.                                   San Antonio        TX      78232
Nakia Rogers                           1005 E Eh Crump Blvd                 Apt 103      Memphis            TN      38104
Nakia Thomas                           2 Eargerton Road                                  Montgomery         AL      36116
Nakilah Miller                         2056 Fair Weather Dr                              LANCASTER          TX      75146
NamPhuong Tran                         11737 McDougall                                   Tustiin            CA      92782
Nan Roper                              4216 N Cresthaven Road                            Dallas             TX      75209
Nancy Aguilera                         3027 Rothermel Rd                                 Houston            TX      77093
Nancy Cabansag                         5519 Vicksburg Drive                              Arlington          TX      76017
Nancy Foster                           4225 PARK AVE                                     MEMPHIS            TN      38117
Nancy Garcia                           305 Kelley                                        Houston            TX      77040
Nancy Guerrero                         9219 BUFFALO BEND LN                              HOUSTON            TX      77089
Nancy Jasso                            4643 CENTRAL CIR                                  BROWNSVILLE        TX      78521
Nancy Lawman                           3216 Sunview Ave                                  Sacramento         CA      95825
Nancy Lingner                          282 Doulos Road                                   Branson            MO      65616
Nancy Moore                            2360 N. Mountain Ave                              Upland             CA      91784
Nancy Newmiller                        6003 COLINA LN                                    AUSTIN             TX      78759
Nancy Patin                            3203 Woodrow Way ne                               Brookhaven         GA      30319
Nancy Perez                            757 Sue Barnett Dr                                Houston            TX      77018
Nancy Pitra                            404 Brentwood Drive                               Atlanta            GA      30305
Nancy Reiter                           3515 University Park lane                         Irving             TX      75062
Nancy Saldana                          4512 westway Ave.                                 McAllen            TX      78501
Nancy Sampson                          1371 CLEVELAND ST                                 HOUSTON            TX      77019
Nancy Zapata                           512 Blackjack Oak                                 San Antonio        TX      78230
Nandini Ramroop                        9044 Millican Trail                               Montgomery         AL      36117
Nanette Barton
NANETTE DACUMOS                       4724 RIVER FERN CT                                 BRYAN              TX      77808
Nanette Meyer                         40107 CIMARRON WAY                                 MAGNOLIA           TX      77354
Nannette Rodriguez                    459 Golden Meadows Circle                          Suwanee            GA      30024
Naomi Bailey                          2012 Stonebrook Circle                             Mount Juliet       TN      37122
Naomi Mathew                          804 Copper Ridge Loop                              Temple             TX      76502
Naquitia Betts-Watson                 9924 Grove Oaks                                    Dallas             TX      75217
NARA JUNG                             4219 GARDENDALE CT                                 RIVERSIDE          CA      92505
Nashville Preparatory, Nashville      1300 56TH AVE N                                    NASHVILLE          TN      37209
Nasiya Berry                          1745 24th Avenue N                                 Nashville          TN      37208
Natalia Zavala                        9230 OAK KNOLL LN                                  HOUSTON            TX      77078-4026
Natalie Allen                         9019 Donnell Rd                                    Rosemark           TX      77040
NATALIE ANDERSON                      6850 Chantilly Lane                                Dallas             TX      75214
Natalie Biggers                       13423 BLANCO RD                                    SAN ANTONIO        TX      78216
Natalie Chipps                        903 GOODBAR DR                                     NASHVILLE          TN      37217
Natalie Depena                        11626 Mission Trace                                San Antonio        TX      78230
Natalie Gallardo                      17803 la cantera pkwy                 #6301        SAN ANTONIO        TX      78256
Natalie Gonzales                      2805 VICTORIA PARK DR                              CORPUS CHRISTI     TX      78414
Natalie Jolley                        3931 Portsmouth                                    San Antonio        TX      78223
Natalie McLellan
Natalie Meeks                         264 Cloister Green Lane                            Memphis            TN      38120
Natalie Narvaez                       4312 SHELLEY BLVD                                  DALLAS             TX      75211
Natalie Seeboth                       1604 Cedar Avenue                                  Austin             TX      78702
Natasha Blum                          7606 Mason Dells Drive                             Dallas             TX      75230
Natasha Garrett                       615 shakespeare drive                              Beaumont           TX      77706-5440
Natasha Pollock                       624 Lilja Court                                    Roseville          CA      95678
Natasha Sutherland                    609 Sanga Circle East                              Cordova            TN      38018
Nathan Cano                           10130 Blue Point Juniper Dr                        Houston            TX      77075
Nathan Garcia                         9622 Jason Bend                                    Helotes            TX      78023
Nathan Kwak                           17410 Vinwood Lane.                                Yorba Linda        CA      92886
Naureen Siddiqui                      1179 Maertzweiler drive                            Placentia          CA      92870
Naveed Patrick                        2256 S Seneca Street                               Wichita            KS      67213
         In re Parker School Uniforms, LLC
                         Case
         Schedule E/F, #3.9        18-10085-CSS
                             - customer back-orders           Doc 3   Filed 01/12/18    Page 96 of 134


Name                              Address 1                           Address 2    City               State   Zip Code
Naz Haque                         2424 Sageleaf Circle                             Corona             CA      92882
nazrvl Chowdhury                  275 Stafford Cir                                 Cordova            TN      38018
Neal Crowell                      811 N Cypress St                                 Wichita            KS      67206
Neal Dickert                      881 Byrnwyck Road                                Atlanta            GA      30319
Neftali Contreras                 13913 FM 812                        #7           Del Valle          TX      78617
Neica Michelle Murray             304 Summerwood Lane                              Nashville          TN      37221
NEIL CUENCO                       4909 CLERKENWELL STREET                          MONTGOMERY         AL      36116
Nekesha Bullie                    5919 Floral Dr                                   Jackson            MS      39206
Nele Schildermans                 6515 Truxton ln                                  Beaumont           TX      77706
Nellie Jones                      13505 Durango Pass Dr                            Pearland           TX      77584
Nelly Rodriguez                   1045 N. G Miller Rd.                             Dallas             TX      75217
Nelson Pena
Nereyda Roman                     1401 E RUNDBERG LN                  TRLR 208     AUSTIN             TX      78753
Neshiera Williams                 1205 Libra Dr                                    Cedar Hill         TX      75104
NGAN-HA TRAN                      2160 SERENE CT                                   KELLER             TX      76248
Ngoc Kapa                         180 Academy Drive                                Newbury Park       CA      91320
Nhanh Ho                          10536 W Yosemite Ct                              Wichita            KS      67215
Nia Simmons-roland                1298 EASTRIDGE RD SW                             ATLANTA            GA      30311
Nichele Colbert                   1713 Alfen St                                    Jacksonville       FL      32254
NICHOLA RIBADU                    20310 SYMPHONY DRIVE                             RIVERSIDE          CA      92507
nicholas busch                    230 skyridge dr.                                 Atlanta            GA      30350
NICHOLAS ESCOBAR                  7631 DIETZ ELKHORN RD                            FAIR OAKS          TX      78015
Nicholas Libertini                9014 Wisdom ridge                                San Antonio        TX      78252
Nicholas Rosas-Rochell            1418 e pat pl                                    anaheim            CA      92805
Nichole Bode                      10914 Mullins Drive                              Houston            TX      77096
Nichole Watts                     414 ARLINGTON ST                                 HOUSTON            TX      77007
Nick Coomes                       107 Crestwood Est.                               Pittsburg          KS      66762
Nick gutierrez                    7601 Daffun Lane                                 Austin             TX      787724
Nick Hill                         3808 Leona Pass                                  Hermitage          TN      37076
Nicki Lind                        3719 Fairway Dr                                  Hays               KS      67601
nicole albanese                   1850 Thomas Rd                                   Beaumont           TX      77706
Nicole Andrews                    17230 Orangewood Lane                            Yorba Linda        CA      92886
nicole barrettt                   340 LAMME CHASE                                  DULUTH             GA      30097
nicole callahan                   110 davis rd cove                                terry              MS      39170
Nicole Caraway                    2165 East Ann Arbor Ave.                         Dallas             TX      75216
Nicole Carpenter                  1241 Essey st #1                                 San Diego          CA      92103
Nicole Daichendt                  38 Bushwood Circle                               Ladera Ranch       CA      92694
Nicole Dellosso                   1508 Guilford Lane                               Nichols Hills      OK      73120
Nicole Foster                     1901 Whitney Dr                                  Garland            TX      77040
Nicole Gracia                     4200 San Pedro Ct.                               Fort Worth         TX      76179
Nicole Jones                      6121 SHOTWELL ST                                 HOUSTON            TX      77028
Nicole Koehler                    22825 Cardinal Street                            Grand Terrace      CA      92313
Nicole Lopanik                    2314 Oakview Rd. NE                              Atlanta            GA      30317
Nicole Motley                     3705 STANFORD AVE                                DALLAS             TX      75225
Nicole Mudd                       3922 Lake St                                     Lake Charles       LA      70605
Nicole Murray                     5150 ORIOLE DR                                   BEAUMONT           TX      77707
Nicole Negrey                     523 Lynwood Drive                                Encinitas          CA      92024
nicole patterson                  195 alta vista dr                                marion             AR      72364
nicole pleskow                    po box 8367                                      Rancho Santa Fe    CA      92067
Nicole Postolos                   2930 ELLA LEE LN                                 HOUSTON            TX      77019
Nicole Selassie                   999 W Las Palmas Dr                              Fullerton          CA      92835
Nicole Stephenson                 15221 McKnitt Lane                               Charlotte          NC      28277
nida samad                        4900 Lincolnshire Ave               N/A          Buena Park         CA      90621
Nidia Guerrero                    1016 W. Gramercy                                 San Antonio        TX      78201
nieves barraza                    1118 thannisch dr                                arlington          TX      76011
Niki Anderson                     2824 ROURKE DR                                   AURORA             IL      60503
nikita Katbamna                   88225 e fallsviews rd                            anaheim            CA      92808
nikki lewis                       1750 east blue stem                              beaumont           TX      77713
Nikki McNish                      12311 Meetinghouse Dr.                           Cornelius          NC      28031
Nikki Moll
Nikki Rumsey                      5317 INVERRARY DR                                PLANO              TX      75093
Nikki Vargo                       12202 Overcup dr.                                HOUSTON            TX      77024
Nilda Samaniego                   11006 Red Robin Pl                               San Diego          CA      92126
Nimisha Ambaram                   2106 Smokestack Way                              Sacramento         CA      95833
Nimisha Patel                     18382 Beach Clvd                                 Huntington Beach   CA      92648
Nina Cater                        1880 Lakewood Ter SE                             Atlanta            GA      30315
Nina De Guzman                    3015 Hammond Way                                 El Dorado Hills    CA      95762
nina herrera                      2139 county rd 20/b                              corpus christi     TX      78415
nina hoyle                        22522 Leedstown Ln                               katy               TX      77449
Nina Marceaux                     2901 Hodges                                      Lake Charles       LA      70601
Nina Mothershed                   1432 W.Running Brook Rd                          Nashville          TX      77040
NIna Reagins                      4915 Kashmere Street                             Houston            TX      77026
Ninfa Habley                      2107 Park Avenue                                 Pearland           TX      77581
Nirali Procter                    5450 North Powers Ferry Rd NW                    Atlanta            GA      30327
Nistr Munoz                       1143 Ester Rd                                    Irving             TX      75061
niveen mikhail                    4038 e rolling green ln                          orange             CA      92867
Nnenna Awagu                      5500 WALZEM RD                                   SAN ANTONIO        TX      78218
Noel Bartlett                     5522 Brookhill Drive                             Yorba Linda        CA      92886
noel howe                         2327 Portersville Road                           Atoka              TN      38004
Noelle Banek                      9305 NOTTINGHAM CT                               ROWLETT            TX      75088
Noelle Hackert                    13810 Bent Ridge Dr                              San Antonio        TX      78249-1595
Noelle Hardin                     6906 MERRILEE LN                                 DALLAS             TX      75214
NOI DUONG                         237 CRAIGMEADE DRIVE                             NASHVILLE          TN      37214
Nomi Lee                          101 E REDLANDS BLVD                 STE 134      REDLANDS           CA      92373
Nona King                         91 Trento Turn Drive                             Missouri City      TX      77459
nonette pascua                    6365 division st                                 san diego          CA      92114
Noor Haffar                       2825 N STONE PINE GLN                            SANTA ANA          CA      92706
Nora Escamilla                    1422 Tuffit Lane                                 AUSTIN             TX      78753
Nora Ford                         2545 sunflower lane                              Beaumont           TX      77713
NORALBA REYES                     14605 Bois Darc                                  Manor              TX      78653
Norma Chapman                     711 Barnsley Way                                 Corona             CA      92879
Norma Cienfuegos                  335 W CENTER ST                                  DUNCANVILLE        TX      75116
Norma Oros                        608 Avondale Dr                                  Corona             CA      90899
       In re Parker School Uniforms, LLC
       Schedule E/F, #3.9Case     18-10085-CSS
                           - customer back-orders                      Doc 3   Filed 01/12/18    Page 97 of 134


Name                                      Address 1                            Address 2    City              State        Zip Code
Norma Rosales                             7330 oppoertunity rd                              San Diego         CA           92113
North Central Texas Academy               3846 N HIGHWAY 144                                GRANBURY          TX           76048
North Central Texas Academy, Granbury     3846 N HIGHWAY 144                                GRANBURY          TX           76048
Numair Razzak                             4078 Humboldt Lane                                Yorba Linda       CA           92886
Nuvia Hernadez                            223 DEERFIELD ST                                  HOUSTON           TX           77022
Nydia Jayes                               5011 VISTA BLUE LN                                SUGAR LAND        TX           77479
nyla quinn                                850 twisted Oak Drive                             Horseshoe Bay     TX           78657
Nyoaka Gee                                PO Box 684                                        Madison           MS           39130
Nyquest Stewart                           4538 Ritchey Dr                                   Jackson           MS           39209
Oanh Dinh                                 2555 N GARLAND AVE                                WICHITA           KS           67204
odessa sims                               2071 LAKE COPIAH RD                               CRYSTAL SPRINGS   MS           39059
Ofelia Moreno                             303 LION ST                                       DESOTO            TX           75115
Oksana Giebeler                           POBox 10009                                       San Bernardino    California   92423
Olabisi Akande                            1151 Drewsbury Ct                                 Smyrna            GA           30080
Olesia Krasilova                          15 Pacific Crest                                  Irvine            CA           92602
Olga Alvarez                              3811 ALABAMA ST                                   SAN DIEGO         CA           92104
Olga Cortez                               1418 Hidden Oaks Circle                           Corinth           TX           76210
Olive Liu                                 2314 Ruby Oaks                                    San Antonio       TX           78232
Olivia An                                 17 Via Tranquila                                  Aliso Viejo       CA           92656
Olivia Athey                              2129 Wildwood Terrace                             Yazoo City        MS           39194
Olivia Hughes                             8830 Snowy Owl Loop                               Missouri City     TX           77459
Olivia Sykes                              110 Longhorn Drive                                Brandon           MS           39042
Omar Aboudaher                            3030 Blue Bonnet Blvd.                            Houston           TX           77025
Onetee West                               3049 Winding Grove Drive                          Lithonia          GA           30038
Oralia Ibarra                             Mercurio 59                                       Matamoros         TX           87410
Oralia Lopez                              8607 SIERRA SPGS                                  CONVERSE          TX           78109
Oralia Ybarra
Orlando Beckum                            12307 Courtney Greens Rd                          Houston           TX           77089
Orlesia Tucker                            3231 N Loop 1604 W #3201                          San Antonio       TX           78257-4416
Oscar Boyle                               1544 nw 40th st.                                  Oklahoma City     OK           73118
Oscar Cole                                2828 Old Spanish Trail               #153         Houston           TX           77054
Oscar Flores                              707 Jefferson St.                                 Chula Vista       CA           91910
Oscar Paz                                 3136 Talisman Dr                                  dallas            TX           75229
Otha Jones                                6924 Harbor Avenue                                Long Beach        TX           77040
Paddington British Preschool And K, The
Woodlands                                 2010 SAWDUST RD                                   SPRING            TX           77380
Page Hill                                 405 Trinity Lane                                  Canton            GA           30115
Page Karsteter                            2345 Sage Road                       Apt 266      Houston           TX           77056
Page Posard                               365 SANTA YNEZ WAY                                SACRAMENTO        CA           95816
Paige Akers                               5214 wildings blvd                                college grove     TN           37046
Paige Harmon                              1201 E. Iberian Ct.                               Granbury          TX           76048
Paige Harp                                20 Briarfield Cv                                  Oakland           TN           38060
Paige Hickernell                          513 Brentwood Point                               Brentwood         TN           37027
Paige Lane                                2323 UNDERWOOD ST                                 HOUSTON           TX           77030
Paige Webb                                9620 PORTOFINO DR                                 BRENTWOOD         TN           37027
Pam Kendrick                              353 MEADOWBROOK DR                                SAN ANTONIO       TX           78232
Pam Mcvaugh                               3035 ROSEMARY PARK LN                             HOUSTON           TX           77082
Pam Patteson                              7744 Stout Road                                   Germantown        TN           38138
Pam Peale                                 8556 SAN FERNANDO WAY                             DALLAS            TX           75218
Pam Rutland                               13665 Hwy 110                                     Fitzpatrick       AL           36029
Pam Schmidt                               6248 DEL MONTE DR                                 HOUSTON           TX           77057
Pam Spaulding                             29803 Fairway Vista Dr.                           Fair Oaks         TX           78015
Pamela Averrett                           9907 DOGWOOD CT                                   MONTGOMERY        AL           36117
Pamela Brill                              1329 Kittredge Ct                                 Atlanta           GA           30329
Pamela Burgos                             202 E CASTLE LN                                   SAN ANTONIO       TX           78213
Pamela Craik                              5944 Silver Ridge Lane                            Placerville       CA           95667
PAMELA CRANFORD                           705 DUBUQUE DR                                    MONTGOMERY        AL           36109
Pamela Evans                              885 TATER HOUSE RD                                HOLLOW ROCK       TN           38342
Pamela Jone                               3727 Royal Wood Dr                                Memphis           TN           38128
Pamela Jones                              2508 Lazy Lane                                    La Marque         TX           77568
Pamela Matthews                           1328 Goodmorning Drive                            Nashville         TN           37207
Pamela Medina                             1234 ge                                           San Diego         CA           92111
Pamela Roberts                            3844 MORNINGVIEW DR                               DALLAS            TX           75241
Pamela Smith                              2711 April Cove Court                             Manvel            TX           77578
Pamela Stuart                             7107 LAKEWOOD BLVD                                DALLAS            TX           75214
PAMELA TRAVELSTEAD                        18199 MIDWAY RD                                   TERRY             MS           39170
pankaj sehgal                             15630 inca way                                    victorville       CA           92395
Pankaj Srivastava                         9277 Exton lane                                   Brentwood         TN           37027
Paola Garcia                              20 Arnold Palmer                                  San Antonio       TX           78257
Paola Marquez Vargas                      14504 Hayward St                                  Whittier          CA           90603
Paola Ortiz                               13326 brentonwood ln                              Houston           TX           77077
Paola Partlow                             440 Warren Hill Dr                                Mount Juliet      TN           37122
Paola Vargas                              8944 Rio Linda Bvld                               Elverta           CA           95626
Paola Villarreal                          4425 E 14TH ST                                    BROWNSVILLE       TX           78521
paramjeet rai                             3484 sawgrass trl W                               eagan             MN           55123
Parish Episcopal School, Farmers Branch   4101 SIGMA RD                                     DALLAS            TX           75244
Parker Cunningham                         3316 Windsor Lake Drive                           Atlanta           GA           30319
Parker School Uniforms                    2271 Honolulu Ave                                 Montrose          CA           91020
Pat Hampton                               10216 MORNING HILL DR                             CORDOVA           TN           38016
Pat SAndel                                3225 Woodland Park Dr                Apt 1481     Houston           TX           77082
Pat Townsend                              20306 Evergreen Springs Ln                        Spring            TX           77379
Patience Bledu                            11750 Mount Vernon Ave               Apt 171      Grand Terrace     CA           92313
Patricia Brenes                           3725 Wallowa Circle -                             Corona -          CA           92881
Patricia Caballero                        214 Sprucewood Lane                               San Antonio       TX           78216
Patricia Dajani                           2304 Elmen St.                                    Houston           TX           77019
Patricia Garza                            16102 Hiddencrest Dt                              Houston           TX           77049
Patricia Hamilton                         134 HWY 6 W                                       BATESVILLE        MS           38606
Patricia Jordan                           2600 oldcourse dr                                 austin            TX           78732
Patricia Juge                             304 W 34th St                                     Houston           TX           77018
Patricia Mayer                            3113 Borgata Way                                  El Dorado Hills   CA           95762
patricia Peddicord                        1201 Munson Avenue                                College Station   TX           77840
Patricia Pellerin                         1315 Great Dover Circle                           Channelview       TX           77530
Patricia Richards                         846 S Pheasant Dr                                 Gilbert           AZ           85296
          In re Parker School Uniforms, LLC
                          Case
          Schedule E/F, #3.9        18-10085-CSS
                              - customer back-orders                    Doc 3   Filed 01/12/18   Page 98 of 134


Name                                    Address 1                               Address 2    City              State     Zip Code
Patricia Ritter                         536 CASCADE ST                                       BELLAIRE          TX        77401
Patricia Telle                          2 GRANBURG CIR                                       SAN ANTONIO       TX        78218
Patricia Tortorice                      665 W. Evangeline                                    Beaumont          TX        77706
Patricia Vazquez                        204 REGAL DR                                         LAREDO            TX        78041
Patrick Clark                           25826 Clear Springs Way                              SPRING            TX        77373
Patrick Reed                            70 S Tranquil Path                                   Spring            TX        77380
Patti Hudgins                           2290 Valley Brook Way NE                             ATLANTA           GA        30319
Patti Siltmann                          322 Lakeview Drive                                   Seguin            TX        78155
Patty Gattuso                           4907 MOCKINGBIRD LN                                  MEMPHIS           TN        38117
PAUL CHARO                              7375 9 th st apt 106                                 buena park        CA        90621
Paul Dugan                              2145 W. Harborlight Ct.                              Wichita           KS        67204
Paul Johnson                            2607 Kool Ave.                                       Dallas            TX        75241
Paul Khuri                              14730 Cindywood Dr                                   Houston           TX        77079
Paul Mackin                             529 Golf Course Dr                                   Niceville         FL        32578
Paul Musico                             803 Tappingo ST                         Apt 206      Naperville        IL        60540
Paula Battaglini                        2621 Swift Creek Drive                               League City       TX        77573
Paula Bush                              2003 SHAPPLEY LN                                     CRYSTAL SPRINGS   MS        39059-8619
Paula Campbell                          5513 Clermont Ct                                     Colleyville       TX        76034
Paula Evans                             3505 Palestine Rd                                    RAYMOND           MS        39154
Paula Rader                             151 N Rock Island 2F                                 Wichita           KS        67202
Paula Reidy                             2118 Clearwater Trl                                  Carrollton        TX        75010
Paula Wright                            4520 Lago Viento                                     Austin            TX        78734
Pauline Nevers                          533 parkcrest Dr                                     Grand Praire      TX        75052
Peblock Anderson                        1121 Angie Ln.                                       Desoto            TX        75115
Pedro Costa                             183 maxmillion ln                                    Buda              TX        78610
Pegasus School Fbo: Gary-Hill           2555 WEBB CHAPEL EXT                    APT 139      DALLAS            TX        75220
Peggy Calhoun                           1208 sawsawi trl                                     Desoto            TX        75115
Peggy Zahedi                            621 Malabar                                          Corona del Mar    CA        92625
Penny Brown                             4158 MEYERWOOD DR                                    HOUSTON           TX        77025
Penny Triplett                          2405 concord creek trail                             Cumming           GA        30041
Perla Agraz                             543 Botan Street                                     Perris            CA        92571
Perla Garcia                            1837 esters rd apt 2127                              Irving            TX        75061
Perla Hernandez                         1913 VILLAGE WAY                                     DALLAS            TX        75216
Pertia Hale                             960 Constitution rd                     7301         Atlanta           GA        30315
Pete Rodriguez                          3919 Warpath                                         San Antonio       TX        78238
Peter Mcdonald                          4416 briarwood ave                                   Odessa            TX        79707
peter oloso                             9335 hodges bend dr                                  Houston           TX        77083
Petra Mata                              415 E Hermitage Ct                                   San Antonio       TX        78223
Petty Ramirez                           3013 Raton Drive                                     Fort Worth        TX        76116
Phillip Canter                          10103 San Pedro Ave.                                 San Antonio       TX        78216
Phillip Scheibmeir                      1509 Lakewood Dr.                                    Sherman           TX        75092
Phoenix Carroll                         570 Henderson Falls rd                               Toccoa            GA        30577
Pholesha Johnson                        1621 MATAGORDA DR                                    DALLAS            TX        75232
Phuong Tran                             1912 W Elm Pl                                        Anaheim           CA        92804
pHYLLIS Janysek                         15 Pallow Deerwood Canyon                            San Antonio       TX        78258
Pilar Stolarczyk                        205 Forest Court                                     Johns Creek       GA        30097
Pinewood Christian Academy, Bellville   7 Buck Cravey Drive                                  Bellville         Georgia   30414
Pinky Concepcion                        2307 Harbor Chase Dr                                 Pearland          TX        77584
Porscha Jackson                         2901 Old Farm Dr                                     Seagoville        TX        75159
Porsche Kirkland                        1000 Lincoln lane                                    dearborn          MI        48126
Prachi Elmore                           5781 Kentucky Downs Dr.                              Macon             GA        31210
Prema Magimairaj                        24730 BROAD BRANCH CT                                SPRING            TX        77373
Preston Smith                           4701 Firebird Ln                                     Sacramento        CA        95841
Pricella Alanis                         10777 Richmond Ave. 314                              Houston           TX        77042
Princess Mcmillan                       2036 Godiva Street                                   Lancaster         TX        75134
Princess Watts                          3874 Riverview Bend                                  Ellenwood         GA        30294
Princy Vadakkan                         3731 Auburn Grove Circle                             Missouri City     TX        77459
Priscila Tipton                         1484 SUNSHINE RD                                     BROWNSVILLE       TX        78521
Priscilla botello                       1200 Steamboat run                                   Bryan             TX        77807
Priscilla Chomko                        137 Angela Rose Ct.                                  Austin            TX        78737
Priscilla Flores                        6106 BEAR BR                                         SAN ANTONIO       TX        78222
Priscilla Goodwin                       19810 Wild Poppy Dirve                               Spring            TX        77040
Priya Nagendran                         7300 Gallagher Drive Apt E233                        Edina             MN        55435
Priya Nath                              16206 Robinwood Lane                                 San Antonio       TX        78248
priyanka Kumari                         10244 Marlaw ct                                      Elk Grove         CA        95757
QI WU                                   2988 E. Coalinga Drive                               Brea              CA        92821
Qishi He                                2810 ashberry ct.                                    fullerton         CA        92806
Quanda Odom                             135 Wichita Drive                                    Jackson           MS        39209
Quang Pxan                              7407 Tambura Trail                                   San Antonio       TX        78266
Quyen Huynh                             17953 Brent Drive                                    Dallas            TX        75287
Quyen Vu                                4213 NW 149TH ST                                     OKLAHOMA CITY     OK        73134
Quynh Nguyen                            4215 ROUNDTREE LN                                    MISSOURI CITY     TX        77459
R. Erika Calihan                        5075 Ravens Bend Ct.                                 Lexington         KY        40515
Raakhi Masani                           4467 Southern Pointe ln                              Yorba Linda       CA        92886
Rabia Rehman                            9788 LIPSEY CV                                       GERMANTOWN        TN        38139
Rachael Gallagher                       614 Kenoak Dr.                                       Placentia         CA        92870
Rachael Guillen                         3111 Royalton Dr                                     San Antonio       TX        78228
Rachael Mimms                           306 Louviers lane                                    Old Hickory       TN        37138
Rachel Bernstein                        4457 Beck Avenue                                     Studio City       CA        91602
Rachel Castle                           3098 ALLEN RD                                        HAZLEHURST        MS        39083
Rachel Chan                             1428 N Krug Cir                                      Wichita           KS        67230
rachel clingerbrewster                  8700 willington circle                               montgomery        AL        36117
Rachel D'annunzio                       12346 Westella Dr.                                   Houston           TX        77077
Rachel Ellis                            105 SKY LAKE DR                                      Pelahatchie       MS        39145
Rachel Garcia                           502 MISSISSIPPI ST                                   HARLINGEN         TX        78550
Rachel Greenberg                        1217 46th Street                                     Sacramento        CA        95819
Rachel Hadcock                          4547 SHADY OAK CT                                    MIDLAND           TX        79707
Rachel McKee                            702 Raceland Rd                                      San Antonio       TX        78245
Rachel Parten                           2526 Glen Haven Blvd                                 Houston           TX        77030
Rachel Primos                           618 WENDOVER DR                                      RIDGELAND         MS        39157
Rachel Richards                         3013 Harvard St N                                    Irving            TX        75062
Rachel Rodriguez                        1509 Hall St                                         Fort              Texas     77040
Rachel Segovia                          9934 Landry Blvd                                     Houston           TX        77070
             In re Parker School Uniforms, LLC
             Schedule E/F,  #3.9 - customer
                          Case              back-orders
                                    18-10085-CSS                    Doc 3   Filed 01/12/18    Page 99 of 134


Name                                 Address 1                              Address 2    City              State   Zip Code
Rachel Sheley                        770 Fairway Dr #1711                                Coppell           TX      75019
RAchel Steely                        3639 Drummond                                       Houston           TX      77025
Rachel Tseng                         2190 W. Snead Avenue.                               La Habra          CA      90631
Rachel Wade                          634 prosperity place                                Brandon           MS      39042
Rachel Whitaker                      3609 Harpeth Springs Drive                          Nashville         TN      37221
Rachel Yarborough                    5718 ETTRICK DR                                     HOUSTON           TX      77035
Rachelle Howard-Leger                4702 N. Jace Matthew Ln.                            Iowa              LA      70647
Rachelle Pishney                     31 WINDGATE                                         MISSION VIEJO     CA      92692
Racine Cobbins                       1985 Madison Ave                       Suite # 7    Memphis           TN      38104
Rad Ravella                          10406 Hatcher Drive                                 Katy              TX      77494
Radha Vinod                          85 Holmes Place                                     Tustin            CA      92782
Raechelle Kay                        13103 LILAC SHADOW CT                               ROSHARON          TX      77583
Raelynn Andrew                       17186 Northcrest Cir.                               New Caney         TX      77357
raj singh
Rajeev Shanbhag                      9902 Fiona Pines Trl                                Katy              TX      77494
Rajesh Kumar                         8623 LOHR VALLEY RD                                 IRVING            TX      75063
RAJIV THAKKER                        2062 FOOTHILL DR                                    FULLERTON         CA      92833
Ramesh Rakam                         1124 HIDDEN RDG                                     IRVING            TX      75038
Ramona Fernandez                     4125 BRIDGERS DR                                    MEMPHIS           TN      38128
Ramona Moreno                        4115 McInnis Road                                   SAN ANTONIO       TX      78222
Ramya Karthik                        7388 Parkridge Blvd                    APT 126      Irving            TX      75063
Ran Guo                              2305 alamo heights dr.                              Diamond Bar       CA      91765
Rana Nolan                           3316 Mason Dr                                       Plano             TX      75025
Ranarda Wright                       312 Duckworth Place                                 Florence          MS      39073
Ranby Bell                           1218 Edgeworth Dr                                   Montgomery        AL      36109
Rand Neeley                          2511 College St                                     Montgomery        AL      36106
Randee Cottam                        1515 W Aloe Vera Dr                                 Phoenix           AZ      85085
Randel Jacobsen                      2560 Pahmeyer Rd                                    New Braunfels     TX      78130
Randi Binkley                        95 Abbey Road                                       Lebanon           TN      37090
Ranee Jones                          46 ARBOR RIDGE CV                                   JACKSON           TN      38305
Raouf Hanna                          1409 Post Oak Blvd                     Unit 1704    Houston           TX      77056
Raouf Yaqubi                         1307 GLENWOOD CANYON LN                             HOUSTON           TX      77077
Raquel Adham                         5405 Aspen St.                                      Houston           TX      77081
Rasha Abdelsalam                     15221 Severyns rd                                   Tustin            CA      92782
Rasha Albasha                        5820 Casson Dr.                                     Yorba Linda       CA      92886
RaSheena Hern                        6968 Clarkridge Dr                     Apt 3203     Dallas            TX      75236
Rashmi Chaturvedi                    40 Deer Track                                       Irvine            CA      92618
Rashonda Donalson                    560 Windsor st                                      Atlanta           GA      30312
Raul Martinez                        349 Turquoise Drive                                 FORT WORTH        TX      76131
Raul Rubio                           6992 hermann rd                                     Houston           TX      77050
Raven Thurman                        PO BOX 872867                                       NEW ORLEANS       LA      70187
Ravia Tej                            67 Fanlight                                         Irvine            CA      92620
Ray Amaechi                          1001 W Pleasant Run                                 Desoto            TX      75115
Ray Perez                            10501 White Bonnet St                               San Antonio       TX      78240
Ray Zhou                             2090 Highpoint Dr                      Appt 209     CORONA            CA      92789
RAYMOND GUIDRY
Rebecca Chanez                       2718 Oak Point Drive                                Garland           Texas   77040
Rebecca Colosky                      4210 Defoors Farm Trl                               Powder Springs    GA      30127
Rebecca Crabtree                     6813 CLEAR SPRINGS CIR                              GARLAND           TX      75044
REBECCA ECKIE                        601 FOREST PAINT DRIVE                              BRANDON           MS      39047
Rebecca Evans-Lee                    323 Hickory Grove Dr                                Thousand Oaks     CA      91320
Rebecca Farris                       2824 Marquita Drive                                 Fort worth        TX      76116
Rebecca Gilbert                      8908 Alder Wood Way                                 Montgomery        AL      36117
Rebecca Gray                         918 Ives Lane SE                                    Atlanta           GA      30316
Rebecca Habenicht                    9630 Wild Horse Run                    Apt A        San Antonio       TX      78251
Rebecca Heery                        1958 Walthall Drive NW                              Atlanta           GA      30318
Rebecca Hernandez                    3526 owl crossing ln                                Humble            TX      77338
Rebecca Johnson                      8079 Harmony Rd                                     Crystal Springs   MS      39059
Rebecca Lcyua                        345 Perch Horizon                                   San Antonio       TX      78253
REBECCA LEE                          11835 PARK SLOPE DR                                 WILLIS            TX      77318
Rebecca Lovell-                      14323 HILL PRINCE ST                                SAN ANTONIO       TX      78248
Rebecca Massey                       4007 Merrick St                                     Houston           TX      77025
rebecca miles                        124 Friendswood Path                                Universal City    TX      78148
Rebecca Miller                       417 Blair Lane                                      Lebanon           TN      37087
Rebecca Morrell                      9602 Kopplin Rd                                     New Braunfels     TX      78132
Rebecca Murphy                       25 Fair View Lane                                   Oakland           TN      38060
Rebecca Perez                        13614 LAUREL TERRACE LN                             SUGAR LAND        TX      77498
Rebecca Phillips                     4918 GLEN HOLLOW ST                                 SUGAR LAND        TX      77479
Rebecca Poe                          2845 NW 115TH PL                                    OKLAHOMA CITY     OK      73120
REBECCA POPE                         PO BOX 1585                                         COLLINS           MS      39428
Rebecca Schempp                      2801 Sepulveda Blvd Unit 110                        Torrance          CA      90505
Rebecca Schmitt                      6011 Pinwood Cir                                    Arlington         TX      77040
Rebecca Stora                        2 David Street                                      Ladera Ranch      CA      92694
Rebecca Thomas                       24532 La Cienega Street                             Laguna Hills      CA      92653
Rebecca Tyler                        6207 Doliver Drive                                  Houston           TX      77057
Rebecca Weeks                        4311 Yorktown Road                                  Vicksburg         MS      39180
Rebecca Wilson                       969 Forest Grove Dr                                 Dallas            TX      75218
Rebekah Hixon                        603 Janson court                                    Ridgeland         MS      39157
Rebekah Silva                        2003 Old Orchard Dr                                 Dallas            TX      75208
Reean Park                           150 Cherrybrook Ln                                  Irvine            CA      92618
Reena Patel                          18543 Yorba Linda Blvd 328                          Yorba Linda       CA      92886
Regan Metteauer                      3537 Flora Vista Loop                               Round Rock        TX      78681
Regelyn Checo                        31964 TEAL CT                                       YUCAIPA           CA      92399
REGINA DUFFEY
Regina Fernandez                     824 Percy Warner Blvd.                              Nashville         TN      37205
Regina Fonts                         10 Glenshire Court                                  Dallas            TX      75225
Regina Hirn                          911 Wicksbury Place                                 Louisville        KY      40207
Regina Huerta                        901 HAVERSTRAW PL                                   MESQUITE          TX      75149
Regina Richard-Foster                1509 Mountain Laurel Ln                             De Soto           TX      75115
Regina South                         PO Box 5522                                         Bryan             TX      77805
reginald larry
Reginald Moore                       409 South Second Street Apt. 201                    Memphis           TN      38103
Regius Guillory                      1145 Brandywine Street                              Beaumont          TX      77706
           In re Parker School Uniforms, LLC
           Schedule E/F,Case      18-10085-CSS
                          #3.9 - customer back-orders         Doc 3   Filed 01/12/18      Page 100 of 134


Name                                Address 1                         Address 2        City               State    Zip Code
Rehnuma Akhter                      810 ARDEN OAKS DR                                  SUGAR LAND         TX       77479
Reina Chaparro                      1250 meadowview                                    Irving             TX       75061
Rejrir Wraich                       4689 Eagle Ridge Ct                                Riverside          CA       92509
Renata Dalton                       23 Little Rise Drive                               Missouri City      TX       77459
rene cunningham                     725 langford lane                                  atlanta            GA       30327
Rene Houghland                      2200 Harding Place, 4                              Nashville          TN       37215
Rene Montesinos                     2716 buford hwy ne                apt hs           Atlanta            GA       30324
Renee Aguiare                       1048 Montrose                                      Gallatin           TN       37066
RENEE BERRY                         122 HAZLEWOOD DR                                   HAZLEHURST         MS       39083
Renee Botti                         1036 RICHELIEU LN                                  HOUSTON            TX       77018
Renee Brock                         5005 Hidalgo St.                  Unit #206        Houston            TX       77056
Renee Grubbs                        89 MONTGOMERY FERRY DR NE                          ATLANTA            GA       30309
Renee Jenkins                       1317 Cambridge Ave                                 Atlanta            GA       30344
Renee Jones                         56 Rampart Dr.                                     Jackson            TN       38305
Reneelyn Dang                       505 Celestial Pt                                   Tustin             CA       92782
Renita Starks                       1328 NE 56th St                                    Oklahoma City      OK       73111
Reshmi Shankar                      4673 CLYDESDALE WAY                                CARROLLTON         TX       75010
Reva Scruggs                        94 COUNTY ROAD 412                                 DAYTON             TX       77535
rhawnie berg                        7624 paseo largo                                   Highland           CA       92346
Rhea de Aenlle                      28612 mill pond                                    mission viejo      CA       92692
Rhett Manley                        2222 Ar Rd                                         Dallas             TX       75209
Rhoda Guajardo                      8738 TIMBER LDG                                    SAN ANTONIO        TX       78250
Rhonda Chapman                      3212 Ivy Lane                                      Hernando           MS       38632
Rhonda Colletta                     2702 Nottoway Lane                                 LAKE CHARLES       LA       70605
Rhonda Garner                       6317 Common Oaks Ct. 104                           Memphis            TN       38120
Rhonda Hopper                       11123 Wonderland Trail                             Dallas             TX       75229
Rhonda Huskey                       1500 Windridge Pointe                              alpharetta         GA       30005
Rhonda Lakeman                      5770 McAdams Drive                                 Douglasville       GA       30135
Rhonda McDuffee                     8766 Marsh Ridge Drive                             Montgomery         AL       36117
RHONDA MONTEZ                       8220 GWINHURST CIRCLE                              SACRAMENTO         CA       95834
Rhonda Mouton                       11607 Greenshire                                   Houston            TX       77048
Rhonda Sewell                       3807 SMITHERS LN                                   MISSOURI CITY      TX       77459
RIANN E FARQUHAR
Rica Martinez                       509 SANTA ANNA ST                                  WESLACO            TX        78596
Ricardo Vaquera                     10232 FLATLAND TRL                                 CONVERSE           TX        78109
Ricchi Chio                         5326 Meritage Ln                                   GRAPEVINE          TX        76051
Rich Vong Chan                      2081 Ariss Way                                     sacramento         CA        95822
Richard Hernandez                   829 Entx Ln                                        San Antonio        TX        78228
Richard Pena                        566 Blaze Drive                                    San Antonio        TX        78218
Richard S Ramirez                   7455 DILLON ST                                     HOUSTON            TX        77061
Richard Tames                       3100 WOLF RUN                                      CIBOLO             TX        78108
Richele Coy                         9008 Beryl Creek Way                               Elk Grove          CA        95758
Rick Speller                        14603 Olympia Parkway                              Selma              TX        78154
Ricky Monds                         1066 Fellsridge ct                                 Stone Mountain     GA        30083
Riel Green                          4305 Savannah Trail                                Atlanta            GA        30349
Rima Randolph                       360 Fanshaw Ave                                    Pomona             CA        91767
rina king                           2300 kathryn ln                                    plano              TX        75023
Rina Mc Luckie                      967 Manteca Dr.                                    Oceanside          CA        92057
rinia shamoon                       659 turtle crest drive                             irvine             CA        92603
Rio Hondo Prep, Arcadia             5150 FARNA AVE                                     ARCADIA            CA        91006
Risha Nayak                         241 RIVER NORTH BLVD                               MACON              GA        31211
rishma mohamed                      259 PINE HOLLOW LN                                 HOUSTON            TX        77056
Rita Bayer                          307 W 9TH STREET                                   MUENSTER           TX        76252
rita dimpi                          11011 willwood dr                                  houston            TX        77072
Rita Morgan                         239 Woodliff Ct                                    Milton             GA        30004
Rita Nijjar                         4738 Somerton Ave.                                 Orange             TX        77040
Ritchey Graham                      65 Brookwood Terrace                               Nashville          TN        37205
Rivers Pace                         712 S COLLEGE ST                                   BRANDON            MS        39042
Rob Pelkey                          33791 Big Sur Street                               Dana Point         CA        92629
Robbi Carmean                       2727 Sea Ledge Drive                               Seabrook           TX        77586-1551
Robbie Kipness                      9043 CLEARHURST DR                                 DALLAS             TX        75238
Robert Bone                         9009 Clarkcrest St                                 Houston            TX        77063
Robert Brockus                      1200 Cc Rd                                         Kingston Springs   Tennessee 77040
Robert Chullino                     2624 Baily Ave                                     San diego          CA        92105
Robert Diaz                         14045 Regina Drive                                 Rancho Cucamonga   CA        91739
Robert Granger                      1507 Lookout Point                                 San Antonio        TX        78260
Robert Holt                         1365 Green Hills ct                                Duncanville        TX        75137
Robert Lorenz                       10373 westchester ave                              San diego          CA        92126
Robert Morse                        9063A DENTVILLE RD                                 UTICA              MS        39175
Robert Portillo                     1211 N LaSalle dr                 # 902            Chicago            IL        60610
Robert Smith                        238 FIVE OAKS DR                                   SAN ANTONIO        TX        78209
ROBERT STRICKLAND                   3101 RIVER RD                                      corpus christi     TX        78408
Roberta Dalton                      631 Woodett Drive                                  Nashville          TN        37211
Roberta MInke                       2814 Countryside Trail                             Keller             TX        76248
Roberta Watkins                     3137 Pebble Beach Cove                             Memphis            TN        38115
Robin Bachman Szewczyk              701 Bering #1602                                   Houston            TX        77057
Robin Campbell                      9604 S Hillcrest Drive                             Oklahoma City      OK        73159-6858
Robin Collins                       5924 Glendower Lane                                Plano              TX        75093
Robin Dieterich                     103 SORREL CT                                      HENDERSONVILLE     TN        37075
Robin Garner                        7501 HIGHWAY 179                                   Covington          TN        38019
Robin Larocco                       5 COVENTRY CLOSE                                   AVONDALE ESTATES   GA        30002
Robin McBride                       200 Mintwood Dr.                                   Vicksburg          MS        39180
Robin Scott                         8960 DONNELL RD                                    MILLINGTON         TN        38053
Robin Taylor                        2340 Wood Bridge Cove                              Memphis            TN        38119
Robyn Potts                         506 Northlake Ave                                  Ridgeland          MS        39157
Robyn Ratcliffe                     P.O. Box 3952                                      Victoria           TX        77903
Rochelle Acevedo                    5619 Charlie Chan                                  San Antonio        TX        78240
Rochelle Schward                    1800 MALLARD LN                                    TAYLOR             TX        76574
Rocia Ramirez                       826 Isetta Ln                     1306             houston            TX        770060
rocio padilla                       9191 el rito drive                                 villa park         CA        92861
rodeolfo parra                      120 n san gabriel                                  san antonio        TX        78237
Rodney Cruz                         4015 Rain Willow Ct                                Houston            TX        77053
Rodney Finney                       4036 Training School Rd                            Macon              GA        31217
  In re Parker School Uniforms, LLC
                       Case 18-10085-CSS              Doc 3   Filed 01/12/18         Page 101 of 134
  Schedule E/F, #3.9 - customer back-orders


Name                         Address 1                        Address 2           City             State   Zip Code
Rodney Nelson                614 Ed Carey Dr                                      Harlingen        TX      78550
Rodney Thomas                6721 Ware Ridge Dr                                   Montgomery       AL      36117
ROGELIO SALAZAR              130 FLECHA LANE                                      LAREDO           TX      78045
Roger Allan                  249 N MCNEIL ST                                      MEMPHIS          TN      38112
Roger Medina                 235 E Mulberry Ave               apt 101             San Antonio      TX      78212
Roland Arechiga              3634 San Luis                                        SAN ANTONIO      TX      78207
Romina Moscoso               923 Peachwood bend                                   Houston          TX      77077
Romulus Hammond              5232 KEATSWOOD CV                                    MEMPHIS          TN      38120
Ron Clark Academy            228 Margaret Street Se                               Atlanta          TX      77040
Ron Clark Academy, Atlanta   228 MARGARET ST SE                                   ATLANTA          GA      30315
Ronald Evans                 2251 Sutton St                                       Atlanta          GA      30317
Ronaldo Lansangan            PO BX 473                                            Orange           CA      92856
Roni Dillard                 1395 Agnes Place                                     Memphis          TN      38104
Ronna Bower                  210 RIVERWOOD                                        BOERNE           TX      78006
Ronnie Ammons                4090 Canada Road                                     Arlington        TN      38002
RORY GOODWIN                 740 SPROTT RD                                        MONTGOMERY       AL      36117
Rosa I. G De Nevarex         590 E MAIN ST                    STE A               EAGLE PASS       TX      78852
Rosa Lofton                  217 INDIAN TRAILS DR                                 WALLISVILLE      TX      77597
Rosa Mehr                    1755 crescent plaza drive.       Apt#3105            HOUSTON          TX      77077
Rosa Perez                   6 RED MOON PL                                        TOMBALL          TX      77375
Rosa Ramirez-Valle           11805 LANSDOWNE RD                                   AUSTIN           TX      78754
Rosa Rojas                   5545 Arundel Drive                                   Atlanta          TX      77040
Rosalina Ratonel             10129 Beck Dr.                                       Santee           CA      92071
Rosalinda Lopez              1615 Marvin Ave.                                     Dallas           TX      75216
Rosanna Murray               11306 Forest Pass Ct.                                Live oak         TX      78233
Rose Delisi                  481 Brighton Pl                                      Memphis          TN      38117
Rose Ganzon                  12815 W US HIGHWAY 82                                MUENSTER         TX      76252
Rose Garcia                  215 Hendelson Lane                                   Hutto            TX      78634
Rose Osby                    1187 Creston Ave                                     Memphis          TN      38127
Rose Raimondo                965 Ridgeroad Drive                                  New Braunfels    TX      78130
Rosemarie Lozada             1995 Bandoller Lane                                  San Diego        CA      92154
Rosemary Escamilla           710 Slate Valley Ln                                  Spring           TX      77373
Rosie Alvarado               311 W BAYLOR                                         SAN ANTONIO      TX      78204
Rosie Davis                  4514 ELLA BLVD                                       HOUSTON          TX      77018
Rosilynn Aldridge            1404 South Redono Dr                                 AUSTIN           TX      78721
Roslyn Collison              5945 long meadow road                                nashville        TN      37205
Rosmariam Nouel              4073 Sweetspire Dr                                   Lexington        KY      40514
Rossana Ammari               6969 Caswell Ln                                      Fontana          CA      92336
Rossela Cota                 PO BOX 5199                                          CALEXICO         CA      92232
Rowena Ignacio               8734 LOHR VALLEY RD                                  IRVING           TX      75063
Roxana Pena                  5237 RUSTON AVE                                      FORT WORTH       TX      76133
Roxann Engle Rossini         1741 Lerner Ln                                       Santa Ana        CA      92705
Roxann Rossini               1741 Lemer Ln.                                       N. Tustin        CA      92705
Roxanne Rodriguez            8143 Powderhorn Run                                  San Antonio      TX      78255
Roxanne Rodriquez            8143 Powderhorn Run                                  San Antonio      TX      78255
Roxanne Weaver               4854 BEDFORD DR                                      MESQUITE         TX      75150
Royceann Smith               1703 moston dr                                       Spring           TX      77386
Ruben Leal                   130 Mcleod                                           Cedar Creek      TX      78612
Rubi Camacho                 5615 Waltrip Street                                  Houston          TX      77087
Rubi Peterson                7630 S SPALDING LAKE DR                              ATLANTA          GA      30350
Ruby Du                      1950 Port Cardiff Pl                                 Newport Beach    CA      92660
Ruby Flores                  704 Boise Way                                        Laredo           TX      78041
Ruhi Soni                    2117 Chilton Road                                    Houston          TX      77019
Ruhy Seilabi                 2350 MORELIA PL                                      FULLERTON        CA      92835
Ruihua Zhuang                901 Whitewater Dr                                    Fullerton        CA      92833
Ruiting Wu                   810 LAKESPUR DR                                      SUGAR LAND       TX      77479
Runsi Sen                    12802 PALEO CT                                       SUGAR LAND       TX      77478-2178
Rush Sonni                   5161 San Felipe                                      HOUSTON          TX      77056
Russel Rivera                8302 KINGSBRIDGE MEADOW DR                           HOUSTON          TX      77083
RUSSELL DONOHUE              23 McFaddan Ln                                       Temple           TX      76502
Ruth Adell                   305 Harbin                                           Waxahachie       TX      75165
Ruth Gaskell                 857 Winchester dr                                    Lewisville       TX      75056
Ruthie Muentes               200 CANYON LN                                        IRVING           TX      75063
Ruvi Gunawardena             1120                             North Main Street   Lakeport         CA      95453
Ryan Basile                  3600 PINE FOREST AVE                                 MONTGOMERY       AL      36116
Ryan Marshall                162 Pine Lake Dr.                                    Atlanta          GA      30327
RYAN PORCELLO                805 PARK DR                                          GOODLETTSVILLE   TN      37072
Ryan Putch                   905 LAWRENCE ST                                      HOUSTON          TX      77008
Ryan Voorhies                454 Twin Pine Ct                                     Coppell          TX      75019
Rycca Dicks                  4033 Graham Oaks Ct                                  Memphis          TN      38122
sabre williams               2201 loring court                                    decatur          GA      30032
Sabrina Daneshvar            5237 ADAMS AVE                                       SAN DIEGO        CA      92115
Sabrina Espinoza             6419 SEWANEE AVE                                     HOUSTON          TX      77005
Sabrina Franklin             458 Arrowhead Point                                  Helotes          TX      78023
Sabrina Jones                8701 SPAULDING ST                                    HOUSTON          TX      77016
Sabrina Patton               660 Bell Road                    Apt 429             Antioch          TN      37013
Sabrina Tillis               7351 MOUNTBATTEN RD                                  HOUSTON          TX      77033
Sabrina Williams             943 Barbara Lynn Dr                                  Collierville     TN      38017
Sadie Vance                  170 South Mctizic Way                                Grand Junction   TN      38039
Sadiyah Butt                 490 Fitzgerald place                                 atlanta          GA      30349
saeeda dhanani               4415 highway 6                                       sugar land       TX      77478
Sahar Abou teem              2901 s Atlantic ave apt no 502                       Daytona Beach    FL      32118
Sahar ABOUTEEN               2652 E Temblor Ranch Dr                              Brea             CA      92821
Saira Habash                 5417 Grassmere Drive                                 Plano            TX      75093
Sal Chavez                   3400 Twilight Drive.                                 Fullerton        CA      92835
Salam Kuaider                1430 Tanglewood Dr                                   Corona           CA      92882
salem alzaabi                8980 alderwood way                                   montgomery       AL      36117
Sally Davis                  24 HAWTHORNE HILL CV                                 FLOWOOD          MS      39232
Sally Galbraith              11661 COLMAR ST                                      DALLAS           TX      75218
Sally Kate Scroggs           1325 Wedgewood St                                    Lake Charles     LA      70605
Sally Venegas                1730 e division                                      arlington        TX      76011
Samanatha Mcroberts          13423 HIGHLAND PARK CT                               HOUSTON          TX      77070
SAMANTHA CLARK               P.O BOX 8305                                         MERIDIAN         MS      39303
  In re Parker School Uniforms, LLC
                       Case 18-10085-CSS
  Schedule E/F, #3.9 - customer  back-orders             Doc 3   Filed 01/12/18       Page 102 of 134


Name                         Address 1                           Address 2        City              State   Zip Code
Samantha Del Fierro          13735 Sungrove VW                                    San Antonio       TX      78245
Samantha Guereca             1927 south llewellyn                                 dallas            TX      75224
Samantha Leger               6022 Majestic Pines Drive                            Kingwood          TX      77345
Samantha Rocha               108 CECELIA ST                                       SAN ANTONIO       TX      78207
Samantha Wiseman             4951 Twin Branches Way                               Dunwoody          GA      30338
Samina Sewani                1910 Bartrum Trail                                   Sugar Land        TX      77479
Samira Rafiq                 131 South Cerro Vista Way                            Anahiem           CA      92807
Sammy Lee                    12371 Manley St.                                     Garden Grove      CA      92845
Samsun Muhsin                451 South Hawes Road                Unit 16          Mesa              AZ      85208
Samuel Bridges               4911 Golden Pond Dr                                  Kingwood          TX      77345
Sanaa Diab                   505 Legends Ridge Ct                                 Franklin          TN      37069
Sanaa Hashim                 1514w, 21st street                                   Santa ana         CA      92706
sandhya Injeti               2624 Fountain Dr                                     Irving            TX      75063
Sandra Banuelos              629 Caddo St                                         Corpus Christi    TX      78412
Sandra Beno                  3431 CYPRESSWOOD DR                                  SPRING            TX      77388
Sandra Chang                 3625 Placentia Ct                                    Chino             CA      91710
Sandra Collins               1121 Shellnut Trail                                  Hoschton          GA      30548
Sandra Figueredo             1202 Muirfield Pl                                    Houston           TX      77055
Sandra Franklin              1716 Cassia Dr                                       Dallas            TX      75232
Sandra Gailey                13725 Goodman Ln                                     Anacortes         WA      98221
Sandra Ganim                 2142 W MAIN ST                                       HOUSTON           TX      77098
Sandra Garza                 301 South Bales Rd. #3                               Mcallen           TX      78503
Sandra Howell                2930 High Plains Dr.                                 Katy              TX      77449
Sandra Miller                1981 Abergeldie Drive                                Memphis           TN      38119
Sandra Murray                233 Eton CT SE                                       Mableton          GA      30126-
Sandra Niesen                300 Mayfield Station                                 Brentwood         TN      37027
Sandra Ramon                 450 Anton Dr                                         SAN ANTONIO       TX      78223
SANDRA ROMERO                419 SIMS                                             SAN ANTONIO       TX      78225
Sandra Ruvalcaba             6711 E. Pinnacle Pointe                              Orange            TX      77040
Sandra Torres-Martinez       711 penguin dr                                       DALLAS            TX      75241
Sandra Vazquez               13835 cane valley court                              houston           TX      77044
Sandra Witten                25 HIGHLAND PARK VLG                                 DALLAS            TX      75205
Sandrine Cojolum                                                                  Houston           TX      77092
Sandy Bhojani                919 El Paisaje                                       San Antonio       TX      78258
Sandy Chandrahasan           214 Winding Lane                                     Shavano Park      TX      78231
SANDY GANDY                  1038 MAIN ST                                         GEORGETOWN        MS      39078
Sandy Pearson                2210 Upland park drive                               Sugarland         TX      77479
Sandy Ternyik                6108 Turtle Creek Rd                                 Midland           TX      79707
Sang Gyu An                  1515 S. Sunkist St.                                  Anaheim           CA      92806
sangeeta raghu               7407 archard hill ln                                 FRISCO            TX      75035
Sanjay Jagushte              2345 Sage Rd                        APT 309          HOUSTON           TX      77056
Santana Trenell              547 Par Dr. apt 7                                    Marion            AR      72364
Santhosh Skaria              1451 Del Mar Drive                                   Irving            TX      75060
Santiago Arriola             6919 janice st                                       pearland          TX      77581
Sara Benites                 2604 CASCADE COVE DR                                 LITTLE ELM        TX      75068
Sara Clarke                  2627 Marty Way                                       Sacramento        CA      95818
Sara Franks                  675 FREEMAN LN                                       HOLLISTER         MO      65672
Sara Ganz                    30165 N. 73 Dr                                       Peoria            AZ      85383
Sara Khan                    1129 Horsemint Dr                                    Little Elm        TX      75068
Sara Longtain                1058 Chamboard Lane                                  Houston           TX      77018
Sara Mallon                  10210 Pine Forest                                    Houston           Texas   77040
Sara Margrotto               39 Alvardo Ave                                       Rancho Viejo      TX      78575
Sara Murphy                  2512 Hester way                                      Salado            TX      76571
Sara Nunez                   14757 Betty Jean Ave.                                Bell Flower       CA      90706
Sara Osborne                 306 River Dr.                                        Branson           MO      65616
Sara Ragsdale                2310 TWIN LAKES CIR                                  JACKSON           MS      39211
sara simpson                 P.O. Box 1340                       SSBMI            Shingle Springs   CA      95682
Sara White                   4 BELCOURT PL                                        SAN ANTONIO       TX      78257
Sara Wilkinson               99 W CARLOS RD                                       MEMPHIS           TN      38117
Sarah Aly                    PO Box 54886                                         Irvine            CA      92619
Sarah Austin                 11706 Brandon Way                                    Houston           TX      77024
Sarah Bowland                13127 Winding Creek                                  San Antonio       TX      78231
Sarah Calini                 14112 Fontana St                                     Leawood           KS      66224
sarah dipoma                 808 N. Fair Oaks Place                               Andover           KS      67002
Sarah Dvorak                 3162 Bonn Drive                                      Laguna Beach      CA      92651-2009
Sarah Eldridge               4714 DUVAL ST                                        AUSTIN            TX      78751
Sarah Elizabeth Samii        13707 Bloffrock                                      San Antonio       TX      78216
Sarah Galfione               1925 Addison Rd                                      Houston           TX      77030
Sarah Garza                  20606 settlers valley                                San Antonio       TX      78258
Sarah Hart                   3800 Tulane Court                                    Nashville         TN      37215
Sarah Henderson              4509 IRVIN SIMMONS DR                                DALLAS            TX      75229
Sarah Hornig                 4 CALLE SOL                                          SAN CLEMENTE      CA      92672
Sarah Ibrahim                503 Olmstead Park DR                                 Sugar Land        TX      77479
Sarah Lemons                 925 County Road 528                                  Centre            AL      35960
sarah Mansour                6805 N. Capital of TX Hwy           Ste. 240         Austin            TX      78731
Sarah Montez                 445 N San Horacio Ave                                San Antonio       TX      78228
Sarah Murray                 7326 Marquette St                                    Dallas            TX      75225
Sarah Nicolas                6009 Mountainclimb Dr                                Austin            TX      78731
Sarah Park                   49 Grant                                             Irvine            CA      92620
Sarah Parmer                 895 21st ST                                          Beaumont          TX      77706
Sarah Pope                   2210 Dewey Point                                     San Antonio       TX      78251
Sarah Reyes                  3211 Mid Hollow Drive                                San Antonio       TX      78230
Sarah Rigsby                 2012 mcgavock pike                                   Nashville         TN      37216
Sarah Serrano                1904 Hardt St                                        Loma Linda        CA      92354
Sarah Stanley                105 Blakewood Dr                                     Roswell           GA      30075
SARAH STEWART                49 ROUNDTREE CR                                      BRANDON           MS      39042
Sarah Thompson               26422 ENCHANTED WIND                                 SAN ANTONIO       TX      78260
Sarah Wood                   333 Texas Street                    Suite 2230       Shreveport        LA      71101
Sarah Wynne                  225 County Road 470                                  Dayton            TX      77535
Sarah Zavala                 6936 PASADENA AVE                                    DALLAS            TX      75214
Sarita Dillard               2524 Chenevert                                       Houston           TX      77004
Saritha Kudumula             7357 UNBRIDLE WAY                                    CORDOVA           TN      38016
saru Sachdeva                8254 E Kingsdale Lane                                Anaheim Hills     CA      92807
       In re Parker School Uniforms, LLC
                        Case
       Schedule E/F, #3.9        18-10085-CSS
                           - customer back-orders            Doc 3   Filed 01/12/18         Page 103 of 134


Name                             Address 1                           Address 2           City              State   Zip Code
Saundra Collier                  10500 Lake June Rd.                 Bldg O-1            Dallas            TX      75217
Sauti Ledbetter                  1508 Columbia Drive                                     Glenn Heights     TX      75154
Scarlet Perea                    3109 N 33RD ST                                          MCALLEN           TX      78501
SCARLETT LEA                     4055 WOODFEN COURT                                      ELLENWOOD         GA      30294
Scott Casey                      225 River North Ct.                                     Atlanta           GA      30328
Scott Mills                      2713 Masters Ct                                         Westlake          LA      70669
Scott Raybon                     401 N. Jackson St.                                      Crystal Springs   MS      39059
Scott VanOuter                   13602 Brooksong Ct                                      Louisville        KY      40245
scottie johnson                  1313 hwy 8 west                                         cleveland         MS      38732
Sean Franck                      6525-2 Twin Circle Ln                                   Simi valley       CA      93063
Sean Malhotra                    147 Wolf Creek Dr North                                 Macon             GA      31210
Sean Poteet                      10047 WestPark #21                                      Houston           TX      77042
Sebastian herrera                358 Old Cherokee Rd                                     Cleveland         GA      303528
Sebnem GulerDemir                8241 Fast Loftwood Lane                                 Orange            CA      92867
Selena Delgadillo                9912 Business Park Drive #165                           Sacramento        CA      95827
Selene Buerger                   25 palatine                                             irvine            CA      92612
selene Nunez                     400 Andrews Ave                     APT 14-N            Dallas            TX      75211
Selentria Kendrick               564 Rogers Drive                                        Macon             GA      31204
Selin Suzer                      11427 legend manor dr                                   houston           TX      77082
Selma Singleton                  3224 Silent Creek Trl                                   Hurst             TX      76053
Senikka Fasoranti                8420 LITTLE FAWN LN                                     DALLAS            TX      75249
Senja ONeill                     2337 e greenview dr                                     Glendora          CA      91741
Senobin Washington               808 Redbud Dr                                           Desoto            TX      75115
Sergio Hernandez                 8010 Eumphress Rd                   Apt 140             Dallas            TX      75217
Sergio Vega                      10618 MOUNT TIPTON                                      SAN ANTONIO       TX      78213
Servando Benavides               10535 Winwood Drive                                     Laredo            TX      78045
Seung Sorensen                   18602 Rogers Place                                      San Antonio       TX      78258
Seva Papageorge                  5118 Locust St                                          Bellaire          TX      77401
Sezin Kadioglu                   200 NW 151st Place                                      Edmond            OK      73013
Sha Kanjoor Anandan              5321 N MACARTHUR BLVD               APT 1068            IRVING            TX      75038
Shab Higginbotham                3901 big fork trail                                     McKinney          TX      75070
Shaddrin Davis                   707 Winters Street                                      Dallas            TX      75216
SHADY GAD                        100 CHIMNEYTOP DRIVE                APT 219             ANTIOCH           TN      37013
Shae Jones                       1103 Cedar Creek Road                                   Midland           TX      79705
Shalecia Callaway                1413 Osage Trl                                          Mesquite          TX      75149
Shalina Gillani                  56 Cienega                                              Irvine            CA      92618
Shally Pender                    470 Greenfield Rd                                       MEMPHIS           TN      38117
Shalundrea Dartson               1635 Pebble Beach Lane                                  Cedar Hill        TX      75104
shamaila ayub                    3521 brewster dr                                        PLANO             TX      75025
Shami Zvobgo                     1025 independence drive                                 Coppell           TX      75019
Shamila Leathers                 4135 Rosada Ct                                          Yorba Linda       CA      92886
shamomita claybon                3701 vilbig                                             dallas            TX      75212
shan carly                       605 picolo                                              irvine            CA      92620
Shandalynn Hagar                 6407 Stefani Dr                                         Dallas            TX      75224
Shanee Quarterman                4556 Osprey Ln                                          Decatur           GA      30035
Shaniqual Alex                   3531 Alaska Ave.                                        Dallas            TX      75216
Shanna Hubert                    1125 Glencrest Dr                                       Barrington        IL      60010
Shannon Alvarado                 3350 YUKON STRAIGHT                                     SAN ANTONIO       TX      78261
Shannon Aucoin                   563 Dub Lane                                            Lake Charles      LA      70611
Shannon Brehmer                  432 English Oaks Circle                                 Boerne            TX      78006
Shannon Burnett                  1127 WENTWOOD DR                                        DESOTO            TX      75115
Shannon Cahalan                  6439 Westlake Ave.                                      Dallas            TX      75214
Shannon Davies                   3060 CREEK TREE LN                                      CUMMING           GA      30041
Shannon Erickson                 2616 Silver Shadow                                      Conroe            TX      77304
Shannon Glass                    2361 Highlands Creek Rd                                 Carrollton        TX      75007
Shannon Haddaway                 412 Crestwood Dr.                   412 Crestwood Dr.   FORT WORTH        TX      76107
Shannon Hollingsworth            1269 Stubbs Road                                        Terry             MS      39170
Shannon Horne                    823 BIBURY PL                                           BRANDON           MS      39047
Shannon JESIOLOWSKI              1207 north blvd dr                                      Amory             MS      38821
Shannon Jones                    39 Mallard Point Drive                                  Jackson           TN      38305
Shannon Kalke                    26919 Candaba                                           MAGNOLIA          TX      77354
Shannon Manning                  1870 York Avenue                                        Memphis           TN      38104
Shannon Oien                     315 Kelisa Circle                                       Redlands          CA      92373
Shannon Seiler                   1861 N 199th St W                                       Goddard           KS      67052
Shannon Smalls                   10618 CLOVER CYN                                        HELOTES           TX      78023
Shannon Smith                    14020 Freemanville Rd                                   Alpharetta        GA      30004-3573
Shannon Terrill                  1327 Cortlandt st                                       Houston           TX      77008
Shannon Turner                   200 WALHALLA CT                                         ATLANTA           GA      30350
Shannon wiesedeppe               5327 Del Monte                                          houston           TX      77056
shanon togneri                   27717 blue mesa dr                                      corona            CA      92883
Shanquillia Vann                 422 Embrey Drive                                        Dallas            TX      75232
Shantel Jordan                   2102 Blair Trace                                        Fairburn          GA      30213
Shaquita Blount                  3025 reynolds run                                       mcdonough         GA      30252
Shaqwonda D Johnson              762 Ponce De Leon Ave.                                  Macon             GA      31206
Sharada Killebrew                1833 Beacon Rd                                          Memphis           TN      38109
Shari Hicks                      13001 HARKNESS DR                                       DALLAS            TX      75243
Sharla de Frere                  354 Emma Loop                                           Austin            TX      78737
Sharla Hank                      4368 Rueda Dr.                                          San Diego         CA      92124-2231
Sharlene Marsh                   3920 Dayton Street                                      Sacramento        CA      95838
Sharlene Mracek                  38750 Birch Creek Lane                                  Yucaipa           CA      92399
Sharon Beasley                   625 LEXINGTON DR                                        FLORENCE          MS      39073
Sharon Benavides                 1927 Roaring Fork                                       SAN ANTONIO       TX      78260
Sharon Calderon                  5602 Butch Canyon                                       San Antonio       TX      78252
Sharon Carson                    PO BOX 439                                              MOUNTAIN HOME     TX      78058
Sharon Garcia                    1910 HARPERS FERRY ST                                   SAN ANTONIO       TX      78245
Sharon Gavron                    2307 GREENGLADE RD NE                                   ATLANTA           GA      30345
Sharon Greenway                  3978 Stone Hill Drive                                   Bartlett          TN      38135
Sharon Griffin                   706 Poppy Ave                                           Macon             GA      31204
Sharon Henley                    5600 W Lovers Ln                    Suite 116 #376      dallas            TX      75209
Sharon Koehler                   12334 Hart Ranch                                        San Antonio       TX      78249
Sharon Litke                     1045 Peach Ln                                           Desoto            TX      75115
Sharon Mcwhorter                 4481 VILLAGE SPRINGS RUN                                ATLANTA           GA      30338
Sharon Morris                    1101 E Doral Ave                                        Gilbert           AZ      85297
     In re Parker School Uniforms, LLC
                      Case
     Schedule E/F, #3.9         18-10085-CSS
                         - customer back-orders          Doc 3   Filed 01/12/18      Page 104 of 134


Name                           Address 1                         Address 2        City               State   Zip Code
Sharon Ngay                    5220 Nagle Ave                                     Sherman Oaks       CA      91401
Sharon Pearson                 1826 Catalina Ave.                                 Santa Ana          CA      92705
Sharon Putnam                  1038 Swathmore Drive Nw                            Atlanta            GA      30327
Sharon Tolin                   2808 Easton Street                                 Downers Grove      IL      60515
Sharon Wang                    1732 blue wing ct                                  Redlands           CA      92374
sharon Williams                1107 cambian park court                            SUGAR LAND         TX      77479
Shartarah Smith                903 CLOVER HILL LN                                 CEDAR HILL         TX      75104
Shartondra Armour              7296 Amberly way                                   Cordova            TN      38018
Sharzad Marashi                26611 LAUREL CREST DR                              LAGUNA HILLS       CA      92653
Shatimah Adams                 260 Northern Ave apt              Apt. 15c         Avondale Estates   GA      30002
Shatoya Peters                 4811 Duncanville Rd               105              Dallas             TX      75236
Shauna Sadeghy                 13920 Oxford Dr                                    Edmond             OK      73013
Shauntae Dukes                 961 seven oaks blvd               Apt 2207         Smyrna             TN      37167
Shavonn Stearns                912 Rio Vista Dr.                                  Desoto             TX      75115
Shawn Kanehira-Mar             170 Vista Creek Circle                             Sacramento         CA      95835
Shawn Mollica                  3027 Ivory Creek                                   San Antonio        TX      78258
Shawn Sellers                  12 Darlington Cove                                 Jackson            TN      38305
Shawn Webb                     74 Stonewall Bend                                  San Antonio        TX      78256
Shawna Martell                 5016 Spyglass Drive                                Dallas             TX      75287
Shawna Wilson                  6075 BROGAN WAY                                    EL DORADO HILLS    CA      95762
SHAWNTELE DESANTIS             PO BOX 581604                                      ELK GROVE          CA      95758
Shay Moore                     630 echo cove                                      Brandon            MS      39042
Shaza Almasri
Shea Crowder                   510 MacArthur Street                               Greenwood          MS      38930
Sheeba Thomas                  4046 Grennoch Lane                                 Houston            TX      77025
sheen tran                     35 momento                                         irvine             CA      92603
Sheena Pace                    520 WILD ROSE LANE                                 Brandon            MS      39047
Sheila Bhatt                   17706 Norwalk blvd.                                Artesia            CA      90701
Sheila Boyle                   6519 Cotorra Cove Ct.                              Houston            TX      77041
Sheila Cranman                 4682 Stonehenge Drive                              Dunwoody           GA      30360
Sheila Garrow                  9210 Highlands Cove                                Boerne             TX      78006
Sheila Gillen                  11612 Roger Dr                                     Erath              LA      70533
Sheila Lee                     902 Cambridge Dr                                   Duncanville        TX      75137
Sheila Odell                   112 PLATT LN                                       OKLAHOMA CITY      OK      73160
Sheilagh Cooper                6238 Prestoncrest Lane                             Dallas             TX      75230
Shelbie Tubbs                  6575 Century Arbors Pl W          Apt 305          Memphis            TN      38134
Shelia Bogan                   20538 KEEGANS LEDGE LN                             CYPRESS            TX      77433
Shelley Cameron                1415 Mallard Lane                                  Roseville          CA      95661
Shelley Huser                  51 Polo Run Cove                                   Byhalia            MS      38611
shelley kemp                   108 LONESOME TRL                                   HASLET             TX      76052
Shelley Miller                 5210 Pleasant View                Suite 5          MEMPHIS            TN      38134
Shelley Owens                  86 Mossy Cup St                                    Shavano Park       TX      78231
Shelley Payne                  1389 Epping Forest Dr Ne                           Brookhaven         GA      30319
Shelley Savins                 425 anita lane                                     waxahachie         TX      75165
Shelley Schnittker             816 Stowe Lane                                     Little Elm         TX      75068
Shelley Singer                 1935 Main Street SE                                Smyrna             GA      30080
Shelley Williams               18 Holden Court                                    Sacramento         CA      95835
Shellie Eskew                  5 Fairway Dr                                       Lake Charles       LA      70605-5901
Shelly Crawford                1526 Bent Trail Court                              Houston            TX      77479
Shelly Huffstutter             3115 St. John's Dr.                                Dallas             TX      75205
Shelly McClure                 304 N Belmont Ave                                  Wichita            KS      67208
Shelly Mikosh                  15809 Royal Ashdown Drive                          Austin             TX      78717
Shelly Myers                   3844 Wheeling Drive                                Ft. Worth          TX      76244
Shelly Spence                  2309 Garnet Rd                                     Millington         TN      38053
Shelly Zimmer                  13214 HUNTERS LARK ST                              SAN ANTONIO        TX      78230
Shemecca Hughes                2561 Country Meadow                                Memphis            TN      38133
Shemika Pealer                 4110 Ward Lake Trl                                 Ellenwood          GA      30294
shena willis                   8321 Metto rd.                                     jacksonville       FL      32244
Shenee Davis                   16221 PRAIRIE MDW                                  FORNEY             TX      75126
Sheneil Spencer                642 Edgedale Dr                                    Dallas             TX      75232
Sheneka Davis                  5557 DORY DR                                       ANTIOCH            TN      37013
Shenika Wright                 516 Connally St. SE                                Atlanta            GA      30312
Shenikwa Carr                  1305 Echols Dr                                     Frisco             TX      75034
Sheri Duffey                   9205 WATER OAK DR                                  ARLINGTON          TX      76002
Sheri Dunn                     PO Box 414                                         Florence           MS      39073
Sheri Fye                      16019 ponderosa pass                               Helotes            TX      78023
sherrell durbin                17938 tall chestnut st                             cypress            TX      77429
Sherri Hill                    6408 TEAL CT                                       PLANO              TX      75024
SHERRI LAWLER                  273 BIG STATION CAMP BLVD                          GALLATIN           TN      37066
Sherrie Juarez                 2609 NOLAN RD                                      LANCASTER          TX      75146
Sherrie Reed                   2394 Roualt Street                                 Davis              CA      95618
SHERRY ANDERSON                4616 GENERAL LOWREY DRIVE                          NASHVILLE          TN      37215
Sherry Denny                   1807 MEDINAH WAY                                   HENRYVILLE         IN      47126
Sherry Dickens                 2117 FOUNTAINBROOKE TER                            BRENTWOOD          TN      37027
Sherry Hollands                700 Harpeth Parkway West                           Nashville          TN      37221
Sherry Te                      1 Dos Rios                                         Irvine             CA      92602
Sheryl Bendaw                  8212 tender way                                    Corona             CA      92883
Shilea Carlson                 210 Wilsonia Ave                                   Nashville          TN      37205
shingyhun Flowers              4431 I 20 Frontage Rd                              Vicksburg          MS      39183
shireen allag                  360 w chevy chase apt 12                           gledale            CA      91204
SHIRLEY LIN                    17 solstice                                        irvine             CA      92602
Shirley Pe                     20152 Portside Drive                               Walnut             CA      91789
Shirley Wright                 3494 Daggett                                       Memphis            TN      38109
Shivesh Sharma                 28623 Tanner Crossing Ln                           Katy               TX      77494
shola akere                    4332 Milsop drive                                  Carrollton         TX      75010
Sholannda Williams             11 Seraspi Court                                   Sacramento         CA      95834
SHON COLBERT                   6606 BRIMRIDGE LN                                  HOUSTON            TX      77048
Shterna Niasoff                2273 241st Apt#a                                   Lomita             CA      90717
Shuba Balasubramanian          497 CARTER DR                                      COPPELL            TX      75019
shuling yi                     20245 umbria way                                   yorba linda        CA      92886
Shuntay Medaries               3048 Sunnyview Dr                                  Nashville          TN      37218
Shuohang Wang                  1150 AMY DR                                        ALLEN              TX      75013
shweta gupta                   1603 reggio aisle                                  IRVINE             CA      92606
         In re Parker School Uniforms, LLC
                         Case
         Schedule E/F, #3.9       18-10085-CSS
                             - customer back-orders                 Doc 3   Filed 01/12/18       Page 105 of 134


Name                                     Address 1                          Address 2        City                   State   Zip Code
Sibyl de St Aubin                        3086 Rhodenhaven Drive                              Atlanta                GA      30327
Sigfried Mendoza                         10007 Cypress Path Dr.                              MISSOURI CITY          TX      77459
Silva Sosa                               2707 Queen Elaine Dr                                Lewisville             TX      75056
SILVIA ARIVIZO                           1650 TURNBULL CANYON RD                             HACIENDA HEIGHTS       CA      91745
Silvia Arzate                            12828 Buenos Aires Pkwy                             Del Valle              TX      78617
Silvia Garrieo
Silvia Gonzalez                          1900 Ganter Dr                                      La Habra Heights       CA      90631
Silvia Riguero                           Po box 9838                                         Rancho santa fe        CA      92067
Silvia Viera                             5016 Cummings dr                                    North Richland Hills   TX      76180
Silviana Feria                           2990 BISSONNET ST                  APT 11103        HOUSTON                TX      77005
simi luthra                              1 laketrail cove                                    buena park             CA      90621
Simin Akbar                              21610 dunrobin way                                  yorba linda            CA      92887
Simon Ogom                               28672 Canyon Oak Drive                              Highland               CA      92346
Sina Gallegos                            1543 W. Laurel                                      San Antonio            TX      78201
siobhan kennedy                          1734 hillmont dr                                    nashville              TN      37215
Smita Patel                              1464 Hollow Ridge Dr                                Carrollton             TX      75007
sofette walker                           1708 Arlington Park                                 Macon                  GA      31204
Sofia Riches                             12119 Arcadia Bend Lane                             Houston                TX      77041
Sofie Smith                              6419 ENCANTO POINT DR                               SAN ANTONIO            TX      78244
Soh Yeun Kim                             11770 Randolph Ct                                   Loma Linda             CA      92354
Soledad Ordaz                            6270 CAROLOT LN                                     MEMPHIS                TN      38135
sommer weisheit                          350 S Wildwood Dr E-1                               Branson                MO      65616
Sona Gala                                18595 MARTINIQUE DR                                 HOUSTON                CA      92861
Sondra Bruno                             19 WINDWOOD DR                                      JACKSON                TN      38305
Sondra Gronohm                           302 Huntington Place                                Shavano Park           TX      78231
SONIA ALVAREZ                            1348 DUNBARTON RD                                   MONTGOMERY             AL      36117
Sonia Castaneda                          617 Country Lane                   Ste 21J          Weslaco                TX      78599
Sonia Castellanos                        6131 ASHFORD FALLS LN                               SUGAR LAND             TX      77479
Sonia Damiano                            9021 Luken Court                                    Elk Grove              CA      95624
Sonia Davila                             717 PAMELA DR                                       BAYTOWN                TX      77521
SONIA GUIRGIS                            10630 MOUNTAIN VIEW AVE APT E                       REDLANDS               CA      92373
sonia HIGH-SMITH                         3583 Linecrest Tr                                   Ellenwood              GA      30294
Sonia Mahfuoz                            10218 Sienna Hills Drive                            San Diego              CA      92127
Sonia Rivera                             4915 Cedar Briar Dr                                 Dallas                 TX      75236
Sonia Wootton                            391 HENDERSON LN                                    LEAGUE CITY            TX      77573
sonja haymon                             1718 banks street                                   houston                TX      77098
Sonja Stepp                              734 N MCKINLEY AVE                                  CLARKSVILLE            IN      47129
Sonja Tex                                1703 Carraige Creek Dr                              Desoto                 TX      75115
Sonjia Jefferson                         209 Indian Trace Lane                               Waxa                   TX      75165
Sonya Flores                             6805 Sundance Circle                                Joshua                 TX      76058
Sonya Kelly                              1935 SPARROWS RDG                                   KATY                   TX      77450
Sonya Selmon Edmond                      120 DUPUY CIR                                       BYRAM                  MS      39272
sonya smith                              2042 BOULDERVIEW DR SE                              ATLANTA                GA      30316
SONYA WILLISON                           1550 RIMPAU AVE                                     CORONA                 CA      92881
Sophia Borrero                           24807 Creek Loop                   NA               Garden Ridge           TX      78266
sophia garcia                            2912 tampico st                                     San Antonio            TX      78207
Sophia Lee                               13310 Silver Berry Circle                           Cerritos               CA      90703
SOPHIE SKOLNICK
Soriya Estes                             7725 Journeyville Drive                             Austin                 TX      78735
Sree Vattan                              2329 All Saints Lane                                Plano                  TX      75025
Srinivas Boppana                         2409 NEWCASTLE BND                                  IRVING                 TX      75063
Srinivasarao Kotturi                     1220 Hidden Ridge                  apt 2082         Irving                 TX      75038
ST VINCENT DE PAUL SCHOOL                4061 IBIS ST                                        SAN DIEGO              CA      92103
St. Catherine Academy, Anaheim           215 N HARBOR BLVD                                   ANAHEIM                CA      92805
St. Charles Catholic School, San Diego   929 18TH ST                                         SAN DIEGO              CA      92154
St. Mary, League City                    1612 E WALKER ST                                    LEAGUE CITY            TX      77573
St. Michael School Attention Tana Admo   1833 SAGE RD                                        HOUSTON                TX      77056
St. Vincent De Paul, San Diego           4061 IBIS ST                                        SAN DIEGO              CA      92103
stacee chambers                          11514 Boyd Bay                                      San Antonio            TX      78221
Stacey Herring                           131 Hartfield Dr                                    Madison                MS      39110
Stacey Kessler                           644 Wesley DR., NW                                  Atlanta                GA      30305
Stacey Norwood                           4415 Glengary Drive Ne                              Atlanta                GA      30342
Stacey Owens                             4040 VILLANOVA ST                                   HOUSTON                TX      77005
Stacey Quiriconi                         89 TOULOUSE ST                                      MEMPHIS                TN      38103
Stacey Sscoggin                          202 Patton Village Cove                             Pearl                  MS      39208
STACEY VALLEJO                           765 DARDEN PLACE                                    NASHVILLE              TN      37205
Stacey Walker                            5600 Vinings Retreat Pass SW                        Mableton               GA      30126
Stacey Woods                             12300 San Pedro                                     San antonio            TX      78216
Staci Biggar                             701 key street                                      Houston                TX      77009
Stacie Adams                             2320 Dobbins Lane                                   Irving                 TX      75063
Stacie Baker                             4171 CREEK TRAIL DR                                 WHITES CREEK           TN      37189
Stacie Barnett                           6535 Velasco Avenue                                 Dallas                 TX      75214
Stacie Waddell                           4418 Irvin Simmons                                  Dallas                 TX      75229
Stacy Conyers                            3122 H street                                       Sacramento             CA      95816
Stacy DeSoto                             114 Gist St                                         Franklin               TN      37064
Stacy Franklin                           305 EVERGREEN CT                                    FLOWOOD                MS      39232
Stacy Hall                               35 TALFORD CV                                       EADS                   TN      38028
Stacy Knisley                            Po box 5010                        Pub 20           Rancho Santa fe        CA      92067
Stacy L Asato                            9876 CASTELLI WAY                                   ELK GROVE              CA      95757
Stacy Lamoy                              9710 MID CIRCLE DR                                  SAN ANTONIO            TX      78230
Stacy Mccall                             4245 old house dr                                   Conley                 GA      30288
Stacy Mcgee                              764 S Goldfinch Way                                 Anaheim                CA      92807
Stacy Norton                             307 E 4th st                                        Rome                   GA      30161
STACY PETTY                              21410 Avalon Queen DR                               Spring                 TX      77379
Stacy Roberts                            3388 Majestic lane                                  Macon                  GA      31217
Stacy Stevens                            4770 ELMHURST DR                                    BEAUMONT               TX      77706
STANETRA HOWELL                          1375 PANOLA COVE                                    COLLIERVILLE           TN      38017
Stanley Lukowicz                         1919 Rockwood Dr                                    Sacramento             CA      95864
Stanley Woods                            4092 MINDEN RD                                      MEMPHIS                TN      38117
Starr Austin                             2706 Dry Well Cove                                  Cordova                TN      38016
Stavroula Papaionnou                     24135 Orange Orchard Lane                           Katy                   TX      77493
Steele McCown                            3528 Turtle Cove Court SE                           Marietta               GA      30067
Stefani Heileman                         3705 Pine Lake Dr.                                  Pearland               TX      77581
          In re Parker School Uniforms, LLC
          Schedule E/F, #3.9
                         Case - customer back-orders
                                  18-10085-CSS                   Doc 3   Filed 01/12/18       Page 106 of 134


Name                               Address 1                             Address 2        City                    State   Zip Code
Stefanie Ruoss                     2815 Exposition Blvd.                                  Austin                  TX      78703
Stefanie Stark                     34841 IRIS LN                                          YUCAIPA                 CA      92399
Stefanie Whitmer                   14802 Woodmont Park Place                              Louisville              KY      40245
Stefanie Zerbe                     830 N. Adele Street                   Unit A           Orange                  CA      92867
Stella Cardoza                     2811 IROQUOIS ST                                       DALLAS                  TX      75212
Stella Ernandes                    3983 Sage Ridge Dr                                     Yorba Linda             CA      92887
Stella Greer                       1608 Bellechase Dr.                                    Keller                  TX      76262
Step By Step Christian School      1119 S CHERRY ST                                       TOMBALL                 TX      77375
stephain vial                      2640 hosea l wiliams dr                                atlanta                 GA      30317
Stephani Bradford                  4315 Yucca Flats Trail                                 Fort Worth              TX      76108
Stephanie Bonner                   1807 Burland Crescent                                  Brentwood               TX      77040
Stephanie Bouvier                  3930 Morgans Creek                                     San Antonio             TX      78230
Stephanie Bulak                    7350 Crompton Ct                                       Atlanta                 GA      30350
Stephanie Cannon                   3540 Bridgforth Road                                   Olive Branch            MS      38654
Stephanie Coady                    150 Hickory Woods Ln                                   Eads                    TN      38028
Stephanie Conklin                  6654 East Paseo Del Norte                              Anaheim                 CA      92807
Stephanie Corbajal                 7601 Daffan Ln #285                                    Austin                  TX      78724
stephanie dailey                   7610 endecott pl                                       Prospect                KY      40059
Stephanie Daniel                   2484 Carlton Way                                       Macon                   GA      31204
Stephanie De Leon                  1716 E LLANO GRANDE ST                                 WESLACO                 TX      78596
Stephanie Dungey                   143 Bellemeade Trace                                   Clinton                 MS      39056
Stephanie E Wilson                 2204 Webster Street                                    Houston                 TX      77003
Stephanie Eaddy                    3413 Belridge Drive                                    Smyrna                  GA      30080
Stephanie Ellis                    3015 Borgata Way                                       El Dorado Hills         CA      95762
Stephanie Figueroa                 699 E CENTER ST                       APT 187          ANAHEIM                 CA      92805
Stephanie Foster                   1039 Mallalieu Drive SE                                Brookhaven              MS      39601
Stephanie Gatson                   2939 Volturno Dr                                       Grand Prairie           TX      75052
Stephanie Hust                     329 Stonegate Trail                                    Wetumpka                TX      77040
Stephanie Iversen                  16322 Spinnaker Dr                                     Crosby                  TX      77532
Stephanie Keisling                 6728 GREELEY DR                                        NASHVILLE               TN      37205
Stephanie kelly                    160 Helene Drive                                       Arlington               TN      38002
Stephanie Kurth                    3828 Arnold                                            West University Place   TX      77005
stephanie labbitt                  6200 enterprise dr                                     diamond springs         CA      95619
Stephanie Leon                     4307 Anson Jones                                       SAN ANTONIO             TX      78223
Stephanie McManic                  2944 Carnton Dr                                        Germantown              TN      38138-7347
Stephanie Menn                     120 Canyon Circle                                      Boerne                  TX      78015
Stephanie Messinger                4942 Essexshire Avenue                                 Memphis                 TN      38117
Stephanie Moore                    7055 N Main St                                         Milan                   TN      38358
Stephanie Purdon                   7300 Grindstone ct.                                    Arlington               TX      76002
Stephanie Rayburn                  7930 DILLY SHAW TAP RD                                 BRYAN                   TX      77808
Stephanie Reed                     1328 Wakefield Dr                                      Houston                 TX      77018
Stephanie Rodriguez                6900 Whitman Ave                                       Fort Worth              TX      76133
Stephanie Roland                   3142 ALFORD RD                                         CRYSTAL SPRINGS         MS      39059
Stephanie Seltzer                  30640 Leroy Scheel Road                                Bulverde                TX      78163
stephanie sepulveda                8102 Betty Boop St                                     Houston                 TX      77028
Stephanie Shutes                   32 flagstone dr                                        Jackson                 TN      38305
Stephanie Sierra                   434 COUNTRY WOOD DR                                    SAN ANTONIO             TX      78216
Stephanie Silvas                   643 Rutland Street                                     Houston                 TX      77007
Stephanie Steele                   6706 Coral Ln                                          Sachse                  TX      75048
Stephanie sullo                    2826 Sunset Blvd                                       Houston                 TX      77005
Stephanie Taylor                   6542 ELLSWORTH AVE                                     DALLAS                  TX      75214
Stephanie Thompson                 3859                                                   drybranch               GA      31020
stephanie treichel                 456 wilderness way                                     new braunfels           TX      78132
Stephanie Turner                   5573 Millbranch                                        Memphis                 TN      38116
Stephanie Venzor                   1203 Beaconsfield Lane #207                            ARLINGTON               TX      76011
Stephanie Walker                   9539 Sanctuary Place                                   Brentwood               TN      37027
stephanie williams                 PO Box 16521                                           Jackson                 MS      39236
Stephanie Wilson                   3426 DRIFTWOOD PASS DR                                 SAN ANTONIO             TX      78247
stephany m bagnall                 2352 GRUBBS RD                                         SEALY                   TX      77474
Stephany Pappas
Stephen and Latonia Tyler          12027 Indigo Bend                                      San Antonio             TX      78230
Stephen Bailey                     2800 Waymaker Way                     Unit 69          Austin                  TX      78746
stephen jones                      5447 Jamerson Dr                                       ATLANTA                 GA      30349
Stephen Kerr                       12038 Wilderness Trail                                 SAN ANTONIO             TX      78233
Stephen M Findley                  508 EVERGREEN DR                                       HURST                   TX      76054
Stephen Sun                        1159 Cusick Dr.                                        Fullerton               CA      92833
Stephny Pappas                     34 Glowing Star Place                                  The Woodlands           TX      77382
Steve Dugan                        268 S. Forestview St                                   Wichita                 KS      67235
Steve Kinney                       4181 belvedere st                                      Irvine                  CA      92604
Steven Chavez                      2619 Presidio Ln                                       Corona                  CA      92879
Steven Nguyen                      7039 E Reno Ave                                        Oklahoma City           OK      73110
Steven Zhang                       6805 Thorncliff Trail                                  Plano                   TX      75023
Store 16                           4234 s alameda                                         corpus christi          TX      78412
Store 27                           4630 HIGHWAY 6                                         SUGAR LAND              TX      77478
Strive Collegiate Academy          3055 Lebanon Pike #300                                 Nashville               TX      77040
Su Yeon Lee                        217 Moss HIll Rd                                       Irving                  TX      75063
Sue Robinson                       3075 Wills Mill Road                                   Cumming                 GA      30041
Suezan Kovach                      203 PLANTATION RD                                      HOUSTON                 TX      77024
Suketu Patel                       1615 S Wabash Ave                                      Redlands                CA      92373
Sukma Wati                         3800 perrin central blvd              Apt 1131         San antonio             TX      78217
Sukrutha Gujjula                   2315 DUNMORE HL                                        SAN ANTONIO             TX      78230
Sumalee Bhuntavee                  3437 Whippoorwill                                      Irving                  TX      75062
Suman Sharma                       120 ROCK BRIDGE CIR                                    CLINTON                 MS      39056
Summer Hennington                  1018 Windmill Dr.                                      Byram                   MS      39272
Summer Jowers                      3813 Glastonbury Trl                                   Pflugerville            TX      78660
Summer Watson                      1213 INGLEWOOD DR                                      MANSFIELD               TX      76063
Sung Lee                           1482 Benchley                                          Fullerton               CA      92833
Sunny Nastase                      705 Old Park Place                                     Roswell                 GA      30075
Sunshine Whitehead                 2100 WALNUT HILLS LN                                   HAZLEHURST              MS      39083
Supryo Sen                         12802 PALEO CT                                         SUGAR LAND              TX      77478
Susan Absalom                      11850 BEINHORN DR                                      HOUSTON                 TX      77065
Susan Barrett                      3001 Tangley                                           Houston                 TX      77005
Susan Barton                       5207 PILGRIM OAKS LN                                   LEAGUE CITY             TX      77573
                     Case
    In re Parker School        18-10085-CSS
                        Uniforms, LLC                    Doc 3   Filed 01/12/18       Page 107 of 134
    Schedule E/F, #3.9 - customer back-orders


Name                          Address 1                          Address 2        City               State   Zip Code
Susan Bashinski               19511 enchanted oaks dr                             spring             TX      77388
Susan Binkowski               12115 Old Mill Rd                                   Oklahoma City      OK      73131
susan bohrer                  353 West 11th St.                                   Claremont          CA      91711
Susan Briggs                  PO BOX 1583                                         Rocklin            CA      95677
susan brown                   219 n gow                                           Wichita            KS      67203
Susan Cooper                  9451 HOBART ST                                      DALLAS             TX      75218
Susan Del Gaudio              5536 D Street                                       Sacramento         CA      95819
Susan Elliott                 6380 Cotswold Lane                                  Atlanta            GA      30328
Susan Evans                   816 N. Oconeechee Avenue                            Black Mountain     NC      28711
Susan Harper
Susan Hearne                  141 Chambers DR                                     Italy              TX      76651
SUSAN ISAACS                  200 LYNNWOOD BLVD                                   NASHVILLE          TN      37205
Susan Lien                    4610 Pinehurst Drive South                          Austin             TX      78747
Susan Love                    721 Johnson dr                                      Kerrville          TX      78028
Susan Lucas                   200 Riverland Court                                 Sandy Springs      GA      30350
Susan Mcdonald                4944 ridge circle                                   Benbrook           TX      76126
Susan McNeill                 342 E Whitworth St                                  Hazlehurst         MS      39083
Susan Michael                 106 clydelan ct                                     NASHVILLE          TN      37205
Susan Murphy                  3750 WESTERMAN ST                                   HOUSTON            TX      77005
Susan Nardone                 647 CAMINO DE LOS MARES #108-77                     SAN CLEMENTE       CA      92673
Susan Phillips                689 Fairway Drive                                   Covington          TN      38019
Susan Rayburn                 8931 River Knoll Drive                              Cordova            TN      38016
Susan Reinike                 135 GRANDE OAKS DR                                  TERRY              MS      39170
Susan Rhyne                   3026 Hill Hedge Dr.                                 Montgomery         AL      36111
Susan Roth                    4111 TABLEROCK DR                                   AUSTIN             TX      78731
Susan Smith                   4403 East Division St                               MOUNT JULIET       TN      37122
Susan Sprouse                 11128 Shady Hollow Dr.                              Austin             TX      78748
Susan Steckler                1820 BELLEWOOD RD                                   JACKSON            MS      39211
Susan Taylor                  214 Silent Spring                                   Boerne             TX      78006
Susan West                    16001 La Meseta Way                                 Whittier           CA      90603
susan wilkinson               434 alexander                                       Memphis            TN      38111
Susan Zinn                    126 W HOLLYWOOD AVE                                 SAN ANTONIO        TX      78212
Susana Barrios                5331 EL TORRO ST                                    DALLAS             TX      75236
Susana Bello                  190 Marion St.                                      Newbury Park       CA      91320
Susana Hernandez              300 PAREDES LINE RD                                 BROWNSVILLE        TX      78521
Susana Mantanares             2851 Huerta Way                                     Norco              CA      92860
Susanna Dokupil               3617 Albans Rd                                      Houston            TX      77005
susanne Cusick                2613 W Balmoral Ave                                 Chicago            IL      60625
Susanne Williams              3600 STILLMEADOW DR                                 BRYAN              TX      77802
Susie Gloria                  2211 ALABAMA AVE                                    DALLAS             TX      75216
Susie Lear                    16833 Little Leaf Ln                                Edmond             OK      73012
Susie Sutton                  4249 Old Club Rd E                                  Macon              GA      31210
Susy Garza                    1002 RED HEAD                                       SAN ANTONIO        TX      78245
Suzana Tran                   6908 Catamaran Dr                                   Grand Prairie      TX      75054
Suzanne Ainsworth             842 Silvergate Dr                                   Houston            TX      77079
Suzanne Bautch                6004 NORTHERN DANCER DR                             AUSTIN             TX      78746
Suzanne Cortes                301 WILSHIRE PL                                     CORPUS CHRISTI     TX      78411
Suzanne Irish                 934 Forestgrove Drive                               Dallas             TX      75218
Suzanne Jobe                  4 Heatherstone court                                Trophy club        TX      76262
Suzanne Jung                  4314 Omeara                                         Houston            TX      77035
Suzanne Kay                   205 Mecca                                           San Antonio        TX      78232
Suzanne Meyer                 7214 Carriage Mist                                  San Antonio        TX      78249
Suzanne Montgomery            6624 Sondra Drive                                   Dallas             TX      75214
SUZETTE BERNABE               13280 JOLIET DR                                     RANCHO CUCAMONGA   CA      91739
Suzette Thompson              710 Ferndale Court                                  Alpharetta         GA      30004
Suzette Way                   120 CARNARVON DR                                    HOUSTON            TX      77024
Suzy Benjamin                 6314 Bennington springs drive                       Katy               TX      77494
Suzy Holzmann                 204 MECCA DR                                        SAN ANTONIO        TX      78232
SWARANJIT KAUR SAWHNEY        1158 S POINTE PREMIER                               ANAHEIM HILLS      CA      92807
swia abdullah                 p.o box 459                                         claremont          CA      91711
Sydney Kometani               6604 SHADOW VALLEY DR                               AUSTIN             TX      78731
sylvia amavisca               7330 OPPORTUNITY RD                                 San Diego          CA      92111
Sylvia Castro                 712 s. san eduardo                                  san antonio        TX      78237
Sylvia Crawford               4934 Log Cabin Dr.                                  Macon              GA      31204
Sylvia Gonzales               615 Rees St.                                        Kerville           TX      78028
Sylvia Gudino Garza           po box k                                            Calexico           CA      92232
Sylvia Onyesnett              PO Box 70641                                        nashville          TN      37207
sylvia Rodriguez              1614 New Bond                                       San Antonio        TX      78231
Sylvia Yun                    17209 Santa Clara Ct.                               Yorba Linda        CA      92886
Tabetha Bramucci              277 Rivertrace Drive                                Marion             AR      72364
Tabita Catinas                5302 Pasatiempo Dr                                  Yorba Linda        CA      92886
Tabitha Burress               2041 Kingsley                                       Memphis            TN      38127
Tabitha Swezea                6535 Longview Drive                                 Murfreesboro       TN      37129
Tahir Alkhairy                71 Monterrey Pine Rd                                Newport Coast      CA      92657
Tajhal Patel                  2400 W. Mulberry                                    Angleton           TX      77515
TAKEVA RHONE                  7304 HAROLD WALKER DR                               DALLAS             TX      75241
Takisha Reed                  3017 Bluefield Street                               Memphis            TX      77040
Talia Webster                 1477 Kilmuir Way                                    Stone Mountain     GA      30083
TAM THIEN TRINH               1515 S SUNKIST ST                                   Anaheim            CA      92806
Tamar Myazoe                  1125 Rhonda Lee Street                              Copperas Cove      TX      76522
Tamara Barlow                 4230 WILL-O-RUN DRIVE                               jackson            MS      39212
Tamara Kelley                 1407 Oakridge View Drive                            Mableton           GA      30126
Tamara Mand                   4705 Boxwood place                                  Atlanta            GA      30338
Tamara Sutton                 4585 Airways #6                                     Memphis            TN      38116
Tamara Taylor                 7432 Beauregard Cv                                  Memphis            TN      38125
Tamara Veit                   408 SW Gentry Lane                                  Lees Summit        MO      64081
Tamara Walker                 303 cedar creek dr                                  Duncanville        TX      75137
Tameka Grahams                1454 oxbow                                          Cedar Hill         TX      75104
Tamekia Jones                 4722 Medow street                  apt 1801         Dallas             TX      75215
TAMERISA DYER                 3586 HADLEY DR                                      MIRA LOMA          CA      91752
tamesha russell               452Moss Trail Apt D12                               Goodlettsville     TN      37072
Tamika Grimes                 3148 Creston Park Ct.                               Duluth             GA      30096
Tamika Leffall                2164 springdale circle                              atlanta            GA      30315
        In re Parker School Uniforms, LLC
        Schedule E/F, #3.9
                       Case - customer back-orders
                                 18-10085-CSS                Doc 3     Filed 01/12/18       Page 108 of 134


Name                             Address 1                             Address 2        City               State   Zip Code
Tammi Miller                     150 Beracah Walk, SW                                   Atlanta            GA      30331
Tammie Warren                    8000 Alophia Drive                                     Austin             TX      78739
tammy adolphus                   4557 Meadow Cliff Drive                                Memphis            TN      38125
Tammy Broussard                  1131 Ms Daisys Drive                                   Sulphur            LA      70665
Tammy Clowes                     760 Oak Grove Road                                     Covington          TN      38019
Tammy Cullen                     2801 Gareths Sword Drive                               Lewisville         TX      75056
Tammy Honore                     6783 CHURCH ST                                         LITHONIA           GA      30058
Tammy Mcclain                    757 E BROOKHAVEN CIR                                   MEMPHIS            TN      38117
Tammy Orozco
Tammy Penples                    436 Maple Grove Dr                                     Dallas             TX      75236
Tammy Raey                       2212 E. Oshkosh Circle                                 Anaheim            CA      92806
TAMMY SAVELL                     1141 NOBLE DR                                          EDWARDS            MS      39066
Tammy Swift                      4535 Oregon Road                                       Milton             TN      37118
Tammy Tovar                      3015 lee ave                                           Crystal springs    MS      39059
Tammy Wang                       2514 Crocket Ct                                        Sugarland          TX      77478
Tania Cox                        29 Powers Drive                                        El Dorado Hills    CA      95762
Taniusca Lopez                   1008 Sagecrest drive                                   San Jacinto        CA      92583
Tanya Ben                        1612 Nightingale Dr.                                   Lewisville         TX      75077
Tanya Berry                      3006 Twin Creeks Ln                                    Rocklin            CA      95677
Tanya Choina                     111 wedgewood trace                                    Hattiesburg        MS      39402
Tanya Cole                       10535 MAPLERIDGE DR                                    DALLAS             TX      75238
Tanya Graves                     5988 NAPA AVE                                          RANCHO CUCAMONGA   CA      91701
TANYA MARTINEZ
Tanya Nolen                      914 FM 1431                                            MARBLE FALLS       TX      78654
Tanya White                      3712 EVEREST DR                                        MONTGOMERY         AL      36106
tara Bozman                      3536 Centenary Avenue                                  Dallas             TX      75225-5013
Tara Clifford                    5161 SUNNYVALE DR                                      JACKSON            MS      39211
Tara Dew                         2093 ATTALA ROAD 1177                                  KOSCIUSKO          MS      39090
Tara Hayes                       268 Pineland Road                                      Atlanta            GA      30342
Tara Kasmarek                    593 S. Arlington Rd                                    Orange             CA      92869
Tara Morgan                      6530 Barcelona                                         Irving             TX      75039
Tara Newsome                     5300 South Lake Houston Parkway       Apt. 803         Houston            TX      77049
Tara Starks                      2083 LAKE COPIAH RD                                    CRYSTAL SPRINGS    MS      39059
Tarun Chopra                     27740 tamara drive                                     Yorba Linda        CA      92887
taryn tarver                     1053 baltic way                                        lithonia           GA      30058
Tasha Dickson                    125 Sable Pointe Drive                                 Milton             GA      30004
Tashae Watson                    16732 Woodside Drive                                   Justin             TX      76247
Tashemia Brown                   7126 SIERRA WAY                                        DALLAS             TX      75241
Tatah Fongeh                     2954 Secretariat Ct                                    Decatur            GA      30034
tatanisha frazier                4037 brown court                                       Conley             GA      30288
TATIANA MOORE                    509 Mantlebrook Dr                                     Desoto             TX      75115
Tausha Cox                       5621 Lavon Dr.                                         Flower Mound       TX      75028
Tavi Brzozowski                  5715 Sunperch Dr                                       Newalla            OK      74857
Tayde Gladyn                     101 Twilight Way                                       Hutto              TX      78634
Taylor Hollingshead              3120 Allen Barrett rd                                  Murfreesboro       TN      37129
Taylor Jones                     231 N Kentucky Ave                    Suite 217        Lakeland           FL      33801
Teena Stubblefield               5401 Tierwester                       Apt 41           Houston            TX      77004
Tejal Patel                      2009 Cottonwood Valley Circle South                    Irving             TX      75038
Tejura Williams                  10028 Tangiers Rd                                      Houston            TX      77041
Telia Mccrary                    3368 Ridgemont                                         Memphis            TN      38128
Telma Avila                      2606 Skyview Downs Dr.                                 Houston            TX      77047
Tenecia Dean                     551 Church St NW                                       Atlanta            GA      30318
Teneia Fair                      5382 Santa Barbara                                     Memphis            TN      38116
Teneka Summers                   3240 Ridgecrest Street                                 Memphis            TN      38127
Tennessee Ott                    2220 Looscan Lane                                      Houston            TX      77019
Tera Smith                       6640 Highway 49 East                                   Yazoo City         MS      39194
Tereasa Kurek                    2008 Chamberlain Lane                                  Temple             TX      76502
Tereba Perry                     2226 Marvin Drive                                      Lancaster          TX      75211
Tereia Rimmer                    1850 COTILLION DR                     UNIT 1112        ATLANTA            GA      30338
TERESA BERGKAMP                  872 Kinwest Pkwy                      Apt. 139         Irving             TX      75063
teresa campa                     13373 lilyrose st                                      eastvale           CA      92880
Teresa Cooper                    7800 Lowrance Rd                                       Memphis            TN      38125
Teresa Darvish                   2529 TURQUOISE CIR                                     CHINO HILLS        CA      91709
Teresa Garcia                    2404 SILVERBROOK LN                                    ARLINGTON          TX      76006
Teresa Kockinis                  1469 Mayapan Road                                      La Habra Heights   CA      90631
teresa lopez                     1330 wintergreen ct                                    DESOTO             TX      75115
Teresa Martinez                  14902 Chamberlain Ct                                   Austin             TX      78724
teresa nakao                     218 auant Ln.                                          Port Arthur        TX      77642
Teresa Rios                      PO 29882                                               DALLAS             TX      75229
Teresa Sanchez                   3538 Forest Glade                                      San Antonio        TX      78247
Teresa Santarosa                 3848 Esperanza Drive                                   Sacramento         CA      95864
Teresa Treadwell                 2766 Longshadow Cove                                   Cordova            TN      38016
Teresalyn Vasquez                411 MADRONA DR                                         KERRVILLE          TX      78028
Teresita Calderon                6863 n Zachary Court                                   San Bernardino     CA      92407
teresita magallon                5604 ESTATES CT                                        NORCROSS           GA      30093
Terra McDonald                   1030 DEERFIELD LN                                      CRYSTAL SPRINGS    MS      39059
Terrance Boyd                    2910 Santa Valley St.                                  Memphis            TN      38133
Terranza Robinson                1048 Flat Shoal RD                    ApT 401          Atlanta            GA      30349
Terrence Duncan                  5327 meadow canyon                                     SUGAR LAND         TX      77479
Terri Deutsch                    214 Canterbury                                         Laredo             TX      78041
Terri Dunstan                    3085 US HWY 24                                         Beloit             KS      67420
Terri Head                       57 Nottingham Dr                                       Jackson            TN      38305
Terri Hynum                      1047 CAMP WESLEY PINES RD                              HAZLEHURST         MS      39083
Terri Poole                      376 GULDE RD                                           BRANDON            MS      39042
Terri Regier                     500 N. Harbor Dr                                       Atlanta            GA      30328
Terri Still                      9358 Gresham Cove                                      Germantown         TN      38139
Terri White                      25002 FAIRWAY SPGS                                     SAN ANTONIO        TX      78260
Terrie Lipscomb                  Lipscomb                                               Bryan              TX      77808
Terry Brown                      892 DRAKE MANOR CV                                     MEMPHIS            TN      38117
Terry Greer                      3725 Leanna Road                                       murfreesboro       TN      37129
Terry Jones                      1924 SPRING AVE                                        ATLANTA            GA      30344
Terry Keebaugh                   3870 Redcoat Way                                       Alpharetta         GA      30022
Terry Park                       2940 ANACAPA PL                                        FULLERTON          CA      92835
      In re Parker School Uniforms,
                       Case         LLC
                                18-10085-CSS           Doc 3   Filed 01/12/18      Page 109 of 134
      Schedule E/F, #3.9 - customer back-orders


Name                           Address 1                       Address 2        City               State   Zip Code
Terry Payne                    7502 Ruger Rnch                                  San Antonio        TX      78254
Tess Liebler                   21311 Plaza De Cadie                             San Antonio        TX      78257
tessa heigs                    8618 rock bridge circle                          montgomery         AL      36116
Tessie Doucet                  11 Tapestry Forest Pl                            The Woodlands      TX      77381
Tetiana Gegenwarth             19 cHERUB court                                  Brentwood          TN      37027
thao thi nguyen                1515 s. sunkist st                               Anaheim            CA      92806
The Briarwood School           12207 WHITTINGTON DR                             HOUSTON            TX      77077
Theresa Davis                  35 Clearfield St.                                Jackson            TN      38305
Theresa Guidry                 20014 COUNTY ROAD 120                            IOLA               TX      77861
Theresa Houser                 8200 SW 89th ST                                  Oklahoma City      OK      73169
Theresa M Lee                  22379 Kicking Horse Dr                           Diamond Bar        CA      91765
Theresa Muscato                7412 AXMINSTER CT                                DALLAS             TX      75214
Theresa Naramore               1626 Sun Mountain                                San Antonio        TX      78258
Theresa Navarro                7146 Carano Place                                Rancho Cucamonga   CA      91701
THERESA NGUYEN                 1135 DEER VALLEY LANE                            ARLINGTON          TX      76001
Theresa Sellers                6830 Briar Cove dr                               Dallas             TX      75254
Theresa Vela                   12789 Desert Creek Circle                        Victorville        CA      92395
THINHS NGUYEN                  3035 NOTICE                                      GRAND PRAIRIE      TX      75052
Thomas Nolan                   768 Velma street                                 Memphis            TN      38104
Thomas Tucker                  15203 Rompel Trail Drive                         San Antonio        TX      78232
thui pham                      17602 kathywood dr                               tomball            TX      77377
Thuthuy Nguyen                 1209 St Maria ct                                 Arlington          TX      76013
Thuy Nguyen Evans              5 Cedarwood Court                                Lake Forest        CA      92630
Thuy Tran                      4127 HAMBLEDON VILLAGE DR                        HOUSTON            TX      77014
Thy Carlson                    3333 W 4th St                                    Fort Worth         TX      76107
Tia Giacalone                  3771 Dana Place                                  San Diego          TX      77040
Tia Vinet                      402 Summer Trace Ln                              Richmond           TX      77406
Tiana Barnett                  19875 Windwood Circle                            Riverside          CA      92508
Tierni Parker                  6118 marblehead dr                               Dallas             TX      75232
Tierra Blair                   813 Stain Glass Drive                            Desoto             TX      75115
Tierra Dawkins                 7300 Millennium Drive                            Fort Smith         AR      72916
Tiffani Bartush                PO BOX 515                                       MUENSTER           TX      76252
Tiffany Amsler                 127 Stoneridge Lane                              Midwest City       OK      73130
Tiffany Andrews                4305 S Glenn Drive                               Vicksburg          MS      39180
tiffany bright                 1041 champion hilols drive                       kingston springs   TN      37082
Tiffany Cone                   156 Cibolo Ridge Trail                           Boerne             TX      78015
Tiffany Flora                  105 calle cita                                   San clemente       CA      92672
tiffany hardwick               8831 kennet valley                               spring             TX      77379
Tiffany Harris                 12821 Mackenzie Dr                               Tustin             CA      92782
Tiffany Lovelady               506 Parkview Cv                                  Brandon            MS      39047-7927
Tiffany Murphey                7970 XAVIER CT                                   DALLAS             TX      75218
Tiffany Nguyen
TIFFANY OCONNOR                PO BOX 36                                        BYARS              OK      74831
tiffany oesch                  3 Autumn Hills Ln                                Laguna Hills       CA      92653
Tiffany Raynor                 1610 Pine Chase Dr                               Houston            TX      77055
tiffany silva                  7905 shelia lane                                 beaumont           TX      77713
Tiffany Spinos                 15830 Mossy Shores Court                         Houston            TX      77044
Tiffany Worthington            34 Tidewater Rd                                  Hattiesburg        MS      39402
Tiffiny Edwards                12766 Parnell ave                                Baton Rouge        LA      70815
Tim Detmering                  2700 FENWOOD RD                                  HOUSTON            TX      77005
Tim Thompson                   3030 Sycamore View Rd                            Bartlett           TN      38134
Tina Andersen                  7324 MEADOW OAKS DR                              DALLAS             TX      75230
tina bramlett                  27 S EVERGREEN ST                                MEMPHIS            TN      38104
Tina Contero                   12538 Course View Dr                             San Antonio        TX      78221
Tina Dinesh Hirandandani       18560 Martinique Ct                              Villa Park         CA      92861
Tina Elackatt                  3827 INDIAN PT                                   MISSOURI CITY      TX      77459
Tina Lin                       4825                            Green Crest Dr   Yorba Linda        CA      92887
Tina Oates                     215 Jacks Place                                  Brandon            MS      39047
Tina Pham                      2223 harrier st                                  Grand prairie      TX      75052-2272
tina sustaeta                  5901 mountain villa drive                        austin             TX      78731
Tina Thompson                  1336 Adams St                                    Franklin           TN      37064
Ting-Yi Chu                    1515 S. Sunkist St              Suite A          ANAHEIM            CA      92806
Tinu Adesoye                   7938 Stratford Lane                              Atlanta            GA      30350
tirahs kelati                  11712 east crestwood                             wichita            KS      67206
Tisha Koury                    141 Reserve Crossing                             Madison            MS      39110
Titania Mooney                 29 ARGOS                                         LAGUNA NIGUEL      CA      92677
Todd Rogenthien                5811 Mesa Dr                    #1611            Austin             TX      78731
Tolan Radl                     11804 Dunfries Lane                              AUSTIN             TX      78754
tom birney                     11 Enchanted Woods Dr                            Kingwood           TX      77339
Tomas Cisneros                 171 Cliffwood Dr.                                San Antonio        TX      78213
Tomas Sanchez                  6728 Putting Green Dr                            Dallas             TX      75232
Tong Zang                      6010 Laurel Oaks Dr                              Dallas             TX      75248
Toni Chavis                    9545 PALERMO WAY                                 CYPRESS            CA      90630
Toni Marshall                  5714 COASTAL WAY STREET                          HOUSTON            TX      77085
Toni Miller                    20946 WIND FIELD LN                              SPRING             TX      77379
Toniya Stewart                 4323 S EWING AVE                                 DALLAS             TX      75216
Tonja Clemons                  4000 PARKSIDE CENTER BLVD       #2705            FARMERS BRANCH     TX      75244
Tonja Davis                    1729 WHITE CAP CT                                DESOTO             TX      75115
Tonja Hancock                  3701 Whitt Loop                                  Austin             TX      78749
Tony Hang                      6 Rolling Hills                                  Irvine             CA      92602
Tony Molina                    7004 ALEXANDRIA DR                               MURFREESBORO       TN      37129
Tonya Jackson                  4270 Wildridge Dr.                               Duluth             GA      30096
Tonya Malone                   504 Jasper Circle                                Flowood            MS      39232
TONYA McLENDON                 1012 CRYSTAL HILL LN                             CRYSTAL SPRINGS    MS      39059
Tonya Olson                    4885 Powers Ferry Road                           Atlanta            GA      30327
Tori Hutchisons                1400 Montclaire Drive                            Glenn Heights      TX      75154
Tori Leach                     1843 valley blvd                                 Memphis            TN      38106
Tori Mallad                    4959 Nashwood Lane                               dallas             TX      75244
tori thompson                  100 West Great Plains Trail                      Harker Heights     TX      76548
Tori Winkeljohn                1132 St. Charles Place                           Atlanta            GA      30306
Tory Maxfield                  150 FLAGSTONE DR                                 JACKSON            TN      38305
Tracey Davies                  4225 Hidden Canyon Cove                          Austin             TX      78746
Tracey Jackson                 1630 Cimarron Trl                                Midolathian        TX      76065
        In re Parker School Uniforms, LLC
                        Case
        Schedule E/F, #3.9       18-10085-CSS
                            - customer back-orders           Doc 3   Filed 01/12/18       Page 110 of 134


Name                             Address 1                           Address 2        City               State   Zip Code
Tracey Wussow                    7569 Nathaniel Woods Blvd                            Fairview           TN      37062
Tracie Struble Kay               PO Box 593254                                        San Antonio        TX      78259
Tracy Douglas                    1181 Ives Trail NE                                   Brookhaven         GA      30319
Tracy Estes                      421 Cottonwood Dr                                    Nashville          TN      37214
Tracy Frase                      1445 Tuscany Way                                     Germantown         TN      38138
Tracy Gourley                    909 MAIN ST                                          KERRVILLE          TX      78028
Tracy Hale                       3737 Buffalo Speedway                                Houston            TX      77098
TRACY HOLT                       3483 MONO DR                                         RIVERSIDE          CA      92506
Tracy Hutchison                  PO Box 127                                           Alamo              TN      38001
Tracy Kelley                     7442 W Warren St                                     Wichita            KS      67212
Tracy Luu                        132 ANTON DR                                         NASHVILLE          TN      37211
Tracy Manning                    536 Winding View                                     New Braunfels      TX      78132
Tracy McGrane                    6200 Hickory Valley Rd                               Nashville          TN      37205
Tracy Orten                      17520 SPYGLASS CIR                                   DALLAS             TX      75287
Tracy Pahls                      714 oaklawn                                          marion             AR      72364
Tracy Shelton                    1430 E 63RD ST S                                     WICHITA            KS      67216
Tracy Smitherman                 464 Towne Lakeplace                                  Montgomery         AL      36117
Tracy Villarreal                 321 TOWNE VUE DR                                     SAN ANTONIO        TX      78213
TRACY WHITE                      4069 HIGHWAY 472                                     HAZLEHURST         MS      39083
Tranese Benjamin                 3525 S Sam Houston Pkwy E           Apt 712          Houston            TX      77047
Travis Chase                     7985 Windmeadow Street                               Beaumont           TX      77713
Travys Saffle                    PO BOX 656                                           FORSYTH            MO      65653
Trazandra Hines                  6910 s. Cockrell hill Rd.           Apt 1001         Dallas             TX      75236
Trekesha Barber                  2801 Mitchell Drive                                  Decatur            GA      30032
Tremaia Spencer                  12318 Mongolia                                       san antonio        TX      78253
Trey Dunne                       104 Spanish Oak Trail                                Elgin              TX      78621
tricia green                     2323 Sassafras Dr                                    murfreesboro       TN      37128
Tricia Stringfellow              5019 PARK GATE CT                                    HOUSTON            TX      77018
Tricia Swaney                    147 CLARK DR                                         MOUNT JULIET       TN      37122
Tricia White-Rhemtulla           3315 Albans Road                                     Houston            TX      77005
Tricia Zieben                    202 Bryn Mawr Circle                                 HOUSTON            TX      77024
Trina Johnson                    8192 Rockcreek Place                Apt 4            Cordova            TN      38016
Trini Echevarria                 1160 Rosas St Unit 129                               Calexico           CA      92231
Trinity Presbyterian
Triona Wilkerson                 7205 Pineberry Road                                  Dallas             TX      75249
Trish Cawood                     106 Robin Ct                                         Andale             KS      67001
Trish Maynard                    25143 Buttermilk Lane                                San Antonio        TX      78255
Trisha Bolton                    P. O. Box 4201                                       Lake Charles       LA      70606
Trixie Sour                      1614 COTTER CT                                       ROSENBERG          TX      77471
Troy Tucker                      14814 River Vista                                    San Antonio        Texas   77040
Truc Vu                          8032 19th St                                         Westminister       CA      92683
Trudi Presley                    183 Stornaway Dr                                     Jackson            TN      38305
Trudy Campbell                   1420 TRADE WINDS CT                                  NASHVILLE          TN      37214
tu Do                            10623 BELLAIRE BLVD STE C130                         HOUSTON            TX      77072
Twinkle Andress Cavanaugh        9232 Gainswood                                       Montgomery         AL      36117
tya sommers                      7316 aokstone dr                                     dallas             TX      75249
Tyana Moore                      726 Creekstone                                       Cedar Hill         TX      75104
Tyruss Nichols                   3230 UTAH AVE                                        DALLAS             TX      75216
Ulrike Dolim                     6920 London Ave                                      Rancho Cucamonga   CA      91701
Uma Harano                       PO Box 9791                                          Redlands           CA      92375
Ursula Lamb                      1170 Hemlock Drive                                   Desoto             TX      75115
USMC League                      3605 East 6th Street                                 Los Angeles        CA      90023
V. Shonda Maddison               115 W Peachtree Pl Nw Unit 314                       Atlanta            GA      30313
Valarie Carpenter                1440 Stoner Ridge                                    Hermitage          TN      37076
Valerie Daugherty                9329 SADDLE LN                                       HOUSTON            TX      77080
valerie gutierrez                165 w rampart dr 208                                 San Antonio        TX      78216
Valerie Hernandez                PO BOX 802                                           LA COSTE           TX      78039
VALERIE ORDAZ                    1232 DEER RIDGE DR                                   League City        TX      77573
Valerie Ramierez                 1400 Allende Dr.                                     San Antonio        TX      78237
VALERIE RING                     203 GRINDERS PLACE                                   Vicksburg          MS      39180
Valerie Rodriguez                64 N FM 649                                          RIO GRANDE CITY    TX      78582
Valerie Roquemore                2727 N. Harvey Ave.                                  OKLAHOMA CITY      OK      73103
Valerie Turner                   321 Primrose Place                                   San Antonio        TX      78209
Valerie Williams                 141 Wisteria Drive                                   Hiram              GA      30141
Vamshi Gali                      9548 E vally Ranch Pkwy E           Apt 1105         Irving             TX      75063
Van Kip Thluai                   5413 VAN NATTA LN                                    FORT WORTH         TX      76112
Vanesa Abedrop                   1701 HERMANN DR                     UNIT 1302        HOUSTON            TX      77004
Vanessa Fisher                   10114 Descent                                        Boerne             TX      78006
Vanessa Hortelano                8870 Stable Forest Place                             Bristow            VA      20136
Vanessa Jimenez                  1507 mentor ave                                      dallas             TX      75216
Vanessa Lopez                    2636 Liberty CT                                      SAN BERNARDINO     CA      92408
Vanessa Manley                   442 Silverton Drive                                  McDonough          GA      30252
Vanessa Mendiola                 541 Valencia Ln.                                     Brownsville        TX      78521
Vanessa Muecke                   6903 DEATONHILL DR                                   AUSTIN             TX      78745
Vanessa Segovia                  2834 WHISPER FAWN ST                                 SAN ANTONIO        TX      78230
Vanessa Skrabanek                301 Gregg St                                         Houston            TX      77040
Vanessa Thanos                   4525 Cole Ave                       1429             Dallas             TX      75205
Vanessa Tufto                    8400 Long Canyon Dr                                  Austin             TX      78730
Vanessa Weatherspoon             5850 kinder drive                                    jackson            MS      39211
Veena Biyani                     8311 richmond ct                                     Irving             TX      75063
Velma Ramirez                    7205 AUTUMN WLS                                      CONVERSE           TX      78109
Venice Alagenio                  7035 Pickwell Dr. Apt. 11109                         San Antonio        TX      78223
Venu venna                       6714 nicholas trail                                  Sugar Land         TX      77479
Venus Belcher                    2215 Vaquero club Drive                              Westlake           TX      76262
Venzuay Stewart                  6056 Knightsbridge Drive                             Memphis            TN      38115
Vera Yi                          10500 Avery Club Dr Unit 1                           Austin             TX      78717
VERLA GREEN                      2531 RETREAT COURT                                   MURFREESBORO       TN      37129
Verna Browning                   5315 S Sycamore                                      Wichta             KS      67217
Vernoica Garcia                  1315 AARON ST                                        SAN ANTONIO        TX      78221
VERONICA AGUILAR
Veronica Aguilera                12330 Greenmesa Dr.                                  Houston            TX      77044
Veronica Cisneros                2414 COLLEEN DR                                      PEARLAND           TX      77581
veronica dillingham              6431 candleoak                                       san antonio        TX      78244
        In re Parker School Uniforms, LLC
        Schedule E/F, #3.9 - customer back-orders
                                Case 18-10085-CSS                  Doc 3         Filed 01/12/18       Page 111 of 134


Name                                   Address 1                                 Address 2        City                   State   Zip Code
Veronica Dittman                       19 GREAT LAKES DR                                          CORPUS CHRISTI         TX      78413
Veronica Fisher                        353 Blackwell Ferry Road                                   Kirbyville             MO      65679
Veronica Gomez                         4037 Guthrie Dr                                            Plano                  TX      75024
Veronica Lopez                         19111 HARVEST GLN                                          SAN ANTONIO            TX      78258
Veronica Plasencia                     2801 AVENUE E                                              FORT WORTH             TX      76105
Veronica Rabey                         9514 Wind dancer                                           San Antonio            TX      78251
Veronica Trelles                       1102 Timberline Ln                                         North Tustin           CA      92705
Vesna Scarborough                      5031 Jackwood                                              Houston                TX      77096
Vetta Brown                            20303 Stone Oak Parkway                   Apt. 8302        San Antonio            TX      78258
Victor Gomez                           2108 NW Military                                           San Antonio            TX      78213
Victoria Akin                          3005 PALO PINTO DR                                         MELISSA                TX      75454
Victoria Fitzpatrick                   3759 Ingold St.                                            Houston                TX      77005
Victoria Haynes                        660 SPRING MANOR CV N                                      EADS                   TN      38028
Victoria Juarez                        9219 Mission Way                                           San Antonio            TX      78223
Victoria Kwekel                        12621 Ritchie Ave NE                                       Cedar Springs          MI      49319
Victoria Laird                         705 Clubhouse Drive                                        Pearl                  MS      39208
Victoria Prowant                       po box 4207                                                brandon                MS      39047
Victoria Regens                        4701 Nebraska Ave                                          Nashville              TN      37209
VICTORIA UDOH                          2301 Clearspring Drive S                                   Irving                 TX      75063
Victoria Winkeler                      302 Kettleman Ln S                                         Austin                 TX      78717
Victoria Wolfe                         1408 Hampshire Place                                       Nashville              TN      37221
Vida Tarassoly Mehran                  6110 E. West View Dr.                                      Orange                 CA      92869
Vidal Gutierrez                        9025 Newell Street                                         Dallas                 TX      75232
Viengvilay Vorachack                   4636 ESTHER ST                                             SAN DIEGO              CA      92115
Vijay Tirumalasetty                    8478 Rockbridge Cir                                        Montgomery             AL      36116
Vikran Vemireddy                       7924 North McArthur Blvd                  Apt 2084         Irving                 TX      75063
Village Christian School, Sun Valley   8930 VILLAGE AVE                                           SUN VALLEY             CA      91352
Vilma Sucy                             13606 KLUGE CORNER LN                                      CYPRESS                TX      77429
vimy devassy                           3207 lynwood drive                                         atlanta                GA      30319
Vina Burlakoti                         800 E. Washington Street Apt 69                            Colton                 CA      92324
Vina DeGuzman                          10915 Bearsden Drive                                       RICHMOND               TX      77407
Vincent Sarmiento                      1617 E. 4th St                                             Santa Ana              CA      92701
Vincent Truong                         6700 CALAIS CT                                             RIVERSIDE              CA      92506
vincent valdez                         7606 peters st                                             riverside              CA      92504
Vincent Vu                             8233 RUN OF THE KNLS                                       SAN DIEGO              CA      92127
Vinessa Brown                          1647 Dellwood Ave                                          Memphis                TN      38127
Vinnyetta Cooper                       314 Cedar Creek                                            Duncanville            TX      75137
Violeta Mendez                         2016 Crosbyton Lane                                        Grand Prairie          TX      75052
virginia deckbar                       2906 oakland ave                                           nashville              TN      37212
Virginia Jackson                       1853 KIPLING ST                                            HOUSTON                TX      77098
VIRGINIA PHAM                          41 vivido street                                           rancho mission viejo   CA      92694
Virginia Webb                          6900 AVONDALE DR                                           OKLAHOMA CITY          OK      73116
Vivek Bedekar                          17440 N Tatum Blv                         Apt #337         Phoenix                AZ      85032
vivian Insua
Vivian Nguyen                          6 Santa Fe cir                                             Arlington              TX      76016
Vivian Pham                            838 S Ada St                                               Chicago                IL      60607
Vivian Vidales                         318 S. 11th St                                             Donna                  TX      78537
Vivienne Cermeno                       9560 US Highway 281                                        Brownsville            TX      78520
Vivienne Jai                           6774 Barker Station Walk                                   Sugar Hill             GA      30518
VRAI SMITH                             1110 HANSON CT                                             GLEN HEIGHTS           TX      75154
Walaa Tlais                            8669 Holly Way                                             Buena Park             CA      90620
walid baaklini                         3523 bellefontaine st                                      houston                TX      77025
Walter Fletcher                        902 Spring Lakes Haven Dr                                  Spring                 TX      77373
Wanda Gomez                            422 S.San Horacio                                          San Antonio            TX      78237
Wanda Larry                            8105 Chase View Ct                                         Nashville              TN      37221
WANDA NORRIS                           1290 INMAN RD                                              MEMPHIS                TN      38111
Wei Shen                               5321 EVERGREEN ST                                          BELLAIRE               TX      77401
Wei Song                               3913 BUTTERCUP WAY                                         PLANO                  TX      75093
Wei Wang                               86 CUNNINGHAM                                              IRVINE                 CA      92618
Weihua Liu                             2710 Olde Towne Parkway                                    Duluth                 GA      30097
wendalee pacheco                       163 n playmouth way                                        san bernrdno           CA      92408
Wendi Allan                            249 N McNeil                                               Memphis                TN      38112
Wendi Eusebio                          4918 east. brookside avenue                                Orange                 CA      92867
Wendy Cagle                            2342 Massey rd                                             memphis                TN      38119
Wendy Cram                             3205 Mae Ave.                                              Atlanta                GA      30319
Wendy Dopp                             12515 CHATEAU FOREST LN                                    SAN ANTONIO            TX      78230
wendy frank                            780 Barrington Way                                         Roswell                GA      30076
WENDY HAVLOVIC                         112 N. Fawnwood St.                                        Wichita                KS      67235
Wendy Hernandez                        1316 SAN FRANCISCO AVE                                     LAREDO                 TX      78040
Wendy Leca                             8357 Hillsbrook Drive                                      Antelope               CA      95843
Wendy Mack                             2429 Grreen Forest Drive                                   Decatur                GA      30032
Wendy Prue                             3918 N Jasmine                                             Wichita                KS      67226
Wendy Topfer                           3718 Hunterwood Point                                      Austin                 TX      78746
Wendy Warren                           23019 Whisper Cyn                                          San Antonio            TX      78258
Wenesday Ketron                        1717 W Southfield Circle                                   Cordova                TN      38016
wenli yang                             9897 Denali Circle                                         Elk Grove              CA      95757
Wenyi Wang                             404 Otto Ct                                                Bellaire               TX      77401
Wesley Littlejohn                      8390 Blue Ridge                                            Southhaven             MS      38672
Wesley Shaw                            5701 spaulding drive                                       norcross               GA      30092
Wesleyan School Store, Norcross        6311 Roswell RD                                            Atlanta                GA      30328
Whitney Farley                         11111 SCOTSMEADOW DR                                       DALLAS                 TX      75218
Whitney Hauser                         5374 Southwood Drive                                       Memphis                TN      38120
Whitney Lawson                         1601 Elm Street                           33rd floor       Dallas                 TX      75201
Whitney Little                         710 Woodgate Drive                                         Madison                MS      39110
Whitney Neighbors                      3503 Durness Way                                           Houston                TX      77025
Whitney Saenz                          987 Rosemary                                               New Braunfels          TX      78130
Will/nakeshia Huston                   3384 kingsview circle                                      macon                  GA      31211
Willem van der Maal                    1001 E Fern Ave.                          Apt. 203 B       McAllen                TX      78501
William Dunn                           Darlington School 1014 cave spring road                    Rome                   GA      30161
William Mcdonald                       217 Lakemont Dr                                            Hutto                  TX      78634
William Meyer                          1806 KENSINGTON LANE                                       MIDLAND                TX      79705
William Miller                         4736 Oceanridge Dr.                                        Huntington Beach       TX      77040
William Obryant                        17327 Garwood Chase                                        San Antonio            TX      78247
      In re Parker School Uniforms, LLC
                       Case 18-10085-CSS
      Schedule E/F, #3.9 - customer back-orders
                                                        Doc 3   Filed 01/12/18      Page 112 of 134


Name                           Address 1                        Address 2        City              State   Zip Code
William Pahia                  1779 Irongate Way                                 Sacramento        CA      95835
William Parrish                20 FOX GLENN LAIR                                 WETUMPKA          AL      36093
William Reese                  2220 River Cliff Driive                           Roswell           GA      30076
William Stilwell               6931 Mossvine                                     DALLAS            TX      75254
William Watkins                650 CHYLEEN CT                                    LEXINGTON         KY      40505
Wilma Temple                   7597 October Rose Dr                              Memphis           TN      38119
Wilson Johnson                 P.O. Box 640535                                   Pike Road         TX      77040
Winnie Gorman                  4500 Martha cole ln                               Memphis           TN      38118
Winnifred Romero               2536 Delmac dr                                    Dallas            TX      75233
xavier surita                  6353 misty wood way                               citris hights     CA      95621
xiaolei sun                    330 s hidalgo ave                                 alhambra          CA      91801
Xiaoping Wei                   4010 Falkirk Ln                                   Houston           TX      77025
Xiaoqi Guo                     3643 Strath Drive                                 Alpharetta        GA      30005
Ximena Liceaga                 181 S MENDENHALL RD                               MEMPHIS           TN      38117
Xinwei Zhang                   4080 NAPLES CT                                    YORBA LINDA       CA      92886
Xiurong Kao                    5870 STONELEIGH DR                                SUWANEE           GA      30024
Xuemeiai Ai                    20 PARASOL                                        IRVINE            CA      92620
Y Teferi                       3375 Aztec Road                  APT 39           Doraville         GA      30340
Yadee Diaz                     11210 Ranch Road 2222            Apt. 8108        Austin            TX      78730
Yadira de la Riva              867 S Marjan St                                   Anaheim           CA      92806
Yajaira Servellon              204 S. Mission Dr.               A                San Gabriel       CA      91776
Yalan Zheng                    54 Sycamore Bend                                  Irvine            CA      92620
Yameka Harris                  6827 Orangeville                                  Dallas            TX      75237
Yamily Lara                    1005 francis dr                                   pasadena          TX      77506
Yan Liu                        28630 Maple red dr                                Katy              TX      77494
YAN MA                         6622 ORCHID LN                                    DALLAS            TX      75230
Yanera Perdomo                 601 W 10th St                    #I               Dallas            TX      75208
Yanet Marquina                 5256 Mimi CT                                      Dallas            TX      75211
Yanira Maxwell                 403 WESTLAKE BLVD                                 EAGLE PASS        TX      78852
Yanneth Alvarez                4606 Garland ave                                  Dallas            TX      75223
YAO TANG                       201 CAMPUS DRIVE                                  TALLULAH FALLS    GA      30573
Yareni Ocampo                  13412 Arbor View Ln                               Manor             TX      78653
yaschia dillard                360 whispering Ridge Dr                           Oakland           TN      38060
YASHMITA JAIN                  3990 spring valley rd            Apt 1112         Farmers Branch    TX      75244
Yazmina Ramos                  6403 JOHNNY MORRIS RD            TRLR 16          AUSTIN            TX      78724
Yen Hoang                      1515 s sunkist st suite a                         anaheim           CA      92806
Yen Huynh                      10006 DAISYWOOD LN                                HOUSTON           TX      77089
Yeonjoo Ahn                    5505 TPC Parkway                                  San Antonio       TX      78261
Yerania Cisneros               627 Calder                                        duncanville       TX      75116
yetunde kowesomoye             818 valley ridge dr                               rosenberg         TX      77469
Yihan Wang                     1516 Summit Cir                                   Fullerton         CA      92833
Yihan Xie                      1089 W Exchange pkwy #4308                        Allen             TX      75013
Yilei Zhang                    23103 Persimmon Ridge Rd                          Clarksburg        MD      20871
Yolanda Poullard               2195 W VIRGINIA ST                                BEAUMONT          TX      77705
YOLANDA SIDDONS                7330 Opportunity Rd Ste F                         San Diego         CA      92113
Yolanda Smith                  716 Rocky Mountain Ct                             Anitoch           TX      77040
Yolanda Zapata                 3824 Mclean                                       BAYTOWN           TX      77521
Yolanda Zavala                 1501 Bahamas Ct                                   Grand Prairie     TX      75050
Yolandia Bond                  2870 St Elmo                                      Memphis           TN      38127
Yolany Shirazi                 3637 RAWLEY ST                                    Corona            CA      92882
Yolonda Kinzie                 3067 Thomas Road                                  Crystal Springs   MS      39059
YORKE ENGINEERING              31726 RANCHO VIEJO RD            STE 218          SAN JUAN          CA      92675
Youngseok Kim                  1901 Post Oak Blvd.                               Houston           TX      77056
Yu Jin Kim                     25558 orange crest way                            loma linda        CA      92354
Yu-Chien Chou                  7613 Preservation Park Dr                         Montgomery        AL      36117
Yuen Lee                       2208 Kemper Ave.                                  Claremont         CA      91711
Yu-Hsuan Hsieh                 7725 Windchase. Dr.                               Beaumont          TX      77713
Yulia Hussein                  5516 cedar creek way                              Citrus Heights    CA      95610
Yuping Zhang                   201 Campus Drive                                  Tallulah Falls    GA      30573
yvette Alfonzo                 17307 Broad Knoll ln                              Richmond          TX      77407
Yvette Bohnenblust             3766 Tupelo Ln #2901                              San Antonio       TX      78229
Yvette Bueno                   7030 MISTY RIDGE DR                               CONVERSE          TX      78109
Yvette Frey                    332 santaluz Lane                                 Austin            TX      78732
Yvette Reyna                   66 Brees Blvd                    APT 128          SAN ANTONIO       TX      78209
Yvette Voss                    272 SPIRE LN                                      NEW BRAUNFELS     TX      78132
Yvonne Castaneda               117 BROKEN BOUGH LANE                             SHAVANO PARK      TX      78231
Yvonne Guerrero                470A Liberty street              Unit 304         Little ferry      NJ      07643
Yvonne Moreno-Taylor           4987 N SIERRA WAY                                 SAN BERNARDINO    CA      92404
Yvonne Ortegon                 3619 S. Border Ave                                WESLACO           TX      78596
Yvonne Phan                    8635 Kingslynn Court                              Elk Grove         CA      95624
Zamiri Welch                   5769 CHATAM CIR                                   Norcross          GA      30071
ZANASTASIA HACKETT             2808 HIVALE COVE DR                               LITHONIA          GA      30058
Zandra Barraza-Casas           1607 Vinery Lane SE                               Mableton          GA      30126
Zeana Issa                     1349 Winoka Rd                                    Collierville      TN      38017
Zenaida Reyes                  3720 95th Street                                  Lubbock           TX      79423
Zengqun Yang                   1751 cordova st apt 6                             pomona            CA      91767
Zi Wang                        201 Campus Dr                                     Tallulah Falls    GA      30573
Ziba Rector                    8726 Carriage Creek Rd                            Arlington         TN      38002
Zihan Li                       1515 S SUNKIST ST                                 Anaheim           CA      92806
Zikeya Rawlings                1597 David Drive                                  Memphis           TN      38116
ZIYARAER MCcLENDON             1209 MEMORIAL DR                                  ATLANTA           GA      30316
zoe Schommer                   2424 Briarcliff Dr.                               Irving            TX      75062
Zona Jones                     850 Park st                                       Beaumont          TX      77701
Zora Stathatus                 3708 Trailwood                                    RICHARDSON        TX      75082
Zoreta Harris                  3883 Dunaire Dr                                   STONE MOUNTAIN    GA      30083
Zrinka Frankovitch             5075 SAYBROOK PL                                  ERIE              PA      16505
Zuliakha Alharthy              230 S McArthur Blvd              Apt 501          Coppell           TX      75019
Zulma Jones                    713 VALENCIA ST                                   DALLAS            TX      75223
                                 Case 18-10085-CSS                       Doc 3        Filed 01/12/18                  Page 113 of 134

 Debtor       Parker School Uniforms, LLC                                                             Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,000,000.00
          Plexus Fund QP III, LP                                                Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 6/25/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,555.00
          Plexus Fund QP III, LP                                                Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 6/16/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,871.00
          Plexus Fund QP III, LP                                                Contingent
          4242 Six Forks Road                                                   Unliquidated
          Suite 950                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 11/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,000,000.00
          Salem Investment Partners III, LP                                     Contingent
          7900 Triad Center Drive                                               Unliquidated
          Suite 333                                                             Disputed
          Greensboro, NC 27409
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $255,931.00
          Salem Investment Partners III, LP                                     Contingent
          7900 Triad Center Drive                                               Unliquidated
          Suite 333                                                             Disputed
          Greensboro, NC 27409
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 6/16/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,482.00
          Salem Investment Partners III, LP                                     Contingent
          7900 Triad Center Drive                                               Unliquidated
          Suite 333                                                             Disputed
          Greensboro, NC 27409
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 11/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $400,000.00
          Salem Investment Partners III, LP                                     Contingent
          7900 Triad Center Drive                                               Unliquidated
          Suite 333                                                             Disputed
          Greensboro, NC 27409
                                                                             Basis for the claim:    subordinated note
          Date(s) debt was incurred 11/17/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                 Case 18-10085-CSS                       Doc 3        Filed 01/12/18                    Page 114 of 134

 Debtor       Parker School Uniforms, LLC                                                             Case number (if known)
              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $1,789,441.98
           see attached - accounts payable                                      Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $30,898.00
           SIP III Holdings, LP                                                 Contingent
           7900 Triad Center Drive                                              Unliquidated
           Suite 333                                                            Disputed
           Fincastle, VA 24090
                                                                             Basis for the claim:    subordinated note
           Date(s) debt was incurred 6/16/2016
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $813,350.51
           unredeemed gift cards - unknown holders                              Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      446,299.95
 5b. Total claims from Part 2                                                                            5b.   +    $                   18,086,314.25

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      18,532,614.20




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                                              Case 18-10085-CSS                 Doc 3               Filed 01/12/18       Page 115 of 134
       In re Parker School Uniforms, LLC
       Schedule E/F, #3.2 - Accounts Payable


                 Name                                Billing Address 1            Billing Address 2               Billing City    Billing State/Province    Billing Zip         Category            Balance
                 LiveOps                                  PO Box 8298                                              Pasadena               CA               91109-8298     Professional Services   281,705.79
                 SANMAR                                  PO Box 34060                                                Seattle              WA               98124-1060         Merchandise         130,193.97
                  FEDEX                                 PO BOX 660481                                               DALLAS                TX                 75266           Freight/Postage      116,307.04
                InterDirect                        1001 S Dairy Ashford St           Suite 450                      Houston               TX               77077-2333         Subscriptions        52,500.00
     harvest C Houston WNW LLC                          PO Box 207047                                                Dallas               TX               75320-7047              Rent            50,358.18
    STRATEGIC DISTRIBUTION, LP                   6001 SOLUTIONS CENTER                                             CHICAGO                IL               60677-6000         Merchandise          44,242.59
 CLASSROOM SCHOOL UNIFORMS                           6001 Solutions Center                                          Chicago               IL                 60677            Merchandise          41,779.69
      Roth Staffing Companies L.P.                       PO Box 60003                                               Anaheim               CA                 92812        Professional Services    36,894.62
 ELDER MANUFACTURING CO., INC.                            PO Box 273                                                St. Louis             MO                 63166            Merchandise          34,591.55
               PRO STAFF                             8091 Solutions Center          Box 778091                      Chicago               IL                 60677        Professional Services    30,784.72
         WASTE MANAGEMENT                    1850 PARKWAY PLACE, SUITE 600                                        MARIETTA                GA                 30067                Utility          30,241.59
        SCHOOL APPAREL, INC.                            838 Mitten Road                                           Burlingame              CA                 94010            Merchandise          29,154.55
                Doris Dash                         1652 Santa Barbara Ave                                          Glendale               CA                 91208                 Rent            28,486.50
      HERMITAGE EMBROIDERY                      241 JACKSON MEADOW DR.                                           HERMITAGE                TN                 37076             Decorations         27,303.60
      WOLVERINE WORLD WIDE                        25759 NETWORK PLACE                                              CHICAGO                IL               60673-1257         Merchandise          22,811.93
                   AT&T                                  PO BOX 5025                                           CAROL STREAM               IL               60197-5025            Telecom           22,545.04
      St Francis Of Assisi Cordova                2100 N. Germantown Pkwy                                           Cordova               TN                 38016                School          21,399.45
   WINDWARD X ASSOCIATES LLP                    1600 NORTHSIDE DRIVE NW             SUITE 100                      ATLANTA                GA                 30318                 Rent           21,275.33
         Ridgewood Consultants                        315 Ridgewood Ave                                            Charlotte              NC                 28209        Professional Services   20,818.58
       Coleman Lew & Associates                       326 West 10th Street                                         Charlotte              NC                 28202        Professional Services   20,600.00
          COLUMBIAKNIT, INC.                   5200 SOUTHEAST HARNEY DR                                           PORTLAND                OR               97206-0837         Merchandise         17,999.68
         AFT CREATIONS, INC                           12830 BIRCH FALLS                                           HOUSTON                 TX                 77065             Decorations        17,467.48
          MUTUAL OF OMAHA                                 PO Box 2147                                               Omaha                 NE               68103-2147           Insurance         17,381.66
        MILBERG FACTORS, INC                           99 PARK AVENUE                                            NEW YORK                 NY                 10016            Merchandise         17,141.88
  Western International Securities, Inc.                 70 S. Lake Ave               Ste. 700                     Pasadena               CA                 91101        Professional Services   16,006.92
   SALEM INVESTMENT PARTNERS                            P.O. BOX 25684                                         WINSTON SALEM              NC                 27114              Financing         15,592.21
            TRIMFIT GLOBAL                              PO BOX 347341                                              Pittsburg              PA                 15222            Merchandise         15,566.13
             ACCOUNTEMPS                                PO BOX 743295                                           LOS ANGELES               CA               90074-3295     Professional Services    15,465.27
      SFER REAL ESTATE CORP                              P.O. BOX 8348                                            PASADENA                CA               91109-8348                              14,321.64
          Bridgepoint Consulting              8310 N Capital of Texas Highway     Bldg 1, Ste 420                    Austin               TX                 78731        Professional Services    14,137.50
      Argosy Investment Partners V              950 WEST VALLEY RD #2900                                            WAYNE                 PA                 19087              Financing          13,618.03
           CX OPPORTUNITY                          65 Pine Avenue Ste 314                                         Long Beach              CA                 90802        Professional Services    13,500.00
            Explore Consulting                   10900 NE 8th Street Ste 200                                        Bellevue              WA                 98004        Professional Services    13,256.25
              SUSEN SARPA                      141 W AVENIDA SAN ANTONIO                                       SAN CLEMENTE               CA                 92672                Rent             12,975.12
           S. Walter Packaging                           P O Box 71225                                            Philadelphia            PA               19176-6225        Freight/Postage       12,533.00
    ABSOLUTE UNIFORM CO. INC.                1126 S CEDAR RIDGE DRIVE #106                                      DUNCANVILLE               TX                 75137             Decorations         12,503.17
         MCGUIREWOODS LLP                           800 E. CANAL STREET                                          RICHMOND                 VA               23219-3916     Professional Services    11,333.70
         MIMMS ENTERPRISES                             P.O. BOX 162885                                             ATLANTA                GA               30321-9998             Rent             11,032.00
       ROYAL MONOGRAMMING                                831 CARIO ST                                           CHANNELVIEW               TX                 77530             Decorations         10,884.81
MICHAEL KOSMETOS & ASSOCIATES                         333 BABBITT ROAD              SUITE 300                      Cleveland              OH                 44123        Professional Services    10,000.00
           BELL PROPERTIES                         8545 CORDES CIRCLE                                          GERMANTOWN                 TN                 38139                Rent              8,400.00
             ARSA DESIGNS                           11056 HOLE AVENUE                                             RIVERSIDE               CA                 92505             Decorations          8,382.00
        ORACLE AMERICA, INC.               15612 COLLECTIONS CENTER DRIVE                                          CHICAGO                IL                 60693        Professional Services     8,269.06
  LESLIE YOUNG CONSULTING, LLC                       656 RINPOCHE LANE                                             OREGON                 WI                 53575        Professional Services     7,742.00
             PROVISHR LLC                               P.O. BOX 41311                                            HOUSTON                 TX                 77241        Professional Services     7,515.00
Holy Innocents Episcopal School Atlanta          805 Mt Vernon Highway Nw                                            Atlanta              GA                 30327               School             7,400.00
    AUGUSTA SPORTSWEAR, INC.                            P.O. Box 205601                                              Dallas               TX               75320-5601         Merchandise           7,062.08
         EXECUTIVE APPAREL                        ATTN: DAVID DICKSTEIN         2150 KUBACH ROAD                PHILADELPHIA              PA                 19116            Merchandise           6,974.33
        UBEO Business Services                          PO Box 660831                                                Dallas               TX               75266-0831             Rent              6,820.86
  MONARCH RIVER EXCHANGE LLC               4828 ASHFORD DUNWOODY RD, #300                                          ATLANTA                GA                 30338                Rent              6,744.78
      MONOGRAM EMBROIDERY                            10646 GULFDALE #3                                          SAN ANTONIO               TX                 78216             Decorations          6,456.80
       LEONETTI GRAPHICS INC.                      3635 GLENN LAKES LN.              STE 242                    MISSOURI CITY             TX                 77459             Decorations          6,349.50
 PRIME REAL ESTATE US PROP. INC                         P.O. Box 206060                                             DALLAS                TX               75320-6060             Rent              6,343.21
           BW GALLERIA LLC                   8023 VANTAGE DRIVE SUITE 1200                                      SAN ANTONIO               TX                 78230                                  6,230.90
              TRIMFOOT CO                         115 TRIMFOOT TERRACE                                          FARMINGTON                MO                 63640       Merchandise                6,065.68
               Office Depot                                                                                         Houston               TX                                Supplies                6,033.51
STAR2STAR COMMUNICATIONS, LLC                        DEPT CH 16873                                                PALATINE                IL               60055-6873       Telecom                 5,986.69
    N.J. MALIN & ASSOCIATES, LLC                     P.O. BOX 843860                                                DALLAS                TX                 75284            Rent                  5,970.92
 R & R ENVIRONMENTAL SERVICES                         P. O. BOX 1014                                              ROWLETT                 TX                 75030    Repair & Maintenance          5,691.19
           TSF SPORTSWEAR                      1501 W. Copans Road Ste. 103                                     Pompano Beach             FL                 33064       Merchandise                5,657.33
           UNIFORMACY LLC.                        1721 EASTERN BLVD.                                            MONTGOMERY                AL                 36117        Decorations               5,636.95
    LEGACY PAPER & PACKAGING                          PO BOX 62407                                                HOUSTON                 TX                 77205          Supplies                5,624.95
      CHARLES RIVER APPAREL                   1205 Providence Highway (RT 1)                                         Sharon               MA               02067-1671    Merchandise                5,538.32
                                      Case 18-10085-CSS                Doc 3        Filed 01/12/18     Page 116 of 134
        In re Parker School Uniforms, LLC
        Schedule E/F, #3.2 - Accounts Payable



          JAG DESIGNS INC.                         SUITE 302                                       MARIETTA        GA       30066         Decorations         5,352.19
      UNITED PARCEL SERVICE                    P.O. BOX 226717                                      DALLAS         TX    75222-6717     Freight/Postage       5,324.40
        M. J. SOFFE COMPANY                      PO Box 932255                                       Atlanta       GA     31193-225      Merchandise          5,259.00
       MONKEY BAR BUDDIES                10950 SW 5TH ST., STE 290                               BEAVERTON         OR       97005                             4,863.80
      THE LEE THOMPSON CO.                     2313 LANGSTON                                       HOUSTON         TX       77007     Repair & Maintenance    4,714.11
     UNITED CONCORDIA DHMO                     P.O. BOX 827300                                  PHILADELPHIA       PA    19182-7300        Insurance          4,548.60
     HICKORY CREEK RETAIL, LP        3100 MCKINNON STREET, SUITE 40                                 DALLAS         TX       75201                             4,389.33
            AVALARA, INC.                       DEPT. CH 16781                                     PALATINE        IL    60055-6781   Professional Services   4,261.29
               BETIC LLC                   2939 MCMANUS ROAD                                        MACON          GA       31220                             4,200.00
         TPX Communications                      PO Box 509013                                     San Diego       CA    92150-9013           Utility         4,130.03
       BARTLETT SPORTS INC.                2804 BARTLETT RD. #1                                    BARTLETT        TN       38134          Decorations        4,065.60
 TYCO INTERGRATED SECURITY LLC                 P.O. BOX 371967                                    PITTSBURG        PA       15250     Professional Services   4,050.72
       SRPF A/MORELAND, LLC                    P.O. BOX 105894                                     ATLANTA         GA       30348             Rent            3,981.05
          GEORGIA POWER                            96 ANNEX                                        ATLANTA         GA    30396-0001           Utility         3,901.89
BGK-INTEGRATED MANAGEMENT, LLC      1235 NORTH LOOP WEST, STE 1025                                 HOUSTON         TX       77008             Rent            3,899.56
   EXPEDITORS INTERNATIONAL                  P.O. BOX 60038 AMF                                    HOUSTON         TX    77205-0038      Freight/Postage      3,801.93
        DC RE HOLDINGS, LLC                     P.O. BOC 29093                                       AUSTIN        TX       78755             Rent            3,791.00
                 Mule2Go                     1040 West Marietta St                                   Atlanta       GA       30318        Freight/Postage      3,765.00
         RUSSELL ATHLETIC                        PO Box 102614                                       Atlanta       GA       30368         Merchandise         3,762.31
         BRODER BROTHERS                        45555 PORT ST                                     PLYMOUTH         MI       48170         Merchandise         3,659.94
      KEYSTONE UNIFORM CAP                      2251 FRALEY ST                                  PHILADELPHIA       PA       19137          Decorations        3,551.90
            CARDLAB, INC.            16650 WESTGROVE DRIVE STE 500                                 ADDISON         TX       75001            Supplies         3,538.30
       ATLANTA AIR EXPERTS             2475 NORTHWINDS PKWY #200                                ALPHARETTA         GA       30009     Repair & Maintenance    3,475.00
                 STAHLS                        6353 14 MILE RD                                STERLING HEIGHTS     MI       48312          Decorations        3,299.35
 SEALY NORTHWEST HOUSTON L.P.                   P.O. BOX 74136                                   CLEVELAND         OH    44194-4136                           3,272.74
              LOGO ENVY                       355 SOUTH PATTIE                                      WICHITA        KS       67211         Decorations         3,271.40
           MERVYN'S PLAZA              1136 WEST BASELINE ROAD #4                                     MESA         AZ       85210                             3,271.31
              EE DEE TRIM                       4180 Meramec St                                    ST LOUIS        MO       63116         Merchandise         3,157.23
        Fashions Inc of Jackson                    PO Box 604                                       Jackson        MS       39205          Decorations        3,002.88
             TPI Staffing Inc             21840 Northwest Freeway                                   Cypress        TX       77429     Professional Services   2,949.44
                   NES                         P.O. BOX 305099                                    NASHVILLE        TN    37230-5099           Utility         2,901.95
           FEDEX FREIGHT                        P.O. BOX 10306                                     PALATINE        IL    60055-0306      Freight/Postage      2,799.05
   LOMBARD GROUP TEXAS, LLC                      P.O. BOX 7014                                    PROSPECT         CT        6712             Rent            2,750.48
          EBI HOLDNGS, LLC                        P.O. BOX 802                                  SOUTHHAVEN         MS       38671                             2,650.00
   CLEAR CREEK ISD TAX OFFICE                  P.O. BOX 650395                                      DALLAS         TX       75265                             2,568.58
 GENERAL BUILDING MAINTENANCE                   PO BOX 273191                                      HOUSTON         TX       77277     Repair & Maintenance    2,554.70
   Loma Linda Academy Loma Linda            10656 Anderson Street                                 Loma Linda       CA       92354            School           2,500.00
               Cybersource                       PO Box 742842                                    Los Angeles      CA       90074                             2,455.52
                FIBERLOK                            Dept#821                                         Denver        CO    80291-0821       Merchandise         2,450.38
      ADVANCED EMBROIDERY                5815 STEEPLECHASE LANE                                    CUMMING         GA       30040          Decorations        2,416.00
    BANK MILLER COMPANY, INC.               ATTN: LARRY KAPLAN         333 FIFTH AVE                PELHAM         NY       10803         Manufacture         2,415.70
        Presbyterian Day School                  1100 Hwy 8 W                                      Cleveland       MS       38732            School           2,350.00
        Argosy Management LP             950 West Valley Rd Ste 2900                                 Wayne         PA       19087     Professional Services   2,333.06
          WESTAR ENERGY                        P.O. BOX 758500                                      TOPEKA         KS       66675             Utility         2,311.00
                  STANI                       5775 E JURUPA ST                                     ONTARIO         CA       91761         Merchandise         2,236.65
               COMCAST                           PO Box 530098                                       Atlanta       GA    30353-0098         Telecom           2,216.84
            TELE-PAK INC.                         P.O. BOX 430                                      MONSEY         NY       10952                             2,197.15
                Carl Smith                       400 Shun Pike                                    Nicholasville    KY       40356     Repair & Maintenance    2,160.00
     RTA TOWN & COUNTRY LLC                    P.O. BOX 204857                                      DALLAS         TX    75320-4857           Rent            2,129.55
        CAMBRIDGE APPAREL                    1400 ALICEANNA ST          2ND FLOOR                 BALTIMORE        MD       21231        Merchandise          2,054.55
      Hartfield Academy Flowood               1240 Luckney Road                                     Flowood        MS       39232            School           2,000.00
       Geneva School Of Boerne               113 Cascade Caverns                                     Boerne        TX       78015            School           2,000.00
             WINDSTREAM                        P.O. BOX 9001908                                   LOUISVILLE       KY       40290           Telecom           1,976.25
        PLEXUS CAPITAL, LLC                        SUITE 950                                        RALEIGH        NC       27609                             1,936.89
               Robert Half                       PO Box 743295                                    Los Angeles      CA    90074-3295   Professional Services   1,906.82
   CONCUR TECHNOLOGIES, INC.        62157 COLLECTIONS CENTER DRIVE                                 CHICAGO         IL       60693     Professional Services   1,899.62
         TEXAS SPECIALTIES                  915 DRAGON STREET                                       DALLAS         TX       75207          Decorations        1,891.80
              BENEDICTUS                     408 SOUTHLAND DR                                    LEXINGTON         KY       40503             Rent            1,799.54
 PROFESSIONAL CAPITAL SERVICES                     SUITE 1000                                   PHILADELPHIA       PA       19103     Professional Services   1,755.01
 NATIONAL CHARTER SCH. EXHIBITS        1277 UNIVERSITY OF OREGON                                    EUGENE         OR    97403-1277                           1,740.00
 RAYMOND LEASING CORPORATION                       P.O 301590                                       DALLAS         TX    75303-1590          Rent             1,653.00
  WASTE CONNECTIONS OF TEXAS                     DISTRICT 5120         PO BOX 660177                HUMBLE         TX       77347            Utility          1,630.98
               Grover Huff                 102 Chippendale Terrace                                   Orlando       FL       32765            Rent             1,600.00
      Spectrum Enterprise (TWC)                   BOX 223085                                     PITTSBURGH        PA    15251-2085         Telecom           1,552.99
                                              Case 18-10085-CSS                        Doc 3        Filed 01/12/18            Page 117 of 134
       In re Parker School Uniforms, LLC
       Schedule E/F, #3.2 - Accounts Payable


                      SRP                                P.O. BOX 80062                                                   PRESCOTT              AZ   86304-8062         Utility         1,551.53
    Advertising Specialty Institute (ASI)                 PO Box 15017                                                     Wilmington           DE   19886-5017                         1,511.36
                R. J. TORRES                     ZONA FRANCA SANTIAGO           ETAPA 2 CALLE SAN JOSE DELISMA SANTIAGO DE LOS CABALLAERO, DO                       Merchandise         1,473.00
                    SMUD                                 P.O. BOX 15555                                                 SACRAMENTO              CA     95852            Utility         1,456.03
      City of Glendale Water & Power                     P.O. BOX 51462                                                 LOS ANGELES             CA   90051-5762         Utility         1,404.96
                Sajeda El Dani                         1921 S Chateau St.                                                    Wichita            KS     67207        Manufacture         1,310.00
                A-One Staffing                    3639 New Getwell Rd Ste 1                                                 Memphis             TN     38118    Professional Services   1,270.50
          ASIA INSPECTION.COM               99-105 DES VOEUX ROAD CENTRAL                                                HONG KONG                                  Merchandise         1,236.00
     Tallahatchie Valley Electric Power                     PO Box 513                                                      Batesville          MS   38606-0513         Utility         1,227.23
       IMMACULATE CONCEPTION                               1536 Ryan St                                                  Lake Charles           LA   70601-5921                         1,200.00
       G&I VII BROOKHOLLOW LLC                            PO BOX 2243                                                       Hicksville          NY     11802             Rent           1,190.76
               NEW BALANCE                               P.O. Box 415206                                                     Boston             MA   02241-5206     Merchandise         1,186.23
          Kuecker Logistics Group                       801 W Markey Rd                                                      Belton             MO     64012                            1,180.73
     GAR INC. HEATING & COOLING               2460 MIRROR LAKE BOULEVARD                                                  VILLA RICA            GA     30180    Repair & Maintenance    1,175.00
                 FIRE-X. INC.                       2834 SULLIVAN ROAD                                                 COLLEGE PARK             GA     30337    Repair & Maintenance    1,147.84
       Dunlap Sunbrand International                        PO Box 768                                                    Hopkinsville          KY     42241        Manufacture         1,132.67
               H2ECO WATER                                P.O.BOX 7567                                                     HOUSTON              TX     77270           Supplies         1,127.11
                      CIT                          21146 NETWORK PLACE                                                     CHICAGO              IL   60673-1211        Supplies         1,107.99
              ALPHABRODER                                PO BOX 730546                                                      DALLAS              TX     75373        Merchandise         1,104.29
               Casady School                       9500 North Pennsylvania                                               Oklahoma City          OK     73120            School          1,100.00
              FACEFIRST, INC.                     32941 CALLE PERFECTO                                              SAN JUAN CAPISTRANO         CA     92675        Merchandise         1,093.25
   Argosy Investment Parallel Partners V        950 WEST VALLEY RD #2900                                                    WAYNE               PA     19087          Financing         1,089.33
            JOHN'S CLEANERS                          2790 E. LINCOLN AVE                                                   ANAHEIM              CA     92803    Repair & Maintenance    1,050.00
         DHL EXPRESS USA, INC.              16592 COLLECTIONS CENTER DRIVE                                                 CHICAGO              IL     60693       Freight/Postage      1,045.92
Spectrum Business (Charter Communication)                PO BOX 742613                                                    CINCINNATI            OH     45274           Telecom          1,029.22
                 Quick Trans                        1701 S Eisenhower Ave                                                  Mason City           IA     50401        Manufacture         1,010.80
       Presbyterian Christian School                  103 Wsf Tatum Drive                                                 Hattiesburg           MS     39401            School          1,000.00
           Westminster Academy                        2500 Ridgeway Road                                                    Memphis             TN     38119            School          1,000.00
            Our Lady Of Sorrows                          1100 Gumwood                                                        McAllen            TX     78501            School          1,000.00
              Parker 15 - Austin                 7756 Northcross Drive #111                                                  Austin             TX     78757     Parker Retail Store    1,000.00
            SUPERIOR T SHIRT                   2750 NORTHAVER RD STE 101               SCREEN PRINTING                      DALLAS              TX     75229         Decorations         984.75
      SAN DIEGO GAS & ELECTRIC                            PO BOX 25111                                                    SANTA ANA             CA     92799            Utility          958.56
                  NetWolves                              PO Box 826923                                                    Philadelphia          PA   19182-6923        Telecom           936.49
      PROMOTIONAL ASSETS, LLC                               SUITE 130                                                    LEXINGTON              KY     40509         Decorations         934.68
     RIVER CITY MECHANICAL, INC.                         P.O. BOX 21379                                                     WICHITA             KS   67208-2379                          926.32
                   LANDES                                7600 RENWICK                                                      HOUSTON              TX     77081         Decorations         892.39
    THE CORPORATE CONNECTION                    5070 FORSYTH ROAD STE D                                                     MACON               GA     31210         Decorations         891.32
     BAT CITY AWARDS & APPAREL                          1707 NUECES ST.                                                     AUSTIN              TX     78701         Decorations         888.00
           Glazier Food Company                        11303 Antoine Drive                                                 HOUSTON              TX     77066           Supplies          879.80
        SHIP-REC LOGISTICS INC.                             SUITE 104                                                      PORTAGE              WI     53901    Professional Services    863.15
           REPUBLIC SERVICES                           P.O. BOX 9001099                                                   LOUISVILLE            KY   40290-1099         Utility          859.58
  HARLINGEN WATERWORKS SYSTEM                            P. O. BOX 1950                                                  HARLINGEN              TX     78551            Utility          841.17
                HPI EMBLEM                             4310 S. 131ST PLC                                                   TUKWILA              WA     98168         Decorations         836.50
        GARRETT AND REGA, INC.                       7615 GRANITE DRIVE                                                DOUGLASVILLE             GA     30134    Repair & Maintenance     825.00
              RK Uniforms LLC                              300 Brook St.                                                    Scranton            PA     18505        Merchandise          782.72
   MEMPHIS LIGHT GAS AND WATER                            P.O. BOX 388                                                     MEMPHIS              TN   38145-0388         Utility          782.66
          Gerber Technology LLC                           PO Box 95060                                                      Chicago             IL   60694-5060 Repair & Maintenance     753.12
               UPS FREIGHT                              P.O. BOX 650690                                                     DALLAS              TX   75265-0690    Freight/Postage       742.58
            CAMPOS SERVICES                    15802 LITTLE MISS CREEK DR.                                                 CYPRESS              TX     77429    Repair & Maintenance     736.65
        TEXAS ART EMBROIDERY                             7556 RENWICK                                                      HOUSTON              TX     77081         Decorations         715.00
                WASTE PRO                           3512 OAKCLIFF ROAD                                                     ATLANTA              GA     30340            Utility          697.40
                   DELONG                                 P.O. BOX 193                                                   GREENVILLE             OH     45331        Merchandise          690.80
     DIXON HUGHES GOODMAN LP                            P.O. BOX 602828                                                  CHARLOTTE              NC   28260-2828 Professional Services    690.00
           Parker 80 - Duncanville              1126 S Cedar Ridge Dr Ste 102                                             Duncanville           TX     75137     Parker Retail Store     680.89
          CM GRAPHICS/JAMAR                           1149 S. COMMERCE                                                   HARLINGEN              TX     78550         Decorations         679.11
                 GAS SOUTH                              P.O. BOX 530552                                                    ATLANTA              GA     30353                             678.97
         St Joseph School Madison                   1225 Gallatin Pike South                                                Madison             TN     37115            School           677.00
         Carroll Academy Carrollton                     909 College Street                                                 Carrollton           MS     38917            School           650.00
        OFF DUTY SERVICES, INC.                         1908 AVE D, A100                                                      KATY              TX     77493                             642.81
    ADVANCED DISPOSAL SERVICES                           PO BOX 791412                                                   BALTIMORE              MD   21279-1412         Utility          641.18
                     LG&E                               PO BOX 9001960                                                    LOUISVILLE            KY     40290            Utility          637.66
      J'S EMBROIDERY AND MORE                             13150 FM 529                       #103                          HOUSTON              TX     77041         Decorations         618.00
                ITECH 2 LLC                      55 HUNTINGTON DR. #108                                                    ARCADIA              CA     91006                             602.00
        DOWLING GRAPHICS, INC.                    12920 AUTOMOBILE BLVD                                                 CLEARWATER              FL     33762         Decorations         585.71
                                            Case 18-10085-CSS                       Doc 3        Filed 01/12/18      Page 118 of 134
     In re Parker School Uniforms, LLC
     Schedule E/F, #3.2 - Accounts Payable


             SCAN TEXAS                           6 WILTSHIRE COURT                                                LUCAS         TX      75002           Decorations        568.26
                  U-Haul                           12215n LBJ Freeway                                             Garland        TX      75041              Rent            560.80
         Parker 39 - Fort Worth                        1125 Oakland                                              Ft. Worth       TX      76103       Parker Retail Store    553.00
          FRONTIER TALENT                         506 UPLANDS DRIVE                                            DODGEVILLE        WI      53533      Professional Services   536.99
                 Intertek                             PO Box 405176                                                Atlanta       GA    30384-5176       Merchandise         530.00
STEVENS & LEE LAWYERS & CONSUL                           SUITE 200                                          KING OF PRUSSIA      PA      19406                              527.75
          INSTANT IMPRINTS                               SUITE 118                                          LAWRENCEVILELE       GA      30043          Decorations         523.99
                   TOG                                P.O. BOX 1240                                            ATTLEBORO         MA       2703            Utility           520.78
      SUNSTATE EMBROIDERY                      5869 S. KYRENE ROAD #9                                             TEMPLE         AZ      85283          Decorations         519.00
     SOFTWAY SOLUTIONS, INC.                            SUITE 1600                                              HOUSTON          TX      77074                              514.19
WESTERN EXTERMINATOR COMPANY                         P.O. BOX 16350                                              READING         PA      19612              Utility         492.50
KEYSTONE UNIFORM CAP-SENTRY CA                   2251 FRALEY STREET                                           PHILADELPHIA       PA      19137           Decorations        490.95
ABC HOME AND COMMERCIAL SERVIC                      P.O. BOX 670389                                               DALLAS         TX    75267-0389           Utility         486.72
         THE LOGO HUT LLC                            PO BOX 520575                  1315 INWOOD AVE               BRONX          NY      10452           Decorations        481.00
         CHWP Expos Arizona                       50 West Sheffield Ave                                             Gilbert      AZ      85233         Miscellaneous        480.00
 FC MARKETPLACE ASSOCIATES LP              P.O. BOX 4346, DEPARTMENT 1                                          HOUSTON          TX    77210-4346           Utility         479.79
       St Helen School Pearland                    2209 Old Alvin Road                                            Pearland       TX      77581             School           475.00
         BCN TELECOM, INC.                          P.O. BOX 842840                                              BOSTON          MA    02284-2840         Telecom           467.12
        Truly Nolen of America                    3636 E Speedway Blvd                                             Tucson        AZ      85716              Utility         454.65
           Devine & Partners                  2300 Chestnut Street Ste 420                                      Philadelphia     PA      19103      Professional Services   442.50
 ALL-STATE PEST CONTROL CO. INC                       P.O. BOX 4080                                             CORDOVA          TN      38088              Utility         440.00
          CRYSTAL SPRINGS                            P.O BOX 660579                                               DALLAS         TX      75266            Supplies          439.09
        STATE SYSTEMS, INC.                      P.O. BOX 372 DEPT. 90                                           MEMPHIS         TN      38101      Repair & Maintenance    432.74
             EmcorServices                            PO Box 971264                                                 Dallas       TX      75397                              426.92
  LION BROTHERS COMPANY, INC.                 ATTN: NANCY RATAJCZAK             10246 REISTERSTOWN ROAD       OWINGS MILLS       MD      21117         Merchandise          421.97
              ONE STOP                       2686 NORTHRIDGE DR N.W.                                         GRAND RAPIDS        MI      49544         Merchandise          408.96
      Parker 07 - West University                   3817 Bellaire Blvd                                            Houston        TX      77025       Parker Retail Store    408.75
          FABTEX GRAPHICS                   20650 N. 29TH PL., SUITE #103                                        PHOENIX         AZ      85050         Merchandise          400.00
    ADDICKS FIRE & SAFETY, INC.          1800 SHERWOOD FOREST SUITE B-1                                         HOUSTON          TX      77043           Supplies           399.07
            Swift Pest Control                        PO Box 691681                                             San Antonio      TX      78269             Utility          389.71
                  2 Logo                        10859 Shady Trail Ste 102                                           Dallas       TX      75220          Decorations         385.00
            Southland Battery                        6311 Antoine Dr.                                             Houston        TX      77091                              377.95
         Parker 62 - San Diego                 7330 Opportunity Rd Ste F                                         San Diego       CA      92111       Parker Retail Store    377.72
   HOMEWOOD SUITES ATLANTA                            97 10th St. NW                                               Atlanta       GA      30309         Miscellaneous        377.20
     PUBLIC WORKS & UTILITIES                          PO BOX 2922                                               WICHITA         KS    67201-2922          Utility          360.00
         Parker 05 - Carrollton             1611 N Interstate 35 East Ste 318                                    Carrollton      TX      75006       Parker Retail Store    352.36
              WOLFMARK                               820 EHLERS RD.                                              NEENAH          WI      54956                              349.57
               ENTERGY                                  Po Box 8104                                            Baton Rouge       LA    70891-8104           Utility         349.18
               KONA ICE                          5851 W. 34TH STREET                                            HOUSTON          TX      77092         Miscellaneous        348.56
             SUDDENLINK                             P.O. BOX 660365                                               DALLAS         TX    75266-0365         Telecom           344.95
              HSA BANK                                 P.O. BOX 939                                            SHEBOYGAN         WI    53082-0939   Professional Services   342.00
       EXTRA POINT SPORTS                          4982A LEBANON RD                                           OLD HICKORY        TN      37138           Decorations        341.00
          Parker 26 - Nashville                  204 Ward Circle Ste 400                                         Brentwood       TN      37027       Parker Retail Store    335.25
    House Doctors of East Alabama                2110 Executive Park Dr                                           Opelika        AL      36801                              334.72
    RIVERSIDE PUBLIC UTILITIES                        3901 MAIN ST.                                             RIVERSIDE        CA      92522              Utility         329.85
       KOMAR ALLIANCE, LLC                           PO BOX 844437                                            LOS ANGELES        CA    90084-4437         Supplies          328.92
  PENSKE TRUCK LEASING CO., LP                      P.O. BOX 802577                                              CHICAGO         IL      60680              Rent            318.65
 ORANGE COUNTY FIRE AUTHORITY                        P.O. BOX 51985                                                IRVINE        CA    92619-1985   Professional Services   306.90
  Richards Air Conditioning & Heating               401 Homecrest St                                           Corpus Christi    TX      78412      Repair & Maintenance    303.10
 ROBERT BROOKE AND ASSOCIATES                  1465 AXTELL DR., STE. B                                              TROY         MI      48084      Professional Services   302.86
           Parker 10 - Wichita                  650 N Carriage Pkwy #85                                            Wichita       KS      67208       Parker Retail Store    299.82
     TEXAS WIRED MUSIC, INC.                          P O BOX 1098                                            SAN ANTONIO        TX      78294      Professional Services   297.90
          The Lightbulb Depot                        301 Arlingston St.                                           Houston        TX      77007                              297.69
 HAULAWAY STORAGE CONTAINERS                          P.O. BOX 7183                                             PASADENA         CA      91109              Rent            293.55
               VERIZON                               PO BOX 660108                                                DALLAS         TX    75266-0108        Telecom            291.62
          Kansas Gas Service                          PO Box 219046                                             Kansas City      MO    64121-9046          Utility          290.80
      PIEDMONT NATURAL GAS                          P.O. BOX 660920                                               DALLAS         TX    75266-0920          Utility          289.02
          Parker 20 - Memorial                        12524 Memorial                                              Houston        TX      77024       Parker Retail Store    288.53
       AEC NARROW FABRICS                            PO BOX 403058                                               ATLANTA         GA    30384-3058       Manufacture         285.45
              Exxon Mobil                              PO Box 78001                                               Phoenix        AZ    85062-8001      Miscellaneous        281.46
   Oklahoma Natural Gas Company                       PO Box 219296                                             Kansas City      MO    64121-9296          Utility          276.20
 Cathedral School Of Saint Mary Austin                910 San Jacinto                                               Austin       TX      78701            School            275.00
            PANERA BREAD                            6710 Clayton Road                                        Richmond Heights    MO      63117         Miscellaneous        272.24
             CPS ENERGY                                PO Box 2678                                              San Antonio      TX    78289-0001          Utility          265.12
                                           Case 18-10085-CSS                    Doc 3            Filed 01/12/18     Page 119 of 134
      In re Parker School Uniforms, LLC
      Schedule E/F, #3.2 - Accounts Payable



              ATMOS ENERGY                          PO BOX 790311                                                ST. LOUIS      MO    63179-0311          Utility          262.61
        CITY OF CORPUS CHRISTI                      P.O. BOX 659722                                           SAN ANTONIO       TX    78265-9722                           262.46
         PROTECTION CONCEPTS                    1343 TERRELL MILL RD              SE SUITE 140                   MARIETTA       GA       30067     Professional Services   242.55
          ZAFAR PROJECTS INC.                    1047 SUNNYDALE DR                                            CLEARWATER        FL       33755         Merchandise         240.52
          Jackson Energy Authority                    PO Box 2288                                                 Jackson       TN    38302-2288           Utility         239.01
            Wildcat Garage Door               2520 K Avenue Ste 700-224                                             Plano       TX       75074     Repair & Maintenance    238.15
  CAPITAL REFRIGERATION CO., INC                      PO BOX 1966                                            MONTGOMERY         AL       36102     Repair & Maintenance    237.50
          Parker 42 - Lawrenceville          2100 Riverside Pkwy Ste 132                                       Lawrenceville    GA       30043      Parker Retail Store    233.20
          AMERICAN & EFIRD LLC                  22 AMERICAN STREET                                               MT. HOLLY      NC       28120        Freight/Postage      218.41
  SUPERIOR DOCUMENT SOLUTIONS                       PO BOX 957027                                                 DULUTH        GA       30095            Supplies         211.09
       TRI-STAR COMPANIES, INC.                   P.O. DRAWER 1549                                             BATESVILLE       MS       38606                             205.98
          GREENWOOD UTILITIES                         P.O. BOX 866                                            GREENWOOD         MS       38935             Utility         201.83
         STAYBRIDGE SUITES I-10            c/o InterContinental Hotels Group    Three Ravinia Drive                Atlanta      GA       30346        Miscellaneous        198.56
       ANAHEIM PUBLIC UTILITIES                      P.O. BOX 3069                                               ANAHEIM        CA       92803             Utility         192.34
     MCCOY'S HEATING & AIR, INC.              138 MILL MASTERS DRIVE                                             JACKSON        TN       38305     Repair & Maintenance    180.00
             UPRINITING.COM                        8000 Haskell Ave.                                              Van Nuys      CA       91406                             179.06
             SCHOLARS GUILD                   680 TOM BREWER ROAD                                              LOGANVILLE       GA       30052                             177.66
              TUYA Driver Club                 18515 Aldine Westfield Rd                                          Houston       TX    77073-3825     Freight/Postage       175.74
   IRON MOUNTAIN ACCOUNT H9270                     P.O. BOX 915004                                                DALLAS        TX    75391-5004           Rent            172.11
              Parker 02 - Alpha                   4887 Alpha Rd #250                                                Dallas      TX       75244      Parker Retail Store    170.44
         Panola County Solid Waste                    PO Box 1548                                                Bastesville    MS    38606-1548           Utility         169.00
      COX COMMUNICATIONS INC.                       PO BOX 248851                                           OKLAHOMA CITY       OK    73124-8851         Telecom           164.95
  Amreit SSPF Preston Towne Crossing                   Dept #2628                 PO Box 95440                   Grapevine      TX       76099             Rent            163.97
            Parker 47 - Chamblee         2080 Peachtree Industrial Ct Ste 110                                    Chamblee       GA       30341      Parker Retail Store    160.40
           Prime Delivery Service                    PO Box 15882                                                 Houston       TX       77220       Freight/Postage       159.00
          Kentucky American Water                    PO Box 790247                                               Saint Louis    MO    63179-0247           Utility         155.79
             APOLLO EMBLEM                         4110 EDISON AVE                   STE 200                       CHINO        CA       91710        Merchandise          153.00
               Stratford Macon                      6010 Peake Road                                                Macon        GA       31220            School           150.00
            True Carpet Cleaning                 1020 Shortleaf Pine Dr.                                          Arlington     TX       76012     Repair & Maintenance    150.00
    AC FILTER SPECIALIST (dba FSI)       1001 S ED CAREY DRIVE BOX 106                                         HARLINGEN        TX       78552     Repair & Maintenance    147.50
          EATS MESQUITE GRILL                 418 N Sam Houston Pkwy E                                            Houston       TX       77060        Miscellaneous        146.61
           Parker 01 - Governors            2000 W Governors Circle Ste E                                         Houston       TX       77092      Parker Retail Store    145.39
      APS FIRCO OKLAHOMA CITY                          DEPT #2785                                                  TULSA        OK       74182     Repair & Maintenance    142.03
             ZORO TOOLS INC                      909 ASHBURY DRIVE                                          BUFFALO GROVE       IL       60089           Supplies          136.09
             LAIA ROBISHAUS              7756 NORTHCROSS DRIVE - SUITE                                             AUSTIN       TX       78757                             135.00
               TARGET.COM                                Target                                                   Houston       TX    77241-1324      Miscellaneous        132.76
              VALLEY ALARM                            P.O. BOX 399                                             SUN VALLEY       CA       91353                             129.90
     Warren Southwest Refrigeration               7428 Fairview Street                                            Houston       TX       77041     Repair & Maintenance    129.90
        INSTA GRAPHIC SYSTEMS                13925 EAST 166TH STREET                                             CERRITOS       CA       90703     Repair & Maintenance    128.75
   VISTA SPRINGS BOTTLED WATER                        P.O. BOX 724                                                FOLSOM        CA       95763           Supplies          127.50
   SOUTH COAST FIRE PROTECTION                1908 S. EL CAMINO REAL                                         SAN CLEMENTE       CA       92672     Professional Services   127.09
     WEST COAST INTERNET, INC.                       P.O. BOX 7598                                         CAPISTRANO BEACH     CA       92624           Telecom           125.00
          QUALITY SAFE & LOCK                       P.O. BOX 16624                                               MEMPHIS        TN    38186-0624   Professional Services   120.00
           PACKAGE UNIT PROS              28302 INDUSTRIAL BLVD., SUITE                                          HAYWARD        CA       94545                             118.00
               TRI-MOUNTAIN                           4889 4TH ST                                               IRWINDALE       CA       91706                             116.50
MONTGOMERY WATER WORKS & SEWER                       P.O. BOX 1670                                           MONTGOMERY         AL    36102-1670          Utility          115.89
          HOOTSUITE MEDIA INC                        5 E 8th Avenue                                              Vancouver      BC      V5T1R6                             114.99
          SUPPLIESOUTLET.COM                   500 Damonte Ranch Pkwy               Suite 944                       Reno        NV       89521           Supplies          113.65
           ANGELINA HALBLEIB                      4630 HWY 6 SOUTH                                            SUGAR LAND        TX       77478                             112.76
             Parker 14 - Galleria            15909 San Pedro Ave Ste 110                                        San Antonio     TX       78232      Parker Retail Store    110.24
             PEARL DIGITIZING                 1931 WILDWOOD CIRCLE                                         GLENDALE HEIGHTS     IL       60139          Decorations        110.00
     AIR FILTER SALES & SERVICE                     200 HARRIS ST.                                               JACKSON        MS       39202     Repair & Maintenance    107.00
            Parker 74 - Harlingen                   614 Ed Carey Dr                                               Harlingen     TX       78550      Parker Retail Store     99.25
   City of Fort Worth Water Department               PO Box 961003                                            FORT WORTH        TX    76161-0003           Utility          99.00
      CITY OF SOUTHSIDE PLACE                         6309 Edloe St                                               Houston       TX    77005-3617           Utility          97.91
     COBBLESTONE MARKET CAFE                     14121 NW FREEWAY                                                HOUSTON        TX       77040        Miscellaneous         95.26
              Turner Hardware                   11730 Hempstead Road                                              Houston       TX    77092-6002         Supplies           89.91
            PAYCOM SOLUTION                      7501 W Memorial Road                                         Oklahoma City     OK       73142     Professional Services    83.00
                    PG&E                              BOX 997300                                              SACRAMENTO        CA       95899             Utility          82.51
              City of Senatobia                       PO Box 1020                                                Senatobia      MS       38668             Utility          80.30
     FRONTIER COMMUNICATIONS                         P.O. BOX 5157                                                 TAMPA        FL       33675           Telecom            79.43
           ORIGINAL HEART CO.                       PO BOX 573302                                                TARZANA        CA    91357-3302                            77.80
      AMREIT LANTERN LANE L.P.                      PO BOX 536856                                                ATLANTA        GA       30353            Utility           76.58
           Action Pest Control Co.               14950 Goodman Road                                            Olive Branch     MS       38654                              74.90
                                                     Case 18-10085-CSS               Doc 3        Filed 01/12/18     Page 120 of 134
          In re Parker School Uniforms, LLC
          Schedule E/F, #3.2 - Accounts Payable



            ESIX SPORTWEAR, INC.                         2800 W DIVISION STE F2                                ARLINGTON          TX     76012           Decorations          72.00
         CITY OF BEAUMONT WATER                                 PO BOX 521                                     BEAUMONT           TX     77704              Utility           71.88
  Lexington-Fayette Urban County Government                    PO Box 34090                                     Lexington         KY   40588-4090           Utility           68.16
           WELLINGTON HOUSE INC.                          19520 N E SAN RAFAEL                                 PORTLAND           OR     97230           Decorations          64.34
            Kentucky Utilities Company                        PO Box 9001954                                     Louisville       KY   40290-1954           Utility           62.33
              Eureka Water Company                             PO Box 26730                                   Oklahoma City       OK     73126            Supplies            60.32
      OFFICE OF THE CITY TREASURER                           P.O. BOX 121536                                   SAN DIEGO          CA     952112     Repair & Maintenance      60.00
        BAY AREA FIRE & SAFETY INC.                            PO BOX 84389                                    PEARLAND           TX     77584      Repair & Maintenance      59.50
                 TEXAS 2 STITCH                                  SUITE 207                                        PLANO           TX     75075           Decorations          56.75
Occupational Health Centers of the Southwest, P.A.              PO Box 9005                                      Addison          TX   75001-9005   Professional Services     56.00
               Parker 86 - Chandler                    2988 N Alma School Rd Ste 4                               Chandler         AZ     85224       Parker Retail Store      46.60
                 Parker 24 - Plano                       4909 West Park Blvd #173                                  Plano          TX     75093       Parker Retail Store      45.49
               Parker 46 - Alpharetta                         319 Curie Drive                                   Alpharetta        GA     30005       Parker Retail Store      43.22
            CITY OF SAN CLEMENTE                           910 CALLE NEGOCIO                                 SAN CLEMENTE         CA     92673         Miscellaneous          40.00
                  LETICIA VALLE                      11800 STERLING AVE., SUITE K                              RIVERSIDE          CA     92503                                39.42
           FISH WINDOW CLEANING                              P.O. BOX 591686                                  SAN ANTONIO         TX     78259      Repair & Maintenance      36.81
              Kansas Fire Equipment                             123 S Osage                                       Wichita         KS     67213      Repair & Maintenance      31.93
               McAlilly Pest Control                         121 Keriville Drive                                 Jackson          MS     39212      Repair & Maintenance      29.96
                 WALMART.COM                               13484 Northwest FWY                                   Houston          TX     77040         Miscellaneous          29.71
             Parker 43 - Montgomery                          1721 Eastern Blvd.                                Montgomery         AL     36117       Parker Retail Store      27.00
                     SoCalGas                                    PO Box C                                     Monterey Park       CA   91756-5111           Utility           25.17
     PREMIUM REFRESMENT SERVICES                              P.O. BOX 15238                                  LITTLE ROCK         AR     72231            Supplies            22.21
         READYREFRESH BY NESTLE                              P.O. BOX 856680                                   LOUISVILLE         KY     40285            Supplies            22.00
       EDWARDS GARMENT COMPANY                             4900 SOUTH 9TH ST                                  KALAMAZOO           MI      49009                               21.71
                 Parker 45 - Macon                          2941 McManus Road                                     Macon           GA     31220       Parker Retail Store      20.33
                CITY OF ATLANTA                               PO BOX 105275                                     ATLANTA           GA     303348            Utility            20.02
          SCHOOL SHOES UNLIMITED                        2019 VANCE JACKSON RD                                 SAN ANTONIO         TX      78213                               18.00
         City of Batesville Gas and Water                       PO Box 689                                      Batesville        MS   38606-0689           Utility           16.45
                    PIZZA HUT                                14841 Dallas Pkwy                                    Dallas          TX      75254        Miscellaneous           6.23
              ADT Security Services                           PO Box 371878                                     Pittsburgh        PA   15250-7878   Repair & Maintenance       5.03
           United States Postal Service                    475 L'Enfant PLZ SW        Room 9341                Washington         DC   20260-1101     Freight/Postage          1.00
                  Exell Companies                               PO Box 5393                                      Jackson          MS   39296-5393      Subscriptions           0.02
              MP2 ENERGY TEXAS                                PO BOX 202829                                      DALLAS           TX   75320-2829           Utility            0.01

                                                                                                                                                                            1,789,441.98
                                 Case 18-10085-CSS                    Doc 3      Filed 01/12/18         Page 121 of 134

 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Allison Balthrope
             List the contract number of any                                         214 Crescent Street
                   government contract                                               San Antonio, TX 78209


 2.2.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Mike Porter
             List the contract number of any                                         27826 Burnett Hills Lane
                   government contract                                               Fulshear, TX 77441


 2.3.        State what the contract or                   customer contracts
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         see attached
                   government contract


 2.4.        State what the contract or                   non-residential real
             lease is for and the nature of               property leases
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         see attached
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                          Case
            In re Parker School   18-10085-CSS
                                Uniforms, LLC                                 Doc 3              Filed 01/12/18                     Page 122 of 134
            Schedule G - #2.2 - customer contracts




                            Name                       School ID                 Address 1                              Address 2              City          State       Zip Code
11 - Uniform Essentials [TX]                        11             6300 W by NW Blvd.                   Suite 100                     Houston          Texas            77040
Abiding Word Lutheran School Houston                1475           17123 Red Oak                                                      Houston          Texas            77090
Academy For Classical Education Macon               5218           5665 New Forsyth Road                                              Macon            Georgia          31210
Academy Of Scholars Decatur                         9618           5096 Panola Industrial Blvd                                        Decatur          Georgia          30035
Accommodated Learning Academy Grapevine             2856           1023 S Main #203                                                   Grapevine        Texas            76051
Advantage Academy Duncanville                       5022           618 W.Wheatland Rd                                                 Duncanville      Texas            75116
Agape Christian Academy Jackson                     8103           2024 Boling                                                        Jackson          Mississippi      39213
Agape Education Center Canton                       8063           P.O. Box 502                         315 Garrett Street            Canton           Mississippi      39046
Akiba Academy Dallas                                2178           12324 Merit Drive                                                  Dallas           Texas            75251
Al-Hedayah Academy Fort Worth                       2918           8601 Randol Mill Road                                              Fort Worth       Texas            76120
Alianza Eco International School Cypress            1469           12603 Louetta Road                                                 Cypress          Texas            77429
All Saints Catholic School Dallas                   2142           7777 Osage Parkway                                                 Dallas           Texas            75252
All Saints Episcopal School Lubbock                 3166           3222 103rd Street                                                  Lubbock          Texas            79423
All Saints Episcopal School Beaumont                1271           4108 Delaware                                                      Beaumont         Texas            77706
All Saints School Catholic School Wichita           524            3313 East Grand                                                    Wichita          Kansas           67218
Alpha Omega Academy Huntsville                      1286           3891 Tx- 30 W                                                      Huntsville       Texas            77340
Amana Academy Alpharetta                            9548           285 S Main Street                                                  Alpharetta       Georgia          30009
Ambassadors Preparatory Academy Galveston           1400           2724 61st Street Suite B                                           Galveston        Texas            77551
Amerimont Academy Anaheim                           6400           490 Anaheim Hills Rd                                               Anaheim          California       92807
Anchored Christian School Bowling Green             7059           1807 Cave Hill Rd                                                  Bowling Green    Kentucky         42104
Andale Elementary-Middle School-PS Andale           4117           500 West Rush Street                                               Andale           Kansas           67001
Angelo Catholic School San Angelo                   3063           20 East Beauregard                                                 San Angelo       Texas            76903
Ann Richards School Austin                          3184           2206 Prather Lane                                                  Austin           Texas            78704
Annoor Islamic School Wichita                       4088           6655 E. 34th St. N                                                 Wichita          Kansas           67208
Antonian College Preparatory School San Antonio     3812           6425 West Avenue                                                   San Antonio      Texas            78213
Antonian Middle School Rolling Hill San Antonio     3865           21240 Gathering Oak                                                San Antonio      Texas            78260
Arabia Mountain High School Lithonia                9512           6610 Browns Mill Road                                              Lithonia         Georgia          30038
Ascension Episcopal Houston                         1287           2525 Seagler Road                                                  Houston          Texas            77042
Assumption Catholic School Houston                  1428           801 Roselane Street                                                Houston          Texas            77037
Athens Prep Athens                                  2734           2621 Us Highway 175 E                                              Athens           Texas            75752
Atlanta Boy Choir Atlanta                           9004           1215 S Ponce De Leon Ave Ne                                        Atlanta          Georgia          30306
Atlanta Jewish Academy Atlanta                      9631           5200 Northland Drive                                               Atlanta          Georgia          30342
Austin Achieve Public Schools Austin                5508           5908 Manor Rd                                                      Austin           Texas            78723
Austin Childrens Choir Austin                       3168           12407 N. Mopac Expressway #100-292                                 Austin           Texas            78758
Austin Eco Bilingual- Anderson Austin               3219           8707 Mountain Crest Drive                                          Austin           Texas            78735
Austin Eco Bilingual- Mt Crest Austin               3218           8707 Mountain Crest Drive                                          Austin           Texas            78735
Austin Peace Academy Austin                         3169           5110 Manor Road                                                    Austin           Texas            78723
Baldwin Magnet Montgomery                           9639           410 S McDonough St                                                 Montgomery       Alabama          36104
Barack Obama Male Leadership Acad Dallas            5070           4730 S. Lancaster Rd.                                              Dallas           Texas            75216
Battle Ground Academy Franklin                      7095           336 Ernest Rice Lane                                               Franklin         Tennessee        37069
Bear Elementary Montgomery                          9638           2525 Churchill Drive                                               Montgomery       Alabama          36111
Beaumont Classical Academy, Beaumont                1470           10255 Eastex Freeway, Suite 100                                    Beaumont         Texas            77708
Bellaire Christian Academy Bellaire                 1242           4601 Bellaire                                                      Bellaire         Texas            77401
Bells Educare Madison                               8020           141 Ragsdale Rd. #B                                                Madison          Mississippi      39110
Benedict Day School Sumrall                         8096           27 Veritas Lane                                                    Sumrall          Mississippi      39482
Beta Academy Charter Houston                        1457           9701 Almeda Genoa Rd                                               Houston          Texas            77075
Beth Yeshurun School Houston                        1211           4525 Beechnut Blvd.                                                Houston          Texas            77096
Bethany Christian Acadamy Montgomery                9646           1765 Highland Avenue                                               Montgomery       Alabama          36107
Bethany Lutheran School Overland Park               4324           9101 Lamar Avenue                                                  Overland Park    Kansas           66207
Bethel Baptist School Walls                         7008           6001 Goodman Road                                                  Walls            Mississippi      38680
Bethlehem Christian Academy Bethlehem               9009           548 Christmas Avenue                                               Bethlehem        Georgia          30620
Bishop Carroll Catholic High School Wichita         4024           8101 West Central                                                  Wichita          Kansas           67212
Bishop Garriga Middle School Corpus Christi         279            3114 Saratoga Blvd.                                                Corpus Christi   Texas            78415
Bishop John Carroll Cathedral Schoo Oklahoma City   4070           1100 N.W. 32nd St.                                                 Oklahoma City    Oklahoma         73118
Bishop Lynch High School Dallas                     2300           9750 Ferguson                                                      Dallas           Texas            75228
Bishop Mcguinness Catholic HS Oklahoma City         4144           801 NW 50th Street                                                 Oklahoma City    Oklahoma         73118
Bishop Watterson High School                        7240           99 East Cooke Rd                                                   Columbus         Ohio             43214
Blessed Sacrament Catholic School Wichita           515            3810 E. Douglas                                                    Wichita          Kansas           67208
Blessed Sacrament Elementary San Diego              6201           4551 56th Street                                                   San Diego        California       92115
Blessed Sacrament School Laredo                     237            1501 Bartlett                                                      Laredo           Texas            78040
Booker T Washington Montgomery                      9647           632 S Union Street                                                 Montgomery       Alabama          36104
Bracken Christian School Bulverde                   3102           670 Old Boerne Rd.                                                 Bulverde         Texas            78163
Breath Of Life Preparatory Preschoo Memphis         7204           3795 Frayser-Raleigh Road                                          Memphis          Tennessee        38128
Brentwood Academy Brentwood                         7166           219 Granny White Pike                                              Brentwood        Tennessee        37027
Brentwood Christian School Austin                   3159           11908 North Lamar Blvd.                                            Austin           Texas            78753
Brewtech Montgomery                                 9648           4405 Brewbaker Drive                                               Montgomery       Alabama          36116
Briargrove Elementary Houston                       1344           6145 San Felipe                                                    Houston          Texas            77057
Bridgeway Christian Academy Alpharetta              9022           4755 Kimball Bridge Road                                           Alpharetta       Georgia          30005
Brownsville Montessori Academy Brownsville          3412           36 South Coria                                                     Brownsville      Texas            78521
Buckner Fanning Mission Springs San Antonio         3814           975 Mission Springs                                                San Antonio      Texas            78258
Burton Adventist Academy Arlington                  2920           4611 Kelly Elliott Rd.                                             Arlington        Texas            76017
Calvary Baptist School La Verne                     6401           2990 Damien Avenue                                                 La Verne         California       91750
Calvary Christian Academy Chula Vista               6202           1771 E. Palomar Street                                             Chula Vista      California       91913
Calvary Christian School Southern Pines             9622           400 S Bennett Street                                               Southern Pines   North Carolina   28387
Cambridge Academy Brentwood                         7128           210 Jamestown Park Road                                            Brentwood        Tennessee        37027
Cambridge School Of Dallas Dallas                   2166           3877 Walnut Hill Lane                                              Dallas           Texas            75229
Campbell Christian Academy Dallas                   2743           6623 Villa Road                                                    Dallas           Texas            75232
Canterbury Episcopal Desoto                         5071           1708 N. Westmoreland Rd.                                           Desoto           Texas            75115
Carroll Academy Carrollton                          8101           909 College Street                                                 Carrollton       Mississippi      38917
Carrollton Christian Academy Carrollton             380            2205 East Hebron                                                   Carrollton       Texas            75010
Carrollton Christian Academy Second Carrollton      385            2205 East Hebron                                                   Carrollton       Texas            75010
Casady School - Grades 1-8 Oklahoma City            4091           9500 North Pennsylvania                                            Oklahoma City    Oklahoma         73120
Casady School - Primary Pk-K Oklahoma City          4169           9500 North Pennsylvania                                            Oklahoma City    Oklahoma         73120
Cathedral School Of Saint Mary Austin               3070           910 San Jacinto                                                    Austin           Texas            78701
Cathedral School Of St. Mary                                       910 San jacinto Blvd                                               Austin           Texas            78701
Cedar Park Montessori Cedar Park                    3137           400 E. Whitestone Blvd.                                            Cedar Park       Texas            78613
Center Place Restoration School Independence        4303           819 W. Waldo Ave.                                                  Independence     Missouri         64050
Central Baptist School Hattiesburg                  8099           35 P.D. Freeman Road                                               Hattiesburg      Mississippi      39401
Central Baptist School Memphis                      7121           5470 Raleigh-Lagrange Rd                                           Memphis          Tennessee        38134
Central Christian Academy - K-8 Wichita             4012           2900 N. Rock Road                                                  Wichita          Kansas           67226
Central Holmes Christian School Lexington           8059           1 Robert E. Lee Drive                                              Lexington        Mississippi      39095
Central Texas Christian High School Temple          3125           1401 West Central                                                  Temple           Texas            76504
Central Texas Christian School Temple               3091           4141 West Fm 93                                                    Temple           Texas            76502
Centreville Academy Centreville                     8064           1419 Academy Street                                                Centreville      Mississippi      39631
Chamberlain-Hunt Academy Port Gibson                8095           124 Mccomb Avenue                                                  Port Gibson      Mississippi      39150
Charter U - Public Duncanville                      5025           711 W Wheatland                                                    Duncanville      Texas            75116
Childrens Greenhouse Houston                        1246           2503 Albans                                                        Houston          Texas            77005
Childrens University Arlington                      2906           4621 Park Springs Blvd.                                            Arlington        Texas            76017
Christ Academy Wichita Falls                        2164           5105 Stonelake Dr.                                                 Wichita Falls    Texas            76310
Christ Covenant School Ridgeland                    8039           752 Pear Orchard Road                                              Ridgeland        Mississippi      39157
Christ Methodist Day School Memphis                 7074           411 Grove Park                                                     Memphis          Tennessee        38117
Christ Missionary And Industrial Scho Jackson       8083           3910 Main Street                                                   Jackson          Mississippi      39213
Christ Our Savior Lutheran Coppell                  2509           140 Heartz Road                                                    Coppell          Texas            75019
Christ The King Dallas                              2360           4100 Colgate                                                       Dallas           Texas            75225
Christ The King Nashville                           7135           3001 Belmont Blvd.                                                 Nashville        Tennessee        37212
Christ The King Wichita                             479            4501 Maple                                                         Wichita          Kansas           67209
Christ The King Catholic School Lexington           7222           412 Cochran Rd                                                     Lexington        Kentucky         40502
Christ The King Catholic School Lubbock             3164           4011 54th Street                                                   Lubbock          Texas            79413
Christ The King Lutheran School Memphis             7078           5296 Park Avenue                                                   Memphis          Tennessee        38119
Christ The Savior Academy Wichita                   4191           7515 E 13th                                                        Wichita          Kansas           67206
Christian Academy Of Indiana 6-12 New Albany        7102           Middle And High School               1000 Academy Dr               New Albany       Indiana          47150
                                    Case 18-10085-CSS                           Doc 3               Filed 01/12/18                       Page 123 of 134
          In re Parker School Uniforms, LLC
          Schedule G - #2.2 - customer contracts



                            Name                        School ID                  Address 1                            Address 2                   City          State    Zip Code
Christian Academy Of Indiana K-5 New Albany      7076               Elementary School                   1000 Academy Dr                    New Albany       Indiana       47150
Christian Academy Of Louisville 6-8 Louisville   7061               English Station Campus              700 South English Station Road     Louisville       Kentucky      40245
Christian Academy Of Louisville Hs Louisville    7064               English Station Campus              700 South English Station Road     Louisville       Kentucky      40245
Christian Academy Of Louisville K-5 Louisville   7024               English Station Campus              700 South English Station Road     Louisville       Kentucky      40245
Christian Academy Of Louisville Rc Louisville    7067               Rock Creek Campus                   3110 Rock Creek Drive              Louisville       Kentucky      40207
Christian Academy Oldham County Lagrange         7110               307 West Jefferson St.                                                 Lagrange         Kentucky      40031
Christian Brothers High School Memphis           7172               5900 Walnut Grove                                                      Memphis          Tennessee     38120
Christian Brothers University Memphis            7201               650 E Parkway S, Box 104                                               Memphis          Tennessee     38104
Christian Heritage Schools San Antonio           3088               16316 San Pedro                                                        San Antonio      Texas         78232
Christian School Of Northwest Houst Houston      1429               6720 West Tidwell Rd                                                   Houston          Texas         77092
Christine Elizabeth Atlanta                      9038               2952 Gresham Road                                                      Atlanta          Georgia       30316
Cistercian Preparatory School Irving             2172               3660 Cistercian Road                                                   Irving           Texas         75039
Classical School Of Wichita Wichita              4173               6355 Willowbrook                                                       Wichita          Kansas        67218
Claudia Christian Montessori Academ Ridgeland    8106               727 Rice Road                                                          Ridgeland        Mississippi   39157
Clay Road Baptist School Houston                 1327               9151 Clay Road                                                         Houston          Texas         77080
Clown School                                     0000               18302 Wilstone Dr.                                                     Houston          Texas         77084
Collins Hill Christian School Lawrenceville      9309               1612 Collins Hill Road                                                 Lawrenceville    Georgia       30043
Colwich Elementary-Ps Colwich                    4101               401 S.Marion                                                           Colwich          Kansas        67030
Community Christian School Norman                4147               3002 Broce Dr.                                                         Norman           Oklahoma      73072
Concordia Lutheran School San Antonio            3857               16801 Huebner Road                                                     San Antonio      Texas         78258
Congregation Etz Chaim Marietta                  9662               1190 Indian Hills Parkway                                              Marietta         Georgia       30068
Copiah Academy Gallman                           8111               1144 East Gallman Road                                                 Gallman          Mississippi   39077
Cornerstone Christian Academy Montgomery         9645               125 Calhoun Road                                                       Montgomery       Alabama       36109
Cornerstone Christian Academy Sugar Land         1420               2140 First Colony Blvd                                                 Sugar Land       Texas         77479
Cornerstone Christian School San Antonio         3111               17702 N.W. Military                                                    San Antonio      Texas         78257
Cornerstone Preparatory School Memphis           7173               4488 Poplar Avenue                                                     Memphis          Tennessee     38117
Cornerstone Schools Cumming                      9432               4888 Browns Bridge Road                                                Cumming          Georgia       30041
Corpus Christi Catholic School Houston           1253               4005 Cheena                                                            Houston          Texas         77025
Corpus Christi Classical Academy Simpsonville    7071               7010 Shelbyville Rd                                                    Simpsonville     Kentucky      40067
Covenant Academy Cypress                         1467               11711 Telge Road                                                       Cypress          Texas         77429
Covenant Christian Orange                        6402               1855 Orange Olive Road                                                 Orange           California    92865
Covenant Christian Academy Cumming               9503               6905 Post Road                                                         Cumming          Georgia       30040
Covenant Christian Academy Mcallen               3082               4201 North Ware Road                                                   Mcallen          Texas         78504
Covenant Christian School Smyrna                 9037               3130 Atlanta Road                                                      Smyrna           Georgia       30080
Creative Beginnings Preschool                    9567               3450 Enon Road                                                         College Park     Georgia       30349
Cristo Rey Jesuit Houston                        1427               6700 Mt. Carmel Drive                                                  Houston          Texas         77087
Crossings Christian School Oklahoma City         4166               14400 N. Portland Avenue                                               Oklahoma City    Oklahoma      73134
Cypress Christian School Houston                 1127               11123 Cypress N. Houston                                               Houston          Texas         77065
Dallas Lutheran School, Dallas                   2125               8494 Stults Rd.                                                        Dallas           Texas         75243
Darlington School Rome                           9045               1014 Cave Springs Road Sw                                              Rome             Georgia       30165
David L Walker Intermediate School Fort Worth    2942               9901 Hemphill St                                                       Fort Worth       Texas         76134
David W Carter High School Dallas                5079               3700 Ross Ave                                                          Dallas           Texas         75204
Davis Academy Atlanta                            9047               8105 Roberts Drive                                                     Atlanta          Georgia       30350
Dekalb Early College Academy Stone Mountain      9594               1707 Mountain Industrial Blvd                                          Stone Mountain   Georgia       30082
Desoto School West Helena                        8090               497 Thunderbird Road                P.O. Box 2807                      West Helena      Arkansas      72390
Destiny Christian Academy Austell                9305               7400 Factory Shoals Road                                               Austell          Georgia       30168
Destiny Christian School                                            3801 Se 29th Street                                                    Del, City        Oklahoma      73115
Destiny Christian School Del City                4195               3801 Se 29th Street                                                    Del City         Oklahoma      73115
Donelson Christian Academy Nashville             7100               300 Danyacrest Drive                                                   Nashville        Tennessee     37214
Duchesne Academy Houston                         1214               10202 Memorial Drive                                                   Houston          Texas         77024
Duluth Adventist Christian School Duluth         9012               2959 Duluth Highway 120                                                Duluth           Georgia       30096
Dunwoody Christian Academy Dunwoody              9525               5067 Chamblee Dunwoody Road                                            Dunwoody         Georgia       30338
East Cobb Christian School Marietta              9664               4616 Roswell Road                                                      Marietta         Georgia       30062
East Rankin Academy Pelahatchie                  8049               400 Hwy 43 South                                                       Pelahatchie      Mississippi   39145
East Valley Adventist Baldwin Park               6606               3554 Maine Avenue                                                      Baldwin Park     California    91706
Eastside Christian Fullerton                     6403               1645 W Valencia Dr                                                     Fullerton        California    92833
Emerald Mountain Christian School Wetumpka       9255               4125 Rifle Range Road                                                  Wetumpka         Alabama       36093
Energized For Excellence Academy I Houston       1453               6109 Bissonnet                      3703 Sampson Street 77004;         Houston          Texas         77081
Energized For Stem SE Houston                    1454               9220 Jutland Road                                                      Houston          Texas         77033
Energized For Stem SW Houston                    1455               6201 Bissonnet                                                         Houston          Texas         77081
Ensworth High School Nashville                   7109               211 Ensworth Avenue                                                    Nashville        Tennessee     37205
Ensworth School Nashville                        7120               211 Ensworth Place                                                     Nashville        Tennessee     37205
Episcopal High School Bellaire                   465                4621 Fournace Place                                                    Bellaire         Texas         77401
Episcopal School Of Dallas Upper Dallas          2061               4100 Merrell                                                           Dallas           Texas         75229
Episcopal School Of Dallas-Lower Dallas          2132               4344 Colgate                                                           Dallas           Texas         75225
Epstein School Atlanta                           9053               335 Colewood Way Nw                                                    Atlanta          Georgia       30328
Evangel Christian Academy Montgomery             9243               3975 Vaughn Road                                                       Montgomery       Alabama       36106
Evangelical Christian School Cordova             489                P.O Box 1030/7600 Macon Road                                           Cordova          Tennessee     38018
Excel Adventist Academy Missouri City            1384               7950 W. Fuqua                                                          Missouri City    Texas         77489
Ezell Harding Christian School Antioch           7156               574 Bell Road                                                          Antioch          Tennessee     37013
Fairhill School Dallas                           2750               16150 Preston Road                                                     Dallas           Texas         75248
Faith Academy Marble Falls                       3143               P.O.Box 1240                        3151 East Fm1431                   Marble Falls     Texas         78654
Faith Academy Of Jackson Jackson                 8109               5835 Hwy 80 W                                                          Jackson          Mississippi   39209
Faith Christian Academy Dilley                   3050               124 E. Leona Street                                                    Dilley           Texas         78017
Faith Christian Academy Edmond                   4142               3724 E. 2nd St.                                                        Edmond           Oklahoma      73034
Faith Christian Academy Mission                  3408               43001 North Shary Road                                                 Mission          Texas         78572
Faith Christian School, Grapevine                2904               730 E. Worth                                                           Grapevine        Texas         76051
Faith Preschool Academy Southaven                7223               6910 Snowden Lane                                                      Southaven        Mississippi   38672
Faith West Academy Katy                          1304               2225 Porter Road                                                       Katy             Texas         77493
Fallbrook Academy Houston                        1451               12512 Walters Road                                                     Houston          Texas         77014
Fallbrook Classical Academy Houston              1481               12512 Walters Road                                                     Houston          Texas         77014
Family Christian School Jackson                  7171               535 Denmark Jackson Road                                               Jackson          Tennessee     39391
Father Ryan High School Nashville                7104               700 Norwood Drive                                                      Nashville        Tennessee     37204
Faustina Academy Irving                          2855               1621 W. Grauwyler                                                      Irving           Texas         75061
Fellowship Christian Academy Dallas              5064               1808 W. Camp Wisdom Rd.                                                Dallas           Texas         75232
Fiddlers Houston                                 1354               12214 Memorial Drive                                                   Houston          Texas         77024
Fideles Christian School Cumming                 9431               1390 Weber Industrial Drive         Ste 300                            Cumming          Georgia       30041
First Baptist Academy Universal City             3087               1401 Pat Booker Road                                                   Universal City   Texas         78148
First Baptist Academy - Grades 5-8 Dallas        2484               Downtown Middle School              1704 Patterson Street              Dallas           Texas         75201
First Baptist Christian Academy Pasadena         1316               7500 Fairmont Parkway                                                  Pasadena         Texas         77505
First Christian Day Waxahachie                   5076               1109 Brown St.                                                         Waxahachie       Texas         75165
Fort Worth Academy Fort Worth                    2926               7301 Dutch Branch Rd                                                   Fort Worth       Texas         76132
Fort Worth Country Day Fort Worth                2928               4200 Country Day Lane                                                  Fort Worth       Texas         76109
Fort Worth Save Our Children Ft Worth            2044               4215 Avenue M                                                          Ft. Worth        Texas         76105
Founders Classical Academy Leander               3212               1303 Leander Drive                                                     Leander          Texas         78641
Founders Classical Academy Lewisville            2591               1010 Bellaire Blvd                                                     Lewisville       Texas         75067
Franklin Road Academy Nashville                  7123               4700 Franklin Road                                                     Nashville        Tennessee     37220
Frassati Catholic High School Spring             1459               22151 Frassati Way                                                     Spring           Texas         77389
Frayser Academy Memphis                          425                3820 N. Watkins                                                        Memphis          Tennessee     38127
Friendship Christian School Lebanon              7158               5400 Coles Ferry Pike                                                  Lebanon          Tennessee     37087
Friendship Christian School Suwanee              9279               3160 Old Atlanta Road                                                  Suwanee          Georgia       30024
Frisco Montessori Academy Frisco                 2700               8890 Meadow Hill Road                                                  Frisco           Texas         75034
Frisco Trails Montessori Frisco                  2739               8600 Teel Parkway                                                      Frisco           Texas         75034
Ft Bend Boys Choir Stafford                      1129               4411 Bluebonnet Drive Suite #103A                                      Stafford         Texas         77477
Fulton Science Academy Private School                               3035 Fanfare Way                                                       Alpharetta       Georgia       30009
Gateway Christian School Middlesboro             7215               1000 N. 25th Street                                                    Middlesboro      Kentucky      40965
Geneva School Of Boerne Boerne                   3810               113 Cascade Caverns                                                    Boerne           Texas         78015
George Walton Academy Monroe                     9165               #1 Bulldog Drive                                                       Monroe           Georgia       30655
Germantown High School Germantown                7207               7653 Old Poplar Pike                                                   Germantown       Tennessee     38138
Golden Acorn Academy Of Allen Allen              2755               600 South Jupiter                                                      Allen            Texas         75002
Good Shepherd Garland                            2302               214 S. Garland Rd.                                                     Garland          Texas         75040
                            CaseUniforms,
               In re Parker School  18-10085-CSS
                                            LLC                                Doc 3                  Filed 01/12/18               Page 124 of 134
               Schedule G - #2.2 - customer contracts




                            Name                        School ID                 Address 1                            Address 2               City          State    Zip Code
Good Shepherd San Diego                              6207           8180 Gold Coast Drive                                            San Diego         California    92126
Good Shepherd School Tyler                           2439           2525 Old Jacksonville Road                                       Tyler             Texas         75701
Grace Academy Dallas                                 2007           11306 Inwood Rd.                                                 Dallas            Texas         75229
Grace Christian Academy Corona                       6318           2781 South Lincoln Ave.                                          Corona            California    92882
Grace Christian Academy Powder Springs               9318           5790 Powder Springs Dallas Road                                  Powder Springs    Georgia       30141
Grace Christian School's                             6105           26052 Trabuco Road                                               Lake Forest       California    92630
Grace Christian School, Lake Forest                  6105           26052 Trabuco Rd.                                                Lakeforest        California    92630
Grace Crossing Academy Conroe                        1412           105 Fm 1488                                                      Conroe            Texas         77384
Grace School Houston                                 1241           10219 Ella Lee                                                   Houston           Texas         77042
Gravette Holiness Bible School Gravette              6029           606 Atlanta Street Se                                            Gravette          Arkansas      72736
Grayson Christian School Sherman                     2720           4400 East Hwy 82                                                 Sherman           Texas         75090
Great Hearts Monte Vista North San Antonio           3872           319 East Mulberry Avenue                                         San Antonio       Texas         78212
Great Hearts Monte Vista South San Antonio           3871           211 Belknao Place                                                San Antonio       Texas         78212
Halcyon Elementary Montgomery                        9286           1501 Parkview Drive South                                        Montgomery        Alabama       36117
Handley Baptist Christian Academy Ft Worth           2916           6301 Church St                                                   Ft. Worth         Texas         76112
Harbor Day School Corona Del Mar                     6107           3443 Pacific View Drive                                          Corona Del Mar    California    92625
Harding Academy Memphis                              7138           1100 Cherry Road                                                 Memphis           Tennessee     38117
Harding Charter Prep Oklahoma City                   4180           3333 N. Shartel                                                  Oklahoma City     Oklahoma      73118
Harpeth Hall School Nashville                        7057           3801 Hobbs Rd.                                                   Nashville         Tennessee     37215
Hartfield Academy Flowood                            8098           1240 Luckney Road                                                Flowood           Mississippi   39232
Harvest Baptist School Acworth                       9067           3460 Kellogg Road                                                Acworth           Georgia       30102
Harvest Christian Academy Fort Worth                 2927           7200 Denton Hwy.                                                 Fort Worth        Texas         76148
Hendersonville Christian Academy Hendersonville      7124           355 Old Shackle Island Rd                                        Hendersonville    Tennessee     37075
Heritage Baptist Academy Cordova                     7152           711 N. Houston Levee                                             Cordova           Tennessee     38018
Heritage Christian Academy Rockwall                  2401           1408 South Goliad                                                Rockwall          Texas         75087
Heritage Christian School Mission Viejo              6108           22081 Hidalgo                                                    Mission Viejo     California    92691
Heritage Montessori Murphy                           2723           204 Sheila Avenue                                                Murphy            Texas         75094
Heritage Preparatory School Of Geor Atlanta          9190           1700 Piedmont Ave Ne                                             Atlanta           Georgia       30324
Heritage School Of Texas Dallas                      2176           9401 Douglas Ave                                                 Dallas            Texas         75225
Highlands Latin School Louisville                    7168           Springmeadows Campus                10901 Shelbyville Rd         Louisville        Kentucky      40243
Highlands Latin School-Indianapolis Carmel           7200           First Baptist Church                1010 E. 126th Street         Carmel            Indiana       46033
Hillcrest Christian School Jackson                   8043           4060 S. Siwell Road                                              Jackson           Mississippi   39212
Holy Cross Catholic School Hutchinson                450            2633 Independence Rd.                                            Hutchinson        Kansas        67501
Holy Cross Catholic School Overland Park             4325           8101 W 95th Street                                               Overland Park     Kansas        66212
Holy Cross Episcopal School Montgomery               9032           4400 Bell Road                                                   Montgomery        Alabama       36116
Holy Cross Lutheran School Dallas                    2010           11425 Marsh Lane                                                 Dallas            Texas         75229
Holy Cross Lutheran School Wichita                   4046           600 N. Greenwich Rd.                                             Wichita           Kansas        67206
Holy Family Catholic School                                         9400 Neenah Avenue                                               Austin            Texas         78717
Holy Family Catholic School Austin                   3146           9400 Neenah Avenue                                               Austin            Texas         78717
Holy Family Catholic School Ft Worth                 2095           6146 Pershing Ave.                                               Ft. Worth         Texas         76107
Holy Family Catholic School Galveston                1369           2601 Ursuline                                                    Galveston         Texas         77550
Holy Family Elementary Great Bend                    4087           4200 Broadway                                                    Great Bend        Kansas        67530
Holy Family School Elementary Hays                   4056           1800 Milner                                                      Hays              Kansas        67601
Holy Ghost Catholic School, Houston                  1209           6920 Chimney Rock                                                Houston           Texas         77081
Holy Name Catholic School San Antonio                3860           3814 Nash Blvd                                                   San Antonio       Texas         78223
Holy Name School Catholic School Winfield            4083           700 Fuller St.                                                   Winfield          Kansas        67156
Holy Redeemer - Do not use                           9071           3380 Old Alabama Road                                            Alpharetta        Georgia       30022
Holy Redeemer Catholic School, Alpharetta            9071           3380 Old Alabama Road                                            Alpharetta        Georgia       30022
Holy Rosary Academy Nashville                        7214           190 Graylynn Drive                                               Nashville         Tennessee     37214
Holy Rosary Catholic School Rosenberg                1227           1408 James Street                                                Rosenberg         Texas         77471
Holy Rosary School Memphis                           481            4841 Park Avenue                                                 Memphis           Tennessee     38117
Holy Savior Catholic Academy Wichita                 257            4640 E. 15th North                                               Wichita           Kansas        67208
Holy Spirit Catholic School Goddard                  4145           18218 W. Highway #54                                             Goddard           Kansas        67052
Holy Spirit Episcopal School, Houston                1180           12535 Perthshire Rd                                              Houston           Texas         77024
Holy Spirit Preparatory - 5Th-12Th Atlanta           9630           4449 Northside Drive Nw                                          Atlanta           Georgia       30327
Holy Spirit Preparatory - K-4TH Atlanta              9049           4820 Long Island Drive                                           Atlanta           Georgia       30342
Holy Spirit School San Antonio                       3811           770 West Ramsey                                                  San Antonio       Texas         78216
Holy Trinity Academy Dallas                          2163           13555 Hillcrest Road                                             Dallas            Texas         75240
Holy Trinity Catholic High School Temple             3084           6608 W. Adams Avenue                                             Temple            Texas         76502
Holy Trinity Catholic School Grapevine               2058           3750 William D.Tate Ave.                                         Grapevine         Texas         76051
Holy Trinity Catholic School Dallas                  2424           3815 Oak Lawn Ave.                                               Dallas            Texas         75219
Holy Trinity Episcopal School Houston                1250           11810 Lockwood                                                   Houston           Texas         77044
Holy Trinity School Lenexa                           4336           13600 W. 92nd Street                                             Lenexa            Kansas        66215
Honey Tree And Branches Academy Wichita              4193           12725 W. 21st                                                    Wichita           Kansas        67235
Hope Lutheran School Shawnee                         4330           6308 Quivira Road                                                Shawnee           Kansas        66216
Horizon Academy Roeland Park                         4337           4901 Reinhardt Drive                                             Roeland Park      Kansas        66205
Houston Boychoir Houston                             1370           P O Box 271342                                                   Houston           Texas         77277-1342
Houston Christian High School, Houston               1225           2700 W Sam Houston Parkway N                                     Houston           Texas         77043
Houston County Christian School Erin                 5039           270 Arlington St                                                 Erin              Tennessee     37061
Humble Classical Academy Humble                      1468           901 Wilson Road                                                  Humble            Texas         77338
Hunt Middle School Frisco                            2746           4900 Legendary Drive                                             Frisco            Texas         75034
Hutchison School Memphis                             7028           1740 Ridgeway Road                                               Memphis           Tennessee     38119
Hyde Park Schools Austin                             3144           3901 Speedway                                                    Austin            Texas         78751
Icc Community School Pomona                          6423           3619 North Garey Ave.                                            Pomona            California    91767
Imhotep Academy Atlanta                              9629           667 Fairburn Road Nw                                             Atlanta           Georgia       30331
Immaculata Classical Academy Louisville              7178           6010 Preston Highway                                             Louisville        Kentucky      40219
Immaculate Conception Grand Prairie                  320            400 N.E. 17th St.                                                Grand Prairie     Texas         75050
Immaculate Conception Lake Charles                   416            1536 Ryan St.                                                    Lake Charles      Louisiana     70601
Immaculate Conception Cathedral Sch Memphis          473            1669 Central Avenue                                              Memphis           Tennessee     38104
Immaculate Conception School Denton                  2093           3600 Meadowview Drive                                            Denton            Texas         75006
Immaculate Conception School Rio Grande City         3075           305 North Britton                                                Rio Grande City   Texas         78582
Immaculate Heart Of Mary Houston                     394            7535 Avenue L                                                    Houston           Texas         77012
Immanuel Lutheran School Memphis                     7069           6319 Raleigh-Lagrange Rd.                                        Memphis           Tennessee     38134
Incarnate Word Academy Brownsville                   3106           244 Resaca Blvd.                                                 Brownsville       Texas         78520
Incarnate Word Academy - Middle Lvl Corpus Christi   3161           2917 Austin Street                                               Corpus Christi    Texas         78404
Incarnate Word Elementary Corpus Christi             288            450 Chamberlain                                                  Corpus Christi    Texas         78404
Incarnation School Collierville                      7077           360 Bray Station Road                                            Collierville      Tennessee     38017
Independence Academy Anticoh                         5080           5432 Bell Forge Lane East                                        Anticoh           Tennessee     37013
Independence Bible School Independence               4084           2200 South 10th Street                                           Independence      Kansas        67301
Inspired For Excellence Academy Inc Houston          1456           6333 South Braeswood                                             Houston           Texas         77096
Instituto Americas De Estudios Laredo                3837           1850 Artic                                                       Laredo            Texas         78045
International Multiple Intelligence Lakeway          3220           107 Rr 620 #300                                                  Lakeway           Texas         78734
Intown Community School Atlanta                      9532           2059 Lavista Road                                                Atlanta           Georgia       30329
Ivy Preparatory Academy Norcross                     9426           3705 Engineering Drive                                           Norcross          Georgia       30092
Jackson Academy Alabama                                             1954 Coffeville Road                                             Jackson           Alabama       36545
Jackson Christian School Jackson                     7139           832 Country Club Lane                                            Jackson           Tennessee     38305
Jackson Classical School Jackson                     8092           1222 Greymont Avenue                                             Jackson           Mississippi   39202
Jackson Preparatory School Jackson MS                8048           3100 Lakeland Dr                                                 Jackson           Mississippi   39232
James L Collins Catholic School Corsicana            306            3000 W. Highway 22                                               Corsicana         Texas         75110
James Madison Christian Academy Roanoke              2859           341 North Dorman Street                                          Roanoke           Texas         76262
John Knox School Richardson                          2135           400 West Campbell Road                                           Richardson        Texas         75080
John Paul I I High School Corpus Christi             3182           3036 Saratoga Blvd                                               Corpus Christi    Texas         78415
Johnnie Carr Middle School Montgomery                9640           1610 Ray Thorington Rd                                           Montgomery        Alabama       36117
Johnsons Learning Center Atlanta                     9077           2709 Gresham Road                                                Atlanta           Georgia       30316
Juan Diego Academy Mission                           3414           5208 South Hwy 494                                               Mission           Texas         78572
Judson Montessori Choir San Antonio                  3822           17722 Rogers Branch Parkway                                      San Antonio       Texas         78257
Junior League Hobbs                                  1463           1102 Desert Sage                                                 Hobbs             New Mexico    88242
Kandy Stripe Academy Houston                         1281           8701 Delilah                                                     Houston           Texas         77033
Kapaun Mt Carmel Catholic High Sch Wichita           545            8506 E. Central                                                  Wichita           Kansas        67206
Katy Christian Academy Katy                          1440           1941 Westborough Drive                                           Katy              Texas         77449
Katy-West Houston Childrens Choir Katy               1267           1514 Abby Aldrich                                                Katy              Texas         77449
                          CaseUniforms,
            In re Parker School   18-10085-CSS
                                         LLC                                    Doc 3               Filed 01/12/18                  Page 125 of 134
            Schedule G - #2.2 - customer contracts




                          Name                           School ID                 Address 1                        Address 2                  City          State    Zip Code
Katys Ecec Katy                                   1458               Westland Baptist Church          1407 W. Grand Parkway South     Katy             Texas         77494
Kenmont Montessori School Brownsville             3110               2734 N. Coria                                                    Brownsville      Texas         78520
Kiddieland Academy Laredo                         204                1701 Rosario                                                     Laredo           Texas         78040
Kiest Park Christian Academy Dallas               2533               2719 South Hampton Road                                          Dallas           Texas         75224
Kings Ridge Christian School Alpharetta           9085               2765 Bethany Bend Road                                           Alpharetta       Georgia       30004
Kings Way Christian School Douglasville           9218               6456 The Kings Way                                               Douglasville     Georgia       30135
Kinkaid School, Houston                           1255               201 Kinkaid School Drive                                         Houston          Texas         77024
Kipp Academy Nashville                            5084               123 Douglas Ave                                                  Nashville        Tennessee     37207
KIPP Austin Arts And Letters Austin               5505               8509 Fm 969                                                      Austin           Texas         78724
KIPP Austin Connections Austin                    5507               8509 Fm 969                                                      Austin           Texas         78724
KIPP Austin Leadership Elementary Austin          5506               8509 Fm 969                                                      Austin           Texas         78724
KIPP Austin Vista Austin                          5504               8509 Fm 969                                                      Austin           Texas         78724
Kipp Destiny Elementary Dallas                    5044               3663 W. Camp Wisdom                                              Dallas           Texas         75237
Kipp Destiny Middle School Dallas                 5081               3663 W. Camp Wisdom                                              Dallas           Texas         75237
KIPP Peace Elementary                                                5400 Martin Luther King Blvd                                     Houston          Texas         77021
Kipp Polaris Academy for Boyx                                        9636 Mesa Drive                                                  Houston          Texas         77078
KIPP SA Camino                                    5902               4343 W Commerce St.                                              San Antonio      Texas         78237
KIPP SA Esperanza                                 5903               239 Stark St                                                     San Antonio      Texas         78204
KIPP SA Poder                                     5904               128 S Audubon Dr                                                 San Antonio      Texas         78212
KIPP SA UN Mundo                                  5905               4343 W Commerce St                                               San Antonio      Texas         78237
KIPP SA University Prep                           5906               239 Stark St                                                     San Antonio      Texas         78204
Kirby Hall School Austin                          3059               306 West 29th Street                                             Austin           Texas         78705
Kirk Academy Grenada                              8068               2621 Carrollton Road                                             Grenada          Mississippi   38902
Lakeland Christian Academy Lewisville             2707               397 South Stemmons Freeway                                       Lewisville       Texas         75067
Lamp Montgomery                                   9649               215 Hall Street                                                  Montgomery       Alabama       36104
Lee Academy Clarksdale                            8057               415 Lee Drive                                                    Clarksdale       Mississippi   38614
Legacy Christian Academy Beaumont                 1403               190 E. Circuit                                                   Beaumont         Texas         77706
Legacy Christian Academy Elementary San Antonio   3128               2255 Horal                                                       San Antonio      Texas         78227
Legacy Christian Academy Hs San Antonio           3808               2255 Horal                                                       San Antonio      Texas         78227
Legacy Montessori Academy Frisco                  2745               10310 Legacy Drive                                               Frisco           Texas         75033
Lexington Catholic High School Lexington          7216               2250 Clays Mill Road                                             Lexington        Kentucky      40503
Lexington Latin School Lexington                  7176               483 W. Reynolds Road                                             Lexington        Kentucky      40503
Life Preparatory Academy Wichita                  4131               3841 North Meridian                                              Wichita          Kansas        67204
Life School Cedar Hill                            5017               129 W. Wintergreen                                               Cedar Hill       Texas         75104
Life School Dallas                                2522               4400 South R.L. Thornton                                         Dallas           Texas         75224
Life School Lancaster                             5016               950 S. I 35e                                                     Lancaster        Texas         75146
Life School Waxahachie                            5018               3295 N. Hwy 77                                                   Waxahachie       Texas         75165
Life School Mountain Creek                        5091               5525 West Illonis Avenue                                         Dallas           Texas         72511
Life School Red Oak                               5015               777 S.I35e                                                       Red Oak          Texas         75154
Life School-Oak Cliff Campus Dallas               5014               4400 S. Rl Thornton                                              Dallas           Texas         75224
Lighthouse Christian Academy Millington           7187               3670 Shelby Rd.                                                  Millington       Tennessee     38053
Lipscomb Academy Nashville                        7130               3901 Granny White Pike                                           Nashville        Tennessee     37204
Little Flower Catholic School San Antonio         3816               905 Kentucky Avenue                                              San Antonio      Texas         78201
Little Flower Primary Catholic Scho Memphis       7181               1666 Jackson Av.                                                 Memphis          Tennessee     38107
Living Water Christian School Rosenberg           1449               4808 Airport Avenue                                              Rosenberg        Texas         77471
Loganville Christian Academy Lawrenceville        9081               2575 Highway 81                                                  Lawrenceville    Georgia       30052
Lords Tabernacle Christian Academy                                   2822 Midland Avenue                                              Memphis          Tennessee     38111
Louisville Collegiate School Louisville           7086               2427 Glenmary Avenue                                             Louisville       Kentucky      40204
Loving Care Private School Houston                1439               5301 Anzio                                                       Houston          Texas         77033
Lucas Christian Academy Lucas                     2715               505 West Lucas                                                   Lucas            Texas         75002
Lutheran High North Houston                       1352               1130 West 34th Street                                            Houston          Texas         77018
Lutheran High School San Antonio                  3855               18104 Babcock Rd.                                                San Antonio      Texas         78255
Lutheran South Academy, Houston                   1410               12555 Ryewater Dr.                                               Houston          Texas         77089
MA Evans Macon                                    9089               345 Edwards Avenue                                               Macon            Georgia       31204
Macon East Academy Cecil                          9314               15396 Vaughn Road                                                Cecil            Alabama       36013
Macon Road Baptist School Arlington               487                11015 Highway 64                                                 Arlington        Tennessee     38002
Madison Ridgeland Academy Madison                 8089               7601 Old Canton Road                                             Madison          Mississippi   39110
Madkin-Gray Academy Houston                       1257               8320 West Airport Blvd.                                          Houston          Texas         77071
Magdalen Catholic School Wichita                  4001               2221 N. 121st E                                                  Wichita          Kansas        67226
Magnolia Heights Senatobia                        7126               One Chiefs Drive                                                 Senatobia        Mississippi   38668
Mainland Preparatory Classical Acad, Lamarque     1280               319 Newman Road                                                  Lamarque         Texas         77568
Manchester Academy Yazoo City                     8056               2132 Gordan Avenue                                               Yazoo City       Mississippi   39194
Marist School Atlanta                             9094               3790 Ashford Dunwoody Road                                       Atlanta          Georgia       30319
Marquette School Tulsa                            519                1519 S. Quincy                                                   Tulsa            Oklahoma      74120
Mars Hill Academy Mason                           7107               4230 Aero Dr                                                     Mason            Ohio          45040
Marsh Preparatory Dallas                          2800               3838 Crown Shore Dr                                              Dallas           Texas         75244
Mary Help Of Christians School Laredo             3836               10 East Del Mar Blvd.                                            Laredo           Texas         78045
Mary Immaculate Farmers Branch                    2013               14032 Dennis Lane                                                Farmers Branch   Texas         75234
Mary Queen Of The Holy Rosary Sch Lexington       7229               605 Hill N Dale Road                                             Lexington        Kentucky      40503
Maynard H Jackson High School Atlanta             5215               801 Glenwood Ave. Se                                             Atlanta          Georgia       30312
McKinney Christen Academy                                            3601 Bois D Arc Rd                                               McKinney         Texas         75071
Meadow Oaks Academy Mesquite                      2461               1412 S Belt Line Road                                            Mesquite         Texas         75149
Melanies Private School Dallas                    2501               1010 W. Keist Blvd.                                              Dallas           Texas         75224
Memorial Christian Academy Killeen                3163               4001 Trimmier Road                                               Killeen          Texas         76542
Memorial Lutheran Chapel School St Augustine      9488               3375 Us 1 South                                                  St. Augustine    Florida       32086
Memorial Lutheran School Houston                  1314               5800 Westheimer                                                  Houston          Texas         77057
Memphis Academy Of Health Sciences Memphis        5308               3608 Hawkins Mill Road                                           Memphis          Tennessee     38128
Memphis Business Academy Memphis                  5306               2450 Frayser Blvd                                                Memphis          Tennessee     38127
Memphis Business Academy Memphis - DO NOT USE     7160               2450 Frayser Blvd                                                Memphis          Tennessee     38127
Memphis Catholic Memphis                          7231               61 North Mclean Blvd                                             Memphis          Tennessee     38104
Memphis Grizzlies Preparatory Memphis             5301               168 Jefferson Street                                             Memphis          Tennessee     38103
Mercy Academy Louisville                          7002               5801 Fegenbush                                                   Louisville       Kentucky      40228
Merrol Hyde Magnet School Hendersonville          7159               128 Township Dr                                                  Hendersonville   Tennessee     37075
Mesorah High School Dallas                        2169               12712 Park Central               Ste B-190                       Dallas           Texas         75225
Messiah Lutheran School Oklahoma City             4150               3600 Nw Expressway                                               Oklahoma City    Oklahoma      73112
Mill Springs Academy Alpharetta                   9096               13660 New Providence Road                                        Alpharetta       Georgia       30004
Minaret Academy Anaheim                           6407               1220 N State College Blvd                                        Anaheim          California    92806
Monarch Early Childhood Academy Houston           2009               4920 Cullen                                                      Houston          Texas         77004
Monsignor Kelly High School Beaumont              1263               5950 Kelly Drive                                                 Beaumont         Texas         77707-3599
Montessori Learning Cottage Houston               1311               8644 Beverly Hill                                                Houston          Texas         77063
Montessori School At Starcreek Allen              2737               915 Ridgeview Drive                                              Allen            Texas         75013
Montessori School Of North Dallas Dallas          2729               18303 Davenport                                                  Dallas           Texas         75252
Montgomery Academy Montgomery                     9130               3240 Vaughn Road                                                 Montgomery       Alabama       36106
Montgomery Adventist School Montgomery            9591               4233 Atlanta Hwy                                                 Montgomery       Alabama       36109
Morgan Academy Selma                              9422               2901 W. Dallas Avenue                                            Selma            Alabama       36701
Most Precious Blood Corpus Christi                3105               3502 Saratoga                                                    Corpus Christi   Texas         78415
Mother Goose Christian Academy Jackson            8042               6543 Watkins Drive                                               Jackson          Mississippi   39213
Mount Pisgah Christian School Johns Creek         9098               9820 Nesbit Ferry Road                                           Johns Creek      Georgia       30022
Mount Saint Mary Oklahoma City                    4162               2801 S. Shartel                                                  Oklahoma City    Oklahoma      73109-2299
Mount St Michael Catholic School Dallas           2455               4500 West Davis                                                  Dallas           Texas         75211
Mount Vernon Presbyterian School Atlanta          9100               510 Mt. Vernon Highway                                           Atlanta          Georgia       30328
Mt Bethel Christian Academy Marietta              9184               4385 Lower Roswell Road                                          Marietta         Georgia       30068
Mt Carmel Academy Houston                         390                7155 Ashburn Street                                              Houston          Texas         77061
Mt. Pisgah Christian School                                          9820 Nesbit Ferry Rd                                             John's Creek     Georgia
mt. veron presbyterian                                               471 mt veron hwy                                                 atlanta          Georgia       30328
Nashville Academy Of Computer Scien Nashville     5049               3230 Brick Church Pike                                           Nashville        Tennessee     37207
Nashville Christian School Nashville              7131               7555 Sawyer Brown Rd                                             Nashville        Tennessee     37221
Nativity Parish School Leawood                    4307               3700 W. 119th Street                                             Leawood          Kansas        66209
New Fountain Montessori Children Sc Arlington     2930               7709 Yearling Dr.                                                Arlington        Texas         76002
New Horizon School Irvine                         6408               1 Truman Street                                                  Irvine           California    92620
New Jerusalem Christian School                    3922               5708 Old Canton Road                                             Jackson          Mississippi   39211
                                   Case 18-10085-CSS
           In re Parker School Uniforms, LLC
                                                                                  Doc 3                Filed 01/12/18                    Page 126 of 134
           Schedule G - #2.2 - customer contracts



                            Name                           School ID                 Address 1                           Address 2                  City          State    Zip Code
New Life Christian Dallas                           2134               2626 Gus Thomasson                                                  Dallas           Texas         75228
New Millennium Montessori School Missouri City      1461               2200 Fm 1092 Rd                                                     Missouri City    Texas         77459
New Summit School Jackson                           8073               1417 Lelia Dr.                                                      Jackson          Mississippi   39216
New Vision Christian Academy Dallas                 2519               4710 W. Illinois Avenue                                             Dallas           Texas         75211
Newbury Park Adventist Newbury Park                 6618               180 Academy Drive                                                   Newbury Park     California    91320
Newman International Academy Of Arl Arlington       5055               2011 South Fielder Rd.                                              Arlington        Texas         76013
Newton Community Childrens Choir Newton             4010               Po Box 682                        Attn: Carmen Weller, Director     Newton           Kansas        67114
Nichols Hills Elementary School-Ps Oklahoma City    4120               1301 West Wilshire                                                  Oklahoma City    Oklahoma      73116
Nolan Catholic High School Ft Worth                 369                4501 Bridge St.                                                     Ft. Worth        Texas         76103
North Central Texas Academy Granbury                2932               3846 N. Hwy 144                                                     Granbury         Texas         76048
North Hills Preparatory Irving                      2130               606 East Royal Lane                                                 Irving           Texas         75039
North New Summit School Greenwood                   8072               1203 John A. Pittman Dr.                                            Greenwood        Mississippi   38930
North Texas Christian Academy Mckinney              2749               3201 North Central Expressway                                       Mckinney         Texas         75071
Northern Michigan Christian Academy Burt Lake       9293               1833 Mcmichael Road                                                 Burt Lake        Michigan      49717
Northwoods Catholic School Spring                   1319               5500 Fm 2920                                                        Spring           Texas         77388
Notre Dame Academy Duluth                           9315               4635 River Green Parkway                                            Duluth           Georgia       30096
Notre Dame Elementary Wichita Falls                 307                4060 York                                                           Wichita Falls    Texas         76309
Notre Dame High School Wichita Falls                308                2821 Lansing Blvd.                                                  Wichita Falls    Texas         76309
Notre Dame School Kerrville                         228                923 Main St.                                                        Kerrville        Texas         78028
Oklahoma City Christian Academy Moore               4076               408 Century Dr.                                                     Moore            Oklahoma      73160
Old Suwanee Christian School Buford                 9154               4118 Old Suwanee Road                                               Buford           Georgia       30518
Opportunity Academy Antioch                         5058               5432 Bell Forge Lane East                                           Antioch          Tennessee     37013
Orangewood Academy Garden Grove                     6410               13732 Clinton Avenue                                                Garden Grove     California    92843
Our Lady Of Fatima Galena Park                      384                1702 9th St.                                                        Galena Park      Texas         77547
Our Lady Of Fatima Texas City                       1477               1600 Ninth Avenue North                                             Texas City       Texas         77590
Our Lady Of Guadalupe Houston                       1294               2405 Navigation Blvd.                                               Houston          Texas         77003
Our Lady Of Guadalupe Laredo                        263                400 Callagan St.                                                    Laredo           Texas         78040
Our Lady Of Guadalupe Academy Calexico              6211               535 Rockwood Avenue                                                 Calexico         California    92231
Our Lady Of Lourdes Hitchcock                       207                P.O. Box 557                      10114 Highway 6                   Hitchcock        Texas         77563
Our Lady Of Mt Carmel Elementary Houston            386                6703 Whitefriars                                                    Houston          Texas         77087
Our Lady Of Perpetual Help Dallas                   2062               7625 Cortland Ave.                                                  Dallas           Texas         75235
Our Lady Of Perpetual Help Academy Corpus Christi   261                5814 Williams                                                       Corpus Christi   Texas         78412
Our Lady Of Refuge School Eagle Pass                216                577 Washington                                                      Eagle Pass       Texas         78852
Our Lady Of Sorrows Mcallen                         3005               1100 Gumwood                                                        Mcallen          Texas         78501
Our Lady Of The Assumption Atlanta                  9109               1320 Hearst Drive Ne                                                Atlanta          Georgia       30319
Our Lady Of The Assumption School San Bernardino    6303               796 West 48th Street                                                San Bernardino   California    92407
Our Lady Of The Presentation Lees Summit            4320               150 Nw Murray Road                                                  Lees Summit      Missouri      64081
Our Lady Of Victory Ft Worth                        328                3320 Hemphill                                                       Ft. Worth        Texas         76110
Our Lady Of Victory Victoria                        1407               1311 E. Mesquite                                                    Victoria         Texas         77901
Our Lady Queen Of Heaven Lake Charles               1436               3908 Creole St                                                      Lake Charles     Louisiana     70605
Our Mother Of Mercy Beaumont                        272                3390 Sarah                                                          Beaumont         Texas         77705
Our Mother Of Mercy Ft Worth                        2124               1009 E. Terrel St.                                                  Ft. Worth        Texas         76104
Our Redeemer Lutheran School Dallas                 2109               7611 Park Lane                                                      Dallas           Texas         75225
Our Savior Lutheran Houston                         1339               5000 W. Tidwell                                                     Houston          Texas         77091
Our Saviors Lutheran School San Clemente            6113               200 E. San Pablo                                                    San Clemente     California    92672
Overbrook School                                    3909               4210 Harding Pike                                                   Nashville        Tennessee     37205
Ovilla Christian School Ovilla                      5072               3251 Ovilla Rd.                                                     Ovilla           Texas         75154
Oxford University School Oxford                     8078               200 OUS DR                                                          Oxford           Mississippi   38655
Paddington British Preschool And K The Woodlands    1191               2010 Sawdust Road                                                   The Woodlands    Texas         77380
Pantego Christian Academy K-5 Arlington             2921               2201 West Park Row                                                  Arlington        Texas         76013
Park Crossing Montgomery                            9652               8000 Park Crossing                                                  Montgomery       Alabama       36117
Park Place Christian Academy Pearl                  8108               201 Park Place Drive                                                Pearl            Mississippi   39208
Parker Kentucky Misc Account Lexibgton              75                 408 Southland Dr                                                    Lexibgton        Kentucky      40203
Pasadena Classical Academy Pasadena                 1466               6109 Fairmont Parkway                                               Pasadena         Texas         77505
Pasadena Misc Account San Clemente                  66                 971 Calle Negocio                                                   San Clemente     California    92673
Perimeter Christian School Duluth                   9115               9500 Medlock Bridge Road                                            Duluth           Georgia       30097
Pershing Middle School Houston                      1460               3838 Blue Bonnet Boulevard                                          Houston          Texas         77025
Pharr San Juan Alamo Isd Pharr                      3415               804 E Hwy 83                                                        Pharr            Texas         78577
Pilgrim Lutheran Houston                            1328               8601 Chimney Rock                                                   Houston          Texas         77096
Pillow Academy Greenwood                            8054               69601 Hwy. 82 West                                                  Greenwood        Mississippi   38930-5060
Pioneer Technology And Arts Academy Mesquite        2476               1412 S. Beltline Road                                               Mesquite         Texas
Pleasant View School Memphis                        7188               1888 N.Bartlett Rd.                                                 Memphis          Tennessee     38134
Plymouth Christian School Grand Rapids              7211               965 Plymouth Ne                                                     Grand Rapids     Michigan      49505
Pope John Paul II Hendersonville                    7085               117 Caldwell Lane                                                   Hendersonville   Tennessee     37075
Post Oak Miscellaneous Account Houston              1                  1110 N. Post Oak #140                                               Houston          Texas         77055
Prattville Christian Academy                        New School 2017    322 Old Farm Lane North                                             Prattville       Alabama       36066
Presbyterian Christian School Hattiesburg           8058               103 Wsf Tatum Drive                                                 Hattiesburg      Mississippi   39401
Presbyterian Christian School Hattiesburg                              103 wsf tatum blvd                                                  Hattiesburg      Mississippi   39401
Presbyterian Day School Clarksdale                  8077               944 Catalpa St.                                                     Clarksdale       Mississippi   38614
Presbyterian Day School Kosciusko                   8100               603 Smythe Street                                                   Kosciusko        Mississippi   39090
Presbyterian Day School - Cleveland                 8069               1100 Hwy 8 W                                                        Cleveland        Mississippi   38732
Preston Creek Montessori Plano                      2736               5040 Commonsgate Blvd.                                              Plano            Texas         75024
Preston Hollow Presbyterian School Dallas           2146               9800 Preston Rd.                                                    Dallas           Texas         75230
Princess Dianas Boys And Girls Acad Missouri City   1446               3402 Cartwright                                                     Missouri City    Texas         77459
Providence Academy Rowlett                          2460               5700 Mark Lane                                                      Rowlett          Texas         75088
Providence Catholic School San Antonio              3823               1215 North St.Mary\'s St.                                           San Antonio      Texas         78215
Providence Christian Academy Murfreesboro           7226               410 Dejarnette Lane                                                 Murfreesboro     Tennessee     37130
Providence Christian School Dallas                  2170               5040 W. Lovers Lane                                                 Dallas           Texas         75209
Public School Sugar Land                            1433               4630 Hwy 6                                                          Sugar Land       Texas         77478
Public Schools Jackson                              7162               1147 Rushmeade Rd                                                   Jackson          Tennessee     38305
Public Schools San Antonio                          3858               2108 Nw Military Hwy                                                San Antonio      Texas         78213
Public Schools-Dfw Metroplex Dfw                    2222               Ever Street                                                         Dfw              Texas
Queen Of Peace Houston                              378                2320 Oakcliff                                                       Houston          Texas         77023
Redeemer Day School Atlanta                         9627               1266 West Paces Ferry Road                                          Atlanta          Georgia       30327
Redeemer Episcopal Eagle Pass                       200                648 Madison                                                         Eagle Pass       Texas         78852
Redeemer Lutheran School Austin                     3211               1500 W. Anderson Lane                                               Austin           Texas         78757
Regents School Of Austin Austin                     3109               3230 Travis County Circle                                           Austin           Texas         78735
Regents School Of Oxford Oxford                     8105               14 Cr 130                                                           Oxford           Mississippi   38655
Reimagine Prep Jackson                              5900               309 West Mcdowell Road                                              Jackson          Mississippi   39204
Renaissance Academy - La Marque Isd La Marque       1452               1727 Bayou Road                                                     La Marque        Texas         77568
Resurrection Catholic School Memphis                7193               3572 Emerald St                                                     Memphis          Tennessee     38115
Resurrection Catholic School Montgomery             9589               2815 Forbes Drive                                                   Montgomery       Alabama       36110
Resurrection Catholic School Wichita                4026               4910 N. Woodlawn                                                    Wichita          Kansas        67220
Resurrection School Houston                         1293               916 Majestic                                                        Houston          Texas         77020
Ridgeview Middle School Atlanta                     9378               5340 S Trimble Road Ne                                              Atlanta          Georgia       30342
Right Way Christian Academy Houston                 1406               661 Aldine Mail Road                                                Houston          Texas         77037
River City Believers Academy Selma                  3866               16765 Lookout Road                                                  Selma            Texas         78154
Rock Springs Christian Academy Milner               9609               219 Rock Springs Road                                               Milner           Georgia       30257
Rodney Tester                                                          3704 Banyan Wood Way                                                Pearland         Texas         77584
Rolling Hills Catholic School San Antonio           3818               21240 Gathering Oak                                                 San Antonio      Texas         78260
Romar Academy East Point                            9124               2148 Newnan Street                                                  East Point       Georgia       30344
Ron Clark Academy Atlanta                           9439               228 Margaret Street Se                                              Atlanta          Georgia       30315
Rosa Parks Elementary School Choir Lancaster        2463               630 Millbrook Lane                                                  Lancaster        Texas         75146
Rosary School Oklahoma City                         505                1919 N.W. 19th                                                      Oklahoma City    Oklahoma      73106
Rosehill Christian School Tomball                   1182               19830 Fm 2920                                                       Tomball          Texas         77377
Royal Point Academy San Antonio                     3838               9965 Kriewald Rd.                                                   San Antonio      Texas         78245
Sacred Heart Floresville                            3828               1007 Trail Street                                                   Floresville      Texas         78114
Sacred Heart Shawnee                                4310               21801 Johnson Drive                                                 Shawnee          Kansas        66218
Sacred Heart Academy Louisville                     7150               3175 Lexington Road                                                 Louisville       Kentucky      40206
Sacred Heart Academy Redlands                       6310               215 S. Eureka Street                                                Redlands         California    92373
Sacred Heart Cathedral Catholic Dodge City          4194               905 Central                                                         Dodge City       Kansas        67801
                                   Case 18-10085-CSS                           Doc 3              Filed 01/12/18      Page 127 of 134
           In re Parker School Uniforms, LLC
           Schedule G - #2.2 - customer contracts



                            Name                        School ID                 Address 1               Address 2              City          State    Zip Code
Sacred Heart Catholic Rockport                       280            111 N. Church St.                                   Rockport         Texas         78382
Sacred Heart Catholic School Arkansas City           4047           312 South B Street                                  Arkansas City    Kansas        67005
Sacred Heart Catholic School Muenster                2452           P O Box 588                                         Muenster         Texas         76252
Sacred Heart Catholic School Ness City               4149           510 South School                                    Ness City        Kansas        67560
Sacred Heart Jr And Sr High Salina                   4096           234 E. Cloud                                        Salina           Kansas        67401
Sacred Heart Model School Louisville                 7151           3107 Lexington Road                                 Louisville       Kentucky      40206
Sacred Heart School Conroe                           259            615 Mcdade                                          Conroe           Texas         77301
Sacred Heart School Crosby                           1194           907 Runneburg Road                                  Crosby           Texas         77532
Saint Ann School Nashville                           7140           5105 Charlotte Pike                                 Nashville        Tennessee     37209
Saint Catherine Of Siena, Laguna Beach               6102           30516 Pacific Coast Hwy                             Laguna Beach     California    92651
Saint James School Montgomery                        9632           6010 Vaughn Road                                    Montgomery       Alabama       36116
Saint Joseph Regional Catholic School                209            1811 Carolina                                       Baytown          Texas         77520
Saint Marys Hall San Antonio                         3863           9401 Starcrest Drive                                San Antonio      Texas         78217
Saint Michael Episcopal School Dallas                2179           8011 Douglas @ Colgate                              Dallas           Texas         75225-0385
Salem Lutheran School Tomball                        1278           22601 Lutheran Church Rd                            Tomball          Texas         77377
San Martin De Porres School Weslaco                  3400           905 N.Texas Blvd.                                   Weslaco          Texas         78596
Sandy Springs - Misc Atlanta                         41             6311 Roswell Road                                   Atlanta          Georgia       30328
Santa Clara Of Assisi School Dallas                  5065           321 Calumet Ave                                     Dallas           Texas         75211
Santa Cruz Catholic School Buda                      3196           1100 Main Street                                    Buda             Texas         78610
Sapientia Montessori Cedar Park                      3193           1220 Cottonwood Creek Trail                         Cedar Park       Texas         78613
Sayers Classical Academy Louisville                  7079           7709 Bardstown Rd                                   Louisville       Kentucky      40291
School - Test, TX                                                   1234 Main St                                        Austin           Texas         78731
School Of Wonder Laredo                              3038           403 Lindenwood                                      Laredo           Texas         78041
Scofield Christian School Dallas                     2464           7730 Abrams                                         Dallas           Texas         75231
Seeds Of Faith Christian Academy Atlanta             9133           1581 Fairburn Road Sw                               Atlanta          Georgia       30331
Sharkey Issaquena Academy Rolling Fork               8097           272 Academy Drive                                   Rolling Fork     Mississippi   39159
Shelton School Dallas                                2126           6757 Arapaho Road                                   Dallas           Texas         75248
Shlenker School Houston                              1244           5600 North Braeswood                                Houston          Texas         77096
Sienna Lutheran Academy Missouri City                1450           770 Waters Lake Blvd.                               Missouri City    Texas         77459
Silverline Montessori School Pearland                1462           2080 Reflection Bay Dr                              Pearland         Texas         77584
Simi Valley Adventist School Simi Valley             6628           1636 Sinaloa Rd                                     Simi Valley      California    93065
Skagit Adventist Academy Burlington                  6120           530 N Section Street                                Burlington       Washington    98233
Smaller Scholars Gilbert                             1465           1675 W. Guadalupe Rd.                               Gilbert          Arizona       85233
Smaller Scholars Houston                             1322           1685 Dairy Ashford                                  Houston          Texas         77077
Smilow Prep Jackson                                  5220           787 East Northside Drive                            Jackson          Mississippi   39206
Soulsville Charter School Memphis                    5305           1115 College Street                                 Memphis          Tennessee     38106
South Texas Christian Academy Mcallen                3413           7001 N Ware Rd                                      Mcallen          Texas         78504
Southern College Of Optometry Memphis                7179           1245 Madison Ave                                    Memphis          Tennessee     38104
Southlands Christian School Walnut                   6413           1920 Brea Canyon Cut Off Rd                         Walnut           California    91789
Southwest Atlanta Christian Academy Atlanta          9136           3911 Campbellton Road Sw                            Atlanta          Georgia       30331
Southwest Christian Academy Houston                  1432           7400 Eldridge                                       Houston          Texas         77083
Southwest Christian School Fort Worth                2937           6901 Altamesa Blvd                                  Fort Worth       Texas         76123
St Agnes Academy Houston                             1252           9000 Bellaire Blvd.                                 Houston          Texas         77036
St Agnes Academy Memphis                             480            4830 Walnut Grove                                   Memphis          Tennessee     38117
St Albans Episcopal School Harlingen                 3097           1417 Austin Avenue                                  Harlingen        Texas         78550
St Ambrose Catholic School, Houston                  1291           4213 Mangum Road                                    Houston          Texas         77092
St Andrew Catholic School Ft Worth                   2103           3304 Dryden Rd.                                     Ft. Worth        Texas         76109
St Andrew Catholic School Independence               4023           215 N. Park                                         Independence     Kansas        67301
St Anne Catholic School Wichita                      4154           1121 Regal                                          Wichita          Kansas        67217
St Anne Catholic School, Beaumont                    246            375 N. 11th St.                                     Beaumont         Texas         77702
St Anne Highland Catholic School Memphis             7127           670 S. Highland Avenue                              Memphis          Tennessee     38111
St Anthony Cathedral School Beaumont                 1336           850 Forsythe                                        Beaumont         Texas         77701
St Anthony Catholic School Madison                   8082           1585 Mannsdale Road                                 Madison          Mississippi   39110
St Anthony Day Care San Antonio                      3843           1707 Centennial                                     San Antonio      Texas         78211
St Anthony of Padua Catholic School, The Woodlands   1260           7901 Bay Branch Drive                               The Woodlands    Texas         77382
St Anthony Of Padua Spiritwear The Woodlands         1471           7901 Bay Branch Dr                                  The Woodlands    Texas         77382
St Anthony School Harlingen                          143            1015 E. Harrison                                    Harlingen        Texas         78550
St Augustine Elementary Laredo                       3004           1300 Galveston                                      Laredo           Texas         78040
St Augustine High School Laredo                      208            1300 Galveston                                      Laredo           Texas         78040
St Augustine School Houston                          396            5500 Laurel Creek                                   Houston          Texas         77017
St Catherine Academy Anaheim                         6412           215 N. Harbor Blvd                                  Anaheim          California    92805
St Catherine Of Alexandria Riverside                 6307           7005 Brockton Avenue                                Riverside        California    92506
St Catherine Of Siena Catholic Sch Wichita           4187           3636 N. Ridge Road                                  Wichita          Kansas        67205
St Catherine School Port Arthur                      1335           3840 Woodrow Drive                                  Port Arthur      Texas         77642
St Cecilia Academy Nashville                         7038           4210 Harding Road                                   Nashville        Tennessee     37205
St Cecilia Catholic School Haysville                 4043           1900 W. Grand Ave.                                  Haysville        Kansas        67060
St Cecilia School Dallas                             454            635 Mary Cliff                                      Dallas           Texas         75208
St Charles Borromeo Oklahoma City                    4057           5000 North Grove                                    Oklahoma City    Oklahoma      73122
St Christophers School Houston                       557            8134 Park Place Blvd.                               Houston          Texas         77017
St Clare Of Assisi Houston                           1193           3131 El Dorado Blvd.                                Houston          Texas         77059-5100
St Columba San Diego                                 6205           3365 Glencolum Drive                                San Diego        California    92123
St Dominic Savio Catholic High Sch Austin            3207           9300 Neenah Avenue                                  Austin           Texas         78717
St Dominic School Garden City                        4090           617 Jc Street                                       Garden City      Kansas        67846
St Edward School, Spring                             226            2601 Spring Stuebner                                Spring           Texas         77389
St Elizabeth Ann Seton Wichita                       521            645 N. 119th St. West                               Wichita          Kansas        67235
St Elizabeth Ann Seton School Keller                 2902           2016 Willis Lane                                    Keller           Texas         76248
St Elizabeth Catholic School Clarksdale              8067           150 Florence Avenue                                 Clarksdale       Mississippi   38614
St Elizabeth School Alice                            262            615 E. 5th St.                                      Alice            Texas         78332
St Eugene Catholic School Oklahoma City              4072           2400 West Hefner Road                               Oklahoma City    Oklahoma      73120
St Francis De Sales Houston                          1282           8100 Roos                                           Houston          Texas         77036
St Francis Episcopal School, Houston                 1226           335 Piney Point Road                                Houston          Texas         77024
St Francis Of Assisi Houston                         393            5100 Dabney St.                                     Houston          Texas         77026
St Francis Of Assisi Vista                           6216           1525 W. Vista Way                                   Vista            California    92083
St Francis Of Assisi Catholic Wichita                514            853 N. Socora                                       Wichita          Kansas        67212
St Francis Of Assisi School Greenwood                8081           2613 Highway 82 East                                Greenwood        Mississippi   38930
St Francis Schools Roswell                           9140           9375 Willeo Road                                    Roswell          Georgia       30075
St Gabriels Catholic School Austin                   3142           2500 Wimberly Lane                                  Austin           Texas         78735
St George Episcopal School San Antonio               3135           6900 West Avenue                                    San Antonio      Texas         78213
St George School Ontario                             6309           322 West \'D\' Street                               Ontario          California    91762
St Gerard Catholic School San Antonio                3826           521 South New Braunfels                             San Antonio      Texas         78203
St Gregory The Great School San Diego                6217           15315 Stonebridge Pkwy                              San Diego        California    92131
St Helen School Pearland                             1212           2209 Old Alvin Road                                 Pearland         Texas         77581
St Henry School Nashville                            7194           6401 Harding Pike                                   Nashville        Tennessee     37205
St Hyacinth Academy San Jacinto                      6301           275 S Victoria Avenue                               San Jacinto      California    92583
St Ignatius Martyr Catholic School Austin            3086           120 West Oltorf Street                              Austin           Texas         78704
St James Catholic School Augusta                     558            1010 Belmont Ave.                                   Augusta          Kansas        67010
St James Catholic School Seguin                      3867           507 S. Camp St                                      Seguin           Texas         78155
St James Episcopal Corpus Christi                    1375           602 S Carancahua                                    Corpus Christi   Texas         78401
St James Episcopal School Corpus Christi             3139           602 S. Carancahua                                   Corpus Christi   Texas         78401
St James Episcopal School Del Rio                    3819           P.O. Box 1129                                       Del Rio          Texas         78841
St James School Davis                                6505           1215 B Street                                       Davis            California    95616
St John Berchman School San Antonio                  3801           1147 Cupples Road                                   San Antonio      Texas         78226
St John Catholic School Beloit                       4148           209 Cherry                                          Beloit           Kansas        67420
St John Evangelist Cath School Hapeville             9141           240 Arnold Street                                   Hapeville        Georgia       30354
St John School Georgetown                            7219           106 Military Street                                 Georgetown       Kentucky      40324
St John The Apostle Ft Worth                         438            7421 Glenview Dr.                                   Ft. Worth        Texas         76180
St John Vianney Catholic School Gallatin             7234           501 N.Water Avenue                                  Gallatin         Tennessee     37066
St Johns Episcopal School Dallas                     2100           848 Harter Road                                     Dallas           Texas         75218
St Joseph Catholic School Arlington                  2094           2015 Green Oaks Blvd.                               Arlington        Texas         76017
St Joseph Catholic School Macon                      9146           905 High Street                                     Macon            Georgia       31201
St Joseph Catholic School Madison                    8074           308 New Mannsdale Rd.                               Madison          Mississippi   39110
                                    Case 18-10085-CSS                           Doc 3               Filed 01/12/18               Page 128 of 134
            In re Parker School Uniforms, LLC
            Schedule G - #2.2 - customer contracts



                             Name                        School ID                Address 1                          Address 2              City               State    Zip Code
St Joseph Catholic School Madison TN                  7202           1225 Gallatin Pike South                                      Madison               Tennessee     37115
St Joseph Catholic School Mcpherson                   4151           520 E. Northview                                              Mcpherson             Kansas        67460
St Joseph Catholic School Memphis                     7225           3825 Neely Road                                               Memphis               Tennessee     38109
St Joseph Catholic School - Edinburg                  3009           119 W Fay                                                     Edinburg              Texas         78539
St Joseph Catholic School - Ost Ks Mt Hope            4164           12917 E. Maple Grove                                          Mt. Hope              Kansas        67108
St Joseph School Alice                                249            311 Dewey Avenue                                              Alice                 Texas         78332
St Joseph School Shawnee                              4309           11505 Johnson Drive                                           Shawnee               Kansas        66203
St Joseph School Wichita                              4019           139 S. Millwood                                               Wichita               Kansas        67213
St Joseph School Catholic School Conway Springs       4049           218 N. Fifth                                                  Conway Springs        Kansas        67031
St Josephs Academy Brownsville                        3108           101 St. Joseph Drive                                          Brownsville           Texas         78520
St Josephs Catholic School Killeen                    3081           2901 East Rancier                                             Killeen               Texas         76543
St Josephs Catholic School Enid                       4137           110 N Madison                                                 Enid                  Oklahoma      73701
St Jude School Catholic School Wichita                518            3130 Amidon                                                   Wichita               Kansas        67204
St Jude The Apostle School Atlanta                    9147           7171 Glenridge Drive                                          Atlanta               Georgia       30328
St Laurence School, Sugar Land                        1215           2630 Austin Parkway                                           Sugar Land            Texas         77479
St Leo Catholic School Versailles                     7218           255 Huntertown Rd                                             Versailles            Kentucky      40383
St Leo The Great Catholic School San Antonio          3861           119 Octavia Place                                             San Antonio           Texas         78214
St Louis Catholic School Austin                       211            2114 St. Joseph Boulevard                                     Austin                Texas         78757
St Louis Catholic School Castroville                  3815           610 Madrid                                                    Castroville           Texas         78009
St Louis Catholic School Waco                         2421           2208 N.23rd Street                                            Waco                  Texas         76708
St Louis High School Lake Charles                     1444           1620 Bank St                                                  Lake Charles          Louisiana     70601-6298
St Lukes Catholic San Antonio                         3864           4603 Manitou                                                  San Antonio           Texas         78228
St Lukes Catholic School Brownsville                  3113           2850 Price Rd                                                 Brownsville           Texas         78521
St Lukes Episcopal School San Antonio                 3096           15 St. Luke`s Lane                                            San Antonio           Texas         78209
St Margaret Mary Catholic School Wichita              4000           2635 Pattie                                                   Wichita               Kansas        67216
St Maria Goretti Catholic School Arlington            2152           1200 S.Davis Dr                                               Arlington             Texas         76013
St Mark Elementary Public Sch Ks Colwich              4116           19001 W.29th North                                            Colwich               Kansas        67030
St Marks Episcopal School Houston                     1207           3816 Bellaire Blvd.                                           Houston               Texas         77025
St Marks Episcopal School, Upland                     6312           330 E. Sixteenth Street                                       Upland                California    91786
St Marks Epsicopal School Downey                      6414           10354 Downey Avenue                                           Downey                California    90241
St Martins Episcopal School Atlanta                   9148           3110 A Ashford Dunwoody Road                                  Atlanta               Georgia       30319
St Mary League City                                   1152           1612 E. Walker                                                League City           Texas         77573
St Mary Catholic Garden City                          4119           503 West St. John Street                                      Garden City           Kansas        67846
St Mary Catholic School Newton                        471            101 E. 9th St.                                                Newton                Kansas        67114
St Mary Grade School Ellis                            4190           605 Monroe St.                                                Ellis                 Kansas        67637
St Mary Of Carmel Dallas                              2508           1716 Singleton Blvd.                                          Dallas                Texas         75212
St Mary Of The Purification Houston                   1283           3002 Rosedale                                                 Houston               Texas         77004
St Mary Parish Catholic School Derby                  553            2300 N. Meadowlark                                            Derby                 Kansas        67037
St Mary School Salina                                 4071           304 East Cloud                                                Salina                Kansas        67401
St Marys Academy St Marys                             559            200 East Mission                                              St. Marys             Kansas        66536
St Marys Catholic Guthrie                             4050           502 East Warner                                               Guthrie               Oklahoma      73044
St Marys Catholic School Brownsville                  3100           1300 Los Ebanos Blvd.                                         Brownsville           Texas         78520
St Marys Catholic School Sherman                      2133           727 S. Travis                                                 Sherman               Texas         75090
St Marys Catholic School Taylor                       3214           520 Washburn Street                                           Taylor                Texas         76574
St Marys Catholic School, Fredericksburg              266            202 S. Orange                                                 Fredericksburg        Texas         78624
St Marys Colgan Pittsburg                             4104           301 E. Ninth                                                  Pittsburg             Kansas        66762
St Marys Episcopal Memphis                            7180           60 Perkins Ext.                                               Memphis               Tennessee     38117
St Marys School Rome                                  9149           401 East 7th Street                                           Rome                  Georgia       30161
St Matthew Catholic School San Antonio                3802           10703 Wurzbach Road                                           San Antonio           Texas         78230
St Matthew School Franklin                            7149           533 Sneed Road W.                                             Franklin              Tennessee     37069
St Michael Catholic School, Houston                                  1833 Sage Road                                                Houston               Texas         77056
St Michael Catholic School, Houston                   1441           1833 Sage Road                                                Houston               Texas         77056
St Michael The Archangel Leawood                      4311           14201 Nall Avenue                                             Leawood               Kansas        66223
St Monica Catholic School Converse                    145            515 North St.                    P.O. Box 429                 Converse              Texas         78109
St Norbert Elementary Orange                          6409           300 E. Taft Avenue                                            Orange                California    92665
St Patrick Corpus Christi                             3046           3350 South Alameda                                            Corpus Christi        Texas         78411
St Patrick Catholic Parsons                           4100           1831 Stevens                                                  Parsons               Kansas        67357
St Patrick Catholic School Chanute                    4139           424 S. Central                                                Chanute               Kansas        66720
St Patrick Catholic School Kingman                    4063           630 Avenue D West                                             Kingman               Kansas        67068
St Patrick Catholic School Wichita                    4168           2023 Arkansas                                                 Wichita               Kansas        67203
St Patricks Day School, Thousand Oaks                 6620           One Church Rd                                                 Thousand Oaks         California    91362
St Paul Catholic School Olathe                        4321           920 S. Honeysuckle                                            Olathe                Kansas        66061
St Paul Christian Academy Nashville                   7105           5033 Hillsboro Pike                                           Nashville             Tennessee     37215
St Paul Lutheran School Ft Worth                      2118           1800 West Freeway                                             Ft. Worth             Texas         76102
St Peter Catholic Schulte Wichita                     4013           11010 Sw Blvd                                                 Wichita               Kansas        67215
St Peter Claver Macon                                 9150           133 Ward Street                                               Macon                 Georgia       31204
St Peter The Apostle Ft Worth                         2078           1201 S. Cherry Lane                                           Ft. Worth             Texas         76108
St Peter The Apostle School Houston                   1243           6220 Lasalette Drive                                          Houston               Texas         77021
St Philip And St Augustine Catholic Dallas            2475           8151 Military Parkway                                         Dallas                Texas         75227
St Philip Catholic Schoo El Campo                     1378           302 W Church                                                  El Campo              Texas         77437
St Philips Episcopal School Frisco                    2741           6400 Stonebrook Pkwy                                          Frisco                Texas         75034
St Philips School And Community Ct Dallas             2422           1600 Pennsylvania                                             Dallas                Texas         75215
St Pius V Catholic Pasadena                           1379           812 S Main                                                    Pasadena              Texas         77506
St Pius X Catholic School San Antonio                 3853           7734 Robin Rest                                               San Antonio           Texas         78209
St Pius X School Chula Vista                          6218           37 East Emerson Street                                        Chula Vista           California    91911
St Pius X School Corpus Christi                       225            747 St. Pius Dr.                                              Corpus Christi        Texas         78412
St Pius X School Dallas                               2352           3030 Gus Thomasson                                            Dallas                Texas         75228
St Polycarp Catholic School Stanton                   6415           8182 Chapman Avenue                                           Stanton               California    90680
St Richard Catholic School Jackson                    8075           100 Holly Drive                                               Jackson               Mississippi   39206
St Rita School Ft Worth                               351            712 Weiler                                                    Ft. Worth             Texas         76112
St Theodore Holy Family School Lake Charles           415            785 Sam Houston Jones Pkwy                                    Lake Charles          Louisiana     70611
St Theresa Catholic School Sugar Land                 1419           705 St Theresa Blvd                                           Sugar Land            Texas         77498
St Theresas Catholic Austin                           3099           4311 Small Drive                                              Austin                Texas         78731
St Thomas Aquinas School Dallas                       2357           3741 Abrams Rd.                                               Dallas                Texas         75214
St Thomas Aquinas School Wichita                      972            1215 N. Stratford                                             Wichita               Kansas        67206
St Thomas Episcopal School San Antonio                3806           1416 N.Loop 1604 East                                         San Antonio           Texas         78232
St Thomas More Parish School Houston                  1228           5927 Wigton                                                   Houston               Texas         77096
St Thomas More School Decatur                         9153           630 W Ponce De Leon Ave                                       Decatur               Georgia       30030
St Thomas The Apostle School Houston                  1261           18300 Upper Bay Road                                          Houston               Texas         77058
St Timothy School Dallas                              2473           4333 Cole Ave                                                 Dallas                Texas         75205
St Vincent De Paul Academy Kansas City                4334           3104 Flora                                                    Kansas City           Missouri      64109
St Vincent De Paul Catholic School Houston            1197           6802 Buffalo Speedway                                         Houston               Texas         77025
St. Anne Catholic School, Houston                     1116           2120 Westheimer                                               Houston               Texas         77098
St. Bernard of Clairvaux School Dallas                2327           1420 Old Gate                                                 Dallas                Texas         75218
St. Dominic School For Boys Memphis                   470            30 Avon Rd.                                                   Memphis               Tennessee     38117
ST. GABRIELS CATHOLIC SCHOOL                          3142           2500 Wimberly Lane                                            Austin                Texas         78735
St. James the Apostle Catholic School San Antonio     3800           907 West Theo                                                 San Antonio           Texas         78225
St. Joseph Catholic School Waxahachie                 5075           506 E. Marvin Ave.                                            Waxahachie            Texas         75165
St. Mark Lutheran School, Houston                     1329           1515 Hillendahl                                               Houston               Texas         77055
St. Pius X Catholic High School, Atlanta              9152           2674 Johnson Road Ne                                          Atlanta               Georgia       30345
St. Theresa Catholic School, Houston                  1326           6623 Rodrigo                                                  Houston               Texas         77007
St. Thomas Episcopal Houston                          1169           4900 Jackwood                                                 Houston               Texas         77096
Stem Prep High Nashville                              5054           1162 Foster Ave                                               Nashville             Tennessee     37210
Step By Step Tomball                                  1308           1119 South Cherry                                             Tomball               Texas         77375
Stoneybrooke Christian School San Juan Capistrano     6115           26300 Via Escolar                                             San Juan Capistrano   California    92692
Strive Collegiate Academy Nashville                   5060           3055 Lebanon Pike #300                                        Nashville             Tennessee     37214
Sts Cyril And Methodius Catholic Granger              3151           P.O. Box 248                                                  Granger               Texas         76530-0248
Sts Cyril And Methodius Catholic Sch Corpus Christi   3061           5002 Kostoryz Rd.                                             Corpus Christi        Texas         78415
Sts Peter And Paul Catholic School New Braunfels      3112           198 W.Bridge                                                  New Braunfels         Texas         78130
Sts Peter And Paul Regional Catholic Lexington        7220           423 W. Short Street                                           Lexington             Kentucky      40507
Sts. Peter & Paul Catholic School                                    198 West Bridge                                               New Braunfels         Texas         78130
                                  Case 18-10085-CSS                                  Doc 3               Filed 01/12/18      Page 129 of 134
           In re Parker School Uniforms, LLC
           Schedule G - #2.2 - customer contracts



                           Name                               School ID                 Address 1                Address 2             City             State    Zip Code
Success Unlimited Academy Montgomery                   9351               2328 Fairlane Drive                                  Montgomery         Alabama       36116
Sugar Creek Montessori Fulshear                        1485               4802 Fm 1463                                         Fulshear           Texas         77441
Sugar Creek Montessori Katy                            1443               7222 Gaston Rd.                                      Katy               Texas         77494
Sugar Creek Montessori School Stafford                 1277               615 Dulles Ave                                       Stafford           Texas         77477
Summit Christian Academy Cedar Park                    3114               2121 Cypress Creek Road                              Cedar Park         Texas         78613
Sunrise Christian Academy Wichita                      4129               5500 East 45th St. North                             Wichita            Kansas        67220
Swift School Roswell                                   9965               300 Grimes Bridge Road                               Roswell            Georgia       30075
Tanglewood Academy Houston                             1390               1900 Bering Drive                                    Houston            Texas         77057
Temple Christian School Dallas                         2335               8421 Bohannon                                        Dallas             Texas         75217
Texas Christian School Houston                         1186               17810 Keith Harrow Blvd.                             Houston            Texas         77084
Texas City Christian Academy Texas City                148                Box 3100                                             Texas City         Texas         77952
The Academy Oklahoma City                              4192               1120 E. Hefner Road                                  Oklahoma City      Oklahoma      73131
The Atonement Academy San Antonio                      3841               15415 Red Robin Road                                 San Antonio        Texas         78255
The Awty International School Houston                  1268               7455 Awty School Lane                                Houston            Texas         77055
The Briarwood School Houston                           1264               12207 Whittington                                    Houston            Texas         77077
The Carden-Jackson School Pearland                     1201               3801 Liberty Drive                                   Pearland           Texas         77581
The Christian School at Castle Hills, San Antonio      3119               2216 NW Military Hwy                                 San Antonio        Texas         78213-1895
The Covenant School Dallas                             2171               7300 Valley View Lane                                Dallas             Texas         75240
The Covenant School Nashville                          7101               30 Burton Hills                                      Nashville          Tennessee     37215
The Education Center School Jackson                    8091               4080 Old Canton Road                                 Jackson            Mississippi   39216
The Episcopal Day School Brownsville                   3121               34 North Coria                                       Brownsville        Texas         78520
The Fulton School Heath                                2454               1623 Laurence Dr                                     Heath              Texas         75032
The Gardner School Louisville                          7129               9401 Mill Brook Drive                                Louisville         Kentucky      40223
The Gardner School Chicago                             7195               1301 West Madison Street                             Chicago            Illinois      60607
The Gardner School Dublin                              7143               6145 Emerald Parkway                                 Dublin             Ohio          43016
The Gardner School Eagan                               7236               1195 Town Centre Drive                               Eagan              Minnesota     55123
The Gardner School Edina                               7235               4455 West 77th Street                                Edina              Minnesota     55435
The Gardner School Franklin                            7165               113 Market Exchange Court                            Franklin           Tennessee     37067
The Gardner School Herndon                             7212               2655 West Ox Rd                                      Herndon            Virginia      20171
The Gardner School Minnetonka                          7238               6040 Clearwater Drive                                Minnetonka         Minnesota     55343
The Gardner School - Blue Ash Cincinnati               7148               9920 Carver Road                                     Cincinnati         Ohio          45242-5502
The Gardner School - Bucktown Chicago                  7208               1612 West North Ave                                  Chicago            Illinois      60622
The Gardner School - Cool Springs Brentwood            7137               1591 Mallory Lane North                              Brentwood          Tennessee     37027
The Gardner School - Glenview Northbrook               7209               2380 Waterview Dr                                    Northbrook         Illinois      60062
The Gardner School - Lincoln Park Chicago              7227               2850 N Lincoln Ave                                   Chicago            Illinois      60657
The Gardner School - Oakbrook Terra Oakbrook Terrace   7210               17 W 642 East Butterfield Rd                         Oakbrook Terrace   Illinois      60181
The Gardner School Of Midtown Nashville                7192               1811 State Street                                    Nashville          Tennessee     37203
The Gardner School Of Naperville Warrenville           7196               28w611 Ferry Road                                    Warrenville        Illinois      60555
The Gardner School Of Nashville Nashville              7133               601 Marriott Drive                                   Nashville          Tennessee     37214
The Gooden School Sierra Madre                         6607               192 N Baldwin Avenue                                 Sierra Madre       California    91024
The Guthrie School Allen                               2747               598 Old Custer Road                                  Allen              Texas         75013
The Hebrew Academy Huntington                          6416               14401 Willow Lane                                    Huntington         California    92647
The Highlander School Dallas                           2429               9120 Plano Rd                                        Dallas             Texas         75238
The Highlands School Irving                            2060               1451 E. Northgate                                    Irving             Texas         75062
The Honor Roll School Sugar Land                       1472               4111 Sweetwater Blvd                                 Sugar Land         Texas         77479
The Kessler School Dallas                              2459               1215 Turner Ave                                      Dallas             Texas         75208
The Lawson Academy, Houston                            1447               5052 Scott St                                        Houston            Texas         77004
The Learning Center Katy                               1302               3700 S. Mason Road                                   Katy               Texas         77450
The Lexington School Lexington                         7197               1050 Lane Allen Road                                 Lexington          Kentucky      40504
The Lovett School Atlanta                              7182               4075 Paces Ferry Rd. Nw                              Atlanta            Georgia       30327
The Masters School San Marcos                          3180               1664 Centerpoint Road                                San Marcos         Texas         78666
The Montessori Academy Houston                         1332               1685 Dairy Ashford                                   Houston            Texas         77084
The Montessori Academy Of Jackson Jackson              8104               1525 Lelia Drive                                     Jackson            Mississippi   39216
The Nativity School Rancho Santa Fe                    6210               Po Box 9180                                          Rancho Santa Fe    California    92067
The Parish School Houston                              1353               11001 Hammerly Blvd                                  Houston            Texas         77043
The Pharr Oratory Schools Pharr                        600                1407 West Moore Rd.                                  Pharr              Texas         78577
The Prentice School Santa Ana                          6411               18341 Lassen Drive                                   Santa Ana          California    92705
The Soulsville Charter School Memphis                  7205               1115 College Street                                  Memphis            Tennessee     38106
The Wesley School N Hollywood                          6624               4832 Tujunga Avenue                                  N. Hollywood       California    91601
The Winston School Dallas                              2177               5707 Royal Lane                                      Dallas             Texas         75229
The Woodlands Classical Academy, The Woodlands         1473               6565 Research Forest Dr                              The Woodlands      Texas         77381
Thomas More Prep Hays                                  4060               1701 Hall                                            Hays               Kansas        67601-9908
Tipton Christian Academy Covington                     7217               2105 Highway 59 South                                Covington          Tennessee     38019
Tipton Rosemark Academy Millington                     7134               8696 Rosemark Road                                   Millington         Tennessee     38053
Trafton Academy Houston                                1272               4711 Mcdermed                                        Houston            Texas         77035
Trent Internationale Sugar Land                        1409               2553 Cordes Dr.                                      Sugar Land         Texas         77479
Tri-County Academy Flora                               8080               400 Cox Ferry Road                                   Flora              Mississippi   39071
Trinity Academy Wichita                                4042               12345 E. 21st.                                       Wichita            Kansas        67206
Trinity Catholic High School Hutchinson                401                1400 E. 17th St.                                     Hutchinson         Kansas        67501
Trinity Christian Academy Jackson                      7153               10 Windy City Road                                   Jackson            Tennessee     38305
Trinity Christian School Opelika                       9328               1010 India Road                                      Opelika            Alabama       36801
Trinity Episcopal School Galveston                     1251               720 Tremont Street                                   Galveston          Texas         77550
Trinity Presbyterian School Montgomery                 9128               1700 E Trinity Blvd                                  Montgomery         Alabama       36106
Trinity School Oklahoma City                           4093               321 Nw 36th Street                                   Oklahoma City      Oklahoma      73118
Trivium Academy Carrollton                             2589               2205 E. Hebron Parkway                               Carrollton         Texas         75010
True Cross Dickinson                                   1131               400 Fm 517 E.                                        Dickinson          Texas         77539
Truth Christian Academy                                                   19593 Old Port Gibson Road                           Raymond            Mississippi   39154
Tunica Academy Tunica                                  7132               584 Academy Drive                                    Tunica             Mississippi   38676
Tyler Street Academy Dallas                            2515               915 West 9th Street At Tyler                         Dallas             Texas         75208
Unique Minds Montessori School Missouri City           1480               8600 Sienna Springs                                  Missori            Texas         77459
United Christian Academy Houston                       1297               522 Lindale Street                                   Houston            Texas         77022
United Christian Academy Port Arthur                   274                2700 25th St.                                        Port Arthur        Texas         77640
United Day School Laredo                               3851               1701 San Isidro                                      Laredo             Texas         78045
Universal Academy Irving - Coppell                     2532               2616 North Macarthur Blvd                            Irving - Coppell   Texas         75062
University Preparatory Victorville                     6314               13853 Seneca Rd                                      Victorville        California    92395
University School Of Jackson Jackson                   7113               232 Mcclellan Road                                   Jackson            Tennessee     38305
Upland Christian Academy Rancho Cucamonga              6316               10900 Civic Center Dr                                Rancho Cucamonga   California    91730
Urban Preparatory Academy Wichita                      5500               2821 E. 24th                                         Wichita            Kansas        67214
Veritas Academy Austin                                 3186               4220 Monterrey Oaks Blvd.                            Austin             Texas         78749
Vicksburg Catholic School Vicksburg                    8110               1900 Grove Street                                    Vicksburg          Mississippi   39183
Victory Life Academy Brownwood                         3183               901 C.C. Woodson Road                                Brownwood          Texas         76801
Waco Baptist Academy Waco                              2090               6125 Bosque Blvd.                                    Waco               Texas         76710
Walnut Creek Academy Mansfield                         2940               1751 N Walnut Creek Dr                               Mansfield          Texas         76063
Waverly Academy Jacksonville                           9969               5710 Wesconnectt Blvd.                               Jacksonville       Florida       32244
Waxahachie Prep Waxahachie                             5068               1000 Butcher Rd.                                     Waxahachie         Texas         75165
Wellington Christian Academy Wellington                4155               205 N. Hoover Rd.                                    Wellington         Kansas        67152
Wesley Academy Houston                                 1216               10570 Westpark                                       Houston            Texas         77042
Wesley International Academy Atlanta Charter           5202               211 Memorial Drive, Se                               Atlanta            Georgia       30316
Wesley International Academy Atlanta Parker            9404               211 Memorial Drive Se                                Atlanta            Georgia       30312
Wesleyan School Norcross                               9168               5405 Spalding Drive                                  Norcross           Georgia       30092
West Dallas Community School Dallas                    2445               2215 Canada Dr                                       Dallas             Texas         75212
West Memphis Christian School West Memphis             7190               1101 N. Missouri Street                              West Memphis       Arkansas      72301
West Middle School Desoto                              5083               800 NORTH WESTMORELAND                               Desoto             Texas         75115
Westlake Academy Town Of Westlake                      2853               2600 Ottinger                                        Town Of Westlake   Texas         76262
Westlake Preparatory Lutheran Acade Richmond           1423               23300 Bellaire Blvd                                  Richmond           Texas         77406
Westminster Academy Memphis                            7114               2500 Ridgeway Road                                   Memphis            Tennessee     38119
Westwood School Dallas                                 2173               14340 Proton Road                                    Dallas             Texas         75244
White Rock North Private School Dallas                 2079               9727 White Rock Trail                                Dallas             Texas         75238
Wilcox County Boe Camden                               9656               P.O. Box 160                                         Camden             Alabama       36726
Willis Classical Academy Willis                        5717               202 S Thomason St                                    Willis             Texas         77378
Wonderland Beatrice Mayes Institute Houston            377                5724 Calhoun                                         Houston            Texas         77021
                                  Case 18-10085-CSS                          Doc 3          Filed 01/12/18      Page 130 of 134
           In re Parker School Uniforms, LLC
           Schedule G - #2.2 - customer contracts



                           Name                      School ID                  Address 1           Address 2              City         State    Zip Code
Word Of Faith Academy Jackson                     8062           4890 Clinton Boulevard                           Jackson         Mississippi   39209
World Languages Institute Fort Worth              2939           1066 West Magnolia                               Fort Worth      Texas         76104
Young Achievers Christian Academy Oklahoma City   9537           4500 N Lincoln Blvd                              Oklahoma City   Oklahoma      73117
Zion Lutheran School Dallas                       2106           6121 East Lovers Lane                            Dallas          Texas         75214




      Note regarding customer contracts: the foregoing list constitutes the list of all schools with which the debtor's books
      and records reflect as an "active" (i.e., recent) customer. Many, if not all, of these schools had contracts with the
      debtor. The debtor lists each here out of an abundance of caution.
                        Case 18-10085-CSS                             Doc 3         Filed 01/12/18                       Page 131 of 134
      In re Parker School Uniforms, LLC
      Schedule G - #2.4, non-residential real property leases



               Name                               Billing Address 1             Billing Address 2         Billing City        Billing State/Province    Billing Zip
  Amreit SSPF Preston Towne Crossing              4801 W. Park Blvd.                                         Plano                     TX                75093
           BELL PROPERTIES                     8545 CORDES CIRCLE                                      GERMANTOWN                      TN                38139
              BENEDICTUS                        408 SOUTHLAND DR                                          LEXINGTON                    KY                40503
BGK-INTEGRATED MANAGEMENT, LLC          1235 NORTH LOOP WEST, STE 1025                                     HOUSTON                     TX                77008
         BRADY'S PROPERTIES                10601 S. WESTERN, SUITE A                                   OKLAHOMA CITY                   OK                73170
       CASA LINDA (EDENS), LLC                     P.O. BOX 536856                                         ATLANTA                     GA              30353-6856
               D&L Center                    761 WEST MAIN STREET                                     HENDERSONVILLE                   TN                37075
         DC RE HOLDINGS, LLC                  5714 Standing Rock Drive                                      AUSTIN                     TX                78730
               Doris Dash                      1652 Santa Barbara Ave                                       Glendale                   CA                91208
 EDENS INVESTME TRUST DEPT 2607                 1931 Peachtree Rd NE                                       ATLANTA                     GA                30309
     G&I VII BROOKHOLLOW LLC                         PO BOX 2243                                            Hicksville                 NY                11802
             GALLERY, LLC                   ONE VANTAGE WAY, C-150                                        NASHVILLE                    TN                37228
  GARY A. TAYLOR INVESTMENT CO.         2574 CHRISTMASVILLE COVE STE H                                     JACKSON                     TN                38305
               Grover Huff                    102 Chippendale Terrace                                       Orlando                    FL                32765
      harvest C Houston WNW LLC                     PO Box 207047                                            Dallas                    TX              75320-7047
 HAULAWAY STORAGE CONTAINERS                         P.O. BOX 7183                                        PASADENA                     CA                91109
 ICON OWNER POOL 1 SF BUSINESS                    2 N. Riverside Plaza                                      Chicago                    IL                60606
  IRON MOUNTAIN ACCOUNT H9270                    2000 Lone Star Drive                                       DALLAS                     TX                75212
        J.M. MOFFITT, TRUSTEE                         1128 PECAN                                           MCALLEN                     TX                78501
              JQUAD, LTD                    14533 POCOHONTAS TRAIL                                         LEANDER                     TX                78641
   KENNINGTON ALPHA PLAZA LLC           4245 N. Central Expressway, Suite 530                               DALLAS                     TX                75205
        KM-2920 PARTNERS, LP               7500 SAN FELIPE, SUITE 750                                      HOUSTON                     TX                77063
    LOMBARD GROUP TEXAS, LLC                         P.O. BOX 7014                                        PROSPECT                     CT                 6712
        MAGNOLIA CENTER LLC                       15010 TOWER CT.                                       BATON ROUGE                    LA                70810
         MIMMS ENTERPRISES                    1800 NE Expressway NE                                        ATLANTA                     GA                30329
               MMIC, INC                    756 Ridge Lake Blvd Ste 212                                     Memphis                    TN                38120
  MONARCH RIVER EXCHANGE LLC           4828 ASHFORD DUNWOODY RD, #300                                      ATLANTA                     GA                30338
    N.J. MALIN & ASSOCIATES, LLC                  15870 Midway Road                                         Addison                    TX                75001
     OAKLAND WOODLAWN, LLC                       4010 COLLINS LANE                                        LOUISVILLE                   KY                40223
   PENSKE TRUCK LEASING CO., LP            8312 S. South Chicago Avenue                                    CHICAGO                     IL                60617
     PHIFER & ASSOCIATES, INC.                      7952 Davis Blvd.                                NORTH RICHLAND HILLS               TX                76182
 PRIME REAL ESTATE US PROP. INC                     P.O. Box 206060                                         DALLAS                     TX              75320-6060
 RAYMOND LEASING CORPORATION                      15870 Midway Road                                         Addison                    TX                75001
        RREEF AMERICA REIT II                    115 W. Century Road                                        Paramus                    NJ                07652
     RTA TOWN & COUNTRY LLC                        P.O. BOX 204857                                          DALLAS                     TX              75320-4857
       SOUTHEASTERN ASSETS                             SUITE 52                                            MARIETTA                    GA                30062
        SRPF A/MORELAND, LLC                    1296 Moreland Avenue                                       ATLANTA                     GA                30316
             SUSEN SARPA                  141 W AVENIDA SAN ANTONIO                                    SAN CLEMENTE                    CA                92672
        THOMSON PROPERTIES                       500 Sandau STE 450                                     SAN ANTONIO                    TX                78216
                 U-Haul                          12215n LBJ Freeway                                         Garland                    TX                75041
         UBEO Business Services             601 Westport Parkway, #200                                     Grapevine                   TX                76051
  WILSON PROP SERVICES, INC. ITF        8120 EAST CACTUS ROAD, STE 300                                   SCOTTSDALE                    AZ                85260
    WINDWARD X ASSOCIATES LLP              1600 NORTHSIDE DRIVE NW                SUITE 100                ATLANTA                     GA                30318
                                 Case 18-10085-CSS                           Doc 3   Filed 01/12/18       Page 132 of 134
 Debtor 1 Parker School Uniforms, LLC                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                         Susen Sarpa
             List the contract number of any                                             141 W. Avenida San Antonio
                   government contract                                                   San Clemente, CA 92672


 2.6.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                         Troy Pike
             List the contract number of any                                             5 Parkland Court
                   government contract                                                   Houston, TX 77055


 2.7.        State what the contract or                   Copier lease,
             lease is for and the nature of               Agreement #
             the debtor's interest                        025-1051641-001

                  State the term remaining
                                                                                         UBEO of East Texas, Inc.
             List the contract number of any                                             PO Box 660831
                   government contract                                                   Dallas, TX 75266-0831




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 18-10085-CSS                   Doc 3    Filed 01/12/18         Page 133 of 134

 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      PSU Holding LLC                   4242 Six Forks Road                               Frost Bank                         D   2.1
                                               Suite 950                                                                            E/F
                                               Raleigh, NC 27609
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                                 Case 18-10085-CSS                           Doc 3        Filed 01/12/18            Page 134 of 134




 Fill in this information to identify the case:

 Debtor name         Parker School Uniforms, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           01/12/2018                             X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Mark Gillis
                                                                         Printed name

                                                                         Director
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
